Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23       Page 1 of 888 PageID 3305



                              No. 3:22-cv-02170-S

               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS

In the Matter of: Highland Capital Management, L.P.,
            Debtor.

NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors, L.P.,
            Appellants,
v.
Highland Capital Management, L.P.,
            Appellee.

     APPENDIX OF APPELLANTS NEXPOINT ADVISORS, L.P. AND
     HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

             Appeal from the United States Bankruptcy Court for the
             Northern District of Texas, Hon. Stacey G.C. Jernigan

                          Davor Rukavina, Esq.
                         Tex. Bar No. 24030781
                          Julian P. Vasek, Esq.
                         Tex. Bar No. 24070790
                  MUNSCH HARDT KOPF & HARR P.C.
                       500 N. Akard St., Ste. 3800
                            Dallas, TX 75201
                              214-855-7500
                        drukavina@munsch.com
                          jvasek@munsch.com

                COUNSEL FOR APPELLANTS NEXPOINT
               ADVISORS, L.P. AND HIGHLAND CAPITAL
                 MANAGEMENT FUND ADVISORS, L.P.
Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23     Page 2 of 888 PageID 3306



       Appellants NexPoint Advisors, L.P. and Highland Capital Management Fund

Advisors, L.P. hereby submit their appendix under Fed. R. Bankr. P. 8018.

                                  CONTENTS

 Tab     Description                                             Record No.

   1     Bankruptcy Docket                                    000010 – 000027

   2     Debtor’s Complaint                                   000028 – 000115

   3     Advisors’ Answer                                     000116 – 000122

   4     Advisors’ Administrative Expense Application         000324 – 000335

   5     Debtor’s Response to Admin. Expense Application      000336 – 000354

   6     Judgment                                             000004 – 000006
   7     Findings of Fact & Conclusions of Law                000264 – 000323
   8     Notice of Appeal                                     000001 – 000003
   9     Transcript Day 1, Part 1 (April 12, 2022)            002905 – 003059

  10     Transcript Day 1, Part 2 (April 12, 2022)            002482 – 002642

  11     Transcript Day 2, Part 1 (April 13, 2022)            003060 – 003143
  12     Transcript Day 2, Part 2 (April 12, 2022)            002643 – 002823

  13     Transcript Day 3 (April 27, 2022)                    002824 – 002904
 Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23          Page 3 of 888 PageID 3307



         RESPECTFULLY SUBMITTED this 12th day of January, 2023.

                                           MUNSCH HARDT KOPF & HARR P.C.

                                           /s/ By: Davor Rukavina
                                           Davor Rukavina, Esq.
                                           Tex. Bar No. 24030781
                                           Julian P. Vasek, Esq.
                                           Tex. Bar No. 24070790
                                           500 N. Akard St., Ste. 3800
                                           Dallas, TX 75201
                                           214-855-7500
                                           drukavina@munsch.com
                                           jvasek@munsch.com

                                           COUNSEL FOR APPELLANTS



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on January 12, 2023, a true and correct
copy of the foregoing document (and all attachments) was served on the following
recipients via the Court’s CM/ECF system:

         Case Admin Sup          txnb_appeals@txnb.uscourts.gov

         Melissa S. Hayward mhayward@haywardfirm.com,
         mholmes@haywardfirm.com

         Stacey G.C. Jernigan sgj_settings@txnb.uscourts.gov,
         anna_saucier@txnb.uscourts.gov

         Zachery Z. Annable zannable@haywardfirm.com,
         zannable@franklinhayward.com

                                                 /s/ Davor Rukavina
                                                 Davor Rukavina




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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 4 of 888 PageID 3308




                        Tab 1
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-1 Filed
                                     Filed01/12/23
                                           11/22/22 Page
                                                     Page520
                                                          of 888
                                                             of 37 PageID
                                                                    PageID3309
                                                                           51


                                                                             EXHIBITS, APPEAL, FUNDS




                                   U.S. Bankruptcy Court
                             Northern District of Texas (Dallas)
                            Adversary Proceeding #: 21−03010−sgj

Assigned to: Chief Bankruptcy Jud Stacey G Jernigan              Date Filed: 02/17/21
Lead BK Case: 19−34054
Lead BK Title: Highland Capital Management, L.P.
Lead BK Chapter: 11
Demand:
 Nature[s] of Suit: 91 Declaratory judgment
                    02 Other (e.g. other actions that would have been brought in state court if unrelated to
                       bankruptcy)
                    72 Injunctive relief − other



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Highland Capital Management, L.P.                   represented by Zachery Z. Annable
                                                                   Hayward PLLC
                                                                   10501 N. Central Expressway
                                                                   Suite 106
                                                                   Dallas, TX 75231
                                                                   (972) 755−7108
                                                                   Fax : (972) 755−7108
                                                                   Email: zannable@haywardfirm.com
                                                                   LEAD ATTORNEY


V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
Highland Capital Management Fund                    represented by Thomas Daniel Berghman
Advisors, L.P.                                                     Munsch Hardt Kopf & Harr PC
K&LGates LLP                                                       500 N Akard Street, Suite 3800
c/o Stephen G. Topetzes                                            Dallas, TX 75201−6659
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Washington, DC 20006                                               Fax : (214) 978−4346
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                                                                    A. Lee Hogewood, III
                                                                    K&L Gates LLP
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                                                                    Suite 300
                                                                    Raleigh, NC 27609
                                                                    (919) 743−7306
                                                                    Fax : (919) 516−2006
                                                                    Email: lee.hogewood@klgates.com

                                                                    Davor Rukavina
                                                                    Munsch, Hardt, Kopf & Harr
                                                                    500 N. Akard Street, Ste 3800
                                                                    Dallas, TX 75201−6659

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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-1 Filed
                                     Filed01/12/23
                                           11/22/22 Page
                                                     Page621
                                                          of 888
                                                             of 37 PageID
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                                                                   Julian Preston Vasek
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                                                                   Dallas, TX 75201
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                                                                   Fax : 214−855−7584
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Defendant
−−−−−−−−−−−−−−−−−−−−−−−
NexPoint Advisors, L.P.                            represented by Thomas Daniel Berghman
K&L Gates LLP                                                     (See above for address)
c/o Stephen G. Topetzes
1600 K Street, NW                                                  A. Lee Hogewood, III
Washington, DC 20006                                               (See above for address)

                                                                   Davor Rukavina
                                                                   (See above for address)

                                                                   Julian Preston Vasek
                                                                   (See above for address)

  Filing Date                                          Docket Text

                 1 Adversary case 21−03010. Complaint by Highland Capital Management, L.P. against
                Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.. Fee Amount
                $350 (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Adversary
                Cover Sheet). Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions
                that would have been brought in state court if unrelated to bankruptcy)). 72 (Injunctive
 02/17/2021     relief − other). (Annable, Zachery)

                  Receipt of filing fee for Complaint(21−03010−sgj) [cmp,cmp] ( 350.00). Receipt
 02/17/2021     number 28496915, amount $ 350.00 (re: Doc# 1). (U.S. Treasury)

                 2 Motion to compel Adoption and Implementation of a Plan for the Transition of Services
                by February 28, 2021. (Debtor's Emergency Motion for a Mandatory Injunction Requiring
                the Advisors to Adopt and Implement a Plan for the Transition of Services by February 28,
 02/17/2021     2021) filed by Plaintiff Highland Capital Management, L.P. (Annable, Zachery)

                 3 Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related
                document(s)2 Motion to compel Adoption and Implementation of a Plan for the Transition
                of Services by February 28, 2021. (Debtor's Emergency Motion for a Mandatory Injunction
                Requiring the Advisors to Adopt and Implement a Plan for the Transition of Service).
 02/17/2021     (Annable, Zachery)

 02/17/2021      4 Declaration re: (Declaration of Mr. James P. Seery, Jr. in Support of Debtor's
                Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt and
                Implement a Plan for the Transition of Services by February 28, 2021) filed by Plaintiff
                Highland Capital Management, L.P. (RE: related document(s)2 Motion to compel
                Adoption and Implementation of a Plan for the Transition of Services by February 28,
                2021. (Debtor's Emergency Motion for a Mandatory Injunction Requiring the Advisors to
                Adopt and Implement a Plan for the Transition of Service). (Attachments: # 1 Exhibit A # 2
                Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit

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Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-1 Filed
                                     Filed01/12/23
                                           11/22/22 Page
                                                     Page722
                                                          of 888
                                                             of 37 PageID
                                                                    PageID3311
                                                                           53


              H # 9 Exhibit I # 10 Exhibit J) (Annable, Zachery)

               5 Motion for expedited hearing(related documents 2 Motion to compel) filed by Plaintiff
 02/17/2021   Highland Capital Management, L.P. (Annable, Zachery)

               6 Notice of hearing filed by Plaintiff Highland Capital Management, L.P. (RE: related
              document(s)2 Motion to compel filed by Plaintiff Highland Capital Management, L.P.).
              Hearing to be held on 2/23/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2, (Annable,
 02/17/2021   Zachery)

               7 Summons issued on Highland Capital Management Fund Advisors, L.P. Answer Due
 02/18/2021   3/22/2021; NexPoint Advisors, L.P. Answer Due 3/22/2021 (Edmond, Michael)

               8 Scheduling order setting deadlines. Discovery and all exhibits except impeachment
              documents: 45 days prior to Docket Call, pre−trial order: 7 calendar days prior to Docket
              Call, proposed findings of fact and conclusions of law: 7 days prior to first scheduled
              docket call (RE: related document(s)1 Complaint filed by Plaintiff Highland Capital
              Management, L.P.). Trial Docket Call date set for 7/12/2021 at 01:30 PM at Dallas Judge
              Jernigan Ctrm. Trial will be held during the week of 7/19/2021., Entered on 2/18/2021
 02/18/2021   (Edmond, Michael)

               9 Notice of Appearance and Request for Notice by A. Lee Hogewood III filed by
              Defendants Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P..
 02/18/2021   (Hogewood, A.)

               10 Witness and Exhibit List filed by Plaintiff Highland Capital Management, L.P. (RE:
              related document(s)2 Motion to compel Adoption and Implementation of a Plan for the
              Transition of Services by February 28, 2021. (Debtor's Emergency Motion for a Mandatory
              Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of
              Service). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5
              # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
              Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16) (Annable,
 02/18/2021   Zachery)

               11 Order granting motion for expedited hearing (Related Doc# 5)(document set for
              hearing: 2 Motion to compel) Hearing to be held on 2/23/2021 at 09:30 AM Dallas Judge
 02/18/2021   Jernigan Ctrm for 2, Entered on 2/18/2021. (Okafor, M.)

 02/19/2021    12 Certificate of service re: Documents Served on February 17, 2021 Filed by Claims
              Agent Kurtzman Carson Consultants LLC (related document(s)1 Adversary case
              21−03010. Complaint by Highland Capital Management, L.P. against Highland Capital
              Management Fund Advisors, L.P., NexPoint Advisors, L.P.. Fee Amount $350
              (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
              Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Adversary Cover
              Sheet). Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions that
              would have been brought in state court if unrelated to bankruptcy)). 72 (Injunctive relief −
              other). filed by Plaintiff Highland Capital Management, L.P., 2 Motion to compel Adoption
              and Implementation of a Plan for the Transition of Services by February 28, 2021.
              (Debtor's Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt
              and Implement a Plan for the Transition of Services by February 28, 2021) filed by
              Plaintiff Highland Capital Management, L.P. filed by Plaintiff Highland Capital
              Management, L.P., 3 Brief in support filed by Plaintiff Highland Capital Management, L.P.
              (RE: related document(s)2 Motion to compel Adoption and Implementation of a Plan for
              the Transition of Services by February 28, 2021. (Debtor's Emergency Motion for a
              Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for the
              Transition of Service). filed by Plaintiff Highland Capital Management, L.P., 4 Declaration
              re: (Declaration of Mr. James P. Seery, Jr. in Support of Debtor's Emergency Motion for a
              Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for the
              Transition of Services by February 28, 2021) filed by Plaintiff Highland Capital


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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-1 Filed
                                     Filed01/12/23
                                           11/22/22 Page
                                                     Page823
                                                          of 888
                                                             of 37 PageID
                                                                    PageID3312
                                                                           54


              Management, L.P. (RE: related document(s)2 Motion to compel Adoption and
              Implementation of a Plan for the Transition of Services by February 28, 2021. (Debtor's
              Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt and
              Implement a Plan for the Transition of Service). (Attachments: # 1 Exhibit A # 2 Exhibit B
              # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
              Exhibit I # 10 Exhibit J) filed by Plaintiff Highland Capital Management, L.P., 5 Motion
              for expedited hearing(related documents 2 Motion to compel) filed by Plaintiff Highland
              Capital Management, L.P. filed by Plaintiff Highland Capital Management, L.P., 6 Notice
              of hearing filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)2
              Motion to compel filed by Plaintiff Highland Capital Management, L.P.). Hearing to be
              held on 2/23/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2, filed by Plaintiff
              Highland Capital Management, L.P.). (Kass, Albert)

               13 Amended Notice of hearing filed by Plaintiff Highland Capital Management, L.P. (RE:
              related document(s)2 Motion to compel filed by Plaintiff Highland Capital Management,
              L.P.). Hearing to be held on 2/23/2021 at 09:00 AM Dallas Judge Jernigan Ctrm for 2,
 02/20/2021   (Annable, Zachery)

               14 BNC certificate of mailing − PDF document. (RE: related document(s)11 Order
              granting motion for expedited hearing (Related Doc5)(document set for hearing: 2 Motion
              to compel) Hearing to be held on 2/23/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2,
 02/20/2021   Entered on 2/18/2021. (Okafor, M.)) No. of Notices: 1. Notice Date 02/20/2021. (Admin.)

               15 Notice to take deposition of James P. Seery Jr. filed by Defendants Highland Capital
 02/21/2021   Management Fund Advisors, L.P., NexPoint Advisors, L.P.. (Vasek, Julian)

               16 Notice to take deposition of Dustin Norris filed by Plaintiff Highland Capital
 02/21/2021   Management, L.P.. (Annable, Zachery)

               17 Notice to take deposition of James Dondero filed by Plaintiff Highland Capital
 02/21/2021   Management, L.P.. (Annable, Zachery)

               18 Witness and Exhibit List filed by Defendants Highland Capital Management Fund
              Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)2 Motion to compel
              Adoption and Implementation of a Plan for the Transition of Services by February 28,
              2021. (Debtor's Emergency Motion for a Mandatory Injunction Requiring the Advisors to
              Adopt and Implement a Plan for the Transition of Service). (Attachments: # 1 Exhibit A # 2
              Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit
              H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13 Exhibit M # 14 Exhibit N)
 02/21/2021   (Vasek, Julian)

               19 Amended Witness and Exhibit List filed by Plaintiff Highland Capital Management,
              L.P. (RE: related document(s)10 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit
 02/22/2021   17 # 2 Exhibit 18 # 3 Exhibit 19 # 4 Exhibit 20 # 5 Exhibit 21) (Annable, Zachery)

               20 Objection to (related document(s): 2 Motion to compel Adoption and Implementation
              of a Plan for the Transition of Services by February 28, 2021. (Debtor's Emergency Motion
              for a Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for the
              Transition of Service filed by Plaintiff Highland Capital Management, L.P.) filed by
              Defendants Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P..
 02/22/2021   (Rukavina, Davor)

               21 Request for transcript regarding a hearing held on 2/23/2021. The requested
 02/23/2021   turn−around time is hourly. (Edmond, Michael)

 02/23/2021    22 Certificate of service re: 1) Debtor's Witness and Exhibit List with Respect to
              Evidentiary Hearing to be Held on February 23, 2021; and 2) Order Granting Debtor's
              Motion for Expedited Hearing on it's Emergency Motion for a Mandatory Injunction
              Requiring the Advisors to Implement a Plan for the Transition of Services by February 28,

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Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-1 Filed
                                     Filed01/12/23
                                           11/22/22 Page
                                                     Page924
                                                          of 888
                                                             of 37 PageID
                                                                    PageID3313
                                                                           55


              2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)10
              Witness and Exhibit List filed by Plaintiff Highland Capital Management, L.P. (RE: related
              document(s)2 Motion to compel Adoption and Implementation of a Plan for the Transition
              of Services by February 28, 2021. (Debtor's Emergency Motion for a Mandatory Injunction
              Requiring the Advisors to Adopt and Implement a Plan for the Transition of Service).
              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
              Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12
              Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16) filed by
              Plaintiff Highland Capital Management, L.P., 11 Order granting motion for expedited
              hearing (Related Doc5)(document set for hearing: 2 Motion to compel) Hearing to be held
              on 2/23/2021 at 09:30 AM Dallas Judge Jernigan Ctrm for 2, Entered on 2/18/2021.
              (Okafor, M.)). (Kass, Albert)

               23 Hearing held on 2/23/2021. (RE: related document(s)2 Motion to compel Adoption
              and Implementation of a Plan for the Transition of Services by February 28, 2021,
              (Debtor's Emergency Motion for a Mandatory Injunction Requiring the Advisors to Adopt
              and Implement a Plan for the Transition of Services by February 28, 2021) filed by
              Plaintiff Highland Capital Management, L.P. filed by Plaintiff Highland Capital
              Management, L.P.) (Appearances: J. Morris and J. Pomeranz for Debtor; L. Hogewood and
              D. Rukavina for Advisors; J. Wilson and B. Assink for J. Dondero; M. Clemente for UCC.
              Evidentiary hearing. Motion moot, as a result of evidence and findings that court made on
              the record. Mr. Morris to upload an order consistent with the courts ruling.) (Edmond,
 02/23/2021   Michael) (Entered: 02/24/2021)

               27 Court admitted exhibits date of hearing February 23, 2021 (RE: related document(s)2
              Motion to compel Adoption and Implementation of a Plan for the Transition of Services by
              February 28, 2021. (Debtor's Emergency Motion for a Mandatory Injunction Requiring the
              Advisors to Adopt and Implement a Plan for the Transition of Services by February 28,
              2021) filed by Plaintiff Highland Capital Management, L.P.) (COURT ADMITTED
              PLAINTIFF'S EXHIBIT'S #1 THROUGH #21 ADMITTED BY JOHN MORRIS THAT
              APPEAR AT DOC. #10 & #19 AND DEFENDANT EXHIBIT'S #A THROUGH #N
              THAT APPEAR AT DOC. #18 & EXHIBIT #0 (TO BE SUPPLEMENTED IN) BY
 02/23/2021   DAVOR RUKAVINA) (Edmond, Michael) (Entered: 02/25/2021)

               24 Support/supplemental documentLetter to Court Regarding Proposed Order filed by
              Defendants Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.
 02/24/2021   (RE: related document(s) 23 Hearing held). (Rukavina, Davor)

               25 Order dismissing motion to compel as moot. (related document # 2) Entered on
 02/24/2021   2/24/2021. (Bradden, T.)

               26 Transcript regarding Hearing Held 02/23/2021 (239 pgs.) RE: Motion for Mandatory
              Injunction. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE
              TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
              RELEASE DATE IS 05/26/2021. Until that time the transcript may be viewed at the
              Clerk's Office or a copy may be obtained from the official court transcriber. Court
              Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
              number 972−786−3063. (RE: related document(s) 23 Hearing held on 2/23/2021. (RE:
              related document(s)2 Motion to compel Adoption and Implementation of a Plan for the
              Transition of Services by February 28, 2021, (Debtor's Emergency Motion for a Mandatory
              Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of
              Services by February 28, 2021) filed by Plaintiff Highland Capital Management, L.P. filed
              by Plaintiff Highland Capital Management, L.P.) (Appearances: J. Morris and J. Pomeranz
              for Debtor; L. Hogewood and D. Rukavina for Advisors; J. Wilson and B. Assink for J.
              Dondero; M. Clemente for UCC. Evidentiary hearing. Motion moot, as a result of evidence
              and findings that court made on the record. Mr. Morris to upload an order consistent with
              the courts ruling.)). Transcript to be made available to the public on 05/26/2021. (Rehling,
 02/25/2021   Kathy)

 02/25/2021

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Case
 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1025
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                                                               88837 PageID
                                                                     PageID3314
                                                                            56


                28 Certificate of service re: Documents Served on or Before February 23, 2021 Filed by
               Claims Agent Kurtzman Carson Consultants LLC (related document(s)13 Amended Notice
               of hearing filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)2
               Motion to compel filed by Plaintiff Highland Capital Management, L.P.). Hearing to be
               held on 2/23/2021 at 09:00 AM Dallas Judge Jernigan Ctrm for 2, filed by Plaintiff
               Highland Capital Management, L.P., 16 Notice to take deposition of Dustin Norris filed by
               Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital
               Management, L.P., 17 Notice to take deposition of James Dondero filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.,
               19 Amended Witness and Exhibit List filed by Plaintiff Highland Capital Management,
               L.P. (RE: related document(s)10 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit
               17 # 2 Exhibit 18 # 3 Exhibit 19 # 4 Exhibit 20 # 5 Exhibit 21) filed by Plaintiff Highland
               Capital Management, L.P.). (Kass, Albert)

                29 BNC certificate of mailing − PDF document. (RE: related document(s)25 Order
               dismissing motion to compel as moot. (related document 2) Entered on 2/24/2021.
  02/27/2021   (Bradden, T.)) No. of Notices: 1. Notice Date 02/27/2021. (Admin.)

                30 Certificate of service re: Order Filed by Claims Agent Kurtzman Carson Consultants
               LLC (related document(s)25 Order dismissing motion to compel as moot. (related
  03/01/2021   document 2) Entered on 2/24/2021. (Bradden, T.)). (Kass, Albert)

                31 Notice of Appearance and Request for Notice by Paige Holden Montgomery filed by
  03/10/2021   Interested Party Committee of Unsecured Creditors. (Montgomery, Paige)

                32 Notice of Appearance and Request for Notice by Juliana Hoffman filed by Interested
  03/10/2021   Party Committee of Unsecured Creditors. (Hoffman, Juliana)

                33 Answer to complaint filed by Highland Capital Management Fund Advisors, L.P.,
  03/22/2021   NexPoint Advisors, L.P.. (Rukavina, Davor)

                34 Hearing held on 7/12/2021. (RE: related document(s)1 Adversary case 21−03010.
               Complaint by Highland Capital Management, L.P. against Highland Capital Management
               Fund Advisors, L.P., NexPoint Advisors, L.P., Nature(s) of suit: 91 (Declaratory
               judgment). 02 (Other (e.g. other actions that would have been brought in state court if
               unrelated to bankruptcy)). 72 (Injunctive relief − other). filed by Plaintiff Highland Capital
               Management, L.P.) (Appearances: D. Rukavina. Nonevidentiary TDC. Matter is being
               consolidated with Defendants trial in September on its asserted administrative claims.
               Counsel should submit an agreed order to this effect.) (Edmond, Michael) (Entered:
  07/12/2021   07/13/2021)

                    35 PDF with attached Audio File. Court Date & Time [07/12/2021 01:37:35 PM]. File
  07/14/2021   Size [ 1287 KB ]. Run Time [ 00:05:29 ]. (admin).

                36 Stipulation by Highland Capital Management, L.P. and Highland Capital Management
               Fund Advisors, L.P., and NexPoint Advisors, L.P.. filed by Plaintiff Highland Capital
               Management, L.P. (RE: related document(s)8 Standing scheduling order in an adversary
  08/04/2021   proceeding). (Annable, Zachery)

                37 Order approving stipulation (A) amending schedule and (B) consolidating and
               resolving certain matters (RE: related document(s)2607 Stipulation filed by Debtor
               Highland Capital Management, L.P. (RE: related document(s) 36 Stipulation and 1
               Complaint filed by Plaintiff Highland Capital Management, L.P.). Trial date set for
  08/06/2021   12/7/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Entered on 8/6/2021 (Okafor, M.)

  08/06/2021    38 Certificate of service re: Stipulation (A) Amending Scheduling Order and (B)
               Consolidating and Resolving Certain Matters Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)36 Stipulation by Highland Capital Management,


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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1126
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               L.P. and Highland Capital Management Fund Advisors, L.P., and NexPoint Advisors, L.P..
               filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)8 Standing
               scheduling order in an adversary proceeding). filed by Plaintiff Highland Capital
               Management, L.P.). (Kass, Albert)

                39 BNC certificate of mailing − PDF document. (RE: related document(s)37 Order
               approving stipulation (A) amending schedule and (B) consolidating and resolving certain
               matters (RE: related document(s)2607 Stipulation filed by Debtor Highland Capital
               Management, L.P. (RE: related document(s) 36 Stipulation and 1 Complaint filed by
               Plaintiff Highland Capital Management, L.P.). Trial date set for 12/7/2021 at 09:30 AM at
               Dallas Judge Jernigan Ctrm. Entered on 8/6/2021 (Okafor, M.)) No. of Notices: 1. Notice
  08/08/2021   Date 08/08/2021. (Admin.)

                40 Certificate of service re: Order Approving Stipulation (A) Amending Scheduling Order
               and (B) Consolidating and Resolving Certain Matters Filed by Claims Agent Kurtzman
               Carson Consultants LLC (related document(s)37 Order approving stipulation (A) amending
               schedule and (B) consolidating and resolving certain matters (RE: related document(s)2607
               Stipulation filed by Debtor Highland Capital Management, L.P. (RE: related document(s)
               36 Stipulation and 1 Complaint filed by Plaintiff Highland Capital Management, L.P.).
               Trial date set for 12/7/2021 at 09:30 AM at Dallas Judge Jernigan Ctrm. Entered on
  08/11/2021   8/6/2021 (Okafor, M.)). (Kass, Albert)

                41 Notice to take deposition of Highland Capital Management Fund Advisors, L.P. filed
  10/05/2021   by Plaintiff Highland Capital Management, L.P.. (Annable, Zachery)

                 42 Certificate of service re: Highlands Notice of Rule 30(b)(6) Deposition to Highland
               Capital Management Fund Advisors, L.P. Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)41 Notice to take deposition of Highland Capital
               Management Fund Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P..
  10/11/2021   filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                43 Notice of Reservation of Rights Regarding Application for Allowance of
               Administrative Expense Claim filed by Defendants Highland Capital Management Fund
  11/01/2021   Advisors, L.P., NexPoint Advisors, L.P.. (Vasek, Julian)

                44 Notice of Trial hearing filed by Defendants Highland Capital Management Fund
               Advisors, L.P., NexPoint Advisors, L.P.. Trial date set for 2/8/2022 at 09:30 AM at at
  12/09/2021   https://us−courts.webex.com/meet/jerniga. (Vasek, Julian)

                45 Stipulation by Highland Capital Management, L.P. and Highland Capital Management
               Fund Advisors, L.P. and NexPoint Advisors, L.P.. filed by Plaintiff Highland Capital
  12/15/2021   Management, L.P. (RE: related document(s)37 Order to set hearing). (Annable, Zachery)

                46 Order approving stipulation regarding second amended scheduling order (RE: related
               document(s)1 Complaint filed by Plaintiff Highland Capital Management, L.P., 45
               Stipulation filed by Plaintiff Highland Capital Management, L.P.). Trial Docket Call date
               set for 2/8−9/2022 at 09:30 AM Dallas Judge Jernigan Ctrm. Entered on 12/17/2021
  12/17/2021   (Okafor, Marcey)

                47 BNC certificate of mailing − PDF document. (RE: related document(s)46 Order
               approving stipulation regarding second amended scheduling order (RE: related
               document(s)1 Complaint filed by Plaintiff Highland Capital Management, L.P., 45
               Stipulation filed by Plaintiff Highland Capital Management, L.P.). Trial Docket Call date
               set for 2/8−9/2022 at 09:30 AM Dallas Judge Jernigan Ctrm. Entered on 12/17/2021) No.
  12/19/2021   of Notices: 2. Notice Date 12/19/2021. (Admin.)

  12/20/2021    48 Certificate of service re: Stipulation Regarding Second Amended Scheduling Order
               Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)45
               Stipulation by Highland Capital Management, L.P. and Highland Capital Management

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Case
 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1227
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                                                                     PageID3316
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               Fund Advisors, L.P. and NexPoint Advisors, L.P.. filed by Plaintiff Highland Capital
               Management, L.P. (RE: related document(s)37 Order to set hearing). filed by Plaintiff
               Highland Capital Management, L.P.). (Kass, Albert)

                49 Reply to Debtors Objection to Application for Administrative Claim of Highland
               Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. filed by Defendants
               Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.. (Vasek,
  12/22/2021   Julian) Modified text on 12/23/2021 (Okafor, Marcey).

                50 Certificate of service re: Order Approving Stipulation Regarding Second Amended
               Scheduling Order Filed by Claims Agent Kurtzman Carson Consultants LLC (related
               document(s)46 Order approving stipulation regarding second amended scheduling order
               (RE: related document(s)1 Complaint filed by Plaintiff Highland Capital Management,
               L.P., 45 Stipulation filed by Plaintiff Highland Capital Management, L.P.). Trial Docket
               Call date set for 2/8−9/2022 at 09:30 AM Dallas Judge Jernigan Ctrm. Entered on
  12/22/2021   12/17/2021). (Kass, Albert)

                51 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital Management, L.P..
  12/27/2021   (Annable, Zachery)

                52 Certificate of service re: Plaintiff's Notice of Service of a Subpoena to Frank
               Waterhouse Filed by Claims Agent Kurtzman Carson Consultants LLC (related
               document(s)51 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital
  12/28/2021   Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                53 Notice to take deposition of Highland Capital Management Fund Advisors, L.P. filed
  01/04/2022   by Plaintiff Highland Capital Management, L.P.. (Annable, Zachery)

                54 Notice to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland
  01/04/2022   Capital Management, L.P.. (Annable, Zachery)

                55 Notice to take deposition of Dustin Norris filed by Plaintiff Highland Capital
  01/04/2022   Management, L.P.. (Annable, Zachery)

                 56 Response opposed to (related document(s): 49 Notice (generic) filed by Defendant
               Highland Capital Management Fund Advisors, L.P., Defendant NexPoint Advisors, L.P.)
  01/05/2022   filed by Plaintiff Highland Capital Management, L.P.. (Annable, Zachery)

                 57 Certificate of service re: 1) Highland's Amended Notice of Rule 30(b)(6) Deposition to
               (A) Highland Capital Management Fund Advisors, L.P. and (B) NexPoint Advisors, L.P.;
               2) Highland's Amended Notice of Rule 30(b)(6) Deposition to (A) Highland Capital
               Management Fund Advisors, L.P. and (B) NexPoint Advisors, L.P.; and 3) Highland's
               Notice of Deposition to Dustin Norris Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)53 Notice to take deposition of Highland Capital
               Management Fund Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P..
               filed by Plaintiff Highland Capital Management, L.P., 54 Notice to take deposition of
               NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P.. filed by
               Plaintiff Highland Capital Management, L.P., 55 Notice to take deposition of Dustin Norris
               filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital
  01/06/2022   Management, L.P.). (Kass, Albert)

                 58 Certificate of service re: Highland Capital Management, L.P.'s Reply in Further
               Support of Debtor's Objection to Application for Administrative Claims of Highland
               Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. Filed by Claims
               Agent Kurtzman Carson Consultants LLC (related document(s)56 Response opposed to
               (related document(s): 49 Notice (generic) filed by Defendant Highland Capital
               Management Fund Advisors, L.P., Defendant NexPoint Advisors, L.P.) filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management,
  01/07/2022   L.P.). (Kass, Albert)

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1328
                                                             ofof
                                                               88837 PageID
                                                                     PageID3317
                                                                            59


                 59 Joint Motion to continue hearing on (related documents 1 Complaint, 45 Stipulation)
               filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
               Advisors, L.P., Plaintiff Highland Capital Management, L.P. (Attachments: # 1 Proposed
  01/31/2022   Order) (Rukavina, Davor)

                60 Agreed Amended Scheduling Order granting motion to continue trial (related
               document # 59) (related documents Complaint, Stipulation) Trial date set for 4/12/2022 at
  02/01/2022   09:30 AM at Dallas Judge Jernigan Ctrm. Entered on 2/1/2022. (Okafor, Marcey)

                 61 BNC certificate of mailing − PDF document. (RE: related document(s)60 Agreed
               Amended Scheduling Order granting motion to continue trial (related document 59)
               (related documents Complaint, Stipulation) Trial date set for 4/12/2022 at 09:30 AM at
               Dallas Judge Jernigan Ctrm. Entered on 2/1/2022.) No. of Notices: 2. Notice Date
  02/03/2022   02/03/2022. (Admin.)

                62 Certificate of service re: Agreed Amended Scheduling Order Filed by Claims Agent
               Kurtzman Carson Consultants LLC (related document(s)60 Agreed Amended Scheduling
               Order granting motion to continue trial (related document 59) (related documents
               Complaint, Stipulation) Trial date set for 4/12/2022 at 09:30 AM at Dallas Judge Jernigan
  02/04/2022   Ctrm. Entered on 2/1/2022.). (Kass, Albert)

                63 Notice to take deposition of Dustin Norris filed by Plaintiff Highland Capital
  02/26/2022   Management, L.P.. (Annable, Zachery)

                64 Notice to take deposition of Highland Capital Management Fund Advisors, L.P. and
               NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P.. (Annable,
  02/26/2022   Zachery)

                65 Notice to take deposition of Dennis J. Sauter, Jr. filed by Plaintiff Highland Capital
  02/26/2022   Management, L.P.. (Annable, Zachery)

                66 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital Management, L.P..
  03/02/2022   (Annable, Zachery)

                67 Certificate of service re: 1) Highland's Amended Notice of Deposition to Dustin
               Norris; 2) Highland's Second Amended Notice of Rule 30(b)(6) Deposition to (A)
               Highland Capital Management Fund Advisors, L.P. and (B) NexPoint Advisors, L.P.; and
               3) Highland's Amended Notice of Deposition to Dennis J. Sauter, Jr. Filed by Claims
               Agent Kurtzman Carson Consultants LLC (related document(s)63 Notice to take deposition
               of Dustin Norris filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff
               Highland Capital Management, L.P., 64 Notice to take deposition of Highland Capital
               Management Fund Advisors, L.P. and NexPoint Advisors, L.P. filed by Plaintiff Highland
               Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P., 65
               Notice to take deposition of Dennis J. Sauter, Jr. filed by Plaintiff Highland Capital
  03/03/2022   Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                68 Certificate of service re: Plaintiff's Amended Notice of Service of a Subpoena to Frank
               Waterhouse Filed by Claims Agent Kurtzman Carson Consultants LLC (related
               document(s)66 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital
  03/07/2022   Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                69 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital Management, L.P..
  03/15/2022   (Annable, Zachery)

                70 Subpoena on Highland Capital Management Fund Advisors, L.P. filed by Plaintiff
  03/15/2022   Highland Capital Management, L.P.. (Annable, Zachery)

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                            11/22/22 Page
                                                      Page1429
                                                             ofof
                                                               88837 PageID
                                                                     PageID3318
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                71 Subpoena on NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management,
               L.P.. (Annable, Zachery)

                72 Certificate of service re: 1) Plaintiffs Second Amended Notice of Service of a
               Subpoena to Frank Waterhouse; 2) Plaintiff's Notice of Service of Trial Subpoena to
               Highland Capital Management Fund Advisors, L.P.; and 3) Plaintiff's Notice of Service of
               Trial Subpoena to NexPoint Advisors, L.P. Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)69 Subpoena on Frank Waterhouse filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.,
               70 Subpoena on Highland Capital Management Fund Advisors, L.P. filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.,
               71 Subpoena on NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management,
  03/16/2022   L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                73 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital Management, L.P..
  03/22/2022   (Annable, Zachery)

                74 Certificate of service re: Plaintiffs Third Amended Notice of Service of a Subpoena to
               Frank Waterhouse Filed by Claims Agent Kurtzman Carson Consultants LLC (related
               document(s)73 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital
  03/24/2022   Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                75 Subpoena on NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management,
  04/01/2022   L.P.. (Annable, Zachery)

                76 Subpoena on Highland Capital Management Fund Advisors, L.P. filed by Plaintiff
  04/01/2022   Highland Capital Management, L.P.. (Annable, Zachery)

                77 Subpoena on James Dondero filed by Plaintiff Highland Capital Management, L.P..
  04/01/2022   (Annable, Zachery)

                78 Subpoena on Dustin Norris filed by Plaintiff Highland Capital Management, L.P..
  04/01/2022   (Annable, Zachery)

                79 Subpoena on The Retail Board filed by Plaintiff Highland Capital Management, L.P..
  04/01/2022   (Annable, Zachery)

  04/01/2022    80 (REDACTED EXHIBITS ADDED 04/18/2022); Witness and Exhibit List
               (Reorganized Debtor's Witness and Exhibit List with Respect to Trial to Be Held on April
               12−13, 2022) filed by Plaintiff Highland Capital Management, L.P. (RE: related
               document(s)1 Complaint). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
               Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit
               10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16
               Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21
               # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27
               Exhibit 27 # 28 Exhibit 28 # 29 Exhibit 29 # 30 Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32
               # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35 # 36 Exhibit 36 # 37 Exhibit 37 # 38
               Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41 Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43
               # 44 Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46 # 47 Exhibit 47 # 48 Exhibit 48 # 49
               Exhibit 49 # 50 Exhibit 50 # 51 Exhibit 51 # 52 Exhibit 52 # 53 Exhibit 53 # 54 Exhibit 54
               # 55 Exhibit 55 # 56 Exhibit 56 # 57 Exhibit 57 # 58 Exhibit 58 # 59 Exhibit 59 # 60
               Exhibit 60 # 61 Exhibit 61 # 62 Exhibit 62 # 63 Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65
               # 66 Exhibit 66 # 67 Exhibit 67 # 68 Exhibit 68 # 69 Exhibit 69 # 70 Exhibit 70 # 71
               Exhibit 71 # 72 Exhibit 72 # 73 Exhibit 73 # 74 Exhibit 74 # 75 Exhibit 75 # 76 Exhibit 76
               # 77 Exhibit 77 # 78 Exhibit 78 # 79 Exhibit 79 # 80 Exhibit 80 # 81 Exhibit 81 # 82
               Exhibit 82 # 83 Exhibit 83 # 84 Exhibit 84 # 85 Exhibit 85 # 86 Exhibit 86 # 87 Exhibit 87
               # 88 Exhibit 88 # 89 Exhibit 89 # 90 Exhibit 90 # 91 Exhibit 91 # 92 Exhibit 92 # 93
               Exhibit 93 # 94 Exhibit 94 # 95 Exhibit 95 # 96 Exhibit 96 # 97 Exhibit 97 # 98 Exhibit 98
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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
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                                            11/22/22 Page
                                                      Page1530
                                                             ofof
                                                               88837 PageID
                                                                     PageID3319
                                                                            61


               104 Exhibit 104 # 105 Exhibit 105 # 106 Exhibit 106 # 107 Exhibit 107 # 108 Exhibit 108
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               Exhibit 118 # 119 Exhibit 119 # 120 Exhibit 120 # 121 Exhibit 121 # 122 Exhibit 122 #
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               Exhibit 137 # 138 Exhibit 138 # 139 Exhibit 139 # 140 Exhibit 140 # 141 Exhibit 141 #
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               # 147 Exhibit 147 # 148 Exhibit 148 # 149 Exhibit 149 # 150 Exhibit 150 # 151 Exhibit
               151 # 152 Exhibit 152 # 153 Exhibit 153 # 154 Exhibit 154 # 155 Exhibit 155 # 156
               Exhibit 156 # 157 Exhibit 157 # 158 Exhibit 158 # 159 Exhibit 159) (Annable, Zachery)
               Additional attachment(s) added on 4/18/2022 (Okafor, Marcey).

                81 Witness and Exhibit List / Advisors' Trial Witness and Exhibit List filed by Defendants
               Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
  04/01/2022   document(s)1 Complaint). (Berghman, Thomas)

                82 Objection to (related document(s): 80 List (witness/exhibit/generic) filed by Plaintiff
               Highland Capital Management, L.P.) filed by Defendants Highland Capital Management
  04/05/2022   Fund Advisors, L.P., NexPoint Advisors, L.P.. (Berghman, Thomas)

                83 Objection to (related document(s): 81 List (witness/exhibit/generic) filed by Defendant
               Highland Capital Management Fund Advisors, L.P., Defendant NexPoint Advisors,
               L.P.)(Reorganized Debtor's Objections to Advisors' Trial Witness and Exhibit List) filed by
  04/05/2022   Plaintiff Highland Capital Management, L.P.. (Annable, Zachery)

                84 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)78 Subpoena). (Annable,
  04/06/2022   Zachery)

                85 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)77 Subpoena). (Annable,
  04/06/2022   Zachery)

                86 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)76 Subpoena). (Annable,
  04/06/2022   Zachery)

                87 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)76 Subpoena). (Annable,
  04/06/2022   Zachery)

                88 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)75 Subpoena). (Annable,
  04/06/2022   Zachery)

                89 Certificate of service re: Subpoena to Appear and Testify at a Hearing or Trial in a
               Bankruptcy Case (or Adversary Proceeding) (Affidavit of Service) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)75 Subpoena). (Annable,
  04/06/2022   Zachery)

                90 Brief in opposition filed by Defendants Highland Capital Management Fund Advisors,
  04/06/2022   L.P., NexPoint Advisors, L.P. (RE: related document(s)1 Complaint). (Rukavina, Davor)

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1631
                                                             ofof
                                                               88837 PageID
                                                                     PageID3320
                                                                            62


                91 Proposed findings of fact and conclusions of law filed by Plaintiff Highland Capital
  04/06/2022   Management, L.P. (RE: related document(s)1 Complaint). (Annable, Zachery)

                92 Proposed pre−trial order filed by Plaintiff Highland Capital Management, L.P..
  04/06/2022   (Annable, Zachery)

                93 Certificate of service re: Documents Served on April 1, 2022 Filed by Claims Agent
               Kurtzman Carson Consultants LLC (related document(s)75 Subpoena on NexPoint
               Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff
               Highland Capital Management, L.P., 76 Subpoena on Highland Capital Management Fund
               Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff
               Highland Capital Management, L.P., 77 Subpoena on James Dondero filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.,
               78 Subpoena on Dustin Norris filed by Plaintiff Highland Capital Management, L.P.. filed
               by Plaintiff Highland Capital Management, L.P., 79 Subpoena on The Retail Board filed by
               Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital
               Management, L.P., 80 Witness and Exhibit List (Reorganized Debtor's Witness and Exhibit
               List with Respect to Trial to Be Held on April 12−13, 2022) filed by Plaintiff Highland
               Capital Management, L.P. (RE: related document(s)1 Complaint). (Attachments: # 1
               Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7
               # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13
               # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
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               Exhibit 30 # 31 Exhibit 31 # 32 Exhibit 32 # 33 Exhibit 33 # 34 Exhibit 34 # 35 Exhibit 35
               # 36 Exhibit 36 # 37 Exhibit 37 # 38 Exhibit 38 # 39 Exhibit 39 # 40 Exhibit 40 # 41
               Exhibit 41 # 42 Exhibit 42 # 43 Exhibit 43 # 44 Exhibit 44 # 45 Exhibit 45 # 46 Exhibit 46
               # 47 Exhibit 47 # 48 Exhibit 48 # 49 Exhibit 49 # 50 Exhibit 50 # 51 Exhibit 51 # 52
               Exhibit 52 # 53 Exhibit 53 # 54 Exhibit 54 # 55 Exhibit 55 # 56 Exhibit 56 # 57 Exhibit 57
               # 58 Exhibit 58 # 59 Exhibit 59 # 60 Exhibit 60 # 61 Exhibit 61 # 62 Exhibit 62 # 63
               Exhibit 63 # 64 Exhibit 64 # 65 Exhibit 65 # 66 Exhibit 66 # 67 Exhibit 67 # 68 Exhibit 68
               # 69 Exhibit 69 # 70 Exhibit 70 # 71 Exhibit 71 # 72 Exhibit 72 # 73 Exhibit 73 # 74
               Exhibit 74 # 75 Exhibit 75 # 76 Exhibit 76 # 77 Exhibit 77 # 78 Exhibit 78 # 79 Exhibit 79
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               # 91 Exhibit 91 # 92 Exhibit 92 # 93 Exhibit 93 # 94 Exhibit 94 # 95 Exhibit 95 # 96
               Exhibit 96 # 97 Exhibit 97 # 98 Exhibit 98 # 99 Exhibit 99 # 100 Exhibit 100 # 101 Exhibit
               101 # 102 Exhibit 102 # 103 Exhibit 103 # 104 Exhibit 104 # 105 Exhibit 105 # 106
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               149 Exhibit 149 # 150 Exhibit 150 # 151 Exhibit 151 # 152 Exhibit 152 # 153 Exhibit 153
               # 154 Exhibit 154 # 155 Exhibit 155 # 156 Exhibit 156 # 157 Exhibit 157 # 158 Exhibit
               158 # 159 Exhibit 159) filed by Plaintiff Highland Capital Management, L.P.). (Kass,
  04/07/2022   Albert)

                94 Certificate of service re: Reorganized Debtor's Objections to Advisors' Trial Witness
               and Exhibit List Filed by Claims Agent Kurtzman Carson Consultants LLC (related
               document(s)83 Objection to (related document(s): 81 List (witness/exhibit/generic) filed by
               Defendant Highland Capital Management Fund Advisors, L.P., Defendant NexPoint
               Advisors, L.P.)(Reorganized Debtor's Objections to Advisors' Trial Witness and Exhibit
               List) filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland
  04/07/2022   Capital Management, L.P.). (Kass, Albert)



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 Case3:22-cv-02170-S
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                                            11/22/22 Page
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                95 Subpoena on Frank Waterhouse filed by Plaintiff Highland Capital Management, L.P..
  04/08/2022   (Annable, Zachery)

                96 Joint Pre−Trial order (RE: related document(s)1 Complaint filed by Plaintiff Highland
  04/08/2022   Capital Management, L.P.). Entered on 4/8/2022 (Okafor, Marcey)

                97 Motion to redact/restrict Emergency Redact (related document(s):80) (Fee Amount
               $26) filed by Plaintiff Highland Capital Management, L.P. (Attachments: # 1 Exhibit 31
               (Redacted) # 2 Exhibit 32 (Redacted) # 3 Exhibit 34 (Redacted) # 4 Exhibit 36 (Redacted)
               # 5 Exhibit 37 (Redacted) # 6 Exhibit 38 (Redacted) # 7 Exhibit 39 (Redacted) # 8 Exhibit
               40 (Redacted) # 9 Exhibit 49 (Redacted) # 10 Exhibit 76 (Redacted) # 11 Exhibit 86
  04/08/2022   (Redacted) # 12 Exhibit 142 (Redacted)) (Annable, Zachery)

                 Receipt of filing fee for Motion to Redact/Restrict From Public View( 21−03010−sgj)
               [motion,mredact] ( 26.00). Receipt number AXXXXXXXX, amount $ 26.00 (re: Doc# 97).
  04/08/2022   (U.S. Treasury)

                98 Support/supplemental document − OBJECTIONS TO TRIAL SUBPOENAS DUCES
               TECUM filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
  04/08/2022   Advisors, L.P. (RE: related document(s)75 Subpoena, 76 Subpoena). (Berghman, Thomas)

                 99 Certificate of service re: re 1) Highland's Proposed Findings of Fact and Conclusions of
               Law; and 2) Joint Pretrial Order Filed by Claims Agent Kurtzman Carson Consultants LLC
               (related document(s)91 Proposed findings of fact and conclusions of law filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)1 Complaint). filed by
               Plaintiff Highland Capital Management, L.P., 92 Proposed pre−trial order filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.).
  04/08/2022   (Kass, Albert)

                100 BNC certificate of mailing − PDF document. (RE: related document(s)96 Joint
               Pre−Trial order (RE: related document(s)1 Complaint filed by Plaintiff Highland Capital
               Management, L.P.). Entered on 4/8/2022) No. of Notices: 2. Notice Date 04/10/2022.
  04/10/2022   (Admin.)

                101 Objection to (related document(s): 98 Support/supplemental document filed by
               Defendant Highland Capital Management Fund Advisors, L.P., Defendant NexPoint
               Advisors, L.P.)(Highland's Response to Objections to Trial Subpoenas Duces Tecum) filed
  04/11/2022   by Plaintiff Highland Capital Management, L.P.. (Annable, Zachery)

                102 Declaration re: (Declaration of John A. Morris in Support of Highland's Response to
               Objections to Trial Subpoenas Duces Tecum) filed by Plaintiff Highland Capital
               Management, L.P. (RE: related document(s)101 Objection). (Attachments: # 1 Exhibit 1 # 2
  04/11/2022   Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5) (Annable, Zachery)

                103 Certificate of service re: 1) Plaintiff's Notice of Service of a Trial Subpoena to Frank
               Waterhouse ; 2) Joint Pretrial Order; and 3) Reorganized Debtor's Emergency Motion to
               Redact Certain Exhibits Attached to Reorganized Debtor's Witness and Exhibit List with
               Respect to Trial to be Held on April 12 − 13, 2022 Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)95 Subpoena on Frank Waterhouse filed by Plaintiff
               Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.,
               96 Joint Pre−Trial order (RE: related document(s)1 Complaint filed by Plaintiff Highland
               Capital Management, L.P.). Entered on 4/8/2022, 97 Motion to redact/restrict Emergency
               Redact (related document(s):80) (Fee Amount $26) filed by Plaintiff Highland Capital
               Management, L.P. (Attachments: # 1 Exhibit 31 (Redacted) # 2 Exhibit 32 (Redacted) # 3
               Exhibit 34 (Redacted) # 4 Exhibit 36 (Redacted) # 5 Exhibit 37 (Redacted) # 6 Exhibit 38
               (Redacted) # 7 Exhibit 39 (Redacted) # 8 Exhibit 40 (Redacted) # 9 Exhibit 49 (Redacted) #
               10 Exhibit 76 (Redacted) # 11 Exhibit 86 (Redacted) # 12 Exhibit 142 (Redacted)) filed by
  04/12/2022   Plaintiff Highland Capital Management, L.P.). (Kass, Albert)


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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
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                                          01/12/23
                                            11/22/22 Page
                                                      Page1833
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                104 Certificate of service re: 1) Highland's Response to Objections to Trial Subpoenas
               Duces Tecum; and 2) Declaration of John A. Morris in Support of Highland's Response to
               Objections to Trial Subpoenas Duces Tecum Filed by Claims Agent Kurtzman Carson
               Consultants LLC (related document(s)101 Objection to (related document(s): 98
               Support/supplemental document filed by Defendant Highland Capital Management Fund
               Advisors, L.P., Defendant NexPoint Advisors, L.P.)(Highland's Response to Objections to
               Trial Subpoenas Duces Tecum) filed by Plaintiff Highland Capital Management, L.P.. filed
               by Plaintiff Highland Capital Management, L.P., 102 Declaration re: (Declaration of John
               A. Morris in Support of Highland's Response to Objections to Trial Subpoenas Duces
               Tecum) filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)101
               Objection). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit
  04/12/2022   5) filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                105 Hearing continued (RE: related document(s)1 Adversary case 21−03010. Complaint
               by Highland Capital Management, L.P. against Highland Capital Management Fund
               Advisors, L.P., NexPoint Advisors, L.P., Nature(s) of suit: 91 (Declaratory judgment). 02
               (Other (e.g. other actions that would have been brought in state court if unrelated to
               bankruptcy)). 72 (Injunctive relief − other), filed by Plaintiff Highland Capital
               Management, L.P.) Continued Hearing to be held on 4/13/2022 at 09:30 AM Dallas Judge
  04/12/2022   Jernigan Ctrm for 1, (Edmond, Michael) (Entered: 04/13/2022)

                106 Request for transcript regarding a hearing held on 4/12/2022. The requested
  04/12/2022   turn−around time is hourly. (Edmond, Michael) (Entered: 04/13/2022)

                115 Court admitted exhibits date of hearing April 12, 2022 (RE: related document(s)1
               Adversary case 21−03010. Complaint by Highland Capital Management, L.P. against
               Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Nature(s) of
               suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions that would have been brought
               in state court if unrelated to bankruptcy)). 72 (Injunctive relief − other). filed by Plaintiff
               Highland Capital Management, L.P.) (COURT ADMITTED ALL OF
               PLAINTIFF'S/DEBTOR EXHIBITS #1 THROUGH #161 BY JOHN MORRIS & COURT
               ADMITTED DEFENDANT'S/HCM FUND ADVISORS, L.P. AND NEXPOINT
               ADVISORS, L.P., EXHIBITS #A, #B, #C, #D, #E, #F, #G, #H, #I, #J, #K, #M, #N, #O, #P,
               #Q, #R, #S, #T, #U, #V, #W, #X, #Y, #AA, #BB, #CC & #EE BY DAVOR RUKAVINA)
  04/12/2022   (Edmond, Michael) (Entered: 04/15/2022)

                107 Request for transcript regarding a hearing held on 4/12/2022. The requested
  04/13/2022   turn−around time is hourly (Bergreen, J.)

                108 Request for transcript regarding a hearing held on 4/13/2022. The requested
  04/13/2022   turn−around time is hourly. (Edmond, Michael)

                109 Hearing held on 4/13/2022. (RE: related document(s)1 Adversary case 21−03010.
               Complaint by Highland Capital Management, L.P. against Highland Capital Management
               Fund Advisors, L.P., NexPoint Advisors, L.P., Adversary Cover Sheet). Nature(s) of suit:
               91 (Declaratory judgment). 02 (Other (e.g. other actions that would have been brought in
               state court if unrelated to bankruptcy)). 72 (Injunctive relief − other). filed by Plaintiff
               Highland Capital Management, L.P.) (Appearances: J. Morris, H. Winograd, and G. Demo
               for Reorganized Debtor; D. Rukavina and T. Berghman for HCMFA and NPA. Evidentiary
               hearing. Evidence closed. Court will schedule closing arguments (WebEx only) in one−two
               week time frame. Court room deputy will reach out to parties regarding same.) (Edmond,
  04/13/2022   Michael) (Entered: 04/14/2022)

  04/14/2022    110 Transcript regarding Hearing Held 04/12/2022 (155 pages) RE: Trial Day 1 (9:38 am
               to 2:19 pm segment). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
               AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING.
               TRANSCRIPT RELEASE DATE IS 07/13/2022. Until that time the transcript may be
               viewed at the Clerk's Office or a copy may be obtained from the official court transcriber.
               Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
               number 972−783−3063. (RE: related document(s) 105 Hearing continued (RE: related

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                            11/22/22 Page
                                                      Page1934
                                                             ofof
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                                                                     PageID3323
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               document(s)1 Adversary case 21−03010. Complaint by Highland Capital Management, L.P.
               against Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.,
               Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions that would have
               been brought in state court if unrelated to bankruptcy)). 72 (Injunctive relief − other), filed
               by Plaintiff Highland Capital Management, L.P.) Continued Hearing to be held on
               4/13/2022 at 09:30 AM Dallas Judge Jernigan Ctrm for 1,). Transcript to be made available
               to the public on 07/13/2022. (Rehling, Kathy)

                    111 PDF with attached Audio File. Court Date & Time [04/12/2022 08:44:21 AM].
  04/14/2022   File Size [ 124265 KB ]. Run Time [ 08:52:34 ]. (admin).

                    112 PDF with attached Audio File. Court Date & Time [04/13/2022 08:49:27 AM].
  04/14/2022   File Size [ 25764 KB ]. Run Time [ 01:50:11 ]. (admin).

                 113 Transcript regarding Hearing Held 04/12/2022 RE: hearing. THIS TRANSCRIPT
               WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
               DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 07/14/2022.
               Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained
               from the official court transcriber. Court Reporter/Transcriber Acorn Transcripts, LLC,
               Telephone number 1−800−750−5747. (RE: related document(s) 105 Hearing continued
               (RE: related document(s)1 Adversary case 21−03010. Complaint by Highland Capital
               Management, L.P. against Highland Capital Management Fund Advisors, L.P., NexPoint
               Advisors, L.P., Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions
               that would have been brought in state court if unrelated to bankruptcy)). 72 (Injunctive
               relief − other), filed by Plaintiff Highland Capital Management, L.P.) Continued Hearing to
               be held on 4/13/2022 at 09:30 AM Dallas Judge Jernigan Ctrm for 1,). Transcript to be
  04/15/2022   made available to the public on 07/14/2022. (Gardelli, Nancy)

                 114 Transcript regarding Hearing Held 04/13/2022 RE: Hearing. THIS TRANSCRIPT
               WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
               DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 07/14/2022.
               Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained
               from the official court transcriber. Court Reporter/Transcriber Acorn Transcripts, LLC,
               Telephone number 1−800−750−5747. (RE: related document(s) 109 Hearing held on
               4/13/2022. (RE: related document(s)1 Adversary case 21−03010. Complaint by Highland
               Capital Management, L.P. against Highland Capital Management Fund Advisors, L.P.,
               NexPoint Advisors, L.P., Adversary Cover Sheet). Nature(s) of suit: 91 (Declaratory
               judgment). 02 (Other (e.g. other actions that would have been brought in state court if
               unrelated to bankruptcy)). 72 (Injunctive relief − other). filed by Plaintiff Highland Capital
               Management, L.P.) (Appearances: J. Morris, H. Winograd, and G. Demo for Reorganized
               Debtor; D. Rukavina and T. Berghman for HCMFA and NPA. Evidentiary hearing.
               Evidence closed. Court will schedule closing arguments (WebEx only) in one−two week
               time frame. Court room deputy will reach out to parties regarding same.)). Transcript to be
  04/15/2022   made available to the public on 07/14/2022. (Gardelli, Nancy)

  04/18/2022    116 Transcript regarding Hearing Held 04/13/22 RE: Trial PM Session. THIS
               TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
               GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
               RELEASE DATE IS 07/18/2022. Until that time the transcript may be viewed at the Clerk's
               Office or a copy may be obtained from the official court transcriber. Court
               Reporter/Transcriber Liberty Transcripts/Dipti Patel, Telephone number 847−848−4907.
               (RE: related document(s) 109 Hearing held on 4/13/2022. (RE: related document(s)1
               Adversary case 21−03010. Complaint by Highland Capital Management, L.P. against
               Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Adversary
               Cover Sheet). Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions that
               would have been brought in state court if unrelated to bankruptcy)). 72 (Injunctive relief −
               other). filed by Plaintiff Highland Capital Management, L.P.) (Appearances: J. Morris, H.
               Winograd, and G. Demo for Reorganized Debtor; D. Rukavina and T. Berghman for
               HCMFA and NPA. Evidentiary hearing. Evidence closed. Court will schedule closing
               arguments (WebEx only) in one−two week time frame. Court room deputy will reach out to

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
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                                          01/12/23
                                            11/22/22 Page
                                                      Page2035
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                                                                     PageID3324
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               parties regarding same.)). Transcript to be made available to the public on 07/18/2022.
               (Patel, Dipti)

                117 Amended Witness and Exhibit List (Reorganized Debtor's Amended Witness and
               Exhibit List with Respect to Trial to Be Held on April 12−13, 2022) filed by Plaintiff
               Highland Capital Management, L.P. (RE: related document(s)80 List
               (witness/exhibit/generic)). (Attachments: # 1 Exhibit 160 # 2 Exhibit 161) (Annable,
  04/18/2022   Zachery)

                118 Order Granting Emergency Motion to Redact Certain Exhibits (Related Doc # 97)
  04/18/2022   Entered on 4/18/2022. (Okafor, Marcey)

                119 Trial/Closing arguments set (RE: related document(s)1 Adversary case 21−03010.
               Complaint by Highland Capital Management, L.P. against Highland Capital Management
               Fund Advisors, L.P., NexPoint Advisors, L.P.. Fee Amount $350 (Attachments: # 1 Exhibit
               A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
               Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Adversary Cover Sheet). Nature(s) of suit: 91
               (Declaratory judgment). 02 (Other (e.g. other actions that would have been brought in state
               court if unrelated to bankruptcy)). 72 (Injunctive relief − other). filed by Plaintiff Highland
               Capital Management, L.P.) Trial date set for 4/27/2022 at 01:30 PM at at
  04/19/2022   https://us−courts.webex.com/meet/jerniga. Parties should appear via Webex. (Ellison, T.)

                120 Certificate of service re: 1) Reorganized Debtor's Amended Witness and Exhibit List
               with Respect to Trial to be Held on April 12 − 13, 2022; and 2) Order Granting Emergency
               Motion to Redact Certain Exhibits Attached to Reorganized Debtor's Witness and Exhibit
               List with Respect to Trial to be Held on April 12 − 13, 2022 Filed by Claims Agent
               Kurtzman Carson Consultants LLC (related document(s)117 Amended Witness and Exhibit
               List (Reorganized Debtor's Amended Witness and Exhibit List with Respect to Trial to Be
               Held on April 12−13, 2022) filed by Plaintiff Highland Capital Management, L.P. (RE:
               related document(s)80 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 160 # 2
               Exhibit 161) filed by Plaintiff Highland Capital Management, L.P., 118 Order Granting
               Emergency Motion to Redact Certain Exhibits (Related Doc 97) Entered on 4/18/2022.).
  04/20/2022   (Kass, Albert)

                121 Hearing held on 4/27/2022. (RE: related document(s)1 Adversary case 21−03010.
               Complaint by Highland Capital Management, L.P. against Highland Capital Management
               Fund Advisors, L.P., NexPoint Advisors, L.P., Adversary Cover Sheet). Nature(s) of suit:
               91 (Declaratory judgment). 02 (Other (e.g. other actions that would have been brought in
               state court if unrelated to bankruptcy)). 72 (Injunctive relief − other), filed by Plaintiff
               Highland Capital Management, L.P.) (Appearances: J. Morris for Reorganized Debtor; D.
               Rukavina for HCMFA and NexPoint Advisors. Nonevidentiary hearing (closing
               arguments). Court took matter under advisement.) (Edmond, Michael) (Entered:
  04/27/2022   04/28/2022)

                123 Request for transcript regarding a hearing held on 4/27/2022. The requested
  05/04/2022   turn−around time is hourly (Smith, Caitlynne) (Entered: 05/25/2022)

  05/09/2022    122 Transcript regarding Hearing Held 4/27/2022 RE: Closing Arguments. THIS
               TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
               GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
               RELEASE DATE IS 08/8/2022. Until that time the transcript may be viewed at the Clerk's
               Office or a copy may be obtained from the official court transcriber. Court
               Reporter/Transcriber Dipti Patel/Liberty Transcripts, Telephone number 847−848−4907.
               (RE: related document(s) 121 Hearing held on 4/27/2022. (RE: related document(s)1
               Adversary case 21−03010. Complaint by Highland Capital Management, L.P. against
               Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P., Adversary
               Cover Sheet). Nature(s) of suit: 91 (Declaratory judgment). 02 (Other (e.g. other actions that
               would have been brought in state court if unrelated to bankruptcy)). 72 (Injunctive relief −
               other), filed by Plaintiff Highland Capital Management, L.P.) (Appearances: J. Morris for
               Reorganized Debtor; D. Rukavina for HCMFA and NexPoint Advisors. Nonevidentiary

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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document6-1
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                                          01/12/23
                                            11/22/22 Page
                                                      Page2136
                                                             ofof
                                                               88837 PageID
                                                                     PageID3325
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               hearing (closing arguments). Court took matter under advisement.)). Transcript to be made
               available to the public on 08/8/2022. (Patel, Dipti)

                124 Findings of fact and conclusions of law in support of judgment: (A) granting breach of
               contract claims asserted by the Reorganized Debtor; and (B) denying Defendants' requests
               for allowance of administrative expense claims (RE: related document(s)1 Complaint filed
  08/30/2022   by Plaintiff Highland Capital Management, L.P.). Entered on 8/30/2022 (Okafor, Marcey)

                125 BNC certificate of mailing − PDF document. (RE: related document(s)124 Findings of
               fact and conclusions of law in support of judgment: (A) granting breach of contract claims
               asserted by the Reorganized Debtor; and (B) denying Defendants' requests for allowance of
               administrative expense claims (RE: related document(s)1 Complaint filed by Plaintiff
               Highland Capital Management, L.P.). Entered on 8/30/2022) No. of Notices: 2. Notice Date
  09/01/2022   09/01/2022. (Admin.)

  09/14/2022    126 Judgment (final). Entered on 9/14/2022 (Okafor, Marcey)

                 127 BNC certificate of mailing − PDF document. (RE: related document(s)126 Judgment
  09/16/2022   (final). Entered on 9/14/2022) No. of Notices: 2. Notice Date 09/16/2022. (Admin.)

                128 Notice of appeal . Fee Amount $298 filed by Defendants Highland Capital
               Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)126
  09/20/2022   Judgment). Appellant Designation due by 10/4/2022. (Rukavina, Davor)

                 Receipt of filing fee for Notice of appeal( 21−03010−sgj) [appeal,ntcapl] ( 298.00).
  09/20/2022   Receipt number AXXXXXXXX, amount $ 298.00 (re: Doc# 128). (U.S. Treasury)

                130 Notice of docketing notice of appeal. Civil Action Number: 3:22−cv−02170−S. (RE:
               related document(s)128 Notice of appeal . Fee Amount $298 filed by Defendants Highland
               Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related
               document(s)126 Judgment). Appellant Designation due by 10/4/2022.) (Whitaker,
  09/30/2022   Sheniqua)

                 131 Certificate of mailing regarding appeal (RE: related document(s)128 Notice of appeal .
               filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
               Advisors, L.P. (RE: related document(s)126 Judgment). Appellant Designation due by
  09/30/2022   10/4/2022.) (Attachments: # 1 Service List) (Whitaker, Sheniqua)

                132 Notice regarding the record for a bankruptcy appeal to the U.S. District Court. (RE:
               related document(s)128 Notice of appeal . filed by Defendants Highland Capital
               Management Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)126
  09/30/2022   Judgment). (Whitaker, Sheniqua)

                133 Statement of issues on appeal, filed by Defendants Highland Capital Management
               Fund Advisors, L.P., NexPoint Advisors, L.P. (RE: related document(s)128 Notice of
  10/02/2022   appeal). (Rukavina, Davor)

                134 Appellant designation of contents for inclusion in record on appeal filed by
               Defendants Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.
               (RE: related document(s)128 Notice of appeal). Appellee designation due by 10/17/2022.
  10/02/2022   (Rukavina, Davor)

                135 BNC certificate of mailing. (RE: related document(s)132 Notice regarding the record
               for a bankruptcy appeal to the U.S. District Court. (RE: related document(s)128 Notice of
               appeal . filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
               Advisors, L.P. (RE: related document(s)126 Judgment).) No. of Notices: 0. Notice Date
  10/02/2022   10/02/2022. (Admin.)



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 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
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                                          01/12/23
                                            11/22/22 Page
                                                      Page2237
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                                                               88837 PageID
                                                                     PageID3326
                                                                            68


                136 Clerk's correspondence requesting amended designation from attorney for debtor.
               (RE: related document(s)134 Appellant designation of contents for inclusion in record on
               appeal filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
               Advisors, L.P. (RE: related document(s)128 Notice of appeal). Appellee designation due by
  10/04/2022   10/17/2022.) Responses due by 10/7/2022. (Blanco, J.)

                137 Amended appellant designation of contents for inclusion in record on appeal filed by
               Defendants Highland Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.
  10/04/2022   (RE: related document(s)134 Appellant designation). (Rukavina, Davor)

                 138 Motion to stay pending appeal (Agreed Motion) (related documents 126 Judgment)
               filed by Defendants Highland Capital Management Fund Advisors, L.P., NexPoint
  10/07/2022   Advisors, L.P. (Attachments: # 1 Proposed Order) (Rukavina, Davor)

                139 Support/supplemental document Supersedeas Bond filed by Defendant NexPoint
  10/07/2022   Advisors, L.P. (RE: related document(s)126 Judgment). (Rukavina, Davor)

                140 Support/supplemental document Supersedeas Bond filed by Defendant Highland
               Capital Management Fund Advisors, L.P. (RE: related document(s)126 Judgment).
  10/07/2022   (Rukavina, Davor)

                141 Agreed Order conditionally staying judgment pending appeal (related document #
  10/11/2022   138) Entered on 10/11/2022. (Okafor, Marcey)

                 142 Receipt of court papers − supersedeas bond Nexpoint Advisors receipt #D307 (RE:
               related document(s)141 Agreed Order conditionally staying judgment pending appeal
  10/13/2022   (related document 138) Entered on 10/11/2022.) (Ecker, C.)

                143 Receipt of court papers − supersedeas Bond Highland Capital Management Fund
               Advisors, L.P. receipt #D308 (RE: related document(s)141 Agreed Order conditionally
               staying judgment pending appeal (related document 138) Entered on 10/11/2022.) (Ecker,
  10/13/2022   C.)

                144 BNC certificate of mailing − PDF document. (RE: related document(s)141 Agreed
               Order conditionally staying judgment pending appeal (related document 138) Entered on
  10/13/2022   10/11/2022.) No. of Notices: 2. Notice Date 10/13/2022. (Admin.)




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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 23 of 888 PageID 3327




                        Tab 2
Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
Case
 Case3:22-cv-02170-S
       3:22-cv-02170-SDocument
                       Document
                          Document
                               6-1
                                 2-2Filed
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                                        Page
                                          01/12/23
                                            11/22/22
                                              1 of 17Page
                                                      Page245of
                                                              of888
                                                                 222 PageID
                                                                     PageID3328
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PACHULSKI STANG ZIEHL & JONES LLP
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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

In re:                                                       §
                                                             §    Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                             §    Case No. 19-34054-sgj11
                                                             §
                                  Debtor.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §
                                                             §    Adversary Proceeding No.
                                  Plaintiff,
                                                             §
                                                             §    _____________________
vs.
                                                             §
HIGHLAND CAPITAL MANAGEMENT FUND                             §
                                                             §
ADVISORS, L.P., AND NEXPOINT ADVISORS,
                                                             §
L.P.,
                                                             §
                       Defendants.




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                                              2 of 17Page
                                                      Page256of
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                 PLAINTIFF HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                   VERIFIED ORIGINAL COMPLAINT FOR DAMAGES
                  AND FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

possession (“Plaintiff” or the “Debtor”), by its undersigned counsel, files this Verified Original

Complaint for Damages and for Declaratory and Injunctive Relief (the “Complaint”) against

defendants Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and NexPoint

Advisors, L.P. (“NPA,” and together with HCMFA, the “Defendants” or the “Advisors”),

seeking damages and declaratory and injunctive relief pursuant to sections 105(a), 362, 542, and

1107 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 7001(7) and 7065

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In support of its

Complaint, the Debtor alleges upon knowledge of its own actions and upon information and

belief as to other matters as follows:

                                    PRELIMINARY STATEMENT 2

        1.       The Advisors serve as the investment manager, either directly or indirectly, to a

number of investment vehicles (collectively, the “Funds”) regulated pursuant to the Securities

Act of 1933, the Securities Exchange Act of 1934, and the Investment Company Act of 1940.

Certain of the Funds are publicly traded and have thousands of retail investors who are at risk

due to the Advisors’ deleterious conduct.

        2.       The Advisors are owned and controlled by James Dondero. Pursuant to certain

Shared Services Agreements, the Debtor has historically provided back-office and middle-office

services that enable the Advisors to manage the Funds. Although the Debtor is paid for these




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 Capitalized terms not specifically defined in this Preliminary Statement shall have the meanings ascribed to them
below.

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services, providing the services requires the Debtor to maintain a full staff, the cost of which has

historically caused substantial net losses to the Debtor.

          3.     Each of the Shared Services Agreements gives either party the unilateral right to

terminate the respective Shared Services Agreement by providing prior written notice. On

November 30, 2020, the Debtor provided written notice of its intent to terminate the Shared

Services Agreements effective as of January 31, 2021.

          4.     The Termination Notices could not have come as a surprise to the Advisors

because the Debtor was in bankruptcy and had been pursuing an “asset monetization” plan of

reorganization that would leave it with a substantially scaled-down work force since at least

August 2020. With that in mind, the Debtor began developing a plan pursuant to which the

shared services would be transitioned to an entity that would be created, owned, and operated by

certain of the Debtor’s employees who were expected to be terminated as part of the

implementation of the Debtor’s Plan.

          5.     At the same time, the Debtor continued to provide the services required under the

Shared Services Agreements – despite the Advisors being in substantial arrears with an

outstanding amount due to the Debtor in excess of $3 million – and otherwise continued in its

attempts to transition those services in a smooth and orderly manner. Indeed, in order to give the

Advisors more time to engage and complete the transition, the Debtor has extended the

termination date on two occasions, with the current termination deadline being February 19,

2021. 3



3
  Although the Shared Services Agreement will terminate on February 19, 2021, the Debtor is willing to further
extend the termination dates of the Shared Services Agreements through February 28, 2021, solely to prevent
catastrophic harm to the retail investors in the Funds, but the Debtor will be unable to extend the termination date
any further as the Debtor is expected to reduce its workforce at the end of February and will have insufficient
personnel thereafter to perform under the Shared Services Agreements.

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                                                      Page278of
                                                              of888
                                                                 222 PageID
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        6.       Regrettably, as described in more detail below, and notwithstanding the Debtor’s

best efforts to aid in the transition of services, the Advisors have willfully failed and refused to

adopt and effectuate a transition plan, choosing instead to spend the last months threatening the

Debtor and certain of its employees and seeking to deflect responsibility for their own wrongful

conduct.

        7.       The status quo is untenable. The Debtor has the contractual right to terminate the

Shared Services Agreements and has exercised that right. Pursuant to the Debtor’s Plan, there

will shortly be a substantial reduction in the Debtor’s work force and the Debtor will be unable

to provide services to the Advisors. The Advisors’ failure to work with the Debtor or to

otherwise develop a transition plan of their own has put thousands of retail investors at risk.

        8.       The Debtor is faced with an awful choice. It can either (a) exercise its rights to

terminate the Shared Services Agreements to the detriment of the Funds and their investors, and

be sucked into more litigation because of Mr. Dondero’s conduct, or (b) attempt to provide

services to the Advisors under the Shared Services Agreements at substantial losses and risk

material delays in the implementation of the Debtor’s Plan.

        9.       Therefore, in addition to seeking damages and declaratory relief, the Debtor is

filing a separate emergency motion for a mandatory injunction compelling the Advisors to adopt

and implement a transition plan by February 28, 2021, when the Debtor is expected to

substantially reduce its workforce. In the absence of such a mandate, the Funds (together with

their thousands of investors) and the Debtor will be irreparably harmed.




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                                              5 of 17Page
                                                      Page289of
                                                              of888
                                                                 222 PageID
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                                  JURISDICTION AND VENUE

        10.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and § 1334(b). This adversary proceeding is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A) and (O).

        11.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

        12.      This adversary proceeding is commenced pursuant to Bankruptcy Rules 7001 and

7065, Bankruptcy Code sections 105(a) and 362, 28 U.S.C. §§ 2201 and 2202, and applicable

Delaware law.

                                           THE PARTIES

        13.      The Debtor is a limited liability partnership formed under the laws of Delaware

with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

        14.      Upon information and belief, HCMFA is a limited partnership with offices

located in Dallas, Texas.

        15.      Upon information and belief, NPA is a limited partnership with offices located in

Dallas, Texas.

                                      CASE BACKGROUND

        16.      On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland

Bankruptcy Case”).

        17.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

Official Committee of Unsecured Creditors with the following members:                  (a) Redeemer

Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities LLC and UBS



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AG London Branch, and (d) Acis Capital Management, L.P. and Acis Capital Management GP

LLC.

           18.      On December 4, 2019, the Delaware Court entered an order transferring venue of

the Highland Bankruptcy Case to this Court [Docket No. 186]. 4

           19.      The Debtor has continued to operate and manage its business as a debtor-in-

possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or examiner has

been appointed in this chapter 11 case.

           20.      On November 24, 2020, the Debtor filed the Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (the “Plan”).

           21.      On February 2 and 3, 2021, the Court conducted a confirmation hearing with

respect to the Plan. [Docket No. 1808].

           22.      On February 8, 2021, the Court rendered an opinion in which it approved the

Plan. [Docket No. 1924].

                                           STATEMENT OF FACTS

A.         The Debtor Has the Contractual Right to Terminate the Shared
           Services Agreements, and It Timely Exercised that Right

           23.      The Debtor is party to the Shared Services Agreements pursuant to which it has a

contractual right of termination upon written notice.

The Debtor’s Shared Services Agreement with HCMFA

           24.      The Debtor and HCMFA are parties to that certain Second Amended and Restated

Shared Services Agreement, effective as of February 8, 2013 (the “HCMFA Shared Services

Agreement”), a copy of which is attached hereto as Exhibit A.




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    All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                                      Page30
                                                           11ofof888
                                                                  222 PageID
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        25.      Pursuant to section 2.01 of the HCMFA Shared Services Agreement and Annex A

affixed thereto, the Debtor provides certain services to HCMFA that enable HCMFA to manage

the Funds.

        26.      The HCMFA Shared Services Agreement was for a one-year term, subject to

automatic one-year renewals “unless sooner terminated under Section 7.02.”

        27.      Section 7.02 of the Shared Services Agreement provides that “[e]ither Party may

terminate this Agreement, with or without cause, upon at least 60 days advance written notice at

any time prior to the expiration of the Term.”

        28.      On November 30, 2020, the Debtor provided written notice to HCMFA that it

intended to terminate the HCMFA Shared Services Agreement as of January 31, 2021 (the

“HCMFA Termination Notice”). A copy of the HCMFA Termination Notice is attached hereto

as Exhibit B.

The Debtor’s Shared Services Agreement with NPA

        29.      The Debtor and NPA are parties to that certain Amended and Restated Shared

Services Agreement, effective as of January 1, 2018 (the “NPA Shared Services Agreement” and

together with the HCMFA Shared Services Agreement, the “Shared Services Agreements”), a

copy of which is attached hereto as Exhibit C.

        30.      Pursuant to Article II of the NPA Shared Services Agreement, the Debtor

provides certain services to NPA that enable NPA to manage the Funds.

        31.      The NPA Shared Services Agreement did not have a fixed term. Instead, section

7.01 provided that “[e]ither Party may terminate this Agreement at any time upon at least thirty

(30) days’ written notice to the other.”

        32.      On November 30, 2020, the Debtor provided written notice to NPA that it

intended to terminate the NPA Shared Services Agreement as of January 31, 2021 (the “NPA

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                                           11/22/22
                                              8 of 17Page
                                                      Page31
                                                           12ofof888
                                                                  222 PageID
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Termination Notice” and together with the HCMFA Termination Notice, the “Termination

Notices”). A copy of the NPA Termination Notice is attached hereto as Exhibit D.

B.      Prior to Providing the Termination Notices, the Debtor Worked
        on a Transition Plan, but the Advisors Failed to Engage or Pay for
        Services Rendered

        33.      On August 12, 2020, after considering its strategic options, the Debtor filed an

“asset monetization” plan of reorganization pursuant to which, in general, the Debtor proposed to

reduce staff, reject certain contracts, and monetize its assets consistent with maximizing value

for all stakeholders. [Docket No. 944].

        34.      Thus, at least as of that time, all stakeholders – including the Advisors – were on

notice that the Debtor intended to continue operations on a scaled-down basis with the goal being

an orderly monetization of assets. 5

        35.      Consistent with that intent, the Debtor began formulating a plan for the transition

of services provided under the Shared Services Agreements.

        36.      Specifically, beginning in the summer of 2020, the Debtor attempted to negotiate

for the orderly transition of services with James Dondero, the individual who owns and controls

each of the Advisors.

        37.      The Debtor’s proposal contemplated the transition of services to the Advisors

from the Debtor to an entity that would be created, owned, and operated by certain of the

Debtor’s employees (“NewCo”) who were expected to be terminated as part of the Debtor’s asset

monetization plan.

5
  Furthermore, on November 13, 2020, the Debtor filed its Third Amended Plan of Reorganization of Highland
Capital Management [Docket No. 1383] (the “Third Amended Plan”). In its Third Amended Plan (and subsequent
plans), the Debtor explicitly stated that it did not intend to continue providing services under the Shared Service
Agreements precisely because they are money losers. Third Amended Plan, Art. IV.A (“[I]t is currently anticipated
that neither the Reorganized Debtor nor the Claimant Trust will assume or assume and assign the contracts between
the Debtor and certain Related Entities pursuant to which the Debtor provides shared services and sub-advisory
services to those Related Entities. The Debtor believes that the continued provision of the services under such
contracts will not be cost effective.”)

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                                        Page  9 of 17Page
                                                      Page32
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        38.      With Mr. Dondero in control, the Advisors never provided any constructive

response to the Debtor’s proposal. Indeed, Mr. Dondero specifically informed the Debtor that he

intended to make the transition difficult for the apparent purpose of creating leverage in plan

negotiations.

        39.      In addition to failing to engage in any process designed to provide for the orderly

transition of services, the Advisors also failed to pay the Debtor for the services provided under

the Shared Services Agreement.

        40.      Since the Petition Date, each of the Advisors has failed to meet certain of its

payment obligations under the Shared Services Agreements. For the period between the Petition

Date and January 31, 2021, (a) HCMFA owes the Debtor $2,121,276 for services rendered under

the HCMFA Shared Services Agreement, and (b) NPA owes the Debtor $932,977 for services

rendered under the NPA Shared Services Agreement. These amounts exclude amounts owed for

services provided prior to the Petition Date.

        41.      The Debtor loses significant money providing services under the Shared Services

Agreements, which is why it publicly stated its intention in the Third Amended Plan (and each

subsequent amendment and modification to the Plan) not to assume or assume and assign them.

While that is bad enough, the Advisors failure to pay for services previously rendered is a blatant

breach of the Agreements.

C.      The Debtor Offers to Extend the Termination Date to Avoid a
        Catastrophe and Attempts to Engage the Funds’ Board to Aid in
        the Adoption of a Transition Plan

        42.      Instead of engaging in the process, the Advisors and certain of their employees

were more focused on threatening the Debtor and its employees, all in a transparent effort to

deflect responsibility for their own obstinate and wrongful conduct.



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                                           11/22/22
                                             10 of 17Page
                                                      Page33
                                                           14ofof888
                                                                  222 PageID
                                                                       PageID3337
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        43.      With the January 31, 2021 termination date fast approaching, and with the

Advisors continuing to fail to work cooperatively on a transition plan, the Debtor took the

initiative and offered to extend the termination date by two weeks (i) in order to avoid

catastrophic consequences for the Funds and their investors that would result from an abrupt

termination, and (ii) in the hope that the Advisors would use the extended time to finally and

constructively engage.

        44.      Thus, on January 29, 2021, the parties executed an agreement extending the

termination date to February 14, 2021 in exchange for the Advisors paying in advance for

services to be rendered by the Debtor during that two-week period. A copy of the January 29,

2021, agreement is attached hereto as Exhibit E.

        45.      During the two-week period, the Debtor and its employees and professionals

made every effort to bring the issue of the transition of services to a resolution. Among other

things, the Debtor continued to refine the proposal for the transition of services to NewCo.

        46.      The Debtor also attempted to get the attention of the Funds’ Boards because it

was concerned that the Boards were either uninformed, not engaged, or were under the influence

and control of Mr. Dondero.

        47.      Among other communications, James P. Seery, Jr., the Debtor’s Chief Executive

Officer, sent formal written communications to the Board of Directors for the Funds on January

27, 2021, February 8, 2021, and February 12, 2021. 6 Copies of Mr. Seery’s letters are attached

hereto as Exhibits F, G and H, respectively.

        48.      Despite the efforts of certain of the Advisors’ professionals, and despite the

Debtor’s willingness to make all reasonable concessions on a transition agreement, Mr. Dondero


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 Mr. Seery’s formal correspondence was in addition to his informal correspondence and communications with the
Funds’ Board and the substantial communications between counsel to the Debtor, the Advisors, and the Funds.

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                                           11/22/22
                                        Page 11 of 17Page
                                                      Page34
                                                           15ofof888
                                                                  222 PageID
                                                                       PageID3338
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and the Advisors have refused to “say yes” or to otherwise take steps to formulate a transition

plan for the protection of the Funds and their investors.

        49.       Faced with an untenable situation, the Debtor again agreed to extend the

termination date, this time to February 19, 2021. See Exhibit I.

        50.       Finally, on February 16, 2021, the Debtor made its last attempt to reach an

agreement before being forced to take alternative actions to protect itself, the Funds, and

investors, by sending the Advisors a proposed term sheet (the “Term Sheet”) that provided a

reasonable transition plan. A copy of the Term Sheet is attached as Exhibit J. The Advisors

refused to agree to the terms thereunder.

        51.       Given that the Court will soon enter an order confirming the Debtor’s Plan, and

the reduction in the Debtor’s work force will follow soon thereafter, the Debtor will be unable to

provide services to the Advisors much longer. The Advisors’ failure to agree on or formulate a

transition plan is creating catastrophic risk for the Funds and their investors. The Advisors’

failure to plan for a transition is also creating material risk to the Debtor.

                                   FIRST CLAIM FOR RELIEF

           (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

        52.       The Debtor repeats and realleges each of the allegations in each of the foregoing

paragraphs as though fully set forth herein.

        53.       A bona fide, actual, present dispute exists between the Debtor and the Advisors

concerning their respective rights and obligations under the Shared Services Agreements.

        54.       A judgment declaring the parties’ respective rights and obligations will resolve

their disputes.

        55.       Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks declarations that:



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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
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                                           11/22/22
                                        Page 12 of 17Page
                                                      Page35
                                                           16ofof888
                                                                  222 PageID
                                                                       PageID3339
                                                                              84



                 x          Each of the Advisors is owned and controlled by Mr. Dondero;

                 x          The Debtor has the contractual right to terminate the HCMFA Shared
                            Services Agreement on 60 days’ written notice;

                 x          The Debtor properly exercised its right to terminate the HCMFA Shared
                            Services Agreement by providing at least 60 days’ written notice;

                 x          The Debtor’s obligation to provide services to HCMFA under the
                            HCMFA Shared Services Agreement (or otherwise) will terminate on
                            February 19, 2021;

                 x          The Debtor has the contractual right to terminate the NPA Shared Services
                            Agreement on 30 days’ written notice;

                 x          The Debtor properly exercised its right to terminate the NPA Shared
                            Services Agreement by providing at least 30 days’ written notice; and

                 x          The Debtor’s obligation to provide services to NPA under the NPA Shared
                            Services Agreement (or otherwise) will terminate on February 19, 2021.

                                    SECOND CLAIM FOR RELIEF

                                          (Breach of Contract)

        56.      The Debtor repeats and realleges each of the allegations in each of the foregoing

paragraphs as though fully set forth herein.

        57.      The Shared Services Agreements are valid and binding contracts.

        58.      The Debtor has fully performed all obligations under the Shared Services

Agreements.

        59.      The Advisors have breached the Shared Services Agreements by failing to pay for

certain services rendered by the Debtor to the Advisors under the Shared Services Agreements.

        60.      The Advisors have failed to pay the Debtor all amounts due and owing under the

Shared Services Agreements despite the Debtor’s demands.

        61.      The Advisors’ breach of the Shared Services Agreements has damaged the Debtor

in an amount to be determined at trial.


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DOCS_NY:42310.8 36027/002

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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
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                                           11/22/22
                                        Page 13 of 17Page
                                                      Page36
                                                           17ofof888
                                                                  222 PageID
                                                                       PageID3340
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                                  THIRD CLAIM FOR RELIEF

              (For Injunctive Relief -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7065)

        62.      The Debtor repeats and realleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

        63.      Pursuant to Bankruptcy Code section 105(a) and Bankruptcy Rule 7065, the

Debtor seeks a mandatory injunction directing the Advisors to adopt and implement a plan for

the orderly transition of services currently provided under the Shared Services Agreements from

the Debtor to NewCo or any other entity of the Advisors’ choosing.

        64.      Bankruptcy Code section 105(a) authorizes the Court to issue “any order, process

or judgment that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C.

§105(a).

        65.      Bankruptcy Rule 7065 incorporates by reference Rule 65 of the Federal Rules of

Civil Procedure and authorizes the Court to issue injunctive relief in adversary proceedings.

        66.      The Debtor will succeed on the merits of its claims for (a) a declaratory judgment

that it has the contractual right to terminate each of the Shared Services Agreements, that it

properly exercised those rights, and that, effective February 19, 2021, it has no further legal or

equitable obligation to provide any services to the Advisors; (b) damages for breach of contract;

and (c) for a mandatory injunction requiring the Advisors to adopt and implement a plan for the

orderly transition of shared services.

        67.      The Advisors’ failure to adopt and implement a transition plan is untenable

because – as the Advisors have known for months – the Debtor will soon be unable to provide

services under the Shared Services Agreements, and such willful misconduct and gross




                                                 13
DOCS_NY:42310.8 36027/002

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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
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      3:22-cv-02170-S Document
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                                           11/22/22
                                        Page 14 of 17Page
                                                      Page37
                                                           18ofof888
                                                                  222 PageID
                                                                       PageID3341
                                                                              86



negligence will cause irreparable harm to the Funds and their investors and to the Debtor and its

estate.

          68.    Given that (a) the Advisors were on notice since at least August 2020, that the

Debtor was unlikely to provide services under the Shared Services Agreement for an extended

period of time; (b) the Debtor has been pursuing a transition plan since the summer of 2020; (c)

the Third Amended Plan filed on November 13, 2020 (and each subsequent version of the Plan),

expressly stated that the Debtor would not assume or assume and assign the Shared Services

Agreements; (d) the Debtor timely provided notice of termination of the Shared Services

Agreements on November 30, 2020; (e) upon information and belief, the Advisors (and not the

Debtor) owe contractual and other duties to the Funds, the entities most at risk; and (f) the

Debtor has acted in good faith by, among other things, twice extending the anticipated

termination date, the balance of the equities strongly favors the Debtor.

          69.    Finally, the public interest virtually requires that the Advisors be directed to adopt

and implement a transition plan. In the absence of a mandatory injunction, thousands of retail

investors are likely to suffer catastrophic losses, and there will likely be substantial market

disruptions with unforeseeable consequences.

          70.    Based on the foregoing, the Debtor requests that the Court direct the Advisors to

adopt and implement a plan for the orderly transition of services currently provided under the

Shared Services Agreements from the Debtor to NewCo, or any other entity of the Advisors’

choosing, by February 28, 2021.




                                                  14
DOCS_NY:42310.8 36027/002

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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                           11/22/22
                                        Page 15 of 17Page
                                                      Page38
                                                           19ofof888
                                                                  222 PageID
                                                                       PageID3342
                                                                              87



                                                 PRAYER

        WHEREFORE, the Debtor prays for judgment as follows:

                 x          On the First Cause of Action, a judgment declaring that: (i) each of the
                            Advisors is owned and controlled by Mr. Dondero; (ii) the Debtor has the
                            contractual right to terminate the HCMFA Shared Services Agreement on
                            60 days’ written notice; (iii) the Debtor properly exercised its right to
                            terminate the HCMFA Shared Services Agreement by providing at least
                            60 days’ written notice; (iv) the Debtor’s obligation to provide services to
                            HCMFA under the HCMFA Shared Services Agreement (or otherwise)
                            will terminate on February 19, 2021; (v) the Debtor has the contractual
                            right to terminate the NPA Shared Services Agreement on 30 days’
                            written notice; (vi) the Debtor properly exercised its right to terminate the
                            NPA Shared Services Agreement by providing at least 30 days’ written
                            notice; and (vii) the Debtor’s obligation to provide services to NPA under
                            the NPA Shared Services Agreement (or otherwise) will terminate on
                            February 19, 2021.

                 x          On the Second Cause of Action, damages in an amount to be determined
                            at trial arising from the Advisors’ breach of the Shared Services
                            Agreements;

                 x          On the Third Cause of Action, a mandatory injunction directing the
                            Advisors to adopt and implement a plan for the orderly transition of
                            services currently provided under the Shared Services Agreements from
                            the Debtor to NewCo, or any other entity of the Advisors’ choosing, by
                            February 28, 2021; and

                 x          For such other and further relief as this Court deems just and proper.




                                                     15
DOCS_NY:42310.8 36027/002

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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-2 Filed
                          Document   Filed01/12/23
                                           11/22/22
                                        Page 16 of 17Page
                                                      Page39
                                                           20ofof888
                                                                  222 PageID
                                                                       PageID3343
                                                                              88



Dated: February 17, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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                                  -and-

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                                          16
DOCS_NY:42310.8 36027/002

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Case 21-03010-sgj Doc 1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-2 Filed
                          Document   Filed01/12/23
                                           11/22/22
                                        Page 17 of 17Page
                                                      Page40
                                                           21ofof888
                                                                  222 PageID
                                                                       PageID3344
                                                                              89



                                          VERIFICATION

       I have read the foregoing VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF and
know its contents.

                 I am a party to this action. The matters stated in it are true of my own knowledge
      j          except as to those matters which are stated on information and belief, and as to
                 those matters I believe them to be true.

                 I am the Chief Executive Officer and Chief Restructuring Officer of Highland
      :          Capital Management, L.P., the Plaintiff in this action, and am authorized to make
                 this verification for and on behalf of the Plaintiff, and I make this verification for
                 that reason. I have read the foregoing document(s). I am informed and believe
                 and on that ground allege that the matters stated in it are true.

                 I am one of the attorneys of record for ____________________, a party to this
      j          action. Such party is absent from the county in which I have my office, and I
                 make this verification for and on behalf of that party for that reason. I have read
                 the foregoing document(s). I am informed and believe and on that ground allege
                 that the matters stated in it are true.

I certify and declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct as of this 17th day of February 2021.



                                                                /s/ James P. Seery, Jr.
                                                                James P. Seery, Jr.




DOCS_NY:42310.8 36027/002

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  Case 21-03010-sgj Doc 1-1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Exhibit
                               6-1
                                2-2AFiled
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                                       Page
                                          01/12/23
                                           11/22/22
                                             1 of 14 Page
                                                      Page41
                                                           22ofof888
                                                                  222 PageID
                                                                       PageID3345
                                                                              90



                               EXHIBIT A




                                                                    000045
    Case 21-03010-sgj          Doc 1-1      Filed 02/17/21      Entered 02/17/21 08:05:38           Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  2 of 14 Page
                                          01/12/23
                                           11/22/22  Page42
                                                          23ofof888
                                                                 222 PageID
                                                                      PageID3346
                                                                             91




                                  SECOND AMENDED AND RESTATED
                                   SHARED SERVICES AGREEMENT

           THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
   “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
   among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
   Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
   partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
   signatories hereto is individually a “Party” and collectively the “Parties”.

                                                  RECITALS

           A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
   described herein and the Parties desire to allocate the costs incurred for such services and assets among
   them in accordance with the terms and conditions in this Agreement.

                                                AGREEMENT

            In consideration of the foregoing recitals and the mutual covenants and conditions contained
   herein, the Parties agree, intending to be legally bound, as follows:

                                                 ARTICLE I
                                                DEFINITIONS

           “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
   actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
   Services and (ii) the Shared Assets, in each case during such period.

           “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
   controls, or is controlled by, or is under common control with, a specified Person. The term “control”
   (including, with correlative meanings, the terms “controlled by” and “under common control with”)
   means the possession of the power to direct the management and policies of the referenced Person,
   whether through ownership interests, by contract or otherwise.

           “Agreement” has the meaning set forth in the preamble.

           “Allocation Percentage” has the meaning set forth in Section 4.01.

           “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
   Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
   different margin percentage as to any item or items to the extent the above margin percentage, together
   with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
   service or item allocated.

           “Change” has the meaning set forth in Section 2.02(a).

           “Change Request” has the meaning set forth in Section 2.02(b).

           “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
   published interpretations.




                                                                                           000046
    Case 21-03010-sgj          Doc 1-1       Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  3 of 14 Page
                                          01/12/23
                                           11/22/22  Page43
                                                          24ofof888
                                                                 222 PageID
                                                                      PageID3347
                                                                             92




           “Effective Date” has the meaning set forth in the preamble.

          “Governmental Entity” means any government or any regulatory agency, bureau, board,
   commission, court, department, official, political subdivision, tribunal or other instrumentality of any
   government, whether federal, state or local, domestic or foreign.

            “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
   expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
   indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
   accrued or unaccrued, matured or unmatured).

           “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
   settlement, including interest or other carrying costs, legal, accounting and other professional fees and
   expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
   settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
   however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
   except to the extent such damages are incurred as a result of third party claims.

           “New Shared Service” has the meaning set forth in Section 2.03.

           “Party” or “Parties” has the meaning set forth in the preamble.

         “Person” means an association, a corporation, an individual, a partnership, a limited liability
   company, a trust or any other entity or organization, including a Governmental Entity.

           “Quarterly Report” has the meaning set forth in Section 5.01.

           “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
   funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

           “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
   a provider of Shared Services or Shared Assets.

           “Service Standards” has the meaning set forth in Section 6.01.

           “Shared Assets” shall have the meaning set forth in Section 3.02.

           “Shared Services” shall have the meaning set forth in Section 2.01.

            “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
   indirect equity ownership interest in excess of 50%.

            “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
   privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
   similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
   Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
   Services and the Shared Assets identified and authorized by applicable tariffs.

           “Term” has the meaning set forth in Section 7.01.




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    Case 21-03010-sgj          Doc 1-1      Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  4 of 14 Page
                                          01/12/23
                                           11/22/22  Page44
                                                          25ofof888
                                                                 222 PageID
                                                                      PageID3348
                                                                             93




                                                ARTICLE II
                                             SHARED SERVICES

           Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
   Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
   services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
   services, and (vii) operations services; each as requested by HCMFA and as described more fully on
   Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
   Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
   Investment Advisers Act of 1940, as amended.

           Section 2.02    Changes to the Shared Services.

                   (a)      During the Term, the Parties may agree to modify the terms and conditions of a
   Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
   other methods of providing such Shared Service, including modifying the applicable fees for such Shared
   Service to reflect the then current fair market value of such service (a “Change”). The Parties will
   negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
   Shared Service to Recipient.

                    (b)      The Party requesting a Change will deliver a description of the Change requested
   (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
   delay its consent to the proposed Change.

                    (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
   Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
   adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
   Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
   Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
   to comply with applicable law or regulatory requirements, in each case without obtaining the prior
   consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
   in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
   clause (ii) above, as soon as reasonably practicable thereafter.

           Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
   this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
   2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
   Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
   be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
   purposes of this Agreement.

           Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
   with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
   Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
   obligations under this Agreement in accordance with its terms, including any obligations it performs
   through subcontractors, and a Service Provider will be solely responsible for payments due to its
   subcontractors.




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    Case 21-03010-sgj           Doc 1-1      Filed 02/17/21        Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  5 of 14 Page
                                          01/12/23
                                           11/22/22  Page45
                                                          26ofof888
                                                                 222 PageID
                                                                      PageID3349
                                                                             94




                                                 ARTICLE III
                                               SHARED ASSETS

            Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
   exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
   indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
   Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
   subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
   terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
   Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
   HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
   actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
   Third Party IP Agreements.

           Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
   grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
   agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
   beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
   Shared IP Rights, the “Shared Assets”).

                                                 ARTICLE IV
                                              COST ALLOCATION

           Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
   Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
   this Agreement, “Allocation Percentage” means:

                   (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
   of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                  (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
   70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
   allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                   (c)      All other portions of the Actual Cost of any item that cannot be allocated
   pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
   is agreed in good faith between the parties.

           Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
   to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
   be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
   without any corresponding cash reimbursement required, in accordance with generally accepted
   accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                           ARTICLE V
                           PAYMENT OF COST AND REVENUE SHARE; TAXES

           Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
   qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
   Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
   paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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    Case 21-03010-sgj          Doc 1-1      Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  6 of 14 Page
                                          01/12/23
                                           11/22/22  Page46
                                                          27ofof888
                                                                 222 PageID
                                                                      PageID3350
                                                                             95




   period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
   Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
   together with such other data and information necessary to complete the items described in Section 5.03
   hereof (hereinafter referred to as the “Quarterly Report”).

            Section 5.02    Settlement Payments. At any time during the Term, any Party may make
   payment of the amounts that are allocable to such Party together with the Applicable Margin related
   thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
   such amounts.

           Section 5.03    Determination and Payment of Cost and Revenue Share.

                    (a)     Within ten (10) days of the submission of the Quarterly Report described in
   Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
   the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
   Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
   are payable by any of the Parties.

                    (b)     Within ten (10) days of preparation of the agreement and the issuance of the
   invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
   shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
   Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
   commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
   respect to such services provided during the month of December 2011.

           Section 5.04    Taxes.

                    (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
   Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
   Service Provider will be made in the most tax-efficient manner and provided further, that Service
   Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
   Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
   the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
   business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
   costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
   evidencing its exemption from payment of or liability for such Taxes.

                    (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
   and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
   responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
   Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
   the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
   not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
   such protest while keeping Service Provider reasonably informed of the proceedings. However, the
   authorization will be periodically reviewed by Service Provider to determine any adverse impact on
   Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
   time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
   expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
   the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
   by Recipient may not result in any lien attaching to any property or rights of Service Provider or
   otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


                                                        5




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    Case 21-03010-sgj          Doc 1-1       Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  7 of 14 Page
                                          01/12/23
                                           11/22/22  Page47
                                                          28ofof888
                                                                 222 PageID
                                                                      PageID3351
                                                                             96




   indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
   Recipient.

                     (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
   as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
   the contrary.

                                            ARTICLE VI
                                 SERVICE PROVIDER RESPONSIBILITIES

           Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
   Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
   Services and the Shared Assets in the same manner as if it were providing such services and assets on its
   own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
   manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
   Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
   information.

            Section 6.02    Books and Records; Access to Information. Service Provider will keep and
   maintain books and records on behalf of Recipient in accordance with past practices and internal control
   procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
   to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
   Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
   Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
   of Recipient’s financial auditors to review such books and records in the ordinary course of performing
   standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
   access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
   auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
   Service Provider will promptly respond to any reasonable requests for information or access. For the
   avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
   shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
   books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
   books or records) and shall make all such books and records available for inspection and use by the
   Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
   records shall be maintained by Service Provider for the periods and in the places required by laws and
   regulations applicable to Recipient.

           Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
   Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
   any equipment or other property or materials of Recipient that is in Service Provider’s control or
   possession.

                                              ARTICLE VII
                                         TERM AND TERMINATION

           Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
   will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
   terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
   one year periods unless sooner terminated under Section 7.02.




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    Case 21-03010-sgj          Doc 1-1       Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  8 of 14 Page
                                          01/12/23
                                           11/22/22  Page48
                                                          29ofof888
                                                                 222 PageID
                                                                      PageID3352
                                                                             97




           Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
   upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                               ARTICLE VIII
                                            LIMITED WARRANTY

            Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
   in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
   Provider makes no express or implied representations, warranties or guarantees relating to its performance
   of the Shared Services and the granting of the Shared Assets under this Agreement, including any
   warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
   adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
   Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
   through the benefits of any express warranties received from third parties relating to any Shared Service
   and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
   thereto.

                                            ARTICLE IX
                                          MISCELLANEOUS

            Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
   this Agreement will constitute or be construed to be or create a partnership or joint venture between or
   among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
   that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
   Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
   representative of the other for any purpose whatsoever. With the exception of the procurement by Service
   Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
   this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
   express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
   manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
   contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
   Services.

           Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
   may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
   any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
   unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
   instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
   hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
   other exercise of such or any other right.

           Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
   pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
   although schedules need not be attached to each copy of this Agreement. This Agreement, together with
   such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
   matter hereof and supersedes all prior agreements and understandings of the Parties in connection
   therewith.

          Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
   reasonably request or as may be necessary or appropriate to consummate or implement the transactions
   contemplated by this Agreement or to evidence such events or matters.


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    Case 21-03010-sgj          Doc 1-1       Filed 02/17/21       Entered 02/17/21 08:05:38            Desc
Case
 Case3:22-cv-02170-S        Exhibit
      3:22-cv-02170-S Document
                       Document 2-2AFiled
                               6-1     Page
                                     Filed  9 of 14 Page
                                          01/12/23
                                           11/22/22  Page49
                                                          30ofof888
                                                                 222 PageID
                                                                      PageID3353
                                                                             98




           Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
   be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
   made and performed in such State and without regard to conflicts of law doctrines unless certain matters
   are preempted by federal law.

           Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
   nor any rights or obligations hereunder are assignable by one Party without the express prior written
   consent of the other Parties.

           Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
   this Agreement are for convenience only and do not constitute a part of this Agreement.

            Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
   agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
   in separate counterparts. All counterparts will constitute one and the same agreement and will become
   effective when one or more counterparts have been signed by each Party and delivered to the other
   Parties.

            Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
   binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
   Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
   rights or remedies of any nature whatsoever under or by reason of this Agreement.

           Section 9.10     Notices. All notices, demands and other communications to be given or
   delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
   have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
   receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
   overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
   by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
   the other Parties will, unless another address is specified by such Parties in writing, be sent to the
   addresses indicated below:

                            If to HCMLP, addressed to:

                            Highland Capital Management, L.P.
                            300 Crescent Court, Suite 700
                            Dallas, Texas 75201
                            Attention: General Counsel
                            Fax: (972) 628-4147

                            If to HCMFA, addressed to:

                            Highland Capital Management Fund Advisors, L.P.
                            300 Crescent Court, Suite 700
                            Dallas, Texas 75201
                            Attention: General Counsel
                            Fax: (972) 628-4147

           Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
   own expenses incident to the negotiation, preparation and performance of this Agreement, including the
   fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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    Case 21-03010-sgj           Doc 1-1      Filed 02/17/21        Entered 02/17/21 08:05:38             Desc
Case
 Case3:22-cv-02170-S       Exhibit
      3:22-cv-02170-S Document
                       Document 2-2A Filed
                               6-1     Page
                                      Filed  10 of 14 Page
                                           01/12/23
                                            11/22/22   Page50
                                                            31ofof888
                                                                   222 PageID
                                                                        PageID3354
                                                                               99




            Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
   right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
   further or other exercise of such or any other right.

           Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
   any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
   other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

            Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
   or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
   and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
   representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
   submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
   however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
   and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
   on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
   require arbitration of all issues of final relief. The Arbitration will be conducted by the American
   Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
   licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
   Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
   to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
   twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
   response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
   documents. The total pages of documents shall include electronic documents; (vi) one request for
   disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
   this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
   required to state in a written opinion all facts and conclusions of law relied upon to support any decision
   rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
   error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
   applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
   foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
   process will be conducted in accordance with the American Arbitration Association’s dispute resolution
   rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
   arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
   fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
   shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
   travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
   described above shall survive the termination of this Agreement. Except as otherwise provided above, the
   parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
   defenses applicable to claims asserted in a court of law will apply in the arbitration.

           Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
   Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
   meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
   terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
   Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
   Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
   will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
   and other words of similar import refer to this Agreement as a whole and not to any particular Article,
   Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
   be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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    Case 21-03010-sgj         Doc 1-1      Filed 02/17/21       Entered 02/17/21 08:05:38           Desc
Case
Case3:22-cv-02170-S       Exhibit
     3:22-cv-02170-S Document
                     Document  2-2A Filed
                              6-1     Page
                                    Filed   11 of 14 Page
                                          01/12/23
                                           11/22/22  Page51
                                                          32of
                                                             of888
                                                                222 PageID
                                                                    PageID3355
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   reference to any law, agreement, instrument or other document herein will be construed as referring to
   such law, agreement, instrument or other document as from time to time amended, supplemented or
   otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
   also to any rules and regulations promulgated thereunder.




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  Case 21-03010-sgj Doc 1-1 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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                                       Page01/12/23
                                            11/22/22
                                             12 of 14 Page
                                                      Page52
                                                           33of
                                                              of888
                                                                 222 PageID
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    Case 21-03010-sgj       Doc 1-1          Filed 02/17/21       Entered 02/17/21 08:05:38   Desc
Case
Case3:22-cv-02170-S       Exhibit
     3:22-cv-02170-S Document
                     Document  2-2A Filed
                              6-1     Page
                                    Filed   13 of 14 Page
                                          01/12/23
                                           11/22/22  Page53
                                                          34of
                                                             of888
                                                                222 PageID
                                                                    PageID3357
                                                                           102




                                                      Annex A

                                                Shared Services

            Compliance
                          General compliance
                          Compliance systems
            Facilities
                          Equipment
                          General Overhead
                          Office Supplies
                          Rent & Parking
            Finance & Accounting
                         Book keeping
                          Cash management
                          Cash forecasting
                          Credit facility reporting
                          Financial reporting
                          Accounts payable
                          Accounts receivable
                          Expense reimbursement
                          Vendor management
            HR
                          Drinks/snacks
                          Lunches
                          Recruiting
            IT
                          General support & maintenance (OMS, development, support)
                          Telecom (cell, phones, broadband)
                          WSO
            Legal
                          Corporate secretarial services
                          Document review and preparation
                          Litigation support
                          Management of outside counsel
            Marketing and PR
                          Public relations
            Tax
                          Tax audit support
                          Tax planning
                          Tax prep and filing
            Investments
                          Investment research on an ad hoc basis as requested by HCMFA




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    Case 21-03010-sgj     Doc 1-1       Filed 02/17/21   Entered 02/17/21 08:05:38   Desc
Case
Case3:22-cv-02170-S       Exhibit
     3:22-cv-02170-S Document
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                              6-1     Page
                                    Filed   14 of 14 Page
                                          01/12/23
                                           11/22/22  Page54
                                                          35of
                                                             of888
                                                                222 PageID
                                                                    PageID3358
                                                                           103




                         Valuation Committee
            Trading
                         Trading desk services
            Operations
                         Trade settlement




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  Case 21-03010-sgj Doc 1-2 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
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                                          01/12/23
                                           11/22/22
                                              1 of 2 Page
                                                     Page55
                                                          36of
                                                             of888
                                                                222 PageID
                                                                    PageID3359
                                                                           104



                              EXHIBIT B




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  Case 21-03010-sgj Doc 1-2 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 6-1
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                                           11/22/22
                                        Page  2 of 2 Page
                                                     Page56
                                                          37of
                                                             of888
                                                                222 PageID
                                                                    PageID3360
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November 30, 2020

Highland Capital Management Fund Advisors, L.P.
300 Crescent Court, Suite 700
Dallas, Texas 75201
Attention: General Counsel

        RE:      Termination of Second Amended and Restated Shared Services Agreement,
                 effective as of February 8, 2013, by and among Highland Capital
                 Management, L.P. (“HCMLP”), and Highland Capital Management Fund
                 Advisors, L.P. (the “Agreement”).

To Whom It May Concern:

As set forth in Section 7.02 of the Agreement, the Agreement is terminable at will upon at least
60 days advance written notice.

By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
will be effective January 31, 2021. HCMLP reserves the right to rescind this notice of
termination.

Please feel free to contact me with any questions.

Sincerely,

HIGHLAND CAPITAL MANAGEMENT, L.P.

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Chief Executive Officer
Chief Restructuring Officer




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            1 of 20 Page
                                                    Page57
                                                         38of
                                                            of888
                                                               222 PageID
                                                                   PageID3361
                                                                          106



                             EXHIBIT C




                                                                 000061
  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            2 of 20 Page
                                                    Page58
                                                         39of
                                                            of888
                                                               222 PageID
                                                                   PageID3362
                                                                          107




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            3 of 20 Page
                                                    Page59
                                                         40of
                                                            of888
                                                               222 PageID
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            4 of 20 Page
                                                    Page60
                                                         41of
                                                            of888
                                                               222 PageID
                                                                   PageID3364
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            5 of 20 Page
                                                    Page61
                                                         42of
                                                            of888
                                                               222 PageID
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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                                            6 of 20 Page
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                                                            of888
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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                                         01/12/23
                                          11/22/22
                                            7 of 20 Page
                                                    Page63
                                                         44of
                                                            of888
                                                               222 PageID
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
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                                            8 of 20 Page
                                                    Page64
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                                                            of888
                                                               222 PageID
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                         01/12/23
                                          11/22/22
                                            9 of 20 Page
                                                    Page65
                                                         46of
                                                            of888
                                                               222 PageID
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                                                                          114




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
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                                            10 of 20 Page
                                                     Page66
                                                          47of
                                                             of888
                                                                222 PageID
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                                                                           115




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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                                           11/22/22
                                            11 of 20 Page
                                                     Page67
                                                          48of
                                                             of888
                                                                222 PageID
                                                                    PageID3371
                                                                           116




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                            12 of 20 Page
                                                     Page68
                                                          49of
                                                             of888
                                                                222 PageID
                                                                    PageID3372
                                                                           117




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
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                                            13 of 20 Page
                                                     Page69
                                                          50of
                                                             of888
                                                                222 PageID
                                                                    PageID3373
                                                                           118




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
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                                            14 of 20 Page
                                                     Page70
                                                          51of
                                                             of888
                                                                222 PageID
                                                                    PageID3374
                                                                           119




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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
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                                                     Page71
                                                          52of
                                                             of888
                                                                222 PageID
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  Case 21-03010-sgj Doc 1-3 Filed 02/17/21 Entered 02/17/21 08:05:38 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                                      Page01/12/23
                                           11/22/22
                                            16 of 20 Page
                                                     Page72
                                                          53of
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November 30, 2020

NexPoint Advisors, L.P.
200 Crescent Court, Suite 700
Dallas, Texas 75201

        RE:      Termination of Amended and Restated Shared Services Agreement, dated
                 January 1, 2018, and among Highland Capital Management, L.P.
                 (“HCMLP”), and NexPoint Advisors, L.P. (the “Agreement”).

To Whom It May Concern:

As set forth in Section 7.01 of the Agreement, the Agreement is terminable at will upon at least
30 days advance written notice.

By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
will be effective January 31, 2021. HCMLP reserves the right to rescind this notice of
termination.

Please feel free to contact me with any questions.

Sincerely,

HIGHLAND CAPITAL MANAGEMENT, L.P.

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Chief Executive Officer
Chief Restructuring Officer




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   James P. Seery, Jr.
   Chief Executive Officer




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From:                              James Seery <jpseeryjr@gmail.com>
Sent:                              Wednesday, January 27, 2021 2:47 PM
To:                                Ethan Powell
Cc:                                Thomas Surgent
Subject:                           Response to KL Gates Letter Dated January 27, 2021


Mr.Powell:

Iwritetorespondbrieflytoyourcounsel’slettertomedatedtoday.Iwillnotbecommunicatingwithyourcounsel.

Initially,asIstatedonthephonetoyoupriortoyourterminationofmycall,eithertheFunds’Boardisunawareoftheactions
takenbytheFundsincourtoverthepastweekortheBoardiscomplicitinthoseactions.Inmyopinion,theFunds’CCO
perjuredhimselfmultipletimesyesterday,andtheadvisorsandtheFundsfabricatedafalseclaimthatHCMLPbreachedthe
AdvisorsActwithrespecttoHCMLP’smanagementofcertainCLOs.Basedonourpriordealings,Iwouldnothaveexpectedthe
FundsandtheirBoardstoparticipateinsuchafalsenarrativeintheBankruptcyCourtandhopethatitwasacaseofcounsel
andtheCCOhidingtheirtacticsfromtheBoard.Wecanaddresstheseissuesatalatertime.

WithrespecttotheKLGatesletter,astheBoardisaware,HCMLPhasbeenpursuingaplanofreorganizationthatcallsfor
terminationofthesharedserviceagreementswiththeFundsandtheiradvisorsformonths.HCMLPhasgiventimelynoticeof
terminationofthesharedserviceagreements.AstheBoardsarefurtheraware,forthepastseveralmonths,HCMLPhas
attemptedtoworkonatransitionofHCMLPemployeestoaDonderocontrolledentitythatcouldworkwiththeFundsto
providetheservicespreviouslyprovidedbyHCMLP.AndasIspecificallytoldtheFunds’Board,thatarrangementisdependent
oncooperationfromMr.Donderoasthepersonincompletecontroloftheadvisors.SinceMr.Donderoisalsotheportfolio
manageroftheadviosrs,HCMLPassumesthattheBoardhavebeeninregularcommunicationwithhimaboutthetransition,
especiallysincetheterminationnoticesweresent.KLGatesiscorrectthatthesharedserviceagreementsandallservices
thereunderterminateonJanuary31,2021(the“TerminationDate”).

Forthepastseveralmonths,Mr.Donderohasrefusedtopermitthenegotiationofatransitionarrangementonbehalfof
advisors.Inthepastfewweeks,HCMLPanditsadvisorshavebeenattemptingtoworkwithBrianCollinsandJPSevilla(senior
HCMLPemployees)toconstructatransitionarrangementbasedonthetermsHCMLPhasbeenproposingformonths.Those
soontobeformerHCMLPemployeeswouldformtheirowncompany(withotherformerHCMLPemployees)toprovidethe
servicestotheadvisors,theFunds,andothers.Webelievethatarrangementispotentiallyclosetoagreementandwillbe
documentedinatermsheetthatwillneedtobeexecutedpriortotheendofthedayontheTerminationDate.Iftheterm
sheetisagreedto,properlyexecuted,anditsconditionsprecedentaremet,itwillgoverntherespectiveparties’arrangement
andtheprovisionofserviceswhilefinaldocumentsincorporatingtheagreementaredraftedduringthefirsttwoweeksof
February.

AkeyconditionprecedentisfortheadvisorsandtheirrelatedentitiestopayallpostͲpetitionamountsduetoHCMLP.(HCMLP
hasalreadycommencedactionstocollectcertainotheramountsduetoitfromthoserelatedentities.).ThetotalpostͲpetition
amountowedisapproximately$5.5million.

HCMLPencouragestheBoardtoreachouttoMessrs.CollinsandSevillatogainanunderstandingofthetermsofthepotential
transitionarrangement,thecounterparties‘willingnesstoexecutethetermsheet,andthecounterparties’abilitytotimely
maketherequiredpayment.

IwillnotaddresstheremainderoftheKLGatesletter.Bydecliningtoaddresstheletter,HCMLPdoesnotagreewithit,save
fortherecognitionthatterminationofthesharedserviceagreementshasbeenproperlygivenandthattheagreementsand
servicesthereunderterminateontheTerminationDate.HCMLPreservesallitsrightsandclaims.
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Best.Jim

JimSeery
631Ͳ804Ͳ2049
jpseeryjr@gmail.com
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                          CONFIDENTIAL BINDING TERM SHEET

        This Confidential Binding Term Sheet (including the Schedules attached hereto, this “Term
Sheet”) is entered into effective as of February 12, 2021 (the “Effective Date”) by and among Highland
Capital Management, LP (“HCMLP”) and the following parties (collectively, the “NexPoint Parties”):
NexPoint Advisors, L.P. (“NPA”), and Highland Capital Management Fund Advisors, L.P. (“HCMFA”).

        The NexPoint Parties and HCMLP collectively are referred to as the “Parties” and each of them
as a “Party”.

                                            PREAMBLE

         WHEREAS, HCMLP and the NexPoint Parties were parties to certain Shared Services
Agreements and Payroll Expense Reimbursement Agreement pursuant to which HCMLP provided
certain personnel and services to the NexPoint Parties in consideration of payments by the NexPoint
Parties for such shared services (the “Shared Services Agreements”).

       WHEREAS, termination notices for such Shared Services Agreements were delivered to the
NexPoint Parties in accordance with the terms of such Shared Services Agreements.

        WHEREAS, the Parties have been engaged in discussions and negotiations prior to and since the
delivery of such termination notices with respect to the potential extension of shared services by HCMLP
to the NexPoint Parties.

        WHEREAS, HCMLP, NPA, and HCMFA have entered into a Letter Agreement dated January
31, 2021 which extends the Shared Services Agreements applicable to NPA and HCMFA, which
otherwise would have expired on January 31, 2021, for a 14-day period beginning on February 1, 2021.

        WHEREAS, HCMLP, NPA, and HCMFA have entered into a Second Letter Agreement dated
February 11, 2021 which extends the Shared Services Agreements applicable to NPA and HCMFA,
which otherwise would have expired pursuant to the first Letter Agreement on February 14, 2021, for five
days through February 19, 2021.

         WHEREAS, certain employees of HCMLP intend to form a new company (“Newco”) to provide
services similar to those provided under the Shared Service Agreements to the NexPoint Parties and other
third parties.

       WHEREAS, the Parties wish to enter into a binding term sheet pursuant to which HCMLP will
provide certain access and resources to the NexPoint Parties in consideration of payments and other
agreements of the NexPoint Parties.

       NOW, THEREFORE, in consideration of the covenants and agreements set forth in this Term
Sheet and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties agree as follows:

I.       RESOURCES AND PAYMENTS

        Section 1.1    Payment of Past Due Amounts. The NexPoint Parties will pay to HCMLP an
amount equal to $3,054,253 (the “Past Due Payment Amounts”) in immediately available funds as
follows: (i) $1,000,000 will be paid on the Effective Date and (ii) the balance shall be paid in fourteen


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equal monthly installments on the first business day of each month following the Effective Date. The
payment of the Past Due Payment Amounts will offset dollar for dollar amounts owed by the NexPoint
Parties to HCMLP after the filing of HCMLP’s bankruptcy petition on October 19, 2019, under the
Shared Services Agreements.

         Section 1.2     Access to Premises; Office Space.

         (a)     Until the expiration of the current term of the HCMLP lease for 200 and 300 Crescent
Court, Dallas, Texas 75201 (the “Premises”) (April 30, 2022) (the “Lease”), employees and personnel of
the NexPoint Parties and their subsidiaries and affiliates shall be afforded by HCMLP access to and use of
the offices, and facilities of HCMLP located at the Premises in a manner consistent with customary access
and use of employees and shared personnel of the NexPoint Parties and their subsidiaries and affiliates,
and subject to any restrictions and conditions applicable under the Lease. Parties will work in good faith
to enter a sublease for no less than 75% of the Premises to NexPoint Parties at the lease-rate set forth on
Schedule A to this Term Sheet.

         (b)     In consideration of the access and use of the offices and facilities by employees and
personnel of the NexPoint Parties as set forth in Section 1.2(a), the NexPoint Parties shall make prompt
payments in cash, by wire transfer, to HCMLP or its designee in such amounts and at such times as are
set forth on Schedule A to this Term Sheet.

        (c)      For the avoidance of doubt the access and limited use of the offices and facilities by
employees and personnel of the NexPoint Parties as set forth in Section 1.2(a) shall not include sharing of
any HCMLP information (with all such information being deemed confidential and for the exclusive use
by and benefit of HCMLP employees and/or personnel) other than shared spaces such as conference
rooms, reception areas, restrooms, and dining areas. The parties acknowledge that there will be certain
areas subject to the exclusive use and control of either HCMLP or the NexPoint Parties as will be agreed
to in the Definitive Agreement or in the sublease, which may be entered into prior to the Definitive
Agreement. HCMLP information shall include all files, data, communications, and documents that are
maintained and utilized by personnel of HCMLP and/or its general partner that are not necessary for the
business of the NexPoint Parties, including without limitation all files, data, communications, and
documents relating to the bankruptcy of HCMLP, the management and affairs of HCMLP, personnel
matters of HCMLP, disputes to which HCMLP is a party, communications with counsel to HCMLP and
other outside advisors, and communications with the members of the board of the general partner of
HCMLP. Correspondingly, the parties agree that NexPoint Parties will continue to have, and HCMLP
will not interfere with, access to certain Shared Resources as defined below. Further, HCMLP shall use
reasonable efforts to avoid using or accessing any NexPoint Parties’ privileged (i.e., between any
NexPoint Party and its outside or external counsel) e-mails and privileged information housed on certain
Shared Resources, except as necessary to satisfy HCMLP’s regulatory or legal requirements

         (d)      HCMLP shall have no obligation to renew or extend the Lease beyond April 30, 2022.

        (e)       The NexPoint Parties shall, and shall ensure that their employees and personnel, comply
with and fulfill any obligations or responsibilities applicable to employees or personnel of HCMLP under
the Lease and other documents and policies governing the use of the offices and facilities hereunder
(including, but not limited to, the restriction against the access of any and all HCMLP information).

       (f)     The Parties acknowledge and agree that one or more of the Parties may engage Newco to
provide back-office services to such Party or Parties pursuant to a services agreement (or equivalent
agreement or arrangement) between such Party or Parties and Newco. To the extent a Party enters into
any such agreement or arrangement with Newco, the Parties shall cooperate to provide Newco personnel

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ActiveUS 185044344v.7
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                                         01/12/23
                                          11/22/22
                                            4 of 14 Page
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with reasonable access to the facilities and resources set forth in Schedule A to the extent reasonably
necessary for Newco to perform its services to such Party.

         Section 1.3    Access to Certain Shared Resources.

         (a)    HCMLP shall provide employees and personnel of the NexPoint Parties with access to
and use of the systems and resources of HCMLP set forth on Schedule A to this Term Sheet (the “Shared
Resources”) during the periods set forth on Schedule A. Correspondingly, the parties agree that NexPoint
Parties will continue to have, and HCMLP will not interfere with, access to certain necessary Shared
Resources. For the avoidance of doubt, the parties agree that NexPoint Parties will have access to the
same books and records as available under the applicable Shared Services Agreements. Further, to the
extent permitted by the terms and agreements governing the Shared Resource, HCMLP agrees that
NexPoint Parties shall have the right to share or sublicense such Shared Resource at NexPoint Parties’
discretion.

         (b)    In consideration of the provision of Shared Resources by HCMLP to employees and
personnel of the NexPoint Parties as set forth in Section 1.3(a), the NexPoint Parties shall make prompt
payments in cash, by wire transfer, to HCMLP or its designee in such amounts and at such times as are
set forth on Schedule A to this Term Sheet. The NexPoint Parties shall pay all initial one-time payments
set forth on Schedule A to HCMLP as a single lump sum within 30 days after the date of this Term Sheet.
Thereafter, the NexPoint Parties shall make all monthly payments (or other periodic payments) set forth
on Schedule A to HCMLP on or before the first day of the calendar month (or other period) to which such
payment relates. All payment obligations of the NexPoint Parties under this Term Sheet shall be joint and
not several. Except with respect to such payment obligations, the obligations and liabilities of the
NexPoint Parties hereunder shall be several and not joint.

        (c)      Each such Shared Resource shall be renewed only to the extent necessary to remain
available to employees and personnel of the NexPoint Parties and HCMLP for such parties to perform
their duties consistent with past practices during such periods set forth on Schedule A. Thereafter, no
Party to this Term Sheet shall be responsible for extension or renewal of any such Shared Resource or to
provide access to any such Shared Resource with any other Party. The aggregate cost of any renewal
(even if such renewal extends beyond the term provided in Schedule A) shall be borne 60% by the
NexPoint Parties and 40% by HCMLP. The NexPoint Parties shall promptly pay their portion of such
renewal costs to HCMLP or its designee at the request of HCMLP at least five (5) Business Days (as
defined below) before the date such renewal payment is required to be made to the applicable vendor, and
assuming timely receipt of such portion, HCMLP shall timely make the full renewal payment to the
applicable vendor. For purposes of this Term Sheet, “Business Day” shall mean a day on which the New
York Stock Exchange is open for regular trading. The parties hereby agree to discuss the renewal of such
Shared Resource prior to renewal and agree that to the extent the one of the parties determines that a
Shared Resource no longer necessary for one or both of the parties to operate, then either (i) such vendor
contract shall not be renewed, or (ii) if renewed, such vendor contract shall be renewed and paid solely by
the party that needs the contract to operate.

         (d)      The NexPoint Parties shall, and shall ensure that their employees and personnel, comply
with and fulfill any obligations or responsibilities applicable to employees or personnel of HCMLP under
the policies governing the use of the Shared Resources hereunder.

         Section 1.4      Unexpected Costs; Repairs. In the event it is necessary for the Parties to incur
any costs (e.g., in the case of breakdowns or repairs) for the continued functionality of the Shared
Services at their existing levels, such additional expenditures shall be (i) approved by HCMLP and NPA,
and (ii) borne 60% by the NexPoint Parties and 40% by HCMLP.

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ActiveUS 185044344v.7
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                                          01/12/23
                                           11/22/22
                                             5 of 14 Page
                                                      Page100
                                                           81 of 888
                                                                 222 PageID 3404
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         Section 1.5 Failure to Pay; Cure Period. In the event a NexPoint Party fails to satisfy any
payments such NexPoint Party is obligated to make pursuant to this Term Sheet and such NexPoint Party
fails to cure such failure to make prompt payment within five (5) Business Days of receipt of notice of
such failure from HCMLP, HCMLP shall have the right to terminate access to all Shared Resources and
all respective agreements in connection with such Shared Resources with respect to all of the NexPoint
Parties. HCMLP further agrees that in the event that HCMLP fails to make any payment to a landlord or
Shared Resource vendor required to be made hereunder, the NexPoint Parties shall have the right to make
the payments necessary to retain such leased property, service or Shared Resource and deduct such the
amount of such payments from future payments due to HCMLP under the Term Sheet. If the amounts
paid by the NexPoint Parties exceed what would otherwise be due to HCMLP from such NexPoint
Parties, the NexPoint Parties may pursue recovery from HCMLP for such excess amount.

II.      OTHER AGREEMENTS OF THE PARTIES

         Section 2.1    Certain Benefit Plan Matters.

        (a)    On or before February 19, 2021, HCMLP and NPA shall enter into a mutually acceptable
Assignment and Assumption Agreement, pursuant to which HCMLP agrees to assign to NPA, and NPA
agrees to assume, effective as of January 1, 2021, all of the rights and obligations of HCMLP as the
“Primary Plan Sponsor” of the Highland 401(k) Plan, as amended and restated effective January 1, 2016
(as amended to date).

        (b)    HCMLP and NPA shall use reasonable best efforts to enter into a mutually acceptable
Assignment and Assumption Agreement (or equivalent agreement), pursuant to which HCMLP agrees to
assign to NPA or its designee, and NPA or its designee agrees to assume all of the rights and obligations
of HCMLP as the sponsor of Highland’s defined benefit plan (as amended to date).

         (c)     To the extent permitted under applicable law (including without limitation the Employee
Retirement Income Security Act of 1974) the parties agree to enter into an arrangement with respect to
employee benefit plan (including, without limitation, health, medical, dental, and other similar plans)
whereby, as soon as reasonably practicable, NPA shall admit and maintain each employee of HCMLP and
its sole limited partner of the Claimant Trust as a participant of each employee benefit plan (including,
without limitation, health, medical, dental, and other similar plans) maintained by or on behalf of NPA for
employees of NPA and/or the NexPoint Parties, on the same terms and subject to the same conditions as
such employees of NPA and/or the NexPoint Parties. The parties agree that the actual costs of such
employee benefit plans attributable to HCMLP employees shall be borne by HCMLP.

         Section 2.2    Transfers of Property to NPA.

         (a)      As soon as reasonably practicable following the execution of this Term Sheet, HCMLP
shall transfer to NPA or its designee, all of HCMLP’s rights title and interest, if any, in the domain names
set forth on Schedule C to this Term Sheet (the “Domain Names”), and, to the extent possible, all
telephone numbers currently utilized exclusively by the NexPoint Parties. The NexPoint Parties shall
provide a list of such telephone numbers to HCMP as soon as practicable following the execution of this
Term Sheet and HCMLP and the NexPoint Parties shall meet and confer in good faith to confirm that
such telephone numbers are exclusively used by the NexPoint Parties.

        (b)     If the NexPoint Parties (i) make all payments required by this Term Sheet (and any other
Definitive Agreement that supersedes this Term Sheet), (ii) fulfill all of their obligations under this Term
Sheet (and any other Definitive Agreement that supersedes this Term Sheet), and (iii) are not in breach of
any material provision of this Term Sheet, any other Definitive Agreement that supersedes this Term

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ActiveUS 185044344v.7
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                                           11/22/22
                                             6 of 14 Page
                                                      Page101
                                                           82 of 888
                                                                 222 PageID 3405
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Sheet, and/or any material provision of any other agreement between HCMLP and a NexPoint Party in
each case through the full term of this Term Sheet (and any other Definitive Agreement that supersedes
this Term Sheet) provided that in the event of any such breach the breaching NexPoint Party has notice
thereof and a reasonable opportunity to cure (not to exceed 30 calendar days) if such breach is curable
(collectively, the “NexPoint Conditions”), then upon the expiration of the term of this Term Sheet (or any
other Definitive Agreement that supersedes this Term Sheet), HCMLP shall transfer to NPA or its
designee, all of HCMLP’s rights, title, and interest, if any, (1) in the furniture and fixtures and office
supplies and equipment located on or used exclusively in connection with the operations at the Premises;
(2) Flexential; (3) Evoque; and (4) the home offices or remote working spaces of its employees and
personnel.

         Section 2.3    Employee Matters.

         (a)    Each the following shall terminate on February 20, 2021, in accordance with its terms: (i)
that certain Payroll Reimbursement Agreement, dated May 1, 2018, by and between HCMFA and NPA,
as subsequently amended on December 14, 2018, and (ii) (i) that certain Payroll Reimbursement
Agreement, dated May 1, 2018, by and between HCMFA and HCMLP, as subsequently amended on
December 14, 2018.

         (b)     HCMLP agrees that (i) the NexPoint Parties or an entity formed by current or former
HCMLP employees to provide services to the NexPoint Parties (the “Potential Employers”) may, in each
case in their sole and absolute discretion, make offers of employment to any HCMLP employee and (ii)
HCMLP will not enforce any non-compete or similar agreement if any HCMLP employee accepts an
offer of employment with a Potential Employer. For the avoidance of doubt, nothing herein will prevent
HCMLP from continuing to employ an HCMLP employee or require HCMLP to terminate an HCMLP
employee if a Potential Employer makes an offer of employment.

         Section 2.4    Limited Liability.

         (a)     HCMLP shall not be liable to any person or entity, including any third party, for any
action, inaction, or conduct of any NexPoint Party or that of such NexPoint Party’s or its affiliates’
employees, personnel, officers, directors, managers, members, representatives, agents, principals, owners,
or partners (collectively, “Agents”) in connection with use by the NexPoint Parties or their Agents of
HCMLP’s offices, facilities, and/or the shared resources under this Term Sheet.

         (b)     The NexPoint Parties shall indemnify and hold harmless HCMLP from and against any
and all costs and expenses (including advancing of reasonable attorneys’ fees) of HCMLP or its affiliates
or any of their Agents (including, without limitation, costs and expenses of any disputes, legal actions,
examinations, investigations, and other legal or regulatory costs or expenses), related to or arising out of
any action, inaction, or conduct by the NexPoint Parties or their Agents in connection with use by the
NexPoint Parties of HCMLP’s offices, facilities, and/or the shared resources under this Term Sheet.

        (c)     No Party shall be liable to any other Party or to any other person or entity for the failure
to provide services, access, or resources hereunder if such failure results from an event beyond the
reasonable control of the Party obligated to provide such services, access, or resources.

III.     BINDING TERM SHEET; DEFINITIVE AGREEMENTS

        Section 3.1     Binding Agreement. The Parties agree that this Term Sheet constitutes the legal,
valid and binding obligation of each Party, enforceable against each Party in accordance with its terms.


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ActiveUS 185044344v.7
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                                           11/22/22
                                             7 of 14 Page
                                                      Page102
                                                           83 of 888
                                                                 222 PageID 3406
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        Section 3.2     Entire Current Understanding and Agreement. This Term Sheet constitutes the
entire current understanding and agreement by and among the Parties hereto with respect to the subject
matter hereof and supersedes any and all prior or contemporaneous negotiations, term sheets, covenants,
agreements, undertakings and understandings (written or oral) and courses of conduct and dealing by or
among the Parties with respect to the matters expressly set forth herein.

        Section 3.3      Term Sheet Controls. Any express terms and conditions set forth in this Term
Sheet shall control any conflict or inconsistency with, and amend and supersede, the terms and conditions
of any and all other agreements between or among the Parties, except to the extent that (x) another
agreement is amended and/or restated or entered into after the Effective Date with the prior written
consent of each of HCMLP and NPA and (y) such other agreement states that it shall control in the event
of any conflict or inconsistency between such other agreement.

         Section 3.4     Definitive Agreement. The Parties agree that a definitive agreement among the
Parties that supersedes this Term Sheet (a “Definitive Agreement”) will be necessary, desirable and/or
appropriate to implement the terms and conditions set forth in this Term Sheet. Accordingly, the Parties
agree to negotiate in good faith any additional terms and conditions relating to the matters herein in a
manner to fully implement, and in a manner consistent with, the terms and conditions set forth in this
Term Sheet, except to the extent that the Parties mutually shall otherwise agree in writing. Nevertheless,
until any such Definitive Agreement is effective, this Term Sheet shall remain in full force and effect.

         Section 3.5     Efforts, Authorizations and Consents; Cooperation; No Ulterior Actions.

         (a)    Efforts. Each Party shall proceed diligently and in good faith, and agrees to use all
reasonable best efforts to do, and cause to be done, all things necessary, desirable and/or appropriate to, as
promptly as practicable and in accordance with the terms and timeline set forth herein, consummate the
transactions contemplated by this Term Sheet, and shall direct and cause its affiliates and its affiliates’
officers and employees to so proceed and to so act.

        (b)      Authorizations and Consents. Each Party shall use reasonable best efforts to obtain all
authorizations, consents, registrations, orders and approvals that may be or become necessary, desirable
and/or appropriate for such Party’s execution and delivery of, and the performance of such Party’s
obligations pursuant to, this Term Sheet, and each Party agrees to cooperate fully and promptly with a
requesting Party in its seeking to obtain all such authorizations, consents, registrations, orders and
approvals.

        (c)      Cooperation. Each Party agrees to cooperate fully and promptly with the other Parties to
consummate the Definitive Agreement in accordance with the terms and timeline contemplated herein
and shall direct and use its reasonable best efforts to cause Persons under its control to so cooperate.

        (d)      Indirect Actions. Each Party acknowledges and agrees that he will not, on or after the
Effective Date, avoid or seek to avoid, the economic and other rights, powers, privileges or interests of
the other Parties set forth in this Term Sheet. Each Party shall not, and each Party shall cause Persons
under his control not to, do indirectly that which cannot be done directly under this Term Sheet.

        Section 3.6      Further Assurances. At any time and from time to time, at the request of any
Party and without further consideration, the other Parties shall execute and deliver such instruments and
take such action as such Party may reasonably determine is necessary, desirable and/or appropriate to
carry out the actions contemplated by this Term Sheet.



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ActiveUS 185044344v.7
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                                          01/12/23
                                           11/22/22
                                             8 of 14 Page
                                                      Page103
                                                           84 of 888
                                                                 222 PageID 3407
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        Section 3.7       NexPoint Parties Representative. For convenience of administration, all of the
NexPoint Parties hereby appoint NPA as their sole representative for purposes of all actions, consents,
notices, and communications hereunder to or from the NexPoint Parties. HCMLP may rely upon any
action by NPA or communication to or from NPA to serve as an action of, or communication to or from,
and to bind, all of the NexPoint Parties.

IV.      MISCELLANEOUS OTHER PROVISIONS

        Section 4.1     Term. This Term Sheet shall terminate without further action of any Party on
April 30, 2022 (unless otherwise agreed in writing by HCMLP and NPA). Any payments required to be
made by a Party hereunder shall for periods through April 30, 2022 shall survive termination of this Term
Sheet. In addition, the following sections shall survive termination of this Term Sheet indefinitely:
Sections 2.3 (Limited Liability), 4.4 (Notices) 4.7 (Governing Law; Submission to Jurisdiction; Service of
Process), 4.9 (No Third-Party Beneficiaries).

        Section 4.2   Amendment. This Term Sheet shall be binding upon the Parties and may not be
modified in any manner, except by an instrument in writing of concurrent or subsequent date signed by
each of HCMLP and NPA.

        Section 4.3      Waiver of Rights. No delay or omission by any Party in exercising any right
under this Term Sheet shall operate as a waiver of that or any other right. A waiver or consent given by
any Party hereto on any one occasion shall be effective only in that instance and shall not be construed as
a ban or waiver of any right on any other occasion.

         Section 4.4     Notices. All notices, requests, demands, claims, and other communications
hereunder shall be in writing. Any notice, request, demand, claim, or other communication hereunder
shall be deemed duly delivered: (a) four (4) Business Days after it is sent by registered or certified mail,
return receipt requested, postage prepaid; (b) one (1) Business Day after it is sent for next Business Day
delivery via a reputable nationwide overnight courier service; (c) when sent, if e-mailed on a Business
Day; (d) the next Business Day following the day on which the e-mail is sent if e-mailed on a day that is
not a Business Day; (e) when receipt is acknowledged, if facsimiled on a Business Day; and (f) the next
Business Day following the day on which receipt is acknowledged if facsimiled on a day that is not a
Business Day, in each case to the intended recipient as set forth below:

         If to HCMLP:
                                 James P. Seery, Jr.
                                 c/o Highland Capital Management, LP
                                 300 Crescent Court
                                 Dallas, Texas 75201
                                 Email: jpseeryjr@gmail.com

                                 With copies to:

                                 Pachulski Stang Ziehl & Jones LLP
                                 780 3rd Ave #34
                                 New York, NY 10017
                                 Attention: Gregory V. Demo
                                 Email: GDemo@pszjlaw.com

                                 and


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ActiveUS 185044344v.7
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                                          01/12/23
                                           11/22/22
                                             9 of 14 Page
                                                      Page104
                                                           85 of 888
                                                                 222 PageID 3408
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                                  Wilmer Cutler Pickering Hale and Dorr LLP
                                  60 State Street
                                  Boston, MA 02109
                                  Attention: Timothy F. Silva
                                  Email: timothy.silva@wilmerhale.com


         If to the NexPoint Parties:

                                  D.C. Sauter
                                  300 Crescent Court, Suite 700
                                  Dallas, Texas 75201
                                  Email: DSauter@NexPointadvisors.com

                                  With a copy to:

                                  K&L Gates LLP
                                  4350 Lassiter at North Hills Avenue
                                  Suite 300
                                  P.O. Box 17047
                                  Raleigh, North Carolina 27619
                                  Attention: A. Lee Hogewood III
                                  Email: lee.hogewood@klgates.com

Any Party may give any notice, request, demand, claim, or other communication hereunder using any
other means (including personal delivery, expedited courier, messenger service, telecopy, telex, ordinary
mail, or electronic mail), but no such notice, request, demand, claim, or other communication shall be
deemed to have been duly given unless and until it actually is received by the Party for whom it is
intended. Any Party may change the address to which notices, requests, demands, claims, and other
communications hereunder are to be delivered by giving the other Parties notice in the manner herein set
forth.

         Section 4.5     Reservation of Rights. For the avoidance of doubt, each Party reserves all rights
it has, or may have, including all rights to pursue and defend any claims and/or causes of action, with
respect to any matter, agreement, or understanding not explicitly addressed in this Term Sheet. The
Parties expressly reserve all rights with respect to amounts asserted in connection with the NexPoint
Parties’ administrative claim, including, without limitation the NexPoint Parties’ right to amend such
claim to assert additional or lesser amounts, including with respect to the Past Due Payment Amounts (but
excluding the amounts payable for access and the Shares Services hereunder), the rights of HCMLP to
object to such claim as well as all rights and defenses in connection with all pending and potential
Adversary Proceedings between the Parties. All such claims and defenses are expressly preserved for
future resolution by the court.

        Section 4.6      Successors and Assigns; Survival. This Term Sheet shall be binding upon and
inure to the benefit of the Parties hereto and their respective heirs, executors, administrators, successors
and permitted assigns. No NexPoint Party may assign its rights or obligations hereunder without the prior
written consent of HCMLP. HCMLP may not assign its rights or obligations hereunder without the prior
written consent of NPA.

       Section 4.7   Voluntary Assent; Review of Term Sheet; Independent Counsel; Construction.
Each Party acknowledges and agrees that no promises or agreements of any kind have been made to or

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ActiveUS 185044344v.7
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                                          01/12/23
                                           11/22/22
                                            10 of 14 Page
                                                      Page105
                                                           86 of 888
                                                                 222 PageID 3409
                                                                            154


with him by the other or by any person or entity whatsoever to cause him to sign this Term Sheet other
than those set forth in this Term Sheet, and that such Party fully understands the meaning and intent of
this Term Sheet. Each Party further states and represents that it is sophisticated, has carefully read this
Term Sheet, understands its contents, and freely and voluntarily assents to all of its terms and conditions.
Each Party further states and represents that he has been represented by independent legal counsel of its
own choosing with respect to the negotiation and preparation of this Term Sheet. The Parties have
participated jointly in the negotiation and drafting of this Term Sheet. In the event any ambiguity or
question of intent or interpretation arises, this Term Sheet shall be construed as if drafted jointly by
HCMLP and the NexPoint Parties, and no presumption or burden of proof shall arise favoring or
disfavoring any Party by virtue of the authorship of any provision of this Term Sheet.

         Section 4.8     Governing Law; Submission to Jurisdiction; Service of Process. This Term
Sheet shall be interpreted and construed in accordance with the laws of the State of Texas, without regard
to conflict of laws provisions. Each Party hereby irrevocably submits to and acknowledges and
recognizes the exclusive jurisdiction of the United States Bankruptcy Court for the Northern District of
Texas, Dallas Division (which court, for purposes of this Term Sheet, is the only court of competent
jurisdiction), over any suit, action or other proceeding arising out of, under or in connection with this
Term Sheet or its subject matter. Each Party irrevocably consents to service of process in any action or
proceeding arising out of or relating to this Term Sheet in the manner provided for notices in Section 4.4.
Nothing in this Term Sheet shall affect the right of any Party to serve process in any other manner
permitted by law.

         Section 4.9      Severability; Remedies Cumulative. The provisions of this Term Sheet shall be
deemed severable and the invalidity or unenforceability of any provision shall not affect the validity or
enforceability of the other provisions of this Term Sheet. If any provision of this Term Sheet, or the
application thereof to any Person or any circumstance, is found by a court or other regulatory authority of
competent jurisdiction to be invalid or unenforceable, (a) the Parties shall negotiate in good faith to
modify this Term Sheet so as to give effect to the original intent of the Parties of such invalid or
unenforceable provision to the fullest extent permitted by law, and (b) the remainder of this Term Sheet
and the application of such provision to other Persons or circumstances shall not be affected by such
invalidity or unenforceability, nor shall such invalidity or unenforceability affect the validity or
enforceability of such provision, or the application thereof, in any other jurisdiction. The rights and
remedies of the Parties to this Term Sheet are cumulative and not alternative, and each Party shall have
the right in any particular circumstance to enforce any provision of this Term Sheet without regard to the
availability of a remedy under any other provision of this Term Sheet.

         Section 4.10    No Third-Party Beneficiaries.

         (a)     It is the explicit intention of the Parties that no Person other than the Parties — and, for
the avoidance of doubt, no employee or officer of any Party or any of its affiliates or any of a Party’s or
its affiliates’ owners, officers or employees and no client or investor in any product managed or
sponsored by any Party — is or shall be entitled to bring any action to enforce any provision of this Term
Sheet against any Party or otherwise, and that the covenants, undertakings and agreements set forth in this
Term Sheet are for the sole benefit of, and shall be enforceable only by the Parties (and their respective
successors and permitted assigns), and they shall not be construed as conferring, and are not intended to
confer, any rights on any other person or entity whatsoever.

        (b)     No investors and no creditors of any Party shall have any right or entitlement to enforce
any of the provisions of this Term Sheet or to require any Party to discharge its obligations hereunder.



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ActiveUS 185044344v.7
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                                          01/12/23
                                           11/22/22
                                            11 of 14 Page
                                                      Page106
                                                           87 of 888
                                                                 222 PageID 3410
                                                                            155


        Section 4.11    Headings. The headings of the Sections and sub-Sections of this Term Sheet are
for convenience of reference only, and are not to be considered in construing the terms and provisions of
this Term Sheet.

         Section 4.12    Construction. The definitions of terms herein shall apply equally to the singular
and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms. The words “include,” “includes” and “including”
shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be construed to
have the same meaning and effect as the word “shall.” Unless otherwise indicated: (i) the words
“herein,” “hereof” and “hereunder,” and words of similar import when used in this Term Sheet, shall be
construed to refer this Term Sheet in its entirety and not to any particular provision hereof and (ii) all
references in this Term Sheet to Exhibits, Schedules, Articles, Sections, paragraphs and sentences shall be
construed to refer to Exhibits and Sections to, and Articles, Sections, paragraphs and sentences of, this
Term Sheet. References to statues shall mean such statutes as amended.

        Section 4.13     Payments. All payments and distributions required to be made pursuant this
Term Sheet shall be made in cash and/or other immediately available funds to one (1) or more accounts as
directed by the person or entity to whom such amounts are due.

        Section 4.14    Counterparts and Electronic Signatures. This Term Sheet may be executed in
two (2) or more counterparts, each of which shall be deemed an original but all of which together shall
constitute one (1) and the same instrument. This Term Sheet may be executed by facsimile and/or
electronically by any one (1) or more of the Parties.

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                                           11/22/22
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                                                      Page107
                                                           88 of 888
                                                                 222 PageID 3411
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        IN WITNESS WHEREOF, the Parties have executed this Term Sheet effective as of the date first
written above.


                                              HIGHLAND CAPITAL MANAGEMENT, LP


                                              By:
                                              Name:
                                              Title:

                                              NEXPOINT ADVISORS, L.P.


                                              By:
                                              Name:
                                              Title:

                                              HIGHLAND CAPITAL MANAGEMENT
                                              FUND ADVISORS, L.P.


                                              By:
                                              Name:
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                                            13 of 14 Page
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                                                           89 of 888
                                                                 222 PageID 3412
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                                                                      Schedule A
                        Schedule of Shared Resources and Payments




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ActiveUS 185044344v.7
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                                           11/22/22
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                                                                 222 PageID 3413
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                                                                   Schedule B
                                Domain Names




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ActiveUS 185044344v.7
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                               Highland Capital Management Fund Advisors, L.P.,
                                                                                and NexPoint Advisors, L.P.

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC
10501 N. Central Expressway, Suite 106
Dallas, Texas 75231 Tel.: (972) 755-7100
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ'HEWRU    Ƒ86 Trustee/Bankruptcy Admin        ƑDebtor      ƑU.S. Trustee/Bankruptcy Admin
Ƒ&UHGLWRU  Ƒ2WKHU                                ƑCreditor    ƑOther
Ƒ7UXVWHH                                          ƑTrustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Count 1: Declaratory relief pursuant to 11 U.S.C. 105(a) and Fed. R. Bankr. P. 7001; Count 2:
Breach of contract; Count 3: Injunctive relief pursuant to 11 U.S.C. 105(a) and Fed. R. Bankr. P.
7065

                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ  68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)       Ƒ3 72-Injunctive relief – other
    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ1 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    Ƒ2 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
ƑCheck if this case involves a substantive issue of state law                  ƑCheck if this is asserted to be a class action under FRCP 23
Ƒ&KHFNLIDMXU\trial is demanded in complaint                                Demand $ Damages in an amount to be determined at trial
Other Relief Sought

Declaratory relief and injunctive relief




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                                                                  92 of 888
                                                                        222 PageID 3415
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  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                                      19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Dallas Division                   Stacey G. C. Jernigan
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
                          P




DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
February 17, 2021                                                      Zachery Z. Annable




                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 112 of 888 PageID 3416




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Management, L.P.’s Verified Original Complaint for Damages and for Declaratory and Injunctive

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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                          §
 In re:
                                                          § Chapter 11
                                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                          § Case No. 19-34054-sgj11
                                                          §
                                      Debtor.
                                                          §

                               APPLICATION FOR ALLOWANCE OF
                               ADMINISTRATIVE EXPENSE CLAIM

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COME NOW Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and

NexPoint Advisors, L.P. (“NexPoint,” and with HCMFA, the “Advisors”), creditors and parties in

interest in the above-captioned bankruptcy case (the “Bankruptcy Case”), and file this their

Application for Allowance of Administrative Expense Claim (the “Application”), respectfully

stating as follows:




APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                          Page 1

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Case 19-34054-sgj11 Doc 1826 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                                                                 113 PageID 3426
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                             I.      JURISDICTION AND VENUE

       1.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     II.     BACKGROUND

A.     SHARED SERVICES AGREEMENTS

       3.      On or about February 8, 2013, HCMFA entered into that certain Second Amended

and Restated Shared Services Agreement (each such agreement, a “SSA”) with Highland Capital

Management, L.P. (the “Debtor”). On or about the same date, NexPoint also entered into a SSA

with the Debtor.

       4.      Under the SSAs, the Debtor agreed to provide the Advisors with certain services,

including “all of the (i) finance and accounting services, (ii) human resources services, (iii)

marketing services, (iv) legal services, (v) corporate services, (vi) information technology services,

and (vii) operations services ….”

       5.      The SSAs contain the following detailed cost allocation provisions:

       The Actual Cost of any item relating to any Shared Services or Shared Assets shall
       be allocated based on the Allocation Percentage. For purposes of this Agreement,
       “Allocation Percentage” means:

       (a) To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
       of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

       (b) To the extent a specific percentage of use of such item can be determined (e.g.,
       70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual
       Cost of such item will be allocated to HCMLP or HCMFA, as applicable and as
       agreed by HCMFA; and

       (c) All other portions of the Actual Cost of any item that cannot be allocated
       pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA
       in such proportion as is agreed in good faith between the parties.




APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                       Page 2

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                         Main Document     11/22/22
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                                                                 113 PageID 3427
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       6.      “‘Actual Cost’ means, with respect to any period [under the SSA], one hundred

percent (100%) of the actual costs and expenses caused by, incurred or otherwise arising from or

relating to (i) the Shared Services and (ii) the Shared Assets, in each case during such period.”

       7.      In the event a party wishes to make changes to the shared services under the SSA,

“The parties will negotiate in good faith the terms upon which a Service Provider would be willing

to provide such New Shared Services to [the Advisors].”

B.     PAYROLL REIMBURSEMENT AGREEMENTS

       8.      On or about May 1, 2018, HCMFA entered into that certain Payroll Reimbursement

Agreement (each such agreement a “PRA”) with the Debtor. On or about the same date, NexPoint

also entered into a PRA with the Debtor.

       9.      Under the PRAs, the Debtor is entitled to seek reimbursement from the Advisors

“for the cost of certain employees who are dual employees of [the Debtor and the Advisors] and

who provide advice to registered investment companies advised by [the Advisors] under the

direction and supervision of [the Debtor] ….”

       10.     The amount of such reimbursement is based on an actual cost allocation formula as

follows: “The Actual Cost of any Dual Employee relating to the investment advisory services

provided to a Fund shall be allocated based on the Allocation Percentage. For purposes of this

Agreement, “Allocation Percentage” means the Parties’ good faith determination of the percentage

of each Dual Employee’s aggregate hours worked during a quarter that were spent on” certain

matters set forth in the PRA.

       11.     “‘Actual Cost’ means, with respect to any period [under the PRA], the actual costs

and expenses caused by, incurred or otherwise arising from or relating to each Dual Employee, in

each case during such period. Absent any changes to employee reimbursement, as set forth in

Section 2.02, such costs and expenses are equal to $252,000 per month.”

APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                     Page 3

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Case 19-34054-sgj11 Doc 1826 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                                                                 113 PageID 3428
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       12.     Section 2.02 provides the mechanism to modify employee reimbursement and also

provides, “The Parties will negotiate in good faith the terms of such modification.”

C.     BANKRUPTCY FILING AND SUBSEQUENT EVENTS

       13.     On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code (11 U.S.C. §§ 101 et seq.) in the United States

Bankruptcy Court for the District of Delaware, thereby initiating the Bankruptcy Case. On or

about December 4, 2019, the Bankruptcy Case was transferred to this Court.

       14.     On January 9, 2020, the Bankruptcy Court entered its Order Approving Settlement

with Official Committee of Unsecured Creditors Regarding Governance of the Debtor and

Procedures for Operations in the Ordinary Course (Dkt. No. 339, the “Settlement Order”).

       15.     In connection with the Settlement Order, an independent board (the “Board”) was

appointed to manage the Debtor’s general partner, Strand Advisors, Inc. (“Strand”). Its members

are John S. Dubel, James P. Seery, Jr., and Russel F. Nelms. Several months later, the Board, with

court approval, appointed Mr. Seery as the Debtor’s CEO and CRO.

       16.     As the Bankruptcy Case progressed, the Court expressed concerns about the

Debtor’s employees providing certain services to the non-debtor Advisors. As a result, beginning

around July 2020, Mr. Seery directed the Debtor to cease providing services to the Advisors as

otherwise contemplated under the SSAs and the PRAs.

       17.     Nevertheless, the Advisors continued to pay for those services under the SSAs and

the PRAs consistent with historical practice, despite the fact that the Debtor is not providing all

the required services in return. For example, upon information and belief, the Debtor has booked

net income from the SSAs of approximately $10 million since the Petition Date. Given that the

SSAs represent actual-cost sharing agreements, said net revenue represents Advisor overpayments

under the SSAs—the purpose of the SSAs is not to make a profit. At the same time, the Advisors

APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                    Page 4

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Case 19-34054-sgj11 Doc 1826 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                         Main Document     11/22/22
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                                                      8 12587 of 888
                                                                 113 PageID 3429
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have incurred significant additional expense obtaining services elsewhere that the Debtor was

required to provide under the SSAs.

       18.     There have also been similar overpayments under the PRAs. There is a schedule

attached to the PRAs of investment professionals whose compensation would be reimbursed by

the Advisors. But this schedule is incredibly outdated. It includes many individuals, for example,

who departed the Debtor before the Petition Date or during the Bankruptcy Case. As a result, the

Advisors estimate that, since the Petition Date, they have overpaid under the PRA’s more than $9

million.

       19.     The Advisors have brought these issues to Mr. Seery’s attention, and in accordance

with the Debtor's obligations under the SSAs and the PRAs, the Advisors expect Mr. Seery to

negotiate in good faith. Discovery will be necessary to determine the precise amount of the

overpayments under the SSAs and PRAs.

                         III.    ARGUMENTS AND AUTHORITIES

       20.     Administrative expenses generally include “the actual, necessary costs and

expenses of preserving the estate ….”        11 U.S.C. § 503(b)(1)(a).       However, the list of

administrative expense claims set forth in section 503(b) is not exclusive or exhaustive. In re

Imperial Bev. Group, LLC, 457 B.R. 490, 500 (Bankr. N.D. Tex. 2011) (citing various cases for

the proposition that “the administrative expenses listed in the subsections of § 503(b)—preceded

by ‘including’—are not exclusive”); 11 U.S.C. § 102(3) (“In this title … ‘includes’ and ‘including’

are not limiting ….”).

       21.     Post-petition, pre-rejection performance under an executory contract gives rise to

an administrative expense claim. See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 531 (1984)

(superseded by statute on other grounds) (“If the debtor-in-possession elects to continue to receive

benefits from the other party to an executory contract pending a decision to reject or assume the

APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                     Page 5

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                         Main Document     11/22/22
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                                                      8 12688 of 888
                                                                 113 PageID 3430
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contract, the debtor-in-possession is obligated to pay for the reasonable value of those services

….”); In re MCS/Tex. Direct, Inc., 02-40229-DML-11, 2004 Bankr. LEXIS 379, *11-12 (Bankr.

N.D. Tex. March 30, 2004) (“Even if the contract is rejected, the contract party is entitled to

payment for postpetition value received by a debtor.”).

       22.     Similarly, a post-petition, pre-rejection breach of contract gives rise to an

administrative expense claim. See In re United Trucking Serv., 851 F.2d 159, 162 (6th Cir. 1988)

(“the damages under the breached lease covenant, to the extent that they occurred post-petition,

provided benefits to the bankrupt estate and were property accorded priority under § 503”);

Shapiro v. Meridian Auto. Sys. (Del.) (In re Lorro, Inc.), 391 B.R. 760, 766 (Bankr. E.D. Mich.

2008) (“the term ‘administrative expense’ has been construed to include claims based on tort,

trademark infringement, patent infringement, and breach of contract”) (citing, inter alia, Reading

Co. v. Brown, 391 U.S. 471 (1968)).

       23.     Here, under the SSAs and the RPAs, the Advisors have paid for services they did

not receive and for salaries of employees who no longer exist. The Debtor, on the other hand,

collected the Advisors’ payments without providing anything in exchange or incurring any actual

costs. While the Advisors continued to perform under the SSAs and the RPAs, the Debtor

breached its obligations under those same agreements. Accordingly, the Advisors are entitled to

an administrative expense claim for the total overpayments, which, upon information and belief,

total approximately $14 million. Because the accounting information related to such costs and

expenses are within the exclusive control of the Debtor, discovery will be necessary to determine

the precise amount of the overpayments under the SSAs and PRAs.

                                       IV.     PRAYER

       WHEREFORE, PREMISES CONSIDERED, the Funds and Advisors respectfully request

that the Court enter an order granting this Application, awarding them an administrative expense

APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                   Page 6

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Case 19-34054-sgj11 Doc 1826 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                         Main Document     11/22/22
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claim in an amount to be determined at trial (which is expected to be approximately $14 million),

and providing them such other and further relief to which they show themselves to be entitled, at

law or in equity.

       RESPECTFULLY SUBMITTED this 24th day of January, 2021.

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APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                  Page 7

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of this document was served
(A) electronically by the Court’s CM/ECF system on all parties entitled to such notice on January
24, 2021; and (B) by first class U.S. mail, postage prepaid, on the attached service list on January
25, 2021.

                                                     /s/ Davor Rukavina
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APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM                                     Page 8

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        Case 19-34054-sgj11 Doc 1826-1 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                                                  01/12/23
                                                   11/22/22
                                                       2 of 4Page
                                                              Page130
                                                                   92 of 888
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          Case 19-34054-sgj11 Doc 1826-1 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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                3:22-cv-02170-S Document
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                                     Service
                                         6-1
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                                                    01/12/23
                                                     11/22/22
                                                         3 of 4Page
                                                                Page131
                                                                     93 of 888
                                                                           113 PageID 3435
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         Case 19-34054-sgj11 Doc 1826-1 Filed 01/24/21 Entered 01/24/21 14:17:39 Desc
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          Case3:22-cv-02170-S
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                                Document
                                    Service
                                        6-1
                                         2-3List
                                             Filed
                                              FiledPage
                                                   01/12/23
                                                    11/22/22
                                                        4 of 4Page
                                                               Page132
                                                                    94 of 888
                                                                          113 PageID 3436
                                                                                     384
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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 133 of 888 PageID 3437




                         Tab 5
Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                         Main Document
                               6-1
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                                           11/22/22
                                           Page 1 ofPage
                                                     19
                                                     Page134
                                                          95 of 888
                                                                113 PageID 3438
                                                                           385



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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                  )
                                     Debtor.                      )
                                                                  )

                     DEBTOR’S OBJECTION TO APPLICATION FOR
             ADMINISTRATIVE CLAIM OF HIGHLAND CAPITAL MANAGEMENT
                  FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                                     Filed01/12/23
                         Main Document     11/22/22
                                           Page 2 ofPage
                                                     Page135
                                                     19   96 of 888
                                                                113 PageID 3439
                                                                           386



                                               TABLE OF CONTENTS

                                                                                                                                Page

I.      PRELIMINARY STATEMENT ....................................................................................... 1
II.     JURISDICTION ................................................................................................................ 3
III.    BACKGROUND ............................................................................................................... 3
IV.     OBJECTIONS.................................................................................................................. 10
        A.        The Advisors Waived Any Alleged Breaches, Defaults and Claims
                  Relating to the Purported Deficient Services and Overcharges and the
                  Prior Payments Made By the Advisors Under the Agreements .......................... 10
        B.        The Voluntary Payment Rule Effectively Bars Any Administrative Claim ........ 13
V.      RESERVATION OF RIGHTS ........................................................................................ 13
VI.     CONCLUSION ................................................................................................................ 14




DOCS_LA:337623.7 36027/002                                        i
                                                                                                                  000337
Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                                     Filed01/12/23
                         Main Document     11/22/22
                                           Page 3 ofPage
                                                     Page136
                                                     19   97 of 888
                                                                113 PageID 3440
                                                                           387



                                                 TABLE OF AUTHORITIES
                                                                                                                                  Page No.

                                                                  CASES
BMG Direct Mktg. v. Peake,
    178 S.W.3d 763 (Tex. 2005)................................................................................................. 13
EM Bldg. Contrs. Servs., LLC v. Byrd Bldg. Servs., LLC,
    2020 Tex. App. LEXIS 6342 (Tex. App. Aug. 11, 2020) .................................................... 11
In re National Steel Corp.,
    316 B.R. 287 (Bankr. N.D. Ill. 2004) ................................................................................... 12
Miga v. Jensen,
    299 S.W.3d 98 (Tex. 2009)............................................................................................... 2, 13
Motor Vehicle Bd. of Tex. Dep't of Transp. v. El Paso Indep. Auto. Dealers Ass'n,
    Inc.,
    1 S.W.3d 108 (Tex. 1999)..................................................................................................... 11
Nat’l Steel Corp.,
    316 B.R. 307 (Bankr. N.D. Ill. 2004) ................................................................................... 13
Rex Performance Prods., LLC v. Tate,
    2020 Tex. App. LEXIS 10465 (Tex. App. Dec. 31, 2020) ................................................... 11
Shields Limited Partnership v. Bradberry,
    526 S.W.3d 471 (Tex. 2017)................................................................................................. 12
Sojitz Energy Venture, Inc. v. Union Oil Co.,
    394 F. Supp. 3d 687 (S.D. Tex. 2019) .................................................................................... 8
Straus v. Kirby Court Corp.,
    909 S.W.2d 105 (Tex. App. 1995) ........................................................................................ 12
Sun Expl. & Prod. Co. v. Benton,
    728 S.W.2d 35 (Tex. 1987)................................................................................................... 11
Tenneco Inc. v. Enter. Prods. Co.,
    925 S.W.2d 640 (Tex. 1996)................................................................................................. 12
Ulico Cas. Co. v. Allied Pilots Ass'n,
    262 S.W.3d 773 (Tex. 2008)................................................................................................. 11
United States Bank, N.A. v. Kobernick,
    454 Fed. Appx. 307 (5th Cir. Dec. 16, 2011) ....................................................................... 12
                                                STATUTES
11 U.S.C. § 1107(a) ...................................................................................................................... 4
11 U.S.C. § 1108 ........................................................................................................................... 4
11 U.S.C. § 362(d) ...................................................................................................................... 12
11 U.S.C. § 365(d)(2) ................................................................................................................. 12
28 U.S.C. § 1334 ........................................................................................................................... 3
28 U.S.C. § 1408 ........................................................................................................................... 3
28 U.S.C. § 1409 ........................................................................................................................... 3


DOCS_LA:337623.7 36027/002                                             ii
                                                                                                                         000338
Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                                     Filed01/12/23
                         Main Document     11/22/22
                                           Page 4 ofPage
                                                     Page137
                                                     19   98 of 888
                                                                113 PageID 3441
                                                                           388


28 U.S.C. § 157 ............................................................................................................................. 3
28 U.S.C. § 157(b)(1) ................................................................................................................... 3
28 U.S.C. § 157(b)(2) ................................................................................................................... 3
                                                             RULES
Fed. R. Bankr. P. 7008 .................................................................................................................. 3




DOCS_LA:337623.7 36027/002                                             iii
                                                                                                                          000339
Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                         Main Document
                               6-1
                                2-3 Filed
                                     Filed01/12/23
                                           11/22/22
                                           Page 5 ofPage
                                                     19
                                                     Page138
                                                          99 of 888
                                                                113 PageID 3442
                                                                           389



           Highland Capital Management, L.P. (the “Debtor”), by and through its undersigned

counsel, hereby files this objection (this “Objection”) to the Application for Allowance of

Administrative Expense Claim [Docket No. 1826] (the “Application”) filed by Highland Capital

Management Fund Advisors, L.P. (“HCMFA”) and NexPoint Advisors, L.P. (“NexPoint,” and

with HCMFA, the “Claimants” or “Advisors”). 1                     In support of this Objection, the Debtor

represents as follows:

                                    I.      PRELIMINARY STATEMENT

           1.       The Application should be summarily denied on several grounds. The Claimants

are owned and controlled by Mr. James Dondero (“Mr. Dondero”). 2 As alleged in the pending

Complaints (as defined below) filed by the Debtor against Mr. Dondero, HCMFA, NexPoint, and

certain other entities owned and/or controlled by Mr. Dondero (collectively, the “Dondero

Entities”), Mr. Dondero and the Dondero Entities have been actively interfering with and impeding

the Debtor’s business and its reorganization under the confirmed Plan and have engaged in a

coordinated litigation campaign to harass the Debtor and deplete its resources, 3 in each case to the

substantial prejudice of the Debtor’s estate and its stakeholders. The Application is another

improper attempt by Dondero-controlled entities to obstruct the Debtor’s reorganization and harass

the estate. The Debtor performed under the applicable Agreements, and the Advisors know that.




1
    Capitalized terms not defined herein have the meanings ascribed to them below or in the Application.
2
  The Advisors objected to the Debtor’s Plan (as defined below) [Docket No. 1670]. In the Confirmation Order
(defined below) confirming the Plan, the Court found that the Advisors were controlled by Mr. Dondero. Confirmation
Order, ¶ 19.
3
    Confirmation Order, ¶¶ 77-78.



DOCS_LA:337623.7 36027/002

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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document
                        Main Document
                              6-1
                               2-3 Filed
                                   Filed01/12/23
                                         11/22/22
                                          Page 6 ofPage
                                                   Page
                                                    19 139
                                                        100of
                                                            of888
                                                               113 PageID
                                                                   PageID3443
                                                                          390



           2.      After remaining silent for more than six months4 while the Debtor allegedly failed

to provide services and grossly overcharged the Advisors under the parties’ Agreements, and

having no prepetition claims against the Debtor, the Advisors seek to manufacture a purported

administrative expense priority claim by creating “facts” and rewriting the Agreements, which

have been terminated by the Debtor. There will be no credible dispute that NexPoint and HCMFA

stood by idly without ever (i) declaring a default under the Agreements; (ii) notifying the Debtor

of any problem with the Debtor’s services or billings; (iii) withholding payments under the

Agreements (until notice of the termination of the Agreements); or (iv) seeking judicial relief

regarding such matters. In fact, as described below, the Advisors wrote five separate letters to the

Debtor in late 2020 and complained about a litany of items but made only one generalized

comment about the services being provided. In short, the Advisors waived any right to dispute the

sufficiency of the Debtor’s services or the amounts payable to the Debtor under the Agreements.

           3.      Independently, the Advisors’ purported overpayments to the Debtor are barred

from recovery under the voluntary payment rule under Texas common law. As explained by the

Texas Supreme Court, “[t]he voluntary payment rule precludes a party from ‘pay[ing] out his

money, leading the other party to act as though the matter were closed, and then be in the position

to change his mind and invoke the aid of the courts to get it back.’” 5

           4.      Accordingly, the Application should be denied by the Court.6




4
  The Advisors allege that in July 2020, “Mr. Seery directed the Debtor to cease providing services to the Advisors as
otherwise contemplated under the” applicable agreements (Application, ¶ 16) yet the Advisors sought no relief at any
time and only filed the Application on January 24, 2021, on the eve of the Debtor’s confirmation hearing.
5
    Miga v. Jensen, 299 S.W.3d 98, 103 (Tex. 2009).
6
  In the event that the Court does not resolve this matter on the pleadings, the Debtor expects to propound discovery
on the Advisors, and reserves all rights with respect thereto and any other claims, causes of action, setoffs,
recoupments, and rights of the Debtor against the Advisors.



DOCS_LA:337623.7 36027/002                                2
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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document
                        Main Document
                              6-1
                               2-3 Filed
                                   Filed01/12/23
                                         11/22/22
                                          Page 7 ofPage
                                                   Page
                                                    19 140
                                                        101of
                                                            of888
                                                               113 PageID
                                                                   PageID3444
                                                                          391



                                           II.        JURISDICTION

           5.       The Court has jurisdiction to consider and determine this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(1) and (b)(2).

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           6.       The Debtor confirms its consent, pursuant to Rule 7008 of the Federal Rules of

Bankruptcy Procedure, to the entry of a final order.

                                           III.       BACKGROUND

           7.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

           8.       On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the United States Trustee in the Delaware Court.

           9.       On December 4, 2019, the Delaware Court entered an order transferring venue of

the Debtor’s bankruptcy case to this Court [Docket No. 186]. 7

           10.      On February 22, 2021, this Court entered the Order Confirming the Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (ii) Granting

Related Relief [Docket No. 1943] (the “Confirmation Order”), which confirmed the Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (as Modified) [Docket No. 1808]

(as amended, the “Plan”). 8




7
    All docket numbers refer to the docket maintained by this Court.
8
 The confirmed Plan included certain amendments filed on February 1, 2021. See Debtor’s Notice of Filing of Plan
Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified), Ex.
B [Docket No. 1875].



DOCS_LA:337623.7 36027/002                                 3
                                                                                              000342
Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document
                        Main Document
                              6-1
                               2-3 Filed
                                   Filed01/12/23
                                         11/22/22
                                          Page 8 ofPage
                                                   Page
                                                    19 141
                                                        102of
                                                            of888
                                                               113 PageID
                                                                   PageID3445
                                                                          392



        11.      The Debtor has continued in the possession of its property and has continued to

operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

        12.      Each of the Advisors is owned and controlled, directly or indirectly, by Mr.

Dondero.

        13.      The Debtor and NexPoint were parties to a Shared Services Agreement (“NexPoint

SSA”) and a Payroll Reimbursement Agreement (“NexPoint PRA” and together with the NexPoint

SSA, the “NexPoint Agreements”), each as amended or amended and restated from time to time. 9

        14.      Likewise, the Debtor and HCMFA were parties to a Shared Services Agreement

(“HCMFA SSA”) and a Payroll Reimbursement Agreement (“HCMFA PRA” and together with

the HCMFA SSA, the “HCMFA Agreements”), each as amended or amended and restated from

time to time.       The NexPoint Agreements and the HCMFA Agreements (collectively, the

“Agreements”) were terminated by the Debtor in accordance with their terms.

        15.      Neither of the Advisors has a prepetition claim against the Debtor. HCMFA’s

proofs of claim (Claim Nos. 95 and 119) were expunged with HCMFA’s consent [Docket No.

1233]. Similarly, NexPoint’s proofs of claim (Claim Nos. 104 and 108) were also consensually

expunged [Docket No. 1233].

        16.      At the Debtor’s request, Mr. Dondero resigned on or around October 9, 2020. Less

than a week after his ouster, Mr. Dondero and the Advisors he owns and controls initiated their

campaign against the Debtor. Thus, on October 16, 2020, the Advisors wrote to the Debtor and

raised three issues, contending that:



9
 The Advisors assert that the Debtor and NexPoint entered into the applicable SSA on February 8, 2013, the same
day the Debtor and HCMFA entered into a SSA. Application ¶3. This assertion is wrong as the Debtor and NexPoint
entered into that certain Amended and Restated Shared Services Agreement effective as of January 1, 2018.



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                                          Page 9 ofPage
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                                                            of888
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        x     the Debtor had allegedly refused to permit its “employees to work on certain
              [unidentified] matters that jointly affect HCMLP and the Advisors” and that allegedly
              caused the Advisors to unnecessarily incur third-party costs; 10

        x     if the Debtor terminated employees at the end of the year, the Debtor “will no longer
              be able to carry out its duties and responsibilities under the Agreements” (the
              “Prospective Complaint”); and

        x     the Debtor’s contemplated sale of certain assets held in CLOs could result in the loss
              of value, and the Advisors asked that no such assets be sold without their prior consent.

Morris Dec. Ex. A. 11

        17.      On November 24, 2020, the Advisors again wrote to the Debtor, this time only to

reiterate their complaints about the Debtor’s sale of CLO assets and their demand that all such

sales cease in the absence of the Advisors’ prior consent. In this letter, the Advisors registered no

complaints about the services the Debtor was providing or the amounts being charged or paid

under the Agreements. Morris Dec. Ex. B.

        18.      The Advisors were clearly focused on the Debtor’s sale of CLO assets because on

December 8, 2020, the Advisors and other Dondero-related entities filed their Motion for Order

Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio Manager, to Initiate Sales by

Non-Debtor CLO Vehicles [Docket No. 1528] (the “Advisors’ CLO Motion”). Morris Dec. Ex.

C. The Advisors’ CLO Motion was filed on an emergency basis [Docket No. 1523] (Morris Dec.

Ex. D), but was later denied as “frivolous.” Notably, while the Advisors’ CLO Motion proves that

the Advisors know how to seek judicial relief (on an emergency basis, no less), the Advisors




10
  The Advisors have never identified any particular “matters that jointly affect[ed] HCMLP and the Advisors” and
caused the Advisors to unnecessarily incur third-party costs. Upon information and belief, the “matters” referred to
in the October Letter are those related to the CLO issues and other Estate-Adverse Services, none of which are
“services” the Debtor was ever obligated to provide. See infra n. 12.
11
  Citations marked “Morris Dec. Ex. __” refer to the Declaration of John A. Morris in Support of Debtor’s Objection
to Application for Administrative Claim of Highland Capital Management Fund Advisors, L.P. and NexPoint
Advisors, L.P. filed contemporaneously with this Objection.



DOCS_LA:337623.7 36027/002                               5
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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
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     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 10 ofPage
                                                   Page
                                                    19 143
                                                        104of
                                                            of888
                                                               113 PageID
                                                                   PageID3447
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registered no complaints in the Advisors’ CLO Motion or at the hearing about the services the

Debtor was providing or the amounts being charged or paid under the Agreements.

        19.      Unchastened, on December 22, 2020, the Advisors renewed their complaints about

the Debtor’s CLO sales. Morris Dec. Ex. E. The Advisors also renewed their Prospective

Complaint, contending that the anticipated termination of employees on January 31, 2021 “will

result in a loss of the employees that [sic] have traditionally serviced the CLOs.” Other than the

renewal of their Prospective Complaint, the Advisors registered no complaints in their December

22, 2020, letter about the services the Debtor was providing or the amounts being charged or paid

under the Agreements.

        20.      The next day, the Advisors sent the Debtor another letter, this one focused

exclusively on the issue of the Debtor’s management of the CLOs. In their December 23, 2020,

letter, the Advisors gave notice to the Debtor that they “had no choice but to initiate HCMLP’s

removal as fund manager” for cause. Morris Dec. Ex. F. The Advisors registered no complaints

in their December 23, 2020 letter about the services the Debtor was providing or the amounts being

charged or paid under the Agreements.

        21.      Finally, on December 31, 2020, the Advisors again wrote to the Debtor, this time

for the sole purpose of registering complaints about the Debtor’s decision to evict Mr. Dondero

from the Debtor’s offices. Morris Dec. Ex. G. Other than as specifically related to Mr. Dondero,

the Advisors registered no complaints in their December 31, 2020, letter about the services the

Debtor was providing or the amounts being charged or paid under the Agreements.

        22.      As a result of this continued harassment and incessant interference, their failure to

pay, collectively, tens of millions of dollars due and owing under a series of demand notes and

other notes which were in default, and for other reasons, beginning in December 2020, the Debtor




DOCS_LA:337623.7 36027/002                         6
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     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 11 ofPage
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                                                            of888
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filed a number of complaints (the “Complaints”) against Mr. Dondero (Adv. Proc. No. 20-03190,

filed on December 7, 2020; Adv. Proc. No. 21-03003, filed on January 22, 2021); HCMFA,

NexPoint, and certain other affiliated defendants (Adv. Proc. No. 21-03000, filed on January 6,

2021); HCMFA (Adv. Proc. No. 21-03004, filed on January 22, 2021); and NexPoint (Adv. Proc.

No. 21-03005, filed on January 22, 2021), among others.

        23.      As set forth in the Complaints (as applicable), the Debtor has substantial claims

against Mr. Dondero, the Advisors and the other affiliated entities for, inter alia, interference with

the Debtor’s business and operations (including threatening to have the Debtor removed as the

portfolio manager of certain collateralized loan obligation vehicles) and for failing to pay amounts

due and owing to the Debtor under certain promissory notes. Such parties’ continued disruptive

behavior caused the Debtor to notify Mr. Dondero in December 2020 that he would be evicted and

all services provided by the Debtor to him would be terminated.

        24.      The Application was filed on January 24, 2021, obviously as retaliation for the

Debtor’s filing of the Complaints and refusal to surrender to the Advisors’ demands concerning

the CLOs. The Application has no merit as the Debtor fulfilled its obligations under the applicable

Agreements. Assuming for the sake of argument that the Debtor failed to fully perform, the

Advisors plainly waived (or should otherwise be estopped from asserting) their right to complain

and are otherwise barred under Texas law from recovering anything, and any claim would be

subject to substantial setoffs.

        25.      During the chapter 11 case and prior to the termination of the Agreements, the

Debtor performed the services required under the Agreements. The Debtor anticipates that if the

Advisors ever specifically identify any alleged service deficiencies or overcharges, they will likely

be predicated upon incredible factual assertions or absurd or other untenable contortions of the




DOCS_LA:337623.7 36027/002                        7
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     3:22-cv-02170-S Document
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                                         Page 12 ofPage
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                                                    19 145
                                                        106of
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Agreements’ provisions. 12 Not surprisingly, the Advisors do not identify a single service that the

Debtor failed to provide, and instead make only the generalized and uncorroborated assertion that

they continued to make payments “despite the fact that the Debtor [was] not providing all the

required services in return.” Application ¶ 17.

         26.      The Advisors also try to belatedly manufacture a “breach” under the Payroll

Reimbursement Agreements by asserting that certain unidentified employees did not provide

services for some unidentified periods of time. Specifically, the Advisors observe that there “is a

schedule attached to the PRAs of investment professionals whose compensation would be

reimbursed by the Advisors” that is “incredibly outdated,” and complain that the list includes

“many individuals . . . who departed the Debtor before or during the Bankruptcy Case.”

Application ¶ 18. The Advisors’ complaints in this regard serve only to prove that (a) the Advisors

did not care about these matters as long as Mr. Dondero was in control of both the Advisors and

the Debtor (i.e., at all relevant times since the Agreements were executed until no later than January

9, 2020); (b) until Mr. Dondero ceased to control both the Advisors and the Debtor, the relationship

was not an arms’-length relationship, and (c) the Advisors were apparently obtaining the services

they bargained for even if such services were not being provided by specified individuals, because

there is no allegation (and there will be no evidence) that the Advisors ever sought an adjustment



12
   For example, in or after July 2020, the Debtor’s new CEO reminded the Debtor’s personnel that they should not
provide legal services to the Advisors and other third parties that could be adverse to the bankruptcy estate (“Estate-
Adverse Services”), especially in light of the Court’s particularized concerns. Order on Motion for Clarification of
Ruling [DE # 914] and Joinders thereto [DE ## 915 and 927] [Docket No. 935 at 10] (“This could escalate to
problematic territory in a hurry. The court trusts the Debtor’s independent directors and new CEO are scrutinizing
the issue of in-house lawyers potentially advising both the Debtor and Highland Non-Debtor Entity targets.”)
(emphasis in original). To the extent that the Advisors may assert the Debtor’s services under the Agreements were
deficient because the Debtor refused to provide any Estate-Adverse Services, such assertion is patently illogical and
unsupportable. It would be an absurd construction of the Agreements to have contemplated and required the Debtor
to provide the Advisors with Estate-Adverse Services. See Sojitz Energy Venture, Inc. v. Union Oil Co., 394 F. Supp.
3d 687, 701 (S.D. Tex. 2019) (“We will not construe contracts to produce an absurd result when a reasonable
alternative construction exists.”).



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     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 13 ofPage
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                                                    19 146
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in the payments or even suggested to the Debtor that they were overpaying for departed employees.

Moreover, as the Advisors’ litany of letters proves, to the extent the Advisors ever registered a

concern about particular employees, it was only as part of the Prospective Complaint.

        27.      Tellingly, during the chapter 11 case, the Advisors did not, for instance, file an

emergency motion to compel the Debtor to assume or reject the Agreements, file a motion for

relief from the automatic stay to terminate the Agreements, or seek any other relief with respect to

the Agreements. Nor did the Advisors declare any breach or other problem with the Debtor’s

services and billings or the Advisors’ payments under the Agreements. Furthermore, neither in

their objections to Plan confirmation nor any other filing prior to the January 24, 2021, Application

did the Advisors disclose their alleged multi-million dollar administrative claim.

        28.      It was only after the chapter 11 case became contentious and the Debtor began

gaining traction with its asset monetization plan that the Claimants filed the Application and

notified the Debtor, the Court, and the estate’s other stakeholders of their purported administrative

claim in an effort to create an “asset” that could be used by Mr. Dondero in his fruitless pursuit of

a “pot plan.” Indeed, at all times post-petition and prior to the Debtor’s notice of termination of

the Agreements, the Advisors continued to pay the Debtor for the applicable fees and charges

under the Agreements, without complaint or objection.

        29.      Finally, assuming for the sake of argument only that the Advisors had a viable

claim, the Debtor is entitled to offsets and has other claims against the Advisors, with respect to

which the Debtor reserves all rights. Among other things, the Advisors owe approximately $2.56

million under the Agreements, as well as approximately $2.22 million in unpaid expense




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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
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                                         Page 14 ofPage
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                                                                   PageID3451
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reimbursements. And HCMFA and NexPoint owe more than $7.68 million 13 and $23 million,14

respectively, under various promissory notes owed to the Debtor.

                                           IV.        OBJECTIONS

A.         The Advisors Waived Any Alleged Breaches, Defaults and Claims Relating to the
           Purported Deficient Services and Overcharges and the Prior Payments Made By
           the Advisors Under the Agreements

           30.      The Advisors waited more than six months to declare that the Debtor allegedly

provided deficient services and overcharged the Advisors under the Agreements (“Agreement

Claims”). The Agreement Claims were made after the Debtor terminated the Agreements in

accordance with their terms. Moreover, the Agreement Claims were asserted as part of a

disingenuous plan proposal which asserted the claims for the first time and then unsuccessfully

tried to convince the Debtor and its creditors that a plan waiving the Agreement Claims provided

the estate with $14 million more value than the Debtor’s Plan. As explained above, in response to

such developments and as part of Mr. Dondero’s pervasive scheme to disrupt the Debtor’s business

and obstruct and delay the Debtor’s reorganization under the confirmed Plan, the Advisors are

attempting to invent ex post facto a multi-million dollar administrative claim against the estate.

But the Advisors’ belated complaints are barred as a matter of law.

           31.      The undisputed facts prove that the Advisors waived any Agreement Claims under

applicable Texas law. See Rex Performance Prods., LLC v. Tate, 2020 Tex. App. LEXIS 10465,

at *19 (Tex. App. Dec. 31, 2020) “Waiver is defined as ‘an intentional relinquishment of a known

right or intentional conduct inconsistent with claiming that right.’” Id. (quoting Sun Expl. & Prod.

Co. v. Benton, 728 S.W.2d 35, 37 (Tex. 1987). The elements of waiver include: (1) an existing



13
     As asserted in the Debtor’s Complaint against HCMFA in Adv. Proc. No. 21-03004.
14
     As asserted in the Debtor’s Complaint against NexPoint in Adv. Proc. No. 21-03005.



DOCS_LA:337623.7 36027/002                               10
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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 15 ofPage
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                                                               113 PageID
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right, benefit, or advantage held by a party; (2) the party’s actual knowledge of its existence; and

(3) the party’s actual intent to relinquish the right or intentional conduct inconsistent with the right.

Ulico Cas. Co. v. Allied Pilots Ass'n, 262 S.W.3d 773, 778 (Tex. 2008). Being largely a matter of

intent, waiver is ordinarily a question of fact, but when the surrounding facts and circumstances

are undisputed, the question becomes one of law. Motor Vehicle Bd. of Tex. Dep't of Transp. v. El

Paso Indep. Auto. Dealers Ass'n, Inc., 1 S.W.3d 108, 111 (Tex. 1999).”).

        32.      As discussed above, the Advisors were evidently so unconcerned with any

purported Agreement Claims that, inter alia, they (a) continued to pay the Debtor all amounts due

without protest or even a reservation of rights (“Unconditional Payments”), (b) failed to declare a

default or put the Debtor on notice of any deficiency with the Debtor’s services and billings and

the Advisors’ payments under the Agreements (“Contractual Notice Actions”), despite sending a

litany of letters in late 2020 detailing other purported concerns, and (c) failed to seek judicial relief

of any kind (e.g., a motion to compel the Debtor to assume or reject the Agreements or a motion

for relief from stay to terminate the Agreements (“Bankruptcy Court Actions”), despite having

filed the Advisors’ CLO Motion on an emergency basis. See, e.g., EM Bldg. Contrs. Servs., LLC

v. Byrd Bldg. Servs., LLC, 2020 Tex. App. LEXIS 6342, *40 (Tex. App. Aug. 11, 2020) (“Silence

or inaction, for so long a period as to show an intention to yield the known right, is . . . enough to

prove waiver”) (quoting Tenneco Inc. v. Enter. Prods. Co., 925 S.W.2d 640, 643 (Tex. 1996)); In

re National Steel Corp., 316 B.R. 287, 307 (Bankr. N.D. Ill. 2004) (“[I]t is most significant that

the Creditor failed to take timely action to seek appropriate relief during the term of the executory

Contract. Specifically, the Creditor failed to come before the Court to seek relief from the

automatic stay under 11 U.S.C. § 362(d). Nor did the Creditor seek to compel National Steel to

assume or reject the Contract pursuant to § 365(d)(2) [footnote omitted]. Instead of availing itself




DOCS_LA:337623.7 36027/002                         11
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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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                       Main Document
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                               2-3 Filed
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                                         11/22/22
                                         Page 16 ofPage
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                                                            of888
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of the procedures set forth in the Bankruptcy Code to compel National Steel’s decision to assume

or reject the Contract, the Creditor paid National Steel the higher price pursuant to the Amended

Price Proposal and chose to ‘reserve its rights.’”). In short, the Advisors waived any right to

dispute the sufficiency of the Debtor’s services or the amounts payable to the Debtor under the

Agreements.

         33.      The Advisors cannot avoid the consequences of their inaction by relying on so-

called “non-waiver provisions” in the Agreements. 15 Texas law provides that ostensible “non-

waiver provisions” can themselves be waived by the parties. See, e.g., United States Bank, N.A.

v. Kobernick, 454 Fed. Appx. 307, 315 (5th Cir. Dec. 16, 2011) (bank’s actions were inconsistent

with preserving contractual right to declare a certain default and thus, the bank had waived said

right, notwithstanding non-waiver clause (citing Straus v. Kirby Court Corp., 909 S.W.2d 105,

108 (Tex. App. 1995) and other cases)). 16

         34.      Here, the Advisors’ monthly Unconditional Payments, failure to take any

Contractual Notice Actions, and failure to take any Bankruptcy Court Actions relating to the

Agreements prove that the Advisors waived any Agreement Claims, notwithstanding any non-

waiver clauses in the Agreements.

         35.      Any purported Agreement Claims of the Advisors were viewed and treated as non-

issues by the Advisors during the chapter 11 case, and were thus not preserved for purposes of the

Application or otherwise.


15
  For example, the Payroll Reimbursement Agreement entered into as of May 1, 2018, by and among the Debtor and
HCMFA, provides in section 6.02: “No failure on the part of any Party to exercise or delay in exercising any right
hereunder will be deemed a waiver thereof ….”
16
   The Debtor is cognizant of the Texas Supreme Court’s opinion in Shields Limited Partnership v. Bradberry, 526
S.W.3d 471 (Tex. 2017), wherein the court stated that “as a general proposition, nonwaiver provisions are binding and
enforceable.” Id. at 481. However, the Shields court also stated: “To the extent there has been any doubt up to this
time, we affirm that a party’s rights under a nonwaiver provision may indeed be waived expressly or impliedly.” Id.
at 482-83.



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     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 17 ofPage
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                                                            of888
                                                               113 PageID
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B.      The Voluntary Payment Rule Effectively Bars Any Administrative Claim

        36.      Separately, the “voluntary payment rule” under applicable Texas law precludes the

Advisors from recovering any alleged contractual overpayments under the guise of an

administrative claim. As explained above, the Advisors voluntarily and intentionally made

postpetition payments under the Agreements to the Debtor.            “The voluntary payment rule

precludes a party from ‘pay[ing] out his money, leading the other party to act as though the matter

were closed, and then be in the position to change his mind and invoke the aid of the courts to get

it back.’” Miga v. Jensen, 299 S.W.3d 98, 103 (Tex. 2009); accord, BMG Direct Mktg. v. Peake,

178 S.W.3d 763 (Tex. 2005) (applying the principle to prevent the recovery of a “late fee” paid by

a customer who later claimed it was unlawful); see also Nat’l Steel Corp., 316 B.R. at 307-08

(“Nor is it disputed that the Creditor made the payment voluntarily, notwithstanding the fact that

it announced the reservation of its rights to later ‘evaluate the situation.’ Despite the Creditor’s

fervent denials that it agreed to the price increase and that such an increase was inappropriate under

the Contract, the Creditor made an affirmative, voluntary decision to pay the price increase ….

The Court finds that the requirements of the voluntary payment doctrine [under Michigan law,

which is similar to Texas law] have been met and that, accordingly, the Creditor cannot recover

any portion of the payment at issue made to National Steel.”).

                             V.      RESERVATION OF RIGHTS

        37.      The Debtor reserves all rights relating to NexPoint, HCMFA and/or the

Agreements, including, without limitation, any claims, causes of action, setoffs, recoupments and

other rights of the Debtor against the Advisors.




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Case 19-34054-sgj11 Doc 2274 Filed 05/05/21 Entered 05/05/21 17:58:39 Desc
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
                                         Page 18 ofPage
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                                    VI.       CONCLUSION

        The Advisors’ Application for an administrative claim is part and parcel of the Advisors’

and Mr. Dondero’s broad strategy to subvert and hinder the Debtor’s reorganization to the

substantial detriment of the estate and its stakeholders. For the reasons set forth herein, the Debtor

respectfully requests that the Court (i) deny the Application, (ii) disallow any asserted

administrative claim of the Advisors, and (iii) grant such other and further relief as the Court deems

just and proper.




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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 6-1
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                       Main Document     11/22/22
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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 153 of 888 PageID 3457




                         Tab 6
     Case
      Case21-03010-sgj
           21-03010-sgj Doc
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 13, 2022
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                                      §
         In re:                                                           Chapter 11
                                                                      §
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                                      §
                                                                      §
                                         Reorganized Debtor.
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                      §
                                         Plaintiff,                   §   Adversary Proceeding No.
                                                                      §
         vs.                                                          §   21-03010-sgj
                                                                      §
         HIGHLAND CAPITAL MANAGEMENT FUND                             §
         ADVISORS, L.P., AND NEXPOINT ADVISORS,                       §
         L.P.,                                                        §
                                                                      §
                                         Defendants.                  §


                                                          JUDGMENT




     1
      The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
     service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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        This matter having come before the Court following the consolidation of (a) certain breach

of contract claims asserted by Highland Capital Management, L.P. (“Highland” or “Plaintiff”)

against Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and NexPoint Advisors,

L.P. (“NexPoint” and together with HCFMA, the “Defendants,” and Plaintiff and Defendants

together, the “Parties”) in the above-referenced adversary proceeding (the “Adversary

Proceeding”), with (b) the administrative expense claims asserted by HCMFA and NexPoint

against Highland in the Application for Allowance of Administrative Claim [Main Docket No.

1826]; 2 and the Court having held an evidentiary hearing on April 12 and 13, 2022 (the “Trial”)

and considered (a) Defendants’ arguments and contentions set forth in the Advisors’ Trial Brief

[AP Docket No. 90]; (b) Plaintiff’s arguments and contentions set forth in Highland’s Proposed

Findings of Fact and Conclusions of Law [AP Docket No. 91]; (c) the Joint Pretrial Order [AP

Docket No. 96] filed by the Parties; (d) the exhibits admitted into evidence during the Trial [AP

Docket No. 115]; (e) the credibility of the witnesses who testified during the Trial; (f) the

arguments presented by counsel during closing arguments held on April 27, 2022; and (g) all prior

proceedings arising in or concerning the claims asserted in the Adversary Proceeding, and for the

reasons set forth in the Findings of Fact and Conclusions of Law in Support of Judgment: (A)

Granting Breach of Contract Claims Asserted by the Reorganized Debtor; and (B) Denying

Defendants’ Request for Allowance of Administrative Expense Claims [AP Docket No. 124] (the

“Findings”) issued by the Court on August 30, 2022; the Court hereby enters the following final

judgment (the “Final Judgment”).

        IT IS ORDERED, ADJUDGED, AND DECREED as follows:



2
  See Stipulation (A) Amending Scheduling Order and (B) Consolidating and Resolving Certain Matters, Adv. Pro.
No. 21-03010-sgj, Docket No. 36 (references to the docket maintained in the Adversary Proceeding are hereafter
referred to as “AP Docket No. __”).



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        1.       HCMFA owes Highland the aggregate sum of $1,756,000, and Highland shall have

a money judgment against HCMFA in that amount.

        2.       NexPoint owes Highland the aggregate sum of $840,000, and Highland shall have

a money judgment against NexPoint in that amount.

        3.       All relief requested by the Defendants in the Application for Allowance of

Administrative Claim [Main Docket No. 1826], including with respect to (i) all alleged

overpayments and (2) all alleged breaches of contract by Highland, is denied and all claims that

were asserted or could have been asserted therein are dismissed with prejudice.

        4.       The amounts set forth to be paid in this Final Judgment shall bear interest, pursuant

to 28 U.S.C. § 1961, from the date of the entry of this Final Judgment, at a rate of 3.48 percent.

Interest shall be computed daily to the date of payment, except as provided in 28 U.S.C. § 2516(b)

and 31 U.S.C. § 1304(b), and shall be compounded annually.

                                   ### END OF JUDGMENT ###




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 30, 2022
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                §
         In re:                                                     Chapter 11
                                                                §
                                                                §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                         Case No. 19-34054-sgj11
                                                                §
                                                                §
                                   Reorganized Debtor.
                                                                §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                     §
                                                                §
                                   Plaintiff,                   §   Adversary Proceeding No.
                                                                §
         vs.                                                    §   21-03010-sgj
                                                                §
         HIGHLAND CAPITAL MANAGEMENT FUND                       §
         ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.,            §
                                                                §
                                   Defendants.                  §
                                                                §
     
     FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF A JUDGMENT:
          (A) GRANTING BREACH OF CONTRACT CLAIMS ASSERTED BY THE
       REORGANIZED DEBTOR; AND (B) DENYING DEFENDANTS’ REQUESTS FOR
                ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIMS




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                                                                 113 PageID 3463
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    I.       INTRODUCTION
         The above-referenced adversary proceeding (“Adversary Proceeding”) is related to the

Chapter 11 bankruptcy case of Highland Capital Management, L.P. (the “Debtor” or “Highland”),

which was filed on October 16, 2019 (the “Petition Date”). Highland is now a Reorganized Debtor

(sometimes referred to as such, herein). It obtained confirmation of a plan on February 22, 2021.

The plan went effective on August 11, 2021. On direct appeal to the Fifth Circuit, Highland’s

confirmation order was affirmed in substantial part, on August 19, 2022.

         A few days before confirmation of its plan, Highland filed the complaint (“the Complaint”)

initiating this Adversary Proceeding.1 The defendants in the Adversary Proceeding are two very

significant non-debtor entities within the massive Highland complex of companies: one known

as Highland Capital Management Fund Advisors, L.P. (“HCMFA”) and the other known as

NexPoint Advisors, L.P. (“NexPoint” or sometimes “NPA”). These two companies are sometimes

collectively referred to as the “Advisors” or “Defendants.” It is undisputed that, at all relevant

times, the Advisors have been controlled by James Dondero (“Mr. Dondero”), the co-founder and

former CEO of the Debtor.2 Early during the Highland bankruptcy case (on January 9, 2020), Mr.

Dondero’s tenure as CEO of Highland was terminated, and three new independent directors (the

“Independent Board”) were appointed to manage the affairs of the Debtor, pursuant to a settlement




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1
  Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Damages and for Declaratory and
Injunctive Relief, filed February 17, 2021, DE # 1 in the AP. Note: all references herein to “DE # ___” shall refer to
the docket entry number at which a pleading appears in the docket maintained in the Highland main bankruptcy case.
All references to “DE # ___ in the AP” refer to the docket entry number at which a pleading appears in the docket
maintained in this Adversary Proceeding.
2
  Joint Pretrial Order, DE # 92 in the AP at p. 9, ¶ 35. See also Tr. Transcript 4/13/22, Part 2 of 2 [DE # 116], at
14:19-20.

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                                                                 113 PageID 3464
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between the Debtor and Official Committee of Unsecured Creditors (“UCC”), approved by the

bankruptcy court.3

         The Adversary Proceeding involves Highland’s breach of contract allegations against the

two Advisors arising under four different agreements: (a) two Shared Services Agreements (one

between Highland and each of the two Advisors); and (b) two Payroll Reimbursement Agreements

(again, one between Highland and each of the two Advisors).4 As later further explained, the

Advisors are “registered investment advisors” who manage approximately $11 billion of assets for

numerous clients, including retail investors (the retail investor funds constitute about $3 billion of

the $11 billion of assets under management). 5 Pursuant to the two Shared Services Agreements,

Highland provided the “back-office” and “middle-office” services (i.e., accounting, legal,

regulatory compliance, human resources, information technology, etc.) that enabled the Advisors

to operate as a business. And pursuant to the two Payroll Reimbursement Agreements, Highland

provided “front-office” advisory services (i.e., investment advisory personnel) that enabled the

Advisors to provide investment services to the funds under their management. To be clear,

Highland maintained a full staff of actual employees and essentially contracted out to the Advisors




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3
  The settlement between the Debtor and UCC is sometimes referred to by the parties as the “corporate governance
settlement,” and it was entered into to avert the likely appointment of a Chapter 11 trustee.
4
  The Debtor originally asserted three claims in the Complaint: Count One, seeking declaratory relief, as to the parties’
respective rights and obligations under the two Shared Services Agreements; Count Two for Breach of Contract under
the two Shared Services Agreements; and Count Three, seeking injunctive relief requiring the Advisors to cooperate
in an orderly transition of services away from the Debtor, under the Shared Services Agreement. DE # 1 in the AP.
On February 24, 2021, following an evidentiary hearing, the bankruptcy court entered an order resolving the claims
for declaratory and injunctive relief (Counts One and Three) of Highland’s Complaint. Subsequently, on August 4,
2021, the parties entered into a stipulation that the claims for declaratory and injunctive relief were finally resolved
by the prior order. DE # 36 in the AP. Thus, the only claims remaining from Highland’s Complaint to be considered
are those for breaches of contract (Count Two). Notably, the parties’ Joint Pretrial Order expanded Highland’s Count
Two to include breaches of the Payroll Reimbursement Agreements and not simply breaches of the Shared Services
Agreements. DE # 92 in the AP, ¶¶ 15, 69, 71, 73, 74, 75, 76, 78, 79, 80, 81 & 85.
5
  Tr. Transcript 4/13/22, Part 2 of 2 [DE # 116], at 106:13-16.

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                                                           26 of 888
                                                                 113 PageID 3465
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for the necessary services, so that the Advisors could manage funds for their clients. The Advisors

themselves had relatively few employees.

        The Shared Services Agreements, later more fully defined, will sometimes collectively be

referred to herein as the “SSAs,” and the Payroll Reimbursement Agreements, also more fully

defined herein, will sometimes be referred to as the “PRAs.” The cash flow streams from the SSAs

and PRAs were a significant source of revenue and liquidity for Highland. And, of course, the

Advisors, themselves, earned significant fees from the contracts that they had with their clients to

manage the $11 billion of assets (the Advisors’ revenue numbers are not in evidence).

        Highland asserts that breaches of contract occurred due to the Advisors’ failure—late

during Highland’s bankruptcy case, when things had become very contentious between Highland

and Mr. Dondero—to pay amounts due and owing under the four agreements (specifically, after

Highland had given notice on November 30, 2020, of Highland’s intent to terminate the SSAs, in

60 days, in connection with its chapter 11 plan).6            Highland asserts that the Advisors thereafter

failed to pay some $2,747,000 due and owing under the four agreements, in late 2020 and early

2021.

        Meanwhile, shortly before the filing of the Adversary Proceeding, on January 24, 2021,

the Advisors filed their Application for Allowance of Administrative Claim in the underlying

bankruptcy case.7 On May 5, 2021, Highland filed its Objection to Application for Administrative

Claim of Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.8

Contrary to Highland’s position that the Advisors owe Highland money for unpaid services that


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  Highland planned to reduce its workforce in February 2021, in connection with confirmation of its plan, and
anticipated it would have insufficient personnel to perform under the agreements thereafter.
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  DE # 1826.
8
  DE # 2274.

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                                                                 113 PageID 3466
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Highland provided, the Application asserted claims back against Highland for: (1) alleged post-

petition overpayments by the Advisors to Highland under the PRAs, throughout the bankruptcy

case (under a theory that the fees payable to Highland under the PRAs were tied to the headcount

of employees providing services, and Highland allegedly improperly charged the Advisors the

same fixed, monthly amount under the PRAs, over time, as employee headcount at Highland

dwindled); (2) alleged post-petition breaches of the SSAs by Highland, for allegedly failing to

provide certain legal and compliance services contemplated under the SSAs—causing the

Advisors to have to hire their own employees to provide such services; and (3) alleged post-petition

overpayments by the Advisors to Highland under the SSAs for the services that Highland allegedly

failed to provide. The Advisors have asserted up to $14 million in administrative expense claims

against Highland.

        On August 6, 2021, the parties stipulated that the contested matter created by the Advisors’

Application for Allowance of Administrative Claim (and Highland’s objection thereto) should be

consolidated with the Debtor’s breach of contract claims within this Adversary Proceeding.9 All

consolidated, competing claims of the parties were tried before the bankruptcy court on April 12

and April 13, 2022, with closing arguments heard on April 27, 2022 (the “Trial”). The court heard

from six witnesses and admitted nearly 200 exhibits.

        For the reasons set forth below, the bankruptcy court has determined that the Advisors have

failed to meet their burden of proving: (i) that they made any “overpayments” under the PRAs; (ii)

that Highland breached the SSAs; or (iii) that the Advisors “overpaid” under the SSAs. The court

also has determined that, even if the Advisors had met their burden of proving that they “overpaid”


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9
 Stipulation (A) Amending Scheduling Order and (B) Consolidating and Resolving Certain Matters, DE # 36 in the
AP.

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                                           11/22/22
                                              6 of 60Page
                                                      Page163
                                                           28 of 888
                                                                 113 PageID 3467
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under the PRAs, the Advisors claims were waived. The Advisors’ claims for “overpayments”

under the SSAs were likewise waived. No administrative expense claims will be allowed.

           The bankruptcy court has further determined that Highland has met its burden of proving

its breach of contract claims against the Advisors for failure to pay certain amounts due under both

the SSAs and PRAs in late 2020 and early 2021.

           Accordingly, the bankruptcy court denies the request for allowed administrative expense

claims by the Advisors. Further, the bankruptcy court grants the relief requested by Highland

under its claims for breach of contract in this Adversary Proceeding. Highland is entitled to the

damages set forth at the end of this document.

           Set forth below are the court’s Findings of Fact and Conclusions of Law, pursuant to Fed.

R. Bankr. Proc. 7052. Any Finding of Fact that should be more appropriately characterized as a

Conclusion of Law should be deemed as such, and vice versa.

     II.      FINDINGS OF FACT

           The Defendant/Advisor known as HCMFA was formed on or around February 2, 2009,

and was previously known as Pyxis Capital, L.P. (“Pyxis”).10 The Defendant/Advisor known as

NexPoint was formed on or around March 20, 2012. It is undisputed that, at all relevant times,

both Defendants (i.e., the Advisors) were controlled by Mr. Dondero.11

           The Advisors are registered investment advisors under the Investment Advisers Act of

1940. They serve as the investment managers for, among other things, certain retail funds (the




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10
   Joint Pretrial Order, DE # 96 in the AP at p. 10. See also Tr. Transcript 4/13/22, Part 2 of 2 [DE # 116], at 14:19-
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11
   Id. at p. 9.

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                                           11/22/22
                                              7 of 60Page
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                                                           29 of 888
                                                                 113 PageID 3468
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“Retail Funds”) that are regulated pursuant to the Securities Act of 1933, the Securities Exchange

Act of 1934, and the Investment Company Act of 1940.

           The Advisors provide investment advisory services to their clients pursuant to written

investment advisory agreements (the “Investment Advisory Agreements”). These Investment

Advisory Agreements are: (a) the principal source of the Advisors’ revenue, and (b) are the reason

for the Advisors’ existence.

           An individual named David Klos (“Mr. Klos”) served as Highland’s Controller and Chief

Accounting Officer during the times relevant in this Adversary Proceeding (including overseeing

the SSAs and PRAs between Highland and the Advisors) and reported directly to an individual

named Frank Waterhouse (“Mr. Waterhouse”), who served as both: (a) Highland’s Chief Financial

Officer (“CFO”), while simultaneously serving as (b) the Treasurer for each of the Advisors. Both

Mr. Klos and Mr. Waterhouse testified at Trial and seemed to be the witnesses who were most

involved with the Agreements at the time of their execution, implementation, and during

performance thereof.

           Mr. Klos now works as CFO of the Reorganized Debtor. Mr. Waterhouse no longer has

any employment position with the Reorganized Debtor, but he still serves as an officer and/or

employee of both of the Advisors and of Skyview—the latter of which is an entity that many

former Highland employees transitioned to around the time that the Highland plan was confirmed,

and they were terminated from Highland (Skyview now provides middle- and back-office services

to the Advisors).12 The court found Mr. Klos to be a credible and knowledgeable witness. The

court found Mr. Waterhouse’s testimony to have been only moderately helpful. Mr. Waterhouse



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12
     See Tr. Transcript 4/13/22, Part 2 of 2 [DE # 116], at 55:3-21.

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                                                           30 of 888
                                                                 113 PageID 3469
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testified either “Not that I recall,” “I don’t recall,” “Not that I’m aware of,” or “I don’t remember,”

more than 75 times, during two hours and 26 minutes of testimony regarding the SSAs and PRAs.13

             A. The SSAs

                      i. The HCMFA SSA.

         On February 9, 2012, Highland and HCMFA (then operating as Pyxis) entered into a

Shared Services Agreement, effective as of December 15, 2011 (“Original HCMFA SSA”).14 On

September 12, 2012, the parties entered into an Amended and Restated Shared Services Agreement,

effective as of December 15, 2011.15 Subsequently, the parties entered the Second Amended and

Restated Shared Services Agreement, effective as of February 8, 2013—which is the SSA that was

in place between Highland and HCMFA during the bankruptcy case and is at issue in this litigation

(the “HCMFA SSA”).16

         To understand the impetus for the HCMFA SSA (and, for that matter, all of the agreements

at issue in this Adversary Proceeding) one must fully appreciate that the Defendants/Advisors had

relatively few employees of their own during the times relevant in this Adversary Proceeding.

Rather, the Defendants/Advisors essentially contracted for services and/or personnel employed by

the mothership, Highland. Pursuant to the HCMFA SSA, HCMFA agreed to pay Highland for

costs relating to certain shared services requested by HCFMA and provided by Highland,

including, in pertinent part: (i) finance and accounting, (ii) human resources, (iii) marketing, (iv)

legal, (v) corporate, (vi) information technology, and (vii) operations.17                       According to all


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13
   With all due respect, the court realizes that most witnesses do not have perfect memories and occasionally testify
“I don’t recall” or “I don’t know” during testimony. Indeed, during this Trial, other witnesses sometimes testified as
such. But Mr. Waterhouse’s lack of answers to important questions was somewhat troubling to the court.
14
   Pl. Ex. 54.
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   Pl. Ex. 55.
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   Pl. Ex. 2.
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   See id. at Article II, Section 2.01.

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                                                           31 of 888
                                                                 113 PageID 3470
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witnesses, these services are commonly referred to in the industry as “middle- or back-office”

services, in contrast to “front-office” services that would be investment advisory services.

         Pursuant to the HCMFA SSA, HCMFA was required to pay Highland its allocable share

of the “Actual Cost” of “Shared Services” and “Shared Assets” based on an “Allocation

Percentage,” as those terms are defined in the HCFMA SSA.18 To determine the amounts owed,

(a) Highland was to prepare Quarterly Reports setting forth the cost allocations and detailing

amounts paid during the applicable quarter; (b) the parties were to agree on the allocations set forth

in the Quarterly Reports and prepare invoices; and (c) the invoiced amounts were to be paid within

10 days.19 In contrast to the other SSA with Nexpoint (described below) and the PRAs (also

described below), the HCMFA SSA is stipulated to have been a variable fee arrangement between

the parties.

                  ii.       The NexPoint SSA.

         On June 5, 2013, Highland and NexPoint entered into their original Shared Services

Agreement, effective as of January 1, 2013 (the “Original NexPoint SSA”).20 The Original

NexPoint SSA was modelled after the HCMFA SSA and included a formula for determining

NexPoint’s share of allocable cost of “Shared Services” and “Shared Assets,” which did not rely

on an actual analysis of cost, but rather a percentage of managed fund assets.21 This contract

covered the same “middle- or back-office” services provided under the HCMFA SSA.

         Subsequently, Highland and NexPoint amended the Original NexPoint SSA. The parties

entered into the Amended and Restated Shared Services Agreement, effective as of January 1,

2018—which is the SSA that was in place between Highland and NexPoint during the bankruptcy

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18
   See id. at Section 4.01.
19
   See id. at Sections 5.01, 5.02, & 5.03.
20
   Pl. Ex. 29.
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   See id. at Sections 4.01, 5.01, 5.02, & 5.03.

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                                           11/22/22
                                              10 of 60
                                                     Page
                                                       Page167
                                                            32 of 888
                                                                  113 PageID 3471
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case and is at issue in this litigation (the “NexPoint SSA”).22 The notable changes made to the

NexPoint SSA included that: (a) the “asset based” formula (which was calculated using the asset

values of a fund advised by NexPoint) for determining the value of Highland’s services was

replaced with a monthly, “flat fee” arrangement; and (b) Highland was provided with exculpation

and indemnification rights. The monthly flat fee charged by Highland to NexPoint in the amended

NexPoint SSA was $168,000.23

         NexPoint agreed to pay Highland the flat monthly fee of $168,000, due before the first

business day each month, in exchange for the shared services provided by Highland.24

Additionally, under Section 6.03 of the NexPoint SSA, Highland is entitled to recover its costs and

expenses, including attorney’s fees, incurred in connection with the defense or settlement of

indemnifiable claims.25

         The NexPoint SSA was signed by Mr. Waterhouse on behalf of both Highland (in his

capacity as Treasurer of Strand Advisors, Inc., the general partner of Highland) and NexPoint (in

his capacity as Treasurer of NexPoint Advisors GP, LLC, the general partner of NexPoint).

         On November 30, 2020, Highland—with confirmation of its plan pending, which

contemplated a separation of Highland from Dondero-controlled entities—exercised its right to

terminate both the HCMFA SSA and NexPoint SSA, by providing a written termination notice to

the Advisors, indicating Highland’s intent to terminate them, effective January 31, 2021 (the

“Termination Date”). However, on January 29, 2021, Highland agreed to extend the Termination

Date by two weeks (to February 14, 2021), due to ongoing negotiations for an orderly transition

of services, provided the Advisors paid for the services in advance. Highland has credibly

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22
   Pl. Ex. 3.
23
   Id. at Article III, Section 3.01.
24
   See id..
25
   See id. at Section 6.03.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                           11/22/22
                                        Page         Page
                                              11 of 60 Page168
                                                            33 of 888
                                                                  113 PageID 3472
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represented that it believed termination without a service provider in place to fill Highland’s role

would have had dire consequences to the Retail Funds and their investors. The parties later agreed

to extend the Termination Date one final time in February 2021, to extend the deadline through

the end of February 2021.

       The Advisors do not contend that Highland failed to perform under the SSAs, other than,

perhaps, providing certain legal and compliance services to the Advisors a handful of times, at a

point in time during the bankruptcy case when the Debtor believed it would be a conflict of interest

to do so (as the Debtor and Advisors were becoming adverse). Further, it is agreed that the

NexPoint SSA contemplated a fixed fee arrangement of $168,000 per month. To reiterate, the

HCMFA SSA was not a fixed fee arrangement, but the amounts invoiced under the HCMFA SSA

generally ranged between $300,000 to $310,000 each month.

           B. The PRAs

       In addition to the two SSAs, Highland and each of the Advisors/Defendants were parties

to two “Payroll Reimbursement Agreements” (the “PRAs” and together with the SSAs, the

“Agreements”). The PRAs—in contrast to the SSAs that were designed to compensate Highland

for the Defendants’ usage of “middle- and back-office” services—were designed to compensate

Highland for the Defendants usage of “front-office” services.

       There is a confusing history leading up to execution of the PRAs. Notably, prior to the

year 2018, Highland had provided “front-office” services to the Advisors for free. Also notably,

in early 2018, the parties embarked on documenting a new arrangement whereby Highland would

henceforth be compensated for “front-office” services through the mechanism of “sub-advisory

agreements” with the Advisors (which would be typical in the industry generally, as a way to




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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              12 of 60
                                                     Page
                                                       Page169
                                                            34 of 888
                                                                  113 PageID 3473
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compensate a party for “front-office” services). But the parties ended up using the PRAs instead,

as set forth below.

         i.       Events Leading up to the PRAs.

         As noted above, prior to the year 2018, Highland had provided “front-office” services to

the Advisors for free, for six years.26 But at the end of 2017, Highland was operating at a loss and

those losses were expected to increase in 2018.27 According to the credible testimony of Mr. Klos

at Trial, Mr. Dondero came up with a number of $6 million that the Defendant NexPoint should

be paying Highland, every year in the aggregate, to compensate for the mounting operating losses

at Highland—which also had the added benefit of reducing NexPoint’s taxable income that it was

generating, that happened to be flowing up to Mr. Dondero.28

         So, on or about January 11, 2018, Highland and NexPoint entered into that certain Sub-

Advisory Agreement, effective as of January 1, 2018 (the “Initial Sub-Advisory Agreement”).

Notably, a typical sub-advisory agreement might provide for compensation for front-office

services in a myriad of ways, including possibly: based on actual costs; flat fees; or percentage of

assets under management (“AUM”), using basis points computed on assets managed.29 Pursuant

to the Initial Sub-Advisory Agreement, Highland would be providing certain “front-office”

services to NexPoint to enable it to fulfill its obligations to its Clients under its Investment

Management Agreements.30 In exchange, NexPoint agreed to pay a flat monthly fee of $252,000,

while each of the parties agreed to bear their own expenses.31 As with the NexPoint SSA, Mr.

Waterhouse signed the Sub-Advisory Agreement on behalf of both Highland and NexPoint. The


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26
   Tr. Transcript 4/12/22, Part 1 of 2, [DE # 110] at 69:13-71:19.
27
   Pl. Ex. 86 at p. 2. See Tr. Transcript 4/12/22, Part 1 of 2 [DE # 110], at 65:13-22.
28
   Tr. Transcript 4/12/22, Part 1 of 2, [DE # 110] at 66:6-71:19.
29
   Tr. Transcript 4/13/22, Part 1 of 2, [DE # 114] at 37-47.
30
   Joint Pretrial Order, DE # 96 in the AP at p. 11.
31
   NexPoint Sub-Advisory Agreement, Pl. Ex. 5, §2(a)-(b).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              13 of 60
                                                     Page
                                                       Page170
                                                            35 of 888
                                                                  113 PageID 3474
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payment of $252,000 times 12 equaled $3,024,000; meanwhile NexPoint would be paying

Highland $168,000 per month under the fixed fee NexPoint SSA, and $168,000 times 12 equaled

$2,016,000. Thus, by the court’s calculations, this would mean that NexPoint would be paying

Highland not quite $6 million per month for “back-”, “middle-”, and “front-office” services.

However, the court understands that a subsidiary of NexPoint, called NREA, would be paying an

additional $80,000 per month flat amount for “back- and middle-office” shared services, which

would total $248,000 per month for shared services being paid from NexPoint (inclusive of its

subsidiary) to Highland.32         $248,000 times 12 equals $2,976,000 and, when added to the

$3,024,000 being paid for “front-office” sub-advisory services, this totaled exactly $6 million.

        Each year, Mr. Waterhouse and Mr. Klos prepared a written analysis of Highland’s past

and projected financial performance (each, an “Annual Review”) that they presented to Mr.

Dondero and Mark Okada (the latter of whom was Highland’s other co-founder).33 The 2017/2018

Annual Review included statements and information that: (i) Highland was projected to incur

operating losses of $12 million in 2018;34 (ii) the agreements of NexPoint to pay $6 million in fees

to Highland was to “remain unchanged;”35 (iii) the aggregate of $6 million to be paid by NexPoint

to Highland was projected to be unchanged in 2018, 2019, and 2020;36 and (iv) changes through

new hires, internal transfers, terminations, and compensation and benefits paid had been made

across the Highland platform.37

        But, a hugely significant event occurred that affected Highland’s cash flow right after the

2017/2018 Annual Review was presented. On January 30, 2018, a former Highland employee

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32
   Pl. Ex. 146. See also Tr. Transcript 4/12/22, Part 2 of 2 [DE # 113], at 70:6-17.
33
   See, e.g., Pl. Ex. 86 (2017/2018 Annual Review), Pl. Ex. 142 (2018/2019 Annual Review), & Pl. Ex. 143 (2019/2020
Annual Review).
34
   Pl. Ex. 86 at p. 2.
35
   Id. at p. 36.
36
   Id. at p. 46.
37
   Id. at pp. 29-33, 48.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
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                                          01/12/23
                                           11/22/22
                                              14 of 60
                                                     Page
                                                       Page171
                                                            36 of 888
                                                                  113 PageID 3475
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named Joshua Terry commenced an involuntary bankruptcy case against Acis Capital

Management, L.P. (“Acis”) in this bankruptcy court (Mr. Terry had obtained a large arbitration

award and judgment against Acis and was being frustrated in his efforts to collect upon it). At that

time, Acis was an affiliate of Highland that managed certain collateralized loan obligations

(“CLOs”). To perform its duties, Acis had earlier entered into its own sub-advisory and shared

services agreements with Highland (the “Acis Agreements”). The Acis Agreements were a vital

source of Highland’s revenue. Highland was projected to receive almost $10 million in revenue

in 2018 alone from the Acis Agreements—Highland’s second-highest source of revenue

representing nearly 12% of its total projected operating income.38

        So, on March 7, 2018, just weeks after the 2017/2018 Annual Review was presented—and

in an attempt to make up for anticipated lost revenue from Acis—Highland decided to create a

Sub-Advisory Agreement also for HCMFA, initially for a flat monthly fee of $450,000,

retroactive to January 1, 2018. Recall that, heretofore, Highland had been providing front-office

services to HCMFA for free. A week later, a draft Sub-Advisory Agreement modeled on the

NexPoint Initial Sub-Advisory Agreement was prepared for HCMFA.39

        Notably: (a) the 2017/2018 Annual Review presented to Mr. Dondero and Mr. Okada just

six weeks earlier did not contemplate that HCMFA would be party to a Sub-Advisory Agreement

or otherwise would be compensating Highland for investment advisory services Highland was

providing, and (b) both the title and terms of the draft HCMFA Sub-Advisory Agreement

corroborated Highland’s contention that the parties intended to create a “fee for service” advisory

relationship.



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38
   Pl. Ex. 86 at p. 35 (“Highland 2.0 CLOs” refers to the CLOs managed by Acis).
39
   See Pl. Ex. 87 (e-mails between March 7 and March 15, 2018).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              15 of 60
                                                     Page
                                                       Page172
                                                            37 of 888
                                                                  113 PageID 3476
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        But, alas, the Initial Sub-Advisory Agreements for both HCMFA and NexPoint were not

to be, because Highland learned: (a) from its outside counsel that (i) the Advisors’ Retail Board40

needed to approve the Sub-Advisory Agreements during an in-person meeting, and that (ii) the

two Sub-Advisory Agreements could not be made retroactive to January 1, 2018, and (b) that the

next in-person meeting of the Retail Board would not be until June 2018.41 This was a problem

because Highland needed cash-flow immediately and could not wait until June 2018.

        Based on this legal advice, the parties concluded that they could not utilize the

contemplated Sub-Advisory Agreement structure because: (a) Highland would not be able to earn

any revenue for sub-advisory services until June, the earliest date the Retail Board could approve

of the Sub-Advisory Agreements during an in-person meeting, and (b) it could not be retroactive

to January 1, 2018, meaning that Highland would be unable to receive six months’ of needed

revenue. So, another method was needed to overcome these obstacles—and the Payroll

Reimbursement Agreements were born.42

        ii.      The Use of PRAs instead of Sub-Advisory Agreements to Compensate Highland for
                 “Front-Office” Advisory Services.

        So, the next month, Highland prepared a draft PRA that did not need the Advisors’ Retail

Board’s approval and could be made retroactive to the beginning of the year.

        While the Initial Sub-Advisory Agreements had clearly contemplated that a flat fee for

front-office services would be paid to Highland, Mr. Klos expressed concerns, after reviewing the

draft PRAs, about language therein—and an Exhibit A chart attached thereto, listing out 25 “Dual


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40
   The “Retail Board” is essentially an independent board of trustees or board of directors for retail funds managed
by the Advisors. Tr. Transcript 4/13/22, Part 1 of 2 [DE # 114], at 4:22-24.
41
   See Pl. Ex. 87 (March 15, 2018 e-mails from Lauren Thedford (“Ms. Thedford”), an attorney employed by Highland
but who also served as an officer of the Advisors).
42
   No one ever explained at Trial the exact reasons that a document entitled “Sub-Advisory Agreement” would
require in-person Retail Board approval and could not be retroactive in effect. But no one seemed to dispute this
fact.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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                                          01/12/23
                                           11/22/22
                                              16 of 60
                                                     Page
                                                       Page173
                                                            38 of 888
                                                                  113 PageID 3477
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Employees” who would be working both for Highland and the Advisors, and suggesting the

percentage of time they might be working for the Advisors—that payments to Highland would be

based on “actual costs” associated with specific employees. Mr. Klos was worried about the

cumbersomeness of the PRAs and wrote to Highland inhouse attorney Lauren Thedford (“Ms.

Thedford”), who also served as an officer of the Advisors, that:

         Does it have to be framed as reimbursement of actual costs? We’d much rather it
         be characterized as just an agreed upon amount between the two entities. It’s not
         a small task and involves subjective assumptions to allocate individual employees,
         so as it’s written, it would be creating a ton of work that isn’t creating any value
         to the overall complex.43

         In response, Ms. Thedford stated that she was “open” to changing the “definition of Actual

Costs” but observed that there “needs to be some method of determining the amounts” and that it

was “important” to treat the agreement as one for “reimbursement.” In response, Mr. Klos stated:

         Could we say that Actual Cost is being determined at the outset of the agreement,
         have a schedule as of Jan. 1, 2018 and say that Actual Cost shall be as set out in
         that schedule and shall be paid in monthly installments for the term of the
         agreement . . . that way the exercise is only performed once.

         Beyond that year, termination provision kicks-in, so if there’s a belief that Actual
         Costs have changed materially, either party could terminate and/or renegotiate for
         an amended agreement.44

         At Trial, Mr. Klos credibly testified that the Exhibit A list of employees attached to the

PRAs, and the allocation made for employees created in connection with the PRAs, were created

to be the same monthly fees previously contemplated under the Initial Sub-Advisory Agreement.45

Further, Mr. Klos testified that the estimates, despite being made in good faith, were based on his

own subjective assessments and were only created as a proxy for the flat monthly fees previously

envisioned by Mr. Dondero, to get Highland needed cash flow.46

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43
   Pl. Ex. 129 (emphasis added).
44
   Id. (Klos e-mail to Thedford sent on April 17, 2018, at 10:56 a.m.) (emphasis added).
45
   Tr. Transcript 4/12/22, Part 1 of 2, at 104:9-24.
46
   Tr. Transcript 4/12/22, Part 1 of 2, at 104:19-106:16.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              17 of 60
                                                     Page
                                                       Page174
                                                            39 of 888
                                                                  113 PageID 3478
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         On or around May 1, 2018, Highland and NexPoint entered into that certain Payroll

Reimbursement Agreement (the “NexPoint PRA”).47 The NexPoint PRA replaced the NexPoint

Initial Sub-Advisory Agreement that had been effective as of January 1, 2018.48 Then, on or around

May 1, 2018, Highland and HCMFA entered into that certain Payroll Reimbursement Agreement,

also effective as of January 1, 2018 (the “HCMFA PRA”).49

         Except for the (a) names of the parties, (b) the amount of monthly payments thereunder,

and (c) the list of “Dual Employees” and their respective allocations set forth in Exhibit A to each

of the PRAs, the NexPoint PRA and HCMFA PRA were identical.

         So, to be clear, whereas the SSAs were to provide compensation for “middle-” and “back-

office” services provided by Highland to each of the Advisors, the PRAs were, generally,

structured for the Advisors to pay Highland amounts in recognition of the “front-office” services

provided by the Dual Employees to the Advisors (which “Dual Employees” were technically

employed by Highland).

         To be further clear, both the NexPoint PRA and HCMFA PRA stated that the Advisors

were required to pay Highland the “Actual Cost” to Highland for the Dual Employees pursuant to

Section 2.01.50 However, “Actual Cost” was defined in each of the PRAs as:

         with respect to any period hereunder, the actual costs and expenses caused by,
         incurred, or otherwise arising from or relating to each Dual Employee, in each case
         during such period. Absent any changes to employee reimbursement, as set forth
         in Section 2.02, such costs and expenses are equal to [$252,000 for NexPoint and
         $416,000 for HCMFA] per month.51




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47
   Pl. Ex. 6 (NexPoint PRA)
48
   Joint Pretrial Order, DE # 96 in the AP at p. 11.
49
   Id.
50
   Pl. Ex. 6 §§ 2.01, 3.01; Pl. Ex. 8 §§ 2.01, 3.01.
51
   Pl. Ex. 6 at Article I (fixing the costs and expenses at $252,000 per month for NexPoint) (emphasis added); Pl. Ex.
8 at Article I (fixing the costs and expenses at $416,000 per month for HCMFA) (emphasis added).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              18 of 60
                                                     Page
                                                       Page175
                                                            40 of 888
                                                                  113 PageID 3479
                                                                             330



         Significantly, pursuant to Section 2.02, the parties could agree to modify the Actual Cost

if they believed a change to employee reimbursement was appropriate, and each party was required

to negotiate any change in good faith.52 The Advisors contend that Section 2.02, in conjunction

with Section 4.02, imposed an affirmative obligation on Highland to update the Exhibit A list of

Dual Employees and unilaterally adjust the monthly payments, but no such obligation exists under

the clear language of the PRAs.53

         The undisputed evidence establishes that: (a) neither Mr. Klos nor anyone else ever updated

the Exhibit A list of Dual Employees attached to the PRAs; (b) neither Mr. Klos nor anyone else

was ever instructed to update Exhibit A attached to the PRAs; (c) at all relevant times, the Advisors

and Highland had access to the same information concerning the amounts paid under the PRAs,

the amounts projected to be paid under the PRAs, the termination of Dual Employees, the

compensation of Dual Employees, and the investment advisory services provided by Highland to

each of the Advisors; and (d) as discussed below, the parties knew of and relied on Section 2.02

in December 2018 to amend the PRAs while Mr. Dondero was still fully in control of the entire

Highland complex. The undisputed evidence was also that four out of the twenty-five Dual

Employees listed on the Exhibit A’s attached to the PRAs were no longer employed as of the May

1, 2018 date on which the PRAs were executed (although they had been employed as of the January

1, 2018 effective date of the PRAs).

         Without considering any extrinsic evidence, the court finds the clear and unambiguous

language of the definition of “Actual Cost” in the PRAs indicates that these were intended to be

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52
   Pl. Ex. 6 § 2.02; Pl. Ex. 8 § 2.02 (“During the Term, the Parties may agree to modify the terms and conditions of
[NexPoint’s/HCMFA’s] reimbursement in order to reflect new procedures or processes, including modifying the
Allocation Percentage (defined below) applicable to such Dual Employee to reflect the then current fair market value
of such Dual Employee’s employment. The Parties will negotiate in good faith the terms of such modification.”).
53
   Pl. Ex. 6 § 4.02 (“Should either Party determine that a change to employee reimbursement is appropriate, as set
forth in Section 2.02, the Party requesting the modification shall notify the other Party on or before the last business
day of the calendar month”); Pl. Ex. 8 § 4.02 (same).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              19 of 60
                                                     Page
                                                       Page176
                                                            41 of 888
                                                                  113 PageID 3480
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fixed amount contracts, simply plugging in a set monthly amount for front-office services that—

absent agreed modifications—were never required to be adjusted based on particular

employees’ daily activities or their comings-and-goings, despite the use of the words “Actual

Cost.” Further, the clear and unambiguous language of Sections 2.02 and 4.02 of the PRAs

contemplated possible agreed modifications and required “the Party requesting modification [to]

notify the other Party” before the end of the month to change the employee reimbursement amount

and the parties had to agree on any change to in amount.54 The requirement that such notification

and agreement be made shows the monthly payment was intended to be fixed and provided no

mandatory obligation to update it, based on the Dual Employees’ allocation of time or employment

at any time. The court finds these provisions, taken together, leave no ambiguity or lack of clarity

that the terms of the PRAs generally intended to set a fixed monthly amount for front-office

services, for ease of implementation. The parties could always terminate with or without cause,55

or seek to modify the PRAs if the plugged-in amount seemed unreasonable over time.56

           C. The Amendments to the PRAs

       On December 14, 2018, (a) Highland and NexPoint entered into that certain Amendment

Number One to Payroll Reimbursement Agreement (the “NexPoint PRA Amendment”), pursuant

to which NexPoint paid an extra $1,300,000 to Highland, and (b) Highland and HCMFA entered

into that certain Amendment Number One to Payroll Reimbursement Agreement (the “HCMFA

PRA Amendment” and together with the NexPoint PRA Amendment, the “PRA Amendments”),

pursuant to which HCMFA paid an extra $1,200,000 to Highland.57



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54
   See id.
55
   Pl. Exs. 6 § 5.02; Pl. Ex. 8 § 5.02.
56
   Pl. Ex. 6 § 2.02; Pl. Ex. 8 § 2.02.
57
   Pl. Ex. 7 (NexPoint PRA Amendment); Pl. Ex. 9 (HCMFA PRA Amendment).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                     Filed
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                                          01/12/23
                                           11/22/22
                                              20 of 60
                                                     Page
                                                       Page177
                                                            42 of 888
                                                                  113 PageID 3481
                                                                             332



         These PRA Amendments are short, sparsely worded documents. They simply indicate that

the Advisors are agreeing to pay the additional amounts to Highland “representing an estimate of

additional Actual Costs owed under the [PRAs] for additional resources used.”58 At Trial, Mr.

Klos credibly testified that neither he, nor anyone else to his knowledge, ever performed an

analysis of Highland’s actual costs under the PRAs to determine the extra amounts that ended up

being paid to Highland under the PRA Amendments, and the PRA Amendments were only made

because Highland was losing money rapidly and the Advisors had taxable income.59 Additionally,

by December 1, 2018 (before the PRA Amendments were executed), the Advisors had knowledge

that nine of the twenty-five Dual Employees listed in Exhibit A to the original PRAs were no

longer employed by Highland.60 Yet, the Advisors made additional lump sum payments

exceeding the fixed monthly amounts set forth in the PRAs. The Advisors claim it was their

standard practice to perform annual “true-ups” of the various contracts in the Highland complex

and that these the PRA Amendments were a “true-up,” which should be used to find that the PRAs

did not contemplate flat amounts for services. But this would mean that the Advisors paid Highland

$2.5 million on a PRA “true-up,” when they knew that over one-third of the Dual Employees under

the PRAs were terminated during the relevant time period. Further, neither the Advisors nor any

individual ever requested Exhibit A to the PRAs to be amended at any time prepetition. As of the

Highland bankruptcy Petition Date (October 16, 2019), fourteen of the twenty-five Dual

Employees were no longer employed at Highland. Mr. Dondero controlled both Highland and the

Advisors at this time. To be clear, the Advisors had never taken the position that there were

“overpayments” under the PRAs as of the Petition Date or sought modification of the PRAs. Mr.


                                     
58
   Id.
59
   Tr. Transcript 4/12/22, Part 1 of 2, at 113:4-21.
60
   Pl. Ex. 14 (responses to Interrogatories 3 and 4).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                        Page
                                          01/12/23
                                           11/22/22
                                              21 of 60
                                                     Page
                                                       Page178
                                                            43 of 888
                                                                  113 PageID 3482
                                                                             333



Waterhouse, who signed the PRA Amendments on behalf of both Highland and the Advisors,

testified that he had no recollection of how the amounts set forth in the PRA Amendments were

determined or whether it was actually a “true-up.”

        The court finds that nothing in the record suggests that the Advisors were doing a “true-

up” when implementing the PRA Amendments. Nor do the additional amounts that were paid by

the Advisors to Highland under the PRA Amendments suggest that the previously fixed monthly

amount set forth in the PRAs was intended to be a variable amount. The court finds that the PRA

Amendments were simply made with the purpose of funneling in more money to Highland to help

with its liquidity crisis—with the added benefit of reducing the Advisors’ taxable income.

             D. Extrinsic Evidence: Post-Petition Communications and Continued Payments under
                the PRAs and SSAs

        The court will now roll forward and consider the extrinsic evidence from the postpetition

time period that might shed light on the disputes in this Adversary Proceeding. Both Highland and

the Advisors have taken the position that the Agreements are unambiguous—although they each

have different interpretations as to what the Agreements mean. While the court is hard-pressed to

find any ambiguity in the content of the Agreements,61 the court will analyze the extrinsic evidence

presented, since the parties have submitted it, and want the court to consider it if ambiguity is

deemed to exist as to the Agreements.

        In January 2020 (early during the Highland bankruptcy case), in response to inquiries from

the Advisors’ Retail Board, Ms. Thedford sought information concerning expense reimbursements

and allocations under the PRAs. Mr. Klos thereafter informed Ms. Thedford that such information

“doesn’t exist in terms of current percentages.” Ms. Thedford then asked whether such information

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61
  The court does think the title of the PRAs—Payroll Reimbursement Agreement—is rather ambiguous, given the
content of the document. Also, the Exhibit A list of employees further injects some ambiguity, given the overall
content of the Payroll Reimbursement Agreements.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
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                                        Page
                                          01/12/23
                                           11/22/22
                                              22 of 60
                                                     Page
                                                       Page179
                                                            44 of 888
                                                                  113 PageID 3483
                                                                             334



was contained in Exhibit A to the PRAs. In response, Mr. Klos reminded Ms. Thedford that the

allocations in Exhibit A were:

        a point in time estimate as of 2018. Half the people are gone now and if you were
        to reallocate them now, all the percentages would be different. On top of that, we
        don’t have anything comprehensive that is comparable for back office people so
        the only thing we can really provide is a stale percentage on a small subset of the
        overall population.

        Would be much more logical to do the yes/no and then as a blanket statement say
        that HCMFA/NPA pay $x/$y annually to HCMLP for these employees’
        services.62

Ms. Thedford responded by simply writing “Got it, thanks.”63

        Also, in January 2020 (again, early in the Highland bankruptcy case and the month Mr.

Dondero ceded control of Highland to the Independent Board under a stipulated corporate

governance order), Mr. Waterhouse, the Treasurer of each of the Advisors, requested information

from Mr. Klos concerning the “monthly amount for each agreement.”64 Mr. Klos responded to Mr.

Waterhouse confirming the fixed amounts under the Agreements:

        Monthly amounts below

        HCMFA
        $416k flat for investment support
        $290k-300k for shared services

        NPA
        $252k flat for investment support
        $248k flat for shared services ($168k from NPA directly; $80k from NREA, but
        assume you’re looking for a consolidated number)65

There is no credible evidence that Mr. Waterhouse ever raised any concerns about the fixed

monthly amounts being charged and, in fact, he continued approving payments for these exact


                                   
62
   Pl. Ex. 151 (emphasis added).
63
   Id.
64
   Pl. Ex. 146.
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   Id. (emphasis added).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
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                                        Page
                                          01/12/23
                                           11/22/22
                                              23 of 60
                                                     Page
                                                       Page180
                                                            45 of 888
                                                                  113 PageID 3484
                                                                             335



amounts. Payments did not stop until December 2020, when Mr. Dondero, wearing his Advisors’

hat, directed Mr. Waterhouse to stop paying the amounts due under the Agreements. Then the

Advisors filed their Application for Administration Expense Claim the very next month.66 While

there was some testimony suggesting that concerns had been raised in early January 2020

regarding possible overpayments under the PRAs to an individual named Fred Caruso (a financial

advisor for the Debtor at the firm DSI),67 the court did not have compelling evidence of this—Fred

Caruso did not testify, and Frank Waterhouse had a generally poor memory for the details about

this.

         The court finds that these continued communications to officers of the Advisors confirming

the amounts being paid under the Agreements, and the continued payments by the Advisors, after

obtaining this information, is further evidence of the intent of the parties to structure the

Agreements as fixed amount contracts.

             E. Extrinsic Evidence: Highland Performed under the Agreements Postpetition

         Significantly, there was extensive evidence at Trial that Highland performed at all times

under the Agreements, and the Advisors made contemporaneous and repeated representations to

their Retail Board that Highland was providing all services required under the Agreements.

         All parties agreed that, as required by the Investment Company Act, the Retail Board for

the Advisors conducts an annual review whereby it determines whether to extend its own

Investment Advisory Agreements with the Advisors. This is referred to as a “15(c) review”

process. A witness Ethan Powell, a member of the Retail Board, credibly testified about all this.68




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66
   Pl. Exh. 11.
67
   Tr. Transcript 4/13/22, Part 2 of 2 [DE # ], at 144.
68
   Tr. Transcript 4/13/22, Part 1 of 2 [DE # 114], at 4-34.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              24 of 60
                                                     Page
                                                       Page181
                                                            46 of 888
                                                                  113 PageID 3485
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         As part of this “15(c) review” process, and at other times during Highland’s bankruptcy

case, the Advisors provided the Retail Board with information concerning the status of the shared

services relationship, Highland’s provision of services thereunder, and contingency planning in

case the Advisors’ shared services relationship with Highland was terminated.

         The Advisors provided this information to the Retail Board either in writing or orally

during meetings of the Retail Board (the “Retail Board Meetings”). Minutes from the Retail Board

Meetings were created in the ordinary course (the “Retail Board Minutes”). Ethan Powell testified

that the Retail Board Minutes were adopted only after, among other things, the Advisors had an

opportunity to review and edit their content to assure their accuracy.69

         The Retail Board Minutes recite, among other things, that one or more of the Advisors’

officers (i.e., Mr. Waterhouse, Mr. Norris, Ms. Thedford, or Mr. Post) or their attorneys (i.e.,

Dennis C. Sauter, the Advisors’ in-house counsel, or K&L Gates, their outside counsel) were

present and participated in every applicable Retail Board Meeting.70

         Mr. Powell further testified that the Retail Board: (a) assumed that the Advisors made the

statements and representations reflected in the Retail Board Minutes on an informed basis after

conducting due diligence, and (b) the Retail Board relied on the statements and representations

made by or on behalf of the Advisors in the Retail Board Meetings.71

         It is important to note that, in January 2020, Mr. Dondero had avoided the likely

appointment of a Chapter 11 trustee in the Highland bankruptcy case, by ceding control of

Highland to the three new Independent Board members. With Mr. Dondero’s loss of control of

Highland, the Retail Board naturally sought information about whether this change would impact


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69
   Id., at 9:15-10:24.
70
   See generally Pl. Exs. 57-73.
71
   See Tr. Transcript 4/13/22, Part 1 of 2 [DE # 114], at 11:22-12:6, 13:1-13.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              25 of 60
                                                     Page
                                                       Page182
                                                            47 of 888
                                                                  113 PageID 3486
                                                                             337



Highland’s staffing. Thus, the Retail Board Minutes from the Retail Board Meeting, held on

January 22, 2020, included the following entries:

         Ms. Thedford noted that the Meeting Materials included a headcount report that
         lists each employee associated with HCMLP and the Advisers and identifies
         whether the employee is dually employed by both HCMLP and an Adviser or
         pursuant to a separate arrangement, such as Mr. Norris’ employment with the
         Funds’ distributor, NexPoint Securities, Inc. . . .

         Mr. Norris discussed the shared services arrangements that each Adviser is a party
         to with HCMLP pursuant to which the Adviser may utilize employees from
         HCMLP for the provision of various services such as human resources, accounting,
         valuation, information technology services, compliance and legal. Mr. Norris
         noted, however, that many of these “third party” services are readily available on
         the open market.72

         In response to the Retail Board’s request, the Advisors included in the “Meeting Materials”

a list of every person employed in the Highland complex, including (a) name, (b) title, (c)

department, (d) employing entity (e.g., Highland, HCMFA, NexPoint), (e) whether the person was

a Dual Employee, (f) office location, and (g) whether the person was an “investment professional”

or was providing “back office” services.”73

         In mid-June 2020, Jason Post (“Mr. Post”), the Advisors’ Chief Compliance Officer,

assured the Retail Board that the Advisors were “monitor[ing]” the “level and quality” of

Highland’s shared services and that he was unaware of any disruptions:

         Mr. Post described the team members providing compliance and legal support
         services to the Funds and the Advisers. . . . Mr. Post stated he believed the
         Compliance department was adequately staffed.

         Mr. Post also discussed the quality and continuity of services provided to the Funds
         by HCMLP pursuant to shared services agreements with the Advisers in the context
         of the HCMLP bankruptcy. A discussion ensued during which Mr. Post responded
         to questions from the Board. He noted the regular updates provided to the Board
         and also discussed how the level and quality of services are being monitored and



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72
   Pl. Ex. 57 at pp. 2-3.
73
   Pl. Ex. 75.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              26 of 60
                                                     Page
                                                       Page183
                                                            48 of 888
                                                                  113 PageID 3487
                                                                             338



        confirmed that he is not aware of any disruptions in the service levels provided to
        the Funds.74

        In August 2020, Dustin Norris (“Mr. Norris”), an Executive Vice President of each of the

Advisors, represented to the Retail Board that “there had been no issues or disruptions in services

as a result of the HCMLP bankruptcy matter,” although James P. Seery, Jr. (“Mr. Seery”),

Highland’s new CEO (and a member of the court-appointed Independent Board), advised the

Retail Board that certain conflicts might arise, given the differing investment strategies being

adopted by Highland, on the one hand, and the Advisors, on the other:

        Mr. Norris next provided an overview of the 15(c) review materials and process
        and discussed the expected timeline with respect to Board consideration of approval
        of the renewals. He noted that there had been no issues or disruptions in services
        as a result of the HCMLP bankruptcy matter.

        Mr. Seery then pointed out to the Board a potential conflict of interest that had
        arisen with respect to an investment held by both HCMLP-advised funds and
        certain of the Funds. Mr. Seery explained that the HCMLP-advised funds were
        likely to seek to sell their interests in the investment. This divergence of investment
        objectives of HCMLP and the Funds, and the overlapping portfolio and
        administrative personnel of HCMLP and HCMFA and the NexPoint Advisors
        working on the matter, created a potential conflict between the two groups.75

        In advance of a Retail Board Meeting to be held in September 2020, the Advisors sent a

memorandum to the Retail Board in which they stated, among other things, that the “Advisors and

HCMLP believe the current shared services being provided are generally consistent with the level

of service that historically been received,” and further addressed potential conflict issues.76

        During the two-day Retail Board meeting held on September 17-18, 2020, the Retail Board

was advised that Highland continued to perform all of the shared services and was provided with

additional information concerning potential conflicts:


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74
   Pl. Ex. 58 at p. 20 (emphasis added).
75
   Pl. Ex. 59 at pp. 6, 11.
76
   Pl. Ex. 18 at ACL 080581 (response to question 3).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
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                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              27 of 60
                                                     Page
                                                       Page184
                                                            49 of 888
                                                                  113 PageID 3488
                                                                             339



         Mr. Surgent joined the Meeting. During the discussion, he responded to the 15(c)
         follow-up questions submitted by the Board relating to HCMLP matters. He
         provided the Board with a status update on the HCMLP bankruptcy and
         discussed the impact of the HCMLP bankruptcy on the shared services
         arrangements with the Funds, noting he does not expect that the level and quality
         of services would change in the immediate term. Regarding the bankruptcy,
         Mr. Surgent reiterated Mr. Seery’s stated goal to achieve a consensual, omnibus
         resolution by the end of the year. To the extent this was not achievable, Mr. Surgent
         noted that an alternative plan had been filed by HCMLP. . . . He indicated that at
         this time it was business as usual with respect to the services provided to the
         Funds and that the Board would be notified immediately of any developments.77

         On October 9, 2020, Mr. Norris sent an e-mail to the Retail Board and other officers and

agents of the Advisors (including outside counsel) to provide an interim update in which he advised

the Retail Board that NexPoint was working on contingency plans to “ensure that there is no

disruption in services”:

         We are working on full responses to your with [sic] 15(c) follow-up questions
         attached, however we want to keep you updated as it pertains to the continued
         developments with shared services and your first question on the attached. As it
         stands today, NexPoint’s senior management’s plan as a backup/contingency plan
         is to extend employment offers to the vast majority of HCMLP’s employees by
         12/31/2020. This will help ensure that there is no disruption in services to the
         Funds. Once we have further details of this we will advise. In the interim the
         plan is to continue with existing shared services.78

         A few days later, on October 13, 2020, Mr. Norris informed the Retail Board during a

regularly scheduled meeting that, with respect to shared services, “all operations continued in the

normal course there [sic] had been no material impact on the day-to-day operations of the Funds”

and that contingency plans were “in place to continue to provide the same level and quality of

services to the Funds”:

         Mr. Ellington then explained three various potential scenarios contemplated during
         the ongoing negotiations, including a full or partial buyout of certain creditor claims
         by Mr. Dondero or no agreement, which could potentially lead to liquidation of
         HCMLP and termination of all HCMLP employees. . . .

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77
   Pl. Ex. 60 at pp 12-13 (emphasis added).
78
   Pl. Ex. 81 (emphasis added).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
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                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              28 of 60
                                                     Page
                                                       Page185
                                                            50 of 888
                                                                  113 PageID 3489
                                                                             340



         Mr. Sauter also discussed the status of the shared services agreements. In response
         to another question, Mr. Norris discussed the morale employees [sic] and noted
         that all operations continued in the normal course there [sic] had been no
         material impact on the day-to-day operations of the Funds. He indicated that
         there would not likely be any material developments with respect to the status of
         HCMLP until the end of the year at the earliest. The Board requested that the
         Advisers continue working toward developing definitive plan to ensure that the
         resources, both of personnel and equipment, are in place to continue to provide
         the same level and quality of services to the Funds and to continue to report back
         to the Board on the status.79

         On October 23, 2020, the Retail Board asked whether there were “any material outstanding

amounts currently payable or due in the future (e.g., notes) to HLCMLP [sic] by HCMFA or

NexPoint Advisors or any other affiliate that provide services to the Funds.”80 As to that question,

the Advisors informed the Retail Board that “[a]ll amounts owed by each of NexPoint and

HCMFA pursuant to the shared services arrangement with HCMLP have been paid as of the

date of this letter.”81

         On October 28, 2020, the Retail Board was again told that: (i) Highland was expected to

continue to provide shared services without interruption, (ii) the parties continued to work on a

“seamless transition,” (iii) according to Mr. [Brian] Collins [HR manager], there had been no

“significant departures” of employees, and that (iv) the “quality and level” of services had not been

negatively impacted by Highland’s bankruptcy:

         Mr. Ellington provided an update on the HCMLP bankruptcy, focusing on the
         contingency plan for fund service providers if HCMLP is unable to perform its
         current functions. . . . He also noted that based upon on-going discussions with
         HCMLP, as well as in view of these alternative contingency plans, the Advisers do
         not expect any interruption to the services to the Funds that are currently being
         provided by HCMLP pursuant to the Shared Services Agreement.

         Mr. Collins noted that, although employees of HCMLP were not yet able to be
         released subject to confirmation of the plan of bankruptcy, he was confident in the
         firm’s ability to retain talent throughout this process based on discussions with
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79
   Pl. Ex. 61 at pp. 2-3.
80
   Pl. Ex. 22 at 2.
81
   Id.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              29 of 60
                                                     Page
                                                       Page186
                                                            51 of 888
                                                                  113 PageID 3490
                                                                             341



         the employees. He noted that every employee team leader had been spoken to and
         also noted that there have been no significant departures to date. . . .

         The Advisers represented that the quality and level of services provided to the
         Funds by the Advisers and pursuant to the shared services arrangements had not
         been negatively impacted to date and that adequate plans were in place prevent
         any diminution of services as a result of any potential issues relating to the
         HCMLP bankruptcy that might arise. . . .

         The Board noted that the level and quality of services to the Funds by the Advisers
         and its affiliates had not been materially impacted by the HCMLP bankruptcy
         and took into account the Advisers’ representations that the level and quality of
         the services provided by the Advisers and their affiliates, as well as of those
         services currently being provided by HCMLP pursuant to the Shared Services
         Agreement, would continue to be provided to the Funds at the same or higher
         level and quality.82

         A week later, Mr. Norris again reassured the Retail Board that Highland continued to

provide shared services on an uninterrupted basis and that no issues of “conflict” arose:

         Mr. Norris then noted that there has not been any disruption to the services
         provided to the Funds by HCMLP pursuant to the Shared Services Agreement
         and that he expects that such services will continue to be provided in normal
         course. In addition, Mr. Norris noted that there have been no issues with an
         HCMLP employee being conflicted out since the last update.83

         By December 1, 2020: (a) Highland had sent the Termination Notices, indicating its intent

to termination the Agreements; and (b) the Advisors had allegedly discovered the “overpayments

under the Agreements.”84 Yet, the Advisors continued to reassure the Retail Board that everything

was proceeding normally and that the parties were working to achieve an orderly, seamless

transition.

         Indeed, on December 1, 2020, Mr. Post confirmed that Highland sent the Termination

Notices and informed the Retail Board, among other things, that:

         On November 30, 2020, HCMLP provided notice of termination of the Shared
         Services Agreement to HCMFA/NPA, effective January 31, 2021. However, based
                               
82
   Pl. Ex. 62 at pp. 2-3, 7.
83
   Pl. Ex. 63 at p. 3.
84
   Pl. Ex. 13 ¶16.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              30 of 60
                                                     Page
                                                       Page187
                                                            52 of 888
                                                                  113 PageID 3491
                                                                             342



        upon on-going discussions with HCMLP, HCMFA/NPA expects to be able to
        continue to receive these services through a transfer of personnel, equipment and
        facilities from HCMLP either to HCMFA/NPA or to a third-party service
        provider.85

        On December 7, 2020, the Advisors provided written responses posed by Blank Rome,

outside counsel to the Retail Board. In response to a question about who “is responsible for putting

together the plan to continue to provide/transition shared services for the retail complex,” the

Advisors stated:

        The senior management team of the Advisors is responsible for the transition of
        services, and this group is made up of Jim Dondero, D.C. Sauter, Jason Post, and
        Dustin Norris. This group is working with HCMLP management to ensure an
        orderly transition.86

        The Retail Board also asked for a “matrix of current services provided and services that

will be transferred.” In response, the Advisors stated:

        Please see Appendix A below, which includes the list of services provided under
        the shared services agreement with HCMLP. These services fall into two broader
        categories: 1) Employees performing services and 2) Systems, infrastructure,
        software and supplies/equipment. As we understand it, the bankruptcy plan of
        reorganization approved by the bankruptcy court (the “Approved Plan”) anticipates
        the termination of all HCMLP employees by 1/31/21. The Advisors anticipate
        extending employment offers to the vast majority of HCMLP’s employees such
        that the employees would be rehired immediately upon termination of their
        employment with HCMLP. This will cover all of the services under category 1
        above.87

        During a Retail Board meeting held on December 10-11, 2020: (a) Mr. Norris reviewed

the “current services provided under the shared services agreement with HCMLP and discussed

the current plans for ensuring the continuation of those services after a plan of reorganization is




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85
   Pl. Ex. 16. (December 1, 2020 email from Mr. Post) (emphasis added).
86
   Pl. Ex. 10 at 1 (emphasis added).
87
   Id. at 2 (emphasis added).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              31 of 60
                                                     Page
                                                       Page188
                                                            53 of 888
                                                                  113 PageID 3492
                                                                             343



approved”; and (b) Mr. Sauter “noted that there has been no material attrition to date with respect

to employees”:

            Mr. Norris provided responses to the Board’s follow up questions that had been
            submitted on their behalf prior to the Meeting. Among these items, Mr. Norris
            reviewed a matrix of current services provided under the shared services
            agreement with HCMLP and discussed the current plans for ensuring the
            continuation of those services after a plan of reorganization is approved. Mr.
            Norris noted that these shared services fell into two broader categories: (1)
            employees performing services and (2) systems, infrastructure, software and
            supplies/equipment. With respect to the first category, Mr. Norris discussed plans
            by the Advisers to extend employment offers to the vast majority of HCMLP’s
            employees such that the employees would be rehired immediately upon termination
            of their employment with HCMLP. In the alternative, these employees could join
            a newly formed entity (New Co) and continue to provide services to the Funds
            through NewCo. With respect to the second category, Mr. Sauter noted that the
            Advisers and HCMLP were in agreement that these would be assigned with a
            payment from the Advisers and that there were working groups set up that were
            pursuing an orderly transition of all of these items, which included orderly
            assignment and assumption of the relevant agreements needed to continue with all
            current services. He noted that there has been no material attrition to date with
            respect to employees. . . . Mr. Norris also discussed the Advisers’ proposed
            alternative plan and confirmed that regardless of whether the Advisers and
            HCMLP came to an agreement on shared services, such services would be
            continued to be provided to the Funds without interruption.88

            By January 2021, Highland had become embroiled in litigation with Mr. Dondero and had

obtained temporary injunctive relief against him. However, the Advisors assured the Retail Board

that this had no impact on the Advisors’ ability to obtain access to information and resources

concerning the Retail Funds:

            Mr. Norris confirmed that the Advisers did not feel limited by the temporary
            restraining orders relating to the HCMLP bankruptcy with respect to access to
            Fund information. Mr. Norris then updated the board on a number of employee
            moves from HCMLP to NexPoint. In response to a question, Messrs. Post and
            Norris confirmed that there was sufficient legal and compliance coverage for the
            Funds.

            Mr. Norris then provided an update on the negotiations with HCMLP on the
            transition of shared services. He noted that both sides had agreed in principle on

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88
     Pl. Ex. 64 at pp. 7-8.

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                                          01/12/23
                                           11/22/22
                                              32 of 60
                                                     Page
                                                       Page189
                                                            54 of 888
                                                                  113 PageID 3493
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        the transition of services and cost sharing but that it was not yet memorialized in a
        contract and a number of details still needed to be resolved. He confirmed that the
        Advisers continued to receive full access to information and resources with
        respect to the Funds.89

        On January 29, 2021, Jackie Graham, NREA’s90 Director of Investor Relations and Capital

Markets, sent an e-mail to Mr. Dondero, Mr. Sauter, and others in advance of a Board call in which

she attached an outline of certain issues concerning shared services provided by Highland and

stated, among other things, that:

        Because the [relevant Funds] are externally managed by external advisors
        (NexPoint Real Estate Advisors, L.P. and its affiliates (the “Advisors”)), the
        [relevant Funds] rely on the Advisors to provide certain services to them. The
        Advisors utilize Highland Capital Management, L.P. (“HCM”) to provide a
        certain subset of these services under a shared services agreement between HCM
        and the Advisors. . . .

        Employees of the Advisors are working with HCM to provide a transition of shared
        services from HCM to the Advisors or third party providers. . . . Specifically, the
        Advisors and affiliate advisors would pay a one-time fee of $400,000 and ongoing
        monthly costs of $270,000. Additionally, HCM may require the Advisors and
        affiliate advisors to pay previously unpaid fees allegedly owed to HCM totaling
        $5.5m. . . .

        Winston is reviewing potential legal remedies in the event HCM breaches the
        shared services by denying us access to our data held by HCM or otherwise
        attempts to cause harm to our shareholders . . .91

        Eventually, a transition of shared services from Highland to a Newco entity known as

Skyview was effectuated (Skyview being owned and operated by individuals previously employed

by Highland). As the transition of the shared services from Highland to Skyview was nearing

completion, the Advisors continued to reassure the Retail Board that all was well. On February

26, 2021, Mr. Norris provided an update on the transition:

        Mr. Norris provided an update on the shared services arrangements and employee
        transitions. He indicated that there would be no impact as a result of certain
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89
   Pl. Ex. 66 at pp. 2-3.
90
   “NREA” stands for NexPoint Real Estate Advisors, L.P., a subsidiary of NexPoint.
91
   Pl. Ex. 84 at FUNDS 0000043-44 (emphasis added).

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              33 of 60
                                                     Page
                                                       Page190
                                                            55 of 888
                                                                  113 PageID 3494
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         employees not transitioning to the Advisers and discussed the team in place and
         their qualifications. He noted that the current shared services arrangements with
         HCMLP would cease at the end of February and that the Advisers wish to move
         forward with new Shared Services Agreements between each Adviser and NewCo.
         He then stated that these Agreements were in the process of being drafted and
         finalized and will be reviewed with the Board at its next meeting. He indicated
         that there had been no major issues in connection with the transition and that
         the personnel from the Advisers had met with HCMLP with respect to data files
         and are comfortable that HCMLP will be providing the necessary information.
         In response to a question from the Board, he indicated that there was not an
         immediate need for such data and confirmed that the Advisers had the data and
         information files they needed with respect to Fund operations and services.92

         Based on all the information and representations made by the Advisors, the NexPoint

Diversified Real Estate Trust (one of the Advisors’ Clients) filed its annual report with the SEC in

early 2022 (about a year after Highland commenced this Adversary Proceeding and the Advisors

filed their administrative expense claims) in which it disclosed, among other things, the following:

         The Fund has retained NexPoint Advisors, L.P. (the “Investment Adviser”) to
         manage the assets of the Fund pursuant to an investment advisory agreement
         between the Investment Adviser and the Fund (the “Agreement”). . . . The Board
         of Trustees noted that the level and quality of services to the Fund by the
         Investment Adviser and its affiliates had not been materially impacted by the
         HCMLP bankruptcy and took into account the Investment Adviser’s
         representations that the level and quality of the services provided by the Investment
         Adviser and their affiliates, as well as of those services provided by Skyview to the
         Investment Adviser under the Skyview Services Agreement, would continue to be
         provided to the Fund at the same or higher level and quality.93

         Pursuant to the evidence set forth above, the court finds that the Advisors made numerous

representations to the Retail Board, before and after the Advisors allegedly became aware of the

“overpayments” and ceased making payments to Highland under the Agreements, indicating that

Highland had sufficiently performed all services provided under the Agreements. The court notes

that, many times, the communications between the Advisors and the Retail Board (or the Retail



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92
   Pl. Ex. 73 at pp. 9-10 (emphasis added).
93
   Pl. Ex. 77 at 41, 43

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                           Document
                               6-1
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                                          01/12/23
                                           11/22/22
                                              34 of 60
                                                     Page
                                                       Page191
                                                            56 of 888
                                                                  113 PageID 3495
                                                                             346



Board Minutes) refer to no interruption in “shared services.”            The court interprets this to

generically mean shared services under both the SSAs and PRAs. This is strong evidence that

Highland, indeed, performed all services contemplated under the Agreements.

              F. Extrinsic Evidence that the Advisors had Knowledge of Employees Hired and
                 Terminated by Highland, Both Pre- and Post-Petition

         In addition to the evidence detailed above, there is still more credible evidence that the

Advisors had knowledge of when employees of Highland, including the Dual Employees, were

hired and terminated by Highland. Among other things:

         x    In their written responses to interrogatories, the Advisors admitted that they had
              contemporaneous knowledge of the termination of every Dual Employee;94

         x    Every month from at least October 2017 through January 2021, Highland’s
              Human Resources department (under the direction of a Mr. Brian Collins)
              prepared a “Monthly Headcount Report” (the “Monthly Headcount Reports”)
              listing every employee in the Highland complex and highlighting new hires and
              terminations and distributed such reports to numerous people, including the
              Advisors’ officers (i.e., Mr. Waterhouse, Ms. Thedford, and Mr. Norris);95

         x    Mr. Dondero was provided with extensive information concerning hires,
              terminations, and employee compensation and benefits during the Annual
              Reviews;96

         x    In early 2020, the Advisors provided detailed information to the Retail Board
              concerning all of Highland’s employees;97
         

         Yet, despite having knowledge of Highland terminating certain employees, both when it

was controlled by the Independent Board and when it was controlled by Mr. Dondero, the Advisors

continued to approve and make payments in the same monthly amounts under the Agreements.




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94
   Pl. Ex. 14 at pp 12-13 (responses to Interrogatories 3 and 4).
95
   Pl. Exs. 88-127.
96
   Pl. Ex. 86 at pp. 29-33; Pl. Ex. 142 at pp. 6-10.
97
   Pl. Ex. 57; Pl. Ex. 75.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                        Page
                                          01/12/23
                                           11/22/22
                                              35 of 60
                                                     Page
                                                       Page192
                                                            57 of 888
                                                                  113 PageID 3496
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           As earlier noted, as of May 1, 2018, when the Advisors entered the PRAs, four of the

twenty-five Dual Employees on Exhibit A had already been terminated, and Mr. Waterhouse had

every reason to know that cost allocations for terminated employees were being used when he

signed the Agreements.98

           As also earlier noted, as of December 14, 2018, when the PRA Amendments paying

Highland $2.5 million of extra compensation were entered, nine of the twenty-five Dual

Employees on Exhibit A had already been terminated. Finally, as of the Petition Date, fourteen of

the twenty-five Dual Employees on Exhibit A had already been terminated.

           Still, no change in the monthly payments (only the unexplained increase in payment made

by the Advisors under the PRA Amendments that had no analysis done in connection with it) were

ever made or requested by the Advisors under the PRAs.

           The court finds the Advisors had knowledge of the termination of Dual Employees under

Exhibit A of the PRAs. Further, the court finds the Advisors continued making the same monthly

payments under the PRAs, despite knowledge of the terminations, for 35 months.

                G. The Advisors Knowingly and Intentionally Made All Payments under the
                   Agreements until November 30, 2020

           The evidence is undisputed that, from January 1, 2018 through November 30, 2020, the

Advisors made all of the same monthly payments under the Agreements in exchange for the back-

office, middle-office, and front-office services provided to them by Highland. Each of the

payments that the Advisors made under the Agreements between January and November 2020

(when the new Independent Board controlled Highland) were exactly the same (or, in the case of

the HCMFA SSA, utilized the exact same methodology) as the payments that the Advisors made



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98
     Tr. Transcript 4/12/22, Part 2 of 2 [DE # 113], at 111:22-112:5.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                        Page
                                          01/12/23
                                           11/22/22
                                              36 of 60
                                                     Page
                                                       Page193
                                                            58 of 888
                                                                  113 PageID 3497
                                                                             348



under the Agreements between January 1, 2018 and December 31, 2019 (when Mr. Dondero still

controlled Highland).

        It cannot be legitimately disputed that the Advisors had knowledge of the payments made

under the Agreements. The evidence shows: (1) the Agreements were signed by Mr. Waterhouse,

the Treasurer of the Advisors and the CFO of Highland;99 (2) Highland sought and obtained

permission from Mr. Waterhouse before making payments under the Agreements as the officer of

the Advisors;100 (3) Mr. Waterhouse testified that he, in his role as the Treasurer of the Advisors,

was responsible for ensuring the Advisors paid the proper amounts under the Agreements;101 and

(4) the Advisors represented to the Retail Board that “[a]ll amounts owed by each of NPA and

HCMFA pursuant to the shared services arrangement have been paid.”102

        The Advisors made an argument in their trial brief that Highland was simply paying itself

without any involvement from any Advisor employee or officer. This statement is disingenuous,

given Mr. Waterhouse’s testimony that he was the officer in charge of making sure the proper

amounts were transferred under the Agreements and his regular approval of payments.

        The court finds, when considering the collective of this evidence, that the Advisors had

knowledge of and authorized the payments by the Advisors to Highland under the Agreements.

            H. The Advisors’ Stoppage of Payments under the Agreements Late in the Bankruptcy
               Case
        As stated above, from the January 1, 2018 until November 30, 2020, the Advisors paid

Highland the same fixed monthly amounts due and owing under the Agreements, without change

or objection.103

                                 
99
   There is one exception. The NexPoint SSA, executed in 2013, was signed by James DOndero and by an
individual named Brian Mitts. Pl. Exh. 2.
100
    See, e.g., Pl. Exs. 147, 152.
101
    Tr. Transcript 4/12/22, Part 2 of 2 [DE # 113], at 69:19-25.
102
    Pl. Ex. 22 at ACL 080593 (response to Question 2).
103
    And, notably, without any request for a modification or “true-up” post-petition.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              37 of 60
                                                     Page
                                                       Page194
                                                            59 of 888
                                                                  113 PageID 3498
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         By the end of November 2020: (i) the Independent Board had demanded Mr. Dondero’s

resignation (from his post-petition role as a portfolio manager for Highland); (ii) Mr. Dondero had

begun interfering with Highland’s business and engaging in conduct that ultimately led to the

imposition of injunctive relief; and (iii) Highland had delivered the termination notices for the

SSAs.104

         It was around this time when Mr. Dondero instructed Mr. Waterhouse to stop making any

payments to Highland on account of the Agreements. As a result, the Advisors failed to make

payments under the Agreements for the months of December 2020 and January 2021 (and, in the

case of the HCMFA SSA, also the month of November 2020). The court finds, and there is no

dispute by the Advisors, that the Advisors intentionally did not make these payments to Highland

under the Agreements.

             I. The Advisors’ Lack of an Attempt to Modify the PRAs

         As earlier noted, the Advisors claim that, in late 2019 or early 2020, after Highland had

filed bankruptcy, Mr. Waterhouse raised the existence of overpayments with Fred Caruso (“Mr.

Caruso”), an employee of Development Specialists, Inc. (“DSI”), before the new Independent

Board of Highland was even appointed. Another employee of DSI, Brad Sharp, serve as the Chief

Restructuring Officer in the bankruptcy, at that time (again, before the Independent Board was

appointed). However, despite what was alleged in the Advisors’ pleadings, Mr. Waterhouse

testified that he does not remember ever asking Mr. Caruso to amend the amounts under the PRAs,

only that he made him aware that there might be overpayments.105 The Advisors and Mr.


                                    
104
    The termination notices did not mention the PRAs. Mr. Seery credibly testified that he does not know why the
PRAs were not mentioned in the termination notices, but that they were rejected as part of the confirmed plan. Tr.
Transcript 4/13/22, Part 1 of 2 [DE #114], at 62:1-63:21.
105
    Tr. Transcript 4/12/22, Part 2 of 2, at 109:18-110:4.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
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                                2-3 Filed
                                     Filed
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                                          01/12/23
                                           11/22/22
                                              38 of 60
                                                     Page
                                                       Page195
                                                            60 of 888
                                                                  113 PageID 3499
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Waterhouse claim that Mr. Caruso told Mr. Waterhouse that the PRAs could not be amended

because of the automatic stay in place from the bankruptcy. There is no documentation of this

discussion or any subsequent documentation of what Mr. Caruso or Mr. Waterhouse discussed—

only the testimony of Mr. Waterhouse where he couldn’t remember specifics. Mr. Caruso did not

testify at Trial.

         There is no evidence that Mr. Waterhouse might have followed up with Mr. Caruso. Mr.

Waterhouse never told anyone else affiliated with the Advisors that he had learned of potential

overpayments, other than Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”)

with Highland’s legal department, and this included not telling Mr. Dondero.106 Mr. Waterhouse

never made Highland’s new Independent Board aware of the alleged potential overpayments,

despite many interactions with the Independent Board.107 And notably absent from his testimony,

was any claim that he made a formal request for modifications to the PRAs as the Advisors’

Treasurer, despite having knowledge of the alleged overpayments since at least late 2019, and

likely since the PRAs were signed.

         Viewing the evidence in the light most favorable to the Advisors, they only raised the issue

of potential overpayments to Highland in late 2019, through Mr. Caruso, Mr. Ellington, and Mr.

Leventon. The Advisors never subsequently followed up with Mr. Caruso or informed Highland’s

new Independent Board of the alleged overpayments after the Independent Board was put in place

shortly after the alleged conversations with Mr. Caruso. Further, and most importantly, the court

finds that the Advisors, based on the testimony of Mr. Waterhouse, never made a request to modify




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106
    Tr. Transcript 4/12/22, Part 2 of 2, at 111:18-112:8.
107
    Tr. Transcript 4/12/22, Part 2 of 2, at 114:15-25.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              39 of 60
                                                     Page
                                                       Page196
                                                            61 of 888
                                                                  113 PageID 3500
                                                                             351



the payments under the PRAs during the relevant period before payments were withheld in

November 2020.

      III.      CONCLUSIONS OF LAW

                A. Jurisdiction and Venue

             Bankruptcy subject matter jurisdiction exists in this Adversary Proceeding, pursuant to 28

U.S.C. § 1334(b), and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B), (C), and

(O). The court has Constitutional authority to enter a final judgment in this Adversary Proceeding.

While Defendants, in their Original Answer, initially contested that core matters were involved

and they did not consent to bankruptcy court adjudication,108 the parties later stipulated to final

adjudication of these matters in the bankruptcy court.109 Venue is proper in this judicial district

pursuant to 28 U.S.C. § 1409.

                B. Choice of Law

             The four relevant documents in the Adversary Proceeding are the HCMFA SSA, NexPoint

SSA, HCMFA PRA, and NexPoint PRA. All four of these contracts contain choice of law

provisions that the Agreements “will be governed and construed in accordance with the laws of

the State of Texas.”110 Accordingly, Texas law applies to the claims at issue.

                C. The Advisors’ Claims for Overpayment under the PRAs

             The Advisors seek an administrative expense claim for alleged overpayments they made

under the PRAs from the Petition Date until November 30, 2020 (the date the Advisors ceased

making any payments under the PRAs).




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108
    DE # 33 in AP, ¶ 10.
109
    DE # 37 in AP, ¶ 2.
110
    Pl. Ex. 2 § 9.05; Pl. Ex. 3 § 8.04; Pl. Ex. 6 § 6.05; Pl. Ex. 8 § 6.05.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              40 of 60 Page197
                                                            62 of 888
                                                                  113 PageID 3501
                                                                             352



       As set forth in the Joint Pretrial Order filed in this Adversary Proceeding, the Advisors

contend that each of the Advisors were required to reimburse Highland for its actual costs of the

Dual Employees listed on the Exhibit A’s to the PRAs, but that as of the Petition Date, many of

the Dual Employees (fourteen out of twenty-five) were no longer employed at Highland.

Therefore, the Advisors argue, during this period, they were essentially paying Highland for Dual

Employees who were no longer employed by Highland and that such payments constituted

overpayments under the PRAs. The Advisors maintain that their monthly payments under the

PRAs resulted in overpayments by the Advisors to Highland totaling $7,649,942, broken down as

$4,928,103 in post-petition overpayments by HCMFA and $2,721,839 in post-petition

overpayments by NexPoint. The Advisors’ overpayment claim is premised on the contention that

the Advisors were only required to pay for “actual costs and expenses” relating to each particular

Dual Employee.

       Alternatively, the Advisors argue that if their interpretation of the PRAs is incorrect—such

that the PRAs contemplated fixed monthly payments and Section 2.02 of the PRAs would have

required a modification of the PRAs in order to reduce the required monthly payment to conform

to a smaller number of Dual Employees—then the court should find that the Advisors did, indeed,

seek to modify the fixed monthly amounts under Section 2.02, but that Highland failed to negotiate

the same in good faith as required by such section.

       In response, Highland argues that the PRAs clearly and unambiguously require that the

Advisors pay a flat monthly amount for investment advisory services rendered, regardless of which

employees actually performed those services, unless the parties agreed otherwise in writing

pursuant to Section 2.02. Highland also argues that parole evidence and the parties’ uninterrupted

course of dealing proves that the parties intended for the Advisors to pay a fixed monthly amount


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              41 of 60 Page198
                                                            63 of 888
                                                                  113 PageID 3502
                                                                             353



for investment advisory services, unless modified pursuant to Section 2.02. Highland further

argues that the Advisors never sought modification and that their claims have been (a) waived and

(b) are barred by the voluntary payment rule.

               i.      The PRAs are Unambiguous as a Matter of Law

       Under Texas law, a party claiming breach of contract has the burden to prove the following

elements: “(1) the existence of a valid contract; (2) performance or tendered performance by the

plaintiff; (3) breach of the contract by the defendant; and (4) damages to the plaintiff as a result of

the defendant's breach.” Williams v. Wells Fargo Bank, N.A., 884 F.3d 239, 244 (5th Cir. 2018)

(internal citations omitted). The court’s primary role in interpreting a contract is “to determine the

parties’ intent as reflected in the [contract’s] terms.” Chrysler Ins. Co. v. Greenspoint Dodge of

Houston Inc., 297 S.W.3d 248, 252 (Tex. 2009). “Contract language that can be given a certain or

definite meaning is not ambiguous and is construed as a matter of law.” Id. “If the contract is

capable of being given a definite legal meaning, parole evidence is generally not admissible to

create an ambiguity.” Kendziorski v. Saunders, 191 S.W.3d 395, 405 (Tex. App. – Austin 2006).

“Whether a contract is ambiguous is a question of law for the court to decide by looking at the

contract as a whole in light of the circumstances present when the contract was entered into.” BCC

Merchant Solutions, Inc. v. Jet Pay, LLC, 129 F.Supp.3d 440, 466 (N.D.Tex. 2015) (internal

quotations omitted); see also Watkins v. Petro-Search, Inc., 689 F.2d 537, 538 (5th Cir. 1982)

(“[W]hen a question relating to the construction of a contract or its ambiguity is presented, the

court is to take the wording of the contract in the light of the surrounding circumstances, in order

to ascertain the meaning that would be attached to the wording by a reasonably intelligent person

acquainted with all operative usages and knowing all the circumstances prior to and

contemporaneous with the making of the integration”).


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
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                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              42 of 60
                                                     Page
                                                       Page199
                                                            64 of 888
                                                                  113 PageID 3503
                                                                             354



          A contract is unambiguous and will be enforced as written where it is “susceptible to only

one reasonable construction.” BCC Merchant, 129 F.Supp.3d at 477. “[A] cardinal rule of contract

interpretation under Texas law is that the entire writing must be examined” and “no single

provision taken alone [may] be given controlling effect.”          Id. (citing Texas law) (internal

quotations omitted). “Where the language is clear and definite, the contract is not ambiguous, and

a court must apply the plain language as a matter of law.” Main Street Bank v. Unisen, No. H-06-

3776, 2008 WL 11483415, at *4 (S.D.Tex. Feb. 15. 2008).

          Thus, the court begins its analysis by looking at the plain language of the PRAs. In both of

the PRAs, Section 2.01 mandated that the Advisors were required to pay Highland the “Actual

Cost” of the services provided by the Dual Employees.111 However, despite the use of the words

“Actual Cost,” and an Exhibit A attachment purporting to list out the Dual Employees, the PRAs

defined that term “Actual Cost” under Article I as a specific dollar amount. The PRAs defined

“Actual Cost” as equal to $252,000 per month for NexPoint and $416,000 per month for

HCMFA.112 There was no requirement of periodic reevaluation of the Actual Cost; no automatic

adjustments to the Actual Cost amounts, for such things as employee comings-and-goings or

employee changes in job duties; and no mention of a “true-up” annually or at any other time. The

PRAs simply plugged in a decisive monthly amount.

          Section 4.02 of the PRAs required any party seeking modifications to amounts paid under

the definition of “Actual Cost” to make a request on the other party “on or before the last business

day of the calendar month.” Further, Section 2.02 permitted the parties to “agree to modify the

terms and conditions” of the amounts paid and the parties were required to negotiate any


                                        
111
    Pl. Ex. 6 § 2.01; Pl. Ex. 8 § 2.01.
112
    Pl. Ex. 6 Article I; Pl. Ex. 8 Article I.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              43 of 60 Page200
                                                            65 of 888
                                                                  113 PageID 3504
                                                                             355



modification requested in good faith. Finally, Section 6.02 required that any amendment to the

PRAs to be in writing by all parties.

       These are the PRA provisions that are germane to the disputes in this Adversary

Proceeding. When reading these provisions within the entirety of the PRAs, the court concludes

that the PRAs are unambiguous as a matter of law. Section 2.01 and an accompanying Article I

definition of “Actual Cost” set forth a flat monthly amount; the parties agreed that this flat monthly

amount would be deemed to be the “Actual Cost” of the front-office services that Highland was

providing to the Advisors, through the Highland employees. The accompanying Sections 2.02,

4.02, and 6.02 allowed for a modification of these amounts, but only if a party notified the other

party on or before the last business day of a calendar month that it requested such a modification.

If the parties agreed to a modification, there had to be a written agreement memorializing the

amendment.

       The Advisors seem to argue that Sections 2.02 and 4.02 imposed an affirmative obligation

on Highland to update the list of Dual Employees and their respective Allocation Percentages, or

to unilaterally adjust the “Actual Costs.” The literal wording of these provisions does not support

such an obligation. Under the Advisors’ interpretation of the PRA, Highland would have been

obligated to invoke Section 4.02 (which is itself dependent on Section 2.02) on the Advisors’

behalf and to adjust the Advisors’ monthly payments as Dual Employees were terminated, or as

changes were made in their compensation or Allocation Percentages. But again, that is simply not

what the PRAs provide. The PRAs use the words the “Parties may agree to modify the terms”

when assigning the obligation under Section 2.02, which the preamble defines as both Highland

and the Advisors. Further, Section 4.02 requires “the Party requesting modification” to notify “the

other Party.” Notably, Section 4.02 does not put this obligation solely on Highland as it uses


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              44 of 60 Page201
                                                            66 of 888
                                                                  113 PageID 3505
                                                                             356



“Party” to refer to either party to the contract, whereas it uses “HCMLP” specifically when

assigning obligations to Highland elsewhere in the PRAs. The court concludes that the

unambiguous language put no unilateral obligation on Highland to amend the PRAs to reflect

changes in Dual Employees, but rather on both the parties to negotiate such amendments.

                      ii. Even if the PRAs Were Ambiguous, Extrinsic Evidence Supports
                          a Fixed Payment Interpretation

       As stated above, the court concludes that the PRAs are not ambiguous, and that the only

reasonable interpretation of the PRAs is they contemplate a fixed monthly payment. In fact, the

only aspects of the PRAs that give the court any pause regarding ambiguity are as follow: (a) the

title of the PRAs (i.e., Payroll Reimbursement Agreement—suggesting an intention to reimburse

payroll costs); and (b) the fact that there was a list of employees attached as Exhibit A. Why use

the term “reimbursement” or attach a list of employees if these words/concepts were not really

dispositive of anything? If these two aspects of the PRAs make them ambiguous, then the court

is required to consider the wording of the contract in the light of the surrounding circumstances,

in order to ascertain the meaning the agreements, as might be given by a reasonably intelligent

person acquainted with all operative usages, and knowing all of the circumstances prior to and

contemporaneous with the making of the agreements. See Watkins v. Petro-Search, 689 F.2d at

538.

       The Findings of Fact set out a plethora of evidence that established that the parties always

contemplated fixed amounts being used to pay Highland for providing front-office services to the

Advisors. This evidence included, among other things: (1) Mr. Klos credibly testifying that the

PRAs, and Exhibit A’s, were created to reflect payments, in conjunction with the other

Agreements, that equaled the annual amounts that Mr. Dondero wanted transferred to Highland


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
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                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              45 of 60 Page202
                                                            67 of 888
                                                                  113 PageID 3506
                                                                             357



after the 2017/2018 Annual Review to deal with Highland’s cash liquidity problems (recall that

prior to 2018, Highland provided sub-advisory services to the Advisors for free and Highland was

facing an imminent loss of its Acis sub-advisory fees); (2) Mr. Waterhouse testifying that he was

aware that four of the Dual Employees had been terminated at the signing of the PRAs, yet did not

seek to update the Dual Employee allocations on the Exhibit A’s at any point to reflect this; (3)

employees and officers of the Advisors received Monthly Headcount Reports from Highland,

detailing the hiring and termination of employees, including the Dual Employees during the

relevant period; (3) the Exhibit A’s were never updated, even though Dual Employees were

terminated over time, and no one was ever asked to update them; (4) Mr. Waterhouse, as the

Advisors’ Treasurer, had knowledge of Dual Employees being terminated or otherwise leaving

Highland, and continued to approve payments under the PRAs on 35 separate occasions; (5) Mr.

Klos communicated with Mr. Waterhouse in January 2020, during which Mr. Klos confirmed to

Mr. Waterhouse that the Agreements were “flat” amount payments and the same amounts had been

paid since the PRAs were signed; and (6) no request for an amendment to the PRAs was made

through November 2020 (except for the 2018 PRA Amendments—pursuant to which $2.5 million

extra was paid to Highland on account of the PRAs, even though five more employees on the

Exhibit A lists had left Highland since execution of the PRAs).

       In summary, this extrinsic evidence further supports a conclusion that the PRAs were fixed

rate contracts, if the PRAs should be determined to be ambiguous. This extrinsic evidence reveals

that the Advisors were aware Dual Employees were being terminated, made no request for an

amendment to the PRAs, and continued to make payments under the PRAs until Mr. Waterhouse,

under the direction of Mr. Dondero, stopped making payments in November 2020.




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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              46 of 60
                                                     Page
                                                       Page203
                                                            68 of 888
                                                                  113 PageID 3507
                                                                             358



        Given that the court has concluded that the PRAs were fixed rate arrangements, the

Advisors have failed to meet their burden of proving overpayments under the PRAs.

                          iii. Highland Did Not Fail to Negotiate in Good Faith

        The court noted above that Section 2.02 of the PRAs included language that required the

parties to negotiate in good faith when a party notifies the other party that it is requesting a

modification, pursuant to Section 4.02, before the last business day of the calendar month. The

Advisors allege that Highland never negotiated in good faith when the Advisors supposedly made

Highland aware (through Highland’s consultant, Mr. Fred Caruso) that overpayments under the

PRAs may have been made, and Mr. Caruso told the Advisors that an amendment could violate

the automatic stay in bankruptcy.

        The court has already found and concluded that: (a) the PRAs unambiguously created a

fixed amount contract; (b) Highland was under no duty to unilaterally modify the PRAs if it knew

that Dual Employees were terminated; and (c) the Advisors failed to provide sufficient evidence

that they made a formal request of Highland to modify the fixed monthly amount, pursuant to the

terms of the PRAs.113 Thus, the Advisors never triggered Highland’s obligation under Section

2.02. Specifically, without a formal notification/request of the type set forth in Section 4.02 of the

PRAs, Highland’s obligation to negotiate in good faith could not exist. Discussing potential

overpayments with a third-party consultant (Mr. Caruso)—assuming such overpayments could

even be possible—is not enough. Additionally, if the automatic stay was a valid concern of the

Advisors (potentially impairing their ability to exercise contractual rights under the PRA), there

were options available to them, including filing a motion for relief from stay to exercise

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   The Advisors, in their pleadings, claimed Mr. Waterhouse made such a request in late 2019 in his conversations
with Mr. Caruso. However, Mr. Waterhouse testified that they talked about overpayments possibly being made, but
that he never recalled requesting amendment of the PRAs.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                                          01/12/23
                                           11/22/22
                                              47 of 60
                                                     Page
                                                       Page204
                                                            69 of 888
                                                                  113 PageID 3508
                                                                             359



termination rights (termination was permissible under the PRAs, with or without cause, on 60-day

notice)114 or filing a motion to compel rejection of the PRAs pursuant to Bankruptcy Code section

365.

            As such, the court concludes that Highland did not fail to negotiate in good faith under

Section 2.02.

                               iv. Highland’s Waiver Defense to Overpayments under the PRAs

            Alternatively, if the PRAs should be construed to have contemplated variable amounts—

that should have changed automatically as Dual Employees departed, as opposed to fixed rate

amounts—Highland argues that the preset monthly amounts listed in the PRAs were controlling

until the Advisors made a request under Section 2.02 to change those monthly amounts, and that

the Advisors waived any right to overpayments by not making such a request or objecting to

payments under the PRAs for all the many months during which Dual Employees were being

terminated.

            “Under Texas case law, waiver is the intentional relinquishment of a known right or the

intentional conduct inconsistent with claiming that right.” Sedona Contracting, Inc. v. Ford,

Powell & Carson, Inc., 995 S.W.2d 192, 195 (Tex. App. 1999). The elements of waiver include:

(1) an existing right, benefit, or advantage held by a party; (2) the party’s actual or constructive

knowledge of its existence; and (3) the party’s actual intent to relinquish the right or intentional

conduct inconsistent with the right (which can be inferred from the conduct). See id.; see also

Ulico Cas. Co. v. Allied Pilots Ass'n, 262 S.W.3d 773, 778 (Tex. 2008); Tenneco Inc. v. Enter.

Products Co., 925 S.W.2d 640, 643 (Tex. 1996) (“The affirmative defense of waiver can be



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      Pl. Ex. 6 § 5.02; Pl. Ex. 8 § 5.02.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              48 of 60 Page205
                                                            70 of 888
                                                                  113 PageID 3509
                                                                             360



asserted against a party who intentionally relinquishes a known right or engages in intentional

conduct inconsistent with claiming that right.”).

       Waiver “results as a legal consequence from some act or conduct of the party against whom

it operates” and is “essentially unilateral in character,” meaning “no act of the party in whose favor

it is made is necessary to complete it.” Shields Ltd. P'ship v. Bradberry, 526 S.W.3d 471, 485

(Tex. 2017) (quotation marks omitted). “Silence or inaction, for so long a period as to show an

intention to yield the known right, is also enough to prove waiver.” Tenneco, 925 S.W.2d at 643.

       While waiver is ordinarily a question of fact, when the surrounding facts and circumstances

are undisputed, the question becomes one of law. Motor Vehicle Bd. of Tex. Dep't of Transp. v. El

Paso Indep. Auto. Dealers Ass'n, Inc., 1 S.W.3d 108, 111 (Tex. 1999); Tenneco, 925 S.W.2d at

643.

       The first element is met here. Pursuant to Sections 2.02 and 4.02 of the PRAs, the Advisors

had the right to seek a change to the fixed monthly rate if they believed a change was appropriate.

       There is no dispute over the second element. The PRAs were signed by Mr. Waterhouse as

an officer of both Highland and the Advisors. Further, the Advisors have never disputed having

knowledge of Sections 2.02 and 4.02 under the PRAs during the relevant period.

       The third and final element is the most pertinent under the analysis for waiver—the

question being whether the actions or inactions of the Advisors were sufficient to show an intention

to relinquish their right to modify the PRAs. Relevant here: (a) the Advisors (through their officers

Mr. Waterhouse, Mr. Norris, and Ms. Thedford) were kept up to date from before the PRAs were

signed until after November 30, 2020, by Monthly Headcount Reports created by Highland and

distributed to these officers; (b) the Advisors signed the PRAs on May 1, 2018, at which time, the

Advisors knew four of the twenty-five Dual Employees under the attached Exhibit A’s had been


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
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                               6-1
                                2-3 Filed
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                                        Page
                                          01/12/23
                                           11/22/22
                                              49 of 60
                                                     Page
                                                       Page206
                                                            71 of 888
                                                                  113 PageID 3510
                                                                             361



terminated; (c) the Advisors entered into the PRA Amendments in December 2018, when they had

knowledge that nine of the twenty-five Dual Employees had been terminated—instead of

attempting to amend under Sections 2.02 and 4.02, to reduce the monthly payments, to reflect the

reduced number of Dual Employees, the Advisors paid Highland an additional sum of $2.5 million

and never requested an amendment thereafter; and (d) on the Petition Date in October 2019, the

Advisors were aware that fourteen of the twenty-five Dual Employees had been terminated; yet,

from the Petition Date to November 30, 2020, the Advisors never made a request to modify the

PRAs under Sections 2.02 and 4.02 and continued to pay the fixed amounts, despite knowledge

that over half the Dual Employees had been terminated.

            In summary, the Advisors did not exercise their alleged right to correct the monthly flat

amount, to account for alleged overpayments, for almost three years (from the time the contract

was signed until November 30, 2020). Mr. Waterhouse authorized payments under the PRAs for

almost three years—i.e., thirty-five times.

            The court notes again that Mr. Waterhouse, when asked directly, did not recall ever

requesting that the PRAs be amended in his conversations with Mr. Caruso and also failed to ever

make a request to amend to Highland’s new Independent Board. The Advisors do not claim to

have made a request for amendment to the PRAs, despite claiming that Highland failed to negotiate

in good faith when Mr. Caruso allegedly suggested the automatic stay might prevent amendments

to the PRAs.

            The waiver here cannot be remedied by the general non-waiver provisions in the PRAs.115

A nonwaiver provision in a contract that purports to absolutely bar waiver in the most general of

terms might be wholly ineffective and itself can be waived. Shields Ltd. P'ship v. Bradberry, 526


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      See Section 6.02 of Pl. Exh. 6 and Pl. Exh. 8.

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
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                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              50 of 60 Page207
                                                            72 of 888
                                                                  113 PageID 3511
                                                                             362



S.W.3d 471, 484 (Tex. 2017) (while contrarily noting that specific non-waiver provisions noting

specific actions or inaction that will not result in waiver are wholly enforceable). Nothing in the

general non-waiver provisions in the PRAs provided any specificity as to the above actions or

nonactions of the Advisors regarding amendment to the PRAs that would prevent waiver.

       The Advisors never exercised their rights under Sections 2.02 and 4.02 of the PRAs and,

indeed, acted counter to those rights by continuing to make payments without requesting

amendment to the fixed monthly amounts from the time that the PRAs were signed until November

30, 2020, while simultaneously having knowledge that many of the Dual Employees were gone.

Accordingly, the court concludes that Highland has met its burden of proof that the Advisors

waived any amounts of alleged overpayments that might have been properly remedied by

amendment of the monthly rates under Sections 2.02 and 4.02.

       v.      Highland’s Defense to Overpayments under the Voluntary Payment Rule

       Highland also raised the voluntary payment rule as a defense to the Advisors claims of

overpayments. Under the voluntary payment rule, “money voluntarily paid on a claim of right,

with full knowledge of all the facts, in the absence of fraud, duress, or compulsion, cannot be

recovered back merely because the party at the time of payment was ignorant of or mistook the

law as to his liability.” Miga v. Jensen, 299 S.W.3d 98, 103 (Tex. 2009). “The rule is a defense to

claims asserting unjust enrichment; that is, when a plaintiff sues for restitution claiming a payment

constitutes unjust enrichment, a defendant may respond with the voluntary-payment rule as a

defense.” XTO Energy Inc. v. Goodwin, 584 S.W.3d 481, 497 (Tex. App. 2017). Highland

contends that the Advisors overpayment claims under the PRAs are essentially ones for unjust

enrichment and, thus, the voluntary payment rule is a proper defense to such claims.




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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              51 of 60 Page208
                                                            73 of 888
                                                                  113 PageID 3512
                                                                             363



       In response, the Advisors contend that the voluntary payment rule cannot be asserted in

regard to a breach of contract claim, which is what the Advisors contend they are claiming (i.e.,

not unjust enrichment). Texas case law cited by the Advisors states, “although the voluntary-

payment rule may have been widely used by parties and some Texas courts at one time, its scope

has diminished as the rule’s equitable policy concerns have been addressed through statutory or

other legal remedies.” BMG Direct Mktg., Inc. v. Peake, 178 S.W.3d 763, 771 (Tex. 2005). “Like

other equitable claims and defenses, an adequate legal remedy may render equitable claims of

unjust enrichment and equitable defenses of voluntary-payment unavailable.” Id. at 770. While not

completely abrogated, the rule today has only “limited application in Texas jurisprudence.” Id. at

771.

       The court need not decide the scope and applicability of the voluntary payment rule to the

disputes under the PRAs at this time. The court has already found and concluded that the PRAs

are unambiguous and created a fixed amount payment arrangement. The court has also found and

concluded that, even if the PRAs were ambiguous, the extrinsic evidence supports the

interpretation that the PRAs created a fixed amount payment arrangement. Further, the court has

found and concluded that, even if the PRAs were not intended to be fixed amount payment

arrangements, the Advisors waived their right to modify by continuing to make payments with

knowledge of terminated Dual Employees for three years.

           D. The Advisors’ Claims under the SSAs

               i.     The Advisors’ Claim for Breach of Contract under the SSAs

       Turning to the SSAs—which were less of a focus at Trial than the PRAs—the Advisors

claim that Highland breached the SSAs by failing to perform certain services owing to the

Advisors, including legal and compliance services, thereunder. The Advisors contend that on or

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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              52 of 60 Page209
                                                            74 of 888
                                                                  113 PageID 3513
                                                                             364



around July 2020, Highland instructed its employees to cease providing certain services to the

Advisors which Highland believed were adverse to the interests of Highland. The Advisors

maintain that this forced the Advisors to retain two new employees to “cover” for such lost

services, resulting in $425,000 in damages. The Advisors also contend that they were forced to

pay Highland $1 million for legal services that Highland was no longer providing, resulting in $1.3

million in payments post-petition for services that Highland failed to provide. The Advisors seek

damages for overpayments and breaches of the SSAs totaling $1,725,000.

       As stated above, the elements of breach of contract under Texas law are: (1) the existence

of a valid contract; (2) performance or tendered performance by the plaintiff; (3) breach of the

contract by the defendant; and (4) damages to the plaintiff as a result of the defendant's breach.

Williams, 884 F.3d at 244.

       Highland argues that the Advisors have not met their burden of proving the elements of

breach or damages. Highland argues that the evidence, to the contrary, shows that Highland

continued to perform under the SSAs—not the least of which was the evidence of the Advisors’

continuous representations to the Retail Board that the quality of services under the agreements

with Highland had not deteriorated.

       As discussed extensively in the court’s Findings of Fact above, the Advisors made

numerous repeated representations to the Retail Board that performance under the SSAs continued

as normal following July 2020—despite the Advisors now alleging that legal and compliance

services were withheld.

       To recap, in August 2020, the Advisors represented to the Retail Board that “there had been

no issues or disruptions in services as a result of the HCMLP bankruptcy matter” and that the

Advisors believed “the current shared services being provided are generally consistent with the



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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              53 of 60
                                                     Page
                                                       Page210
                                                            75 of 888
                                                                  113 PageID 3514
                                                                             365



level of services that historically have been received.”116 In September and October 2020, the

Advisors continued their representations that shared services continued to be properly provided.

During a two-day meeting of the Retail Board, on September 16-17, 2020, the Advisors told the

Retail Board that they do “not expect that the level and quality of services would change in the

immediate term, and Mr. Norris stated he was “comfortable with the level and quality of services

being provided and has not seen any issue with the conflicts process.”117 On October 9, 2020, the

Advisors told the Retail Board there were “contingency plans” being formulated but “[i]n the

interim the plan is to continue with the existing services.”118 On October 13, 2020, Mr. Norris

represented to the Retail Board that “all operations continued in the normal course [sic] there had

been no material impact on the day-to-day operations of the Funds”.119 On October 28, 2020, the

Advisors continued to reassure the Retail Board by saying Highland and the Advisors were

working on a “seamless transition” and the “quality and level” of services had not been negatively

impacted by Highland’s bankruptcy.120 A week after that, the Retail Board was told there “has not

been any disruption to the services provided to the Funds by HCMLP pursuant to the Shared

Services Agreement”.121 The Advisors continued to communicate with the Retail Board in

December 2020 and January 2021 but never made any representation Highland had provided any

less quality or level of services than it had previously under the SSAs.

         Based on their own representations to the Retail Board, the court finds and concludes that

the Advisors have failed to meet their burden for proving the element of breach by Highland for a

lack of services provided under the SSAs.


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    Pl. Ex. 59; Pl. Ex. 18.
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    Pl. Ex. 63.

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                                                                                   000316
Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              54 of 60 Page211
                                                            76 of 888
                                                                  113 PageID 3515
                                                                             366



        Further, based on those same representations and no other evidence showing otherwise, the

Advisors did not meet their burden of showing damages as a result of the alleged breaches. The

Advisors failed to show that the “loss” from employing two new employees to provide certain

legal services were caused by Highland’s failure to perform under the SSAs.

               ii.     The Advisors’ Claim for Overpayment under the SSAs

        Finally, the Advisors also have brought a claim for overpayments under the SSAs, asserting

that they overpaid Highland by $1 million for legal services that Highland stopped providing. This

claim, like the Advisors’ breach of contract claim, relies on the court concluding that the Advisors

have satisfied their burden of showing Highland did not perform under the SSAs. Relying on the

analysis above, the court concludes that the Advisors have not satisfied their burden of showing

Highland failed to provide any services contracted for under the SSAs and, thus, cannot succeed

on their claim for overpayment.

               iii.    Highland’s Waiver Defense to the Advisors’ Claims under the SSAs

        If the court were to find that Highland had breached the SSAs, Highland alternatively

pleaded the defense of waiver, similar as it did with regard to the Advisors’ claims under the PRAs.

        The elements of waiver, again, include: (1) an existing right, benefit, or advantage held by

a party; (2) the party’s actual or constructive knowledge of its existence; and (3) the party’s actual

intent to relinquish the right or intentional conduct inconsistent with the right (which can be

inferred from the conduct). Sedona Contracting, Inc., 995 S.W.2d at 195.

        The Advisors don’t dispute that they signed the SSAs and were aware of the terms of the

SSAs.

        Again, similar to waiver under the PRAs, the third element requires the most analysis here.

The Advisors have admitted that Mr. Waterhouse oversaw and authorized all payments made

                                                 54
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                                                                                     000317
Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-3 Filed
                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              55 of 60 Page212
                                                            77 of 888
                                                                  113 PageID 3516
                                                                             367



under the SSAs. The Advisors never made objections to making such payments under the SSAs

as they were making them. Further, the Advisors never raised any objection to the payments with

Highland to put them on notice. In fact, quite the opposite, the Advisors made representations to

the Retail Board, detailed above, that everything was running smoothly with regard to the services

provided under the SSAs. The Advisors knowingly and intentionally made payments every month

under the SSAs until November 30, 2020 but decided not to raise the issue at any point with

Highland until they stopped paying under the SSAs.

       The Advisors’ conduct is inconsistent with asserting rights under the SSA. The Advisors

hired two new employees to perform certain services under the SSAs, allegedly indicating that

they thought the SSAs were being breached. Yet, the Advisors continued authorizing the same

payments to Highland. The Advisors did not tell Highland that it believed required services were

not being provided and did not assert an administrative expense claim at the time.

        If silence were not enough, as detailed above, the Advisors made numerous representations

to the Retail Board after the supposed breach that everything was operating as normal under the

SSAs, and Highland’s service were of the same “quality and level” as always.

       The Advisors conducted themselves intentionally in a manner inconsistent with asserting

their claims of breach of the SSAs. Accordingly, the court concludes the Advisors have waived

their claims resulting from the payments under the SSAs.

       D.      Highlands’ Breach of Contract Claims Relating to All Four Agreements

       Finally, Highland has claimed breaches of contract by the Advisors under all four of the

Agreements due to nonpayment under each Agreement for certain months, starting in November




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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document
                           Document
                               6-1
                                2-3 Filed
                                     Filed
                                        Page
                                          01/12/23
                                           11/22/22
                                              56 of 60
                                                     Page
                                                       Page213
                                                            78 of 888
                                                                  113 PageID 3517
                                                                             368



2020. The months in which Highland claims nonpayment are as follows:



            Agreement                       Months of Nonpayment                     Amounts Unpaid

                                       November 2020, December 2020,                     $924,000122
           HCMFA SSA
                                             and January 2021
                                       December 2020 and January 2021                    $832,000
          HCMFA PRA
                                                                                     ($416,000/month)
                                       December 2020 and January 2021                    $336,000
          NexPoint SSA
                                                                                     ($168,000/month)
                                       December 2020 and January 2021                    $504,000
          NexPoint PRA
                                                                                     ($252,000/month)


        Highland also sought damages relating to the nonpayment of fees under its Shared Service

Agreement with NREA. NREA is a wholly owned subsidiary of NexPoint. The SSA with NREA

apparently had a monthly fee of $80,000 every month, the payment on which also ceased in

November 2020. While there was evidence to support this arrangement existed (for example, Mr.

Waterhouse confirmed there was an SSA between Highland and NREA),123 the NREA SSA itself

was not submitted into evidence and NREA is not listed as a defendant to this Adversary

Proceeding. The court concludes that, even though NREA is apparently a subsidiary of NexPoint,

no sufficient theory of liability has been argued as to why NexPoint should be held liable for an

agreement Highland made with NREA. As such, the court will not grant relief related to the alleged

NREA SSA in connection with this Trial.

        The burden of proving the elements of breach of contract for its claims asserted now

switches to Highland. As stated above, the elements are: (1) the existence of a valid contract; (2)

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    The HCMFA SSA was the one and only agreement with a variable fee arrangement. Highland made this calculation
by taking the most recent payment due in November of $308,000 and multiplying that number by three for the three
months of nonpayment.
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    Tr. Transcript 4/12/22, Part 2 of 2, at 70:6-17 [DE # 113}.

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                                           11/22/22
                                        Page         Page
                                              57 of 60 Page214
                                                            79 of 888
                                                                  113 PageID 3518
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performance or tendered performance by the plaintiff; (3) breach of the contract by the defendant;

and (4) damages to the plaintiff as a result of the defendant's breach. Williams, 884 F.3d at 244

(internal citations omitted).

        Element one is quickly satisfied as neither party disputes the existence of valid contracts

here.

        The court relies on its Findings of Facts and previous Conclusions of Law to satisfy element

two. As stated by the court above, the PRAs unambiguously established a fixed payment

arrangement that was not variable based on the termination of certain Dual Employees. The

remaining Dual Employees continued to provide front-office services and, thus, Highland

performed under the PRAs. Further, Highland clearly performed under the SSAs at all times

according to the Advisors’ own representations to the third-party Retail Board that Highland was

sufficiently performing at all times. The representations were constant and continued from July

2020 through early 2021, the entire period in which the Advisors now claim legal and compliance

services were not being provided.

        The third element is uncontested. The Advisors do not contest that they stopped making

payments under all of the Agreements in November 2020 at the direction of Mr. Dondero.

        The last element, damages, is also present and easily calculable. The nonpayment by the

Advisors establishes Highland’s alleged compensatory damages. Highland’s damages are: (a) the

amounts that were not paid in December 2020 and January 2021 under all four Agreement, plus

for November 2020 in the case of the HCMFA SSA.

        The court concludes that Highland has met its burden on breach of contract by the Advisors

on each of the Agreements due to their nonpayment of amounts required.



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                                           11/22/22
                                        Page         Page
                                              58 of 60 Page215
                                                            80 of 888
                                                                  113 PageID 3519
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       E.      Do Equities Matter at All Here?

       This court often states that “facts matter”. Occasionally, facts suggest a certain equitable

result contrary to what the law requires. This can sometimes make a court wrestle with a result.

Are the Advisors being treated inequitably or unfairly here—by having to pay a fixed amount

under the PRAs when the number of employees at Highland dropped precipitously during the term

of the PRAs?

       Putting aside for a moment the fact that the Advisors had a right to seek modification of

the PRAs—a fact about which they profess confusion, because of the Bankruptcy Code’s

automatic stay—here are a few facts that detract from any equitable arguments that the Advisors

might have.

       First, prior to 2018—for six years—Highland provided “front-office” sub-advisory

services to the Advisors for free. For free. Perhaps this is the real reason why folks were not too

worried about potential overpayments under the new PRAs that were executed in May 2018—at

least not until the Advisors and Highland began their corporate divorce. Sounds like the Advisors

had been getting a windfall.

       Additionally, Mr. Seery credibly testified (and no one ever disagreed) that the SSAs (in

contrast to the PRAs) were money-losers for Highland. The SSAs were unprofitable for Highland.

If the PRAs were profitable, well, that arguably balanced things out a bit.

       The fact is that the Agreements were not arms-length agreements, and this cannot be

overlooked here. They were intercompany agreements—i.e., entered into between parties that were

friendly and affiliated, back at their time of execution. The arrangements were all about the

perceived needs of the Highland complex at a time when there was no bankruptcy. The evidence


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Case 21-03010-sgj Doc 124 Filed 08/30/22 Entered 08/30/22 14:57:17 Desc Main
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                           Document  Filed01/12/23
                                           11/22/22
                                        Page         Page
                                              59 of 60 Page216
                                                            81 of 888
                                                                  113 PageID 3520
                                                                             371



suggests that everyone was just fine with the agreements for years. But the parties are now hostile

and disagree on just about everything.

       The fact is that the Agreements, by their terms, could have been renegotiated or terminated

by either party during the bankruptcy case. But the Advisors would have had to file a motion to

lift stay and ask court permission. This would not necessarily have been a good strategy for them,

because the Advisors and Mr. Dondero thought/hoped he might gain back control of Highland

eventually (and, therefore, would have the whole complex back under his control). Thus, it might

not make sense to change the status quo on the Agreements. In any event, in such a scenario. the

court might have denied relief from the stay (depending on the merits of arguments made). Or,

the court might have granted relief to the Advisors, in which case Highland might have decided it

had to abruptly liquidate—due to a loss of a steady cash stream—which might have caused an

abrupt departure of employees or, at best, an abrupt transition of employees away from Highland

to the Advisors or an entity with whom the Advisors would contract (such as Skyview). This abrupt

transition might not have been pretty.

       Equities? Ultimately, the court has interpreted the contracts here (and other evidence—in

case the Agreements should be construed as ambiguous) as it thinks is required. But again, these

were not arms-length contracts. They were contracts among insiders, made at a time when

everyone was friendly. Made at a time when Highland needed cash, and at a time when Highland

had been providing free front-office services to the Advisors for years. Free services when—

meanwhile--the Advisors were parties to investment contracts with Retail Funds, whereby the

Advisors were no doubt earning many millions of dollars of fees therefrom for themselves

(considering that they were managing many billions of dollars of assets). If equities matter at all

here, the result reached here seems entirely fair.


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                                          01/12/23
                                           11/22/22
                                              60 of 60
                                                     Page
                                                       Page217
                                                            82 of 888
                                                                  113 PageID 3521
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       IV.      DAMAGES COMPUTATION FOR JUDGMENT

             The court will grant damages in favor of Highland of: (i) $924,000 for unpaid fees under

the HCMFA SSA for November 2020, December 2020, and January 2021; (ii) $832,000 for unpaid

amounts under the HCMFA PRA for December 2020 and January 2021; (iii) $336,000 for unpaid

fees under the NexPoint SSA for December 2020 and January 2021; and (iv) $504,000 for unpaid

amounts under the NexPoint PRA for December 2020 and January 2021.

             All relief requested by the Advisors for administrative expense claims for (i) alleged

overpayments and (2) alleged breaches of contract by Highland under the Agreements are denied.

             Additionally, Highland has asserted that it is entitled to costs and expenses, including

attorneys’ fees, in connection with prosecuting its claims and defenses against the Advisors. No

evidence was presented on the shifting of expenses, including attorney’s fees. The parties agreed

in their Joint Pretrial Order that “[t]he quantification of any attorney’s fees awarded in this

Adversary Proceeding, subject to defenses, will be handled through post-trial motion practice

under Rule 54(d)(2), and no Party need present evidence on any attorney fee claim at the trial of

this Adversary Proceeding.”124 Accordingly, Highland may file its post-trial motion forthwith.

Unless the parties otherwise agree, Highland’s post-trial motion for fees, costs, and expenses is

due within 21 days of entry of these Findings of Fact and Conclusions of Law; with a Responses

of the Advisors due 21 days thereafter, and any reply do 10 days thereafter. The parties may seek

a hearing thereafter.

             # # # END OF FINDINGS OF FACT AND CONCLUSIONS OF LAW # # #




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      DE # 96 in the AP at p. 16.

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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 218 of 888 PageID 3522




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Case 21-03010-sgj Doc 128 Filed 09/20/22 Entered 09/20/22 14:02:27 Desc Main
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COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                          §
                                                 §
                                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.                                            §
                                                             Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
 HIGHLAND CAPITAL MANAGEMENT,                    §
 L.P.,                                           §
                                                 §
          Plaintiff,                             §
                                                 §
 v.                                              §             Adv. No. 21-03010-sgj
                                                 §
 HIGHLAND CAPITAL MANAGEMENT                     §
 FUND ADVISORS, L.P. and NEXPOINT                §
 ADVISORS, L.P.,                                 §
                                                 §
          Defendants.                            §

                                JOINT NOTICE OF APPEAL

          COME NOW NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. (together, the “Advisors”), the defendants in the above styled and numbered Adversary

Proceeding, and, pursuant to 28 U.S.C. § 158(a), hereby appeal to the United States District Court

for the Northern District of Texas that certain Judgment (“Judgment”) entered by the Bankruptcy

Court on September 14, 2022 at docket no. 126.


JOINT NOTICE OF APPEAL—Page 1

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       A copy of the Judgment is attached hereto as Exhibit “A.”

       The names of the parties to the Order, their roles in the appeal, and the contact information

for their counsel are as follows:

1.     Appellants:

               NexPoint Advisors, L.P.
               Highland Capital Management Fund Advisors, L.P.

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2.     Appellee:

               Highland Capital Management, L.P.

               Attorneys:

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                       -and-




JOINT NOTICE OF APPEAL—Page 2

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         RESPECTFULLY SUBMITTED this 20th day of September, 2022.

                                                  MUNSCH HARDT KOPF & HARR, P.C.

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                                                  ATTORNEYS FOR NEXPOINT ADVISORS,
                                                  L.P. AND HIGHLAND CAPITAL
                                                  MANAGEMENT FUND ADVISORS, L.P.




                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the 20th day of September, 2022, true and correct
copies of this document, including any exhibit(s), were electronically served via the Court’s
CM/ECF system on all parties entitled to such notice, including counsel for the appellee.

                                                  By: /s/ Davor Rukavina
                                                         Davor Rukavina, Esq.




JOINT NOTICE OF APPEAL—Page 3

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Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 222 of 888 PageID 3526




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Case 3:22-cv-02170-S Document
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                                            1 of 155
                                                   Page 223 of 888 PageID 3527


                      IN THE UNITED STATES BANKRUPTCY COURT
  1                     FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
  2
                                   )        Case No. 19-34054-sgj-11
  3    In Re:                      )        Chapter 11
                                   )
  4    HIGHLAND CAPITAL            )        Dallas, Texas
       MANAGEMENT, L.P.,           )        Tuesday, April 12, 2022
  5                                )        9:30 a.m. Docket
                Debtor.            )
  6                                )
                                   )
  7    HIGHLAND CAPITAL            )        Adversary Proceeding 21-3010-sgj
       MANAGEMENT, L.P.,           )
  8                                )
                Plaintiff,         )
  9                                )
       v.                          )        TRIAL
 10                                )
       HIGHLAND CAPITAL MANAGEMENT )        ADVISORS' ADMINISTRATIVE CLAIM
 11    FUND ADVISORS, L.P.,        )
       et al.,                     )        Excerpt: 9:38 a.m. to 2:19 p.m.
 12                                )
                Defendants.        )
 13                                )
 14                         TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
 15                      UNITED STATES BANKRUPTCY JUDGE.
 16    WEBEX APPEARANCES:
 17    For the Plaintiff:              John A. Morris
                                       Gregory V. Demo
 18                                    Hayley Winograd
                                       PACHULSKI STANG ZIEHL & JONES, LLP
 19                                    780 Third Avenue, 34th Floor
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 21    For the Plaintiff:              Zachery Z. Annable
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 24

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       Recorded by:                    Michael F. Edmond, Sr.
  6                                    UNITED STATES BANKRUPTCY COURT
                                       1100 Commerce Street, 12th Floor
  7                                    Dallas, TX 75242
                                       (214) 753-2062
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 24           Proceedings recorded by electronic sound recording;
                 transcript produced by transcription service.
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                                            3 of 155
                                                   Page 225 of 888 PageID 3529
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  1                DALLAS, TEXAS - APRIL 12, 2022 - 9:38 A.M.

  2               THE CLERK:    All rise.    The United States Bankruptcy

  3    Court for the Northern District of Texas, Dallas Division, is

  4    now in session, The Honorable Stacey Jernigan presiding.

  5               THE COURT:    Good morning.    Please be seated.      All

  6    right.    We have a two-day setting in Highland.        It's both

  7    Adversary 21-3010 as well as the Funds' request for

  8    administrative claim.      Let's get appearances from the lawyers

  9    first.

 10               MR. MORRIS:    Good morning, Your Honor.      John Morris

 11    from Pachulski Stang Ziehl & Jones for Highland Capital

 12    Management, LP.    I'm here this morning with my colleagues Greg

 13    Demo, Hayley Winograd, and Zachery Annable.

 14               THE COURT:    Okay.   Good morning.

 15               MR. RUKAVINA:    Your Honor, good morning.       Davor

 16    Rukavina and Thomas Berghman here for the Advisors:           NexPoint

 17    Advisors, LP and Highland Capital Management Fund Advisors,

 18    LP.

 19               THE COURT:    Good morning.    All right.    Do we have any

 20    other appearances?      These are, of course, the only parties,

 21    but ...

 22          (No response.)

 23               THE COURT:    All right.    Well, you all have given me a

 24    lot of paper to prepare me.      Before we ask for opening

 25    statements, I'm going to ask for housekeeping matters.           I see




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
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                                        01/12/23
                                            4 of 155
                                                   Page 226 of 888 PageID 3530
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  1    we have exhibit lists that have been filed and some written

  2    objections, and I think your scheduling order said that if

  3    there were no written objections then they were waived except

  4    for relevance and privilege, I guess.        So do we have

  5    stipulations on exhibits?

  6               MR. MORRIS:    We do, in fact, Your Honor.       I apologize

  7    for the late notice.     Mr. Rukavina and I just reached an

  8    agreement about an hour ago that resolves all objections to

  9    documents, --

 10               THE COURT:    Okay.

 11               MR. MORRIS:    -- as well as the objection to the

 12    subpoenas that Highland had served upon the Advisors, --

 13               THE COURT:    Okay.

 14               MR. MORRIS:    -- which were the subject of the

 15    objection that was filed at Docket No. 98 and the response

 16    that was filed at Docket No. 101.        So, if I may, I'd just like

 17    to read the stipulation into the record --

 18               THE COURT:    All right.

 19               MR. MORRIS:    -- and tell you where we go from there.

 20               THE COURT:    That's fine.

 21               MR. MORRIS:    So, the parties stipulate to the

 22    admissibility of a single document, which will be marked as

 23    Highland's Exhibit 161.      That document, Your Honor -- this is

 24    not part of the stipulation -- but that document sets forth

 25    amounts that were paid to certain former Highland employees




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
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                              6-1 FiledPage
                                        01/12/23
                                            5 of 155
                                                   Page 227 of 888 PageID 3531
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  1    postpetition.    And so that document is going to be marked as

  2    161, and the parties stipulate that the Advisors acknowledge

  3    that they have no basis to challenge the facts that are

  4    recited and reflected in the document.

  5               THE COURT:    Okay.

  6               MR. MORRIS:    Based on the foregoing, the parties

  7    agree and stipulate that the objection to the trial subpoenas

  8    that was filed at Docket No. 98 shall be deemed resolved.              I

  9    don't know if Your Honor would like us to file some kind of

 10    order or stipulation to that effect, or if this is sufficient.

 11               THE COURT:    I think this is sufficient on the record.

 12               MR. MORRIS:    Okay.

 13               THE COURT:    Thank you.

 14               MR. MORRIS:    The parties also agree that the Advisors

 15    shall withdraw all of their objections to Highland's exhibits,

 16    which were also filed on the docket.        And forgive me, but I

 17    don't have that docket number.

 18               THE COURT:    Let's see.    Docket 82 --

 19               MR. MORRIS:    Okay.

 20               THE COURT:    -- is where the Advisors' objection to

 21    the Debtor's exhibits is.

 22               MR. MORRIS:    Right.   And then, finally, Highland

 23    stipulates that it does not contest the accuracy of the

 24    mathematical calculations in the Advisors' Exhibits G and H

 25    and that the charts are based on compensation information that




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            6 of 155
                                                   Page 228 of 888 PageID 3532
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  1    was maintained by Highland and that is accurate only as to the

  2    compensation numbers paid to the listed employees.

  3               MR. RUKAVINA:    And Your Honor, that is correct, and

  4    you'll see as the trial progresses Exhibit G is a PDF of

  5    Exhibit H, which is an Excel spreadsheet which is our damages

  6    calculation.    So I think, with that, with that stipulation --

  7    I understand that Highland has other objections -- but I think

  8    that that stipulation will go some way.         And then there's a

  9    couple more of my exhibits that are objected to.          We'll just

 10    take those in due course.

 11               THE COURT:    Okay.   All right.    So, are you asking me,

 12    then, to pre-admit all of the exhibits that are not objected

 13    to at this point?

 14               MR. MORRIS:    Highland does move for the admission of

 15    Exhibits 1 through 161, and at this point I understand there

 16    are no objections.

 17               THE COURT:    Okay.   And you confirm, Mr. Rukavina?

 18               MR. RUKAVINA:    I do.

 19               THE COURT:    All right.    So Highland Exhibits 1

 20    through 161 are now admitted.

 21         (Plaintiff's Exhibits 1 through 161 are received into

 22    evidence.)

 23               THE COURT:    And then turning to the Advisors' -- I

 24    think I called them the Funds earlier.        Sorry.    I get my

 25    nicknames mixed up at times.        The Advisors' Exhibits, it looks




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            7 of 155
                                                   Page 229 of 888 PageID 3533
                                                                          7


  1    like --

  2               MR. RUKAVINA:    Your Honor, it's Exhibit A through DD.

  3    I'd move for the admission of all of those, except G, H, L, Z,

  4    CC.

  5               THE COURT:    Okay.   So you aren't actually moving for

  6    admission of G and H, which you just talked about?

  7               MR. RUKAVINA:    Correct.

  8               THE COURT:    There's just a stipulation about --

  9               MR. RUKAVINA:    Correct.    Yeah.

 10               THE COURT:    -- the correctness?

 11               MR. RUKAVINA:    We'll address -- yeah.      We'll address

 12    that admissibility tomorrow when Mr. Norris testifies.

 13               THE COURT:    Okay.

 14               MR. RUKAVINA:    But with respect to all other exhibits

 15    other than G, H, L, Z, and CC, I'd move to admit them now.

 16               THE COURT:    Okay.   So except for, you said, L, Z, CC?

 17               MR. RUKAVINA:    Correct.

 18               THE COURT:    Okay.   And you agree?

 19               MR. MORRIS:    No objection to those exhibits.

 20               THE COURT:    Okay.   So those are admitted by

 21    stipulation as well.

 22          (Defendants' Exhibit A through DD, exclusive of G, H, L,

 23    Z, and CC, are received into evidence.)

 24               THE COURT:    All right.    Is that all of our

 25    housekeeping matters?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            8 of 155
                                                   Page 230 of 888 PageID 3534
                                                                          8


  1                MR. MORRIS:    It is.    I do have a copy of Exhibit 161,

  2    if I can approach --

  3                THE COURT:    You may.

  4                MR. MORRIS:    -- and give that to the Court.

  5                THE COURT:    And hopefully you have --

  6                MR. MORRIS:    And I have a couple of copies.

  7                THE COURT:    -- two copies.    One for Nate over here.

  8                MR. MORRIS:    Yeah.

  9                THE COURT:    Thank you.    All right.   You may proceed

 10    when you're ready.

 11                MR. MORRIS:    Okay.    Before I begin, I just do want to

 12    give the Court some sense of what we expect to do today and

 13    tomorrow.

 14                THE COURT:    Okay.

 15                MR. MORRIS:    We'll have our openings this morning.

 16    Highland intends to call as its first witness David Klos.              Mr.

 17    Klos will be followed by Mr. Waterhouse.         If time permits,

 18    we'll examine Mr. Seery.      And then, regardless of what time we

 19    complete, if we complete a little bit early, we'd like to stop

 20    for the day.    We're trying to manage a lot of schedules --

 21                THE COURT:    Uh-huh.

 22                MR. MORRIS:    -- and witnesses and third-party people

 23    who have said, I can do it Tuesday but not Wednesday, I can do

 24    it Wednesday but not Tuesday.

 25                THE COURT:    Uh-huh.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            9 of 155
                                                   Page 231 of 888 PageID 3535
                                                                          9


  1               MR. MORRIS:     So that's the plan, and I hope, I really

  2    do hope that we're able to get through those three witnesses

  3    today.

  4               THE COURT:    All right.    Well, you've answered one

  5    question I had:    Who goes first?     Because we, you know, could

  6    go either way because we have the breach of contract claim in

  7    the adversary and the request for administrative expense.

  8    There's an agreement that you go first?

  9               MR. MORRIS:    We do have an agreement --

 10               THE COURT:    Okay.

 11               MR. MORRIS:     -- that Highland will call the witnesses

 12    that are on its witness list, to the extent that it decides to

 13    do so, first.    And Mr. Rukavina will then cross without

 14    restriction to my direct.

 15               MR. RUKAVINA:    Exactly.    Rather than me recalling

 16    them, we'll just handle it all at one time, get the subpoenaed

 17    witnesses out of here.

 18               MR. MORRIS:    Because it's really the flip side of the

 19    same coin.

 20               THE COURT:    Okay.   All right.    Well, I have

 21    flexibility as far as when and how long we stop for lunch, as

 22    well as when we stop tonight.

 23               MR. MORRIS:    Right.

 24               THE COURT:    So it sounds like you're wanting maybe a

 25    definite stopping point tonight, or no?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           10 of 155
                                                   Page 232 of 888 PageID 3536
                                                                          10


  1               MR. MORRIS:    No, not really.

  2               THE COURT:    Okay.

  3               MR. MORRIS:    The only -- the most important thing for

  4    me is to get Mr. Waterhouse off the stand.

  5               THE COURT:    Okay.

  6               MR. MORRIS:     Because he's not available tomorrow.

  7               THE COURT:    Gotcha.    I've got you.

  8               MR. RUKAVINA:    Yeah.    I think that the -- that's

  9    exactly right.    Really, the concern that I have is that we

 10    actually finish early today.        So we're just informing the

 11    Court that, if we finish early, we ask the Court's permission

 12    to just resume tomorrow morning, because, again, we subpoenaed

 13    certain witnesses tomorrow that are not available today.

 14               THE COURT:    Okay.

 15               MR. RUKAVINA:    So we may finish early.       We may finish

 16    late.   Either way, we only have three witnesses for today, and

 17    the other ones are going to appear tomorrow.

 18               THE COURT:    Okay.   Gotcha.    All right.

 19               MR. MORRIS:    So, with that, I'd like to just proceed

 20    to my opening.

 21               THE COURT:    Uh-huh.

 22               MR. MORRIS:     And I do have -- I do have a slide deck

 23    for use, if I can approach.

 24               THE COURT:    Okay.   You may.    Thank you.

 25               OPENING STATEMENT ON BEHALF OF THE PLAINTIFF




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           11 of 155
                                                   Page 233 of 888 PageID 3537
                                                                          11


  1               MR. MORRIS:    All right.    I don't -- I don't know if

  2    Ms. Canty is putting this on the screen.         Maybe it's blank

  3    because we're in the courtroom.

  4               THE COURT:    Ms. Canty?

  5               MR. MORRIS:    Ah, there we go.     Yeah.

  6               THE COURT:    Ah.

  7               MR. MORRIS:    All right.    So the expectation was that

  8    Ms. Canty would help me out in going through the slide deck.

  9         This is going to be, you know, a somewhat lengthier

 10    opening than I'm used to, but this is a pretty fact-intensive

 11    case.

 12               THE COURT:    Uh-huh.

 13               MR. MORRIS:    We submitted what we thought was a

 14    fulsome description of the evidence in our proposed findings

 15    of fact and conclusions of law.        You know, the Court either

 16    has or will read that.      There is other evidence, obviously,

 17    that's going to be in the record that we didn't include there.

 18    And what I would do is I would describe what I'm about to say

 19    for the next hour or so --

 20               THE COURT:    Okay.

 21               MR. MORRIS:    -- is the greatest hits.      It's kind of a

 22    summary of what we think the evidence is going to show.

 23               THE COURT:    Okay.

 24               MR. MORRIS:    So if we can go to the next slide, Your

 25    Honor.   This is just a quick overview of the parties'




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           12 of 155
                                                   Page 234 of 888 PageID 3538
                                                                          12


  1    competing positions.     Highland is here to recover for breach

  2    of contract damages under an assortment of contracts.           There's

  3    five different contracts at issue.        It believes that it's

  4    entitled to unpaid fees and that it was -- that it will be

  5    entitled to recover attorneys' fees.

  6         Highland believes that the Advisors' claims, such as they

  7    are, are without merit, and we take that position for the

  8    following reasons.

  9         We believe that the contracts are clear and unambiguous on

 10    their face and they entitle Highland to a judgment.           But the

 11    overwhelming evidence, Your Honor, we believe that even if the

 12    Court found an ambiguity, that the parol evidence -- really,

 13    the contemporaneous evidence at the time these contracts were

 14    entered into, the parties' unequivocal, uninterrupted course

 15    of dealing, and all of the surrounding circumstances, will

 16    lead the Court to conclude that only Highland's interpretation

 17    is reasonable.

 18         Highland is going to prove that it fully performed, and

 19    it's going to prove that performance not just through its own

 20    witnesses but through the documentary evidence and through the

 21    Advisors' witnesses, the Retail Board minutes.          Mr. Waterhouse

 22    is going to acknowledge that.

 23         Your Honor is going to have to deal with the fact that the

 24    allegations of breach are particularly vague when it comes to

 25    what it is that Highland supposedly did or didn't do and when




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           13 of 155
                                                   Page 235 of 888 PageID 3539
                                                                          13


  1    and how it didn't do it.

  2         There's lawyers' letters that are part of the evidence of

  3    performance, because from October 16th until December 31st the

  4    Advisors sent five different letters by lawyers asserting all

  5    kinds of things except breach of contract, which is kind of

  6    telling.

  7         The evidence is going to show that the Advisors had all of

  8    the information that they claim Highland used to hide the

  9    ball.   The evidence is going to show that they knew what

 10    payments were projected.      They knew what payments were made.

 11    They -- it's in their books, their own books and records, the

 12    evidence is going to show.      They knew exactly when every dual

 13    employee was terminated.      Right?   They told the Retail Board

 14    time, time, time, time, and probably five more times again

 15    that they knew exactly -- that they were monitoring the

 16    services.

 17         So we don't think -- we don't think the evidence is going

 18    to show anything other than full performance.          But even if

 19    they -- even if they had some basis for a claim, they've

 20    either waived that claim or it's barred by the voluntary

 21    payment rule.

 22         If we can move to the next slide, please.

 23         This is just the contractual language of the payroll

 24    reimbursement agreements, Your Honor, and we believe that this

 25    is clear and unambiguous on its face.        Paragraph -- Section




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           14 of 155
                                                   Page 236 of 888 PageID 3540
                                                                          14


  1    2.01 specifically states that NexPoint shall reimburse

  2    Highland for the actual cost to HCMLP.        But note, Your Honor,

  3    actual cost is not lower case, it's upper case.          It's a

  4    defined term.    They could have used hamburger.        They could

  5    have used tofu, if that's really to your liking.          Actual cost

  6    has a meaning, a very specific meaning under this contract,

  7    and that's in the box below.

  8         Originally, the Advisors wanted to read out that second

  9    sentence.    You know, Mr. Norris, I think, is going to testify

 10    that he just assumed that Highland was adjusting the amounts

 11    paid as each dual employee left.       There's no basis for that

 12    assumption, and that assumption is completely undermined by

 13    the second sentence of the definition of actual cost, which

 14    says specifically that, absent changes pursuant to 2.02, this

 15    is the fee.    Such costs and expenses are equal to $252,000 per

 16    month.    Clear and unambiguous.

 17         If we can go to the next slide, please.

 18         Let's look at 2.02.     Right?    The argument is made, well,

 19    Highland had a unilateral obligation to make adjustments.

 20    Highland had a unilateral obligation to adjust the payments.

 21    Highland had a unilateral obligation to do this, that, and the

 22    other thing.    Where does the word Highland even appear in

 23    2.02?    It refers to the parties.     It refers to the parties

 24    reaching an agreement.      Highland can't act uni... not only is

 25    it not required to, it can't.       It just can't.     The parties may




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           15 of 155
                                                   Page 237 of 888 PageID 3541
                                                                          15


  1    agree.    That's what 2.02 says.

  2         If we can go to the next slide, please.

  3         As Your Honor may have seen from the evidence from the

  4    pretrial findings, proposed findings of fact, the parties

  5    actually amended their agreement just seven months after they

  6    signed it.    And I'm talking specifically about the payroll

  7    reimbursement agreements.      And that payroll reimbursement

  8    amendment specifically refers to what?        I mean, it does refer

  9    to Section 2.02, which is stated in the paragraph above, I

 10    believe.   But they're going to pay a flat fee of $168,000.

 11         The evidence is going to show that this payment was not

 12    based on any calculation of actual cost with an upper A and an

 13    upper C or a lower A and a lower C.        There's no analysis

 14    whatsoever.

 15         You're going to hear an assertion that it was based on a

 16    true up.   I think Dustin Norris is going to say that David

 17    Klos conducted some true up in December of 2018.          No true up

 18    exists.    Mr. Norris has absolutely no personal knowledge about

 19    what happened in December of 2018.

 20         Mr. Waterhouse, who signed the amendment, is going to

 21    testify that he has no idea where the number came from.

 22         So, so I actually think I'm a little bit confused.           The

 23    $168,000, and I'm going to clear this up right now, the

 24    $168,000 is the monthly charge in the original document.           So

 25    we actually confused that.      This is the -- this is Paragraph




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           16 of 155
                                                   Page 238 of 888 PageID 3542
                                                                          16


  1    3.01 from the original payroll reimbursement agreement, and

  2    that's the flat fee from that particular document.          I think

  3    that's the -- the HCMFA document.

  4         So, here's the story, Your Honor.        The story is pretty

  5    simple.   Late 2017, Highland had a horrible year.         They had to

  6    get more cash to Highland.      Mr. Dondero knew that he had

  7    personal tax exposure at the Advisors.        And so he just wanted

  8    to push money from the Advisors to Highland.         It knocked off

  9    two birds with one stone, right?       It got him a tax deduction

 10    at the Advisors level.      It got more cash into the Highland

 11    bank accounts.

 12         And the way they originally did that was to say, let's

 13    just do a subservice agreement.       The evidence is going to be

 14    undisputed that prior to 2018 Highland provided subadvisory

 15    front office services to both Advisors and never got paid a

 16    nickel.   Okay?   But now they needed to get some more money to

 17    Highland, so they came up with the concept of a subadvisory

 18    agreement.

 19         And what's on the screen, if we can go to Slide 5, is a

 20    page from a deck that was presented to Mr. Dondero in January

 21    of 2018 that showed -- the next slide, please, 5 -- that

 22    showed that NexPoint and subs and subsidiaries would be --

 23    would be paying $6 million for subadvisory and shared

 24    services.    That was an increase from less than $2 million.            It

 25    was a number that Mr. Dondero personally dictated.          Mr. Klos




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           17 of 155
                                                   Page 239 of 888 PageID 3543
                                                                          17


  1    is going to testify that Mr. Dondero came up with that number

  2    and that they had to use these various agreements to come up

  3    with a $6 million fee.      It's reflected in the document.       It's

  4    reflected in the contracts.      $6 million doesn't change from

  5    December 2017 until termination.       It's exactly what NexPoint

  6    paid.

  7         Interestingly, Your Honor, below it there's a reference to

  8    Acis.   Acis, I know you're familiar with.        This is January

  9    2018.   Highland is in control of Acis.       Acis has its own

 10    subadvisory and shared services agreements with Highland.

 11    It's not based on actual costs.       Nobody cares what the actual

 12    cost.   It's based on basis points.

 13         So they've got all of these -- you're going to hear

 14    testimony that they've got a myriad of ways of compensating:

 15    flat fees, percentage of assets under management, these basis

 16    points.   There's no rhyme or reason to it.        But the evidence

 17    is going to show and there'll be no dispute that in December

 18    2017 the number was fixed at $6 million and never changed.

 19         If we can go to the next slide.

 20         So, Mr. Klos is going to testify that each January, maybe

 21    early February, there was a meeting.        And the meeting was with

 22    Mr. Klos, Mr. Waterhouse, Mr. Dondero, and Mr. Okada.           The

 23    purpose of the meeting was to look back at the prior year and

 24    to talk about the future year.       And the meeting would take

 25    place at that particular moment in time because February 28th




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           18 of 155
                                                   Page 240 of 888 PageID 3544
                                                                          18


  1    was bonus day and they used this information to decide how

  2    much, you know, how the pie was going to be divided and what

  3    bonuses were going to be paid.

  4         So the documents that we're looking at right now come from

  5    the deck that was prepared by Mr. Klos, under Mr. Waterhouse's

  6    review, and was gone over with Mr. Dondero and Mr. Okada in

  7    this meeting.

  8         And this is -- this slide here shows Highland's projected

  9    continued losses.     You see that they were projected to lose

 10    $12 million on an operating basis in 2018.         Mr. Klos will

 11    testify that they weren't projected to change that much at

 12    all, but that -- you see the flip to a positive $46 million?

 13    That $56 million, between a negative 12 and a positive 46 --

 14    is I guess $58 million -- is really answered up above in 2019

 15    by those incentive fees.

 16         Those incentive fees were projected to occur.          That was

 17    supposed to be the incentive fee for MGM.         If you remember,

 18    Your Honor, that was going to be MGM.        It didn't happen.     And

 19    Your Honor knows, if it had happened, Highland would have

 20    gotten that $55 million, but according to Mr. Dondero and

 21    Nancy Dondero, Highland would have had to cancel the $70

 22    million of notes that they had signed.        But neither one of

 23    those things ever happened.      Right?

 24         The fact of the matter is if you reduce, if you eliminate

 25    that $55 million, and you should, they still would have been




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           19 of 155
                                                   Page 241 of 888 PageID 3545
                                                                           19


  1    losing more than $12 million on an annualized basis.

  2         If we can go to the next slide, please.         Because this is

  3    another critical piece of evidence here.         You've got the

  4    subadvisor fees and the shared services expenses.          You'll

  5    recall, Your Honor, I said that they reached an agreement on

  6    the $6 million number in December.        Well, here's the January

  7    annual review.    It's presented to Mr. Dondero.        And we've

  8    highlighted for you the projected subadvisor and shared

  9    services expenses.     And if you add those two numbers up, it's

 10    not a coincidence that they add up to $6 million.          And the

 11    $3,024,000 number, divide it by 12, you come up with the

 12    $252,000 that was in the subadvisory agreement and that

 13    ultimately became the payroll reimbursement agreement.

 14    $3,024,000 divided by 252 -- divided by 12 equals $252,000.

 15         And the shared services expenses, there are actually two

 16    pieces there.    And one of the things that I think is very

 17    important for the Court to know is that, prior to 2018,

 18    NexPoint's shared service agreement with Highland had a

 19    complicated mechanism for calculating the fee for the shared

 20    services.   One option was actually actual cost.         But Mr. Klos

 21    is going to tell the Court, he's going to testify that they

 22    didn't use that option, they used a different option, and they

 23    wound up paying based on a percentage of AUM, A-U-M, Assets

 24    Under Management.

 25         But here's the important point.       At this moment in time,




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           20 of 155
                                                   Page 242 of 888 PageID 3546
                                                                           20


  1    to get to Mr. Dondero's $6 million number, they amend the

  2    shared services agreement for NexPoint to provide for a flat

  3    fee.    And when you combine the flat in the NexPoint shared

  4    services agreement with the $80,000 flat fee in the NexPoint

  5    Real Estate Advisors' shared services agreement, which is a

  6    subsidiary of NexPoint, that's how you get to the $2,976,000.

  7    Not a coincidence here.      It's three agreements.      It's the

  8    subadvisory agreement.      It's the newly-amended and restated

  9    shared services agreement with NexPoint.         It's the new shared

 10    -- the newly-amended shared services agreement with NexPoint

 11    Real Estate Advisors.     Add them up.     $6 million.    Right?

 12           So, they're telling -- picture it.      They're in a meeting

 13    room at Highland's offices.       Everybody's sitting in Mr.

 14    Dondero's office.     They're walking through this.       And Mr. Klos

 15    is going to testify that here's where we told Jim this is how

 16    we're going to execute your plan.        You've given us an

 17    instruction to get to $6 million.        Here's the plan.     Okay?      No

 18    dispute.

 19           So, a funny thing happens.     Right?   No so funny, actually.

 20    The deck is dated January 26th.       I think Mr. Klos says the

 21    meeting happened at or around that time.         But as Your Honor

 22    knows, just a couple of days later, Josh Terry filed Acis for

 23    bankruptcy.    And what you're going to see in the deck, which I

 24    don't have the slide for, is that Highland had projected that

 25    it was going to receive almost $10 million in revenue through




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           21 of 155
                                                   Page 243 of 888 PageID 3547
                                                                          21


  1    the Acis shared services and subadvisory agreement and that

  2    the Acis revenue represented Highland's second-largest

  3    projected source of revenue for 2018.        And days after they

  4    have this meeting and go through this, Josh Terry files Acis

  5    for bankruptcy and all of a sudden all of that revenue is

  6    threatened.

  7         So the very first thing they do in March, not in this deck

  8    but it's in the proposed findings, the very first thing they

  9    do when they realize all of this revenue is at risk is they

 10    say, let's duplicate that subadvisory agreement that we just

 11    prepared for NexPoint for HCMFA.       The projections that we just

 12    looked at, you'll never find a projection showing that there

 13    was any expectation in January 2018 that HCMFA was going to

 14    pay subadvisory agreements.      They were supposed to just

 15    continue getting them for free.       But after the Acis bankruptcy

 16    was filed and there was a loss, a potential loss of up to $10

 17    million in revenue, they needed to get more money to Highland,

 18    because that revenue was going to be -- was threatened and

 19    could be frozen.     So that this was the plan they came up with.

 20    Just duplicate that agreement for HCMFA.         And that's what they

 21    did, and that's what the evidence shows.

 22         And the interesting thing, Your Honor, because I don't

 23    remember what the exhibit number is, but you'll look -- we'll

 24    look at the subadvisory agreement that was prepared.           There's

 25    nothing about actual cost.      It is flat fee agreements.       And




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           22 of 155
                                                   Page 244 of 888 PageID 3548
                                                                          22


  1    for NexPoint it was $252,000.       Right?   This was the first way

  2    they were going to address the crisis that was presented by

  3    Acis.

  4         Days later, after coming to that solution, a new problem

  5    emerged.   Lauren Thedford, an attorney at Highland who also

  6    served as the secretary of the Advisors -- she was a lawyer,

  7    she was an officer of the Advisors -- she was told by outside

  8    counsel, you can't use the subadvisory agreement.          Why?

  9    Because (a) it can't be retroactive to January 1st; and (b) it

 10    can only be used if it's approved at an in-person meeting of

 11    the Retail Board.     And they realized that that meeting

 12    wouldn't take place until June.

 13         And so that meant Highland was going to be without all of

 14    this revenue that it desperately needed at the time that they

 15    intended to make retroactive to January 1st, they were going

 16    to go six months without any of the subadvisory revenue that

 17    they were hoping to place in Highland's lap through NexPoint

 18    and HCMFA.

 19         Needed a solution.     They came up with the payroll

 20    reimbursement agreement.      It's the only reason it exists.        Had

 21    they -- had Lauren Thedford not gotten the advice, and Mr.

 22    Klos will testify to this, had Lauren Thedford not gotten the

 23    advice that the subadvisory agreements couldn't be retroactive

 24    and couldn't be adopted without Retail Board approval in an

 25    in-person meeting, payroll reimbursement agreements would




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           23 of 155
                                                   Page 245 of 888 PageID 3549
                                                                            23


  1    never exist.    And so she said the only way around it is to use

  2    this payroll reimbursement agreement, because that can be

  3    retroactive and it doesn't need Retail Board approval.

  4         And so if you go to Slide 8, please.        This is -- this is

  5    the most classic parol evidence I have ever seen.          Because,

  6    remember, the payroll reimbursement agreements aren't signed

  7    until May.    And this is an email exchange between Mr. Klos and

  8    Ms. Thedford, a lawyer, an officer of the Advisors.            And I'm

  9    not going to read it here, Your Honor, but it shows Mr. Klos

 10    saying, actual -- let's just start at the top.          He's

 11    protesting.    He says, What do you mean, actual costs?         It

 12    would be creating a ton of internal work that isn't adding any

 13    value to the overall complex.       It would involve subjective

 14    assumptions.    He doesn't want to do this.

 15         And Lauren says, look, I'm open to changing the

 16    definition, but we have to treat it as reimbursement.

 17         And Dave's response at 10:56 the same day is, Could we say

 18    Actual Cost?    Now he's using uppercase letters.        Can we say

 19    Actual Cost is determined at the outset of the agreement?

 20    Have a schedule as of January 1, 2018 and say the actual cost

 21    will be set out in the schedule and paid in monthly

 22    installments for the term of the agreement?         That way, the

 23    exercise is performed only once.

 24         And then he says, and if the parties don't like it, they

 25    can terminate or renegotiate.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           24 of 155
                                                   Page 246 of 888 PageID 3550
                                                                          24


  1         And that's exactly what the payroll reimbursement

  2    agreement says.    She says -- Lauren's response is, I think

  3    that's workable.     Do you have a methodology for the outset

  4    determination?

  5         And you'll see the rest of the email during Mr. Klos's

  6    testimony.    He actually does create a list of dual employees

  7    with allocations of how much time they're going to work with

  8    these entities, but he's going to explain to you very clearly

  9    it's just his own subjective numbers in his head.          And what he

 10    -- the point of the exercise was to back into the $252,000

 11    that was necessary so that we could get to the $6 million that

 12    Mr. Dondero determined.

 13         It's not a coincidence that you have a list of two dozen

 14    or more employees, with allocations as random as nine percent,

 15    that you wind up with a $252,000 number.         It's not a

 16    coincidence.    It was, Mr. Klos is going to tell you, that was

 17    the point of the exercise.      Okay?    This is parol evidence like

 18    I've never seen before.

 19         So they signed the agreement in May.        And you have to

 20    understand -- this will be more evidence, Your Honor --

 21    everybody -- nobody's going to contest this evidence.           The

 22    dual employees on Exhibits A to the payroll reimbursement

 23    agreements, they're being terminated before the document was

 24    even signed.    Four of the dual employees had been terminated

 25    before the document was even signed.        So they created a




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           25 of 155
                                                   Page 247 of 888 PageID 3551
                                                                          25


  1    document based on employees who weren't even there when Mr.

  2    Waterhouse signed this agreement on behalf of the Advisors.

  3         But wait.    There's more.    During the course of 2018, more

  4    dual employees left.     So that by the time you get to December,

  5    nine of the 26 dual employees have been terminated.           More than

  6    a third of the people on the list have been terminated.           And

  7    what do they do?     They amend the agreement.      This is the

  8    amendment that I was mistakenly referring to earlier.           This is

  9    the amendment, Your Honor, on Slide 9.        They amend the

 10    agreement, because Highland was still needing cash, the

 11    Advisors still had taxable income, so Mr. Dondero realized, I

 12    can kill two birds with one stone again.         Let me shelter more

 13    of the income, let me get some more cash to Highland because

 14    they need some more cash.      And so he decides, send $2.5

 15    million from Highland -- from the Advisors to Highland.           And

 16    they do that with two amendments to the payroll reimbursement

 17    agreements, one for $1.3 million, one for $1.2 million.

 18         Mr. Klos is going to testify no true up -- this is the

 19    point of the true up.     I think Mr. Norris is going to say that

 20    Dave told him that there was a true up in December 2018.

 21    These are random numbers that are designed just to keep

 22    Highland chugging along and giving Mr. Dondero a tax break.

 23    There's no analysis.

 24         And it makes no sense.      The concept that there was a true

 25    up is just categorically ridiculous.        Why?   Mr. Waterhouse is




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           26 of 155
                                                   Page 248 of 888 PageID 3552
                                                                          26


  1    going to tell you that NexPoint was paying on an annualized

  2    basis an additional 40 percent over the annual cost based on

  3    the $252,000 and that HCMFA was paying almost 25 percent more.

  4    So they're paying 40 percent more, 25 percent more, at a time

  5    when more than one-third of the dual employees have been

  6    terminated.    How could that possibly be a true up?        How could

  7    that possibly reflect actual costs?        It doesn't.    And it

  8    didn't.

  9         Dual employees continue to be terminated.         The calendar

 10    turns to 2019.    By the time Highland files for bankruptcy, I

 11    believe the number is 14.      Fourteen of the 26 dual employees

 12    have been terminated.     And here is undisputed fact.        Not one

 13    time -- you know what, I want to take a step back for a

 14    second, Your Honor.     I'm talking quickly.

 15         These agreements were in effect for three years.          They're

 16    signed as of January 1, 2018, and they're in effect basically

 17    until the end of 2020.      It's a three-year period.      It's 36

 18    months.   There's no dispute that Mr. Dondero controlled the

 19    Advisors and Highland for two of those three years.           For 2018,

 20    even after the bankruptcy was filed, through the end of 2019,

 21    Mr. Dondero was in sole control of everything.

 22         Why is that important?      That's the course of dealing, Your

 23    Honor.    The unequivocal, uninterrupted course of dealing.          In

 24    those first two years, the Advisors paid a flat fee under the

 25    payroll reimbursement agreement.       Nobody cared that dual




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           27 of 155
                                                   Page 249 of 888 PageID 3553
                                                                          27


  1    employees were leaving.      There will be no evidence that

  2    anybody said, how come we're not paying actual costs?           They

  3    just did it, and they did it because that was the plan.           And

  4    they have a document and an agreement that effectuated that

  5    plan, and everybody stuck to the plan.        For two years.     And

  6    the undisputed evidence is going to show that nothing changed

  7    after the bankruptcy, that the Advisors were charged and paid

  8    the exact same amounts in the 12 months in 2020 that they paid

  9    in the 24 months in 2018 and 2019. Nothing changed.

 10         Nobody asked for a change in 2018.        Nobody suggested that

 11    -- because everybody knew -- here's another piece of evidence.

 12    It's enormous.    Your binders have dozens of what are called

 13    monthly headcount reports.      Right?    And we may look at one of

 14    them, but I'm going to tell you what they are right now in

 15    case we don't.    Those monthly headcount reports identify --

 16    name every single employee who ever worked for Highland since

 17    like 2007.    It tells you when they were hired.        It tells you

 18    when they were fired.     It tells you what position they had.

 19    And it was distributed to a whole host of people, including

 20    D.C. Sauter, Dennis Norris, Lauren Thedford, Frank Waterhouse

 21    -- i.e., every single officer of the Advisors.          Every single

 22    officer of the Advisors got a report every single month that

 23    told them exactly who was terminated.        And the reports would

 24    actually highlight the terminations in yellow in case somebody

 25    didn't know.    So that everybody, every one of the officers




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           28 of 155
                                                   Page 250 of 888 PageID 3554
                                                                             28


  1    knew, Frank Waterhouse knew, had the information in his lap

  2    when he signed the agreements, that four of the 26 dual

  3    employees had already been terminated.

  4         There's going to be so much more evidence about what they

  5    knew.

  6         But fast forward to 2020.      So, Highland files for

  7    bankruptcy.    Most of the dual employees are already gone.

  8    Nobody is saying a word about it.        Nobody cares.    Why?

  9    Because this is a pay-for-service agreement.         It has nothing

 10    to do with who provides the services.        It's important that the

 11    services be provided.     And Highland continued to perform.

 12         There will be no evidence, there's been no allegation,

 13    they filed an administrative claim, they have filed two

 14    different -- a response, they filed their pretrial brief.

 15    They don't make any allegation that Highland failed to perform

 16    front office investment advisory services.         As their pleading

 17    says, their position is simple.       Dual employees left.       We

 18    shouldn't have to pay for dual employees that left.

 19         The Advisors are not in the business of consuming dual

 20    employees.    They're in the business of providing investment

 21    advisory services to the Retail Funds and to other investment

 22    vehicles.    That's the point of the exercise.       They are going

 23    to testify that is the reason they exist, is to serve their

 24    clients.

 25         And so does it matter to the Advisors if one person or six




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           29 of 155
                                                   Page 251 of 888 PageID 3555
                                                                          29


  1    people or 24 people provide the services?         It shouldn't.    The

  2    important thing is that they're getting the services that

  3    allow them to satisfy their contractual obligations to their

  4    clients.

  5         This is all -- it's just -- it's just all so simple.           It's

  6    a lot of facts, but it's all just so simple.         They continued

  7    to pay not because they didn't know dual employees had left.

  8    They knew that.    They continued to pay because they were

  9    getting uninterrupted service, as they told the Retail Board

 10    time and time and time again.

 11         If we can go to Slide 10, I'm going to try and pick it up

 12    just a bit here.

 13         The calendar turns to 2020, Your Honor.         This is more, you

 14    know, particularly relevant evidence because it's another

 15    back-and-forth between Ms. Thedford and Mr. Klos.          It's

 16    January 2020.    And I note the timeline, Your Honor, because,

 17    you know, this is the moment that Mr. Dondero is about to

 18    surrender control to the Independent Board.         But there's no

 19    disputes.    There's no disputes.     And that's the beauty of this

 20    particular email exchange.      Nobody is questioning, how much am

 21    I paying?    Nobody is questioning, what services are you

 22    providing?    But Lauren does have some questions about --

 23    because the Retail Board.      That's what prompts this.       This has

 24    nothing to do with the Advisors or anything.         The Retail

 25    Board.   And you'll see it in the full email.        The Retail Board




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           30 of 155
                                                   Page 252 of 888 PageID 3556
                                                                          30


  1    has asked some questions about, you know, how does the

  2    Advisors pay for expenses?

  3         And Lauren said to Dave, and you'll see it in the email,

  4    wasn't there something about those Exhibit As?          And Dave's

  5    response is, Those were a point-in-time estimate as of the

  6    beginning of 2018.     Half the people are gone now.       And if you

  7    were to reallocate them now, all the percentages would be

  8    different.

  9         And Mr. Klos is going to testify that the reason that the

 10    percentages would be different is exactly what I just said,

 11    and that is this is a pay-for-service agreement.          When the

 12    dual employees were terminated, Highland didn't just stop

 13    providing the services that those people were performing.

 14    They reallocated them.      That's exactly what he's telling her.

 15    It's exactly what everybody knew to be true.

 16         So if in January 2018 one of the dual employees was

 17    terminated and his job, let's say, was to give investment

 18    advice on Asset A, Highland didn't just suddenly stop

 19    providing investment advice on Asset A.         Somebody was given

 20    the responsibility to do that.       And that's exactly -- Mr. Klos

 21    is going to tell you that's exactly what that means there,

 22    that all the percentages would be different if you did it

 23    again today because you had the departure of all of these dual

 24    employees and somebody picked up the slack.         Makes total

 25    sense.   It's a pay-for-service contract.        That's what it is.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           31 of 155
                                                   Page 253 of 888 PageID 3557
                                                                             31


  1    It's a flat fee contract.

  2           Later the same month -- if we can go to the next slide --

  3    Mr. Waterhouse, who is the CFO, asks Mr. Klos, how much --

  4    remind me again, how much is paid under those agreements?

  5    Without equivocation, without ambiguity, flat, flat, flat.

  6    Except for the one HCMFA shared services agreement that had a

  7    very, very narrow band, and Mr. Klos will testify as to why

  8    that band existed.

  9           But there's that $6 million number again, if you look at

 10    NPA.    That's NexPoint.    $252,000 plus $248,000 equals $500,000

 11    times 12.    Six million.    The $248,000 is for shared services.

 12    It's broken out, as I mentioned earlier, between NexPoint and

 13    NexPoint Real Estate Advisors.       Here we are, January 2020, Mr.

 14    Klos again confirming for Mr. Waterhouse, flat fee, flat fee,

 15    flat fee, $6 million.

 16           If we can go to the next slide.

 17           I've alluded to some of this, Your Honor.       The Advisors

 18    contemporaneously had all of the relevant facts.            This is

 19    just, again, the highlights here.

 20           If you look at Exhibit 14, it's the Advisors' responses to

 21    the Debtor's interrogatories.       And if you look at

 22    Interrogatory 3 and 4, it's going to provide a list of each of

 23    the dual employees that were attached as the Exhibit As to the

 24    payroll reimbursement agreements and it's going to give you

 25    the date of termination for each person.         And then




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           32 of 155
                                                   Page 254 of 888 PageID 3558
                                                                          32


  1    Interrogatory -- the response to Interrogatory No. 4 simply

  2    says, we knew contemporaneously when these people left.

  3    They've admitted it.

  4         The monthly headcount reports, as I said, there's 12 plus

  5    27, there's at least 39 of them.       Thirty-nine monthly.

  6    Because I took it back to October 2017.         I think it goes back

  7    much earlier, but that's what we produced, just to make sure

  8    the Court had the evidence, that this was a process of

  9    disclosure of hires and terminations that was provided before

 10    these contracts even existed.       And it's a practice that

 11    continued right up until January 2021, when these contracts

 12    ended.   Every single month.     The same analysis.      Went to every

 13    single officer of the Advisors.

 14         And they're -- and Mr. Norris is going to sit in that box

 15    tomorrow and he's going to say he was shocked, shocked, that

 16    Highland was charging this money for these employees who were

 17    terminated.    We'll see how that goes.

 18         Annual reviews.     Exhibits 86 and 142.     These are portions

 19    of the annual reviews where Mr. Dondero is just given a wealth

 20    of information about hires, termination, compensation budgets,

 21    everything one would need to know from the human resources

 22    department.    If Mr. Collins comes in and testifies, he's going

 23    to testify -- and I didn't depose him -- but he had no choice.

 24    He's the human resources officer reporting to the owner of the

 25    company.   If he says anything other than I kept him fully




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           33 of 155
                                                   Page 255 of 888 PageID 3559
                                                                          33


  1    informed about staffing issues, I'll be shocked.

  2         Representations to the Retail Board.        They represented to

  3    the Retail Board a couple of times that there has been no

  4    material attrition in employees.       How can they make that

  5    representation if it's uninformed?        They didn't.    It was

  6    completely informed.     The Advisors knew exactly what was going

  7    to be paid.

  8         We looked at the projections in the annual review that was

  9    given to Mr. Dondero.     Mr. Waterhouse is going to testify that

 10    there were 13-week forecasts that were prepared.          The

 11    forecasts showed every single payment that was going to be

 12    made by the Advisors under these intercompany agreements.

 13    He's going to testify that before the Independent Board was

 14    appointed he would go through those forecasts with Mr. Dondero

 15    every week, and then after the Independent Board was appointed

 16    he would still do it with Mr. Dondero, although with less

 17    frequency.    And Mr. Waterhouse started going through those

 18    forecasts with the Independent Board, and sometimes Mr.

 19    Dondero would participate.      Right?    In the early -- in the

 20    first six months of this case, everybody was looking to

 21    cooperate.    Right?   Before the board said, we need to get this

 22    done.

 23         They knew what was going to be paid.        Mr. Waterhouse, the

 24    unequivocal evidence will be that Mr. Waterhouse approved all

 25    payments.    You may hear some argument about the shared




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           34 of 155
                                                   Page 256 of 888 PageID 3560
                                                                          34


  1    services agreement, and Highland was supposed to do this or

  2    supposed to do that.     You're going to have the evidence in

  3    front of you.    Mr. Waterhouse is going to admit he had to

  4    approve all of the payments.       He is not just the CFO of

  5    Highland.    He is the treasurer of the Advisors, charged with

  6    the responsibility of finance and accounting.          He's the

  7    approval person.

  8          You're going to see emails from Kristen Hendrix that say,

  9    Frank, here's the payments I'm going to make today.           Is it

 10    okay?    And he would say, go ahead.      And you're going to see,

 11    and we just have a couple of examples, but he's going to

 12    testify that was the practice.       And you'll see in the examples

 13    it says $252,000, payroll reimbursement.         Or subadvisory.

 14    Right?    Mr. Waterhouse -- how do we know the Advisors knew

 15    what would be paid?     From the projections.      How do we know

 16    that they knew what would be paid?        Mr. Waterhouse approved

 17    it.

 18          But wait, there's more.     Mr. Waterhouse is also going to

 19    admit that every single payment that was made by the Advisors

 20    under these intercompany agreements is reflected in the

 21    Advisors' books and records.       Right?   Their own books and

 22    records.

 23          They represented to the Retail Board on October 23rd that

 24    all amounts due and payable under these agreements were paid

 25    in full.    How do you make that representation if you don't do




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           35 of 155
                                                   Page 257 of 888 PageID 3561
                                                                          35


  1    the due diligence to know what was paid and whether -- whether

  2    it should have been paid.      Right?

  3         So they -- they've either got to -- Your Honor is going to

  4    have to decide, did they lie to the Retail Board or are they

  5    lying in this courtroom?      Because they can't be true.       You

  6    can't reconcile what they told the Retail Board with what they

  7    may tell you today and tomorrow.        It can't be reconciled.       You

  8    can't tell the Retail Board Highland is fully performing,

  9    we've paid everything we're supposed to pay Highland, and then

 10    come into this courtroom with a contrived administrative claim

 11    to say, oh, gee, they didn't provide services and we overpaid.

 12    You can't reconcile the two.

 13         I ask the Court to listen carefully to the testimony and

 14    see if there's a credible witness for the Advisors who can

 15    explain how they told the Retail Board fifty times that

 16    Highland was performing and that they paid everything, and yet

 17    somehow something fell through the cracks.

 18         Again, think about the whole purpose of this.          The purpose

 19    is for Highland to provide services to enable the Advisors to

 20    fulfill their obligations to the Retail Board, to the Retail

 21    Funds, and the other investment vehicles who were their

 22    clients.    That's the purpose.     And that's exactly what

 23    happened.

 24         They knew what services were provided.         We're just going

 25    to do a quick greatest hits here of some of the retail




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           36 of 155
                                                   Page 258 of 888 PageID 3562
                                                                          36


  1    representations by the Advisors.       You know, there had been an

  2    objection that some of the statements were made by people

  3    other than Advisors' representatives, so I took -- I took a

  4    little timeline here and focused really solely on the

  5    representations that were made by the Advisors and their

  6    officers.

  7         In June, Mr. Post told the Retail Board, the level and

  8    quality of services are being monitored.         I mean, think about

  9    that.    Being monitored.    It's a very active word.      He is not

 10    aware of any disruptions in the service levels provided to the

 11    Funds.

 12         A couple of months later, Mr. Norris -- we'll hear from

 13    him tomorrow -- he noted that there have been no issues or

 14    disruptions, no issues or disruptions in the services as a

 15    result of the bankruptcy.

 16         The next month, the Advisors state in a memo -- I believe

 17    it's in a memo -- the Advisors and HCMLP believe the current

 18    shared services being provided are generally consistent with

 19    the level of service that has historically been received.            How

 20    do they come into this Court and tell you we breached the

 21    agreement by failing to perform when they have told their

 22    clients exactly the opposite?

 23         On October 13th, Mr. Sauter, a lawyer, the general counsel

 24    of the Advisors, noted that there has been no material

 25    attrition to date with respect to employees.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           37 of 155
                                                   Page 259 of 888 PageID 3563
                                                                          37


  1         Somebody's going to come in here and say, oh, because of

  2    the bankruptcy, Highland was firing people?         That's not true,

  3    as a practical matter.      Maybe a couple people on a net basis.

  4    Didn't have a material impact.

  5         Ten days later, the Advisors told their Retail Board, all

  6    amounts owed by each of the Advisors pursuant to the shared

  7    services arrangement -- that's not a mistake there, it's a

  8    lower case S, a lower case S, a lower case A, because it

  9    encompasses both shared services and front office investment

 10    advisory services -- all amounts owed pursuant to the shared

 11    services arrangement with HCMLP have been paid as of the date

 12    of this letter.     That's October 23rd.

 13         Go to the next slide.      It continues.    Five days later, the

 14    Advisors represent that the quality and level of services

 15    provided to the Funds by the Advisors and pursuant to the

 16    shared services arrangements have not been negatively impacted

 17    to date.   No negative impact.      October 28th.    No negative

 18    impact.

 19         November 5.    Mr. Norris noted that there had not been any

 20    disruption to the services provided to the Funds by HCMLP

 21    pursuant to the shared services agreement and that he expects,

 22    his expectation, is that such services will continue to be

 23    provided in the normal course.

 24         Your Honor may remember that on November 30th Highland

 25    gave notice of termination.      We had just gotten our disclosure




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           38 of 155
                                                   Page 260 of 888 PageID 3564
                                                                          38


  1    statement approved and time to execute.         Right?    The world is

  2    going to change.     So we give notice of termination on November

  3    30th.   And the next day, the Advisors do what they're supposed

  4    to and they tell the Retail Board, we finally got that notice

  5    of termination that we were planning for.         And they say, we're

  6    going to -- Mr. Post states that the Advisors expect to be

  7    able to continue to receive the services through a transfer of

  8    personnel.

  9         You can't expect to continue to receive services that

 10    you're not receiving.     Right?    This is the morning after.

 11    This is what they report to the Retail Board.            Don't worry.

 12    They've terminated.     Don't worry.     We're going to continue to

 13    receive these services.

 14         As late as December 10th and 11th, Mr. Sauter noted that

 15    there had been no material attrition to date with respect to

 16    the employees.    And they're here suing on a breach of contract

 17    theory for failure to provide services?

 18         Mr. Waterhouse, the Advisors' treasurer, is going to

 19    testify that he knows of no services that Highland failed to

 20    perform postpetition.

 21         These are excerpts from his deposition, but you can

 22    imagine that I might turn that into leading questions that'll

 23    go something like this:      You were unaware of any specific

 24    service under the shared service agreements that Highland

 25    failed to perform at any time from the petition date until




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           39 of 155
                                                   Page 261 of 888 PageID 3565
                                                                          39


  1    they were terminated in early 2021; isn't that correct?           And

  2    he's going to have to say, I'm not aware of any.

  3         Mr. Waterhouse is going to have to answer the question

  4    this afternoon:     You never had any discussion with anybody at

  5    any time about Highland's failure or alleged failure to

  6    provide services under the shared services agreement at any

  7    time from the petition date until they were terminated in

  8    early 2021; isn't that correct, sir?        He's going to have to

  9    say, I have no recollection of that.

 10         This is their officer.

 11         Last slide, 16.     It's really important that the Court

 12    appreciate the complete change of position that the Advisors

 13    have undertaken here, because until they filed their pretrial

 14    brief their whole theory of the case was that, you know, the

 15    -- Highland failed to perform some services under -- some

 16    unidentified, vague services under the shared services

 17    agreement and that Highland overcharged them and they overpaid

 18    under the payroll reimbursement agreement because all these --

 19    all these dual employees were gone.        That was their theory of

 20    the case.

 21         Their theory of the case was that we had the obligation,

 22    right, Mr. Norris testified on March 5th and he's going to

 23    testify tomorrow that he believed that Highland had the

 24    obligation to charge the right fees based on the dual

 25    employees.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           40 of 155
                                                   Page 262 of 888 PageID 3566
                                                                           40


  1         In their pretrial brief, they've now completely changed

  2    their position, and they're -- I think they're basically

  3    agreeing with our interpretation of the contract, that it was

  4    a fixed fee unless changed by the parties.         Because on March

  5    28th or March 29th, I took Mr. Waterhouse's deposition and he

  6    told -- he told -- you know, he testified.         I don't want to be

  7    pejorative.    He testified that he recalled that in December

  8    2019 Dave Klos did an analysis that showed that Highland was

  9    making millions of dollars off these agreements and that --

 10    and that Mr. Waterhouse took that information and went to

 11    Isaac Leventon and Scott Ellington and Fred Caruso -- Mr.

 12    Caruso was an employee of DSI, the Debtor's then-financial

 13    advisor -- and he spoke to the three of them and he said,

 14    guys, we're overpaying, the Advisors are overpaying.           And all

 15    three uniformly told him:      Can't do anything about it because

 16    of the automatic stay.      You can't do anything about it because

 17    of the automatic stay.      That's what he's going to testify to.

 18    That's what he said took place.

 19         Now, complete about-face, and so now they're saying that

 20    they should be relieved of any obligation to pay and they

 21    should get all their money back because Highland breached its

 22    duty under Section 2.02 of the payroll reimbursement agreement

 23    that says the parties shall negotiate in good faith.           So

 24    they're saying Highland didn't negotiate in good faith because

 25    Frank spoke to Fred Caruso and Fred Caruso said there's




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           41 of 155
                                                   Page 263 of 888 PageID 3567
                                                                          41


  1    nothing we can do about it because of the automatic stay.

  2    That's the story.     That's their -- that's their theory today.

  3         There's no excuse for them being surprised by Mr.

  4    Waterhouse's testimony.      None.   You may hear somebody say we

  5    couldn't speak to Mr. Waterhouse.        And I know that his counsel

  6    has done the right thing, because he has an obligation under

  7    his agreement with Highland not to cooperate in claims against

  8    them, so he's done the right thing.        But that, that advice,

  9    Mr. -- I don't know when the advice was given, obviously, but

 10    I know from the representations that have been made by counsel

 11    to the Advisors, that wall came down between them and Mr.

 12    Waterhouse last summer.

 13         And we know it didn't come down before that because Your

 14    Honor already has a litany of evidence showing that D.C.

 15    Sauter had multiple conversations with Mr. Waterhouse in the

 16    spring of 2021.     Remember, he submitted not one but two

 17    declarations in support of HCMFA's notes defense.          And

 18    remember that?    We'll talk about this more next week.          Mr.

 19    Sauter conducted an internal investigation in the spring of

 20    2021 to try to figure out where did these HCMFA notes come

 21    from.   And remember, Frank Waterhouse told him those notes

 22    exist because we needed to document it for the auditors.           Mr.

 23    Waterhouse knew exactly why those notes existed.

 24         And so how do the Advisors do an investigation, interview

 25    Mr. Waterhouse three times in the spring of 2021 about the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           42 of 155
                                                   Page 264 of 888 PageID 3568
                                                                           42


  1    notes, and never ask him a question about this?          And Mr.

  2    Waterhouse is going to testify he's never seen the

  3    administrative claim and he's never spoken to anybody in the

  4    world about the administrative claim until I deposed him,

  5    other than his counsel.

  6         How do they do that?      Frank Waterhouse is in their

  7    offices.   There's investigations being conducted about HCMFA's

  8    notes.   They're trying to figure out the origin of the notes.

  9    D.C. Sauter.    And nobody asks him, what about this

 10    administrative claim?     Do you know why we kept paying that

 11    money?   Never happened.     Maybe they would have learned at that

 12    time that Mr. Waterhouse thought that something happened in

 13    December of 2019 that was relevant.

 14         The story that they've now adopted completely contradicts

 15    their early version, earlier theory of the case.          Their

 16    earlier of the case, Your Honor, if you look at their

 17    response, which was filed in December, it's filed as Exhibit

 18    13, at Paragraph 6, their response to our waiver argument was

 19    we could not have waived, we could not have waived because the

 20    issue didn't crystallize until November 2020.          That's when

 21    they said they first learned about all these problems.             And

 22    now they've done a complete about-face and they say no, wait,

 23    Frank knew about it, Frank -- Dave Klos told him about the

 24    overpayments, Dave Klos told Frank, and Frank went to Caruso,

 25    and Caruso said nothing we can do about it, and that's a




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           43 of 155
                                                   Page 265 of 888 PageID 3569
                                                                          43


  1    violation of 2.02.     And that's their theory.      Really.

  2    Completely contradicts.

  3         So all they've actually done now, if the Court actually

  4    buys that argument, is strengthen our waiver argument even

  5    more.   Because now Frank knew in December 2019 -- I don't

  6    think the Court's ever going to credit his testimony, but if

  7    the Court did so, okay, fine, heads I win, tails they lose.

  8    It's just waiver.     He knew -- he knew at the outset of the

  9    overpayments.

 10         And here's the really interesting thing.         He never told

 11    Mr. Dondero.    And he never told Mr. Norris and he never told

 12    Mr. Sauter and he never told Ms. Thedford and he never told

 13    the Independent Board.      He never told anybody.      But if you buy

 14    the story, you have to buy the whole story.         You can't just

 15    buy the fact that Mr. Waterhouse didn't tell anybody.           You

 16    also have to buy the fact that apparently Mr. Leventon never

 17    told Mr. Dondero.     Mr. Ellington never told Mr. Dondero.

 18    Because if they had told Mr. Dondero, we would have had this

 19    story -- we would have heard about this story in the

 20    administrative claim or we would have heard about the story in

 21    the response.    Instead, we're told the issue didn't

 22    crystallize until November 2020.

 23         So not only did Mr. Waterhouse simply accept the advice of

 24    two in-house counsel and a financial restructuring

 25    professional, he didn't tell anybody, and nobody who he told




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           44 of 155
                                                   Page 266 of 888 PageID 3570
                                                                            44


  1    told anybody.    Kind of funny.     Kind of interesting.      I'll use

  2    interesting.

  3         There will not be a document or a witness who will

  4    corroborate Mr. Waterhouse's assertions.         The contemporaneous

  5    documents will actually completely contradict Mr. Waterhouse's

  6    assertion.

  7         Which documents am I referring to?        There actually was an

  8    analysis that Mr. Klos prepared in December 2019.          He's going

  9    to share with the Court what that analysis was.          And what that

 10    analysis shows is that, after making adjustments to present

 11    the analysis in the most positive light for the UCC, Highland

 12    was still losing a million and a half dollars a year under

 13    these intercompany agreements.

 14         I can't explain Mr. Waterhouse's testimony.         I thought

 15    originally when I was asking him about it that he was confused

 16    with a later analysis that was prepared in December 2020 that

 17    we'll talk about.     He insists it was in December 2019.        I

 18    don't know what to say.      But there will be nothing that

 19    corroborates it.     There won't be a witness in this courtroom

 20    who corroborates it.     There's going to be -- it's going to be

 21    challenged by Mr. Klos.      We're going to have documentary

 22    evidence that shows he's mistaken.

 23         I don't need to ascribe bad motive.        This guy's just

 24    mistaken.    And given his lack of recollection about so many

 25    things, it's not terribly surprising.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           45 of 155
                                                   Page 267 of 888 PageID 3571
                                                                          45


  1         Subsequent communications are inconsistent.         There's

  2    another couple of exhibits.      And we just looked at one, the

  3    one with Ms. Thedford from January.        Like a couple of weeks

  4    after Dave supposedly told Frank that there's millions and

  5    millions of dollars of profit being made under these

  6    contracts, he's turning around and saying to Ms. Thedford,

  7    we're not doing actual cost, it's a flat fee agreement.            He's

  8    just ratifying everything that the parties have been doing for

  9    the 24 months under Mr. Dondero's control.

 10         I'm about done, Your Honor.       I just want to talk for a

 11    moment about a couple of the witnesses.         You are going to hear

 12    from Mr. Klos, and I'm delighted that you're going to do so.

 13    Nobody is going to take Mr. Klos on.        He's a man of integrity.

 14    And I know, I know the Court will find him very credible.

 15    You'll find him credible for three reasons.

 16         Number one, his story makes sense.        Every single thing

 17    that he says, he's going to say, that makes sense on a

 18    timeline, that makes sense from an economic perspective, that

 19    makes sense based on what I know of this institution and these

 20    individuals.

 21         You're going to find him credible for the second reason.

 22    His story is consistent.      There's no equivocation.      There's no

 23    change of story.     I'm not worried about him being cross-

 24    examined with his deposition transcript.         His story is going

 25    to be consistent.     It's going to make sense.      It's going to be




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           46 of 155
                                                   Page 268 of 888 PageID 3572
                                                                           46


  1    consistent.

  2         And the third reason is that it's all going to be

  3    corroborated by the contemporaneous documentation.

  4         So I look forward to presenting Mr. Klos.         I think that he

  5    has more knowledge about these issues than anybody.           He was

  6    involved in structuring the entire economic relationship

  7    between the parties.     He was involved in the drafting of the

  8    agreements.    And he was the person primarily responsible for

  9    the administration of the agreements.

 10         So that's one witness I hope the Court will pay particular

 11    attention to.

 12         Mr. Waterhouse, obviously.       He wore dual hats.     He's going

 13    to say he wore dual hats.      He's going to tell you that Mr.

 14    Dondero gave him all of those hats.        But the Advisors can't

 15    get away from the fact that two of those hats were as the

 16    treasurer of HCMFA and as the treasurer of NexPoint.           There's

 17    nothing that's in his head that can be attributable to

 18    Highland that cannot also be attributable to him as an officer

 19    and the treasurer of the Advisors.        Right?   So anything he

 20    knows, anything they want to put in his head, he knew not just

 21    for Highland but he knew for the Advisors.

 22         And then there's Mr. Norris.       I mean no ill will to Mr.

 23    Norris, but he has very little to offer here.          And why is

 24    that?   Because he's the executive vice president of the

 25    Advisors, and his responsibility was marketing.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           47 of 155
                                                   Page 269 of 888 PageID 3573
                                                                          47


  1         You're going to hear Mr. Klos and I believe you will hear

  2    Mr. Waterhouse testify that Mr. Norris had absolutely no

  3    responsibility or involvement in the structuring of the

  4    economic relationship between the parties.         They are going to

  5    testify that Mr. Norris had no involvement or personal

  6    knowledge about how these contracts were executed.

  7         Mr. Norris comes on the scene at the very last second.

  8    And like Mr. Sauter did in the spring of 2021 when he insisted

  9    that Mr. Waterhouse, the officer whose name appears on the

 10    HCMFA's notes, made a mistake, even though Mr. Waterhouse had

 11    absolutely no personal knowledge of anything, you're going to

 12    hear Mr. Norris testify that he came onto the scene in October

 13    or November and December 2020 and he was shocked, shocked, at

 14    how much was being charged.       Where have you been?     Where have

 15    you been?    Did you look?    Did you look in 2018 when Mr.

 16    Dondero was in control and all of the dual employees were

 17    leaving?    Did you say, hey, hey, what are we doing here?         No.

 18    Did you do it in 2019?      No.   He did in Month 35 of a 36-month

 19    relationship, without having had any involvement or

 20    responsibility for the negotiation or administration of these

 21    contracts.

 22         I will be objecting as appropriate on foundation grounds,

 23    because a witness can only testify based on personal

 24    knowledge.    And he can testify to whatever he did, but he

 25    should not be permitted to testify about the parties' intent.




                                                                  002951
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           48 of 155
                                                   Page 270 of 888 PageID 3574
                                                                          48


  1         I have nothing further, Your Honor.

  2               THE COURT:    All right.    Thank you.    Mr. Rukavina?

  3              OPENING STATEMENT ON BEHALF OF THE DEFENDANTS

  4               MR. RUKAVINA:    Respectfully, Your Honor, what you

  5    just heard was misdirection, irrelevancy, things that are not

  6    going to be in the record, things that are not in the record,

  7    and parol evidence.

  8         What Highland is trying to do here today is to ignore the

  9    fact that there are four contracts.        Two of them are payroll

 10    reimbursement agreements; two of them are shared services.

 11    They are different contracts that provide for different

 12    things.   And what you just heard was confusing the two, and I

 13    think you even heard Mr. Morris say that the PRAs were

 14    actually pay-for-services agreements.

 15         They're trying to read these contracts into something that

 16    they're not, using parol evidence.        And I find it particularly

 17    ironic given that in all those promissory note cases Highland

 18    is here hitting this table saying, follow those notes to the

 19    letter, ignore everything else, and now they're trying to

 20    shoehorn what is a very clear, unambiguous payroll

 21    reimbursement agreement into some kind of parol evidence, it

 22    was meant to be a flat payment every month for services.

 23         What I first want you to focus on, because I really

 24    believe that it's unbelievable misdirection, are all of these

 25    references to representations that my clients made to the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           49 of 155
                                                   Page 271 of 888 PageID 3575
                                                                          49


  1    board.   And if you have Slide 13 of the deck, Your Honor --

  2    did Mr. Morris give you Slide 13 -- you see -- you see, for

  3    example -- are you there, Your Honor?

  4                THE COURT:   Uh-huh.

  5                MR. RUKAVINA:    You see the first one, June 18th to

  6    19th, level and quality of services are being monitored.

  7         August 13th.    No disruptions in the services.

  8         September 17th.     Current shared services are being

  9    provided.

 10         October 23rd.    Pursuant to the shared services agreements.

 11         Yes, Highland performed under the shared services

 12    agreements, except for two minor things that we've put in our

 13    trial brief and that we'll talk about that total about $1.3

 14    million in damages.

 15         What we're talking about here today, the bulk of our claim

 16    is under the payroll reimbursement agreement.          So as we

 17    proceed with the evidence, the Court needs to be careful to

 18    have that separation.       Because the fact that we told the board

 19    the truth, that under shared services we were being provided

 20    shared services, does not mean that we told the board that,

 21    oh, wait, there's a problem under payroll reimbursement.           The

 22    two are separate.

 23         And I really want to point out two exhibits to Your Honor,

 24    if Ms. Canty would do me the favor, or if Your Honor wants to

 25    look at them in her binder.        It's Highland Exhibit 58.      Ms.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           50 of 155
                                                   Page 272 of 888 PageID 3576
                                                                          50


  1    Canty, is it possible -- Mr. Morris, are you willing to share

  2    Ms. Canty?

  3          Yes.   Ms. Canty, if you have your own Exhibit 58.

  4          She might not even be listening.

  5          (Pause.)

  6                 MR. RUKAVINA:   Is it just easier, Your Honor, if Your

  7    Honor gets a binder?

  8                 THE COURT:   I can do that.

  9                 MR. RUKAVINA:   Your Honor, it's -- I believe it's --

 10    it's Volume 2.     Volume 2 of the Highland exhibits.

 11          That's okay, Ms. Canty.     Thank you.    I think this will be

 12    faster if we just use binders.

 13          Your Honor, it's Exhibit 58, when you're ready.

 14                 THE COURT:   Minutes?

 15                 MR. RUKAVINA:   Yes, Your Honor.    On the bottom, it's

 16    Page 20.     Just it's a few pages in.     The bottom, it says Page

 17    20.

 18                 THE COURT:   Okay.

 19                 MR. RUKAVINA:   So, it says Mr. Post also discussed

 20    the quality and continuity of services provided to the Funds

 21    by HCMLP pursuant to shared services agreements with the

 22    Advisors.     And then you'll see that he says that there's no

 23    material disruptions in services.

 24          What about that is not true?      What about that has anything

 25    to do with a multimillion-dollar overpayment under payroll




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           51 of 155
                                                   Page 273 of 888 PageID 3577
                                                                          51


  1    reimbursement?    But that's what you're being told.        Again,

  2    they're trying to confuse the issues.

  3         And if Your Honor will quickly flip to Exhibit 61.

  4                THE COURT:   Okay.

  5                MR. RUKAVINA:   And it's the bottom of Page 3.        And in

  6    the very middle you'll see it says, Mr. Sauter also discussed

  7    the status of the shared services agreements.

  8                THE COURT:   Okay.   The one I have is redacted.

  9                MR. RUKAVINA:   Page -- the bottom of Page 3, Your

 10    Honor?

 11                THE COURT:   Yes.

 12                MR. RUKAVINA:   Of this?    The top should not be

 13    redacted.

 14                THE COURT:   It's not.    Oh, okay.   Yes.   Mr. Morris

 15    discussed.

 16                MR. RUKAVINA:   And then, yeah, in the middle it says,

 17    Mr. Sauter also discussed the status of the shared services.

 18                THE COURT:   Okay.   Gotcha.

 19                MR. RUKAVINA:   But look at what they say on Slide 13.

 20    They say Sauter noted that there has been no material

 21    attrition to date with respect to employees.         Where is that in

 22    this document?    We'll talk about that later.       That's nowhere

 23    in this document.

 24         Again, they're intentionally conflating shared services,

 25    that we're not saying we didn't get shared services, with




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           52 of 155
                                                   Page 274 of 888 PageID 3578
                                                                          52


  1    payroll reimbursement.

  2         The facts here matter, Your Honor.        And I caution the

  3    Court to be careful because, again, these are separate

  4    contracts that have separate provisions and they work

  5    separately.

  6         You're also going to be told about, oh, well, a lot of

  7    these employees weren't even there when the payroll

  8    reimbursement agreements were made.        I think Mr. Morris said

  9    four.   Yeah, except that they were signed in May to be

 10    effective as of January 1.      And if Mr. Klos really is this

 11    impeccable, unbribable character of pristine morals, well, did

 12    he create a fake agreement?      Did he lie?     Of course not.

 13         Again, misdirection.      Misdirection.

 14         You are told, well, a lot of these employees left.           What

 15    you're going to hear is that a lot of those payroll

 16    reimbursement employees, those dual employees, left because

 17    the Advisors changed their business model to a real estate-

 18    heavy business model, whereas before they had a lot of credit,

 19    they had debt, equities.      They changed to real estate.       So

 20    that's why 20 out of 25 employees that were dual employees

 21    left, because they saw the writing on the wall, not for these

 22    other reasons.    Because the argument that you're hearing is,

 23    well, don't look at these two contracts, Judge, the payroll

 24    contracts.    Consider it a services agreement.        And even though

 25    those 20 employees were no longer there, Highland made it up




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           53 of 155
                                                   Page 275 of 888 PageID 3579
                                                                           53


  1    with other employees that were there.        Therefore, the spirit

  2    and intent of the agreement is honored.

  3         No.    No, Your Honor.    No.    Highland did not make up those

  4    services.    Highland was providing those services pursuant to

  5    the shared services agreements, and those dual employees left

  6    and they were not replaced, their services were not replaced,

  7    because they were no longer needed.         Except guess what?

  8    Highland never told us that.         The one we contracted with to

  9    review our contracts, to review our bills, to review our

 10    invoicing, to make sure that we're paying only appropriate

 11    amounts.    You're going to hear from everyone that that was one

 12    of the services that we were paying pursuant to shared

 13    services.    Highland never bothered telling anyone, oh, we're

 14    still going to bill you for these 20 employees that are gone.

 15         You've been told that everyone in the world knew those

 16    employees were gone.     Of course.      But not that we were still

 17    being billed for it.     Because it was only Highland people that

 18    billed us for that and paid themselves from our bank accounts

 19    which they have control over.

 20         Mr. Dondero didn't know.        No officer of the Advisors knew.

 21    Mr. Waterhouse knew.     And yes, Mr. Waterhouse was an officer

 22    of the Advisors and an officer of the Debtor.          And you're

 23    going to hear from Mr. Waterhouse what he tried to do about

 24    that.

 25         But, again, don't allow that misdirection to color the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           54 of 155
                                                   Page 276 of 888 PageID 3580
                                                                          54


  1    true record here.     Our contractual counterparty, the one

  2    providing services to us, a debtor in bankruptcy, every month

  3    was billing us and paying itself from our funds for 20

  4    employees who weren't there.

  5         And Mr. Klos -- again, the man that we've all be told is

  6    the most credible man in this court -- will confirm that.            And

  7    he calculated our damages for us.        You're going to see all

  8    that.

  9         So let's, again, stick to the facts.        The payroll

 10    reimbursement agreements are reimbursement agreements.

 11    Everyone in the world knows what the word reimburse means.

 12    There was not to be any profit margin on there.          We are to

 13    reimburse for actual cost.      Actual cost means the actual cost

 14    to Highland of a dual employee.

 15         Yes, there are some issues with notices and when did we

 16    know, when did we act?      You're going to hear all about that.

 17    But at the end of the day, if the Court is looking for the

 18    intent and purpose of the contract, it is a reimbursement.

 19    And each of those have a schedule of 25 employees that was

 20    accurate and current -- Mr. Klos himself performed those

 21    percentages -- that was accurate and current when those

 22    contracts were done.

 23         You are then going to hear that Highland, pursuant to its

 24    general practices, did a true up or a reconciliation of all of

 25    its contracts on an annual basis.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           55 of 155
                                                   Page 277 of 888 PageID 3581
                                                                          55


  1         There is language in these contracts that talks about,

  2    well, why don't the parties look at the actual costs every

  3    month.   There is that language.      We will discuss that.      But

  4    the course of conduct at Highland, both generally and in this

  5    case, was to do it once a year at the end, because to do it

  6    monthly was burdensome.

  7         In the first year of that contract, the parties did a true

  8    up, and my clients ended up paying $2.5 million more in

  9    because we underpaid.     You're going to hear some fiction that

 10    this was some means of getting a tax deduction for Mr.

 11    Dondero.   Well, the contracts, again, say what they say, and

 12    they say we did a true up -- they don't say that.          We did an

 13    analysis and the Advisors underpaid, so now the Advisors are

 14    going to pay $2.5 million.

 15         So, again, is that a fraudulent document?         Is that

 16    Highland document a fraudulent document?         Were people lying on

 17    these documents?

 18         Then the bankruptcy happens, and it's time for the next

 19    true up in late 2019.     Coincidentally, at the same time that

 20    the Committee, appropriately so, is asking DSI and asking the

 21    Debtor, what are these intercompany agreements?          This -- these

 22    are insider agreements.      Explain to us.     Is Highland losing

 23    money?   Is Highland making money?

 24         So what happens next?      Mr. Klos -- again, the most

 25    credible man in this room, we're told -- does an analysis, and




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           56 of 155
                                                   Page 278 of 888 PageID 3582
                                                                          56


  1    he says that at that point in time Highland is making a $3

  2    million annualized profit on the payroll reimbursement

  3    agreements.    Okay.   He also says that Highland is losing money

  4    on the shared services agreements.        That's true.    But, again,

  5    don't allow that misdirection.       On the payroll agreements,

  6    Highland is at that point in time making a $3 million profit.

  7         He tells Mr. Waterhouse, his boss, did you know about

  8    these overpayments?     You should do something about that.        And

  9    Mr. Waterhouse, a professional man, does what he should do.

 10    He talks to the general counsel at Highland and he talks to

 11    the CRO and DSI and says, it's time that we revise these

 12    numbers, because we're overpaying, the Advisors are overpaying

 13    by $3 million a year, and that's not fair, it's not right.

 14    That's extra-contractual.      The general counsel, the associate

 15    general counsel, and the man who's been in bankruptcy for 30

 16    years tell him there's nothing we can do because of the

 17    automatic stay.    We will address it and deal with it in due

 18    course.

 19         What more was Mr. Waterhouse supposed to do at that time?

 20    Call Mr. Dondero?      His own general counsel and his own CRO

 21    just told him what the law is, and he relied on that and

 22    believed them and said, okay, there's nothing to be done at

 23    this time, we'll address it in due course.

 24         Months go by.     Months go by.    The overpayments become

 25    greater and greater and greater as there's fewer and fewer




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           57 of 155
                                                   Page 279 of 888 PageID 3583
                                                                          57


  1    employees.    Mr. Waterhouse is still acting in reliance on

  2    this.   You know that there were negotiations on a global plan.

  3    Well, at some point in September or October 2020, the

  4    situation was no longer tenable.       That's when Mr. Norris comes

  5    in, my client's officer.      Yes, he's a marketing guy, but he's

  6    a very sophisticated businessman with a lot of education, and

  7    he's tasked with this.

  8         He starts talking to Mr. Kos.       He starts talking to Mr.

  9    Waterhouse.    He starts talking again to the lawyers.         Hey, we

 10    are overpaying.    And Mr. Klos, you'll hear, repeatedly

 11    acknowledged the fact of overpaying.        But he's again told the

 12    automatic stay applies, you can't do nothing.          If you send a

 13    letter, if you do anything, it's going to be a stay violation.

 14         You'll recall we had a preliminary injunction hearing at

 15    which the Court was none too happy about a letter sent from

 16    K&L Gates to the Pachulski firm threatening action subject to

 17    the -- subject to the automatic stay.        They hauled us in front

 18    of Your Honor on an emergency hearing on that.          Imagine if we

 19    sent them a letter saying, we're going to revise this

 20    contract, or we're going to terminate this contract.           That

 21    would have been a stay violation.

 22         But all along, the contract says that once the issue is

 23    raised, once a change is requested, the parties shall

 24    negotiate in good faith.      Shall negotiate in good faith.

 25    That's not meaningless language.       And there was no




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           58 of 155
                                                   Page 280 of 888 PageID 3584
                                                                          58


  1    negotiation.    Repeated admissions of overpayments, no

  2    negotiations, but hiding behind the automatic stay, perhaps

  3    appropriately, perhaps not.

  4         And then finally in December 2020 I think the key evidence

  5    here will come out, because it happened before litigation.              It

  6    happened by a professional, honorable man of integrity that

  7    you've heard, Mr. Klos.      It happened when we were not

  8    contemplating being here today.       Mr. Klos was asked by Mr.

  9    Waterhouse to calculate the profitability or the loss of

 10    Highland on these four contracts.        He was told, or he assumed,

 11    or he may -- well, the evidence differs.         Mr. Klos will say

 12    Mr. Waterhouse told him to make assumptions.         Mr. Waterhouse

 13    will say it was Mr. Klos's assumptions.         It doesn't matter.

 14    There were two assumptions in the work product that Mr. Klos,

 15    this professional accountant, prepared.         Use actual headcount

 16    today.   Not the original 25, but the actual headcount today,

 17    which was five.    And do not include bonuses.       Highland didn't

 18    pay insider bonuses, which were a huge amount.          There were

 19    other bonuses paid, so the numbers need to be adjusted a

 20    little bit.    Mr. Klos didn't include any bonuses.

 21         And he said at that point in time, in December 2020,

 22    Highland was making an annualized $6.6 million profit on the

 23    payroll reimbursement agreements and a $1 million annualized

 24    profit on the shared services agreements, even though you

 25    heard in this Court repeatedly from Highland employees and




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           59 of 155
                                                   Page 281 of 888 PageID 3585
                                                                          59


  1    witnesses that, oh, we're losing money on all these contracts.

  2         So, is Mr. Klos a liar?      Is he -- is he a nincompoop who

  3    can't do his job?     Is he changing his story now?       How could

  4    there have been a $6.6 million profit on one and a $1 million

  5    profit on the others when the contracts (inaudible) profits

  6    then?    Did he create a fictitious document then?        No.   He did

  7    his job as he should have, and that is the key evidence here.

  8    That is the key evidence.

  9         What this trial will come down to, Your Honor, is the

 10    contract.    Whether my clients had an obligation under the

 11    contract -- because, again, the fact of overpayment cannot and

 12    will not be disputed.     Twenty of twenty-five employees weren't

 13    there.    We can quibble about damages, but the fact of

 14    overpayment will not be disputed.        Cannot be disputed.     The

 15    question is, again, did my clients waive their rights because

 16    they did not more frequently or more formally trigger the

 17    process of revisiting the actual cost formula?

 18         Those contracts are very clear.       There's no need for parol

 19    evidence.    There's no ambiguity.     The fixed monthly amount

 20    stays unless changed at the request of either party, upon

 21    which time the parties shall negotiate such change in good

 22    faith.

 23         We requested it repeatedly.       They stood behind the

 24    automatic stay.    And the Court will have to construe that

 25    contract as a matter of law and decide whether that is a




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           60 of 155
                                                   Page 282 of 888 PageID 3586
                                                                            60


  1    waiver or not.

  2         There's no other waiver.      There's no voluntary payment

  3    rule.    The voluntary payment rule doesn't apply to contracts.

  4    And we weren't paying these bills.        Highland was paying

  5    itself.

  6         And that's the thought I want to leave you with, Your

  7    Honor.    That's the thought I want to leave you with, that your

  8    Debtor, who has gotten immense protections from this Court,

  9    fiduciaries to the estate, every single month billed my client

 10    for almost a million dollars more than they were entitled to

 11    under these contracts because there was no reimbursement by

 12    this Debtor of its own employees.        Month after month, with

 13    knowledge that these employees weren't there, with knowledge

 14    that Highland was making a profit on these contracts when it

 15    was not allowed to, they billed my clients and paid themselves

 16    for employees who were not there.        Whether it's contract or

 17    equity or just good business ethics or just being a good

 18    debtor-in-position, that ought to bother the Court.           That

 19    ought to bother the Court, and that's why we have an

 20    administrative claim.

 21         Thank you.

 22                THE COURT:   All right.    Thank you.    It's 11:01.

 23    We'll take a ten-minute break and come back and hear the

 24    evidence.

 25                THE CLERK:   All rise.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           61 of 155
                                                   Page 283 of 888 PageID 3587
                                  Klos - Direct                             61


  1         (A recess ensued from 11:01 a.m. until 11:15 a.m.)

  2               THE CLERK:    All rise.

  3               THE COURT:    All right.    Please be seated.     We're back

  4    on the record in the Highland matter.

  5         Mr. Morris, are you ready to call your witness?

  6               MR. MORRIS:    Good morning.    Yes, Your Honor.

  7    Highland calls as its first witness David Klos.

  8               THE COURT:    All right.    Mr. Klos?    Okay.   If you

  9    could approach the witness box, I'll swear you in.          Please

 10    raise your right hand.

 11         (The witness is sworn.)

 12               THE COURT:    All right.    Thank you.    You may be

 13    seated.

 14                    DAVID KLOS, DEBTOR'S WITNESS, SWORN

 15                              DIRECT EXAMINATION

 16    BY MR. MORRIS:

 17    Q    Good morning, Mr. Klos.

 18    A    Good morning.

 19    Q    So, I'm going to ask you some questions this morning.            And

 20    I would ask you to listen carefully to my questions and do the

 21    best you can to answer them.       Okay?

 22    A    Absolutely.

 23    Q    I've put before you, or Mr. Rukavina and I have put before

 24    you some binders.     There is two binders that have Highland's

 25    exhibits and there is one binder that has the Advisors'




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           62 of 155
                                                   Page 284 of 888 PageID 3588
                                  Klos - Direct                           62


  1    exhibits.    And from time to time I may ask you to pull

  2    documents out.    But that's what those -- that's what those big

  3    binders are in front of you.

  4    A    Okay.

  5    Q    Are you comfortable?      Are you prepared to proceed?

  6    A    Yes.

  7    Q    Okay.    Mr. Klos, you're familiar with Mr. Waterhouse,

  8    obviously, right?

  9    A    Yes.

 10    Q    Okay.    And did you understand that Mr. Waterhouse served

 11    as Highland's chief financial officer at least for the five-

 12    year period through 2021?

 13    A    Yes.    He -- he elevated to that role in the 2011-2012 time

 14    frame.

 15    Q    Okay.    And are you aware that at the same time he served

 16    as Highland's CFO he also served as the treasurer of each of

 17    the Advisors?

 18    A    Yes.

 19    Q    And are you aware that Mr. Waterhouse, in his dual

 20    capacity as the CFO of Highland and as the treasurer of the

 21    Advisors, he's the one who signed the payroll reimbursement

 22    agreements?

 23    A    Yes.    That's correct.

 24    Q    And the payroll -- do you recall that the payroll

 25    reimbursement agreements had the list of dual employees?




                                                                  002966
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           63 of 155
                                                   Page 285 of 888 PageID 3589
                                  Klos - Direct                           63


  1    A    Yes.

  2    Q    And from the time the -- for the three-year period from

  3    December -- from January 1, 2018 until the end of 2020, was it

  4    Mr. Waterhouse's practice to approve each and every payment

  5    that was made on behalf of the Advisors pursuant to not just

  6    the payroll reimbursement agreements but all of the

  7    intercompany agreements?

  8    A    Yes.    That was the general practice.

  9    Q    Can you just describe for the judge your understanding of

 10    how that practice operated?

 11    A    For making the payments?

 12    Q    Yes.

 13    A    Yes.

 14    Q    Approval.    Approval of the payments.

 15    A    Yes.    Yeah, I mean, generally speaking, our assistant

 16    controller, usually Kristin Hendrix, would -- would prep wires

 17    on an ongoing basis, whether first of the month or just weekly

 18    type wires.    She'd send an approval email to Frank saying,

 19    here are the wires for today.       Okay to release?     Or something

 20    like that.    And Frank would respond with yes, or if he had

 21    questions then he might -- he might chime in.          But usually

 22    just an approval.

 23    Q    Okay.    Can you just -- are you currently employed, sir?

 24    A    Yes.

 25    Q    And who's your employer?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           64 of 155
                                                   Page 286 of 888 PageID 3590
                                  Klos - Direct                           64


  1    A    Highland Capital.

  2    Q    And what's your title today?

  3    A    CFO and COO.

  4    Q    And when did you first join Highland?

  5    A    End of March 2009.

  6    Q    And during the period -- let's -- I'm going to use the

  7    phrase "the relevant period" to mean from January 1, 2018

  8    until the end of 2020, that three-year period.          Is that okay?

  9    A    That's fine.

 10    Q    Okay.   During the relevant period, what titles did you

 11    hold at Highland?

 12    A    I was controller through April of '20, and then I was

 13    chief accounting officer from April '20 forward.

 14    Q    Okay.   And you reported to Mr. Waterhouse, correct?

 15    A    Yes.    Throughout.

 16    Q    Okay.   Now, can you describe generally for Judge Jernigan

 17    what your duties and responsibilities were as the controller

 18    and the chief accounting officers during the relevant time?

 19    A    Sure.   And I'll qualify that I had responsibilities over

 20    different departments.      But as it pertains to this matter, I

 21    was the department head for corporate accounting group, so the

 22    group that does the Advisor accounting both for HCMLP as well

 23    as other call it non-fund advisor or proprietary-type

 24    entities, and oversaw a team of -- that encompassed the A/P

 25    and the general accounting function for those entities.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           65 of 155
                                                   Page 287 of 888 PageID 3591
                                  Klos - Direct                           65


  1    Q    I'm going to use another term, I'll just call it "the

  2    intercompany agreements," to refer to the payroll service

  3    agreements and the shared services agreements between Highland

  4    and the Advisors.     Is that okay?

  5    A    Yes, that's fine.

  6    Q    Okay.   Did you personally play any role in the

  7    preparation, creation, and administration of the intercompany

  8    agreements during the relevant period?

  9    A    Yes.    And even outside the relevant period, because one of

 10    the shared services agreements is long in the tooth and goes

 11    back to the 2012 time frame, and I was -- I was involved in

 12    that one as well.

 13    Q    Okay.   And can you just describe generally -- well, we'll

 14    talk about the details of it.       Let's take you back to December

 15    2017, the month before the beginning of the relevant period.

 16    Do you have a recollection as to how Highland was performing

 17    on an operating basis in 2017?

 18    A    Yes.    It was performing poorly.     Assets were being shed.

 19    A lot of our business had been CLOs, which had been steadily

 20    declining over the years.      They were past their reinvestment

 21    period, so assets declined, cash flow declined, and by that

 22    time we were cash flow negative.       At HCMLP proper.

 23    Q    Okay.   And did you participate in any discussions within

 24    Highland in December 2017 as to how Highland might address

 25    these operating losses?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           66 of 155
                                                   Page 288 of 888 PageID 3592
                                  Klos - Direct                           66


  1    A    Yes.   So we had standing weekly cash -- cash meetings

  2    between myself, the CFO, and usually Kristin would participate

  3    in those, and then we would also meet with Mr. Dondero from

  4    time to time on those cash meetings.        And we did have such a

  5    meeting in December of 2017.

  6    Q    Can you describe for Judge Jernigan your recollection of

  7    the meeting that was had in December of 2017 where the issue

  8    of -- how the losses were going to be addressed?

  9    A    Absolutely.    And I caution, I don't remember the

 10    specifics, the specifics in terrible detail of that meeting,

 11    but I'm certain that it was me, Frank, and Jim Dondero.           And

 12    that the substance of that meeting -- again, I don't know if

 13    this was coming from Jim or from Frank and I -- was we're

 14    really bleeding cash quickly.       We need more cash at Highland

 15    to operate, to pay bills, to do what we need to do, because we

 16    always operated very lean across the entire structure.           And,

 17    you know, Jim, can you -- can you help with that?          Help us

 18    solve this problem.     And the solution that was given to us, my

 19    recollection, I think that the -- the idea was that you would

 20    just increase the shared services agreement that was already

 21    in place with NexPoint, and Mr. Dondero had this idea of

 22    bifurcating it, create a new agreement, such that NexPoint is

 23    paying Highland six in the aggregate on a prospective basis.

 24    Q    And six meaning $6 million?

 25    A    $6 million.    I apologize.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           67 of 155
                                                   Page 289 of 888 PageID 3593
                                  Klos - Direct                           67


  1    Q     And is your recollection that Mr. Dondero gave the

  2    instruction to increase the amount that NexPoint was paying to

  3    Highland for the services rendered, should be -- should be

  4    increased to $6 million?

  5    A     Yes.    Because at the time, NexPoint was paying Highland

  6    about, annualized, $1.2 [million] per year.         So this was a

  7    significant step up.

  8    Q     Okay.   And did you personally do any work to try to figure

  9    out how to execute on Mr. Dondero's instruction?

 10    A     Just in the sense of -- I think I passed that off to one

 11    of the employees that worked under me to work with Legal to

 12    work through drafting of agreements to update to reflect that,

 13    that desire.

 14    Q     Okay.   I'm going to ask you to turn to Exhibit 130.

 15    1-3-0.

 16    A     Okay.   I'm there.

 17    Q     And I'll just ask generally -- take a moment to look at

 18    it.

 19    A     Yep.    I'm there.

 20    Q     Do you recall that in late December, early January of the

 21    relevant period, you were engaged in discussions with some of

 22    your colleagues about how to document the $6 million

 23    direction?

 24    A     Yes.

 25    Q     Okay.   Directing your attention to the email that you sent




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           68 of 155
                                                   Page 290 of 888 PageID 3594
                                  Klos - Direct                           68


  1    on January 4th at 3:16 p.m., which can be found on the

  2    document ending in Bates No. 47, --

  3    A    I'm there.

  4    Q    -- I see there's a chart.      Can you explain to the judge

  5    what you're conveying in that chart?

  6    A    Sure.   There are -- there are four agreements that are

  7    going to be put in place to get to the -- to the $6 million

  8    number in the aggregate.      You see one of them, the one that's,

  9    at least on my thing, is highlighted, there's one that's an

 10    intercompany between parent and sub, NexPoint/NREA.           For our

 11    purposes today, that's kind of irrelevant.

 12         But for the other three, you have Highland HCMLP as the

 13    service provider, and you see the breakdown of those -- those

 14    three agreements between $252,000 per month for subadvisory --

 15    sorry.   $168,000 to NexPoint Advisors for shared services.

 16    And then $80,000 for -- from NexPoint to NREA for shared

 17    services.

 18         And so the sum of those of three amounts to HCMLP,

 19    $252,000 plus $168,000 plus $80,000, equals $500,000 a month,

 20    times 12 is the $6 million number that we had talked to Jim

 21    about, you know, within a month.

 22    Q    Okay.   So, as of January 4, 2018, this was the idea that

 23    you and your colleagues came up with on how to execute the $6

 24    million directive; is that fair?

 25    A    That's -- that's -- generally.       That's right.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           69 of 155
                                                   Page 291 of 888 PageID 3595
                                  Klos - Direct                           69


  1    Q    Okay.   I just want a stop for a second.        You know, you

  2    refer in this to subadvisory, SubADV.        Can you just explain to

  3    Court what your understanding is of what subadvisory services

  4    are and -- I'll just stop there.

  5    A    In the most general sense, investment advice to client

  6    funds.   So, in the context of this, you have the Retail

  7    Advisors that are the named advisor, but you also have

  8    Highland people, HCMLP employees that are providing services.

  9    So this is a mechanic for those employees to give that service

 10    to the Funds, give investment advice, which is a little bit

 11    different than the shared service, which tends to be back and

 12    middle-office operational-type services.

 13    Q    Okay.   Do you know if Highland provided subadvisory

 14    services to the Advisors prior to January 1, 2018?

 15    A    Yes.    Not pursuant to an agreement, but the services were

 16    provided going back to -- to when those contracts were moved

 17    from Highland back in the twenty -- I want to say 2012 time

 18    frame.

 19    Q    So, for approximately six years, Highland had provided

 20    subadvisory services to the Advisors for no compensation?            Do

 21    I have that right?

 22    A    That's correct.

 23    Q    Okay.   Did anybody during that six-year period from

 24    Highland say, oh, gee, we should be getting paid for

 25    subadvisory services?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           70 of 155
                                                   Page 292 of 888 PageID 3596
                                   Klos - Direct                          70


  1    A    No.    No one said that.

  2    Q    At this time, Mr. Dondero controlled the Advisors and

  3    Highland, correct?

  4    A    That's right.

  5    Q    Why the change at this time, then?        Why go, after six

  6    years of not paying for subadvisory services, to all of a

  7    sudden creating an agreement pursuant to which subadvisory

  8    services -- fees would be paid?

  9                MR. RUKAVINA:    Your Honor, object.     There's a lack of

 10    foundation.    He didn't sign those contracts and there's no

 11    predicate been laid as to why.

 12                THE COURT:    Response?

 13                MR. MORRIS:    The witness has already testified that

 14    he's the person -- I mean, look at his email.          He's the one

 15    who's responsible for allocating money under these various

 16    agreements.    I can -- I'll ask -- I'll ask a foundational

 17    question.

 18                THE COURT:    Okay.   He'll ask --

 19    BY MR. MORRIS:

 20    Q    As part of the discussions, did anybody talk about why the

 21    subadvisory agreement was going to be adopted at that moment

 22    in time?

 23    A    In a general sense, yes.      It was going to be providing for

 24    the services that had already been provided, but to have

 25    Highland be able to start earning a fee for that service.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           71 of 155
                                                   Page 293 of 888 PageID 3597
                                    Klos - Direct                         71


  1    Q    And was there discussion at that time that the fee that

  2    would be paid to Highland would not only give Highland access

  3    to needed capital but it would also provide a shield to the

  4    taxable income of the Advisors?

  5                 MR. RUKAVINA:    Your Honor, that's leading.

  6                 THE COURT:    Sus...

  7                 MR. RUKAVINA:    And again, what is the -- I'm sorry.

  8    I'm sorry, Your Honor.

  9                 THE COURT:    I'm going to sustain on leading.

 10                 MR. MORRIS:    Okay.   Fine.

 11    BY MR. MORRIS:

 12    Q    Can you tell me what the reasons were for entering into

 13    these agreements?     What were the -- what were all of the

 14    reasons that were discussed at that time?

 15    A    Yeah.    The reasons I remember specifically were need for

 16    cash flow at Highland, because Highland was negative on cash

 17    flow, and need for a deduction at NexPoint, because NexPoint

 18    was generating taxable income that indirectly flowed -- flowed

 19    up to Mr. Dondero.

 20    Q    And when you wrote your email and you said that the

 21    subadvisory fee should be $252,000 a month, had you done an

 22    analysis of the actual cost to Highland of providing those

 23    services?

 24    A    No.

 25    Q    Did anybody ask you to make sure that the $252,000 was




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           72 of 155
                                                   Page 294 of 888 PageID 3598
                                  Klos - Direct                           72


  1    tied to the actual cost of services being delivered?

  2    A    Not at all.

  3    Q    Was the $252,000 number that was allocated to the

  4    subadvisory agreement related in any way to the cost of

  5    providing services?

  6    A    No, just in the sense that it was a -- you know, that

  7    there was service being provided for value.         But in terms of

  8    the actual number, no.

  9    Q    Did the Advisors -- do you know whether Highland went out

 10    and tried to determine what the value of their services were

 11    to make sure that they were getting fair value for the

 12    services?

 13    A    Absolutely not.     It would have been a preposterous

 14    proposition to do that.

 15    Q    Was there any discussion at any time as to whether or not

 16    the Advisors should go out into the marketplace to see whether

 17    they could obtain these subadvisory services at a price less

 18    than $252,000?

 19    A    No discussion.     And you have to keep it in context,

 20    because this all was a single complex.        So you had people that

 21    were being used across different Advisors to support the

 22    complex's goals.     And they were being used that way.        And, you

 23    know, I think -- I think Mr. Dondero was generally happy with

 24    the people and the team.      And so this is all behind the

 25    scenes, just transferring money between, you know, pockets




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           73 of 155
                                                   Page 295 of 888 PageID 3599
                                    Klos - Direct                         73


  1    that he -- that he has.

  2    Q    Was there any discussion at that time as to whether or not

  3    Highland would make a profit off of a $252,000 subadvisory

  4    contract?

  5    A    No.

  6    Q    Was there any discussion at that time as to whether

  7    Highland should or shouldn't make a profit under the

  8    subadvisory agreement?

  9    A    No.

 10    Q    You mentioned that -- in your email that the sub -- the

 11    shared services would be at $168,000.        Do I have that right?

 12    A    Correct.    With respect to the NexPoint Advisors, LP

 13    agreement, --

 14    Q    Okay.

 15    A    -- yes.

 16    Q    And do you have an understanding as to whether or not that

 17    --

 18                 MR. RUKAVINA:    Your Honor, again, objection.

 19    Leading.     The question should be, What is your understanding,

 20    not, Do you have an understanding that--?

 21                 THE COURT:   Well, I'll let him ask the whole

 22    question.

 23                 MR. RUKAVINA:    But that's the problem, because then

 24    the witness will hear the question, and then my objection will

 25    be irrelevant.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           74 of 155
                                                   Page 296 of 888 PageID 3600
                                   Klos - Direct                            74


  1                MR. MORRIS:    Okay.

  2                THE COURT:    I'll sustain.    I'll let you rephrase the

  3    question.

  4                MR. MORRIS:    Okay.

  5    BY MR. MORRIS:

  6    Q    Was the hundred and -- so, were these -- were these

  7    numbers -- did you intend, when you wrote these numbers, --

  8                MR. RUKAVINA:    Objection, Your Honor.     Again,

  9    leading.    Did you intend?       It's -- the question should be,

 10    What did you intend?

 11                MR. MORRIS:    I don't --

 12                MR. RUKAVINA:    It's a leading question.      Did you

 13    intend that--?     The question, the question has the answer

 14    within it, Your Honor.

 15                THE COURT:    Okay.

 16                MR. MORRIS:    Mr. Klos, --

 17                THE COURT:    Sustained.

 18    BY MR. MORRIS:

 19    Q    -- were these numbers intended to be variable?

 20    A    No.

 21    Q    And when you say that, what do you mean?

 22    A    What I mean by that is we already had the direction, $6

 23    million was going to be the number from NexPoint Advisors,

 24    including subsidiaries, to HCMLP.         So the numbers were already

 25    known.     And just as I was explaining before, there's three




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           75 of 155
                                                   Page 297 of 888 PageID 3601
                                   Klos - Direct                          75


  1    components to it, but $252,000, $168,000, and $80,000 gets you

  2    to the $500,000 per month or $6 million per year.

  3    Q    And was the $168,000 for shared services by NexPoint, was

  4    that a change in the methodology by which the fee would be

  5    calculated?

  6    A    Yes.    Yeah.   Yeah, it was a change.

  7    Q    Can you get -- please turn to Exhibit 29?

  8    A    Okay.    I'm there.

  9                 MR. MORRIS:    All right.   Let me know when you have

 10    that, Your Honor.

 11                 THE COURT:    Uh-huh.

 12    BY MR. MORRIS:

 13    Q    Okay.    Do you know what that document is, Mr. Klos?

 14    A    I do.    This appears to be the original shared services

 15    agreement between Highland Capital Management, LP and NexPoint

 16    Advisors that went all the way back to 2013.         So this was the

 17    predecessor for the 2018 amendment.

 18    Q    And can you turn to Page 4, Section 4.01?

 19    A    Okay.    I'm there.

 20    Q    Do you have an understanding as to how NexPoint paid

 21    Highland for shared services prior to January 1, 2018 under

 22    this provision?

 23    A    Yes.    It was all -- it was all pursuant to 4.01(c) that

 24    has a little bit of a long, convoluted discussion, but at the

 25    end of the day, just boiling it down, what this -- what this




                                                                  002979
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           76 of 155
                                                   Page 298 of 888 PageID 3602
                                    Klos - Direct                         76


  1    section means is that Highland was going to be charging

  2    NexPoint Advisors 10 basis points on assets managed by the --

  3    I think it was NHF at the time, NexPoint Strategies Fund, and

  4    it was going to be charging 15 basis points on basically all

  5    other assets of that fund, and that that was going to be --

  6    that was, I think it's a defined term, that was actual cost,

  7    notwithstanding that that concept is completely divorced from

  8    cost.

  9    Q    And how is the issue of actual cost completely divorced

 10    from cost?

 11    A    Because the charge itself was being generated off of the

 12    assets managed by a single fund, and that -- I don't know how

 13    else to say it other than that has -- that has nothing to do

 14    with cost.

 15    Q    Okay.

 16    A    What it does have to do with was that that was a charge --

 17    that was a fund that charged 120 basis points, so NexPoint was

 18    earning 120 basis points and it was paying some blend of 10 to

 19    15, so it was pocketing 90 percent of the revenue.

 20    Q    And can you explain to the judge why the change was made

 21    from a formula depending on asset values to a fixed fee of

 22    $168,000 a month?

 23    A    Yeah.

 24                 MR. RUKAVINA:    Your Honor, objection, based on

 25    foundation.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           77 of 155
                                                   Page 299 of 888 PageID 3603
                                    Klos - Direct                         77


  1                 MR. MORRIS:    Your Honor, he has testified to

  2    everything already.

  3                 MR. RUKAVINA:    No, he hasn't, Your Honor.     He hasn't

  4    testified that he knows why this change was made or that

  5    anyone told him why this change was made or that he made this

  6    change.     He's speculating.

  7                 THE COURT:    I overrule the objection.

  8                 THE WITNESS:    So, the reason to switch it to fixed

  9    is, again, you already know the answer, so the answer is $6

 10    million, the answer -- the split is going to be roughly 50/50.

 11    It's a little bit -- it's a little bit weighted to the -- to

 12    the subadvisory.     Why are you introducing any variability when

 13    you already know the answer?

 14    BY MR. MORRIS:

 15    Q    Okay.    And the answer here was what?

 16    A    The answer here was $168,00 with respect to NexPoint

 17    Advisors, $80,000 with respect to NexPoint Real Estate

 18    Advisors.     And then, like I said, on the subadvisory,

 19    $252,000.

 20    Q    Okay.    Can you turn to Exhibit 3, please?       And can you

 21    describe for the Court your understanding of what that

 22    document is?

 23    A    Exhibit 3, you said?

 24    Q    Yes.

 25    A    Ah.    So this, this is the amended and restated agreement




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           78 of 155
                                                   Page 300 of 888 PageID 3604
                                  Klos - Direct                           78


  1    for NexPoint Advisors.

  2    Q    Okay.

  3    A    So this, this is the agreement that updates to the fixed

  4    $168,000.

  5    Q    Okay.    And if you can turn to last page, the one ending at

  6    Bates No. 647.    Are you familiar with those signatures?

  7    A    Yes, I am.

  8    Q    And what's your understanding of who signed this contract?

  9    A    So, this contract was by Frank Waterhouse.

 10    Q    Okay.    And when was this contract effective?

 11    A    This was effective January 1st of 2018.         I believe it was

 12    executed in the early part, around -- on or around January

 13    11th, my recollection.

 14    Q    Okay.    Can you turn to Page 9, please?

 15    A    I'm there.

 16    Q    In Section 3.01, is that the section that sets forth the

 17    provision for compensating Highland for shared services by

 18    NexPoint?

 19    A    I'm sorry.    What's the exhibit again?

 20    Q    It's Exhibit 3, Page 9.

 21    A    Oh.    I'm sorry.   I went to Exhibit 9.

 22    Q    I may have -- I may have misspoken.

 23    A    Exhibit 3, Page 9?

 24    Q    Right.

 25    A    Okay.    Okay.   I'm there.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           79 of 155
                                                   Page 301 of 888 PageID 3605
                                  Klos - Direct                           79


  1    Q    And can you describe for the Court your understanding of

  2    what Section 3.01 provides?

  3    A    Yes.    It's providing for what I was -- what I was just

  4    explaining, which is the flat fee of $168,000 per month.

  5    Q    So, did this agreement put into practice what was in your

  6    email?

  7    A    Yes.

  8    Q    Okay.   Did you personally, as the controller of Highland

  9    at the time, did you have any view as to whether or not $6

 10    million was the right number of compensation for subadvisory

 11    and shared services by NexPoint?

 12    A    I don't know that I had a view on that that was the right

 13    number, but it was certainly a number in the right direction,

 14    because the previous charges, like -- as you mentioned

 15    earlier, there were no previous charges for any of the front

 16    office services, and the back office services were locking in

 17    a 90 percent profitability.      So it was -- it was a step in the

 18    right direction.     Hard to say if that was the perfect number,

 19    but a stopped clock tells the right time twice a day, so at

 20    some point maybe.

 21    Q    Did you personally do any analysis in late 2017 or early

 22    2018 to determine whether $6 million was fair value for the

 23    subadvisory services and shared services that Highland was

 24    providing?

 25    A    No.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           80 of 155
                                                   Page 302 of 888 PageID 3606
                                  Klos - Direct                           80


  1    Q    Are you aware of anybody doing any such analysis?

  2    A    No.

  3    Q    Did you do any analysis to assess on a holistic basis

  4    whether Highland was going to make a profit off of the $6

  5    million for shared and subadvisory services?

  6    A    In a way.    Maybe not directly, but, you know, around that

  7    same time we were preparing our annual presentation for Jim,

  8    so we had a sense of what the Advisors were -- where they were

  9    shaking out in the future.

 10    Q    Okay.   We'll look at that in a moment.        On your email,

 11    there was the $80,000 for NREA.       Do I have that right?

 12    A    Yes.

 13    Q    Can you just explain to the Court what that referred to

 14    and why that was part of your email?

 15    A    Yes.    So, NREA, NexPoint Real Estate Advisors, LP, is a

 16    wholly-owned subsidiary of NexPoint Advisors.          At the time, I

 17    believe it just had a single entity that it provided services

 18    for, which was a public REIT with a ticker NXRT.          And so there

 19    were services being provided by Highland people to that

 20    advisor to basically keep that REIT functioning.

 21    Q    Okay.   You just mentioned an annual review.        Did you

 22    participate in an annual review?

 23    A    Yes.

 24    Q    And can you describe for the Court the process of the

 25    annual review?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           81 of 155
                                                   Page 303 of 888 PageID 3607
                                  Klos - Direct                           81


  1    A    Yes.    So, going back to I want to say 2013, myself and

  2    Frank would generally meet with Mr. Dondero and Mr. Okada at

  3    the end of the -- at the beginning of the year.          And, really,

  4    the purpose of that agreement, or that meeting, was to sit

  5    down, review the year that we just had, what happened, who

  6    came, who went, what were our wins, what were our losses, and

  7    then -- and then talk about the year to come, how we're

  8    projecting what's on the horizon, and then also, you know, we

  9    had -- our bonus process culminated at the end of February, so

 10    this was a good opportunity to start getting initial feedback

 11    from Jim on where he saw the compensation pool for that coming

 12    year.   And this was a good way to wrap that all together, try

 13    to be objective, and give him the data to kind of do his own

 14    evaluation of what kind of a year we just had.

 15    Q    Okay.   In connection with the annual review, did you

 16    prepare written information?

 17    A    Yes.

 18    Q    Can you describe for Judge Jernigan what information you

 19    prepared and how you went about preparing it?

 20    A    Yes.    So, the information, my recollection, it was usually

 21    like a 40 to -- 40- to 60-page type presentation, a slide

 22    deck.   And it would include financials from the previous year,

 23    a section on HR, a section on forward-looking projections, a

 24    section on fund performance across the platform, and probably

 25    a few other things that I'm forgetting up here.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           82 of 155
                                                   Page 304 of 888 PageID 3608
                                   Klos - Direct                          82


  1    Q     And did you obtain information from other areas of the

  2    enterprise?

  3    A     Yes.    So that was a -- it was a collaborative process.          I

  4    would work on it, I would delegate some parts of it to my

  5    team, and then also go to other departments for some of the

  6    information as well.

  7    Q     Would Mr. Waterhouse have an opportunity to review the

  8    deck before it was presented to Mr. Okada and Mr. Dondero?

  9    A     Yes.    Absolutely.   We would meet on it ahead of time, he

 10    would provide comments, and we would -- I would work through

 11    incorporating those comments.

 12    Q     So do you recall preparing a deck for the review of 2017

 13    and for the outlook of 2018?

 14    A     Yes.

 15    Q     Okay.   Let's take a look at Exhibit 86, please.

 16    A     Okay.

 17    Q     Do you know what this is?

 18    A     Yes.    This is -- these are materials I was just referring

 19    to.

 20    Q     And do you recall meeting -- having the annual review

 21    meeting on or around January 26, 2018?

 22    A     Yes.    Right around that time.

 23    Q     And can you describe for the Court just the setting that

 24    you recall about this meeting?

 25    A     Yes.    This was always an in-person meeting, so this would




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           83 of 155
                                                   Page 305 of 888 PageID 3609
                                  Klos - Direct                           83


  1    have been in Jim's adjacent conference room, with, again, me,

  2    Frank, Jim, Mark.     I can't remember, it's possible that Sean

  3    Fox might have sat in, but I don't remember specifically.

  4    Q    Okay.    Let's just take a look at some of the information

  5    in here.     If we can turn to the second page, the executive

  6    summary.

  7    A    Okay.    I'm there.

  8    Q    Do you see there's a bullet point that begins, The

  9    platform will continue experiencing operating cash shortfalls?

 10    A    Yes.    I see that.

 11    Q    Can you just tell the judge what that and the bullet point

 12    underneath were intended to convey?

 13    A    Yes.    So, by cash shortfalls, hopefully self-explanatory.

 14    On an operating basis, we're burning cash.         And what the sub-

 15    bullet is saying is that overall operating income -- and by

 16    that I mean operating income across all of the affiliate

 17    Advisors -- is projected at, you know, positive $.9 million.

 18    But on a standalone basis for HCMLP, it's negative 12.

 19    Q    Uh, --

 20    A    And I -- if I can add one more thing.        The clause at the

 21    end there is just -- is -- this is -- this is kind of a

 22    tickler for Jim to remind him you have substantial other

 23    investment commitments.      You're invested in private equity

 24    funds that call capital.      So Highland is losing 12, but then

 25    you're also going to need to generate more cash to fund those




                                                                  002987
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           84 of 155
                                                   Page 306 of 888 PageID 3610
                                  Klos - Direct                             84


  1    commitments as well.

  2    Q    Can you turn to Slide 6 in this deck, the one with Bates

  3    No. 308?

  4    A    I'm there.

  5    Q    Can you describe for the Court what this shows?          Just

  6    generally?

  7    A    Yes.    So this is a balance sheet, so it's a point-in-time

  8    look at the assets and liabilities of -- we're saying

  9    consolidated, meaning Highland -- it's in the -- it's

 10    contained in the Footnote 1.        Highland, Highland Capital

 11    Management Fund Advisors, NexPoint, including its

 12    subsidiaries, Acis Capital Management, and then three other

 13    kind of rounding error-type Advisors:        Falcon, Granite Bay,

 14    and Highland Healthcare Advisors.

 15    Q    And was it the practice in Highland at this time to look

 16    at the enterprise from a holistic point of view?

 17    A    Absolutely.

 18    Q    Okay.   And if we could just flip some of the pages here,

 19    would the same holistic enterprise view be reflected on Slide

 20    11 and being in Bates No. 313?

 21    A    Let me just make sure I'm on the right slide.          The -- it

 22    has Consolidated P&L --

 23    Q    Yes.

 24    A    -- with a footnote?     Yes.    That's correct.    Same -- same

 25    view.   Same entities incorporated.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           85 of 155
                                                   Page 307 of 888 PageID 3611
                                   Klos - Direct                          85


  1    Q      Meaning -- does that mean that the view on this slide was

  2    looking at the profits and loss for the Highland enterprise at

  3    a whole -- as a whole, without regard to its component pieces?

  4    A      Correct.    And along those same lines, all -- it's part of

  5    the reason we refer to them as intercompany.         They're all

  6    intercompany, so they all just eliminate.         So that activity

  7    isn't even shown on here because it all cancels each other

  8    out.

  9    Q      All right.    We'll talk about that more in a moment.       And

 10    the same would be true of Slides -- tell me if it's different

 11    or if you can confirm that the following slides are also

 12    presented on a consolidated basis:         Slide 13, 14, 15, 16, 17,

 13    18?

 14    A      Um, yes, yes to all, although I'm not sure on 18, if you'd

 15    just bear with me for a moment.

 16    Q      Uh-huh.

 17           (Pause.)

 18    A      It -- it appears 18 is consolidated, but I'm not a hundred

 19    percent sure.       I'm 90 percent sure.

 20    Q      Okay.   Can you go to Slide 29, please?      Can you describe

 21    for the Court what Slides 29 to 30 -- through 33 convey, what

 22    type of information?

 23    A      Yes.    So this was what I was referring to in terms of some

 24    of the -- a refresh on what happened over the course of the

 25    year.    So, hey, Jim, here's -- here's what happened over the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           86 of 155
                                                   Page 308 of 888 PageID 3612
                                  Klos - Direct                           86


  1    course of the year from an HR perspective.         Here are people

  2    that transferred roles.      Here are people that were promoted

  3    during the year.     Here's a view on headcount.       I'm flipping

  4    from Slide 29 to Slide 30.

  5         31, here's a summary of all the people we hired over the

  6    year.   And, again, this is agnostic as to Highland Capital

  7    Management versus the other Advisors.        This is looking at it

  8    all holistically.     Although it is subdividing between our

  9    broker-dealer and everybody else, so I should -- I should

 10    point that out.

 11         And then Slide 32, 2017 Terminations.        Here's a summary of

 12    all the people that terminated over the course of the year.

 13    Q    Did Brian Collins participate in these meetings at all?

 14    A    He didn't participate in the meetings, but he would help

 15    on some of the document-gathering and helping me validate the

 16    accuracy.

 17    Q    Okay.   Let's go to Slide 34, please.       The first bullet

 18    point is about CLOs.     Can you explain to the Court what you

 19    were conveying in the first bullet point about Acis CLOs?

 20    A    Yes.    So what's being conveyed here was the current

 21    thinking at the time, which was that the likely outcome for

 22    the Acis CLOs -- and just for additional background, the Acis

 23    CLOs were CLOs managed by Acis Capital Management that were

 24    subadvised and shared services provided by HCMLP.          And so what

 25    this bullet is saying is we expect that 3 through 6 are going




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           87 of 155
                                                   Page 309 of 888 PageID 3613
                                  Klos - Direct                             87


  1    to reset, they're going to reset under Highland, and --

  2    directly or indirectly, and the reinvestment period and

  3    maturity is going to shift out by two and a quarter years.

  4    Q    Do you know if the expected reset was intended to have any

  5    implications for the shared services and subadvisory

  6    arrangement?

  7    A    Up until the reset, the assumption was that Highland would

  8    continue earning subadvisory and shared services, then post-

  9    reset it would be -- I don't frankly recall if it was direct

 10    or if it was indirect, but effectively Highland was going to

 11    retain the management fees on a go forward basis.

 12         And I should point out, there is a second bullet here

 13    that's talking about new issuance.        So it's assuming that CLOs

 14    continue to be churned out over the next several years and

 15    that -- and that all that AUM goes to HCMLP.

 16    Q    Okay.   Can you go to the next slide, please?         Can you

 17    describe generally what Slide 34 depicts?         35 depicts?

 18    A    Yes.    I can.   One moment.   Yeah.    So, 35 is depicting the

 19    revenue that's coming in from all the various funds.           Again,

 20    this is Highland as well as the affiliate Advisors.           And it's

 21    just breaking it out by either fund or it's lumping the 2.0

 22    and the 1.0 CLOs together to give you a picture of where's all

 23    the revenue coming in from the complex from all these

 24    different sources.

 25    Q    And what is the second rank, the Highland 2.0 CLOs?           Do




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           88 of 155
                                                   Page 310 of 888 PageID 3614
                                    Klos - Direct                         88


  1    you know what that's referring to?

  2    A      Yes.    That's referring to the Acis deals that were assumed

  3    to be up for reset, 2.0 meaning the post -- post prices.

  4    Q      So am I reading this correctly that the Acis CLOs were

  5    expected to generate fees for Highland in 2018 of

  6    approximately $9.7 million?

  7    A      Yeah, in that ballpark.

  8    Q      Okay.

  9    A      That's the projection.

 10    Q      And was that projected to be approximately 12 percent of

 11    Highland's entire revenue in 2018?

 12    A      The royal Highland.    Not HCMLP, but the overall complex,

 13    yes.

 14    Q      Okay.   As part of this presentation, did you and your team

 15    present forecasts?

 16    A      We did.

 17    Q      Okay.   And are those forecasts in this deck?

 18    A      They are.

 19    Q      Okay.   Let's go to Slide 36.    That's entitled Assumptions

 20    in the Forecast.      Can you just describe for the Court what

 21    assumptions are listed in the first piece concerning material

 22    intercompany arrangements?

 23    A      Yes.    So, the first piece on intercompany is describing

 24    the HCMFA, NexPoint, and Acis relationships, and it's saying

 25    that at this time we're projecting -- or, we're assuming for




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           89 of 155
                                                   Page 311 of 888 PageID 3615
                                  Klos - Direct                           89


  1    purposes of the forecast that HCMFA will pay 2.7 to Highland.

  2    NexPoint and subsidiaries will pay 6. That's the same 6 that

  3    we've already spent some time on.        And then the third bullet

  4    point being Acis, saying that it'll continue to pay the then-

  5    rates in effect of 20 basis points subadvisory, 15 shared

  6    services.    And then the Up to Reset is an allusion to the fact

  7    that once they reset it'll just -- it'll be to Highland and

  8    that mechanism goes away.

  9    Q    Okay.    Let's go to Slide 44, please.      Can you describe for

 10    the Court what Slide 44 is?

 11    A    Slide 44, it's looking at a three-year forward forecast

 12    for HCMLP.    This is just HCMLP.     Excuse me.    So this is a

 13    single -- a single entity view.       And so, as a result, you do

 14    have -- you have the intercompany agreements that are picked

 15    up in this agreement.     And the total operating income number

 16    of 12 is -- is the very same that we were looking at on the

 17    executive summary.

 18    Q    And I see in 2019 the operating income is supposed to go

 19    -- projected to go from negative 12 to positive 46.           Do I have

 20    that right?

 21    A    Yes.

 22    Q    And do you have an understanding as to what the cause of

 23    that $58 million flip is?

 24    A    Yes.    So it's primarily driven by the lines, the second

 25    line called Incentive Fees.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           90 of 155
                                                   Page 312 of 888 PageID 3616
                                  Klos - Direct                           90


  1    Q    Uh-huh.

  2    A    And what we were using in this forecast -- again, it's

  3    just a forecast, you know, it's -- it's never going to be

  4    exactly right -- but this was assuming a monetization of MGM

  5    that would trigger a large fee in 2019.         Obviously, that

  6    didn't happen, but that was what was assumed in the

  7    projections.

  8    Q    And if you remove that assumption, where does that --

  9    where does that leave Highland on a projected operating income

 10    basis for 2019?

 11    A    It would be -- it would be a dollar-for-dollar reduction,

 12    so you'd just take the 45,919 of operating less the 55,298.

 13    Q    Okay.

 14    A    So, call it -- call it 10 negative.        I'm not going to do

 15    the math.

 16    Q    And these -- withdrawn.      Does the 2018 projection of $12

 17    million loss, does that take into account the $6 million, --

 18    A    It -- it does.

 19    Q    -- or it does not?

 20    A    It does.    It takes into account the $6 million from

 21    NexPoint.    It -- those -- that amount is a component part of

 22    the line that says Shared Services & Subadvisory Fee.           So it's

 23    6 of the 10.

 24    Q    So is my math right that if the amount hadn't been

 25    increased from, let's say, 1.5 to 6, then the $12 million loss




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           91 of 155
                                                   Page 313 of 888 PageID 3617
                                   Klos - Direct                          91


  1    would have been increased --

  2    A      Be close to 17.

  3    Q      -- by 4-1/2?

  4    A      Yeah.   Yes.   Call it 16, 17.

  5    Q      Okay.   Let's go to the next slide, please, which is Slide

  6    45.    What's being depicted there?

  7    A      So, again, this is a -- going to a standalone view, so

  8    Highland Capital Management Fund Advisors standalone.           And it

  9    -- it looks like this is also consolidating the broker-dealer

 10    that sits under it.      But that's somewhat irrelevant.       But it's

 11    depicting a three-year forecast for HCMFA.         Again, '18, '19,

 12    '20.    And it's got a line item for shared services expenses,

 13    which I believe is a reference to HCMLP, at least 2.7 of it,

 14    if not the full 2.8.

 15    Q      And there's a reference there to subadvisor fees, do you

 16    see that, for several hundred thousand dollars?

 17    A      I do.

 18    Q      Does that relates the Highland or to somebody else?

 19    A      No, no, that relates to -- there was a subgroup of -- I

 20    think there was around three at the time -- of funds that were

 21    subadvised by an actual -- an actual outside subadvisor.           And

 22    so those are -- those are fees to that outside subadvisor, not

 23    fees to Highland.

 24    Q      As of the date of this deck, January 26, 2018, was HCMFA

 25    projected to pay any subadvisory fees to Highland?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           92 of 155
                                                   Page 314 of 888 PageID 3618
                                    Klos - Direct                         92


  1    A    No.

  2    Q    Let's go to Slide 46, please.

  3    A    Okay.   I'm there.

  4    Q    Is this just the same three-year P&L for, this time,

  5    NexPoint?

  6    A    Yeah.

  7    Q    Okay.   And focusing your attention to the lines Subadvisor

  8    Fees and Shared Service Expenses, can you describe for the

  9    Court what those line items reflect?

 10    A    Yes.    Those are reflecting amounts to HCMLP for

 11    subadvisory and shared services.       And we've spent a lot of

 12    time talking about $6 million, but this is the $6 million.

 13    $3,024,000 plus $2,976,000.       There's the six.     So that's

 14    what's being assumed as far as the intercompany.

 15    Q    And do you recall that the subadvisory agreement was

 16    already in place at the time of this meeting?

 17    A    Yes.    Yeah, it was.

 18    Q    Okay.   And let's just -- let's just take a look at Exhibit

 19    130 quickly.

 20    A    Okay.   I'm there.

 21    Q    Do you know what that is?

 22    A    130.    This looks to be a continuation of the chain that we

 23    were discussing earlier, going back and forth with the

 24    internal attorneys on having these agreements executed in the

 25    very early part of January and then culminating with the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           93 of 155
                                                   Page 315 of 888 PageID 3619
                                    Klos - Direct                         93


  1    actual execution of those agreements, it looks like, on

  2    January 11th of '18.

  3    Q    And are you specifically referring to Mr. Fox's email as

  4    of January 11th, the very last email in the chain, looking in

  5    reverse order?

  6    A    Yes.

  7    Q    Okay.

  8    A    That's right.

  9    Q    Okay.   So let's talk about the subadvisory agreement for

 10    just a moment, if you can turn to Exhibit 5.

 11    A    Okay.   I'm there.

 12    Q    And if you can -- if you can, just tell the Court what

 13    your -- do you have an understanding of what that document is?

 14    A    Yes.    This is the subadvisory agreement between NexPoint

 15    Advisors, LP and Highland Capital Management, LP.

 16    Q    And can you turn to the page that ends in Bates No. 580?

 17    A    I'm there.

 18    Q    And do you -- are you familiar with the signatures on that

 19    page?

 20    A    Yes.    It's Frank's.    Frank Waterhouse.

 21    Q    Okay.   And can you go back to the first page of the

 22    document and let the Court know if you have an understanding

 23    as to when this subadvisory agreement became effective?

 24    A    It became effective January 1st of 2018.         But, as

 25    discussed, it was -- it was executed, you know, a little -- a




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           94 of 155
                                                   Page 316 of 888 PageID 3620
                                  Klos - Direct                           94


  1    little less than two weeks later, but to be effective January

  2    1st of '18.

  3    Q    Okay.    And if you can turn, please, to Section 2 on the

  4    page ending in Bates No. 570.

  5    A    I'm there.

  6    Q    And can you explain to the Court what Section 2 provides?

  7    A    So, Section 2(a) provides for a monthly fee in the amount

  8    of $252,000.

  9    Q    And is that fee variable or fixed?

 10    A    No, it's fixed.     It's just $252,000 a month.

 11    Q    And is that -- do you recall if that's consistent with the

 12    number that was in your earlier email at Exhibit 130?

 13    A    I don't remember the exhibit number, but yes, it's

 14    consistent with the email.

 15    Q    Okay.    Is it fair to say that this agreement is another

 16    agreement intended to execute on the direction that you

 17    received from Mr. Dondero?

 18    A    Absolutely.

 19    Q    Is there anything in the subadvisory agreement that's

 20    before you that concerns or relates to Highland's actual cost

 21    of providing subadvisory services?

 22    A    No.

 23    Q    Do you recall anyone ever suggesting in late 2017 or early

 24    2018 that NexPoint should only pay its allocable share of

 25    actual costs for subadvisory services?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           95 of 155
                                                   Page 317 of 888 PageID 3621
                                  Klos - Direct                           95


  1    A    No.    Nobody said that.

  2    Q    Okay.   So the meeting takes place on or around January

  3    26th.   Does anything happen to upset the projections or any of

  4    the information that you had just conveyed to Mr. Dondero and

  5    Mr. Okada?

  6    A    Yes.    So, contemporaneous, within days of that, of that

  7    presentation, Acis is put into an involuntary by Mr. Terry.

  8    And so this is -- at best case, we understood that a critical

  9    fee stream was going to be tied up a while.         And worst case,

 10    it might be -- it might be gone forever.         And so definitely an

 11    important moment, and a big change relative to the

 12    projections, because, as you pointed out, there was a $10

 13    million assumption in there that, like I said, at least

 14    temporarily is going poof, if not forever going poof.

 15    Q    And did you personally participate in discussions about

 16    how to address that development?

 17    A    Yes.    So, you know, this wasn't a mystery to anybody, that

 18    Acis had just been put into involuntary, so by the beginning

 19    part of March we met again with Jim.        Kind of a similar

 20    conversation to the December 2017 conversation of we're not

 21    going to get any Acis fees for a while, if not forever.           We

 22    need help to operate.     What do you want, you know, what --

 23    what do you want to do?

 24         And the response was, well, just do the same thing that

 25    you guys just did for NexPoint.       Put in place a subadvisory




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           96 of 155
                                                   Page 318 of 888 PageID 3622
                                  Klos - Direct                             96


  1    agreement and -- and that's the -- it's not the solution

  2    because it doesn't -- it doesn't completely cushion the fall,

  3    but it at least mitigates the -- some of the loss that we

  4    would be experiencing.

  5    Q    And did you personally participate in the conversation and

  6    the follow-up to that meeting?

  7    A    Yes.

  8    Q    Okay.   And do you recall whether a subadvisory agreement

  9    was created for HCMFA?

 10    A    It wasn't ultimately, no.

 11    Q    Okay.   Let's turn to Exhibit 87.       And I apologize.     Before

 12    you look at that, when you say it wasn't, do you mean it

 13    wasn't drafted, or it was never executed?

 14    A    It --

 15    Q    If you recall.

 16    A    It was -- I don't remember if it was drafted.          What I

 17    recall was that there was communication with in-house counsel

 18    to draft it and there were -- there were concerns expressed

 19    about whether that agreement would -- would work, for lack of

 20    a better term.

 21    Q    Okay.   Do you recall how much was initially discussed that

 22    HCMFA would pay for subadvisory services?

 23    A    It was around $5 million.      I have a recollection of

 24    exactly $5 million, but I have seen other emails that refer to

 25    $450,000 a month, which annualizes to a little bit more than




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           97 of 155
                                                   Page 319 of 888 PageID 3623
                                  Klos - Direct                           97


  1    5, around 5.4.    But the number that I remember was 5, which

  2    was the -- $5 million, which was the number that was

  3    ultimately landed on.

  4    Q    Okay.   Did there come a time after this discussion with

  5    Mr. Dondero about duplicating that NexPoint subadvisory

  6    agreement for HCMFA, did there come a time when you learned

  7    that that wasn't a viable option?

  8    A    Yes.    It was -- it was sometime in the late March, early

  9    April time frame.     And the thinking going into that was this

 10    shouldn't be a very difficult exercise, you've already got a

 11    template, it's going to look exactly the same save for the

 12    number on the page.     So the expectation was that that would be

 13    a pretty quick and easy process to get documented through

 14    Legal.   But, you know, when concerns were raised, obviously,

 15    we had to pivot.

 16    Q    And do you recall what those concerns were?

 17    A    Yeah.   So the concerns as I understood them were that our

 18    internal legal team, mainly Lauren Thedford, who is a -- she's

 19    an HCMLP employee and an officer of the Advisors, and the

 20    Funds, I believe.     But she, she highlighted a potential issue

 21    that because it's -- it's subadvisory, that it would -- the

 22    only way to have an agreement like that ratified was going to

 23    be to go to the board in an in-person meeting.          The next such

 24    meeting was going to be in June, later that year.          And that --

 25    and that it couldn't be made retroactive.         It had to only be




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           98 of 155
                                                   Page 320 of 888 PageID 3624
                                   Klos - Direct                          98


  1    prospective.

  2    Q    And just take a look at Exhibit 87 now.         Does that -- does

  3    that comport with the recollection you just described for the

  4    Court?

  5    A    I'm sorry.    87?

  6    Q    Yes.

  7    A    Okay.   Ah, yes.     Yes, it does.   I was looking at the older

  8    part of the chain.       But, yes, this is the email from Lauren

  9    saying that it's in person, it can't be made retroactive.            So

 10    that's, you know, that's the problem.

 11         And another problem is that it also means that the

 12    NexPoint agreement that was already in place doesn't work and

 13    that needs to be -- that needs to be fixed as well.

 14    Q    And what's the implications of being unable to use the

 15    subadvisory agreements under those circumstances?

 16    A    So, without being able to go back, you're talking about $5

 17    million with respect to HCMFA and $3 million with respect to

 18    NexPoint.    And the earliest you're going to be able to

 19    implement that is the middle part of the year.          So, call it $8

 20    million times 50 percent is the -- is the implication there.

 21    Q    And you're getting those numbers by -- how are you getting

 22    those?

 23    A    Yeah.   Sorry.

 24    Q    Yeah.   It's a little shorthand.

 25    A    The $252,000 annualizes to $3,024,000.         The $416,000 for




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                      Page
                                        01/12/23
                                           99 of 155
                                                   Page 321 of 888 PageID 3625
                                  Klos - Direct                           99


  1    HCMFA annualizes to $4,994,000.       So the sum of those two is

  2    approximately $8 million per year.        Fifty percent of the year

  3    is $4 million.

  4    Q    Had -- was there any discussion prior to Ms. Thedford

  5    sending her mail on March 15th, had there been any discussion

  6    of using a model for the payment of subadvisory fees other

  7    than the subadvisory agreements that had been drafted?

  8    A    No, not that I can remember.

  9    Q    Had anybody expressed any concern prior to March 15th that

 10    the Advisors should be paying fees based on actual costs?

 11    A    No.

 12    Q    Had anybody done an analysis before March 15th about what

 13    the cost was to Highland for providing subadvisory services to

 14    the Advisors?

 15    A    No.

 16    Q    Okay.    After getting this news from Ms. Thedford, what

 17    happened?

 18    A    Um, definitely a reaction.       This is -- this is a problem.

 19    That as we just looked at, we're already operating quite

 20    negatively.     We're no longer getting a fee stream from Acis.

 21    We're being told that we're not going to be able to start

 22    getting a fee stream from these other Advisors for several

 23    months, at the cost of millions more dollars.          So this needs

 24    to be addressed.

 25         Again, this is all in the spirit of one big happy family,




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           100 of 155
                                                   Page 322 of 888 PageID 3626
                                   Klos - Direct                          100


  1    one complex, so the whole exercise itself seems somewhat

  2    silly, for someone who just wants to move money from his right

  3    pocket to his left pocket, to have to go through all this

  4    brain damage, but we need to go through the brain damage to

  5    get this done.

  6    Q      And did you see a draft of a payroll reimbursement

  7    agreement after March 15th?

  8    A      Yes.    I think towards the end of April, to the best of my

  9    recollection.

 10    Q      And did you participate in discussions with Ms. Thedford

 11    about the terms and provisions of the draft agreement that you

 12    saw?

 13    A      Yes, I did.

 14    Q      And did you communicate with Ms. Thedford in writing about

 15    -- about that draft agreement that you saw?

 16    A      I did.

 17    Q      Okay.    Can we turn to Exhibit 129, please?     And I'm going

 18    to start at the beginning, which is at the page with Bates No.

 19    425.    Did -- do you recall in mid-April that Mr. Fox sent you

 20    a draft of the payroll reimbursement agreement?

 21    A      Yes.

 22    Q      And can you review and then describe for the Court what

 23    you told Ms. Thedford after you obtained a copy of the initial

 24    draft of the payroll reimbursement agreement?

 25    A      Yes.    So I think, similar to NexPoint, I had tasked Sean




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           101 of 155
                                                   Page 323 of 888 PageID 3627
                                  Klos - Direct                           101


  1    with running it down through Legal.        It looks like Sean was on

  2    vacation, so he passed it along to me to review as well.           And

  3    my -- from email and from my recollection, recall the way that

  4    the agreement was stated being very clunky, because we don't

  5    have a way to actually track actual costs in any sort of

  6    scientific way.

  7         And so I make the suggestion to Lauren that -- and it's

  8    kind of a parenthetical; it's not necessarily apparent in the

  9    email -- but can we just do this once?        Can we do an estimate

 10    of cost as of some point in time, done in good faith, you

 11    know, with a reasonable estimate, and not have to do it ever

 12    again?

 13         Because, again, there's not a way to really validate any

 14    of the assumptions in such an analysis, and all it's going to

 15    be doing is churning up a lot of work for people to do

 16    internally to track amounts that ultimately benefit Jim.           It's

 17    just not a -- it's not a useful -- it's not a good use of

 18    time.

 19    Q    And is that essentially what you're -- is that a fair

 20    description of what you're saying to Ms. Thedford at 10:48

 21    a.m. on April 17th?

 22    A    Yeah.   That's exactly right.      Too much subject -- too much

 23    subjectivity.    Too much time involved.      We already know what

 24    the number is going to be.      So this is creating a lot of

 25    unnecessary scrambling around.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           102 of 155
                                                   Page 324 of 888 PageID 3628
                                  Klos - Direct                           102


  1    Q    And what did -- do you recall or can you read what Ms.

  2    Thedford said in response?

  3    A    So, she responds, she says she's open to changing the

  4    definition.     There needs to be some method of determining

  5    amounts.     To which I say, can we -- can we set it out as of

  6    the beginning of the agreement, have a schedule, never update

  7    that schedule unless -- with the only update ever being if the

  8    -- if the parties come to a consensus and want to change it at

  9    some point in the future.

 10    Q    And is it your understanding that that's what became the

 11    actual agreement that was signed?

 12    A    Yes.

 13    Q    And did you subsequently perform the -- create the numbers

 14    that are reflected in the email above on Pages 423 and the top

 15    of 424?

 16    A    I did.

 17    Q    Okay.    Why did you create that?

 18    A    Well, you know, per the -- per the email chain, that was

 19    going to check the box for what we needed to check the box.

 20    So we were -- we were going to have a schedule that had

 21    percentages set out.     And, you know, I was able to, you know,

 22    work through a spreadsheet and put percentages in that ended

 23    up resulting in the $252,000 a month number for NexPoint and

 24    the $416,000 a month number for FA.

 25    Q    Okay.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           103 of 155
                                                   Page 325 of 888 PageID 3629
                                  Klos - Direct                           103


  1    A    HCMFA.

  2    Q    And when you are having these -- did you speak with Ms.

  3    Thedford beyond the emails, or does the emails --

  4                 MR. MORRIS:   God bless you, Your Honor.

  5    BY MR. MORRIS:

  6    Q    Or do the emails reflect the entirety of your

  7    communications?

  8    A    I think they reflect the substance of it.         There may have

  9    been some -- some additional -- some minor additional

 10    discussion.     I don't remember specifically.

 11    Q    And are these, are these allocations -- can I call these

 12    allocations?     Is that fair?

 13    A    That's okay.

 14    Q    Okay.    Are the allocations on this email the allocations

 15    that were ultimately adopted in what became Exhibit As to the

 16    two --

 17    A    Yes.

 18    Q    -- payroll reimbursement agreements?

 19    A    Yes.

 20    Q    Did anybody change it?

 21    A    No.

 22    Q    Did anybody ask you how you calculated the numbers?

 23    A    No.

 24    Q    Did anybody ask to see your work?

 25    A    No.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           104 of 155
                                                   Page 326 of 888 PageID 3630
                                  Klos - Direct                           104


  1    Q    Did anybody suggest that maybe these allocations weren't

  2    right?

  3    A    No.

  4    Q    Did anybody -- did you have any discussion with anybody at

  5    any time as to how you came to these numbers?

  6    A    Not that I remember.

  7    Q    In this time period?

  8    A    No, not that I can remember.

  9    Q    Okay.    At the top of Page 423, which is really the

 10    beginning of your email that contains the allocations, there's

 11    -- can you just read out loud what that sentence says or what

 12    those two sentences say?

 13    A    I'm sorry.    It's this that starts, Here are the listings?

 14    Q    Yes.

 15    A    Yes.    It says, Here are the listings for the reimbursement

 16    agreements.    Monthly amounts should be $416,000 for HCMFA and

 17    $252,000 for NPA.

 18    Q    And how did you come up with those numbers?

 19    A    So, these were already-known numbers.        The $252,000 in

 20    respect of NPA, consistent with what we had talked about for

 21    the past several months and what was already in effect via the

 22    subadvisory agreement, and then the $416,000 based on further

 23    conversation in the March time period where he was comfortable

 24    to do a $5 million a year run rate payment from FA.

 25    Q    So the $252,000 is the same $252,000 that was in your




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           105 of 155
                                                   Page 327 of 888 PageID 3631
                                  Klos - Direct                           105


  1    December email, in the January deck, in the subadvisory

  2    agreement, --

  3    A    Yes.

  4    Q    -- and now it's still there?

  5    A    Yes.   Of course.

  6    Q    The allocations there, what information did you rely on to

  7    create those allocations?

  8    A    So, I relied on compensation information for the -- for

  9    the list of employees.      And then the, in terms of the

 10    percentages, it was at the time, I believe, based in part for

 11    some people on AUM across the platform, and then for some

 12    other people it was just -- basically, just subjective

 13    percentages based on my general understanding of what those

 14    people tended to work on.

 15    Q    Did you -- did you speak to any of the dual employees to

 16    see if those allocations were accurate from their perspective?

 17    A    No.

 18    Q    Did you have any records that you could rely upon to

 19    confirm your subjective assessments?

 20    A    No.    There were no such records.

 21    Q    If we wanted to know today how much time each dual

 22    employee spent working on matters for the Advisors, how would

 23    we create such an analysis?

 24    A    There's not a -- there's not a good way to do it.

 25    Q    Is there -- is there any way to do it?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           106 of 155
                                                   Page 328 of 888 PageID 3632
                                  Klos - Direct                            106


  1    A     No.   Not -- not any -- not any good way.       The reason I'm

  2    hedging a little bit is, if it was important enough, you could

  3    talk to every single employee, ask them how they think they

  4    spend their time.      And then even that's flawed, because

  5    people's compensation isn't necessarily tied to how they were

  6    -- to how much time they spend on something.         They could have

  7    spent a little time on something, had a great return, got paid

  8    a huge bonus, and it has nothing to do with time.

  9          So no matter how you do it, it's going to be incredibly

 10    subjective and really fatally flawed.

 11    Q     Is this fatally flawed?

 12    A     It's -- it's maybe flawed -- it's flawed from the

 13    standpoint that it has all those subjective assumptions baked

 14    into it.      It's not fatally flawed from the standpoint that

 15    there's a -- there was a general effort to assess where people

 16    were likely spending their time.

 17    Q     Were investment professionals ever asked to keep time

 18    entries so that actual costs could be accurately calculated?

 19    A     No.

 20    Q     Did you ever update Exhibit -- withdrawn.        So I think

 21    you've testified, these -- this analysis became the Exhibit

 22    As.   Do I have that right?

 23    A     Yes, that's right.

 24    Q     Okay.    Did you ever update Exhibit A at any time from the

 25    date of this email until today?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           107 of 155
                                                   Page 329 of 888 PageID 3633
                                  Klos - Direct                           107


  1    A    No.

  2    Q    Did anyone ever ask you or instruct you to update Exhibit

  3    A from the time you sent this email to today?

  4    A    No.

  5    Q    Are you aware of anybody at Highland or the Advisors ever

  6    making any effort --

  7    A    If I could take a step back, there was -- there was a

  8    request from Lauren in the early 2020 time range.          So I should

  9    be fair, she did ask the question, and I basically pushed back

 10    and said that's a ridiculous exercise, we should do it a

 11    different way.

 12    Q    Okay.

 13    A    I didn't really take that as a request to update it, but

 14    she was -- she was implicitly asking for that information, --

 15    Q    All right.

 16    A    -- so I should qualify that.

 17    Q    We'll take a look at that.       You're aware that a number of

 18    investment professionals, these dual employees, were

 19    terminated even at the time you wrote this email, right?

 20    A    Yes.    Yes.

 21    Q    Why would you include dual employees in this analysis if

 22    they'd already been terminated?

 23    A    So, I'm not sure if it's in this email chain, but as I

 24    mentioned in one of the email chains, we were going to be

 25    doing a roster as of a specific point in time, that time being




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           108 of 155
                                                   Page 330 of 888 PageID 3634
                                    Klos - Direct                         108


  1    the effective date of the agreement, or January 1st.

  2    Q      And I think, just to be clear, if you can look back at

  3    your April 17 email sent at 10:56 a.m., is that the one you're

  4    referring to?

  5    A      10:56?    Yes.   That's -- that's exactly right.     That's the

  6    one.

  7    Q      And can you just explain to the judge what you're telling

  8    Ms. Thedford in that email?

  9    A      Yes.    So I'm really laying out what would ultimately be

 10    the agreement, which is that we're going to have a schedule,

 11    it's going to be as of January 1st, it's going to have the

 12    roster that was in place at that time, and that's -- that's

 13    where the schedule's going to originate, and we'll -- we're --

 14    we're not planning to update.       We're only going to perform

 15    this exercise once.

 16    Q      Okay.    Did anyone express any concern to you that you were

 17    using a -- you were setting the costs of subadvisory services

 18    based on employees that were known to have already been

 19    terminated?

 20    A      No.    No concern.

 21    Q      Did that ever come up before December 2020?

 22    A      I don't know if I would go so far as December.        Certainly,

 23    by summer of 2020, no one had ever brought it up.

 24    Q      Okay.    During the two-year period that Mr. Dondero was in

 25    control of Highland and the Advisors, did anybody ever ask you




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           109 of 155
                                                   Page 331 of 888 PageID 3635
                                  Klos - Direct                           109


  1    if that number should be adjusted to take into account

  2    terminated dual employees?

  3    A     No.

  4    Q     Okay.   Do you recall that, after the payroll reimbursement

  5    agreements are entered into, that dual employees continue to

  6    be terminated throughout 2018?

  7    A     Yes.

  8    Q     And do you have a recollection to the magnitude of the

  9    dual employees on the Exhibit As that were terminated as of

 10    December 2018?

 11    A     Yes.    It was -- it was around ten, nine or ten.

 12    Q     Okay.   Can we just take a quick look at Exhibit 14,

 13    please?

 14    A     14?

 15    Q     And I'll represent to you that these are the Advisors'

 16    responses to interrogatories.       If you could turn to Page 12 of

 17    18.

 18    A     Okay.   I'm there.

 19    Q     Okay.   Do you recall that this list of people here that

 20    continues to the top of the next page, that's the list of --

 21    is that the list of dual employees?

 22    A     It appears to be.    I can't quickly reconcile it, but it

 23    looks to be the same list.

 24    Q     Okay.   And do you have any reason to doubt the dates of

 25    termination set forth in the Advisors' response to




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           110 of 155
                                                   Page 332 of 888 PageID 3636
                                  Klos - Direct                           110


  1    Interrogatory No. 3?

  2    A    No, no reason to doubt any of those.

  3    Q    Okay.    And if you can turn the page to Interrogatory No.

  4    4, do you see the Advisors stated that they were, quote,

  5    generally aware of the employees' terminations and departures

  6    as they occurred?

  7    A    Yes.

  8    Q    And is that consistent with your understanding of how

  9    information was shared and conveyed within Highland?

 10    A    Yes.    Absolutely.   Both informally and formally.

 11    Informally, you had everyone sharing the same office space,

 12    sitting next to each other.      More formally, there were --

 13    there were things like monthly reports that would go out,

 14    again, agnostic as to HCMLP versus NexPoint or others, just

 15    looking at it all as a complex, that would be distributed

 16    pretty broadly to -- to, you know, among others, officers of

 17    HCMFA and NexPoint, but also including a pretty wide swath of

 18    the rest of the overall complex for multiple different

 19    entities.

 20    Q    Okay.    So do you recall that in December 2018 the payroll

 21    reimbursement agreements that had just been signed the prior

 22    May were amended?

 23    A    Yes.

 24    Q    Okay.    Did you participate in discussions concerning those

 25    amendments?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           111 of 155
                                                   Page 333 of 888 PageID 3637
                                  Klos - Direct                           111


  1    A    Yes.

  2    Q    Can you describe for the Court what you recall about the

  3    discussions that led to the execution of the December 2018

  4    amendments?

  5    A    Yes.   I remember a meeting early December of 2018,

  6    early/mid-December, I can't remember the specific date, with

  7    -- with Jim and Frank.      I don't believe anyone else was in

  8    that meeting.    And part of the concern expressed in that

  9    meeting was that NexPoint in particular, but both Advisors,

 10    but particularly NexPoint, taxable income was -- was looking

 11    like it was running a little too hot for 2018.          Too hot as in

 12    too high, so too much tax liability.        And, you know, should

 13    there be -- what can be -- what can be done over the course of

 14    the next several weeks to generate taxable deductions for

 15    those Advisors?

 16    Q    And what was the solution?

 17    A    So, the solution was to amend the two payroll

 18    reimbursement agreements.      I don't think we got into that

 19    level of detail in the meeting with Jim, but when we -- we

 20    took that away and worked with internal Legal, the amendment

 21    that was ultimately produced was just an amendment to add an

 22    additional amount for both of the Advisors in the sum of 2.5

 23    in the aggregate.     And the split amount was 1.3 and 1.2 to the

 24    two respective Advisors.      I can't remember which one was 1.3

 25    and which one was 1.2.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           112 of 155
                                                   Page 334 of 888 PageID 3638
                                  Klos - Direct                           112


  1    Q    Okay.   Let's take a look at Exhibit 7, please.         Can you

  2    tell the Court what that is?

  3    A    Yes, it's the amendment itself.       And I can clarify that

  4    the 1.3 was for NexPoint Advisors, the 1.3 of additional

  5    annual costs as it's defined in the amendment.          And that tells

  6    me that the identical agreement for Fund Advisors was also put

  7    in place except with the amount being 1.2 even.

  8    Q    Okay.   Did you update Exhibit A before executing -- before

  9    Mr. Waterhouse executed this document?

 10    A    No.

 11    Q    Do you know if anyone took any steps to try to determine

 12    HCMLP's actual costs of providing front office services before

 13    signing this?

 14    A    No.

 15    Q    Did you do a true up?

 16    A    No.

 17    Q    Did you ever do a true up in your life?

 18    A    I suppose I've done true ups, but not as it pertains to

 19    this agreement.    This was -- this was a mechanism to send

 20    another $2-1/2 million of cash --

 21    Q    Did you --

 22    A    -- from these Advisors.

 23    Q    Did you tell Dustin Norris at any time that the amounts

 24    set forth in the amendments were the result of a true up?

 25    A    Not that I remember.      I'm sure I told him that there was




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           113 of 155
                                                   Page 335 of 888 PageID 3639
                                  Klos - Direct                            113


  1    an end-of-the-year amendment, so it's possible that he mistook

  2    me or misunderstood.     But no, never a true up.       This was an

  3    end-of-the-year amendment.

  4    Q    Do you know whether the $2.5 million, or the amount that

  5    each of the Advisors paid, was that in any way based on any

  6    assessment of actual costs?

  7    A    No.    (Pause.)   If I can -- the answer is no, but if I can

  8    expand on that.    There wasn't an analysis done.        However, we

  9    had a current view of who's making money and who's not making

 10    money.     And the reality is that, at this point in time, much

 11    of the revenue at Highland Capital Management, LP is coming

 12    from these intercompany agreements.        Highland Capital

 13    Management, LP is losing money hand over fist.          The other

 14    Advisors are making money.

 15         So that's not an analysis, obviously, that 2.5 is the

 16    right number, but it tells you that it's directionally right,

 17    because these are effectively the same people doing the same

 18    type of business for the same types of client, earning a fee.

 19    In what -- on what planet does one of those operate at a

 20    massive operating loss while the other two operate really

 21    strongly?

 22    Q    Did anybody suggest that it was terribly unfair that

 23    Highland was performing these services at an operating loss?

 24    A    I don't -- no.     I don't remember anyone saying that.

 25    Q    Was there any guarantee in any agreement that you're aware




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           114 of 155
                                                   Page 336 of 888 PageID 3640
                                  Klos - Direct                           114


  1    of that prevented Highland from incurring operating losses

  2    through the performance of these intercompany agreements?

  3    A    No.

  4    Q    By the time Highland filed for bankruptcy in October of

  5    2019, more investment professionals or dual employees had been

  6    terminated, correct?

  7    A    Yes.    A handful.   Maybe four or five.

  8    Q    And do you --

  9    A    In that area.

 10    Q    Do you have a recollection as to how many of the dual

 11    employees, roughly how many of the dual employees had been

 12    terminated in the 21-month period between January of 2018 and

 13    the end of September 2019, just prior to the petition date?

 14    A    It was -- it was on the magnitude of half.

 15    Q    So roughly half of the dual employees were already gone?

 16    During that period, did anyone request an analysis of actual

 17    costs?

 18    A    This is around the time of the petition date?

 19    Q    Yep.

 20    A    Um, --

 21    Q    Up to the petition date.

 22    A    Up to the petition date?      No.

 23    Q    Okay.    Up to the petition date, did anyone request that

 24    Exhibit A be updated?

 25    A    No.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           115 of 155
                                                   Page 337 of 888 PageID 3641
                                  Klos - Direct                           115


  1    Q    Up to the petition date, did anybody ever suggest that the

  2    Advisors should only be paying the actual costs under the

  3    payroll reimbursement agreement?

  4    A    No, other than the amounts were fixed per the agreement,

  5    so that what's had been paid all along.

  6    Q    In fact, do you recall if, during this two-year period

  7    when Mr. Dondero was in control, the Advisors made monthly

  8    payments under the PRAs that differed in any way from the

  9    initial amounts set forth in those agreements?

 10    A    No.    They paid exactly the amounts, those amounts each

 11    month.

 12         The one caveat on that is, because it was executed a few

 13    months in arrears, I think there was some sort of a catch-up.

 14    But notwithstanding that initial catch-up, it was exactly the

 15    same amount per the agreements every single month.

 16    Q    And did that practice continue after the bankruptcy as

 17    well?

 18    A    Yes.   It continued until November of 2020.

 19    Q    And what happened in November?

 20    A    So, on November 30th, there were notices of termination of

 21    the shared services agreement, and shortly thereafter there

 22    was a directive that I understood to have come through Mr.

 23    Dondero to stop all payments.

 24    Q    Do you have an understanding as to who that directive was

 25    given to?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           116 of 155
                                                   Page 338 of 888 PageID 3642
                                  Klos - Direct                           116


  1    A    Yes.    To Frank.

  2    Q    And did Mr. Waterhouse follow that directive?

  3    A    Yes.    He conveyed that to the accounting team, and -- in

  4    uncertain terms, that that's the -- that's the directive from

  5    Mr. Dondero.

  6    Q    So when Mr. Dondero wanted the payments stopped, was he

  7    able to effectuate that desire?

  8    A    Yes.

  9    Q    Okay.   So, Highland files for bankruptcy in October 2019.

 10    Were you given any instructions by anybody concerning the

 11    continued administration of these agreements post-bankruptcy?

 12    A    I don't remember specific to these agreements, but more

 13    generally there was a business as usual, keep -- Team, keep

 14    doing what you're -- what you've been doing.         That was the --

 15    that was the go-forward direction.

 16    Q    Do you recall the intercompany agreements being the topic

 17    -- a topic of discussion with the UCC and FTI after the

 18    bankruptcy filing?

 19    A    Yes.    It was a -- it was a very -- it was immediately a

 20    point of issue.    I had conversations with Fred Caruso as well

 21    as Jack Donoghue from the DSI team.        And it was my

 22    understanding that this was a -- this was an issue that was

 23    very hot on the minds of both the UCC as well as their

 24    financial advisors, FTI, and that there was -- there was going

 25    to be -- there was going to need to be some work done to get,




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           117 of 155
                                                   Page 339 of 888 PageID 3643
                                  Klos - Direct                           117


  1    you know, help them get comfortable with where we stood on

  2    those agreements.

  3    Q    When you say the issue was hot, can you just explain for

  4    Judge Jernigan specifically what the hot issue was, as you

  5    understood it?

  6    A    Yes.    So, I mean, the hot issue was really just that these

  7    were all agreements with affiliates.        These are -- these are

  8    creditors who have been fighting with Jim for years.           And the

  9    fear on their part would have been these are wildly

 10    unprofitable contracts for Highland, value is siphoning out to

 11    these other advisors that he owns and controls and that are

 12    separate and apart from the bankruptcy, so if that is in fact

 13    happening, we, the UCC, need to intervene quickly.

 14    Q    Did you undertake any analysis of these contracts in

 15    response to the issues and concerns raised by the UCC?

 16    A    Yes.

 17    Q    And who did you work with on that analysis?

 18    A    I worked with a number of people.        That included the two

 19    gentlemen from DSI that I just mentioned, Fred and -- Fred and

 20    Jack, as I recall.     Frank, internally, as well as Isaac.        And

 21    then it was my understanding -- I don't know that I had direct

 22    conversations with Scott Ellington, but it was my

 23    understanding that he had at least -- kind of was aware of the

 24    analysis.    Put it that way.

 25    Q    Okay.   Can you turn to Exhibit 144, please?        And can you




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           118 of 155
                                                   Page 340 of 888 PageID 3644
                                   Klos - Direct                          118


  1    tell the Court what's depicted on that analysis there?

  2    A      So, this is -- sorry.    This is a -- this is an early

  3    iteration of that analysis sent to Isaac with the overall

  4    summary of the output of that analysis.         And I'd be happy to

  5    walk through it.

  6    Q      Yes, please.

  7    A      Okay.

  8    Q      Well, let me try and speed this up a little bit.        Can you

  9    just explain for the judge the portion of the analysis that

 10    deals with the intercompany agreements?

 11    A      Yes.    So, the portion that deals with the intercompany

 12    agreements is, if you have it in front of you, it's the top --

 13    it's the top box.      And that box is summarizing what was being

 14    paid and charged under those agreements.         It's the four

 15    agreements -- there's technically five here because the

 16    NexPoint and NREA are both being included as a single number.

 17    But this box is showing you the 6 that's being charged to

 18    NexPoint and then the 8.6 that's being charged to Fund

 19    Advisors, broken out between five of -- we're calling it

 20    investment support fee here, but that's a reference to the

 21    PRA.    And then 3.6 of shared services.      So a total of 14.6

 22    being charged.

 23           And then the other number that I suppose indirectly

 24    pertains to the agreements is the number directly below that

 25    of estimated cost to provide services of 16.9.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           119 of 155
                                                   Page 341 of 888 PageID 3645
                                  Klos - Direct                           119


  1    Q    Okay.   So, under this analysis, how does the cost of

  2    providing services under the intercompany agreements compare

  3    with the revenue?

  4    A    So, the cost is higher by approximately $2.3 million,

  5    which is just the 16.9 less the 14.6.

  6    Q    Okay.   And why is that 16.9, why is there a, you know,

  7    really a reduction of $900,000 to the 1.4?

  8    A    Yes.    So this is -- you know, with this being a hot issue

  9    for the UCC, projecting this in the best possible light, there

 10    were -- Highland had a few other small shared services

 11    agreements with other parties that it was generating it looks

 12    like less than a million dollars a year of shared services

 13    revenue.

 14         So, for presentation purposes, the takeaway is,

 15    notwithstanding that Highland might be -- might, again, very

 16    subjective, might be losing $2.3 million on these contracts

 17    collectively, well, we're getting some fees from other places,

 18    too, so it's not really 2.3, it's really 1.4, which -- which

 19    is a little bit of a stretch.

 20    Q    Until the time that you prepared this analysis for the

 21    UCC, had you ever undertaken any attempt to try to look at how

 22    the costs of providing services compared to the revenue under

 23    the intercompany agreements?

 24    A    No.    No, this was the -- this was the first.

 25    Q    Until the UCC made this request, had anybody in the world




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           120 of 155
                                                   Page 342 of 888 PageID 3646
                                  Klos - Direct                           120


  1    ever asked you at any time whether you could analyze the costs

  2    under the intercompany agreements as compared to the revenues?

  3    A      No.

  4    Q      Okay.   Did you give this document to the UCC?

  5    A      Not this document, no.

  6    Q      How come?

  7    A      So, like I said, this was an iteration.       We're within a

  8    few weeks of having filed.      So this analysis continued to get

  9    refined over the next couple weeks.        And ultimately an updated

 10    version was presented to FTI in the offices in December of

 11    '19.

 12    Q      Okay.   Can you tell me how you calculated, how you -- it

 13    says estimated costs to provide services.         What's -- how do

 14    you get to that $16.9 million number?

 15    A      Yeah.   So, the methodology that was used, and I don't

 16    think I'm underestimating when I said I mentioned this to FTI

 17    probably 50 times in the thee-hour call -- was goalposts.

 18    Subjective ranges of how people might have been spending their

 19    time around the time of the bankruptcy.

 20           So we took a September -- sorry.      We took an October 15th

 21    roster at the time and we put -- we put big ranges on people.

 22    This, you know, Person A, they might be spending between 30

 23    and 70 percent of their time on NexPoint-related matters.            And

 24    so we had a low end of the goalpost and a high end of the

 25    goalpost.      And the sausage that's being made to have the 16.9




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           121 of 155
                                                   Page 343 of 888 PageID 3647
                                  Klos - Direct                           121


  1    spit out is the midpoint of those huge goalposts.

  2    Q    Did you do this analysis only for the dual employees, or

  3    did you do it for all employees?

  4    A    Everybody.    And also including the people that were

  5    brought in to replace the dual employees that had left between

  6    2018 and 2019.

  7    Q    Does this have anything to do with an analysis of the

  8    actual costs of any particular contract?

  9    A    Only in the sense that all the contracts are spelled out.

 10    It's not necessarily apparent on this page.

 11    Q    Uh-huh.

 12    A    But they are, they are spelled out within the body of the

 13    analysis.

 14    Q    And when you did the analysis for the payroll

 15    reimbursement agreements, did that include -- did that exclude

 16    all of the terminated employees?

 17    A    It excluded anybody that would have terminated up until

 18    the petition date.

 19    Q    Okay.   And did you have a conversation with the UCC about

 20    what was being paid under the agreements at that time?

 21    A    Not with -- not with the UCC.       But we -- but we met with

 22    FTI, their financial advisor, in December and discussed, you

 23    know, what was being paid at the time.

 24    Q    Okay.   Did you modify this analysis in the future?

 25    A    The updated analysis that was done was from -- I just want




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           122 of 155
                                                   Page 344 of 888 PageID 3648
                                    Klos - Direct                         122


  1    to make sure I'm on the same page -- but from this November

  2    iteration to Isaac for the actual version that was presented

  3    to the -- to the -- to FTI.

  4    Q    Okay.

  5    A    In December.    Mid-December of 2019.

  6    Q    Okay.    Let's go to --

  7                 THE COURT:    Mr. Morris, I had hoped to --

  8                 MR. MORRIS:    Yes?

  9                 THE COURT:    -- break for lunch when the direct is

 10    over.   How much more, do you think?

 11                 MR. MORRIS:    I've got a bit.   I would suggest that we

 12    break for lunch now.       I would respectfully request that we try

 13    to limit that to maybe a half hour or 45 minutes, if we could.

 14                 THE COURT:    Well, it's easier for us to take a short

 15    lunch break than it is for you all.

 16                 MR. MORRIS:    Yeah.

 17                 MR. RUKAVINA:    Your Honor?

 18                 THE COURT:    Mr. Rukavina?

 19                 MR. RUKAVINA:    Your Honor, I think the cafeteria

 20    downstairs -- the cafeteria downstairs is closed, so we're

 21    going to -- we didn't bring a box lunch, not knowing that, so

 22    --

 23                 THE COURT:    Okay.

 24                 MR. RUKAVINA:    We'll go to the nearest place, though.

 25                 THE COURT:    Okay.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           123 of 155
                                                   Page 345 of 888 PageID 3649
                                  Klos - Direct                             123


  1               MR. RUKAVINA:    Post-pandemic, I'm not even sure

  2    what's here anymore.

  3               THE COURT:    Well, let's take a 45-minute break.

  4    We'll come back at 1:30.

  5               MR. MORRIS:    Okay.

  6               THE COURT:    Okay.

  7               MR. MORRIS:    Thank you, Your Honor.

  8               THE COURT:    Thank you.

  9               THE CLERK:    All rise.

 10         (A luncheon recess ensued from 12:45 p.m. to 1:35 p.m.)

 11               THE CLERK:    All rise.

 12               THE COURT:    All right.    Please be seated.     We're

 13    going back on the record in the Highland matter.          Let's see.

 14    Are we ready to proceed?

 15               MR. MORRIS:    Yes, Your Honor.

 16               THE COURT:    Okay.    Mr. Klos, you're still under oath.

 17               THE WITNESS:    Yes.

 18               THE COURT:    Thank you.

 19               MR. MORRIS:    Okay.   May I go ahead, Your Honor?

 20               THE COURT:    You may.

 21               MR. MORRIS:    Okay.

 22                         DIRECT EXAMINATION, RESUMED

 23    BY MR. MORRIS:

 24    Q    Mr. Klos, just to kind of reset after the lunch break,

 25    before we left we had looked at a November 2019 analysis that




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           124 of 155
                                                   Page 346 of 888 PageID 3650
                                     Klos - Direct                        124


  1    you had prepared and had shared with Isaac Leventon.           Do you

  2    remember that?

  3    A      Yes.

  4    Q      And did you revise that analysis in December of 2019?

  5    A      Yes.

  6    Q      Can you turn to Exhibit 145 in your binder?        Oh, you know

  7    what, hmm, I think we need Ms. -- oh, no.

  8                  THE COURT:    Mine says, Document provided in native

  9    format.

 10                  MR. MORRIS:    Yes.    Okay.   So we're just going to have

 11    to wait a moment for Ms. Canty, because that's an Excel

 12    spreadsheet.

 13                  THE COURT:    Okay.

 14                  MR. MORRIS:    So I'm going to cross my fingers and

 15    hope    --

 16                  MS. CANTY:    Which document, John?    I'm sorry.

 17                  MR. MORRIS:    145.

 18           (Pause.)

 19                  MS. CANTY:    I'm sorry, John.     I'll need a minute for

 20    that one.      It's not in my -- yeah, I'll need a minute on that

 21    one.

 22                  MR. MORRIS:    Okay.

 23                  MR. RUKAVINA:    John, we have it ready right now, if

 24    you want.

 25                  MR. MORRIS:    If you can -- in hard copy, or you can




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           125 of 155
                                                   Page 347 of 888 PageID 3651
                                   Klos - Direct                          125


  1    put it on the screen?

  2                MR. BERGHMAN:    Well, I have to be able to share my

  3    screen on WebEx.

  4                MR. MORRIS:    Yeah.

  5                MR. RUKAVINA:    We just printed it out and just

  6    brought it to court.

  7         (Pause.)

  8                MR. RUKAVINA:    I mean, yeah, John, if you want Thomas

  9    to screen-share, we can put it up.

 10                MR. MORRIS:     You know, I'm just going to wait for Ms.

 11    La Asia, and I'm going to -- I'm going to detour for a second

 12    --

 13                THE COURT:    Okay.

 14                MR. MORRIS:     -- while we wait for her.

 15                THE COURT:    Okay.

 16    BY MR. MORRIS:

 17    Q    Mr. Klos, do you remember having a conversa... or,

 18    communicating with -- with Ms. Thedford in approximately

 19    January of 2020 concerning the payroll reimbursement

 20    agreements?

 21    A    Yes.

 22    Q    And do you recall generally -- so we're going to just jump

 23    a little bit in time, we're going to come back to your revised

 24    analysis in December of 2019.       But after you prepared that, do

 25    you recall talking to Ms. Thedford about the payroll




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           126 of 155
                                                   Page 348 of 888 PageID 3652
                                  Klos - Direct                           126


  1    reimbursement agreements?

  2    A    Yes, I do.

  3    Q    And what do you recall about that?

  4    A    I recall, generally speaking, around that January time

  5    frame, the Retail Board that's the trustees over the Retail

  6    Funds understandably was asking questions about who's

  7    providing services and digging in maybe more than they had

  8    previously.

  9         And one of the questions and where I got pulled into it

 10    with Lauren was asking about the schedule, the Schedule A, if

 11    we're able to provide an update to the Retail Board on that,

 12    on that schedule, to which I basically responded to say it

 13    doesn't exist.    You know, again, as a refresher from when we

 14    put this agreement in in the first place, this was a -- this

 15    was a one-and-done deal.      This was something that we were

 16    going to do as of January.      We can be more general and say,

 17    you know, these are the amounts that are being paid for these

 18    services, but not get to the granularity of employee by

 19    employee.

 20    Q    So your recollection is that this was an exchange that was

 21    intended to provide information to the Retail Board; is that

 22    right?

 23    A    That's my recollection.

 24    Q    All right.    Can you go to Exhibit 151 in your binder?

 25    Okay.    And do you see Lauren's email at the bottom of the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           127 of 155
                                                   Page 349 of 888 PageID 3653
                                  Klos - Direct                           127


  1    first page?     She's got some boxes there.

  2    A    Uh-huh.    Yes.

  3    Q    And do you recall what -- what it is she was asking to be

  4    done here?

  5    A    Yes, although just give me one moment to --

  6    Q    Yeah.    Take your time.

  7    A    -- to refresh myself on this one.

  8    Q    Sure.

  9         (Pause.)

 10    A    Yeah.    So, this is the -- oh, this is actually -- this is

 11    an interesting example.      So this is -- just starting at the

 12    back of the chain, this is that monthly process that we were

 13    describing earlier with the effective headcount report that's

 14    -- that's pushing out to a number of people within the

 15    organization anybody who is termed hired during that period.

 16    And so, responding to that email that would have gone out

 17    every month, Lauren is saying to Brian and Kelly, who are the

 18    HR department at Highland, we have a request from the Retail

 19    Board.   You know, they want to understand the contractual

 20    employer, the ultimate payor, and their starting point is

 21    going to be -- is going to be headcount.         So, you know, I

 22    explained that the payment is accomplished through the shared

 23    services and the expense reimbursement.         That's a reference to

 24    the PRAs, as we've been describing them.

 25    Q    Uh-huh.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           128 of 155
                                                   Page 350 of 888 PageID 3654
                                     Klos - Direct                        128


  1    A     And then Lauren asked me to fill out a chart that says --

  2    although actually I'm not sure if this was directed at me or

  3    HR -- but saying, can we have a list of employees, show their

  4    contractual employer?     And then she's asking for, can we do

  5    the percentages like you did for Schedule A?         And I'm sorry,

  6    this is a lot of background, but it's helpful for me to see

  7    it.   Where I say, basically, it doesn't exist.         It was a

  8    point-in-time estimate.

  9          And that's the email that's at 11:45 a.m., where I say,

 10    this was a point-in-time estimate.        January 1.    Estimate is --

 11    is definitely the word.

 12    Q     Can you just read the email?

 13    A     Sure.   Sure.

 14    Q     I'm sorry to interrupt, but --

 15    A     Sure.   Sure.   Sure.

 16    Q     -- let's make sure the record is clear.

 17    A     Yeah.

 18    Q     Go slowly, because --

 19    A     Yeah.   Yeah.

 20    Q     -- I know that you know this stuff, but Judge Jernigan

 21    didn't live it like you did.

 22    A     Yes.    Yeah.

 23    Q     So can you just read your 11:45 a.m. email to Ms.

 24    Thedford?

 25    A     Yes.    So, in response to Lauren asking, wouldn't this just




                                                                  003032
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           129 of 155
                                                   Page 351 of 888 PageID 3655
                                  Klos - Direct                           129


  1    be the Exhibit A percentages, I say, Those were a point-in-

  2    time estimate as of beginning of 2018.        Half the people are

  3    gone now.    If you were to reallocate them, all their

  4    percentages, all the percentages would be different.           On top

  5    of that, we don't have anything comprehensive that is

  6    comparable for back office people.        So the only thing we can

  7    really provide is a stale percentage on a small subset of the

  8    overall population.     It would be much more logical to do

  9    Yes/No and then have a -- and then as a blanket statement say

 10    that NPA/HCMFA pay x and y dollars annually to HCMLP for these

 11    employees' services and overhead.

 12    Q    And from your perspective, is that consistent with the

 13    email communication and exchange you had with Ms. Thedford in

 14    April of 2018 before the payroll reimbursement agreements were

 15    signed?

 16    A    Yes, it's consistent.

 17    Q    And did -- did Ms. Thedford accept your response?

 18    A    Yes.    She said, Got it.    Thanks.    And I don't remember

 19    ever having any follow-up beyond that.

 20    Q    Okay.   So did -- do you know, to the best of your

 21    knowledge, did Highland or the Advisors ever provide to the

 22    Retail Board any updated analysis of the allocation of costs?

 23    A    No.

 24    Q    To the best of your recollection, did Highland or the

 25    Advisors ever provide to the Retail Board any assessment of




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           130 of 155
                                                   Page 352 of 888 PageID 3656
                                  Klos - Direct                           130


  1    the costs that the Advisors were bearing under the payroll

  2    reimbursement agreements?

  3    A    No, not specifically.      No.   No.   The answer is no.

  4    Q    And why is it not specifically?

  5    A    Because, as part of the 15(c) process that happens every

  6    year, there is some disclosure to the board about the

  7    profitability of the Retail Advisors.        And so kind of implicit

  8    in that is some of the underlying information from what

  9    they're paying under these -- the PRAs and the SSAs.

 10    Q    And --

 11    A    So, that's why I was a little hesitant there.

 12    Q    And so I really appreciate the specificity.         Within the

 13    analysis that you're thinking of, would the flat monthly fees

 14    that were paid under the payroll reimbursement agreements,

 15    would that be one component of the profitability of the

 16    Advisors?

 17    A    Yes.

 18    Q    And that's what you were referring to, --

 19    A    That's right.

 20    Q    -- right?

 21    A    That's right.

 22    Q    Okay.    Let's go back.    Now we've got the document up on

 23    the screen.    This is Exhibit 145.      Can you just describe for

 24    the Court what's happened here?       And, again, just to level

 25    set, this is an update of the analysis that we looked at




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           131 of 155
                                                   Page 353 of 888 PageID 3657
                                  Klos - Direct                           131


  1    before lunch that you did in November, right?

  2    A    Yes.

  3    Q    What's -- what's changed?      What is this?

  4    A    Yes.   So this is the same summary output in terms of the

  5    overall presentation.     I'm looking at these side by side, so

  6    I'll try to -- try to walk through.

  7    Q    Uh-huh.

  8    A    But you have the same top box with the same number, 14.6.

  9    This is what's being charged, $14.6 million, across the -- the

 10    several contracts.

 11    Q    Uh-huh.

 12    A    You have the same line just below it of estimated cost to

 13    provide services.     This number has come in between iterations,

 14    so what was 16.9 on the previous analysis is now 16.1.

 15         And then the other difference that's rolling through here

 16    is that there is another offset that doesn't really have,

 17    really, relation to these agreements, which is an offset of

 18    nondebtor employees that are -- were providing services.           So

 19    that's the -- that's the .9.       And it looks like we did a sign

 20    flip on the -- on the shared services agreement.

 21         So, net-net, our loss went from -- estimated loss went

 22    from 2.3 on the original analysis to 1.5.         And then when you

 23    start to take in these factors that are outside of the

 24    agreements, we picked up another $900,000 of offsets.

 25         And this was the version that was ultimately presented to




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           132 of 155
                                                   Page 354 of 888 PageID 3658
                                   Klos - Direct                          132


  1    FTI, showing that -- what, net, net, net, with all the -- with

  2    all the disclaimers about subjectivity, these shared services

  3    agreements -- and when I say shared services, I'm lumping in

  4    the lot of them -- all of the intercompany are kind of a net,

  5    it's kind of a net neutral.      It's basically a breakeven,

  6    understanding that there's tremendous subjectivity.

  7    Q    And did you have a goal?      Like, were you trying to

  8    accomplish anything other than running numbers when you

  9    prepared this analysis for the UCC?

 10    A    Yeah.    Absolutely.    The goal here was to be able to, in

 11    good faith, be able to come up with an analysis that we could

 12    share with the UCC that would effectively buy time in the

 13    bankruptcy process.       We were still very early.     We understand

 14    Jim Dondero was working really hard to come to some sort of a

 15    resolution.    And we really wanted space before something

 16    drastic would happen.       So there was definitely a bias in this

 17    exercise to put the profitability of these contracts in the

 18    best possible light that we could and still -- and still have

 19    our credibility.

 20    Q    Okay.    I appreciate that.    So, in the span of the one

 21    month, the difference between the -- the deficit or the loss

 22    under the intercompany agreements was reduced by $800,000,

 23    right?   6.9 to -- $800,000, right?

 24    A    $800,000.    Yeah.    16.9 to 16.1.

 25    Q    And you got there solely by adjusting the expense side,




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           133 of 155
                                                   Page 355 of 888 PageID 3659
                                   Klos - Direct                          133


  1    right?

  2    A    Correct.    Correct.   The fee side stayed exactly the same.

  3    Q    Right?    Because the fee side is fixed and that can't

  4    change, right?

  5    A    Correct.    That's the 15.6 --

  6    Q    Okay.

  7    A    -- in the box in both analyses.

  8    Q    And so did anything actually happen between November and

  9    December to change the expenses?

 10    A    No.    I think we had one employee who left right at the end

 11    of December who was a -- not a highly-compensated employee.

 12    Q    So that -- so that the difference is the result solely of

 13    the change in assumptions that you were making; is that fair?

 14    A    Right.    More tweaking and -- yeah, that's right.

 15    Q    Okay.    And can -- okay.     Fine.   So you prepared this

 16    analysis.     You give it to the UCC.      You speak with Ms.

 17    Thedford.     We looked at that.    And I'm just trying to finish

 18    this up.     Do you recall that at the end of November Highland

 19    had given notice of termination of the shared services

 20    agreements?

 21    A    Yes.

 22    Q    Okay.    Do you recall the very next day you exchanged some

 23    emails with Dustin Norris?

 24    A    Yes.

 25    Q    You knew Dustin, right?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           134 of 155
                                                   Page 356 of 888 PageID 3660
                                  Klos - Direct                           134


  1    A    Yes.

  2    Q    Okay.   And how did you know him?

  3    A    We -- we've worked together for a long time.          Never

  4    particularly closely, but he was hired at Highland in the

  5    2010-2011 time frame, and then a few years in moved to

  6    Highland Capital Management Fund Advisors.         And then in 2019

  7    transferred again from Highland Capital Management Fund

  8    Advisors to NexPoint Advisors, LP.        And so we've interfaced

  9    from time to time on a variety of issues.

 10    Q    Do you have an understanding of what his role is at the

 11    Advisors?

 12    A    Yes.    You know, generally speaking, marketing and

 13    distribution and investor and wirehouse interface for the

 14    (inaudible) funds, as well as for some of the private

 15    offerings done through NexPoint.

 16    Q    To the best of your recollection, did Mr. Norris

 17    participate in any way in the discussions in late 2017 through

 18    May 2018 about the creation of these agreements and the

 19    economic relationship between the Advisors and Highland?

 20    A    No.

 21    Q    To the best of your recollection as you sit here today,

 22    did Mr. Norris play any role at all in formulating, drafting,

 23    or administering the subadvisory agreements that were

 24    originally prepared for NexPoint and HCMFA in early 2018?

 25    A    No.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           135 of 155
                                                   Page 357 of 888 PageID 3661
                                  Klos - Direct                           135


  1    Q    To the best of your recollection, did Mr. Norris play any

  2    role at all in the formulation, drafting, or administration of

  3    the payroll reimbursement agreements?

  4    A    No.

  5    Q    To the best of your recollection, did Mr. Norris play any

  6    role in formulating, drafting, or executing the amendments to

  7    the payroll reimbursement agreements in December 2018?

  8    A    No.

  9    Q    To the best of your recollection, did Mr. Norris play any

 10    role at all in the formulation, drafting, or administration of

 11    the NexPoint or HCMFA shared services agreements?

 12    A    No.

 13    Q    Prior to December 2020, had you ever discussed with Mr.

 14    Norris how the amounts paid under the payroll reimbursement

 15    agreements were calculated?

 16    A    Not that I can remember, no.

 17    Q    Prior to December 2020, had Mr. Norris ever asked you any

 18    questions about the actual costs of services rendered under

 19    the shared services or payroll reimbursement agreements?

 20    A    Maybe -- maybe in the November time frame, but it really

 21    became acute in December and January.

 22    Q    Okay.   If Mr. Norris testifies that the December 2018

 23    amendments to the PRAs was the result of a true up that you

 24    prepared, what would you say?

 25    A    I would say there was -- there was no true up.          There was




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           136 of 155
                                                   Page 358 of 888 PageID 3662
                                  Klos - Direct                           136


  1    no analysis done.     And I'm sorry to put it so bluntly, but you

  2    weren't there, and so it just didn't happen.

  3    Q    And did you ever tell him that?

  4    A    Not -- certainly not in those -- in those words, no.

  5    Q    Okay.   Let's go -- let's grab the Advisors' binder and go

  6    to Exhibit P, please.     P as in Peter.     I think -- I think you

  7    testified that you recall the notice of termination of the

  8    shared services agreement was November 30th.         Do I have that

  9    right?

 10    A    Yes.

 11    Q    Okay.

 12    A    Yes, you do.

 13    Q    Let's take a look at this.       If you could just -- are you

 14    familiar with this email exchange?

 15    A    Yes.    Yes.

 16    Q    Okay.   And can you describe generally for Judge Jernigan

 17    what's happening on December 1, 2020, the morning after notice

 18    of termination is given?

 19    A    Yes.    So, I think there's a lot of running around, hair on

 20    fire going on around that time, particularly for the Retail

 21    Advisors.    So the notice was I think the evening of November

 22    30th.    And it's my understanding that that notice was quickly

 23    provided to the -- to the Retail Board, who certainly,

 24    understandably, wanted assurance that there would be no

 25    disruption in services and that there would be a smooth




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           137 of 155
                                                   Page 359 of 888 PageID 3663
                                  Klos - Direct                            137


  1    transition.

  2         So I think there was a flurry of activity right after that

  3    point to help, you know, answer those types of questions that

  4    the Retail Board had.     And then also really get serious about

  5    an actual transition plan.

  6    Q    And if you look on the page ending in Bates No. 107,

  7    you'll see an email from Mr. Norris at 8:53 a.m.          Do you see

  8    that?

  9    A    Yes.

 10    Q    Okay.    And is -- are the emails that followed a discussion

 11    about kind of amounts that were paid under the payroll

 12    reimbursement agreements?

 13    A    Yes.    As well as the shared services agreements.

 14    Q    Okay.    And do you see Mr. Norris included a chart there of

 15    fees?

 16    A    I do.

 17    Q    And did you give him that information?

 18    A    I don't believe so.     Based on the date being 6/30 of 2020,

 19    I assume he -- he likely pulled it himself from the 15(c)

 20    materials that I was discussing earlier, because those

 21    materials were presented each year through 6/30.          So that

 22    would have been -- that's my guess, is that that's where he

 23    pulled those, those numbers.

 24    Q    Any idea why NexPoint paid $5,040,000, why it's shown as

 25    -- for the 12-month period, and not the $6 million?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           138 of 155
                                                   Page 360 of 888 PageID 3664
                                  Klos - Direct                           138


  1    A    Yes.    And actually, that's contained in my response at

  2    9:00 o'clock a.m.

  3    Q    Uh-huh.

  4    A    So, yeah, so he sent this at 8:53.        And it looks like,

  5    from his -- from his email, he's wanting to, first and

  6    foremost, make sure the numbers are right, but -- but is

  7    starting to think about these termination notices.          So the

  8    reason it's -- to answer your question, the reason it's

  9    $5,040,000 is because the numbers that he pulled were NexPoint

 10    standalone, and so it's missing the $80,000 a month from

 11    NexPoint Real Estate Advisors.       And that's what I clarify in

 12    the email that I sent back to him seven minutes later, is just

 13    saying that, you know, note that while these, you know, these

 14    amounts are what they are, there is an additional $960,000 per

 15    year in shared services through NREA.

 16    Q    So, if we went back and looked at your -- not that I'm

 17    going to do this -- but if we went back and looked at your

 18    December 2017 email that we started a couple of hours ago

 19    with, it would show the exact same numbers that are on this,

 20    but for the addition of that $80,000 a month from the NexPoint

 21    Real Estate Advisors shared services agreement.          Do I have

 22    that right?

 23    A    Yes.    And that was -- and that was there, too.        It's just

 24    that it's not included in this specific chart.

 25    Q    Okay.    Now, do you see Mr. Norris's email at the top?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           139 of 155
                                                   Page 361 of 888 PageID 3665
                                  Klos - Direct                           139


  1    A    Yes.

  2    Q    Okay.    And can you just describe for the judge what your

  3    recollection and understanding is of what the back-and-forth

  4    here, what's going on?

  5    A    Yeah.    So he's -- he's highlighting the fact that some of

  6    the people that were originally part of schedules aren't there

  7    anymore.     Mark, which that's a reference to Mark Okada.        Jim.

  8    That's a reference to Jim Dondero.        Pogs.   That's a reference

  9    to Jon Poglish, who -- who term'd in, I think, September of

 10    2020.

 11    Q    Uh-huh.

 12    A    Trey is a reference to Trey Parker, who term'd in February

 13    of 2020.     Parm is a reference to Andrew Parmentier, who term'd

 14    in May -- May-ish 2019.      And many others.     So he's -- he's

 15    asking me about, are we still paying the same amounts because

 16    of the BK?

 17    Q    Okay.    And what's your response?      What do you tell Mr.

 18    Norris at this point?

 19    A    So, I say the amounts have not changed since BK.          And then

 20    I go on to point out that -- that given the changes in

 21    headcount, profitability would have increased from HCMLP's

 22    perspective.

 23    Q    And why did you -- why did you tell Dustin that?

 24    A    I think mainly it's -- it's a statement that's somewhat

 25    obvious, which is that if revenue stays exactly the same and




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           140 of 155
                                                   Page 362 of 888 PageID 3666
                                  Klos - Direct                           140


  1    expensive people leave, then profitability is going to

  2    increase for the -- for the party that's receiving the revenue

  3    and bearing the burden of the expense.        So it's -- I think

  4    it's a pretty straightforward statement.         And recognizing

  5    that, you know, we have been paying -- sorry, we had been

  6    receiving those flat amounts throughout the period.

  7    Q    And is it your understanding, after your negotiations --

  8    withdrawn.     I'll just leave it.

  9         After you had this exchange with Mr. Norris, do you recall

 10    being asked by Mr. Waterhouse to update the analysis that you

 11    had prepared in December 2019?

 12    A    Yes.    So, about a week later, December -- I think it was

 13    December 8th, --

 14    Q    Uh-huh.

 15    A    -- I got a call from Frank with a request to update the

 16    analysis that we had done for the UCC the previous year.

 17    Q    And do you recall discussing that with Frank?

 18    A    Yes.    I'll say, this -- the agreements had just been

 19    terminated the week before.      It was, I guess, my -- my Spidey

 20    senses were up a little bit.       It was -- it seemed like an odd

 21    request.    We hadn't -- we hadn't looked at this in a long

 22    time.   And so I did, I asked him in that moment what are --

 23    can you -- can you confirm for me that this is not for any

 24    sort of adverse purpose?      And he told me that -- that it

 25    wasn't.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           141 of 155
                                                   Page 363 of 888 PageID 3667
                                  Klos - Direct                           141


  1         And then in terms of the actual analysis, the analysis

  2    that was requested was, you know, roll forward that schedule

  3    from last year that you shared with the UCC, update it for the

  4    current headcount -- so remove people who terminated; add

  5    people who were hired -- and delete everyone's bonus, and

  6    don't touch any of the percentages.

  7    Q    And do you understand that that became the foundation of

  8    the administrative claim that was filed the following a month?

  9    A    I believe it probably was.

 10    Q    And the assumptions that you were just asked to make, were

 11    those assumptions that you on your own decided to make, or

 12    were those assumptions that Mr. Waterhouse asked you to make?

 13    A    They were -- they were given.

 14    Q    Did you believe -- let's see.       Let's take a look.     We're

 15    at Exhibit Q.    That's your email to Mr. Waterhouse.         Do I have

 16    that right?

 17    A    Yes.

 18    Q    Okay.    And let's look at the attachment for a second.         So,

 19    the attachment -- tell -- explain to Judge Jernigan what's

 20    happening in this attachment to Exhibit Q.

 21    A    Yes.    So this attachment, it actually -- it looks

 22    different from some of the other analyses that we were looking

 23    at before.    In reality, it's just another tab on the same

 24    analysis in the Excel spreadsheet.

 25         And so what it is, what it is doing is it's doing a -- the




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           142 of 155
                                                   Page 364 of 888 PageID 3668
                                  Klos - Direct                           142


  1    -- I'll point out the individual numbers.         The front office

  2    current charge is a reference to the -- to the PRAs of $8

  3    million a year.     So, $3 million for NexPoint, $5 million for

  4    HMCFA.   And then the shared services, again, current charge is

  5    the $3 million of shared services to NexPoint plus NREA and

  6    the $3.6 million for HCMFA that was running around -- it was

  7    300 a month-ish, but it would vary slightly from month to

  8    month.

  9         And then all the other numbers that are -- that are -- for

 10    example, the investment support, directly below current

 11    charge, is -- is the build up from the assumptions that I had

 12    layered in:    namely, updating the headcount, not touching the

 13    percentages, and deleting everyone's bonuses.

 14    Q    Did you ever discuss this document with anybody prior to

 15    confirmation of the Debtor's plan on February 2, 2021?

 16    A    I don't believe so, other than Frank.

 17    Q    Do you know what Frank did with the document?

 18    A    No, I don't.

 19    Q    Did you believe at that time that this document accurately

 20    and fairly reflected Highland's profitability under the

 21    payroll reimbursement agreements or the shared services

 22    agreements?

 23    A    Absolutely not.

 24    Q    And why is that?

 25    A    Well, bonuses are a big component of compensation for




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           143 of 155
                                                   Page 365 of 888 PageID 3669
                                  Klos - Direct                           143


  1    asset managers.    So there are some -- there are some definite

  2    flaws here in terms of leaving that out, both the bonuses as

  3    well as the deferred bonuses, which were material for some

  4    people.

  5         Another factor that would have skewed this result is not

  6    touching any of the allocations, because the reality is, after

  7    the petition date, investment activity of Highland, at HCMLP-

  8    managed funds, dropped tremendously, because you had investor

  9    redemptions, you had funds getting closed.         So those same

 10    employees were -- would have been spending more time and

 11    working more on Retail Advisor issues.        And you also did have

 12    people whose roles changed in the interim time period.

 13         For example, Trey Parker left, who was an investment

 14    professional, and his roles and responsibilities were

 15    transferred to the legal team which took over the distressed

 16    PE management, which was pretty active for the -- for the

 17    Retail Funds.

 18    Q    So, on that topic, can you go to -- let's flip through

 19    these real quick -- Exhibit 36?

 20    A    Bear with me.

 21               MR. MORRIS:    Your Honor, this is a good time to tie

 22    one other tiny loose end.      I think on Friday the Reorganized

 23    Debtor filed an emergency motion to I think redact or file

 24    under seal certain documents.       The documents we're about to

 25    look at are those documents.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           144 of 155
                                                   Page 366 of 888 PageID 3670
                                  Klos - Direct                           144


  1               THE COURT:    Okay.

  2               MR. MORRIS:    And they have been redacted to take out

  3    addresses, home addresses of certain people.         I just want you

  4    to know that what you have in your binder is not going to be

  5    the official exhibit, --

  6               THE COURT:    Okay.

  7               MR. MORRIS:     -- the only difference being that if

  8    that motion is granted -- I don't think Your Honor has tended

  9    to it yet -- but we're just going to redact addresses.           That's

 10    the only purpose of the motion.

 11               THE COURT:    Okay.   I have not tended to it, --

 12               MR. MORRIS:    Yet.

 13               THE COURT:    -- but I presume it's not opposed.

 14               MR. MORRIS:    I just -- correct.

 15               THE COURT:    Okay.

 16               MR. MORRIS:     He certainly is familiar with all these

 17    people.

 18               THE COURT:    Okay.   Mr. Rukavina, you're --

 19               MR. RUKAVINA:    No, Your Honor, of course --

 20               THE COURT:    The motion to redact is not opposed?

 21    It's just addresses?

 22               MR. RUKAVINA:    No, of course not.

 23               THE COURT:    All right.

 24               MR. RUKAVINA:    Yeah.

 25               THE COURT:    All right.    I'll be signing an order on




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           145 of 155
                                                   Page 367 of 888 PageID 3671
                                  Klos - Direct                           145


  1    that.

  2                MR. MORRIS:   Okay.

  3    BY MR. MORRIS:

  4    Q    So, starting with -- we're just going to look at these

  5    very quickly.    In February 2020, do you recall that the titles

  6    of certain employees at Highland were changed?

  7    A    Yes.    For a number of people.

  8    Q    And were the -- were the title changes related in any way

  9    to the changing responsibilities that these employees

 10    undertook?

 11    A    Yes.    And specifically for the ones that I think we're

 12    about to look at, it's -- it was in relation to Trey Parker

 13    leaving, who he was the head of private equity at Highland,

 14    and so his responsibilities were carved up amongst a number of

 15    people.

 16    Q    So, did Ms. Irving take on responsibility as a managing

 17    director of distressed, as reflected in Exhibit 36?

 18    A    Yes.

 19    Q    And let's go to Exhibit 37.       As of February 28th, was Ms.

 20    Vitiello given responsibility in the area of distressed?

 21    A    Yes.

 22    Q    Exhibit 38.    Was Mr. DiOrio made a managing director of

 23    private equity?

 24    A    Yes.

 25    Q    The next exhibit is 39.      Was Mr. Leventon, in February




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           146 of 155
                                                   Page 368 of 888 PageID 3672
                                  Klos - Direct                           146


  1    2020, given the new title, the new additional title of

  2    managing director, distressed?

  3    A    Yes.

  4    Q    Exhibit 40, Mr. Cournoyer.       Was he also given a new title,

  5    co-head of private equity?

  6    A    Yes.

  7    Q    And were all of these changes related to changes in

  8    responsibilities?

  9    A    Yes.    Expansion of responsibilities and, you know,

 10    coinciding with the termination of Mr. Parker, which was on

 11    the same date as all these letters, February 28th of 2020.

 12    Q    And did those individuals we just looked at, do you know

 13    if those individuals kind of filled the void of Mr. Parker's

 14    departure?

 15    A    Yes.    Again, group effort, so it's not -- it's one

 16    person's big responsibilities getting carved up amongst a

 17    number of different people.

 18    Q    So when you talked about with Ms. Thedford, really, in the

 19    exact -- I guess the month before all of this happened, you

 20    mentioned that there would be reallocations if somebody was

 21    actually to go back and look and review the exhibit, the

 22    exhibits.    Do I have that right?

 23    A    Yeah.   That's -- that's correct.       Everyone's role -- and

 24    this was true prepetition and postpetition -- people's roles

 25    evolved and changed.     And so any sort of a point-in-time




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           147 of 155
                                                   Page 369 of 888 PageID 3673
                                  Klos - Direct                           147


  1    estimate, however flawed, is just that.         It's a point in time.

  2    Q    Are you aware of any -- the changes that you just

  3    described for the individuals that you just described, would

  4    it be fair to describe those new responsibilities as

  5    investment advisory services?

  6    A    I believe so.

  7    Q    And they were within Trey Parker's bailiwick; is that

  8    right?

  9    A    Yeah, within his bailiwick.       You know, managing and

 10    monitoring those PE investments.

 11    Q    Okay.    Are you aware of anybody ever saying at any time

 12    prior to November 2020 that Highland was failing to provide

 13    investment advisory services of the type that they provided

 14    for a decade before?

 15    A    No, with the only small exception was that there was a --

 16    there was a conflict identified on a single private equity

 17    asset in the summer, call it August-ish time frame.

 18    Q    What's the name of that asset?

 19    A    That one was OmniMax.

 20    Q    So, other than with respect to OmniMax, did -- are you

 21    aware of any statement, suggestion, allegation prior to

 22    November 2020 where somebody alleged that Highland was failing

 23    to provide investment advisory services?

 24    A    Never.

 25    Q    Okay.    Two very short topics.     Let's turn to Exhibit 159.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           148 of 155
                                                   Page 370 of 888 PageID 3674
                                  Klos - Direct                            148


  1    Can you tell Judge Jernigan what that is?

  2    A    Sorry.    Bear with me.    1-5-9?

  3    Q    Yes.

  4    A    Okay.    I'm there.

  5    Q    Can you just describe for the Court what that document is?

  6    A    Yes.    This is the September monthly invoice from Highland

  7    Capital Management, LP to Highland Capital Management Fund

  8    Advisors under the shared services agreement.          We haven't

  9    spent too much time on it, but most of the agreements were

 10    fixed.   This was the one that did have a little bit of

 11    variability because we would -- we would charge these invoices

 12    each month.

 13    Q    Okay.    And that was the practice going back to about 2013;

 14    is that right?

 15    A    Might have even been 2012, but a long way back.

 16    Q    Okay.    And when we talk about the five intercompany

 17    agreements today, is this the only one that was variable?

 18    A    Yes.

 19    Q    Okay.    And did you have any responsibility for the --

 20    would Highland prepare four HCMFA monthly invoices for shared

 21    services?

 22    A    Yes.

 23    Q    And did you have any responsibility for the preparation of

 24    those invoices?

 25    A    Like I said, this was a practice for many years, so early




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           149 of 155
                                                   Page 371 of 888 PageID 3675
                                   Klos - Direct                          149


  1    on I did, maybe the first year or two.        And then that became a

  2    task that was passed among the team.        And so for years that

  3    process rolled up through me as the -- as the head of the

  4    department.

  5    Q    Okay.      And did -- did the invoiced amount stay fairly

  6    consistent within a small band over time?         During the relevant

  7    period?

  8    A    Yeah.      During the relevant period, during the relevant

  9    period it would have crept up a little bit as compensation

 10    went up, and I believe there was a small net increase in

 11    headcount.      Postpetition, it barely moved.     It was always

 12    between call it $290,000 and maybe just over $300,000 per

 13    month.

 14    Q       Okay.    I just want to ask about one particular entry on

 15    here.    There's an entry in the middle for legal.        Do you see

 16    that?

 17    A    Yes.

 18    Q    And it's $10,000?

 19    A    Yes.

 20    Q    Does that mean that for legal services rendered by

 21    Highland under the shared service agreement HCMFA paid $10,000

 22    per month?

 23    A    Yes.    At this time, that's right.

 24    Q    That's the total of what they paid?

 25    A    Yes.




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           150 of 155
                                                   Page 372 of 888 PageID 3676
                                    Klos - Direct                         150


  1    Q    So, $120,000 for a whole year?

  2    A    Yes.    There's a five percent markup on it, so it's $10,500

  3    per month times 12.

  4    Q    How did that -- did anybody do an analysis to see if HCMFA

  5    was actually responsible for $10,000 a month --

  6    A    No.

  7    Q    -- in legal fees?

  8    A    No.

  9    Q    Anybody ever say at Highland, gee, we should be charging

 10    HCMFA more money because the actual cost of their services is

 11    much greater?

 12    A    No.    Nobody said that.

 13    Q    Finally, let's just talk about damages.         Have you done an

 14    analysis of the damages that Highland alleges that it has

 15    sustained from the Advisors' breach of contract?

 16    A    Yes, in part.

 17    Q    Okay.    Let's talk about the part that you prepared.         Can

 18    you describe for the Court your damage analysis?

 19                 MR. RUKAVINA:    And Your Honor, I do have to object

 20    here.   This witness has not been qualified as an expert,

 21    designated as an expert.       There's no expert report.

 22         Now, if the damages are just they didn't pay per month and

 23    they owe us for that month, that's not an expert deal.           But I

 24    hear damages analysis and I hear that this person did an

 25    analysis, so --




                                                                  003054
Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           151 of 155
                                                   Page 373 of 888 PageID 3677
                                   Klos - Direct                          151


  1                MR. MORRIS:    He's going to -- he's going to add the

  2    amounts in the contracts, multiply them by the number of

  3    months that weren't paid, and come up with a number.

  4                MR. RUKAVINA:    That's -- that's easy.

  5                THE COURT:    Okay.

  6                MR. RUKAVINA:    We know what that number is.      That's

  7    easy.

  8                THE COURT:    Okay.

  9                MR. MORRIS:    So will you stipulate?

 10                MR. RUKAVINA:    Huh?

 11                THE COURT:    Okay.    I overrule the objection if

 12    there's still one pending.

 13                MR. MORRIS:    Okay.    All right.

 14    BY MR. MORRIS:

 15    Q    Mr. Klos, can you describe for the Court how we arrive at

 16    our breach of contract damages?

 17    A    So, to summarize, NexPoint was paying $500,000 per month.

 18    It didn't pay for two months.        So that's a million from

 19    NexPoint.

 20         HCMFA had the payroll reimbursement, the $416,000 per

 21    month.   It didn't pay for two months.       So that's $832,000.

 22         And then on the shared services agreement, HCMFA actually

 23    didn't pay for three months, because the -- the November of

 24    twenty -- let get my year right -- November of 2020, HCMFA

 25    invoice hadn't been created at the Mr. Dondero said to stop




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           152 of 155
                                                   Page 374 of 888 PageID 3678
                                  Klos - Direct                           152


  1    payments.

  2         So three months of HCMFA shared services, two months of

  3    PRA, and then two months of NexPoint for everything.

  4    Q    And if we could just quickly look at Exhibit I in the

  5    Advisors' exhibits so we can get a number for the HCMFA shared

  6    services three-month piece.

  7    A    I?

  8    Q    Yes.

  9    A    Do you have a page, by any chance?        Is it in the back?

 10    Q    It's the last page.

 11    A    In the last --

 12    Q    It's Exhibit A.     And I'll just represent to you that this

 13    is the Debtor's responses to the Advisors' discovery requests.

 14    A    This -- this, to me, looks like payments made as opposed

 15    to amounts outstanding.

 16    Q    I understand that.

 17    A    Okay.

 18    Q    Okay.   So, so the Advisors -- did the Advisors pay for

 19    shared services in November, December of 2020, or January of

 20    2021?

 21    A    Oh, I understand.     Not as it pertained to Highland Capital

 22    Management Fund Advisors shared services.

 23    Q    Okay.   And if you look at the middle of the page, the

 24    amount that was paid each month for the preceding six months

 25    is approximately two hundred and -- $308,000 or $305,000?            Is




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           153 of 155
                                                   Page 375 of 888 PageID 3679
                                    Klos - Direct                         153


  1    that right?

  2    A    I'm sorry.    One -- can you ask that again, please?

  3    Q    The amount -- do you know what Exhibit A is?

  4    A    Yes.    Exhibit A is a listing of all the payments that were

  5    made postpetition by the Retail Advisors.

  6    Q    Okay.    So in the middle of the page, there are payments

  7    that were made each month by HCMFA under the shared services

  8    agreements.    Am I reading that correctly?

  9    A    Yes.    Yes, you are.

 10    Q    And how much were they paying in 2020?

 11    A    Got it.    Yes.   So they were paying, just looking at it

 12    quickly, it looks like the lowest was about $294,000 and the

 13    highest was around $308,000.

 14    Q    Okay.    And how would you calculate the damages for the

 15    three months that they didn't pay, looking at this?

 16    A    It would be approximately -- the best proxy for it would

 17    be the November payment, so it would be approximately three --

 18    three more of the November 30th payment of about $308,000.

 19    Q    Okay.    So 308 times three?

 20    A    Yes.

 21    Q    Plus the million dollars from NexPoint?

 22    A    Yes.    Plus the 832 of PRAs.

 23    Q    Ah.    Correct.   Okay.   And is it your understanding that

 24    Highland also seeks to recover its attorneys' fees, costs, and

 25    expenses under the contracts?




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           154 of 155
                                                   Page 376 of 888 PageID 3680
                                    Klos - Direct                          154


  1    A     That's my understanding.

  2    Q     Okay.

  3                  MR. MORRIS:    Your Honor, I have no further questions.

  4                  THE COURT:    All right.   Pass the witness.    Mr.

  5    Rukavina?

  6          (Transcript excerpt concluded at 2:19 p.m.        Proceedings

  7    concluded at 6:19 p.m.)

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 19                                    CERTIFICATE

 20         I certify that the foregoing is a correct transcript from
       the electronic sound recording of the proceedings in the
 21    above-entitled matter.
 22        /s/ Kathy Rehling                                04/14/2022

 23    ______________________________________             ________________
       Kathy Rehling, CETD-444                                  Date
 24    Certified Electronic Court Transcriber
 25




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Case 21-03010-sgj Doc 110 Filed 04/14/22 Entered 04/14/22 15:23:58 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 Filed
                                     Page
                                        01/12/23
                                           155 of 155
                                                   Page 377 of 888 PageID 3681
                                  Klos - Direct                           155

                                       INDEX
  1                       Excerpt: 9:38 a.m. to 2:19 p.m.
  2    PROCEEDINGS                                                               3
  3    OPENING STATEMENTS
  4
       - By Mr. Morris                                                       10
  5    - By Mr. Rukavina                                                     48

  6    WITNESSES

  7    Plaintiff's Witnesses

  8    David Klos
       - Direct Examination by Mr. Morris                                    61
  9
       EXHIBITS
 10
       Plaintiff's Exhibits 1-161                                  Received 6
 11
       Defendants' Exhibits A through DD (exclusive of             Received 7
 12
       G, H, L, Z, and CC)
 13
       RULINGS
 14
       Motion to Redact - Granted                                           144
 15
       END OF PROCEEDINGS                                                   154
 16
       INDEX                                                                155
 17

 18

 19

 20

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 22

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 25




                                                                  003059
Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 378 of 888 PageID 3682




                      Tab 10
Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-13Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              1 of 161 Page
                                                          379
                                                            5 of
                                                              of165
                                                                 888 PageID
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      3:22-cv-02170-S Document
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                                          01/12/23
                                        Page11/22/22 Page
                                              2 of 161 Page
                                                          380
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                                                              of165
                                                                 888 PageID
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Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-13Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              3 of 161 Page
                                                          381
                                                            7 of
                                                              of165
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Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-13Filed
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                                          01/12/23
                                        Page11/22/22 Page
                                              4 of 161 Page
                                                          382
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Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
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     $    1RZHGRWKLQJVLQJRRGIDLWK

     4    2U'6,WRRULJKW"

     $    &RUUHFW

     4    6R\RXFRQVLGHU\RXUVHOIDVDQHWKLFDOSURIHVVLRQDO

     DFFRXQWDQWQRZ&)2

     $    <HV,FRQVLGHUP\VHOIHWKLFDO\HV

     4    %HIRUH,JHWLQWRWKHPHDWRIWKHPDWWHUWKHUH VD

     FRXSOHRIWKLQJV,WKRXJKW,KHDUG\RXVD\WKDWZHFDQ

     FODULI\,WKRXJKW,KHDUG\RXVD\WKDWWKHDGYLVRUVKDG

   QRWEHHQSD\LQJIRULQYHVWPHQWDGYLFHVHUYLFHVEHIRUHWKH

   VXEDGYLVRU\DJUHHPHQWVLVQ WWKDWFRUUHFW"

   $     <HVWKDW VFRUUHFW,EHOLHYH\HDK

   4     <HDK,WKLQN\RXVDLGWKDWWKHDGYLVRUVZHUHSD\LQJ

   XQGHUVKDUHGVHUYLFHVDJUHHPHQWVEXWWKHUHZDVQRVLPLODU

   IURQWRIILFHLQYHVWPHQWUHLPEXUVHPHQWDJUHHPHQWFRUUHFW"

   $     &RUUHFW7KHUHZDVQRIURQWRIILFHHTXLYDOHQW

   4     2ND\+RZGR\RXNQRZWKDW"

   $     ,ZDVDSDUWRIWKHFRUSRUDWHWHDPWKURXJKRXWWKH

   SHULRGIURPWKHYHU\EHJLQQLQJRI1H[3RLQWDQG

      LQGLVFHUQLEOH H[LVWHQFHDQGZDVQ WDZDUHRIVXFKDQ

   DJUHHPHQWRUFHUWDLQO\DQ\DPRXQWSDLGXQGHUVXFK

   DJUHHPHQWV

   4     :RXOG\RXSOHDVHWXUQWR\RXU([KLELW",W VWKH

   \HDKLW VWKHRQHRIWKHWKLFNELQGHUV

         /HWPHNQRZZKHQ\RX UHWKHUHVLU7KLVKDVEHHQ

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Case 3:22-cv-02170-S Document 2-13 Filed
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     DGPLWWHGLQWRHYLGHQFH7KLVLVWKHVKDUHGVHUYLFHV

     DJUHHPHQWZLWK1H[3RLQWJRLQJEDFNWR'R\RXVHH

     WKDWVLU"

     $    <HV

     4    $QGRQWKHWKLUGSDJH6HFWLRQLI\RX OOIOLSZLWK

     PHWKHUHWKDW VWKHVHUYLFHVWKDWDUHFRQWUDFWHGIRUDQG

     EHLQJSDLGIRUFRUUHFW"

     $    , OOWDNH\RXUZRUGIRULWEXWLWDSSHDUVVR\HV

     4    :HOO\HV,PHDQZHFDQDOOUHDGEHWWHU,WWDONV

   DERXWWKHVHUYLFHVPRUHIXOO\GHVFULEHGPRUHIXOO\RQ$QQH[

   $GR\RXVHHWKDWVLU"$QGLIZHSOHDVHORRNWR$QQH[$

   ZKLFKLVDWWKHHQGLW VJRLQJWREHSDJHLW VJRLQJWR

   HQGZLWK%DWHVODEHO

   $     6RUU\

   4     %RWWRPRI\HDK

   $     , PZLWK\RX

   4     6HHWKHYHU\ERWWRPWKHUHLWVD\VLQYHVWPHQWV

   LQYHVWPHQWUHVHDUFKDQGUHFRPPHQGDWLRQVRQDQDGKRFEDVLV

   DVUHTXHVWHG'R\RXVHHWKDW"

   $     <HV,GRVHHWKDW

   4     ,VQ WWKDWIURQWRIILFHVHUYLFHV"

   $     ,WGHSHQGVRQ\RXUGHILQLWLRQRIIURQWRIILFHVHUYLFHV

   ,WGRHVQ WORRNWRPHOLNHDGYLVRU\VHUYLFHVEXWLW VLW

   LVDUHIHUHQFHWRIURQWRIILFH

   4     2ND\$QGGRZHKDYHWRORRNWKURXJKWKHVDPHRQHIRU

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Case 3:22-cv-02170-S Document 2-13 Filed
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     +&0)$RUGR\RXDJUHHWKDWWKHUH VDVLPLODUSURWHJHQWSULFH

     LQWKH

     $      ,I,ZRXOGWDNH\RXUUHSUHVHQWDWLRQLI\RXVDLGLW

     ZDV

     4      'LG\RXORRNZKHQZDVWKHODVWWLPHLIHYHU\RX

     ORRNHGDWWKLVRULJLQDOVKDUHGVHUYLFHVDJUHHPHQWZLWK

     1H[3RLQW"

     $      ,GRQ WUHFDOOVSHFLILFDOO\

     4      :RXOGLWKDYHEHHQLQWKHODVWIHZZHHNV"

   $       , PFHUWDLQ, YHORRNHGDWLWLQWKHFRQWH[WRIWKLV

   RIWRGD\ VHYHQWV

   4       ,VLWSRVVLEOHWKDW\RXPDGHDPLVWDNHZKHQ\RX

   WHVWLILHGDOLWWOHELWDJRWRWKHILYH\HDUVWKHDGYLVRUV

   ZHUHQRWSD\LQJIRULQYHVWPHQWVHUYLFHVWR+LJKODQG"

   $       1R,GRQ WWKLQN,PLVVSRNHRQWKDW

   4       %HFDXVH\RXVDLGWKDWWKHUHZDVQRVHSDUDWHFRQWUDFW

   IRULQYHVWPHQWVHUYLFHVULJKW"

   $       &RUUHFWWKHUHZDVQRWKHUHZDVQRQH

   4       %XWZHVHHDWOHDVWWKHVHFRQWUDFWVWKDWMXVWWKDW

   LQYHVWPHQWVHUYLFHVZHUHDFWXDOO\EHLQJSDLGIRUMXVWQRW

   E\DVHSDUDWHFRQWUDFW

   $       :HVHHDUHIHUHQFHWRLQYHVWPHQWUHVHDUFKDQG

   UHFRPPHQGDWLRQVRQDQDGKRFEDVLVDVUHTXHVWHG

   4       $QG,KDGDQRWKHUTXHVWLRQIRU\RXWKDW,ZDVFRQIXVHG

   DERXW

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Case 3:22-cv-02170-S Document 2-13 Filed
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     GHSRVLWLRQRUQRW\RXUGHSRVLWLRQ0U.ORV GHSRVLWLRQ

     4    'R\RXUHPHPEHUPHGHSRVLQJ\RXRQ0DUFKWK"

     $    <HVVLU,GRQ WUHPHPEHUWKHGD\EXW,DVVXPH

     WKDW VULJKW

     4    $QG\RXWHVWLILHGHDUOLHUWRGD\WKDWZKHQ0U'RQGHUR

     WROG\RXPLOOLRQIURP+&0)$DQGPLOOLRQIRU1H[3RLQW

     EHFDXVHRIFDVKQHHGVDW+LJKODQGDQGEHFDXVHWKH\ZDQWHG

     GHGXFWLRQVDWWKHDGYLVRUVULJKW"

   $     ,GRQ WNQRZWKDWWKRVHZHUHP\VSHFLILFZRUGV

   4     :KDWGLG\RXWHVWLI\HDUOLHUWRGD\DERXWKRZWKHDQG

   PLOOLRQZHUHDUULYHGDW"

   $     ,GRQ WVSHFLILFDOO\UHPHPEHUP\WHVWLPRQ\EXWWKDW

   FHUWDLQO\WKRVHQXPEHUVRULJLQDWHGIURP0U'RQGHUR

   4     2ND\:HOOOHW VORRNDWKRZ\RXDQVZHUHGP\TXHVWLRQ

   OHVVWKDQDPRQWKDJREHJLQQLQJRQWKHERWWRPRISDJH

   &DQ\RXVHH0U.ORV"

               050255,62EMHFWLRQ<RXU+RQRUWKHUH V

   QRWKLQJWRLPSHDFK:K\LVKHJRLQJWRWKHGHSRVLWLRQ

   WHVWLPRQ\"

               7+(&2857,WGRHVQ WVHHPOLNHKH VGRQH

   DQ\WKLQJWRLPSHDFK\HW"

               0558.$9,1$2IFRXUVHKHGRHV<RXU+RQRU

   WKLVPRUQLQJKHWHVWLILHGWKDW'RQGHURWROGKLPWRPDNHWKH

   QXPEHUVPLOOLRQDQGPLOOLRQEHFDXVH+LJKODQGQHHGHGFDVK

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                             9 of 161 Page387
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     DQGWKHDGYLVRUVQHHGHGWD[GHGXFWLRQV:KHQ,DVNHGKLP

     WKDWTXHVWLRQDPRQWKDJR\RX OOVHHKHVD\VKH V

     VSHFXODWLQJ,DVNHGKLP,DVNHGKLPZK\GR\RXWKLQN

     LW VDQGDQGKHVD\V, PVSHFXODWLQJ6R\HV, P

     LPSHDFKLQJKLP

     %<0558.$9,1$

     4    $UH\RXRU0U.ORVOHW VDVNLWWKLVZD\

          'R\RXKDYHSHUVRQDONQRZOHGJHDVWRKRZ0U'RQGHUR

     DUULYHGDWWKHDQGPLOOLRQQXPEHUVKHJDYH\RXIRUKLV

   DQDO\VLV"

   $     7KHVHDUHWZRGLIIHUHQWTXHVWLRQVEXW

               7+(&2857$UHZHPRYLQJRQIURPWKHRWKHU

   TXHVWLRQ"

               050255,61R0U.ORVLVZLWK0U5XNDYLQD

   WKH\ UHGRLQJILQH

               7+(&28572ND\*RDKHDG

               0558.$9,1$2ND\6RGR\RXZDQWWRJRDSDJH

   KLJKHU*RXSDSDJHKLJKHU0U%HUJKDPSDJH

   4     6R\RXVHHWKHUHLQOLQHWRZH UHWDONLQJDERXW

   WKHWZRSD\UROOUHLPEXUVHPHQWDJUHHPHQWV'R\RXVHHWKDW

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               050255,6, PVWLOOREMHFWLQJ7KHUH VQR

   QRWKLQJWRLPSHDFK

               0558.$9,1$<RXU+RQRU,KDYHQ WVKRZQKLP\HW

   ZKDWWKHUHLVWRLPSHDFKEHFDXVHDJDLQDPRQWKDJRKH

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Case 3:22-cv-02170-S Document 2-13 Filed
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    KRZWKHDQGPLOOLRQQXPEHUVZHUHDUULYHGDW7KLV

    PRUQLQJKHWHVWLILHGWKDW'RQGHURWROGKLPDWDPHHWLQJZLWK

    0U:DWHUKRXVHDQGRWKHUVWKDW+LJKODQGQHHGHGPRQH\DQG

    WKDWWKHDGYLVRUVQHHGHGWD[GHGXFWLRQV7KDWLV, P

    DOORZHGWRLPSHDFKKLPLIKHGLGQ WLIDPRQWKDJRKH V

    VD\LQJKH VVSHFXODWLQJDQGWRGD\KH VVD\LQJWKDW VZKDW

    'RQGHURWROGKLP

               050255,6<RXU+RQRULI,PD\WKHUH VWZR

   GLIIHUHQWTXHVWLRQV2QHLVZKHUHGLGWKHQXPEHUFRPH

   IURPWKHRWKHUKRZZDVLWDUULYHGDW0U.ORVWHVWLILHG

   XQHTXLYRFDOO\WKDWWKHQXPEHUVFDPHIURP0U'RQGHURDQGLI

   KHZDQWVWRDVNKLPWKHTXHVWLRQGR\RXNQRZKRZWKH\ZHUH

   FDOFXODWHGKHVKRXOGDVNKLPWKHTXHVWLRQ7KHUH VQRWKLQJ

   WRLPSHDFK

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   4    'R\RXNQRZKRZWKHQXPEHUVZHUHFDOFXODWHG"

   $    ,GRQ WNQRZZKHUH0U'RQGHUR,ZRXOGEH

   VSHFXODWLQJDVWR

   4    2ND\

   $    ZKHWKHUDVWRZKHUH0U'RQGHURFDPHXSZLWK

   WKRVHQXPEHUV, PQRWVSHFXODWLQJWKDWWKHQXPEHUVFDPH

   IURP0U'RQGHUR

   4    ,XQGHUVWDQG6RLIWKLVPRUQLQJLI,KHDUG\RXRU

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
                                          11/22/22
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                                            11 of 161Page389
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    VRPHRQHKHDUG\RXVD\WKDW0U'RQGHURWROG\RXLWZDVDQG

    PLOOLRQEHFDXVHRIWKHWD[GHGXFWLRQVDQGFDVKDO SK 

    QHHGV\RXZRXOGKDYHEHHQVSHFXODWLQJLIWKDW VZKDW\RX

    WHVWLILHG"

    $    $JDLQ,WKLQN,GRQ WWKLQNWKDW VFRUUHFWDV\RX

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    4    /HW VMXVWEHYHU\FOHDUEHFDXVHWKLVLVYHU\

    LPSRUWDQW5LJKWQRZ\RX UHWHOOLQJPHWKDW\RXGRQRW

    NQRZKRZ0U'RQGHURDUULYHGDWWKHPLOOLRQQXPEHUIRU

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   4    2ND\$QGZH OOWDONPRUHDERXW\RXU'HFHPEHU

   DQDO\VLV,WKLQN\RXWHVWLILHGFRUUHFWPHLI, PZURQJ

   WKDW0U:DWHUKRXVHWROG\RXWRXVHWKHFXUUHQWKHDGFRXQW

   FRUUHFW"

   $    6RUU\MXVWWREHFOHDURQWKHWLPHIUDPH

   4    <HDKOHW V

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   SDUGRQWRUHIUHVK\RXUUHFROOHFWLRQLW VLQP\H[KLELW

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Case 3:22-cv-02170-S Document 2-13 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            12 of 161Page390
                                                          16 of 888
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    ELQGHUP\ELQGHUVDUHVPDOOHU

                0558.$9,1$:KLFKRQHWKH'HFHPEHUDQDO\VLV

                05%(5*+$0'RXEOH&

    %<0558.$9,1$

    4    ,W V40U.ORV

    $    4"

    4    <HV

    $    <HV, PWKHUH

    4    2ND\6R4WKLVLVWKHFRYHUHPDLOIURP\RXWR0U

   :DWHUKRXVHDQG\RXDWWDFKDWOHDVWWKHILUVWSDJHRIDQ

   ([FHOVSUHDGVKHHWWKDW\RX3') GFRUUHFW"

   $    ,DWWDFKHGWKH3')

   4    <HDK6R, PWKDW VZKDW, PDVNLQJ\RXDERXW

   :KHQ\RXWHVWLILHGHDUOLHUDERXWWKLV\RXVDLGWKDW0U

   :DWHUKRXVHWROG\RXWRXVHFXUUHQWKHDGFRXQWFRUUHFW"

   $    &RUUHFW<HDKWKHQFXUUHQWKHDGFRXQW

   4    7KHQFXUUHQW

        $QG\RXVDLGWKDW0U:DWHUKRXVHWROG\RXWRDVVXPHQR

   ERQXVHVFRUUHFW"

   $    &RUUHFW

   4    $QG\RXVDLGWKDW0U:DWHUKRXVHWROG\RXWRXVHWKH

   VDPHDOORFDWLRQVDVLQWKHFRQWUDFWVFRUUHFW"

   $    1R1R,GLGQRW

   4    2ND\6RGLGKHWHOO\RXDQ\WKLQJDERXWWKH

   DOORFDWLRQV"

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $      :HKDYHWREHFDUHIXOZLWKDOORFDWLRQVWZRGLIIHUHQW

    WKLQJV7KHDOORFDWLRQVWKDW,WHVWLILHGWRQRWEHLQJ

    DGMXVWHGZHUHWKHDOORFDWLRQVWKDWZHUHJLYHQWRWKH8&&

    QRWWKHDOORFDWLRQVIURPWKH35$V

    4      6RZKHQ\RXFUHDWHG([KLELW4DQGZH OOORRNDWWKH

    ([FHOVSUHDGVKHHWLIQHFHVVDU\ZKDWDOORFDWLRQVGLG\RX

    XVH"

    $      7KHVDPHSHUFHQWDJHVWKDWKDGEHHQSDUWRIWKHSUHYLRXV

    \HDUDQDO\VLVIRUWKH8&&WRWKHEHVWRIP\UHFROOHFWLRQ

   4      2ND\,VWKDWZKHQ\RXVDLGWKDW\RXGLGDJRDOSRVW

   KHUHDQGDJRDOSRVWWKHUHDQG\RXWRRNDQDYHUDJH"

   $      &RUUHFW

   4      2ND\6RMXVWWREHFOHDUDJDLQ([KLELW4LWLVLW

   ZDV\RXUJRRGIDLWKDQDO\VLVDWOHDVWDVRI'HFHPEHU

   UHJDUGLQJWKHSHUFHQWDJHV

   $      <RXVDLG

   4      2ND\([KLELW4\RXFUHDWHGLQ'HFHPEHUFRUUHFW"

   $      ([KLELW4

   4      <HDK

   $      \HV

   4      %XW\RXXVHGWKHSHUFHQWDJHDOORFDWLRQVIURP\RXU

   'HFHPEHUDQDO\VLVWKDW\RXJDYHWR)7,FRUUHFW"

   $      &RUUHFWZLWKDVPDOOFDYHDWLQWKDWWKHUHKDGEHHQQHZ

   HPSOR\HHVWKDWKDGFRPHRQVLQFHWKHQ6RREYLRXVO\WKH\

   GLGQ WKDYHDSHUFHQWDJHLQWKHRULJLQDOEHFDXVHWKH\GLGQ W

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    H[LVWIRUSXUSRVHVRIWKDWDQDO\VLV$QGWKHQLQWKH 

    \RXNQRZSHUFHQWDJHVZHUHDGGHGIRUWKRVHSHRSOH

    4    ,MXVWZDQWWRPDNHVXUHDJDLQWKDW-XGJH-HUQLJDQ

    XQGHUVWDQGVZKHQZHWDONDERXW([KLELW4VRPHPRUHWKDWWKH

    SHUFHQWDJHDOORFDWLRQV\RXXVHGZHUHQRWWKHRQHVIURP0D\

    EXWWKHRQHVIURP'HFHPEHUGRQHLQFRQMXQFWLRQ

    ZLWK(YHUVDW+LJKODQGDQGJLYHQWRWKHFRPPLWWHHDQG)7,

    $    <HV,EHOLHYHWKDW VFRUUHFW

    4    2ND\7KDQN\RX

        ([KLELW$SOHDVHWKDW VRQHRIWKHSD\UROO

   UHLPEXUVHPHQWDJUHHPHQWV\RXKDYHLWLQIURQWRI\RXDQGJR

   WRWKHODVWSDJHZKLFKDUHWKHHPSOR\HHDOORFDWLRQV

   $    2ND\, PWKHUH

   4    $UH\RXVD\LQJVLUWKDW\RXSXOOHGWKHVHSHUFHQWDJH

   DOORFDWLRQVRXWRIWKLQDLU"

   $    ,ZRXOGQ WVD\,SXOOHGWKHPRXWRIWKLQDLU

   4    6RGLG\RXDSSO\DQ\ORJLFDQGGLG\RXDWOHDVWDWWHPSW

   WRWU\WRJHWDUHDVRQDEOHHVWLPDWH"

   $    <HV,DSSOLHGVRPHORJLF

   4    2ND\,WKLQNZHHVWDEOLVKHGWKDWLW VTXLWH

   VXEMHFWLYHWRGHWHUPLQHKRZPXFKDQHPSOR\HHPD\ZRUNIRUDQ

   DGYLVRUEXWWKDWHYHQWKRXJKLW VYHU\VXEMHFWLYH\RXWULHG

   LQJRRGIDLWKWRILQGDUHDVRQDEOHHVWLPDWHZKHQHYHU\RX

   SUHSDUHGWKHVHSHUFHQWDJHDOORFDWLRQVFRUUHFW"

   $    ,WKLQNWKHPDLQSXUSRVHRIWKLVDQDO\VLVZDVWRJHW

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Case 3:22-cv-02170-S Document 2-13 Filed
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    EDFNWRWKHQXPEHUVWKDWZHDOUHDG\KDGDQGWKHSHUFHQWDJHV

    RQWKHSDJHDUHZHUHDWWKHWLPHQRWFRPSOHWHO\

    XQUHDVRQDEOH$QGWRWDNHDQHDVLHUH[DPSOHLI,FDQILQG

    RQH

           $VDQML*XODWL SK IRUH[DPSOHZKR VDWDKXQGUHG

    SHUFHQWIRU+&0)$WKHUH VDORJLFWRWKDWLQWKDWKHZDV

    FKDUJHGZLWKDVLQJOHIXQGWKDWZDVPDQDJHGE\+&0)$KHQFH

    KH VDKXQGUHGSHUFHQW

           (YHU\ERG\ZKR VQRWDKXQGUHGSHUFHQWRU]HURLW VD

   ORWPRUHVXEMHFWLYH

   4      6LUEXWHYHQWKRXJKLW VREMHFWLYHDJDLQ\RX

   HVWDEOLVKHGWKDW\RXLQJRRGIDLWKDQGHPSOR\LQJ\RXUVNLOO

   DQGH[SHUWLVHWULHGWRILQGDUHDVRQDEOHHVWLPDWHFRUUHFW"

   $      ,WULHGWRILQGDUHDVRQDEOHHVWLPDWHWKDWZRXOGDOVR

   YDOLGDWHWKHRXWFRPHWKDWZDVDOUHDG\NQRZQ

   4      6XUH%HFDXVH\RXKDGWRGLYLGHDQXPEHUJLYHQWR\RX

   E\0U'RQGHURE\DFHUWDLQDPRXQWRIHPSOR\HHVULJKW"

   $      <HV

   4      $QGWKHQ\RXKDGWRXVHWKHVH\RXKDGWRFDOFXODWHWKH

   SHUFHQWDJHVZLWKWKRVHWZRPHWULFVDOUHDG\NQRZQFRUUHFW"

   $      ,GRQ WNQRZWKDW,KDGWRGRDQ\WKLQJEXWWKDWZDV

   WKHDSSURDFKWKDWZDVWDNHQ

   4      7KDW VZKDW\RXGLG<RXZHUHJLYHQKHUH VWKHQXPEHU

   ZKDWHYHULWLVSHUPRQWKRUSHU\HDUKHUH VWKHHPSOR\HHV

   QRZSOHDVH0U.ORVFDOFXODWHWKHSHUFHQWDJHV7KDW V

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Case 3:22-cv-02170-S Document 2-13 Filed
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    ZKDW\RXZHUHWROGWRGRFRUUHFW"

    $    ,ZRXOGQ WSXWLWWKDWZD\,ZDVWROGKHUH VWKH

    QXPEHU

    4    'LG\RXSXOOWKLVOLVWRIHPSOR\HHVRUGLGVRPHERG\

    JLYH\RXWKHOLVWRIHPSOR\HHV"

    $    ,EHOLHYH,ZRXOG YHSXOOHGWKDW,PLJKWKDYH

    YHULILHGLWZLWKVRPHERG\

    4    ,GLGQ WKHDU\RX'LG\RXSXOOLWRUMXVWYHULI\LW"

    $    ,EHOLHYH,SXOOHGLW

   4    2ND\

   $    ,I,PD\KDYH\RXNQRZ,PD\KDYHFKHFNHGZLWK

   VRPHERG\EXW,GRQ WUHFDOOWKDWVSHFLILFDOO\,EHOLHYH,

   SUREDEO\ZRXOGKDYHSXOOHGWKLVOLVW

   4    2ND\6RQRWRQO\GLG\RXWU\WRDSSO\VRPHDQDO\VLV

   WRWKHSHUFHQWDJHDOORFDWLRQV\RXDFWXDOO\SLFNHGWKH

   HPSOR\HHVKHUH"

   $    $JDLQSLFNHGLVWKHZURQJZRUGWKHVHZHUHWKH

   +LJKODQG

   4    <RXNQHZWKDWWKHVHZHUHHPSOR\HHV

   $    ,QYHVWPHQWSURIHVVLRQDOV

   4    WKDWZHUHZRUNLQJ

              050255,6([FXVHPH

   4    DV+LJKODQGDGYLVRUV

              050255,6,IKHFRXOGDOORZWKHZLWQHVVWR

   ILQLVKKLVDQVZHU

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            17 of 161Page395
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                7+(&2857<HDKKHZDVLQWKHPLGGOHRIDQ

    DQVZHUJRDKHDG

                7+(:,71(666RUU\FRXOG\RX,ORVWP\WUDLQ

    RIWKRXJKW

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    4    ,ZDVDVNLQJGLG\RXSLFNWKHVHHPSOR\HHV"

    $    2K\HV$QGZKDW,ZDVVD\LQJZDVWKHVHZHUHWKH

    HPSOR\HHVRI+&0/3VRWKLVZDVQ WOLNHDVXEVHWWKHVHZHUH

    WKHIURQWRIILFHSURIHVVLRQDOVDW+&0/3DWWKHWLPH

   4    *RWLW7KLVZDVWKHXQLYHUVHRIIURQWRIILFH

   SURIHVVLRQDOV"

   $    <HVWRWKHEHVWRIP\UHFROOHFWLRQ

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   4    6RZH YHHVWDEOLVKHGWKDW0U'RQGHURSLFNHGWKH

   UHVXOWLQJQXPEHUWKDWKHZDQWHG:H YHHVWDEOLVKHGWKDW\RX

   SLFNHGWKHIURQWRIILFHSURIHVVLRQDOV

   $    ,GLGQ WSLFNWKHIURQWRIILFHSURIHVVLRQDOV7KH

   IURQWRIILFHSURIHVVLRQDOVZHUHZKRWKH\ZHUH

   4    6LUWKHUH VQRVXEMHFWLYLW\LQLGHQWLI\LQJWKHVH

   HPSOR\HHVFRUUHFW"

   $    ,GRQ WEHOLHYHWKHUHZDVQR

   4    2ND\7KHVXEMHFWLYLW\JRHVWRWKHDOORFDWLRQ

   SHUFHQWDJHVDQG\RXDOUHDG\WHVWLILHGDERXWWKDWFRUUHFW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4    2ND\

    $    $QG,ZRXOGSRLQWRXWWKHUHLVDGGLWLRQDOVXEMHFWLYLW\

    LQWKHDQDO\VLVEH\RQGMXVWWKHSHUFHQWDJHV6R,VKRXOG

    PDNHWKDWSRLQW

    4    :HOOOHW VPDNHWKDW/HW VWDONDERXWWKDW/HW V

    JRWR([KLELW-SOHDVH

    $    2ND\, PWKHUH

    4    7KLVLV\RXPLJKWQHHGWRUHDGVHYHUDOSDJHVKHUHWR

    UHIUHVK\RXUPHPRU\, PJRLQJWRDVN\RXDERXW\RXUHPDLO

   IURP-DQXDU\UGDWDPZKHUH\RXKLJKOLJKW

   FHUWDLQODQJXDJH'R\RXQHHGWRUHDGWKDWVLU"

   $    1R\RXFDQDVNWKHTXHVWLRQDQG, OOGRP\EHVW

   4    2ND\:HOOGR\RXUHPHPEHU, OOUHSUHVHQWWR\RX

   WKDW\RXKLJKOLJKWHGWKDWODQJXDJHGR\RXUHPHPEHUWKDWGR

   \RXKDYHDQ\UHDVRQWRGLVDJUHHZLWKWKDW"

   $    1RUHDVRQWRGLVDJUHHZLWKWKDW

   4    2ND\$QGLVLWIDLUWRVD\WKDWKHUH\RXZHUHWDNLQJ

   DIRUPDFRQWUDFWDQGWDONLQJWRRWKHUVDERXWODQJXDJH

   \RX GOLNHWRUHPRYHIURPWKDWIRUPFRQWUDFWDV\RXSUHSDUHG

   DQHZVHDUFKVHUYLFHDJUHHPHQW"

   $    7KLV, PQRWVXUH

   4    :HOOLI\RXUHDGDERYHVLULWVD\V³LVWKHUHDZD\

   WRSDUHEDFNWKHODQJXDJHLQ6HFWLRQ",KLJKOLJKWHG

   WKHVHFWLRQVEHORZWKDW,SUHIHUWRH[FOXGHRUPRGLI\DV

   WKLVORRNVOLNHZH UHMXVWFUHDWLQJZRUNWKDWZLOOFHUWDLQO\

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Case 3:22-cv-02170-S Document 2-13 Filed
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    VOLSWKURXJKWKHFUDFNV´<RXZURWHWKDWULJKW"

    $    <HV

    4    6R\RXZHUHVXJJHVWLQJWR(YHUVWKDWWKHKLJKOLJKWHG

    ODQJXDJHGRZQWKHUHEHUHPRYHGFRUUHFW"

    $    ,WGRHVDSSHDUWKDW VZKDW, P

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    4    $QGLIZHUHDGWKHILUVWKLJKOLJKWHGSDUWLWVD\V³WKH

    QDPHORFDWLRQDQGVXFKRWKHUPDWWHUVDVWKHSDUWLHVGHVLUH

   WRUHIOHFWZLWKUHVSHFWWRHDFKVKDUHGHPSOR\HHVKDOOEH

   LGHQWLILHGRQWKHERRNVDQGUHFRUGVRIHDFKRIWKH

   PDQDJHPHQWFRPSDQ\DQGWKHVWDIIDQGVHUYLFHVSURYLGHU

   ZKLFKPD\EHDPHQGHGLQZULWLQJIURPWLPHWRWLPHE\WKH

   SDUWLHVWRDGGRUUHPRYHDQ\VKDUHGHPSOR\HHWRUHIOHFWWKH

   HPSOR\PHQWRUODFNWKHUHRIRIVXFKHPSOR\HH´

        'R\RXUHPHPEHUGLG,UHDGWKDWFRUUHFWO\"

   $    <HV

   4    $QGZK\ZHUH\RXDVNLQJWKDWWKDWODQJXDJHEHUHPRYHG"

   $    %HFDXVHDOOWKLVLVDFFRPSOLVKLQJWKHODQJXDJH

   LWVHOILVDFFRPSOLVKLQJQRWKLQJIRUWKHDJUHHPHQW)URPP\

   SHUVSHFWLYHDJDLQWKLVLVDOOMXVWFUHDWLQJLQWHUQDOZRUN

   IRUQRYDOXHWRWKHRYHUDOOFRPSOH[6RLWVHHPV

   XQQHFHVVDU\,WVHHPHGXQQHFHVVDU\WRPHLQP\UHYLHZ

   4    +HUH\RX UHUHIHUULQJWRWKHVKDUHGVHUYLFHV

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    FRPSDQ\ULJKW"

    $    :HOOQRWEHFDXVHLWWDONVDERXWVKDUHG, PEDVLQJ

    WKDWPDLQO\RQWKHIDFWWKDWLW VZH UHUHIHUULQJWKH

    15($DQG13$66DJUHHPHQWVDQGWKHVXEMHFWOHVVDERXW

    PDQDJHPHQWFRPSDQ\DQGVWDIIDQGVHUYLFHVSURYLGHU

    4    $QGXOWLPDWHO\DVZHGHWHUPLQHGDQGDVWKHFRQWUDFWV

    UHDGWKHVKDUHGVHUYLFHDJUHHPHQWVZLWKWKHDGYLVRUVZHUH

   IODWPRQWKO\IHHDJUHHPHQWVFRUUHFW"

   $    7KHVKDUHGVHUYLFHLQUHVSHFWWR15($DQG13$

   4    <HDK

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   0U0RUULV7KLVLV\RXUFRPPXQLFDWLRQZLWK0VDQG,

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   4    WKDW VMXVWDQLPSRVVLEOHZRUGIRUPHWRSURQRXQFH

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   4    2ND\6RVLPLODUWRWKHHPDLOZHMXVWORRNHGDWIRU

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   \RXZULWH³/DXUHQGRHVLWKDYHWREHIUDPHGDV

   UHLPEXUVHPHQWRIDFWXDOFRVWV"´$UH\RXWKHUHVLU"

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    $      , PZLWK\RXWKHHPDLO"

    4      <HVVLU³'RHVLWKDYHWREHIUDPHGDVUHLPEXUVHPHQW

    RIDFWXDOFRVWV":H GPXFKUDWKHULWEHFKDUDFWHUL]HGDV

    MXVWDQDJUHHGXSRQDPRXQWEHWZHHQWKHWZRHQWLWLHV,W V

    QRWDVPDOOWDVNDQGLQYROYHVVXEMHFWLYHDVVXPSWLRQVWR

    DOORFDWHLQGLYLGXDOHPSOR\HHV6RDVLW VZULWWHQLWZRXOG

   EHFUHDWLQJDWRQRILQWHUQDOZRUNWKDWLVQ WDGGLQJDQ\

   YDOXHWRWKHRYHUDOOFRPSOH[´<RXZURWHWKDWWRKHU

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   4      <HDK$QGVKHZULWHVEDFNWR\RX³, PRSHQWR

   FKDQJLQJIURPGHILQLWLRQRIDFWXDOFRVWVEXWP\XQGHUVWDQG´

   DQG,DSRORJL]HDSSDUHQWO\VKH VZULWLQJYHU\SRRUO\

   EXWP\XQGHUVWDQGIURP)R[ZDVWKDWWKHUHQHHGVWREHVRPH

   PHWKRGRIGHWHUPLQLQJWKHDPRXQWVSHUFRXQVHOWUHDWLQJ

   WKLVDVDUHLPEXUVHPHQWLVLPSRUWDQWKRZHYHU´6KHZURWH

   WKDWULJKW"

   $      6KHGLG

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    RUQHJRWLDWHWKHFRQWUDFWDQGVKHEDVLFDOO\UHMHFWHG\RXU

    SURSRVDOFRUUHFW"

               050255,62EMHFWLRQWRWKH<RXU+RQRUKH

    VKRXOGXVHWKHZKROHHPDLOZKLFKZHSXWLQIURQWRIWKH

    ZLWQHVVEHFDXVHVKHKHDFWXDOO\KDVKHUDQVZHU,I\RX G

    JLYHPHMXVWRQHVHFRQG,FDQWHOO\RXZKDWWKHH[KLELW

    QXPEHULV

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               0558.$9,1$7KLVLVWKHZKROHWKLQJ

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     LQGLVFHUQLEOH RSWLRQDOFRPSOHWHQHVVWKLVLVWKHHPDLO

   DQG, PDVNLQJDYHU\OLPLWHGTXHVWLRQZKLFKLVKHPDGHD

   UHTXHVWDQGVKHWKHFRQWUDFWXDOFRXQWHUSDUW\UHMHFWHGLW

              050255,6+ROGRQRQHVHFRQG

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   UHMHFWHGLWFRUUHFW"

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    TXHVWLRQ

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    2YHUUXOHG,PHDQKHFDQDQVZHUZKDWKHWKLQNVWKHDQVZHU

    LV

                 7+(:,71(66,GRQ WWKLQNWKLVLVDUHMHFWLRQ

    6KH VWRPHLW VDFRQWLQXDWLRQRIWKHGLVFXVVLRQ

    %<0558.$9,1$

    4     2ND\<RXVD\ZH GPXFKUDWKHULWEHFKDUDFWHUL]HGDV

    MXVWDQDJUHHGXSRQDPRXQWEHWZHHQWKHWZRHQWLWLHV<RX

   ZURWHWKDWULJKW"

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   4     $QGVKHZURWHEDFNVD\LQJEDVLFDOO\WKLVQHHGVWREH

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   $     6KHVDLGWUHDWLQJWKLVDVDUHLPEXUVHPHQWLVLPSRUWDQW

   KRZHYHU

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   DJUHHPHQWVDUHQRWUHLPEXUVHPHQW"

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    )HGIRUG³FRXOGZHVD\WKDWDFWXDOFRVWVLVEHLQJGHWHUPLQHG

    DWWKHRXWVHWRIWKHDJUHHPHQWKDYHDVFKHGXOHDVRI

    -DQXDU\LQVWHDGRIDFWXDOFRVWVVKDOOEHDVVHWRXW

    LQWKDWVFKHGXOHDQGVKDOOEHPDGHLQPRQWKO\LQVWDOOPHQWV

    IRUWKHWHUPRIWKHDJUHHPHQWWKDWZD\WKHH[HUFLVHLVRQO\

    SHUIRUPHGRQFH´<RXZURWHWKDWULJKW"

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   4    2ND\$QGZDVWKDWXOWLPDWHO\\RXUXQGHUVWDQGLQJDVWR

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   4    $QGWKHQ\RXZULWH³EH\RQGWKDW\HDUWHUPLQDWLRQ

   SURYLVLRQVNLFNLQVRWKHUH VDEHOLHIWKDWWKHDFWXDO

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   GRQ WUHFDOO6R,GRQ WNQRZLIWKLVZDVP\DGGLWLRQRULI

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    GHWHUPLQDWLRQ"

    $    2XWVHWGHWHUPLQDWLRQ,KDYHWRDVVXPHLVDUHIHUHQFHWR

   P\HPDLOZKHUH, PVD\LQJDVFKHGXOHDVRI-DQXDU\VWVR

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   4    $QG, PVRUU\\RX YHJRWWRVD\\HVRUQRLQFRXUW

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   4    $QGZKDW\RXZURWHEDFNWKRVHSHUFHQWDJHVWKDW\RXSXW

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Case 3:22-cv-02170-S Document 2-13 Filed
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    FRXQVHO6RZKHWKHUVKHZDVFRQYLQFHGRUXQFRQYLQFHGRU

    SDUWLDOO\FRQYLQFHGZRXOGQ WKDYHEHHQWKHWRSLFWKDWZDVRQ

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    4    <RXNQRZLWZDVDSRRUTXHVWLRQRIPLQH

         'LG\RXXQGHUVWDQGRULQWHQGWKDWVKHZRXOGWDNHWKHVH

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   4    $QGWKDWVKHZRXOGEDVHGRQWKLVHPDLOFRQVLGHU

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   ZRXOGFRQVLGHUWKHPWREHUHDVRQDEOH"

   $    6DPHDQVZHUDVEHIRUH,GRQ WNQRZWKDW,FDUHGRU

   WKRXJKWDERXWZKDWVKHWKRXJKWDERXWWKHQXPEHUV6R,

   GRQ WNQRZWKDW,FDQUHDOO\DQVZHUWKDW

   4    'LG\RXIODJDQ\WKLQJIRU0V)HGIRUGDWWKDWWLPH

   DERXWDQ\WKLQJILVK\RUWKDW\RXGLGQ WOLNHDERXWWKHVH

   SD\UROOUHLPEXUVHPHQWDJUHHPHQWV"

   $    1RWWKDW,FDQUHPHPEHURWKHUWKDQDV,WHVWLILHG

   HDUOLHUDOLWWOHELWRIIUXVWUDWLRQWKDWWKHUH VWKLVOHYHO

   RIZRUNWKDWQHHGVWRJRRQIRUZKDW,KDGDVVXPHGLQP\

   PLQGZDVJRLQJWREHDVLPSOHUHSURGXFWLRQRIWKH1H[3RLQW

   VXEDGYLVRU\DJUHHPHQWWKDWZHKDGSXWLQDIHZPRQWKV

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    EHIRUH

    4    6ROHW VVHHLI,FDQZDON\RXWKURXJKWKLVMXVWVR

    WKDW,XQGHUVWDQGFRPSOHWHO\2QWKHVKDUHGVHUYLFH

    DJUHHPHQWV\RXKDGSDUGRQPHVXJJHVWHGWKDWDSHULRGLF

    FKDQJHEHUHPRYHGDQGWKHUHMXVWEHDIODWPRQWKO\IHH

    FRUUHFW"

    $    ,GRQ WNQRZWKDWWKDWZDVP\VXJJHVWLRQ

    4    2ND\<RXZDQWWRJREDFNWR([KLELW-0U.ORVWKH

    KLJKOLJKWHGODQJXDJH,W V%DWHVODEHOHG

   $    6XUH, PWKHUH

   4    7KHWRSKLJKOLJKWHGODQJXDJHGR\RXUHFDOOZKHWKHU

   WKDWODQJXDJHWKDW\RXZDQWHGUHPRYHGZDVLQIDFWUHPRYHG

   IURPWKHVKDUHGVHUYLFHDJUHHPHQW"

   $    , PQRWVXUHLILWZDVRUZDVQ W

   4    2ND\%XW\RXUHPHPEHUWKDWWKHVKDUHGVHUYLFHV

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   $    :KLFKVHUYLFHVZKLFKVKDUHGVHUYLFHVDJUHHPHQW

   4    1H[3RLQW

   $    1H[3RLQW1H[3RLQWDGYLVRUV\HVLWZDVDIL[HG

   DPRXQW

   4    $QG+&0)$"

   $    ,WYDULHG

   4    2ND\%XWWKDWFRQFHSWZDVDVLPLODUFRQFHSWRIMXVWD

   IODWIHHZDVUHMHFWHGRUQRWLWZDVQRWDFFHSWHGE\0V

   )HGIRUGDQGWKHQ\RXUDOWHUQDWLYHRIOHW VKDYHDVHWDPRXQW

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    XSIURQWVXEMHFWWRUHYLVLRQWKDWZDVDFFHSWHGFRUUHFW"

    $    ,W VKDUGIRUPHWRFKDUDFWHUL]HLWWKDWZD\DFFHSWHG

    QRWDFFHSWHG7KLVZDVDGLVFXVVLRQKDSSHQLQJLQUHDOWLPH

    DQGDUHVROXWLRQZDVUHDFKHGIDLUO\TXLFNO\

    4    <RXXQGHUVWDQGVLUWKDWLWLV+LJKODQG VSRVLWLRQDW

    WKLVWULDOWRGD\WKDWWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWV

    MXVWSURYLGHGIRUEDVLFDOO\,WKLQN0U1RUULVVDLGLQWKH

    EHJLQQLQJMXVWVKDUHGVHUYLFHVIRUDIODWPRQWKO\DPRXQW

    $    ,GRQ WNQRZWKDW, PLQDSRVLWLRQWRIXOO\DUWLFXODWH

   WKHDUJXPHQWWKDWRXUVLGHLVPDNLQJ

   4    7KHRQO\WKLQJWKDW,ILQGRIUHDOLPSRUWDQFHIURP\RX

   LVWKDWZKHQ\RXGLVFXVVHGWKLVZLWK0V)HGIRUG\RXDQG

   KHUDJUHHGWKDWWKHUHZRXOGEHVRPHDELOLW\WRSHULRGLFDOO\

   DGMXVWWKHDPRXQWVXQGHUWKHSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWVRUWKH\FRXOGEHWHUPLQDWHGFRUUHFW"

   $    $JDLQ,VWUXJJOHZLWKWKHZRUGDJUHHPHQW:HZRUNHG

   WKURXJKFRPPHQWVWRDGRFXPHQWWKDWZDVJRLQJWRJHW

   H[HFXWHGDQGWKDWGRFXPHQWZDVXOWLPDWHO\H[HFXWHG

   4    <RXJDYHKHU

   $    $QGWKHGRFXPHQWVD\VZKDWLWVD\V

   4    <RXJDYHKHUDFRQFHSWDQGVKHSXWWKDWFRQFHSWLQWR

   WKHDJUHHPHQW"

   $    , PQRWVXUH

   4    2ND\'R\RXNQRZZKHWKHUWKRVHSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWVVWLOOSURYLGHDPRQWKO\RUTXDUWHUO\RUDQQXDORU

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    DQ\NLQGRISRWHQWLDOYDULDQFHWRWKHDPRXQWV"

    $    ,GRQ WUHFDOOVSHFLILFDOO\EXW, GEHKDSS\WRORRN

    DWWKHDJUHHPHQW

    4    :HOOGLG\RXVHHWKHILQDODJUHHPHQWEHIRUHLWZDV

    H[HFXWHGE\0U:DWHUKRXVH"

    $    <HV,EHOLHYH,GLG

    4    2ND\'R\RXUHPHPEHUZKHWKHU\RXUHYLHZHGLWEHIRUH

    KHVLJQHGLW"

    $    <HV,EHOLHYH,GLG

   4    'R\RXUHPHPEHULIDQ\WKLQJLQWKHUHFDXJKW\RXU

   DWWHQWLRQDVVRPHWKLQJRXWVLGHRIZKDW\RXKDGXQGHUVWRRG

   WKHILQDOYHUVLRQWREH"

   $    'RQ WUHPHPEHUVSHFLILFDOO\

   4    2ND\6RQRZOHW VJRSOHDVHWR\RXU'HFHPEHU

   DQDO\VLVZKLFK\RXGLGZLWK0U:DWHUKRXVHIRU)7,DQGWKH

   FRPPLWWHH

   $    8KKXK

              0558.$9,1$1RZ<RXU+RQRUEULHIO\ZHKDYH

   WKDWSULQWHGRXWRQSDSHU,W VDQ([FHOVSUHDGVKHHWDQG

   WKHUHZDVDPLVSULQW6RZKLOHGXULQJWKHOXQFKEUHDNZH

   KDGDUXQQHUEULQJLQDQHZRQHVRPD\EHGXULQJWKHQH[W

   EUHDNZH OOJLYH\RXDQGWKHFOHUNVWKHQHZSULQWWKH

   SULQWRXW,QWKHPHDQWLPHZH OOSXOOLWXSLQ([FHO

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               0558.$9,1$7KLVLVWKH'HFHPEHU:KLFK

    RQHLVLW",W V/,VWKDWLW7KRPDV"

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    4    1RZ0U0RUULVDVNHG\RXDOLWWOHELWDERXWWKLVMXVW

    VRWKDWZH UHFOHDUWKLVZDVWKHRQHWKDWDFWXDOO\ZHQWWR

    WKHFRPPLWWHHDQG'6,ULJKW"

    $    &DQ\RXJRWRWKHVXPPDU\WDESOHDVH"

               0558.$9,1$*RWRWKHVXPPDU\

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   EXW\RXZHUHRQHRIWKHSHRSOHWKDWZRUNHGRQWKLVFRUUHFW"

   $    ,ZDVRQHRIWKHSHRSOHWKDWZRUNHGRQWKLV

   4    2ND\:KDWZDV\RXUUROH,PHDQVXPPDUL]HIRUPH

   ZKDWLIDQ\WKLQJLQKHUHDUH\RXWKHRQHWKDWSULQFLSDOO\

   DQDO\]HGRUSUHSDUHG"

   $    :KDWLQKHUHGLG,VRUU\RQHPRUHWLPH

   4    :KDWZDV\HDK6RZH YHHVWDEOLVKHGWKDW\RX

   \RX UHWKHRQHWKDWDFWXDOO\UHYLVLWHGWKHRULJLQDO

   DOORFDWLRQSHUFHQWDJHVE\WDNLQJJRDOSRVWVDQGDYHUDJLQJ

   WKHPULJKW"

   $    ,ZRXOGQ WVD\LW VDUHYLVLWDWLRQRIWKHDOORFDWLRQ

   SHUFHQWDJHV

   4    <RX UHWKHRQHWKDWWHVWLILHGWKDW\RXWRRNWKH

   JRDOSRVWVRQWKLVRQHDQGZHQWGRZQWKHDYHUDJHVWRILQGWKH

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Case 3:22-cv-02170-S Document 2-13 Filed
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    DOORFDWLRQSHUFHQWDJHVIRUWKLVUHSRUWFRUUHFW"

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    4    2ND\6R, PDVNLQJ

    $    :LWK\RXNQRZZLWKFROODERUDWLRQZLWKRWKHUV\HV

    4    2ND\6RDQ\WKLQJHOVHLQKHUHZKDWGLG\RXLI

    DQ\WKLQJHOVHGRLQKHUHDVRSSRVHGWRVRPHRQHHOVH"

    $    :HOO, PWKH,FUHDWHGWKHVSUHDGVKHHWDQG

   SRSXODWHGWKHLQIRUPDWLRQWKURXJKRXW,GRQ WNQRZ

   4    7KHHPSOR\HHV"

   $    <HVWKHHPSOR\HHV

   4    7KHLUFRPSHQVDWLRQ"

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   4    $QGZKHQ\RXGLGDOOWKDW\RXXQGHUVWRRGWKDWWKLV

   ZRXOGEHVKDUHGZLWKDQRIILFLDOFRPPLWWHHRIXQVHFXUHG

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   $    1R,GRQ WNQRZWKDW,VSHFLILFDOO\NQHZH[DFWO\ZKR

   WKHDXGLHQFHZDVJRLQJWREH

   4    :KRGLG\RXWKLQNWKHDXGLHQFHZDVJRLQJWREH"

   $    6RPHFRPELQDWLRQRIWKH8&&)7,DQG'6,

   4    <RXNQHZWKDWLWZDVJRLQJWREHLPSRUWDQWIRUWKH

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    $    ,PSRUWDQW",NQHZWKDWLWZDVDQLVVXHWKDWKDGEHHQ

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    LWZDVWKHLWHPWKDWZDVRQP\SODWHDQGSHRSOHZHUHDVNLQJ

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    LQIRUPDWLRQFRUUHFW"

    $    1R,GRQ WWKLQNWKDW VFRUUHFW

    4    <RXGLGQRWWKLQNSHRSOHZRXOGEHUHO\LQJRQWKH

    LQIRUPDWLRQ\RXSXWLQWKLVDQDO\VLV"

   $    ,DVVXPHGDQGZKDWDFWXDOO\KDSSHQHGZDVWKDWZHKDG

   WKHRSSRUWXQLW\WRSUHVHQWWKLVWR)7,RYHUWKHFRXUVHRI

   KDOIDGD\ZKLFKLVZKDWZHGLG7KDWWKH\ZRXOGKDYHWKH

   RSSRUWXQLW\WRDVNTXHVWLRQVGLJLQZKHUHYHUWKH\IHOWWKH\

   ZDQWHGWRDQGZH GEHDEOHWRUHVSRQGWRWKRVHTXHVWLRQV

        $QGDV,PHQWLRQHGHDUOLHUUHO\LQJRQLVUHDOO\

   GLIILFXOWZLWKDQDQDO\VLVOLNHWKLVDQGLWZDVYHU\

   FOHDUO\YHU\FOHDUO\PDLQWDLQHGZLWKLQWKDWPHHWLQJDQGLQ

   PHHWLQJVOHDGLQJXSWRWKHPHHWLQJWKDWWKHVHZHUHKLJKO\

   KLJKO\KLJKO\VXEMHFWLYHDVVXPSWLRQV7KH\ZHUHEHLQJSXW

   WRJHWKHULQJRRGIDLWKEXWWKHUHLVQRULJKWDQVZHU

   4    $QGLVWKDWSDUWRIZK\\RXWRRNWKHJRDOSRVWVDQG

   DYHUDJHGWKHPEHFDXVH\RXNQHZWKDWLWZDVKLJKO\KLJKO\

   KLJKO\VXEMHFWLYHVR\RXWULHGWRILQGDPRUHUHDVRQDEOH

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    ULJKWDQVZHUEXWWKHULJKWDQVZHULVQ WNQRZDEOH7KDW V

    QRWWRVD\WKHPLGSRLQWLVWKHULJKWDQVZHUMXVWVRPHZKHUH

    LVPRVWOLNHO\WKHULJKWDQVZHU

    4    %HFDXVHDQ\WLPH\RX UHGHDOLQJZLWKDYHUDJHVRQHPLJKW

    EHKLJKHUWKDQWKHDYHUDJHRQHPLJKWEHORZHUEXWWKHPRUH

    GDWD\RXKDYHWKHPRUHOLNHO\RUUHDVRQDEOHDUHVXOWLV"

    $    1R,GRQ WDJUHHZLWKKRZ\RXSKUDVHGWKDW

   4    2ND\'LG\RXLQWHQGWRGHFHLYHDQ\RQHZKHQ\RX

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   GRZQWKHUHLWVD\VFXUUHQWFKDUJHIRU13$$&0)$

   GR\RXVHHWKDWVLU"

   $    <HV

   4    7KRVHDUHWKHFKDUJHVXQGHUWKHSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWVFRUUHFW"

   $    <HV

   4    2ND\7KHOLQHEHORZWKDWVD\VLQYHVWPHQWVXSSRUW

   :KDWGRHVWKDWPHDQ"

   $    ,W VDUHIHUHQFHWRWKHIURQWRIILFHDOORFDWLRQV

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    4    7KHZKDW\RXZHUHWU\LQJWRGRKHUHZDVWRFDOFXODWH

    WKHFRVWVRIWKRVHIURQWRIILFHDOORFDWLRQVWR+LJKODQG

    FRUUHFW"

    $    (VWLPDWHWKHP

    4    (VWLPDWHWKHP$QGDFFRUGLQJWRWKLVHVWLPDWHWKDW\RX

    SUHSDUHGDQGWKDWZHQWRXWWRWKHFRPPLWWHHDWWKDW

    HVWLPDWHDWWKDWSRLQWWKHSURILWDELOLW\WR+LJKODQGZLWK

    WKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWVWRJHWKHUZDV

    PLOOLRQFRUUHFW"

   $    7KDW VZKDWWKLVWDELVLQGLFDWLQJ\HV

   4    7KDW VZKDW\RXSUHSDUHGFRUUHFW"

   $    <HV,SUHSDUHGWKLV

   4    2ND\$QGOHW VJRWRDOORFDWLRQV, PQRWVXUHWKLV

   LVYHU\UHOHYDQWEXWWKHUH VGRHV LQGLVFHUQLEOH RSLQLRQ

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              0558.$9,1$<HDKHPSOR\HHOLVWLQJ<HDKVR

   OHW VKLGHWKHHPSOR\HHV$UHZHKLGLQJWKHHPSOR\HHV

   7KRPDVVRWKDWWKHSHRSOHRQWKH:HE([FDQ WVHHLW"

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   DQG,DUHMXVWWU\LQJWRQRWOHWSHRSOHRQWKH:HE([VHH

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            35 of 161Page413
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    HPSOR\HHGDWDZKLFKLVZK\ZH UHVWUXJJOLQJKRZWRGRWKLV

               2ND\$UHWKHUHDQ\KLGGHQWDEVRQKHUH"

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    WKDW VZKHUHWKHGDWDLV

               0558.$9,1$, PVRUU\<RXU+RQRU

            3DXVH 

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    4    6ROHW VORRNDWWKHILUVWSHUVRQ0U.ORV,QHHG

    JODVVHV,FDQ WUHDGWKDWFORVHZKDWLVWKDWSHUVRQ V

   QDPH"

   $    ,W V6DKDQ,DSRORJL]H

   4    /HW VSLFNDQHDV\RQHOHW VSLFNDQHDV\RQH/DXUHQ

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   4    2ND\6RWKHVHDUHWKHDOORFDWLRQSHUFHQWDJHVWKDW\RX

   FUHDWHGWKHUHLQ$&$%$($)HWFHWHUD"

   $    $&\HDK$&WKURXJK$)LVRQHJRDOSRVWDQGWKHQ$1

   WKURXJK$4LVWKHRWKHUJRDOSRVW

   4    2ND\$QGZHFDQORRNDWWKHRULJLQDODJUHHPHQW

   WKDW V([KLELW$IRU0VZHOOZHJRWLWRQWKHILUVW

   SHUVRQEHFDXVH0V%DNHULVQ WRQLW6R

   $    6KH VQRWRQWKH35$

   4    ,ZDVWU\LQJWRVDYHXV

   $    $V\RXQRWLFHG

   4    7KHILUVWSHUVRQWKRXJKVD\WKHILUVWQDPH

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $      6DKDQ SK 

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    WKDW\RXVHOHFWHG"

    $      6RZHOO, OOIRFXVRQ+&0/3VRPHZKHUHEHWZHHQ

    SHUFHQWDQGZKHQ, PUHIHUULQJWR,GRQ WNQRZZKDW

    SHRSOHFDQVHHKHUHVR$1

    4      <HV

    $      6RPHZKHUHEHWZHHQSHUFHQWDQGSHUFHQWRIKLVWLPH

    LVRQ+&0/3

   4      2ND\:KDWDERXW+&0)$IRUKLP"

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   4      +RZGLG\RXJHWWKRVHJRDOSRVWVDQG"

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   4      'LG\RXWDONWR+5"

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   WKRVHDQGJRDOSRVWV", PVRUU\DQGJRDOSRVWV"

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   $      6XEMHFWLYLW\

   4      -XVWVXEMHFWLYLW\GLG\RXMXVWSXOOQXPEHUVRXWRIWKH

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    KDOISHUFHQW

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    7KRPDVRUGLG\RXZDQWWRKLGHWKHP"-XVWDVHFRQG:H

    PLJKWPDNHLWHDVLHU

          3DXVH 

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    4    7KLVLV\RXU([FHOVSUHDGVKHHW:DONXVWKURXJK

    SOHDVHDUHWKHUHILUVWRIDOOWR\RXUNQRZOHGJHDUHWKHUH

    DQ\XQVKRZQRUKLGGHQFROXPQVULJKWQRZ"

   $    <HVWKHUHDUHXQVKRZQFROXPQV

   4    :KLFKZKHUHSOHDVH"

   $    /RRNVOLNH

              0558.$9,1$, PMXVWWHOOLQJ0U%HUJKPDQKRZ

   WRRSHQWKHPEHFDXVH,GRQ WNQRZ([FHO

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   GRQ WNQRZLIKH VZDWFKLQJWKLVULJKWQRZEXWWKHUH V

   TXLWHDELWRIVHQVLWLYHFRPSHQVDWLRQLQIRUPDWLRQRQKHUH

   4    2ND\6RWKHKLGGHQRQHVKDYHWKHVHQVLWLYH

   FRPSHQVDWLRQLQIRUPDWLRQ"

   $    <HDKDQGSUREDEO\VRPHLQIRUPDWLRQWKDW VQRW

   VHQVLWLYHEXWXQWLOZHRSHQLW

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   4    :HOOKHUHMXVWZDONPHWKURXJKWKHQDVEHVW\RXFDQ

   ZLWKRXWVKRZLQJHYHU\RQHVHQVLWLYHLQIRUPDWLRQJREDFNWR

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Case 3:22-cv-02170-S Document 2-13 Filed
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    6DKDURU6DKDQ

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    4    :KHUHLVWKHJRDOSRVWWKDWLVWKHORZHVWIRUKLPZKHUH

    LVWKHJRDOSRVWWKDWLVWKHKLJKHVWIRUKLPDQGWKHQZKDWLV

    WKHRQHWKDW\RXSLFNHG"

    $    6XUH6RWKH

    4    ,PHDQIRUOHW VWDNH+&0)$

    $    <HDKIRU+&0)$VRRQWKHORZHVWVKDUHGDOORFDWLRQ

    SHUFHQWDQGRQWKHKLJKHVWSHUFHQW$QGVRZKDWLVWKDW

   DQGDKDOISHUFHQWDVDPLGSRLQW<RXFDQ WVHHWKH

   DQGDKDOISHUFHQWRQWKHVFUHHQULJKWQRZEXWWKDW VWKH

   PLGSRLQWRIDQG

   4    2KVRWKHDQGDKDOIPLJKWEHLQWKHKLGGHQILHOGV

   WRGRWKHPDWK"

   $    ,GRQ WWKLQNWKHDQGDKDOILVHYHQRQWKH

   VSUHDGVKHHWEXW, PMXVWGRLQJWKHPDWK

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   P\([KLELW$KH VVKRZQDWSHUFHQW<RXFDQMXVWORRNDW

   LW6RLQWKLVFDVHLQWKLVFDVHDWWKHHQGRI\RX

   DSSOLHGWKHPHWKRGRORJ\WRWU\WRPDNHLWPRUHUHDVRQDEOH

   DQGFXUUHQWFRUUHFW"

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   4    2ND\6RQRZZH OOJRWR\RXU'HFHPEHUDQDO\VLV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    ORRNDW4SOHDVH6RWKLVLVWKHRQHWKDW\RXSUHSDUHGDW

    WKHUHTXHVWRI0U:DWHUKRXVHZKHUH0U:DWHUKRXVHWROG\RX

    XVHWKHVHDVVXPSWLRQVFRUUHFW"

    $    <HDKKHJDYHPHDVVXPSWLRQVWRXVH

    4    7KHDVVXPSWLRQVDJDLQEHLQJFXUUHQWKHDGFRXQWDVVXPH

    QRERQXVHVDQGXVHWKH'HFHPEHUDOORFDWLRQSHUFHQWDJHV

    ZHMXVWORRNHGDWFRUUHFW"

    $    &RUUHFWZLWKDVPDOOFDYHDWWKDW\HDK,GRQ WVWDWH

   WKDWH[SOLFLWO\LQWKHHPDLOEXWWKDW VP\UHFROOHFWLRQ

   $QGIXUWKHUDV,WHVWLILHGEHIRUHWKHUHZHUHVRPHQHZ

   HPSOR\HHVVRWKHUHZDVQ WDSUHYLRXVDQDO\VLVWR

   4    'LG\RXLQFOXGHWKH

   $    OHDYHWKLVLQ

   4    QHZHPSOR\HHVLQWKLVRQH"

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   EDVLVDVRIWKHVQDSVKRWLQWLPHLQ'HFHPEHU"

   $    <HVZLWKQRERQXVFRPSHQVDWLRQ

   4    <HV,XQGHUVWDQG:H YHWDONHGDERXWWKHDVVXPSWLRQV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    NQRZLQJWKDWWKH\ UHVXEMHFWLYLW\DQGHPSOR\LQJWKRVH

    DVVXPSWLRQVWKLVLVWKHFDOFXODWLRQWKDW\RXSUHSDUHG"

    $    <HVHPSOR\LQJWKRVHDVVXPSWLRQVWKLVLVWKHRXWSXW

    4    2ND\$QGWKHQZKDW VWKHQH[WOLQHRIIVHWIRUQRQ

    GHEWRUHPSOR\HHVSURYLGLQJVHUYLFHVWRWKHGHEWRU

   $    7KDW VDUHIHUHQFHWRSHRSOHZKRZHUHQ WHPSOR\HGE\

   +&0/3EXWZKR\RXNQRZIURPWLPHWRWLPHZRXOGKHOSRQ

   +&0/3UHODWHGLVVXHV

   4    $QGWKDWKDSSHQHGFRUUHFWWKHDGYLVRUVKDGFHUWDLQRI

   WKHLURZQHPSOR\HHVDQGWKH\ZRXOGEDVLFDOO\OHW+&0/3

   VRPHWLPHVXVHWKRVHHPSOR\HHV

   $    /LNH,VDLGWKHUHZDVDWLPHZKHQZHZHUHDOORQHELJ

   KDSS\IDPLO\DQGHYHU\ERG\XVHG

   4    $QGWKDWFRQWLQXHGWRVRPHGHJUHHSRVWSHWLWLRQXQWLO

   FHUWDLQWKLQJVKDSSHQHGODWHULQZKHQ0U'RQGHUR

   IRUEDGHVRPHHPSOR\HHVIURPH[HFXWLQJ0LVWHU6HULHV SK 

   WUDGHVLVQ WWKDWFRUUHFW"

   $    6RUU\FDQ\RX

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                       Page         Page
                                            41 of 161Page419
                                                          45 of 888
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    DQGDSSO\LQJHIIHFWLYHO\WKHVDPHORJLFEXWLQUHYHUVH6R

    LQVWHDGRI+LJKODQG+&0/3DEVRUELQJDOOWKHFRVWVDQG

    DOORFDWLQJLWHOVHZKHUHWKHUHZHUHDFRXSOHRIHPSOR\HHV

    ZKRZHUHHPSOR\HGHOVHZKHUHDQGDOORFDWLQJVRPHSDUWRI

    WKHLUWLPHEDFNWR+&0/3\RXNQRZQRWZLWKVWDQGLQJWKDW

    WKDW VQRWKRZWKHDJUHHPHQWZRUNVEXWLW VLGHQWLI\LQJDV

    DQRIIVHWZKLFKZRXOG\RXNQRZ\RXFDQIXUWKHU\RXNQRZ

    EHDQDGGLWLRQ

   4    $QG+LJKODQGQHYHUSDLGWKHDGYLVRUVIRUWKHSHULRGLF

   XVHRIWKHDGYLVRU VHPSOR\HHVULJKW"

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   WDONVDERXWVKDUHGVHUYLFHV7KRVHZHUHWKHVKDUHGVHUYLFHV

   DJUHHPHQWVZLWKWKHDGYLVRUV,WDNHLW"

   $    7KHVHDUHWKHVKDUHGVHUYLFHVZLWKWKHDGYLVRUVDVZHOO

   DV1H[3RLQW5HDO(VWDWHDGYLVRUV

   4    2ND\$QGZKDW VWKHOLQHRQLQFXUULQJFKDUJH"

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   4    2ND\$QGZKDW VWKHOLQHLWHPVKDUHGVHUYLFHV"

   $    ,WORRNVWRPH

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   4    ,VQ WWKDW\RXWU\LQJWRFDOFXODWHWKHDFWXDOFRVWRI

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    4    :HOOZKHQ\RXWDNHWKHFXUUHQWFKDUJHDQG\RXGHOHWH

    VKDUHGVHUYLFHV\RXGHOHWHOLWLJDWLRQWRJHWWRHVWLPDWHG

    SRLQWLQWLPHSURILWDELOLW\ULJKW"

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    4    6RZKDWVRLI\RX UHFRQGXFWLQJVKDUHGVHUYLFHV\RX

   KDYHQRPHPRU\RIZKDWWKDWZDV"

   $    0\, PVSHFXODWLQJDELWKHUHEXWP\JXHVVLVWKDW

   WKLVLVMXVWDVLPSOHVXPPDWLRQRIHYHU\WKLQJLQWKDWWRS

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   $    1RWZLWKVWDQGLQJWKDWWKDWPD\RUPD\QRWEHDQH[DFW

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   4    2ND\$QGZKDWDERXWWKHOLQHOLWLJDWLRQZKDWLV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    DSDJH7KH\ UHWKHRXWSXWRIDQDQDO\VLVWKDWPDQDJHVWR

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    PDWHULDOVKDUHGVHUYLFHVDJUHHPHQW, PVRUU\

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   4    :KDWGRHVWKDWPHDQ"

   $    7KDWQXPEHULVMXVWWKHVXPPDWLRQRIWKHDQGWKH

   GLUHFWO\DERYH

   4    2ND\6LUGLGQ W\RXKDYHWRVRPHZKHUHLQKHUHGHGXFW

   WKHDFWXDOFRVWWR+LJKODQGRISURYLGLQJWKHVKDUHGVHUYLFHV

   WRDUULYHDWDPLOOLRQDQQXDOL]HGSURILW"

   $    6RUU\FDQ\RXDVNWKDWDJDLQLW VMXVW

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   $    ,I,FDQVWRS,GRQ WNQRZLI, PFRQFOXGLQJDQ\WKLQJ

   ZLWKWKLV, PWDNLQJDGLUHFWLRQIURPP\ERVVDQG, P

   UHWXUQLQJWKDWDQDO\VLVWRKLP, YHVSHQWDORWPRUHWLPH

   LQWKHODVWPLQXWHVWKLQNLQJDERXWWKLVWKDQZKHQWKH

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Case 3:22-cv-02170-S Document 2-13 Filed
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               050255,6<RXU+RQRUKH VLQWHUUXSWLQJKLP

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               0558.$9,1$1R, PQRW+HVWDUWHGKH

    DQVZHUHGP\TXHVWLRQDQGWKHQHODERUDWHG

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   4    , PDVNLQJDYHU\VLPSOHTXHVWLRQ,VWKHUHDQ\ZKHUH

   RQWKLVSDJHDQHVWLPDWHE\\RXRIWKHDFWXDOFRVWVWR

   +LJKODQGRISURYLGLQJWKHVKDUHGVHUYLFHVXQGHUWKHVKDUHG

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   $    1RLW VQRW,W VQRWFDOOHGRXWRQWKLVSDJH

   4    2ND\$QG\RX UHQRWSUHSDUHGWRVD\WKDWWKLVUHSRUW

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   PLOOLRQDQQXDOL]HGJDLQRQWKHVKDUHGVHUYLFHVDJUHHPHQWV

   WR+LJKODQG"

   $    ,ZRXOGQHYHUSXWP\UHSXWDWLRQRQWKHOLQHIRUWKLV

   DQDO\VLV7KLVLVQRWDWDOOUHIOHFWLYHRIZKDWP\YLHZV

   ZHUHWKHQZKDWP\YLHZVZHUHDUHQRZ7KLVLVOLNH,

   VDLGDUHVSRQVHWRDUHTXHVW

   4    2ND\6RRQWKHFRYHUHPDLOWR0U:DWHUKRXVHZKHUH

   GLG\RXWHOOKLPKH\)UDQNWKLVPD\QRWPDNHVHQVHWKLV

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    FDXWLRQKLPDWDOODERXWWKDWWKLVPLJKWQRWUHIOHFW\RXU

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    $    ,GRQ WNQRZWKDWWKDW VFRQWDLQHGLQP\HPDLOWR

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    4    ,QIDFW\RXWHOOKLPRXWSXWKHUHLVURXJKO\DQ

    DQQXDOL]HGPLOOLRQJDLQSULPDULO\DWWULEXWDEOHWRWKH

    IURQWRIILFHSD\UROOUHLPEXUVHPHQWDJUHHPHQWVWKDW VZKDW

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   4    $QGDJDLQWKRVHIURQWRIILFHSD\UROOUHLPEXUVHPHQW

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   4    $QGWKHQ\RXZULWH³ZKLFKPDNHVVHQVHJLYHQWKH

   PDWHULDOUHGXFWLRQLQKHDGFRXQWHVSHFLDOO\DWWKHVHQLRU

   OHYHO´<RXZURWHWKDWULJKW"

   $    ,ZURWHWKDW

   4    <HDKDQGWKDW VYHU\ORJLFDOEHFDXVHDORWRIWKRVH

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   $    ,GLVDJUHHZLWKWKHFKDUDFWHUL]DWLRQRIWKHTXHVWLRQ,

   GRQ WEHOLHYHWKH\ZHUHSD\LQJIRUDSRUWLRQRILQGLYLGXDO

   HPSOR\HHV WLPH

   4    7KHQ\RXWHOOWKHMXGJHZKDW\RXPHDQWE\ZKLFKPDNHV

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Case 3:22-cv-02170-S Document 2-13 Filed
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      SK -RKQ3RJOLFK SK DQG$MLW-DLQ,IHHOOLNH, P

    IRUJHWWLQJVRPHRQHRQWKHIURQWRIILFHVLGHEXWP\SRLQWLV

    WKHVDPHSRLQW,ZDVPDNLQJHDUOLHUZKLFKLVWKDWZKHQ

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    4    $QGH[SHQVHVZHQWGRZQEHFDXVH+LJKODQGGLGQ WKDYH

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   4    +RZZRXOG\RXFKDUDFWHUL]HLW"

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   VRPHRIWKHPZHUHQ WRQWKHRULJLQDOOLVW$JLWLVDJRRG

   H[DPSOHRIWKDWDVVRPHRQHZKRZDVQRWRQWKH35$OLVW

   QRWZLWKVWDQGLQJWKDWKHGLGDOORIKLVZRUNIRUXV

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        6RZKHQKHGHSDUWHG+LJKODQGEHFDPHPRUHSURILWDEOHLQ

   DVKRUWWHUPIURPWKHVWDQGSRLQWWKDWLWQRORQJHUKDVDQ

   H[SHQVHWKDWLWKDVWREHDU%XWDJDLQKH VQRWDJUHDW

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   4    ³%LJJHVWGLIIHUHQFHEHWZHHQWKLVVRUWRIDQDO\VLVDQG

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Case 3:22-cv-02170-S Document 2-13 Filed
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   ERQXVHV,WKLQNVRPHZHUHORZHUVRPHZHUHKLJKHU

   4    6RPHZHUHLQWKHVHYHQILJXUHVULJKW"

   $    <HVQRQHZKRZHUHSDUWRIWKHSD\UROOUHLPEXUVHPHQW

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   $    1REHFDXVHWKDW VQRWWKHH[HUFLVH,ZDVDVNHGWR

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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    ZDVWRLQJRRGIDLWKHVWLPDWHWKHSURILWDELOLW\RIWKHVH

    FRQWUDFWV

    $     7KDW VQRWWKHH[HUFLVH,ZDVJLYHQ,W VQRW

    4     7KHQWHOOLQJPHH[DFWO\ZKDWH[HUFLVH\RXZHUHGRLQJ

    $     7KHH[HUFLVH,ZDVJLYHQZDVWDNHWKHZRUNSURGXFWIURP

    ODVW\HDUXSGDWHLWZLWKWKHVHDVVXPSWLRQVDQGVHQGLWWR

    PH

    4     $QGZKDWZDVWKHH[HUFLVHRIWKHZRUNSURGXFWIURPODVW

    \HDU"

   $     7KHH[HUFLVHRIWKHZRUNSURGXFWZDVDGPLWWHGO\DPXFK

   PRUHWKRXJKWIXODQDO\VLVZLWKDOOFRPSHQVDWLRQLQFOXGHGDQG

   ZLWK\RXNQRZDWOHDVWDJRRGIDLWKHIIRUWWRHVWLPDWHWKH

   WKHQFXUUHQWSHUFHQWDJHVZLWKWKHFDYHDWWKDWWKH\ZHUH

   ZLWKLQDKXJHZDVLQDKXJHEDQGRIJRDOSRVWVOLNHZH

   VDZIRU6DKDQRULW VVRPHZKHUHEHWZHHQ\RXNQRZDQG

   SHUFHQW\RXFDQGULYHDWUXFNWKURXJK

   4     2ND\'LG\RXHYHUGLVFXVV, PMXVWJRLQJWRFDOO

   WKHPRYHUSD\PHQWVRND\WKH\ UHDOOHJHGRYHUSD\PHQWV\RX

   GRQ WKDYHWRVD\WKDWWKH\ UHRYHUSD\PHQWVZHFDQFDOOWKHP

   VRPHWKLQJHOVHLI\RXZDQW'LG\RXHYHUGLVFXVVWKH

   DGYLVRUV¶DOOHJHGRYHUSD\PHQWVXQGHUWKHSD\UROO

   UHLPEXUVHPHQWDJUHHPHQWVZLWKDQ\RQHLQWHUQDOO\DW+LJKODQG

   OLNH0U:DWHUKRXVH"

   $     , GSUHIHUWRFDOOWKHPVRPHWKLQJRWKHUWKDQWKDW

   ZRUG

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4    7HOOPHZKDWWRFDOOWKHP

    $    RYHUSD\PHQWV

    4    7HOOPHZKDWWRFDOOWKHP

    $    ,W VWKHDPRXQWVWKDW+LJKODQGZDVSD\LQJXQGHUWKRVH

    DJUHHPHQWVZRXOGEHP\SUHIHUHQFH

    4    7KHDPRXQWVWKDW+LJKODQGZDVSD\LQJ"

    $    6RUU\VRUU\WKHDPRXQWWKDWWKHDGYLVRUVZHUHSD\LQJ

    4    , OOMXVWFDOOWKHPDOOHJHGRYHUSD\PHQWVRND\"

    $    2ND\

   4    'LG\RXGLVFXVVWKHDOOHJHGRYHUSD\PHQWVZLWKDQ\RQH

   LQWHUQDOO\DW+LJKODQG"

   $    , PVRUU\,FDQ WJHWRYHUWKHDOOHJHGRYHUSD\PHQWV,

   GLVFXVVHG

   4    'LG\RXGLVFXVVZLWKDQ\RQHDW+LJKODQGWKHIDFWWKDW

   WKHDGYLVRUVZHUHSD\LQJXQGHUWKHSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWIRUHPSOR\HHVZKRZHUHQRORQJHUWKHUH"

   $    1RWVXUHPD\EH

   4    'LG\RXGLVFXVVLWZLWK0U:DWHUKRXVHGXULQJWKH

   SURFHVVLQZKHQ\ DOOZHUHSUHSDULQJWKHDQDO\VLVIRU

   WKHFRPPLWWHH"

   $    ,GRQ WEHOLHYHVR

   4    'R\RXNQRZZKHWKHU0U:DWHUKRXVHRUGLG\RXKHDU0U

   :DWHUKRXVHWHOO)UDQN, PVRUU\WHOO)UHG&DUXVRWKDW

   WKHDGYLVRUVZHUHRYHUSDLG"

   $    'LG,KHDUKLPDVNWKDW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            50 of 161Page428
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    $    ,GRQ WEHOLHYHVR

    4    2ND\'LG0U:DWHUKRXVHHYHUWHOO\RXWKDWKHWROG

    0U&DUXVRWKDWWKHDGYLVRUVZHUHRYHUSDLG"

    $    1RWWKDW,UHPHPEHU

    4    2ND\'LG\RXHYHUKHDUDQ\WKLQJDERXWWKHDXWRPDWLF

    VWD\EHLQJPHQWLRQHGDVSUHYHQWLQJDQ\DGMXVWPHQWRIWKH

    SD\UROOUHLPEXUVHPHQWDJUHHPHQWV"

    $    ,KHDUGRIWKHDXWRPDWLFVWD\,FDQ WVD\,ZDV

   HQWLUHO\YDVVDOHGZLWKZKDWWKHSURYLVLRQVRILW

   4    2ND\%XWGLG\RXKHDUDWVRPHSRLQWLQWLPHWKDWWKH

   DXWRPDWLFVWD\ZKDWHYHULWLVSUHYHQWHGDQ\DGMXVWPHQWRI

   WKRVHUHLPEXUVHPHQWDPRXQWVXQGHUWKH35$"

   $    ,GRQ WUHPHPEHUVSHFLILFDOO\QR

   4    2ND\'R\RXUHPHPEHUDQ\WKLQJQRWVSHFLILFDOO\"

   $    1R

   4    'LG\RXHYHUGLVFXVVWKDWZLWK0U1RUULV"

   $    'LG,HYHUGLVFXVVZKDWZLWK0U1RUULV"

   4    7KHSRVVLELOLW\WKDWWKHDGYLVRUVZHUHRYHUSD\LQJ

   EHFDXVHHPSOR\HHVZHUHQ WWKHUHDQ\PRUH"

   $    <HV,UHPHPEHU'XVWLQEULQJLQJWKDWLVVXHWRPH

   4    $QGGLG\RXWHOOKLPWKDWWKHDXWRPDWLFVWD\SUHYHQWHG

   DQ\DGMXVWPHQWRIWKRVH"

   $    1RWWKDW,UHPHPEHU,GRQ WHYHUUHPHPEHUXVLQJ

   DXWRPDWLFVWD\

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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    4    2ND\:RXOG\RXKDYHXVHGVRPHWKLQJVLPLODU

    EDQNUXSWF\VWD\EDQNUXSWF\ODZV"

    $    6LQFHZH YHEHHQLQ%.WKDWNLQGRI

    4    2ND\

    $    6LQFHZH YHEHHQLQ%.WKLVLVZKDWZH YHEHHQSD\LQJ

    4    'R\RXUHPHPEHUDQ\GLVFXVVLRQVWKDWEHFDXVHZH UHLQ

    %.ZHFDQ WDGMXVWWKHDPRXQWVXQGHUWKH35$V"

    $    ,GRQ WUHPHPEHUWKRVHGLVFXVVLRQVZLWK'XVWLQQR

    4    'R\RXUHPHPEHUWKHPZLWKDQ\RQHOLNH0U:DWHUKRXVH

   0U/HYHQJHU

   $    1RQRW

   4    0U'RQGHUR"

   $    VSHFLILFDOO\

   4    2ND\1RWVSHFLILFDOO\VRRND\

        6R\RX UHQRWVD\LQJWKH\GLGQ WKDSSHQ\RXMXVWGRQ W

   UHPHPEHUVSHFLILFDOO\"

   $    ,VXSSRVHVR\HDK,MXVWGRQ WUHPHPEHU

   4    2ND\1RZ\RXPHQWLRQHGWKDWWKHQRWLFHVRI

   WHUPLQDWLRQRIWKHVKDUHGVHUYLFHVDJUHHPHQWVZHQWRXW

   1RYHPEHUWKRU'HFHPEHUVWVRPHZKHUHDORQJWKHUH

   $    <HDK,WKLQNLWZDVWKHHYHQLQJRI1RYHPEHUWK\HV

   4    :HUHWKH35$VHYHUWHUPLQDWHG"

   $    ,GRQ WEHOLHYHVR

   4    :K\"

   $    ,GRQ WNQRZ

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4    'LGQ W\RXWHOO0U1RUULVWKDWLWZDVEHFDXVHWKH\

    ZHUHWRRSURILWDEOHIRU+LJKODQGWRWHUPLQDWH"

    $    1R

    4    'LG\RXGLVFXVVZLWK0U1RUULVDWDOODVWRZK\

    +LJKODQGZDVQRWWHUPLQDWLQJWKH35$VHYHQDWWKHVDPHWLPH

    WKDWLWZDVWHUPLQDWLQJWKHVKDUHGVHUYLFHDJUHHPHQWV"

    $    ,GRQ WUHPHPEHUDQ\RIWKRVHGLVFXVVLRQV

    4    'LGLWQRWVWULNH\RXDVVWUDQJHWKDW+LJKODQGLV

    WHUPLQDWLQJWZRDJUHHPHQWVEXWQRWRQHVWKDW\RXFDOFXODWHG

   WKHSURILWRQ"

   $    'LG,ILQGLWVWUDQJH"

   4    <HV

   $    ,WKRXJKWDERXWLW,GRQ WNQRZLI,ZRXOGXVHWKH

   ZRUGVWUDQJHEXW,WKRXJKWDERXWLW

   4    $QG\RXGLGQ WGLVFXVVLWZLWKDQ\RQH"

   $    ,PLJKWKDYHGLVFXVVHGLWZLWK)UDQN,GRQ WUHPHPEHU

   VSHFLILFDOO\EXW

   4    :HUH\RXSDUWRIWKHQHJRWLDWLRQVIRUWKHWUDQVLWLRQV

   VHUYLFHVDJUHHPHQW"

   $    $VPDOOSDUW

   4    'R\RXUHPHPEHUWKDWRQHRIWKHFRQGLWLRQVWKDWWKH

   DGYLVRUVPDGHWRHQWHULQWRWKDWWUDQVLWLRQVHUYLFH

   DJUHHPHQWZDVWKDW+LJKODQGGRHVLQIDFWWHUPLQDWHWKH

   35$V"

   $    , PQRWDZDUH

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            53 of 161Page431
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    4    2ND\6RVLWWLQJKHUHWRGD\\RXGRQ WUHPHPEHUDQ\

    GLVFXVVLRQDERXWWKHIDFWWKDW+LJKODQGGLGQ WWHUPLQDWHWKH

    35$VEHFDXVHWKH\ZHUHSURILWDEOH"

    $    1RQRWVSHFLILFDOO\

    4    2ND\*RWR([KLELW3,WKLQNZHORRNHGDW([KLELW3

    EHIRUH3DVLQ3DXO,QSDUWLFXODUWKHERWWRPHPDLO

    IURP\RXWR0U1RUULV0U6DXWHU0U:DWHUKRXVH

    $    8KKXK

    4    :KHUH\RXZULWHWKDWWKHVHKDYHQRWFKDQJHGVLQFH%.

   ZKLFKJLYHQWKHFKDQJHVLQKHDGFRXQW\RXSRLQWRXWDORQJ

   ZLWKQRWSD\LQJLQVLGHWKHERQXVFRPSHQVDWLRQKDVLQFUHDVHG

   WKHSURILWDELOLW\RIWKHFRQWUDFWVIURP+&0/3 VSHUVSHFWLYH

   'R\RXVHHWKDW"

   $    ,VHHWKDW

   4    $QGE\WKDWSRLQWLQWLPHDFFRUGLQJWRWKH'HFHPEHU

   DQDO\VLV\RXKDGFDOFXODWHGWKDWWKHUHZDVDPLOOLRQ

   SURILWRQWKH35$V

   $    ,Q'HFHPEHUWK

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   ZHQWWRWKHFRPPLWWHHDQG)7,<RXUHPHPEHUWKDW\RX

   KDGFDOFXODWHGRUHVWLPDWHG, PVRUU\HVWLPDWHGD

   PLOOLRQ

   $    ,WKLQNWKDWZDVWKHRXWSXWRIWKHPLGSRLQWRIWKDW

   DQDO\VLV

   4    <HDK$QGLQZKLFK\RX UHVRZKHQ\RXZULWHLWKDV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    LQFUHDVHGWKHSURILWDELOLW\RIWKHFRQWUDFWVLQ\RXURZQ

    PLQG\RX UHDFNQRZOHGJLQJWKDWVLQFHWKDWWLPHLW VHYHQ

    PRUHSURILWDEOHWR+LJKODQGDUHQ W\RX"

    $    7KHUH VDORWRIFRQIODWLQJKHUH:H UHWDONLQJDERXW

    LQVLGHUERQXVFRPSHQVDWLRQZKLFKLVQ WHYHQUHOHYDQWIRUWKH

    35$VVR,GRQ W,WKLQNLW VNLQGRIDSSOHVDQGRUDQJHV

    4    2ND\%XWQRZKHUHLQDQ\RIWKHVHHPDLOVZH YH

    ORRNHGDWGR\RXWHOODQ\RQHWKDWLW VDSSOHVDQGRUDQJHVRU

    WKLVPLJKWQRWEHUHOLDEOHGDWDGR\RX"

   $    1R,FDQ WLPDJLQHZK\,ZRXOGGRWKDW

   4    %HFDXVHDWWKDWSRLQWLQWLPH\RXEHOLHYHLQJRRGIDLWK

   WKDW\RXUHVWLPDWHVZHUHUHDVRQDEOHFRUUHFW"

   $    :KLFKHVWLPDWHVDUHZHUHIHUULQJWR"

   4    7KHSURILWDELOLW\VLUWKH'HFHPEHUWKH'HFHPEHU

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   $    6RVRPHRIWKRVHDUHUHDVRQDEOHVRPHRIWKHPDUHQ W

   VRPHDUHOHVVUHDVRQDEOHVRPHDUHPRUHWKH\ UHDOO

   YDULHG

   4    7KDW VQRWP\TXHVWLRQ

   $    2ND\2ND\

   4    , PVD\LQJDWWKDWSRLQWLQWLPHDWWKDWSRLQWLQ

   WLPH\RXEHOLHYHWKDWWKH\ZHUHUHDVRQDEOHHQRXJKQRWWR

   DOHUWDQ\RQHLQDQ\RIWKHVHHPDLOVZH YHORRNHGDWWKDW

   PD\EHWKH\VKRXOGQ WUHO\RQWKHP"

   $    1RQRWKLQJURVHWRWKHSRLQWRIKDYLQJWRLQWHUMHFWLQ

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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    WKLVHPDLO

    4      2ND\<RXPHQWLRQHGWKDWGXDOHPSOR\HHVZHUHKLUHGLQ

    DQGZKRZHUH\RXUHIHUULQJWR"

    $      ,QDQGLQWHUPVRIKLUHVWKHUH V$MLW-DLQ

    DQG%DLOLND-DLQQRUHODWLRQ7KHUH VZKDW V, P

    VRUU\ZKDW VWKHWLPHSHULRG"

    4      ,EHOLHYH\HVDQG,UHFDOO\RX

    WHVWLI\LQJWR0U0RUULVWKDWDOWKRXJKDQXPEHURIGXDO

    HPSOR\HHVKDGOHIWVRPHKDGEHHQKLUHGVRPHUHSODFHPHQW

   RQHVKDGEHHQKLUHG

   $      <HV\HV6RPRUHWKRURXJKO\WKHUHZHUHDURXQGRU

   VRHIIHFWLYHO\EDFNILOOVWKURXJKHLWKHUWUDQVIHUVQHZ

   KLUHVRUZKHQ,VD\WUDQVIHUVWUDQVIHUVRIHPSOR\HU

   QHZKLUHVRUWUDQVLWLRQRIUROH$JRRGH[DPSOHRIWKRVH

   EHLQJWKHRQHVWKDW0U1RUULVWRRNPHWKURXJKIRUWKHOHJDO

   DQGGLVWUHVVWHDPZKHUHWKHLUUROHVZHUHPRGLILHGH[SDQGHG

   WRSHUIRUPWKRVHVHUYLFHV

   4      2ND\

                0558.$9,1$3DVVWKHZLWQHVV<RXU+RQRUWKDQN

   \RX

                7+(&28572ND\5HGLUHFW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    UHPHPEHUWKDW"

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    4    $QGDP,FRUUHFWWKDWWKDWLQYRLFHLVFDOFXODWHGRQ

    FRVWSOXVSHUFHQW"

    $    <HV

   4    $QGLVWKDWZKDWWKHFRQWUDFWLVWKDW\RXU

   XQGHUVWDQGLQJRIZKDWWKHFRQWUDFWEHWZHHQ+&0)$DQG

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   $    <HVWKDW VZKDWWKHFRQWUDFWVD\V

   4    6RWKHUHZDVDQDJUHHPHQWWROLPLW+LJKODQG VSURILWLQ

   WKDWFRQWUDFWLVWKDWFRUUHFW"

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   4    :DVWKHUHDQ\OLPLWRQWKHSURILWWKDW+LJKODQGFRXOG

   HDUQXQGHUWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWV"

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   4    6RWKHSDUWLHVWRWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQW

   NQHZKRZWRHQWHULQWRDQDJUHHPHQWWKDWZRXOGOLPLWSURILW

   DVWKH\GLGXQGHUWKHVKDUH¶VVHUYLFHVDJUHHPHQWEXW\RXU

   UHFROOHFWLRQLVWKDWWKH\GLGQ WGRWKDWXQGHUWKHSD\UROO

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    UHLPEXUVHPHQWDJUHHPHQWEXWLWVKRZHGORVVHVXQGHUWKH

    VKDUHGVHUYLFHVDJUHHPHQWLVWKDWJHQHUDOO\FRUUHFW"

    $    7KDW VJHQHUDOO\FRUUHFWDVRIWKDW'HFHPEHUDQDO\VLV

    4    ,VWKHUHDQ\SURWHFWLRQDQ\ZKHUHIRU+LJKODQGDJDLQVW

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    4    5LJKW6RWKH\ UHXSVHWWKDW+LJKODQGZDVPDNLQJD

    SURILW'LGWKH\FDUHGLGWKH\H[SUHVVZHUHWKH\DUH

   \RXDZDUHRIDQ\GLVFXVVLRQVZKHUHWKHDGYLVRUVSURPLVHGWR

   PDNH+LJKODQGZKROHIRUDOOWKHORVVHVWKH\VXIIHUHGXQGHU

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   4    2ND\/HW VJRWR([KLELW4LQWKHLUELQGHU7KLVLV

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   4    ,EHOLHYH,KHDUG\RXZKHQ\RXZHUHDVNHGDERXWWKH

   HVWLPDWHSRLQWDQGWLPHSURILWDELOLW\,WKLQNWKDW VWKH

   VSRWZKHUH\RXVDLGWKDWWKHUHZDVPDWHULDOGDWDWKDWZDV

   H[FOXGHG'LG,KHDUWKDWFRUUHFWO\"

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   4    :RXOG\RXGHVFULEHIRUWKH&RXUWZKDWPDWHULDOGDWDZDV

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    GHIHUUHGERQXVWKRVHZHUHWKHPDLQDPRXQWVWKDWDUHQRWLQ

    WKHUHZKDWVRHYHU

    4    $QGWKRVHERQXVHVZHUHDOOSDLGLQH[FHSWIRUWKH

    VHQLRUH[HFXWLYHVLVWKDWULJKW"

    $    &RUUHFW

    4    2ND\$QGDOORIWKLVLVWDNLQJSODFHLQ'HFHPEHU

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   4    $QGWKDW VQRWRQO\DIWHU+LJKODQGKDGJLYHQQRWLFHRI

   WHUPLQDWLRQRIWKHVKDUHGVHUYLFHVDJUHHPHQWVGR\RXUHFDOO

   WKDWWKDW VDOVRWKHPRPHQWLQWLPHZKHUH+LJKODQGKDGDQ

   DSSURYHGSODQDQGGLVFORVXUHVWDWHPHQWRUDQDSSURYHG

   GLVFORVXUHVWDWHPHQW"

   $    <HV,WKLQNWKHGLVFORVXUHVWDWHPHQWZDVDURXQGWKH

   1RYHPEHUWLPHIUDPH\HV

   4    $QGGR\RXUHPHPEHUWKDWLQRUDURXQG'HFHPEHU\RXDQG

   RWKHUVDQGP\ILUPZHUHSUHSDULQJIRUFRQILUPDWLRQ"

   $    <HV

   4    $QGVRZDVWKHUHDQ\H[SHFWDWLRQWKDWVRPHKRZ+LJKODQG

   ZDVJRLQJWRWHUPLQDWHWKHVKDUHVVHUYLFHVDJUHHPHQWEXW

   VRPHKRZUHWDLQHGWKHVHHQRUPRXVO\SURILWDEOHSD\UROO

   UHLPEXUVHPHQWDJUHHPHQWVIRUWKHIXWXUH"

   $    &HUWDLQO\QRWWKDW,ZDVDZDUHRIDQGLW VSDWHQWO\

   ULGLFXORXVWKDWWKH\ZRXOGFRQWLQXH

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    4     :DVWKHUHVRPHVHFUHWSODQWRVRPHKRZJHWRXWIURP

    XQGHUWKHEXUGHQVRPHVKDUHGVHUYLFHVDJUHHPHQWVEXWJR

    IRUZDUGZLWKWKHVHSURILWDEOHDJUHHPHQWVZLWKWKHSD\UROO

    UHLPEXUVHPHQWDJUHHPHQW"

    $     1RDQGLW VDSUHWW\ULGLFXORXVSURSRVLWLRQ

    4     7KDW VZKDW,WKRXJKW0U5XNDYLQDVSHQWDORWRI

    WLPHWU\LQJWRJHW\RXWRHPEUDFHWKHUHDVRQDEOHQHVVRIWKH

    SHUFHQWDJHVLQ([KLELWV'R\RXUHPHPEHUWKDW"

    $     8KKXK<HVVRUU\

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   4     <RXGLGWKDWLQJRRGIDLWKULJKW"

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    WKDWZHUHSDUWRIWKDWDOORFDWLRQDQGWKHQZRXOGGLVDSSHDU

    ZLWKLQWKHPDWWHURIPRQWKV

    4    ,IWKHQXPEHULQWKHVXEVHUYLFHWKHVXEDGYLVRU\

    DJUHHPHQWZDVQRWEXWOHW VVD\LWZDVWZLFH

    DVPXFKZRXOG\RXKDYHXVHGWKHVDPHDOORFDWLRQVWKDWDUH

    LQ([KLELW$"

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   DOORFDWLRQVZRXOGJHWMXVWDWVRPHSRLQWWKHDOORFDWLRQV

   ZRXOGJHWEH\RQGDKXQGUHGSHUFHQWULJKWEXWZLWKLQWKH

   ERXQGDULHV\HV

   4    ,VLWIDLUWRVD\WKDWWKHDOORFDWLRQWKDW\RXFDPHXS

   ZLWKZDVDUHDVRQDEO\JRRGIDLWKHVWLPDWHLQWKHERXQGVRI

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   WR'HFHPEHU WKHDQDO\VLVWKDWZDVJLYHQWRWKH8&&

   $    <HV

   4    ,WKLQN\RX YHWHVWLILHGSUHWW\H[WHQVLYHO\WKDWLWZDV

   DYHU\VXEMHFWLYHDQDO\VLV'R,KDYHWKDWULJKW"

   $    <HV

   4    $QGFDQ\RXMXVWUHPLQG-XGJH-HUQLJDQZKDW\RXUJRDO

   ZDVLQSUHSDULQJWKDWDQDO\VLV"

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    WUHPHQGRXVDPRXQWRIWLPHDQGZLWKWKHIRFXVRQWKHZKROH

    :KDWZDVSUHVHQWHGWRWKH8&&ZDVWKHWRWDOFRVWVWKH

    LI,UHPHPEHUFRUUHFWO\6RIRFXVLQJRQWKHIDFWWKDW

    SXWWLQJRXUEHVWIRRWIRUZDUGZLWKWKHPWKHVHFRQWUDFWVDUH

    QHLWKHUPDNLQJ\RXQRUORVLQJ\RXVLJQLILFDQWDPRXQWVRI

    PRQH\WRJLYHWLPHIRUZKDW,XQGHUVWRRGWREHDSURFHVVRI

    WU\LQJWRZRUNWKURXJKWKHEDQNUXSWF\IDLUO\TXLFNO\

   4    'LG\RXHYHUH[SHFWZKHQ\RXSUHSDUHGWKRVHDQDO\VHVLQ

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   WKHDGYLVRUVWRFODLPSURILWDELOLW\XQGHUWKHSD\UROO

   UHLPEXUVHPHQWFRQWUDFWV"

   $    1RDEVROXWHO\QRW

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    REMHFWLRQ

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               7+(:,71(667KH\ZHUHSD\LQJQRWKHUHPD\EH

    ,GRQ WNQRZWKHH[DFWQXPEHUEXWWKHUHDUH

    DSSUR[LPDWHO\SHRSOHRQWKHVFKHGXOHWRWKH35$V

    %<0558.$9,1$

    4    $QGRIWKRVHDSSUR[LPDWHO\E\WKHHQGKDGEHHQ

    JRQHFRUUHFW"

   $    2IWKHRULJLQDODURXQGWKDW,GRQ WKDYHWKH

   QXPEHU

   4    $URXQGWKDW"

   $    PHPRUL]HGEXW\HDKLQWKDWEDOOSDUN

   4    $QG\RXGRQ WKDYHDVLQJOHSUREOHPZLWKWKDWWKDWIRU

   PRUHWKDQD\HDU\RXUGHSDUWPHQWZDVELOOLQJWKHDGYLVRUV

   IRUDERXWHPSOR\HHVWKDWZHUHQ WWKHUHDQ\PRUH"<RX

   GRQ WKDYHDQ\SUREOHPZLWKWKDW"

   $    ,KDYHQRLVVXHVZLWKWKDWZKDWVRHYHU

   4    2ND\

   $    EHFDXVHLI,PD\

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   4    :DV\RXUGHSDUWPHQWQRWFKDUJHGXQGHUWKHVKDUHG

   VHUYLFHVDJUHHPHQWVWRSHULRGLFDOO\UHYLHZWKHDGYLVRUV¶

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    SRWHQWLDORYHUSD\PHQWVVHWRIIVFUHGLWVHWFHWHUD"

    $    ,GRQ WUHFDOOWKRVHSURYLVLRQVVSHFLILFDOO\QR

    4    2ND\:HOOPD\EH0U:DWHUKRXVHZLOO

         *RWR([KLELW$SOHDVHP\([KLELW$6HFWLRQ

    SOHDVH7KDW VDERXWWHUPLQDWLRQ7HUPLQDWLRQRQDWOHDVW

    GD\VDGYDQFHGZULWWHQQRWLFHGR\RXVHHWKDW"

    $    <HV,VHHWKDW

    4    6RLILWZDV+LJKODQG VLQWHQWWRWHUPLQDWHWKHVH

    DJUHHPHQWVFRQWHPSRUDQHRXVO\ZLWKWKHVKDUHGVHUYLFHV

   DJUHHPHQWVZK\LQWKHZRUOGZRXOGQ WWKH\KDYHVHQWXV

   QRWLFHDWOHDVWGD\VLQDGYDQFH"

              050255,62EMHFWLRQ<RXU+RQRUDVVXPHVIDFWV

   QRWLQHYLGHQFH

              0558.$9,1$+HWHVWLILHG

              7+(&28572YHUUXOHG+HFDQDQVZHU

   %<0558.$9,1$

   4    *RDKHDG

   $    6RUU\DJDLQSOHDVH

   4    <HDK<RXWHVWLILHGRQUHGLUHFWWKHUHZDVQRPDVWHU

   SODQWRNHHSVXFNLQJPRQH\RXWRIWKHDGYLVRUVE\QRW

   WHUPLQDWLQJWKHVH, PH[DJJHUDWLQJREYLRXVO\EXWWKDW V

   EDVLFDOO\ZKDW\RXWHVWLILHGDERXWULJKW"7KDWWKHUHZDV

   QRSODQWRMXVWNHHSFKDUJLQJWKHDGYLVRUV/HWPHMXVWDVN

   LWDJDLQ

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    FDQ W

    $    ,GRQ WNQRZZKDWWKHSODQZDV

    4    %XWZKHQ0U0RUULVDVNHG\RX\RXVDLGWKDW\RXNQHZ

    WKDWWKHUHZDVQRSODQ

    $    ,WZRXOGLWVWUXFNPHDV

    4    $UH\RXMXVWDQVZHULQJZKDWHYHUKHDVNV\RX"

    $    1R

    4    2ND\6RFDQ\RXWKLQNRIDUHDVRQZK\0U6HHU\ZRXOG

   QRWKDYHVHQWDQRWLFHWHUPLQDWLQJWKHSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWFRQWHPSRUDQHRXVO\ZLWKWKHQRWLFHWHUPLQDWLQJWKH

   VKDUHGVHUYLFHVDJUHHPHQW"

   $    ,GRQ WNQRZWKHUHDVRQEHKLQG

   4    2ND\

   $    LW

   4    7KDW VZKDW,ZDQWHGWRNQRZEHFDXVH,WKLQNDORWRI

   WKLQJV\RX YHWHVWLILHGDERXWWRGD\DUHVSHFXODWLRQ

              0558.$9,1$7KDQN\RX

              7+(&2857$OOULJKW<RXDUHH[FXVHG0U.ORV

              7+(:,71(667KDQN\RX

     :LWQHVVH[FXVHG 

              7+(&2857$OOULJKW:HVKRXOGWDNHDEUHDN

   <RX UHJRLQJWRFDOO0U:DWHUKRXVHQH[W"

              050255,6<HV<RXU+RQRU

              7+(&2857<RXVDLGKHQHHGVWRILQLVKWRGD\

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               0558.$9,1$, OOKDYHDQKRXURUOHVV

               7+(&28572ND\:H OOWDNHDWHQPLQXWHEUHDN

               7+(0$56+$/$OOULVH

          5HFHVVHGDWSPUHFRQYHQHGDWSP 

               7+(0$56+$/$OOULVH

               7+(&28573OHDVHEHVHDWHG$OOULJKW:H UH

   EDFNRQWKHUHFRUGLQ+LJKODQG0U0RUULVDUH\RXUHDG\

   WRFDOO0U:DWHUKRXVH"

              050255,6<HV<RXU+RQRU

              7+(&2857<RXPD\

              050255,6+LJKODQGFDOOV)UDQN:DWHUKRXVH

              7+(&28570U:DWHUKRXVHSOHDVHDSSURDFKWKH

   EHQFKDQGWKHZLWQHVVER[

              05:$7(5+286(5LJKWKHUH"

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                     )5$1.:$7(5+286(:,71(666:251

              7+(&2857$OOULJKW3OHDVHEHVHDWHG

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   %<050255,6

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4    -XVWJHWFRPIRUWDEOHIRUDPRPHQW2ND\6RLQIURQW

    RI\RXDUHDIHZZLWQHVVDIHZH[KLELWELQGHUV:HWU\

    QRWWRELQGRXUZLWQHVVHV

         ([KLELWELQGHUVVRWKDWWKHWZRELJRQHVDUH

    +LJKODQG VH[KLELWVWKHVPDOOHURQHWR\RXUULJKWDUHWKH

    DGYLVRU VDJUHHPHQWH[KLELWVDQG,PD\DVN\RXWRUHIHU

    WKHPWLPHWRWLPHMXVWVR\RXNQRZZKDWWKH\DUHWKHUH

    2ND\"

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   4    0U:DWHUKRXVHSULRUWR)HEUXDU\\RXZHUH

   +LJKODQG V&)2FRUUHFW"

   $    <HV

   4    $QG\RXKHOGWKDWSRVLWLRQIRUURXJKO\DGHFDGHLV

   WKDWULJKW"

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   4    $QGDV+LJKODQG V&)2\RXZHUHUHVSRQVLEOHIRU

   RYHUVHHLQJ+LJKODQG VFRUSRUDWHDFFRXQWLQJJURXSFRUUHFW"

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   4    $QG0U.ORV'DYLG.ORVZDVLQWKDWFRUSRUDWH

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4     <RXVHUYHGDVDQRIILFHURIPRUHWKDQDKDOIDGR]HQ

    HQWLWLHVLVWKDWIDLU"

    $     ,GRQ WUHFDOOKRZPDQ\HQWLWLHVWKDW,ZDVDQRIILFHU

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   4     'R\RXNQRZKRZPDQ\HQWLWLHVIRUZKLFK\RXVHUYHGDV

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   $     , PVRUU\GLG,VHUYHDVWUHDVXUHUSULRUWR-DQXDU\

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   4     <RX YHEHHQOHWPHWU\WREHFOHDU<RX YHEHHQ

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Case 3:22-cv-02170-S Document 2-13 Filed
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   WKDWDUHLQYROYHGLQSXWWLQJWRJHWKHURWKHUERRNVDQG

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   WKHWUHDVXUHUEXW, PQRWDODZ\HUEXW,GRQ WNQRZLI, P

   SHUVRQDOO\UHVSRQVLEOH7KHUH VDWHDPRISHRSOHWKDWGRHV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    DGYLVRUVZKRZDVH[SHFWHGWRPDNHVXUHWKDWWKHDGYLVRUV

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   IDUDV, PQRWSURFHVVLQJSD\DEOHVRUHYHU\FRQWUDFWRU

   WKLQJVOLNHWKDW<HV, PWKHWUHDVXUHUEXW\HDK, P

   QRWSHUVRQDOO\UHVSRQVLEOH

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   UHVSRQVLEOHIRUPDNLQJVXUHWKDWWKHDGYLVRUVRQO\SD\WKH

   SURSHUDPRXQWVGXHXQGHUWKHDGYLVRUV FRQWUDFWV":KRLV

   UHVSRQVLEOHIRUWKDWLILW VQRW\RX"

   $      ,PHDQDVWUHDVXUHU,PHDQ,JXHVV, PUHIHUULQJWR

   LWLVDWHDPDSSURDFKULJKWVR, OOMXVWVD\

   4      ,DSSUHFLDWHWKDW, PQRWDVNLQJ\RXWRLGHQWLI\

   HYHU\SHUVRQZKRGRHVZRUNLQFRQQHFWLRQZLWKWKHDGYLVRUV 

   DFFRXQWLQJ, PDVNLQJ\RXLI\RXDUHWKHRIILFHUZKRLV

   XOWLPDWHO\UHVSRQVLEOHIRUPDNLQJVXUHWKDWWKHDGYLVRUV 

   SD\WKHSURSHUDPRXQWVGXHXQGHUWKHDGYLVRUV FRQWUDFWV

   $      <HV,PHDQORRNDWWKHRWKHURIILFHUV,ZRXOGEHWKH

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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                                            70 of 161Page448
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    4    7KDQN\RXYHU\PXFK

         $QGDPRQJWKRVHFRQWUDFWVWKDW\RXKDGUHVSRQVLELOLW\

    IRUPDNLQJVXUHZHUHSURSHUO\DGPLQLVWHUHGZHUHWKH

    LQWHUFRPSDQ\DJUHHPHQWVZLWK+LJKODQGFRUUHFW"

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    EHWZHHQ+LJKODQG1H[3RLQW1H[3RLQW5HDO(VWDWH$GYLVRUV

    DQG+&0)$FRUUHFW"

   $    7KHUHZHUHVKDUHGVHUYLFHDJUHHPHQWVEHWZHHQ+LJKODQG

   DQG1H[3RLQWDGYLVRUVDQG+LJKODQGDQG+LJKODQG&DSLWDO

   0DQDJHPHQW)XQG$GYLVRUV

   4    $QGWKHUHZDVDOVRDVKDUHGVHUYLFHVDJUHHPHQWEHWZHHQ

   +LJKODQGDQG1H[3RLQW5HDO(VWDWH$GYLVRUVFRUUHFW"7KDW

   PRQWKO\GRHVWKDWULQJDEHOO"

   $    <HDK:HOO\RX UHUHIUHVKLQJP\PHPRU\IURPP\

   IURPWKHGHSRVLWLRQ\HDK,IRUJHWDERXWWKDWRQH

   4    $QGWKHUHZHUHDOVRZKDWEHFDPHNQRZQDVWKHSD\UROO

   UHLPEXUVHPHQWDJUHHPHQWVULJKW"

   $    <HV

   4    2ND\$QG, PJRLQJWRUHIHUWRWKRVHFRQWUDFWVWKDW

   ZHMXVWLGHQWLILHGDVWKHLQWHUFRPSDQ\DJUHHPHQWVRND\"

   $    2ND\

   4    2ND\$QGVR\RXZHUHUHVSRQVLEOHIRUPDNLQJVXUHWKDW

   WKHDGYLVRUVSDLGWKHSURSHUDPRXQWXQGHUWKHLQWHUFRPSDQ\

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    DJUHHPHQWVFRUUHFWRQEHKDOIRIWKHDGYLVRUV"

    $    <HV

    4    2ND\'R\RXNQRZ'XVWLQ1RUULV"

    $    ,GR

    4    0U1RUULVLVWKHDGYLVRUV H[HFXWLYHYLFHSUHVLGHQW

    LVWKDWULJKW"

    $    ,GRQ WUHFDOOKLVH[DFWWLWOH

    4    %XW\RXGRNQRZWKDWKH VDQRIILFHURIWKHDGYLVRUV

    FRUUHFW"

   $    <HV

   4    $QGKHGLGQ WKDYHDQ\UHVSRQVLELOLW\IRUDGPLQLVWHULQJ

   WKHDGYLVRUV LQWHUFRPSDQ\DJUHHPHQWVZLWK+LJKODQGGLGKH"

   $    1RWWKDW, PDZDUH

   4    2ND\<RX UHQRWDZDUHRI0U1RUULVKDYLQJKDGDQ\

   UHVSRQVLELOLW\IRUGUDIWLQJDQ\RIWKHLQWHUFRPSDQ\

   DJUHHPHQWVZLWK+LJKODQGFRUUHFW"

   $    1RWWKDW, PDZDUH

   4    <RX UHQRWDZDUHRI0U1RUULVKDYLQJDQ\LQYROYHPHQW

   DWDOOLQGHWHUPLQLQJLQWKHRUGLQDU\FRXUVHRIEXVLQHVVKRZ

   PXFKZDVGXHXQGHUWKHLQWHUFRPSDQ\DJUHHPHQWVFRUUHFW"

   $    1RWWKDW, PDZDUH

   4    ,VLWIDLUWRVD\WKDWXQWLOODWH\RXQHYHU

   GLVFXVVHGZLWK0U1RUULVKRZWKHDPRXQWVSDLGXQGHUWKH

   LQWHUFRPSDQ\DJUHHPHQWVZLWK+LJKODQGZHUHJRLQJWREH

   GHWHUPLQHG"

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $    ,W VKDUGWRFDQ\RXUHSHDWWKDWSOHDVH"

    4    6XUH, PMXVWWKLQNLQJWLPHULJKW\RXOHIW+LJKODQG

    LQ)HEUXDU\RIFRUUHFW"

    $    <HV

    4    'R\RXUHPHPEHULQ'HFHPEHURI+LJKODQGKDGMXVW

    JLYHQQRWLFHRIWKHWHUPLQDWLRQRIWKHVKDUHGVHUYLFHV

    DJUHHPHQWVDQGWKHUHZHUHDQXPEHURIFRPPXQLFDWLRQVDPRQJ

    SHRSOHDERXWWKHFRQVHTXHQFHVRIWKDW"

    $    <HV

   4    2ND\8SXQWLOWKDWPRQWK'HFHPEHU 'HFHPEHU

   \RXKDGQHYHUGLVFXVVHGZLWK0U1RUULVKRZDPRXQWVSDLG

   XQGHUWKHLQWHUFRPSDQ\DJUHHPHQWVZHUHJRLQJWREH

   FDOFXODWHGFRUUHFW"

   $    ,KDGDFRQYHUVDWLRQZLWK0U1RUULVDERXW

   RYHUSD\PHQWV7KDW VZKDW,UHFDOO

   4    $QGWKDWWRRNSODFHLQ'HFHPEHU"

   $    ,WZDVLQ4RI,GRQ WUHFDOOWKHLWZDVDW

   WKHHQGRI

   4    2ND\%XWSULRUWRWKDWWLPH\RX YHQHYHUKDGD

   FRQYHUVDWLRQRIDQ\NLQGZLWK0U1RUULVDERXWKRZDPRXQWV

   XQGHUWKHLQWHUFRPSDQ\DJUHHPHQWVZLWK+LJKODQGZRXOGEH

   FDOFXODWHGFRUUHFW"

   $    1RWWKDW,FDQUHFDOO

   4    2ND\/HW VWDONDERXWWKH1H[3RLQWVKDUHGVHUYLFHV

   DJUHHPHQW,I\RXFDQRSHQXSRQHRIWKHELQGHUVWKDWKDV

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    ([KLELW'R\RXKDYHWKDW0U:DWHUKRXVH"

         &DQ\RXMXVWFRQILUPLI\RXORRNDWWKHVLJQDWXUHSDJH

    WKDW\RXVLJQHGWKLVGRFXPHQW",W VWKHODVWSDJHRIWKH

    GRFXPHQW

    $    7KLVLVWKH1H[3RLQWDPHQGHGUHVWDWHG

    4    <HV

    $    <HV

    4    7KRVHDUH\RXUVLJQDWXUHVULJKW"

    $    <HV

   4    $QG\RXVLJQHGWKLVGRFXPHQWRQEHKDOIRIERWK+LJKODQG

   DQG1H[3RLQWFRUUHFW"

   $    <HV

   4    $QG\RXGRQ WUHFDOOHYHUVHHLQJDQ\GUDIWVRIWKLV

   DJUHHPHQWEHIRUH\RXVLJQHGLWFRUUHFW"

   $    ,GRQ WUHFDOO

   4    $QG\RXGRQ WUHFDOOJRLQJWKURXJKWKHWHUPVDQG

   FRQGLWLRQVRIWKLVDJUHHPHQWZLWKLQLQKRXVHFRXQVHORU

   RXWVLGHFRXQVHOEHIRUH\RXVLJQHGLWFRUUHFW"

   $    <HDK,GRQ WUHFDOO

   4    <RXKDYHQRUHFROOHFWLRQZKHWKHUWKLVDJUHHPHQWZDVWKH

   VXEMHFWRIDQ\QHJRWLDWLRQVFRUUHFW"

   $    ,GRQ WUHFDOO

   4    7RWKHEHVWRI\RXUUHFROOHFWLRQWKHDGYLVRUVQHYHU

   FRQVLGHUHGREWDLQLQJVKDUHGVHUYLFHVIURPWKHVRXUFHRWKHU

   WKDQ+LJKODQGFRUUHFW"

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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    $    <HDK,GRQ WUHFDOO

    4    $QGLI\RXWDNHDORRNDW6HFWLRQZKLFKLVRQWKH

    SDJHHQGLQJLQ%DWHVQXPEHU\RXXQGHUVWRRGZKHQ\RX

    VLJQHGWKLVDJUHHPHQWWKDW+LJKODQGZDVJRLQJWRUHFHLYHD

    IODWPRQWKO\IHHRIIRUVKDUHGVHUYLFHVIURP

    1H[3RLQWFRUUHFW"

    $    <HDKLW VZKDWLWVD\VLQ6HFWLRQFRUUHFW

    4    $QG1H[3RLQWSDLGWKDWH[DFWIODWIHHHDFKDQGHYHU\

    PRQWKIURPWKHWLPH\RXVLJQHGWKLVDJUHHPHQWXQWLOWKHWLPH

   LWZDVWHUPLQDWHGQRWLFHRIWHUPLQDWLRQZDVJLYHQLQDW

   WKHHQGRIFRUUHFW"

   $    ,GRQ WEHOLHYHWKDW VULJKW

   4    <RXGRQ WWKLQN1H[3RLQWSDLGIRUHDFKDQG

   HYHU\PRQWKIURP-DQXDU\VWXQWLO1RYHPEHU"

   $    ,WKRXJKW\RXVDLGWKURXJK'HFHPEHURI7KHUHZDV

   DWLPHLQ4LQZKHUHSD\PHQWVRQWKHVHLQWHUFRPSDQ\

   DJUHHPHQWVZHUHVXVSHQGHG

   4    2ND\:H OOWDONDERXWWKDWLQDPLQXWH

        'R\RXNQRZZK\\RXVLJQHGWKLVDJUHHPHQWLQ"

   :LWKGUDZQ

        %HIRUH\RXVLJQHGWKLVDJUHHPHQWWKHUHZDVDOUHDG\LQ

   SODFHDQDJUHHPHQWZLWK1H[3RLQWULJKW"

   $    <HV

   4    $QGWKHUHZDVDQDJUHHPHQWEHWZHHQ1H[3RLQWDQG

   +LJKODQGIRUWKHSURYLVLRQRIVKDUHGVHUYLFHVFRUUHFW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $      :HUHYLHZHGDQDJUHHPHQWIURP,IWKDWLVWKDW

    DJUHHPHQWWKDW VZKDW VFRPLQJWRPLQGEXW,GRQ W

    UHPHPEHUZKR,IWKDWZDV1H[3RLQWRU+0)$EXWLILW VD

    DJUHHPHQWWKDW\RX UHUHIHUULQJWRWKHUHZDVDQ

    DJUHHPHQW,GRQ WUHPHPEHUZKDWHQWLW\WKDWZDVZLWK

    4      'R\RXKDYHDQ\UHFROOHFWLRQDV\RXVLWKHUHULJKWQRZ

    DVWRZK\WKHQHZDJUHHPHQWZDVHQWHUHGLQWRZLWK1H[3RLQW

    LQHDUO\IRUVKDUHGVHUYLFHV"

    $      ,GRQ WUHFDOO

   4      /HW VJRWR([KLELWSOHDVH%HIRUHZHGRWKDWOHW V

   JRWR([KLELW'R\RXNQRZZKDW([KLELWLV"

   $      ,WVD\VDVXEDGYLVRU\DJUHHPHQWEHWZHHQ1H[3RLQW

   DGYLVRUVDQG+LJKODQG&DSLWDO0DQDJHPHQW/3

   4      $QGLI\RXFDQJRWRWKHSDJHHQGLQJLQ%DWHVQXPEHU

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   $      2ND\,VWKDW\RXUVLJQDWXUHVLU"

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   4      $QGGLG\RXVLJQWKLVDJUHHPHQWRQEHKDOIRI+LJKODQG

   DQG1H[3RLQW"

   $      <HV

   4      $QGLI\RXJREDFNWRWKHILUVWSDJHGR\RXXQGHUVWDQG

   WKDWWKLVDJUHHPHQWZDVHIIHFWLYHDVRI-DQXDU\VW"

   $      7KDW VZKDWLWVD\VLQWKHILUVWSDUDJUDSK

   4      2ND\'R\RXKDYHDUHFROOHFWLRQDVWRZK\\RXVLJQHG

   WKLVGRFXPHQW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $    ,GRQ WUHFDOO

    4    <RXGRQ WUHFDOO"'R\RXUHFDOOLQJKDYHDQ\

    GLVFXVVLRQVZLWKDQ\ERG\DWDQ\WLPHFRQFHUQLQJWKHVXE

    DGYLVRU\DJUHHPHQWWKDW\RXVLJQHGRQEHKDOIRI+LJKODQG

    DQG1H[3RLQW"

    $    ,PHDQVXEDGYLVRU\DJUHHPHQWVDUHLQSODFHWRSURYLGH

    IURQWRIILFHVHUYLFHVEXW,GRQ WUHPHPEHU,GRQ W

    UHFDOOZK\ZHSXWWKLVDJUHHPHQWLQDWWKDWWLPH

    4    2ND\&DQ\RXWXUQWRSDJHSOHDVH"'R\RXVHHWKDW

   WKHFRPSHQVDWLRQLVDPRQWK",DSRORJL]HLW V

   SDJHRI([KLELW

   $    <HV

   4    'R\RXNQRZKRZWKDWQXPEHUZDVDUULYHGDW"

   $    ,GRQ W

   4    'LG\RXGRDQ\DQDO\VLVWRGHWHUPLQHWKHYDOXHRIWKH

   VXEDGYLVRU\VHUYLFHVWKDW+LJKODQGZDVJRLQJWREH

   SURYLGLQJSXUVXDQWWRWKLVDJUHHPHQW"

   $    ,GLGQ WSHUIRUPDQDQDO\VLVEXWWKHUHZDVDQDQDO\VLV

   WKDWZDVSHUIRUPHGDVSDUWRI\RXNQRZZKHQWKHUH V

   DPRXQWVOLNHWKLVLQDJUHHPHQWVWKHUH VDEDFNXS'DYH

   .ORVZRXOGW\SLFDOO\GRVRPHWKLQJOLNHWKLV

   4    ,NQRZKHPLJKWW\SLFDOO\GRLW, PDVNLQJ\RX

   VSHFLILFDOO\LI\RXKDYHDUHFROOHFWLRQRI'DYH.ORV

   SUHSDULQJDQDQDO\VLVWRMXVWLI\WKHQXPEHUWKDW V

   UHIOHFWHGLQWKLVGRFXPHQW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $     ,GRQ W

    4     2ND\'R\RXUHFDOODQ\GLVFXVVLRQZLWKDQ\ERG\DWDQ\

    WLPHDERXWWKLVSDUWLFXODUDJUHHPHQW"

    $     ,MXVWUHFDOOJHQHUDOO\WKDW\RXNQRZWKHUH VDQ

    DJUHHPHQWZDVQHHGHGEXW,GRQ W,PHDQ,GRQ WUHFDOO

    DQ\WKLQJHOVHDERXWLW

    4     2ND\'R\RXUHFDOOLIDVXEDGYLVRU\DJUHHPHQWZDV

    HYHUSUHSDUHGIRU+LJKODQG&DSLWDO0DQDJHPHQW)XQG$GYLVRUV

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   $     ,GRQ W

   4     'R\RXKDYHDQ\UHFROOHFWLRQDWDOORIKDYLQJDQ\

   FRQYHUVDWLRQVDERXWWKHFUHDWLRQRIDVXEDGYLVRU\DJUHHPHQW

   IRU+&0)$"

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   SD\UROOUHLPEXUVHPHQWDJUHHPHQWIRU1H[3RLQW"2K,

   DSRORJL]HWKLVLV

   $     ,WVD\V+LJKODQG&DSLWDO

   4     IRU+&0)$

   $     0DQDJHPHQW)XQG$GYLVRUV

   4     /HW VJHWWKHRQHIRU1H[3RLQWVRZHVWD\FRQVLVWHQW

   ,DSRORJL]H

         &DQ\RXJRWR([KLELW"'R\RXVHHWKLVLVDSD\UROO

   UHLPEXUVHPHQWDJUHHPHQWIRU1H[3RLQWDQGLWVHIIHFWLYH

   -DQXDU\VW"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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    4    'R\RXKDYHDQ\NQRZOHGJHDVWRZK\1H[3RLQWHQWHUHG

    LQWRWKLVDJUHHPHQWDIWHU\RXVLJQHGWKHVXEDGYLVRU\

    DJUHHPHQWRQLWVEHKDOI"

    $    ,GRQ WUHFDOO,WKLQN,VDLGWKDWHDUOLHU

    4    'R\RXKDYHDQ\UHFROOHFWLRQDVWRZK\WKLVDJUHHPHQW

    ZDVHQWHUHGLQWRRQ0D\VWHIIHFWLYHDVRI-DQXDU\

    VW"

    $    ,GRQ W

   4    'R\RXKDYHDQ\UHFROOHFWLRQWKDWSHUVRQQHODW+LJKODQG

   KDGUHFHLYHGDGYLFHWKDWWKHVXEDGYLVRU\DJUHHPHQWFRXOGQ W

   EHXVHGEHFDXVHLWFRXOGQ WEHPDGHUHWURDFWLYHDQGLW

   FRXOGQ WEHDSSURYHGXQOHVVDSSURYHGLQDQLQKRXVHLQ

   SHUVRQPHHWLQJE\WKHUHWDLOERDUG'RHVDQ\RIWKDWULQJD

   EHOO"

   $    ,WGRHVQ W

   4    'R\RXUHFDOOWKDW$6,6WKDW-RVK&DUH\ SK ILOHGWKH

   LQYROXQWDU\SHWLWLRQDJDLQVW$6,6DWWKHHQGRI-DQXDU\

   "

   $    ,GRQ WUHPHPEHUGDWHVLQWKH$6,6FDVH

   4    6REDFNWRWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWHYHQ

   WKRXJK\RXVLJQHGLW\RXGRQ WUHFDOODQ\WKLQJDERXWZK\

   WKLVDJUHHPHQWZDVSUHSDUHGLQWKHVSULQJRIRWKHUWKDQ

   LWZDVDJHQHUDOQHHGIRULWFRUUHFW"

   $    <HDK,GRQ WUHFDOO

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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    4    $QG\RXGRQ WUHPHPEHUKDYLQJDQ\FRQYHUVDWLRQVZLWK

    DQ\ERG\DWDQ\WLPHFRQFHUQLQJWKHVXEVWDQFHRIWKLV

    DJUHHPHQWSULRUWRWKHWLPH\RXVLJQHGLWRWKHUWKDQWKH

    IDFWWKDWLWZDVQHHGHGFRUUHFW"

    $    <HV

    4    <RXGRQ WUHFDOOUHFHLYLQJDQ\OHJDODGYLFHEHIRUH

    VLJQLQJWKLVDJUHHPHQWFRUUHFW", PVRUU\"

    $    3ULRUWRVLJQLQJGRFXPHQWV,PHDQLIDGRFXPHQWLV

    OHIWDWP\RIILFH,KDYHDFRYHUVKHHWZKLFKLILW VD

   OHJDOGRFXPHQWZKLFKEDVLFDOO\VD\VOHJDOUHYLHZHGDQG

   DSSURYHGWKLVGRFXPHQWRUVRPHRQHZDONVLQZLWKDGRFXPHQW

   OLNHWKLVIRUVLJQDWXUH,DOZD\VDVNWKHPKDVOHJDO

   UHYLHZHGDQGDSSURYHGWKLVGRFXPHQW

   4    2ND\%XW\RXSHUVRQDOO\GLGQ WUHFHLYHDQ\OHJDO

   DGYLFHEHIRUH\RXVLJQHGLWFRUUHFW"

   $    1RWWKDW,UHFDOO

   4    <RXGRQ WUHFDOOVHHLQJDQ\GUDIWVRIWKLVDJUHHPHQW

   EHIRUH\RXVLJQHGLWFRUUHFW"

   $    1RWWKDW,UHFDOO

   4    <RXQHYHUSURYLGHGDQ\FRPPHQWVWRWKLVDJUHHPHQW

   FRUUHFW"

   $    1RWWKDW,UHFDOO

   4    <RXGRQ WNQRZZKRGUDIWHGWKLVDJUHHPHQWFRUUHFW"

   $    $VLGHIURPZKDW,PHQWLRQHGHDUOLHUDERXW+LJKODQGRU

   LQKRXVHFRXQVHOUHYLHZLQJDQGDSSURYLQJLW,GRQ WNQRZ

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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    4    2ND\'R\RXVHHLQWKHGHILQLWLRQRIDFWXDOFRVWVLW

    VD\VTXRWHDEVHQWDQ\FKDQJHVWRHPSOR\HHUHLPEXUVHPHQWDV

    VHWIRUWKLQ6HFWLRQVXFKFRVWVDQGH[SHQVHVDUHHTXDO

    WRSHUPRQWK"'R\RXVHHWKDW"

    $    <HV

    4    $QGLVLW\RXUXQGHUVWDQGLQJWKDW1H[3RLQWSDLG

    HDFKDQGHYHU\PRQWKIURPWKHEHJLQQLQJRI

    XQWLOWKHWLPH0U'RQGHURJDYHKLVGLUHFWLYHWRVWRS

    SD\LQJ"

   $    <HV

   4    2ND\<RXGRQ WUHPHPEHUKRZWKDWQXPEHUZDV

   FDOFXODWHGFRUUHFW"

   $    ,GRQ WUHFDOO

   4    2ND\&DQ\RXWXUQWR([KLELW$\RXNQRZZH OOJHW

   WRLW:H OOJHWWR([KLELW$<HVWXUQWR([KLELW$RI

   WKLVDJUHHPHQW'R\RXUHFDOOWKDW\RXDOVRVLJQHGD

   SD\UROOUHLPEXUVHPHQWDJUHHPHQWRQEHKDOIRI+&0)$DQG

   +LJKODQGDWWKHH[DFWVDPHWLPHWKDW\RXVLJQHGWKLVRQH"

   $    :H GKDYHWRORRNDWWKHGRFXPHQW,GRQ W\RXVD\

   ([KLELW$"

   4    <HDK<RXNQRZEHIRUHZHGRWKDWOHW VMXVWVWLFN

   ZLWKWKDWELQGHUWKDW\RXKDGDQGJRWR([KLELW$QGGR

   \RXVHHWKDWWKLVLVWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQW

   WKDWZDVDOVRHQWHUHGLQWRRQ0D\VWEXWWKLVRQHZDV

   HQWHUHGLQWREHWZHHQ+LJKODQGDQG+&0)$"

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $    ,GR

    4    $QGLI\RXWXUQWRWKHGRFXPHQWZLWK%DWHVQXPEHU

    DQGWKRVHDUH\RXUVLJQDWXUHVFRUUHFW"

    $    ,WLV

    4    $QGGR\RXKDYHDQ\UHFROOHFWLRQRIDQ\IDFWVDQG

    FLUFXPVWDQFHVFRQFHUQLQJWKHSUHSDUDWLRQDQG\RXUUHYLHZRI

    WKLVGRFXPHQWEHIRUH\RXVLJQHGLWWKDWGLIIHUVIURPWKH

    TXHVWLRQVWKDW,MXVWDVNHG\RXDERXWWKH1H[3RLQWSD\UROO

    UHLPEXUVHPHQWDJUHHPHQW,VWKHUHDQ\WKLQJGLIIHUHQWDERXW

   WKLV"

   $    1RQRWWKDW,UHFDOO

   4    <HDK, PMXVWWU\LQJWRVSHHGWKLVXSDOLWWOHELW

   $    2ND\

   4    <RXGRQ WUHFDOOJHWWLQJOHJDODGYLFHFRUUHFW"

   $    ,GRQ W

   4    <RXGRQ WUHFDOOSURYLGLQJDQ\FRPPHQWVWRWKLV

   GRFXPHQWFRUUHFW"

   $    ,GRQ W

   4    <RXGRQ WUHFDOOKDYLQJDQ\GLVFXVVLRQVZLWKDQ\ERG\DW

   DQ\WLPHDERXWWKLVGRFXPHQWEHIRUH\RXVLJQHGLWFRUUHFW"

   $    ,GRQ W

   4    <RXGRQ WUHFDOOZK\LWZDVVLJQHGFRUUHFW"

   $    $VLGHIURPDJHQHUDOQHHG,GRQ WUHFDOO

   4    2ND\6RQRZOHW VORRNDW([KLELW$LWGRHVQ W

   PDWWHUZKLFKDJUHHPHQWOHW VMXVWWDNHDTXLFNORRNDW

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    ([KLELW$%HIRUH\RXVLJQHGLWGLG\RXNQRZ,

    DSRORJL]H,W V([KLELW$WRWKHDJUHHPHQWVRZKHWKHU

    \RX UHDW([KLELWRU([KLELWWKHODVWSDJHLVVRPHWKLQJ

    FDOOHG([KLELW$'R\RXKDYHWKDW"

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    4    7KDW VDOLVWRIHPSOR\HHV

    $    8KKXK

    4    'LG\RXNQRZWKDW([KLELW$ZDVDWWDFKHGWRWKHVH

    DJUHHPHQWVEHIRUH\RXVLJQHGLW"

   $    ,KDYHDJHQHUDOUHFROOHFWLRQWKDWWKHUHZDVDQH[KLELW

   WRWKLVDJUHHPHQWZLWKHPSOR\HHV\HV

   4    <RXGRQ WNQRZZKRSUHSDUHGWKH([KLELW$WKDW V

   DWWDFKHGWRHDFKRIWKHVHDJUHHPHQWVFRUUHFW"

   $    ,GRQ W

   4    <RXGRQ WNQRZKRZWKHH[KLELWVZHUHSUHSDUHGFRUUHFW"

   $    ,GRQ WNQRZWKHSHUVRQZKRVSHFLILFDOO\SXWWKLV

   WRJHWKHU

   4    $QG\RXGRQ WUHFDOOGLVFXVVLQJWKH([KLELW$ VZLWK

   0U.ORVEHIRUH\RXVLJQHGWKHVHWZRSD\UROOUHLPEXUVHPHQW

   DJUHHPHQWVFRUUHFW"

   $    &RUUHFW7KLVZDVDJDLQIRXU\HDUVDJR,GRQ W

   UHPHPEHU

   4    2ND\$QG\RXKDYHQRUHFROOHFWLRQRIHYHUGLVFXVVLQJ

   ([KLELW$ZLWKDQ\ERG\DWDQ\WLPHFRUUHFW"

   $    ,GRQ WUHFDOO

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            83 of 161Page461
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    4    $QGDWDURXQGWKHWLPH\RXVLJQHGWKLVDJUHHPHQW\RX

    GLGQ WKDYHDQ\GLVFXVVLRQVZLWKDQ\ERG\DERXWZKHWKHUWKH

    SDUWLHVZRXOGPDNHDQHIIRUWWRGHWHUPLQHWKHGXDOHPSOR\HHV

    WRGHWHUPLQHZKHWKHUWKHGXDOHPSOR\HHVZHUHVSHQGLQJWKH

    DOORFDWHGSHUFHQWDJHVVHWIRUWKRQWKLVGRFXPHQWFRUUHFW"

    $    ,PHDQWKHUHZDVDJHQHUDOXQGHUVWDQGLQJ,ILW VLQ

    DGRFXPHQWRIWKLVW\SH,PHDQLW VQRW\RXNQRZWKHUH

    DUHQ WMXVWJRLQJWREHQXPEHUVWKDWDUHWKURZQLQWRDQ

    H[KLELW

   4    :HOO\RXKDGQRH[SHFWDWLRQWKDW([KLELW$ VZRXOG

   HYHUEHXSGDWHGGLG\RX"

   $    ,GRQ W,PHDQSRWHQWLDOO\

   4    :HOO\RXGRQ WUHFDOOHYHULQVWUXFWLQJ0U.ORVWR

   XSGDWH([KLELW$GLG\RX"

   $    ,GRQ WUHFDOO

   4    <RX UHQRWDZDUHRIDQ\ERG\LQWKHZRUOGZKRHYHU

   LQVWUXFWHG0U.ORVWRXSGDWH([KLELWV$DUH\RX"

   $    , PQRWDZDUH

   4    $QG\RXKDYHQRUHFROOHFWLRQRIDQ\ERG\HYHUXSGDWLQJ

   ([KLELWV$FRUUHFW"

   $    , PQRWDZDUH

   4    $QGMXVWPRUHEURDGO\\RXKDYHQRUHFROOHFWLRQRIHYHU

   DVNLQJDQ\ERG\LQWKHZRUOGDWDQ\WLPHWRXSGDWHWKLV

   FKDUWFRUUHFW"

   $    :HOOLQ4LQ\RXNQRZWKLVDJUHHPHQWDQG

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Case 3:22-cv-02170-S Document 2-13 Filed
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    RWKHUVZHUHEURXJKWWRWKHDWWHQWLRQRI)UHG&DUXVRDW'6,

    DIWHU+LJKODQGILOHG$QG<RXNQRZDWWKHWLPH'DYH

    EURXJKWXSWKH0U.ORVEURXJKWXSWKHRYHUSD\PHQWVE\

    WKHDGYLVRUVRQWKHYDULRXVDJUHHPHQWV7KLVZDVSUHVHQWHG

    WR0U&DUXVRDWWKHWLPH

         6RDJDLQ,\RXVDLGWKHUHZDVQRLQWHQWWRHYHU

    XSGDWHWKHVHQXPEHUV,PHDQWKHUHZDVDQDQDO\VLVSXW

    WRJHWKHUDQGSUHVHQWHGWREDVLFDOO\WKHSHUVRQLQFKDUJHRI

    +LJKODQGDWWKHWLPHEHFDXVHZHZHUHHGXFDWLQJ0U&DUXVR

   DQG'6,RQHYHU\WKLQJ+LJKODQGLQ4RIDQGWU\LQJWR

   JHWKLPXSWRVSHHGDVTXLFNO\DVSRVVLEOHDQGWKLVZDVRQH

   RIWKHLWHPV

   4    $QGGLG\RXHYHUVHHDGUDIWRIWKHUHYLVLRQWR([KLELW

   $DWDQ\SRLQW"

   $    1RWWKDW,UHFDOO

   4    2ND\1RUHFRUGVH[LVWWRGD\WKDWFRXOGEHXVHGWR

   GHWHUPLQHZKHWKHUWKHGXDOHPSOR\HHVDFWXDOO\VSHQWWKH

   DOORFDWHGWLPHZRUNLQJIRUWKHDGYLVRUVLVQ WWKDWFRUUHFW"

   $    $VLGHIURPJRLQJWKURXJKZRUNSURGXFWHPDLOVRU

   KDYLQJGLVFXVVLRQVRIWKDWQDWXUH

   4    6RLW GKDYHWREHDIRUHQVLFH[DPLQDWLRQ"

   $    ,PHDQLI\RX UHVD\LQJWRGD\WRJREDFNLQWLPH,

   PHDQ\RXNQRZQRQHRIWKHHPSOR\HHVDUHWKHUHVR\HDK

   \RX GKDYHWRGRDQHVWLPDWHDQGDJDLQRQWKLV([KLELW$

   WKHUH VDSHUFHQWDJHDOORFDWLRQWR+0)$WRGHWHUPLQHZKDW

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            85 of 161Page463
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    WKDWDOORFDWLRQLV

    4    'LG\RXGRDQ\WKLQJWRVDWLVI\\RXUVHOIWKDW([KLELW$

    ZDVDFFXUDWHEHIRUHVLJQLQJWKLVDJUHHPHQW"

    $    ,UHPHPEHUJHQHUDOO\KDYLQJFRQYHUVDWLRQVRQWKHVH

    DOORFDWLRQVEXWDJDLQOLNH,VDLGLWZDVIRXU\HDUVDJR

    ,I,GLGQ WIHHOFRPIRUWDEOHZLWKWKHVHDOORFDWLRQVDWWKH

    WLPH,ZRXOGQ WKDYHVLJQHGWKHGRFXPHQW

    4    2ND\1RERG\ZDVDWQRQHRIWKHGXDOHPSOR\HHVZHUH

    HYHULQVWUXFWHGWRNHHSWUDFNRIWKHLUWLPHVRWKDW

   VRPHERG\FRXOGDFWXDOO\GHWHUPLQHWKHDOORFDWLRQVZLWK

   DFFXUDF\FRUUHFW"

   $    1RWWKDW, PDZDUH

   4    $QG\RXQHYHUSHUVRQDOO\DQG\RXSHUVRQDOO\QHYHU

   LQVWUXFWHGDQ\GXDOHPSOR\HHWRNHHSWUDFNRIWKHLUWLPHVR

   WKDWDQDFFXUDWHGHWHUPLQDWLRQRIWKHLUDOORFDWLRQFRXOGEH

   PDGHFRUUHFW"

   $    1RWWKDW,UHFDOO

   4    $QGEHFDXVHQRRQHZDVLQVWUXFWHGWRNHHSWLPHUHFRUGV

   \RX UHXQDZDUHRIDQ\UHFRUGVWKDWH[LVWWRGD\WKDWFRXOGEH

   UHOLHGXSRQWRDFFXUDWHO\GHWHUPLQHKRZPXFKWLPHWKHGXDO

   HPSOR\HHVVSHQWZRUNLQJIRUWKHDGYLVRUVFRUUHFW"

   $    $V,VDLGHDUOLHUDVLGHIURPHPDLOVRUZRUNSURGXFW

   RUWKLQJVOLNHWKDWWKDWH[LVWHGWKDWH[LVWVRQ

   +LJKODQG VV\VWHPV\RXNQRZ,GRQ WNQRZRIDQ\,GRQ W

   NQRZDQ\WKLQJRXWVLGHRIWKDW

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            86 of 161Page464
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    4    %HIRUH\RXVLJQHGWKLVDJUHHPHQWGLG\RXPDNHDQ\

    GHWHUPLQDWLRQDVWRZKHWKHUWKHUHZDVDQ\SURKLELWLRQRU

    OLPLWDWLRQRQ+LJKODQG VDELOLW\WRPDNHDSURILWXQGHUWKH

    SD\UROOUHLPEXUVHPHQWDJUHHPHQWV"

    $    7KDWZHOOLW VDSD\UROOUHLPEXUVHPHQWDJUHHPHQW

    ULJKWDV\RXGHVFULEHGVRWKLVDJUHHPHQWIURPWKHDGYLVRUV

    WR+LJKODQGLVWREDVLFDOO\UHLPEXUVH+LJKODQGIRUDQ\FRVWV

    LQFXUUHGE\+LJKODQG&DSLWDO0DQDJHPHQW/3

    4    6RWKHQZK\GLG\RXSHUVRQDOO\DXWKRUL]HWKHDGYLVRUV

   WRSD\WKHIL[HGIHHVWKDWDUHVHWIRUWKLQHDFKRIWKH

   DJUHHPHQWVHDFKDQGIRUHDFKDQGHYHU\RIWKHPRQWKV

   EHWZHHQ-DQXDU\VWDQGWKHHQGRI1RYHPEHURU4

   "

              0558.$9,1$2EMHFW<RXU+RQRUWKHUH VQR

   SUHGLFDWHWKHUH VQRIRXQGDWLRQWKDWKHSHUVRQDOO\

   DXWKRUL]HGDQ\VXFKSD\PHQW

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              050255,6, PKDSS\WRGRWKDWULJKWQRZ, OO

   MXVWVNLSWRWKDWDQGWKHQZH OOFRPHEDFNWRLW

              7+(&28576R, OOVXVWDLQ

   %<050255,6

   4    5HPHPEHUHDUOLHU\RXDJUHHGWKDWDVWKHWUHDVXUHURI

   WKHDGYLVRUV\RXZHUHUHVSRQVLEOHIRUPDNLQJVXUHWKDW

   +LJKODQGSDLGWKDWWKHDGYLVRUVSDLGWKHSURSHUDPRXQWV

   XQGHUWKHLULQWHUFRPSDQ\DJUHHPHQWVZLWK+LJKODQG"

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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    4      2ND\2QHRIWKHZD\V\RXGLGWKDWZDVE\DSSURYLQJ

    WKHSD\PHQWVLQDGYDQFHFRUUHFW"

    $      ,PHDQ,WKLQN,VDLGHDUOLHUSD\PHQWVDQGWKLQJVRI

    WKDWQDWXUHDUHDWHDPDSSURDFKEXWWKH\HV,PHDQ,

    GRDSSURYH\RXNQRZ,GRDSSURYHSD\PHQWV

    4      <RXGLG,QIDFW\RXDSSURYHGZLWKGUDZQ

           ,WZDV\RXUSUDFWLFHWRDSSURYHHYHU\SD\PHQWXQGHUWKH

    LQWHUFRPSDQ\DJUHHPHQWVEHIRUHWKH\ZHUHPDGHLVWKDWIDLU"

   $      ,GRQ WNQRZLI,DSSURYHGHYHU\VLQJOHRQHRIWKHVH

   SD\PHQWVXQGHUWKHVHDJUHHPHQWV,ZRXOGKDYHWRJREDFN

   DQGVHHLI,DFWXDOO\PDGHDSSURYDOV,GRQ WNQRZ

   4      2ND\$QGWKDW VZK\,IUDPHGLWDV,GLG,

   DSSUHFLDWHWKHIDFWWKDW\RXFDQ WWHVWLI\ZLWKVSHFLILFLW\

   DVWRHYHU\VLQJOHSD\PHQWEXW\RXUSUDFWLFHZDVWRGR

   WKDWLVWKDWIDLU"

   $      7KHWHDPZRXOGFRPPXQLFDWHSD\PHQWVWRP\VHOIRQD

   ZHHNO\EDVLV\RXNQRZIRUDJDLQWKHSXUSRVHZDVWRSURYLGH

   WUDQVSDUHQF\LQWRZKDWZDVEHLQJSDLGIRUWKHZHHNSURYLGH

   DQRWKHUVHWRIH\HVRQ\RXNQRZZKDWSD\PHQWVDUHJRLQJ

   RXWDQGVLQFHLW VDWHDPDSSURDFKWKHUHPD\EHSD\PHQWV

   WKDWZHUHLQDSSURSULDWHRUOHIWRIIRIWKHOLVWWKDWRWKHUV

   PD\NQRZDERXW

          6RLWZDVWKHUHZDVDUHYLHZSURFHVVLQWKDWUHJDUG

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Case 3:22-cv-02170-S Document 2-13 Filed
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                         Document   Filed01/12/23
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    4    $QGDWWKHHQGRIWKDWSURFHVV.ULVWHQ+HQGULFNV SK 

    ZRXOGVHQG\RXDQHPDLOZLWKDOLVWRIWKHSD\PHQWVWKDW

    ZHUHJRLQJWREHPDGHRQEHKDOIRIWKHDGYLVRUVDQGVKH

    ZRXOGVHHN\RXUDSSURYDOEHIRUHHIIHFWXDWLQJWKRVHSD\PHQWV

    FRUUHFW"

    $    ,WPD\QRWKDYHDOZD\VEHHQ.ULVWHQDQGLWGHSHQGVRQ

    ,GRQ WNQRZZKDWWLPHSHULRG\RX UHWDONLQJDERXWLW

    PD\QRWKDYHDOZD\VEHHQ.ULVWHQ7KHUHPD\KDYHEHHQ

    RWKHUVLQYROYHGDQG\RXNQRZDJDLQKRSHIXOO\WKHLUOLVW

   ZDVDFFXUDWHDQGFRPSOHWH

   4    2ND\6RZLWKRXWUHJDUGWRDQ\SDUWLFXODULQGLYLGXDO

   LVLWIDLUWRVD\WKDWWKHSUDFWLFHZDVWRKDYHVRPHERG\

   IURPWKHFRUSRUDWHDFFRXQWLQJJURXSGXULQJWKHWKUHH\HDU

   UHOHYDQWSHULRGSUHSDUHDOLVWRIZLUHWUDQVIHUVWKDWZHUH

   JRLQJWREHPDGHWRVHQGWKDWOLVWWR\RXDQGWRVHHN\RXU

   DSSURYDOEHIRUHWKHZLUHVZHUHWUDQVIHUUHG:DVWKDWWKH

   SUDFWLFHHYHQLILWGLGQ WKDSSHQHYHU\VLQJOHGD\HYHQLI

   VRPHERG\GLIIHUHQWGLGLWHYHU\VLQJOHGD\"

   $    1RWDOZD\VQR

   4    1RWDOZD\VEXWZDVLWWKHSUDFWLFH"

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   4    8KKXK,WPD\EHWKHRWKHUERRN&DQ\RXH[SODLQWR

   -XGJH-HUQLJDQZKDW([KLELWLV"

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    $    7KLVLVDQHPDLOIURP.ULVWHQ+HQGULFNVGDWHG7XHVGD\

    )HEUXDU\WKDQGLW VVXEMHFWDQGLW VFF LQJ

    'DYLG.ORVVXEMHFWLVZLUHVIRUWRGD\,WKDV+&0)$DQGLV

    DQ+&0/3DPRXQWRIIRUVKDUHGVHUYLFHVDQGDV

    DPRXQWVXQGHU1H[3RLQWDGYLVRUVLWVD\V*30'XJHUER\ SK 

    IRUZLWKDQRWHRI7ULS*URVD SK 

    4    2ND\:HGRQ WKDYHWR, PJRLQJWRDSRORJL]HIRU

    LQWHUUXSWLQJEXWLVWKLVDQHPDLOIURP.ULVWHQWR\RX

    VHHNLQJDSSURYDOIRUWKHLQLWLDWLRQRIZLUHWUDQVIHUVRQHRI

   ZKLFKLVRQEHKDOIRI+&0)$IRUWKHSXUSRVHRISD\LQJVKDUHG

   VHUYLFHVWKDWZHUHGXH"

   $    7KLVHPDLOLV\HV

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   4    'LG0V+HQGULFNVKDYHDSUDFWLFHRIVHQGLQJHPDLOVWR

   \RXZLWKZLUHWUDQVIHUVLQZKLFKVKHVRXJKW\RXUDSSURYDO

   EHIRUHLQLWLDWLQJ"

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   LVXQLTXH7KLVLVXQLTXHEHFDXVH\RX YHWKLVLVIURP

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   GLGQ WKDYHDEDQNDFFRXQWDW(DVW:HVW7KH\QHHGHGDQ

   (DVW:HVWEDQNDFFRXQWEHFDXVHRIWKHEDQNUXSWF\ULJKWLW

   QHHGHGDVSHFLDOEDQNDFFRXQW

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    WRILOLQJ+LJKODQGGLGQRWKDYHDQ(DVW:HVWEDQNDFFRXQW

    ,WKDGDEDQNDFFRXQWDW1H[%DQN6RWKHDGYLVRUVKDGEDQN

    DFFRXQWVDW1H[%DQNDVZHOO

         7KRVHSD\PHQWVZHUHQ WVHQWE\ZLUH7KH\ZHUH

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    IRUP$QG,GRQ WUHFDOO0V+HQGULFNVRU0U.ORVRQHYHU\

    VLQJOHRQHRIWKHPDORWRI$&+VZHUHGRQHZLWKRXWP\

    NQRZOHGJH

   4    $QGWKDWZRXOG YHEHHQSUHSHWLWLRQ"

   $    7KDW GEHSUHSHWLWLRQULJKWEHFDXVHWKH(DVW:HVW

   EDQNDFFRXQWZDVVHWXSDIWHUZHILOHGLQ2FWREHURI

   WKDWLVDQHZEDQNDFFRXQW$QGWKHUH VDQHZSURFHVVLQ

   SODFH

   4    $QGGHVFULEHWKHSURFHVVIRU-XGJH-HUQLJDQWKDWZDV

   SXWLQSODFHDIWHUWKHSHWLWLRQGDWH

   $    :KDWWKHSURFHVVIRU+LJKODQGZLUHV"

   4    )RU+&0)$DQG1H[3RLQWZLUHV

   $    6RWKLVHPDLOLVGHVFULSWLYHRIWKDWSURFHVVWR\RX

   NQRZDJDLQSRVWSHWLWLRQLIWKHUHZHUHZLUHVWKDWZDVVHQW

   RXW\HV,ZDVPDGHDZDUHRIWKRVHZLUHV

   4    <RXZHUHQ WMXVWPDGHDZDUHEXW\RXUDSSURYDOZDV

   VRXJKWFRUUHFW"

   $    ,ZDVPDGHDZDUH,GLGQ WJREDFNDQGUHFDOFXODWHWKLV

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Case 3:22-cv-02170-S Document 2-13 Filed
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    WKHVHRWKHUSD\PHQWV$JDLQ\RXNQRZWKLVLVDWHDP

    DSSURDFK7KHVHORRNURXWLQHDQGFXVWRPDU\

    4    2ND\6RURXWLQHDQGFXVWRPDU\DQG\RXUHVSRQGE\

    WHOOLQJ.ULVWHQRND\FRUUHFW"

    $    ,\HVLW VLQWKLVHPDLO

    4    $QGXQGHUWKHSURFHVVWKDWZDVSXWLQSODFHDIWHUWKH

    SHWLWLRQGDWHFRXOG0V+HQGULFNVRUDQ\SHUVRQLQWKH

    DFFRXQWLQJWHDPZHUHWKH\H[SHFWHGWRLQLWLDWHWKHVHZLUH

    WUDQVIHUVZLWKRXWREWDLQLQJ\RXUDSSURYDO"

   $    7KDWZDVWKHH[SHFWDWLRQEXW,GRQ W,PHDQ,

   GRQ WWKLQNWKDWLIWKH\GLGQ WJHWP\DQVZHUWLPHO\,

   WKLQNLW VP\XQGHUVWDQGLQJWKDW\RXNQRZZLUHVGLGJRRXW

   IURPWLPHWRWLPH

   4    $QGGR\RXUHFDOOLIWKDWHYHUKDSSHQHGZKHUH\RX

   OHDUQHGDERXWLWDQG\RXWROGWKHP\RXPDGHDPLVWDNH\RX

   VKRXOGQ WKDYHH[HFXWHGWKDWZLUH, YHORRNHGDWLWQRZ

   , YHVHHQZKDW\RX YHGRQHDQG\RXVKRXOGQ¶WKDYHGRQHWKDW"

   $    ,GRQ WUHFDOO

   4    *RWR([KLELWSOHDVH,VLWIDLUWRVD\WKDWWKLV

   LVMXVWDQRWKHUH[DPSOHRIWKHSURFHVVWKDW\RXMXVW

   GHVFULEHGKDYLQJEHHQSXWLQSODFHDIWHUWKHSHWLWLRQGDWH

   ZLWKWKHFRUSRUDWHDFFRXQWLQJJURXSZRXOGFUHDWHDOLVWRI

   WKHSURSRVHGZLUHVDQGVHHN\RXUDSSURYDO"

   $    <HV

   4    2ND\$QGLQIDFWWKLVRQHVSHFLILFDOO\UHODWHVWR

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              $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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    WKH+&0)$VXEDGYLVRU\DJUHHPHQWLQWKHDPRXQWRI

    ULJKW"

    $    )RU\HV

    4    6R\RXSHUVRQDOO\DSSURYHGLQ$SULORIDSD\PHQW

    RIZKLFKLVH[DFWO\WKHQXPEHUWKDWZDVLQWKH

    SD\UROOUHLPEXUVHPHQWDJUHHPHQWWKDW\RXVLJQHGEDFNLQ0D\

    RIFRUUHFW"

    $    ,VDLGRND\DIWHUUHYLHZLQJLW$JDLQWKLVLVDIWHU

    EHLQJDZDUHRIWKLV,VDLGRND\

   4    $QGWKHWKLQJLV0U:DWHUKRXVHWKLVZDVQ WFRPLQJ

   LQWRDQWKLVZDVQ WFRPLQJWR\RXLQDYDFXXP<RX

   H[SHFWHGWRJHWWKHVHZLUHGUHTXHVWV<RXH[SHFWHGWKHPWR

   EHDWWKHQXPEHUVWKDW\RXUHFHLYHGULJKW"<RXNQHZWKLV

   ZDVJRLQJWRKDSSHQEHIRUH\RXHYHQJRWWKLVHPDLOIURP0V

   +HQGULFNVFRUUHFW"

   $    :KDWGR\RXPHDQ,H[SHFWHGWR"

   4    :HOO\RXUDFFRXQWLQJJURXSSUHSDUHGZHHNIRUHFDVWV

   LQWKHRUGLQDU\FRXUVHRIEXVLQHVVLVQ WWKDWULJKW"

   $    <HV

   4    $QGWKRVHZHHNIRUHFDVWVGHWDLOHGHYHU\VLQJOH

   SD\PHQWWKDWZDVSURMHFWHGWREHPDGHXQGHUWKHLQWHUFRPSDQ\

   DJUHHPHQWVGXULQJWKHWKUHH\HDUUHOHYDQWSHULRGFRUUHFW"

   $    <HDK,PHDQPRUHRUOHVV\HV

   4    :KDW VOHVV"

   $    $JDLQLIVRPHWKLQJZDVPLVVHGKHUHRUWKHUHEXW\HDK

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Case 3:22-cv-02170-S Document 2-13 Filed
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    ZHHNIRUHFDVWVZHUHSUHSDUHGRQDZHHNO\EDVLV,FDQ W

    UHPHPEHULIHYHU\RQHZDVGRQHDKXQGUHGSHUFHQWDFFXUDWHO\

    EXW\HVWKDWZDVGRQHRQDZHHNO\EDVLV

    4    &DQ\RXGHVFULEHIRU-XGJH-HUQLJDQDQ\UHFROOHFWLRQ

    \RXKDYHRIWKHUHEHLQJDSD\PHQWXQGHUDQ\RIWKH

    LQWHUFRPSDQ\DJUHHPHQWVGXULQJWKHWKUHH\HDUUHOHYDQW

    SHULRGWKDWZDVQ WSURSHUO\UHFRUGHGLQRQHRIWKHZHHN

    IRUHFDVWV"

    $    6R\RX UH,PHDQWKDW VRYHUZHHNIRUHFDVWV

   ,FDQ WUHFDOOHYHU\VLQJOHWKLQJRYHUWKDWJRLQJEDFN

   WKUHH\HDUV

   4    ,DSSUHFLDWHWKDW

   $    <RXNQRZ

   4    %XW\RXDOVRFDQ WUHPHPEHURQHHUURUWKDWZDVHYHU

   PDGHZLWKUHVSHFWWRDIRUHFDVWHGSD\PHQWWKDWZDVGXHXQGHU

   DQ\RIWKHLQWHUFRPSDQ\DJUHHPHQWVFRUUHFW"

   $    :KDW,FDQUHFDOORYHUWKHUHOHYDQWWLPHSHULRGLV\HV

   WKHUHZHUHWLPHVZKHUHWKHUHZHUHXSGDWHVDQGFRPPHQWVPDGH

   RQZHHNFDVKRUWKLQJVWKDWZHUHOHIWRXWRUPLVEXFNHWHG

   RUWKLQJVRIWKDWQDWXUHRUSHRSOHQRWPDGHDZDUH

        ,GRQ WUHFDOO\RXNQRZUHODWHGWRWKHVHDJUHHPHQWV

   EXWWKDWGRHVQ WPHDQWRVD\LWGLGQ WKDSSHQ

   4    2ND\7KHVHZHHNIRUHFDVWVWKH\ZHUHVHQWWR\RXRQ

   DZHHNO\EDVLVDQGUHYLHZHGLQJURXSPHHWLQJVULJKW"

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Case 3:22-cv-02170-S Document 2-13 Filed
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    4    $QGSULRUWRWKHSHWLWLRQGDWHWKHZHHNIRUHFDVWV

    ZHUHDOVRVHQWWR0U'RQGHURFRUUHFW"

    $    7KH0U'RQGHURUHFHLYHGWKHPRQDYHU\DGKRF

    EDVLV

    4    :HOOIRUWKHILUVWIHZPRQWKVRIWKHEDQNUXSWF\\RX

    DQG'6,URXWLQHO\ZHQWWKURXJKWKHZHHNIRUHFDVWVZLWK

    0U'RQGHURZKHQ+LJKODQGILOHGIRUEDQNUXSWF\FRUUHFW"

    $    ,GRQ WUHFDOOPHHWLQJZLWK0U'RQGHURDQG'6,RQD

    ZHHNO\EDVLVIRUZHHNFDVK

   4    2ND\, OOMXVWDVNWKHTXHVWLRQDJDLQ

        )RUWKHILUVWIHZPRQWKVRIWKHEDQNUXSWF\\RXDQG'6,

   URXWLQHO\ZHQWWKURXJKWKHZHHNIRUHFDVWZLWK0U'RQGHUR

   RQFH+LJKODQGZDVLQEDQNUXSWF\FRUUHFW"

   $    ,UHFDOODPHHWLQJKHUHDQGWKHUHZLWK0U'RQGHURDQG

   0U&DUXVRDQG0U.ORV,ZRXOGQ WVD\LWZDVURXWLQHRU

   RQDZHHNO\EDVLV

   4    $OOULJKW'R\RXUHPHPEHUWKHGHSRVLWLRQWKDWZHKDG

   DFRXSOHRIZHHNVDJR"

   $    <HV

   4    2ND\

               050255,6<RXU+RQRUGR\RXZDQWWRIROORZWKH

   WUDQVFULSW"

               7+(&2857'R,ZDQWWRIROORZWKHWUDQVFULSW

               050255,6<HDKDV,FURVVH[DPLQHZLWKLW"

               7+(&2857:HOO,JXHVV,FDQ

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 3:22-cv-02170-S Document 2-13 Filed
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                                            95 of 161Page473
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                7+(&2857<HDK

                81,'(17,),('-RKQ,GRQ WPLQGSXWWLQJLWRQ

    WKHVFUHHQ

                050255,6<HDK\RXGRQ WKDYHWR

                81',(17,),('2ND\

                050255,60U5XNDYLQDKDVLWFRUUHFW"2ND\

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    4    0U:DWHUKRXVHGR\RXUHPHPEHUDWWHQGLQJWKH

   GHSRVLWLRQZLWKPHYLUWXDOO\DFRXSOHRIZHHNVDJR"

   $    <HV

   4    $QGP\RQO\TXHVWLRQLVZKHWKHU\RXUHPHPEHUEHLQJ

   DVNHGWKLVTXHVWLRQDQGJLYLQJWKLVDQVZHU$QG, PORRNLQJ

   DWSDJHDQGLWVOLQHWKURXJKSDJHSDJH VLF 

               4'LG0U'RQGHURHYHU\UHFHLYHDQ\RIWKH

               IRUHFDVWVWKDW\RX YHMXVWGHVFULEHG"

               $   <HDK,PHDQZHZHZRXOGZDON-LPWKURXJK

               FDVKWKHZHHNFDVKIURPWLPHWRWLPH:HGLG

               ,PHDQWKDWZDVRQHWKLQJ:HPHWZLWK0U

               'RQGHURDQG'6,DQGZHQWWKURXJKZHHNFDVK

               URXWLQHO\ZLWK0U'RQGHURRQFHZHZHUHLQ

               EDQNUXSWF\

        :DVWKDWLVWKDWGLG\RXJLYHWKDWDQVZHUWRWKDW

   TXHVWLRQ"

               0558.$9,1$:HOODQG<RXU+RQRU,WKLQNKH V

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
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                              6-1 Filed
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     HQWLWOHGWRNQRZWKDWRQOLQHKHVDLG

                ,WZDVVSRUDGLF6R,ZRXOGQ WVD\LWZDV

                HYHU\ZHHN

                6ROHW VKDYHRSWLRQDOFRPSOHWLRQ

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                050255,6:H UHJRLQJWRJHWWRWKDW

                1R,DFWXDOO\KDGWKHFRQWH[W

                0558.$9,1$,MXVWWKLQNWKHZLWQHVVVKRXOG

     KDYHDFRS\RIWKHWUDQVFULSW

               050255,6<HDKRND\$VLDFDQ\RXSXWLWXS

    RQWKHVFUHHQSOHDVHEHFDXVH, PJRLQJWRJHWWRWKDWYHU\

    SRLQW+HUH\RXJR0U:DWHUKRXVH

    %<050255,6

    4    6LULI\RXFDQWXUQWRSDJHP\QH[WTXHVWLRQZDV

    DFWXDOO\JRLQJWREHGR\RXUHFDOOWKDWLQWKHEHJLQQLQJRI

    0U'RQGHURVXUUHQGHUHGFRQWURORI+LJKODQGWRWKH

    LQGHSHQGHQWERDUG"

    $    7KLVVD\VGHSRVLWLRQRI'XVWLQ1RUULVLVWKLVWKH

    ULJKWRQH"

               0558.$9,1$1RDFWXDOO\:HKDYHRQH

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    4    6RGR\RXUHFDOOWKDW, PVRUU\0U:DWHUKRXVH

    WDNH\RXUWLPH,GRQ WQHHGWRUXVK\RX<RX UHDW"

    $    ,DP

    4    $QG,MXVWDVNHG\RXWKDWTXHVWLRQWKDWEHJDQDWWKH

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                              6-1 Filed
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     ERWWRPRIDQGWKHQFRQWLQXHGWRWKHWRSRI$QG

     QRZLI\RXFRXOGMXVWORRNDWPHEHFDXVH, PJRLQJWRDVN

     \RXDFRXSOHRIIRXQGDWLRQDOTXHVWLRQV0U:DWHUKRXVH

     $    2ND\

     4    'R\RXUHFDOOWKDWDIWHULQ-DQXDU\0U'RQGHUR

     VXUUHQGHUHGFRQWURORI+LJKODQGWRDQLQGHSHQGHQWERDUG

     FRUUHFW"

     $    <HV

     4    2ND\$QGWKHUHDIWHUDVWKHFDOHQGDUWXUQHGWR

    \RXVWLOOZHQWRYHUWKHZHHNIRUHFDVWZLWK0U'RQGHUR

    MXVWRQDOHVVIUHTXHQWEDVLVFRUUHFW"

    $    , PWU\LQJWRZHSUREDEO\PHWZLWK0U'RQGHUR,

    GRQ WUHFDOOKRZPDQ\WLPHVZHPHWZLWK0U'RQGHURDWWKH

    HQGRIEXWLWGRHVQ WIHHOOLNHDORW*RLQJLQWR

    ZHGLGPHHWZLWK0U'RQGHUR,WKLQNDIHZ\RX

    NQRZ,WKLQNDIHZWLPHVYHUVXVDWWKHHQGRI

    4    $QGWKDW VP\SRLQW,QWKHILUVWIHZPRQWKVRIWKH

    EDQNUXSWF\ZKHQKHZDVVWLOOLQFRQWURO\RXPHWZLWKKLPDV

    \RXWHVWLILHG\RXPHWZLWKKLPURXWLQHO\$QGWKHQZKHQ

    WKHLQGHSHQGHQWERDUGZDVSXWLQSODFH\RXPHWZLWKKLP

    VSRUDGLFDOO\LVWKHZRUGLVWKDWIDLU"

    $    ,GRQ WUHFDOOPHHWLQJZLWK0U'RQGHURDWDQ\WLPHIRU

    FDVKDIWHU+LJKODQGILOHG0U'RQGHURZDVYHU\EXV\DWWKH

    WLPHZLWKWKHILOLQJDQGDOOWKDWKDSSHQHGDURXQGWKH

    ILOLQJ6R,GRQ WUHFDOOKDYLQJDQ\PHHWLQJVZLWK0U

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     3:22-cv-02170-S Document
                     Document 2-13
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                                         11/22/22
                                      Page          Page
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     4    2ND\7KHQ, PMXVWJRLQJWRJREDFNDQGUHDGWKHVDPH

     WHVWLPRQ\,MXVWGLGLIWKDW VZKHUHZHDUH3DJH

                0558.$9,1$<RXU+RQRU,REMHFW2EMHFW

     ILUVWRIDOOWKLVLVQRZILYHPLQXWHVWKHUH VQRUHOHYDQFH

     WRWKLV0U0RUULVKDVQ WHVWDEOLVKHGDQ\UHOHYDQFHDVWR

     KRZPDQ\WLPHVWKDWKHPLJKWKDYHPHWZLWK0U'RQGHURRQ

     ZHHNFDVKIRUHFDVWKDVDQ\WKLQJWRGRZLWKWKLVDGPLQ

     FODLP0RUHRYHUJRRGWKHJRRVHDQGWKHJDQGHUUXOH+H

    KDVQRWVWDWHGDQ\WKLQJWKDWUHTXLUHVLPSHDFKPHQWIURPD

    SULRUGHSRVLWLRQWKHWHVWLPRQ\LVLGHQWLFDO

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               050255,61XPEHURQH,FDQ WLPDJLQHWRRPDQ\

    PRUHUHOHYDQWLVVXHVWKDQWKHSHUVRQZKR VLQFRQWURORIWKH

    DGYLVRUVUHFHLYLQJZHHNIRUHFDVWVWKDWGHDOHYHU\VLQJOH

    SD\PHQWWKDWWKHDGYLVRUVZHUHSURMHFWHGWRPDNHXQGHUWKH

    LQWHUFRPSDQ\DJUHHPHQWVGXULQJWKHUHOHYDQWSHULRG

    LQFOXGLQJGXULQJWKHSHULRGLQTXHVWLRQWKDW VQXPEHURQH

               1XPEHUWZR,WKRXJKWZHKDGDQDJUHHPHQWEDVHGRQ

    KLVGHSRVLWLRQWHVWLPRQ\WKDWLQIDFW0U:DWHUKRXVHDQG

    '6,URXWLQHO\ZHQWRYHUWKLVVWXIIDIWHUWKHEDQNUXSWF\

    ILOLQJLQDQG, P,MXVWZDQWWRHVWDEOLVKWKDW0U

    'RQGHURFRQWLQXHGWRUHFHLYHZHHNIRUHFDVWVRQDVSRUDGLF

    EDVLVLQDQGFRQWLQXHGWRPHHWZLWKWKHLQGHSHQGHQW

    ERDUGDQG)UDQNWRJRRYHULW7KDW VZKDWWKHWHVWLPRQ\

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     LV,FRXOGMXVWUHDGLWLQWRWKHUHFRUGLI\RX GOLNH

                7+(&28572ND\,RYHUUXOHWKHREMHFWLRQ

     %<050255,6

     4    6R0U:DWHUKRXVHLQ0U'RQGHURFRQWLQXHGWR

     UHFHLYHWKHZHHNIRUHFDVWHYHQLILWZDVVSRUDGLFDOO\

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     4    $QGLQIDFWLW VIDLUWRVD\WKDW0U'RQGHUR

     SHUVRQDOO\SDUWLFLSDWHGLQWKHUHYLHZRIWKHZHHN

    IRUHFDVWZLWKWKHLQGHSHQGHQWERDUGIURPWLPHWRWLPH

    FRUUHFW"

    $    ,GRQ WUHFDOO0U'RQGHURDQGWKHLQGHSHQGHQWERDUG

    PHHWLQJWRJHWKHUIRUDZHHNFDVK

    4    &DQZHJRWRSDJHSOHDVH"/LQHVWRZHUH\RX

    DVNHGWKHVHTXHVWLRQVDQGGLG\RXJLYHWKHVHDQVZHUV"

               4   $QGWKHQLQRQFHWKHERDUGZDV

               DSSRLQWHGWKHERDUGDOVRJRWLQYROYHGLQWKH

               UHYLHZRIWKHZHHNIRUHFDVWFRUUHFW"

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                 VHUYLFHVDJUHHPHQWRUWKHSD\UROOUHLPEXUVHPHQW

                 DJUHHPHQWVWKRVHSURMHFWHGSD\PHQWVZRXOGEH

                 LQFOXGHGLQWKHIRUHFDVWULJKW"

                 $   ,WZRXOG

          'LG\RXJLYHWKRVHDQVZHUVWRP\TXHVWLRQVDFRXSOHRI

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     $    <HVLW VLQWKHWHVWLPRQ\,PHDQP\XQGHUVWDQGLQJDW

     WKHWLPHRI\RXUTXHVWLRQVZHUHGLGWKHLQGHSHQGHQWERDUG

    JHWLQYROYHGLQUHYLHZLQJWKHZHHNIRUHFDVWFRUUHFW

    \HV:HDQGZKHQ\RXVDLG0U'RQGHURGLGKH

    SDUWLFLSDWHLQWKHSURFHVV,GLGQ WOLQNWKHLQGHSHQGHQW

    ERDUGZLWK0U'RQGHUR,WKLV0U'RQGHURGLGVHH

    FDVKIURPWLPHWRWLPHOLNH,VDLGVSRUDGLFDOO\%XW,

    GRQ WUHFDOO0U'RQGHURDQGWKHLQGHSHQGHQWERDUGLQDURRP

    UHYLHZLQJZHHNFDVKWRJHWKHU

    4    2ND\$VWKH&)2\RXZHUHJHQHUDOO\DZDUHOHW V

    VKLIWJHDUVDOLWWOHELWWRWKHTXHVWLRQRIKLUHVDQG

    WHUPLQDWLRQVULJKWDQGVWDIILQJDW+LJKODQG

         $VWKH&)2\RXZHUHJHQHUDOO\DZDUHHDFKWLPHWKHUH

    ZDVDQHZKLUHLQWKH+LJKODQGFRPSOH[FRUUHFW"

    $    <HV

    4    $QG\RXZHUHDOVRJHQHUDOO\DZDUHRIDOOHPSOR\HH

    WHUPLQDWLRQVIURPWKH+LJKODQGFRPSOH[FRUUHFW"

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                     Document 2-13
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     ZDVWHUPLQDWHGRUUHVLJQHGIURPWKH+LJKODQGFRPSOH[

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     WKHFRPSHQVDWLRQIRUHYHU\WHDPLQWKH+LJKODQGFRPSOH[

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     $    ,EHOLHYHVR\HV

    4    $QGWKDWZRXOGLQFOXGHVDODU\ERQXVHVDQGGHIHUUHG

    FRPSHQVDWLRQLIDQ\FRUUHFW"

    $    <HV

    4    $QG\RXZRXOGZDONKLPWKURXJKHYHU\VLQJOHHPSOR\HH

    DQGKHZRXOGKDYHWRSHUVRQDOO\DSSURYHWKHLUFRPSHQVDWLRQ

    LVWKDWFRUUHFW"

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    4    2ND\$QGHYHU\PRQWKWKHKXPDQUHVRXUFHVGHSDUWPHQW

    SUHSDUHGDPRQWKO\KHDGFRXQWUHSRUWLVQ WWKDWULJKW"

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    0U'RQGHURWKURXJKHYHU\VLQJOHHPSOR\HH,GLGQ WZDON

    KLPWKURXJKHYHU\VLQJOHHPSOR\HH7KHUHZHUHFHUWDLQ

    JURXSVWKDW,GLGQRWSDUWLFLSDWHEXW0U'RQGHUR,GLG

    ZDON0U'RQGHURWKURXJKVHYHUDOHPSOR\HHV

    4    &DQ\RXJRWRSDJHRI\RXUWUDQVFULSWSOHDVH"

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                     Document 2-13
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                &)20U'RQGHURZRXOGKDYHKDGWRSHUVRQDOO\

                DSSURYHDQ\FKDQJHVLQFRPSHQVDWLRQLQFOXGLQJ

                VDODU\ERQXVDQGGHIHUUHGFRPSHQVDWLRQIRU

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                HPSOR\HHV EDVHVDODU\ERQXVHVFDVKERQXVHV

               DQGGHIHUUHGDQGZHZDONHGKLPWKURXJKHYHU\

               VLQJOHHPSOR\HH\RXNQRZKHZRXOGDSSURYHLW

               PDNHFKDQJHVGRZKDWKHQHHGHGWRGRDWKLV

               GLVFUHWLRQ

         ,VWKDWWKHDQVZHU\RXJDYHDFRXSOHRIZHHNVDJR"

    $    <HVWKDW VWKHDQVZHU,JXHVVZKHQ,UHIHUUHGWRZH

    ZHPHDQVP\VHOIDQGRWKHU+LJKODQGHPSOR\HHV6RWKDWZH

    ZDVQ WVRZKHQ\RXDVNHGGLG\RXSHUVRQDOO\ZDONKLP

    WKURXJKHYHU\VLQJOHHPSOR\HH,GLGQ WSHUVRQDOO\7KHUH

    ZHUHRWKHUVWKDWSDUWLFLSDWHGLQWKHSURFHVVWKDW,GLGQRW

    SDUWLFLSDWHLQ

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    4    2ND\7KDQNVIRUWKHFODULILFDWLRQ

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     4    $QGZKLOHVKHGRHVWKDWOHW VORRNDWWKHGRFXPHQW

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     DQHPDLOIURP.HOO\6WHYHQV SK WRDEXQFKRISHRSOH"

     $    ,VHHLW

     4    $QGGLG0V6WHYHQVZRUNLQ+LJKODQG VKXPDQUHVRXUFHV

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     4    $QGGLG0V6WHYHQVVHQGHDFKDQGHYHU\PRQWKDKHDG

    FRXQWUHSRUWDQHIIHFWLYHKHDGFRXQWUHSRUW"

    $    7KDW VP\JHQHUDOXQGHUVWDQGLQJ

    4    2ND\,WZDVWKHJHQHUDOSUDFWLFHWKDWVKHZRXOG

    GLVWULEXWHDQHIIHFWLYHKHDGFRXQWUHSRUWDWWKHEHJLQQLQJ

    RIHDFKPRQWKRUDWWKHHQGRIHDFKPRQWKIRUWKHSULRU

    PRQWKFRUUHFW"

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    4    $QG0U1RUULVWRWKHEHVWRI\RXUUHFROOHFWLRQZRXOG

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    PRQWKFRUUHFW"

    $    $JDLQ,WKLQNZHZHQWWKURXJKWKLVLQ,GRQ WNQRZ

    LI0U1RUULVZDVRQHYHU\VLQJOHRQHRIWKHVHHPDLOVWKDW

    0V6WHYHQVVHQWGXULQJWKHUHOHYDQWSHULRG+HLVRQWKLV

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     4    2ND\$QG-DVRQ3RVWDQG/DXUHQ%HGIRUGZRXOGWKH\EH

     SHRSOHWKDWLQ\RXUUHFROOHFWLRQ\RXZRXOGKDYHH[SHFWHGWR

     UHFHLYHLQIRUPDWLRQRIWKLVW\SH"

     $    ,GRQ WNQRZKRZWKLVGLVWULEXWLRQZDVJRWIRUPHG

     EXWWKH\ UHRQWKHWKH\UHFHLYHGWKLVHPDLO7KH\DUH

     LQWKHWROLQH

     4    2ND\$QGWKDWPRQWKO\KHDGFRXQWUHSRUWLGHQWLILHG

     HYHU\VLQJOHSHUVRQZKRZDVHPSOR\HGLQWKH+LJKODQGFRPSOH[

    DVRIWKHGDWHRIWKHHPDLOULJKW"

    $    7KHVHKDYHJUDSKVRIWKHKHDGFRXQW

    4    %XWWKHUHZDVDOZD\VDVSUHDGVKHHWDWWDFKHGFRUUHFW

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    LQWKH+LJKODQGFRPSOH[ULJKW"

    $    ,EHOLHYHVR

    4    $QG

    $    ,GLGQ WUHDOO\,WKLQN,VDLGLQP\GHSRVLWLRQ,

    GLGQ WUHDOO\SD\PXFKDWWHQWLRQWRWKHVHUHSRUWV

    4    2ND\<RXGLGQ WSD\DWWHQWLRQWRLWEXW\RXJRWLW

    ULJKW"

    $    , PRQWKHWROLQH\HV

    4    $QGVRLI\RXKDGMXVWFOLFNHGLWRSHQ\RXZRXOG YH

    VHHQDOLVWRIDOOWKHHPSOR\HHVLQWKH+LJKODQGFRPSOH[

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     GRQ WUHPHPEHU LQGLVFHUQLEOH HYHU\VLQJOHRQHRIWKHVH,

     GLGQ WSD\DORWRIDWWHQWLRQWRWKHVHHPDLOV

     4    2ND\$QGGR\RXUHFDOOWKDWWKHVHUHSRUWV

     VSHFLILFDOO\LGHQWLILHGHYHU\VLQJOHSHUVRQZKRZDV

     WHUPLQDWHGIURPWKH+LJKODQGFRPSOH[DQGWKHGDWHRI

     WHUPLQDWLRQ"

     $    <HV$FWXDOO\\RXZDONHGWKDWWDE,UHPHPEHUWKDW

    LQRXUGHSRVLWLRQ,VDLGWKDWZDVWKHILUVWWLPH, YHHYHU

    DFWXDOO\FOLFNHGRQWKDWWDEDQGZDONHGWKURXJKZKDWZDVRQ

    WKDWWDE

               050255,67KDQN\RX0V&DQW\

    4    :H¶YHJRWWKHH[KLELWXSRQWKHVFUHHQDQGWKLVLVWKH

    DWWDFKPHQWWRWKHGRFXPHQWZH UHMXVWORRNLQJDWVRLW V

    WKHKHDGFRXQWUHSRUWIRU

               050255,6$QG<RXU+RQRU,MXVWZDQWWRVSHQG

    DPLQXWHRUWZRRQWKLVRUWKUHHVRWKDWEHFDXVHWKHUH V

    WKUHHGR]HQRIWKHPLQWKHH[KLELWELQGHUVDQGWKHHYLGHQFH

    DVWRZKRLWZDVGLVWULEXWHGWKRVHGRFXPHQWVKDYHEHHQ

    DGPLWWHGVR\RXFDQVHH\RXNQRZ,EHOLHYHZHOO,

    ZRQ WPDNHDQ\UHSUHVHQWDWLRQV

               &DQZHFOLFN0V&DQW\RQWKHWDEWKDWVD\V

    WHUPV"$QGMXVWVFUROOWRWKHWRS

    4    'R\RXVHHWKDWLWKDVDOLVWRISHRSOHWKHUH0U

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     :DWHUKRXVH"<RX UHQRWIDPLOLDUZLWKWKLVLQIRUPDWLRQ

     WKDW VRQWKLVVKHHW"

     $    7KHVHDUHWHUPLQDWLRQVDJDLQOLNH,VDLG,KDGQHYHU

     FOLFNHGRQWKLVWDEWRP\UHFROOHFWLRQXQWLOZHZHQWWKURXJK

     LWLQP\GHSRVLWLRQDIHZZHHNVDJR

     4    2ND\6RGR\RXVHHWKDWWKHUH VDOLVWRISHRSOHDQG

     LQFROXPQV%DQG&DUHWKHGDWHVRIKLUHDQGWKHGDWHVRI

     WHUPLQDWLRQ"

     $    ,VHHWKDW

               050255,6$QGFDQZHVFUROOGRZQWRWKHHQGRI

    WKLVGRFXPHQW"

    4    2ND\$QGGR\RXVHHWKDWLWVKRZVLWKLJKOLJKWVLQ

    \HOORZWKHWZRSHRSOHWKDWZHUHWHUPLQDWHGLQ)HEUXDU\"

    $    ,WKDVWZRLQGLYLGXDOVWKDWKDYHDWHUPGDWHLQ

    )HEUXDU\

    4    'RHVWKDWUHIUHVK\RXUUHFROOHFWLRQWKDWWKHVHKHDG

    FRXQWUHSRUWVWKDWZHUHVHQWHYHU\VLQJOHPRQWKVSHFLILFDOO\

    KLJKOLJKWHGHYHU\VLQJOHHPSOR\HHZKRZDVWHUPLQDWHGLQWKH

    SULRUPRQWK"

    $    7KDWLVZKDW VGHWDLOHGLQWKLVVSUHDGVKHHW

    4    2ND\1RZ

               050255,6:HFDQWDNHWKDWGRZQRIIWKHVFUHHQ

    4    ,EHOLHYH\RXWHVWLILHGDQG,PD\QRWJHWWKLV

    DFFXUDWH,GRQ WPHDQWRFKDUDFWHUL]H\RXUWHVWLPRQ\EXW,

    WKLQN\RXWHVWLILHGWKDWLQRUDURXQG'HFHPEHU\RXKDG

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     3:22-cv-02170-S Document
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     DFRQYHUVDWLRQZLWK0U.ORVZKHUH\RXUHDFKHGDFRQFOXVLRQ

     WKDWWKHUHZHUHRYHUSD\PHQWVRQWKHSD\UROOUHLPEXUVHPHQW

     DJUHHPHQW'R\RXUHPHPEHUWKDWMXVWJHQHUDOO\"

     $    <HDK,EHOLHYH,WHVWLILHG\RXNQRZLQ4RI

     RUFRXOGKDYHEHHQHDUO\4RI\HV,KDGD

     FRQYHUVDWLRQZLWK0U.ORV,EHOLHYH,WHVWLILHGWKDW0U

     .ORVLGHQWLILHGWKHLVVXHDQGZHKDGDVXEVHTXHQWGLVFXVVLRQ

     ZLWK0U&DUXVR$JDLQ,ZHZHUHHGXFDWLQJ'6,DQG0U

     &DUXVREHFDXVHWKH\ZHUHLQFKDUJHRI+LJKODQGDWWKHWLPH

    DQGZHZHUHWU\LQJWRJHWWKHPXSWRVSHHGRQHYHU\WKLQJ

    +LJKODQG

         <RXNQRZDV\RXZHQWWKURXJKWKHDSSURYDOSURFHVVIRU

    \RXNQRZRUWKH\ UHDSSURYLQJDOOWKHVHSD\PHQWVZHZHUH

    WDNHQWKURXJKDOOWKHUHYHQXHFRQWUDFWV,PHDQMXVW\RX

    NQRZHYHU\WKLQJDWWKHWLPH

    4    2ND\<RXZHUHQRWDZDUHDWWKDWWLPHWKDWRQHRIWKH

    8&& VLQLWLDOIRFXVHVZDVRQWKHEXVLQHVVUHODWLRQVKLSV

    EHWZHHQWKHGHEWRUDQGRWKHUQRQGHEWRUHQWLWLHVWKDWZHUH

    FRQWUROOHGE\0U'RQGHURFRUUHFW"<RXGLGQ WNQRZDWWKDW

    WLPHWKDWWKDWZDVWKH8&& VIRFXVFRUUHFW"

    $    ,GRQ WUHFDOOWKDWHYHUEHLQJFRPPXQLFDWHGWRXV

    4    2ND\<RXGRQ WUHFDOODQ\GLVFXVVLRQVDWDQ\WLPH

    DERXWWKH8&&DQG)7, VLQWHUHVWLQNQRZLQJDERXWWKH

    HFRQRPLFVEHWZHHQ+LJKODQGDQGWKH$GYLVRUVFRUUHFW"

    $    ,GRQ WUHFDOO

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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                                     Page11/22/22  Page
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     4    <RXGRQ WUHFDOOKDYLQJDQ\GLVFXVVLRQLQ2FWREHU

     1RYHPEHURU'HFHPEHUZLWK0U.ORVDERXWSUHSDULQJDQ

     DQDO\VLVIRUWKH8&&DQG)7,WKDWZRXOGDWWHPSWWRVKRZKRZ

     +LJKODQG VFRVWVFRPSDUHGZLWKLWVUHYHQXHVXQGHULWV

     DJUHHPHQWVZLWKWKH$GYLVRUV<RXGRQ WKDYHDQ\

     UHFROOHFWLRQRIWKDWDWDOOLVQ WWKDWFRUUHFW"

     $    ,GRQ WKDYHDUHFROOHFWLRQ$WWKHWLPH\RXNQRZ

     '6,ZDVJHWWLQJLQIRUPDWLRQIURPWKHYDULRXVWHDPV7KH\

     ZHUHLQWHUIDFLQJZLWK0U.ORVWUHPHQGRXVO\,DPQRWDZDUH

    RIWKDWFRPLQJP\VHOIKDYLQJWKDWFRQYHUVDWLRQZLWK0U

    .ORV

    4    $QG\RXKDYHQRUHFROOHFWLRQRIHYHUSDUWLFLSDWLQJLQD

    PHHWLQJZLWKWKH8&&RU)7,LQ1RYHPEHURU'HFHPEHURI

    RU-DQXDU\ZKHUHWKHWRSLFRIWKHSURILWDELOLW\RI

    +LJKODQG VDJUHHPHQWVZLWKLWVDIILOLDWHVZDVGLVFXVVHG

    FRUUHFW"

    $    ,GRQ WUHFDOO

    4    <RXGRQ WUHFDOOHYHUGLVFXVVLQJZLWK0U.ORVZKHWKHU

    KHHYHUPDGHDSUHVHQWDWLRQWRWKH8&&DQGWR)7,FRQFHUQLQJ

    +LJKODQG VSURILWDELOLW\XQGHULWVDJUHHPHQWVFRUUHFW"

    $    ,GRQ WUHFDOO

    4    'LG0U.ORVWHOO\RXGLG0U.ORVSUHSDUHWKH

    DQDO\VLVWKDW\RXMXVWUHIHUUHGWRDVKDYLQJGLVFXVVHGZLWK

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                     Document 2-13
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     RYHUSD\PHQWV"

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     $    <HDK0\JHQHUDOUHFROOHFWLRQLVKHZDQWHGWRPDNH'6,

     DZDUHWKDWWKHUHZHUHRYHUSD\PHQWVRQWKHVHDJUHHPHQWV

     4    :KDWZRXOGEHWKHSXUSRVHRIGRLQJWKDW"

     $    $JDLQDPHQGLQJWKHDJUHHPHQWVWRUHIOHFW\RXNQRZ

     WKHDFWXDOFRVWVLQFXUUHGE\+LJKODQG

    4    :K\ZRXOGWKDWEHLQ+LJKODQG VLQWHUHVWDWWKDWPRPHQW

    LQWLPH"

    $    ,ZHIHOWOLNHZHQHHGHGWRPDNHKLPDZDUHRILW,

    PHDQDJDLQWKHVHDUH\RXNQRZWKHVHDUHDJUHHPHQWVWKDW

    ZHIHOWWKDWZHUHQ W\RXNQRZWKDWQHHGHGFKDQJHDQGZH

    DOHUWHG0U&DUXVRWRWKDWIDFW

    4    :KR VZH"

    $    0\VHOIDQG'DYH

    4    ,W V\RXUWHVWLPRQ\WKDW'DYH.ORVVDLGWKDWKHWKRXJKW

    WKHDJUHHPHQWVQHHGHGWREHFKDQJHGDWWKHHQGRIRU

    WKHEHJLQQLQJRI"

    $    ,W VP\WHVWLPRQ\WKDWZHKDGDPHHWLQJZLWK0U

    &DUXVRQRWLILHGKLPRIWKHRYHUSD\PHQWVWKDWZHUHUHODWHG

    WRWKHVHDJUHHPHQWV<RXNQRZDJDLQQRWKLQJFDPHRIWKH

    PHHWLQJ7KHUHZHUHQRFKDQJHVRUDQ\WKLQJ$QG,GRQ W

    ,GRQ WUHFDOOVSHFLILFDOO\WDONLQJDERXWKH\\RXNQRZ

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     3:22-cv-02170-S Document
                     Document 2-13
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     +LJKODQGQHHGVWRDPHQGWKHVHDJUHHPHQWV%XWZHPDGHKLP

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     DJUHHPHQWVVD\LQJLWZDVSULPDULO\WKHSD\UROO

     UHLPEXUVHPHQWDJUHHPHQW

     4    :HUH0U/HYHQWRQDQG0U(OOLQJWRQSUHVHQWLQWKLV

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     $    1RWKH\ZHUHQRW

     4    %XW\RXWROGWKHPWKHVDPHWKLQJGLGQ W\RX"

     $    :HOOVRLQWKDWGLVFXVVLRQZLWK0U&DUXVR0U&DUXVR

    VDLGZHWKDWQRWKLQJFRXOGEHFKDQJHGULJKW"7KHUHZDV

    DQDXWRPDWLFVWD\DVSDUWRIWKHEDQNUXSWF\VR\RXNQRZ

    OLNHWKDQN\RXIRUOHWWLQJPHNQRZWKLVLVVXHEXWQRWKLQJ

    FDQEHFKDQJHG7KHUH VDQDXWRPDWLFVWD\

         ,\RXNQRZDWVRPHSRLQWDIWHUWKDW,WDONHGWR

    0U/HYHQWRQDQG0U(OOLQJWRQWRDVNWKHP\RXNQRZLV

    WKHUHDQDXWRPDWLFVWD\LQSODFH"$QG\HDK,PHDQWKH\

    WKDW VZKDWWKH\WROGPH

    4    'LG\RXWHOOWKHPWKDWWKHUHZHUHRYHUSD\PHQWV"

    $    <HDK,WROGWKHPWKDWWKHUHZHUH\RXNQRZDJUHHPHQWV

    EHWZHHQWKHDGYLVRUVDQG+LJKODQGWKDW\RXNQRZZHUH

    WKHUHZHUHRYHUSD\PHQWV$QG\RXNQRZDQG'6,VDLGZH UH

    JRLQJWRDVWD\DQGOLNH, PQRWDODZ\HUDQG\RXNQRZ

    WKLVWKLVSURFHVVZDVREYLRXVO\QHZWRP\VHOIDQGDORW

    RIWHDPPHPEHUVDW+LJKODQG$QG0U/HYHQWRQDQG0U

    (OOLQJWRQZHUHFORVHUWR\RXNQRZWKH\ UHODZ\HUVDQGVR,

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     3:22-cv-02170-S Document
                     Document 2-13
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     DVNHGWKHPDVZHOO

     4    'LG\RXWHOOWKHPWKHPDJQLWXGHRIWKHRYHUSD\PHQWV"

     $    1RWWKDW,UHFDOO

     4    'LG\RXWHOOWKHPGR\RXNQRZQRZZKHQWKH

     RYHUSD\PHQWVVWDUWHG"

     $    ,PHDQLILW VUHODWHGWRWKHSD\UROOUHLPEXUVHPHQW

     DJUHHPHQWLWZRXOGKDYHEHHQDWWKHWLPHRIDQ\LIWKHUH

     ZHUHDQ\FRVWVLQFXUUHGE\+LJKODQGRUFRVWVQRWLQFXUUHG

     E\+LJKODQGWKDWWKHDGYLVRUVUHLPEXUVHGIRUVR,PHDQLW

    FRXOGKDYHEHHQDVHDUO\DV%XWLI\RXORRNDWWKH

    OLVWRIHPSOR\HHVRQ\RXU([KLELW$WKHKLJKHUGROODU

    HPSOR\HHVOLNH0U2NDGDDQG0U3DUNHUWKDWKDGMXVWOHIW

    WKDWLVVXHWKRVHLIVRPHWKLQJKDGQ WFKDQJHGWKRVH

    RYHUSD\PHQWVZRXOGEHFRPHODUJHURYHUWLPH

    4    $UH\RXDZDUHWKDWXQGHUWKHWKHRU\\RXMXVWGHVFULEHG

    WKHDGYLVRUVZHUHRYHUSD\LQJ+LJKODQGWKHYHU\VHFRQG\RX

    VLJQHGWKRVHDJUHHPHQWV"

    $    ,WKLQNLQP\GHSRVLWLRQ\RXKDG\RXKDGSRLQWHG

    RXWDQHPSOR\HHWKDWKDGOHIWSULRUWRWKHVLJQLQJRIWKH

    SD\UROOUHLPEXUVHPHQWDJUHHPHQWEXW\HWEXWLWZDVD

    LWZDVWKDWWKH\ZHUHHPSOR\HGDIWHUWKHHIIHFWLYHGDWH

    4    7KHUHZHUHIRXUGXDOHPSOR\HHVZKRZHUHWHUPLQDWHG

    EHIRUH\RXVLJQHGWKDWDJUHHPHQWLVQ WWKDWULJKW"

    $    <HV7KHDJUHHPHQWZDVGDWHG-DQXDU\VR,

    PHDQ\RXNQRZ,WKLQNZHHVWDEOLVKHGWKDW VZK\ZHVLJQHG

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     DVRIWKDWGDWH

     4    $QG\RXXQGHUVWRRGWKDWWKHDJUHHPHQWLQFOXGHGWKH

     FRPSHQVDWLRQIRUHYHU\RQHRIWKHHPSOR\HHVRQ([KLELW$

     UHJDUGOHVVRIZKHWKHURUQRWWKH\ZHUHWHUPLQDWHGFRUUHFW"

     $    <HV

     4    $QGLQIDFWKDOIRIWKHHPSOR\HHVKDGEHHQWHUPLQDWHG

     EHIRUHDQ\ERG\KHDUGRI-LP6HHU\RUWKHLQGHSHQGHQWERDUG

     LVQ WWKDWULJKW"

     $    ,GRQ WUHPHPEHUWKHWKHWRWDOQXPEHU

    4    'LG\RXHYHUWU\WRGRDQDQDO\VLVRI+LJKODQG V

    SURILWDELOLW\XQGHUWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQW

    XQWLO0U.ORVGLGLWLQODWH"

    $    ,GLGQRW

    4    :DVLWHYHUDFRQFHUQRI\RXUVDVWRZKHWKHURUQRW

    +LJKODQGZDVPDNLQJDSURILWXQGHUWKHVHSD\UROODJUHHPHQWV

    XQWLO0U.ORVSUHSDUHGWKLVDQDO\VLVDWWKHHQGRI"

    $    ,GRQ W,GRQ WUHFDOOWKDW

    4    'LG\RXVKDUH0U.ORV VDQDO\VLVZLWK0U/HYHQWRQDQG

    0U(OOLQJWRQ"'LG\RXJLYHWKHPDFRS\"

    $    ,GLGQRW

    4    'LG\RXWHOO0U'RQGHURWKHUH VRYHUSD\PHQWVKHUH"

    $    ,GLGQRW

    4    <RXGLGQ WWHOO0U6DXWHU<RXGLGQ WWHOO0U

    1RUULV<RXGLGQ WWHOO0V)HGIRUG<RXGLGQ WWHOODQ\

    RIILFHURUFRQWUROSHUVRQRIWKHDGYLVRUVDERXWWKHVH

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     RYHUSD\PHQWVZKHQ\RXOHDUQHGDERXWWKHPLQ1RYHPEHUDQG

     'HFHPEHURU-DQXDU\ULJKW"/DWH<RX

     GLGQ WWHOODQ\ERG\LQWKHZRUOGH[FHSWIRU0U/HYHQWRQDQG

     0U(OOLQJWRQDQG0U&DUXVRLVQ WWKDWULJKW"

     $    <HV,PHDQ,WROG0U&DUXVR/LNHP\H[SHFWDWLRQ

     ZDV0U&DUXVRZDVLQFKDUJHRI+LJKODQGVRLIKHQHHGHGWR

     VSHDNWR0U'RQGHURRURWKHUVWKDWZDV0U0UWKDW

     ZDV0U&DUXVR V\RXNQRZSXUYLHZ

     4    'LG\RXEHOLHYHWKDW0U&DUXVRKDGWKHDXWKRULW\WR

    UHQHJRWLDWHDJUHHPHQWVRQEHKDOIRI+LJKODQG"

    $    ,PHDQKHKHZDVLQFKDUJH,PHDQWKDW V,

    PHDQWKDW VKRZZHWUHDWHGKLPIURPP\JURXS VSHUVSHFWLYH

    4    'R\RXNQRZZKR%UDG6KDUSLV"

    $    <HV

    4    'R\RXNQRZ%UDG6KDUSZDVDFWXDOO\WKH&52QRW)UHG

    &DUXVR"

    $    ,PHDQ)UHG&DUXVRZDVWKHSHUVRQZHKHZDVLQWKH

    RIILFHHYHU\GD\WKDWZHWDONHGWRDQGZHUHHGXFDWLQJRQ

    HYHU\WKLQJ+LJKODQG:HZHUHQRWHGXFDWLQJ%UDG6KDUSRQ

    HYHU\WKLQJ+LJKODQG:HZHUHHGXFDWLQJ)UHG&DUXVRDQG

    WKHQ)UHG&DUXVRZDV\RXNQRZGRLQJZKDWHYHUKHZDVGRLQJ

    ZLWKWKDW

         <RXNQRZ,)UHGP\XQGHUVWDQGLQJVWDUWHG'6,+H

    KDG\HDUVRIH[SHULHQFHLQEDQNUXSWF\,\RXNQRZ,

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     FRPPXQLFDWLQJZLWK%UDG6KDUSRUDQ\RQHHOVH

     4    2ND\, PDVNLQJ\RXZKDWWKHEDVH\RXEHOLHYHG

     WKDW)UHG&DUXVRKDGWKHDXWKRULW\WRUHQHJRWLDWHWKHVH

     DJUHHPHQWVZLWKWKHDGYLVRUV,VWKDW\RXUWHVWLPRQ\"

     7KDW V\RXUEHOLHI"

     $    ,I)UHG&DUXVRIHOWOLNHLWZDVVRPHWKLQJWKDWZDV

     LPSRUWDQWWKHQ\HDKKHFRXOGKDYHLIKHVDLGWDONWR

     %UDG6KDUSZKR V&52RURWKHUVRUKHKDGDUHODWLRQVKLS

     ZLWK0U'RQGHUR\HV,PHDQLIWKDWZDVVRPHWKLQJWKDW

    QHHGHGWREHGRQH\HDK0U&DUXVRZDVZDVLQYROYHGRQ

    DGD\KHZDVKHZDVRQWKHJURXQGDWWKDWWLPH

    4    7KHLQGHSHQGHQWERDUGJRWSXWLQSODFHRQ-DQXDU\WK

    FRUUHFW"

    $    <HV

    4    $QG\RXVSHQWDQDZIXOORWRIWLPHZLWK0U6HHU\DQG

    WKHLQGHSHQGHQWERDUGJHWWLQJWKHPXSWRVSHHGWRR<RX

    NLQGRIKDGURXQGWZR,VQ WWKDWIDLU"

    $    7KDW VIDLU

    4    <RXQHYHUWROGWKHLQGHSHQGHQWERDUGDERXWWKHVH

    RYHUSD\PHQWVFRUUHFW"

    $    ,GLGQ W

    4    $QGWKHUH VQRTXHVWLRQLQ\RXUPLQGWKDWWKH

    LQGHSHQGHQWERDUGZDVLQFRQWURORI+LJKODQGDVRI-DQXDU\

    WKFRUUHFW"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     DQGZLWK0U&DUXVRFRXOGKDYHKDSSHQHGUHDOO\DIWHUWKH

     LQGHSHQGHQWERDUGZDVDSSRLQWHGLVQ WWKDWULJKW"

     $    1R%HFDXVHWKLVZDVZKHQ,PHDQWKHLQGHSHQGHQW

     ERDUGZDVQ WWKHUHVRLILWZDV-DQXDU\WKLWZRXOGKDYH

     EHHQSULRUWRWKHLQGHSHQGHQWERDUGEHLQJDSSRLQWHG

     %HFDXVHLWZDV)UHGZDVWKHUHRQDGDLO\EDVLVDQGZH

     ZHUH,PHDQHGXFDWLQJ)UHGDQG\RXNQRZWKHERDUGWKH

    ERDUGZDVQ WWKHUH$QGLILIWKHERDUGZDVWKHUHDQG

    WKH\ZHUHLQFKDUJHDWWKHWLPH\RXNQRZDIWHUWKDW

    SHULRGLWZRXOGKDYHPDGHPRUHVHQVHWKDQWRKDYHJRQHWR

    WKHLQGHSHQGHQWERDUG6RDJDLQZHZHQWZKHQ)UHGZDVLQ

    FKDUJH:HYLHZHG)UHG\RXNQRZDVEHLQJLQFKDUJH

    4    6RWKHFRQYHUVDWLRQGLGQ WKDSSHQLQ-DQXDU\1RZ

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    $    :HOOLIWKHGDWHZDV-DQXDU\WKRIWKHLQGHSHQGHQW

    ERDUG\HV,PHDQLWLWWKDWGDWHZDVULJKWDIWHU

    WKHQHZ\HDU$QGDJDLQZKDW, PVD\LQJLVLVWKDW

    FRQYHUVDWLRQZLWK)UHGGLGQ WKDSSHQZLWKWKHLQGHSHQGHQW

    ERDUGVRKDYLQJWKDWGDWHDVNLQGRIPRUHRIDIUDPHRI

    UHIHUHQFHZRXOG\RXNQRZLQP\PLQGSXVKHVWKDW

    FRQYHUVDWLRQPRUHWR4RI

    4    :DVWKHUHDQ\TXHVWLRQLQ\RXUPLQGWKDWRQ-DQXDU\

    WKWKHLQGHSHQGHQWERDUGFRQWUROOHG+LJKODQGDQGQRW

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     4    1RTXHVWLRQULJKW"

     $    <HV

     4    $QGWKDWKDSSHQHGDWPRVWDFRXSOHZHHNVDIWHU\RX

     KDGWKLVFRQYHUVDWLRQZLWK0U.ORVDQG0U&DUXVRFRUUHFW"

     $    ,DJDLQLWZDVLQ4RIVR\HVLWFRXOGKDYH

     EHHQDFRXSOHZHHNV,WFRXOGKDYHEHHQDPRQWK,GRQ W

     ,GRQ W\RXNQRZDJDLQ

    4    'LGWKHWKRXJKWRFFXUWR\RXWKDWPD\EH\RXRXJKWWR

    WHOOWKHLQGHSHQGHQWERDUG"

    $    /LNHZHKDGFRPPXQLFDWHG,KDGFRPPXQLFDWHGWKDW

    WR0U&DUXVR0U&DUXVRZDVWDONLQJWRWKHLQGHSHQGHQW

    ERDUGDQGDOVRJHWWLQJWKHPXSWRVSHHGIURPWKHLU

    SHUVSHFWLYH0U&DUXVRKDGHYHU\RSSRUWXQLW\WROHWWKH

    LQGHSHQGHQWERDUGNQRZDVZHOO,GLGQRWWHOOWKH

    LQGHSHQGHQWERDUG

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    JRLQJWRGRWKLVEHFDXVH,ZDQWWRPRYHWKLVDORQJ

               7+(&28576XVWDLQHG

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    4    'LGWKHWKRXJKWRFFXUWR\RXIRU\RXWRWHOOWKH

    LQGHSHQGHQWERDUGRIZKDW\RXOHDUQHG"

    $    1REHFDXVH,WKRXJKWLWZDV0U&DUXVR V

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     3:22-cv-02170-S Document
                     Document 2-13
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     EDVLVWKURXJKRXWDWOHDVWWKHILUVWIRUPRVWRI

     ULJKW"

     $    <HV

     4    $QGSDUWRIWKRVHZHHNO\PHHWLQJVZRXOGEHWRJR

     WKURXJKWKHZHHNIRUHFDVWULJKW"

     $    <HV

     4    $QGWKHZHHNIRUHFDVWZRXOGLQFOXGHDOOWKHSD\PHQWV

     WKDWZHUHSURMHFWHGWREHPDGHE\WKH$GYLVRUVXQGHUHDFKRI

    WKHLQWHUFRPSDQ\DJUHHPHQWVWKDWLWKDGZLWK+LJKODQG

    FRUUHFW"

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    4    $QGDWQRWLPHGXULQJWKRVHPHHWLQJVWKDW\RXKDG

    DSSUR[LPDWHO\ZKDWHYHUZHHNO\PHHWLQJV\RXKDGZLWKWKH

    LQGHSHQGHQWERDUGDWQRWLPHGXULQJWKHPHHWLQJVGLGLW

    RFFXUWR\RXWKDW\RXPLJKWZDQWWRDOHUWWKHLQGHSHQGHQW

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    $    1R,WGLGQ WRFFXUWRPHEHFDXVHDV,IRXQGRXWZLWK

    WDONLQJWR0U&DUXVRDQG0U/HYHQWRQDQG0U(OOLQJWRQ

    WKDW+LJKODQGZDVXQGHUDQDXWRPDWLFVWD\DQGQRWKLQJFRXOG

    EHFKDQJHGLQUHODWLRQWRWKHVHDJUHHPHQWV6RZKHQ,GHDO

    ZLWKERDUGPHPEHUVWKDW,VHUYHG\RXNQRZZLWKERDUG

    PHPEHUV,ZDQWWRIRFXVWKHP,GRQ WZDQWSHRSOH\RX

    NQRZP\HQHUJ\DQGWLPHQHHGWREHVSHQWRQWKLQJVWKDW

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     WKDWQRWKLQJFRXOGEHFKDQJHG,ZDVGHDOLQJZLWKWKH

     RWKHUWKLQJVWKDW,KDGWRGHDOZLWKZLWKWKHEDQNUXSWF\DV

     ,WHVWLILHGHDUOLHU$QGVR,WUHDWHGWKHLQGHSHQGHQWERDUG

     LQWKHVDPHPDQQHU7KH\VWHSSHGLQWR+LJKODQGQRWNQRZLQJ

     DQ\WKLQJDQGZHZHUHHGXFDWLQJWKHPDV\RXMXVWZHKDGD

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          6RDVSDUWRIWKDWHGXFDWLRQ,GLGQ WIHHOOLNHLWZDV

     DQHHGWRHGXFDWHWKHPRQVRPHWKLQJWKDWWKH\FRXOGQ W

    FKDQJH,IRFXVHGERDUGPHPEHUV WLPHLVYDOXDEOHDQG

    VRLW VPRUH\RXNQRZP\YLHZZDVOHWWKHPIRFXVRQ

    WKLQJVWKDWWKH\FDQFKDQJHRU\RXNQRZWKDWWKH\QHHGWR

    ZRUNRQ$QGLI0UDJDLQ,YLHZHGLWDV0U&DUXVR V

    UHVSRQVLELOLW\,I\RXZDQWWRWHOOWKHLQGHSHQGHQWERDUG

    DQGKDYHWKHPIRFXVRQWKLQJVWKDWFRXOGQ WFKDQJHDQG

    UHDOO\GLGQ WPDWWHUDWWKHWLPHWKHQWKDWZDVKLV

    UHVSRQVLELOLW\

    4    'LG\RXHYHUWHOOWKHPJHH+LJKODQG VPDNLQJDORWRI

    PRQH\RQWKRVHFRQWUDFWVZLWKRXWHYHQWDONLQJDERXW

    RYHUSD\PHQWV"'LG\RXFKDUDFWHUL]HWKHSD\UROO

    UHLPEXUVHPHQWDJUHHPHQWVWRWKHLQGHSHQGHQWERDUGDVDUHDO

    SRVLWLYHDVVHWIRUWKHHVWDWH"

    $    ,GRQ W,GRQ WUHFDOOWKDW

    4    <RXGLGQ WWHOOWKHPWKDWHLWKHU"<RXGRQ WKDYHD

    UHFROOHFWLRQRIWHOOLQJWKHPWKDW"

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     3:22-cv-02170-S Document
                     Document 2-13
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     $    ,GRQ WUHFDOO

     4    'R\RXUHFDOOSXWWLQJDQ\WKLQJLQZULWLQJWKDW

     PHPRULDOL]HGWKHFRQYHUVDWLRQVWKDW\RXKDGZLWKHLWKHU0U

     &DUXVRRU0U.ORVDERXWWKHRYHUSD\PHQWV"'LG\RXHYHU

     VHQGDQ\ERG\DQHPDLODQGVD\,MXVWZDQWWRFRQILUPRU,

     MXVWZDQWWRPHPRULDOL]HZKDW, YHEHHQWROGDQGZKDW, YH

     KHDUGIURP0U&DUXVR"

     $    0U0RUULV\RXKDYHDOOP\HPDLOUHFRUGV,,

     GRQ WUHFDOO

    4    <RXGRQ WUHFDOOGRLQJWKDWULJKW"

    $    %XW\RXKDYHDOOP\HPDLOUHFRUGVVLU

    4    $QGGLGWKHWKRXJKWRFFXUWR\RXWKDW\RXPLJKWZDQWWR

    VDYH\RXURZQEXWWE\VHQGLQJDQHPDLOWR0U&DUXVRWKDW

    VD\V³KH\)UHG,WROG\RXDERXWWKHVHRYHUSD\PHQWVEXW

    \RXWROGPHQRWKLQJFDQEHGRQHDERXWLWEHFDXVHRIWKH

    DXWRPDWLFVWD\DQG, PUHO\LQJRQ\RX´

         'LG\RXHYHUWKLQNWKDWPD\EH\RXVKRXOGGRVRPHWKLQJ

    WRSURWHFW\RXUVHOI"

    $    1R,WZDVLWZDVDFROODERUDWLYHZRUNSURFHVV,

    GRQ W,GRQ WYLHZZRUNLQJZLWKSHRSOHDVVDYLQJEXWWV

    ,PHDQLW VDFROODERUDWLYHZRUNSURFHVV

         , YHDOZD\VKDGDFROODERUDWLYHZRUNSURFHVVZLWK

    HYHU\RQHWKDW,ZRUNZLWK$QG\RXNQRZDWDQ\WLPH,

    QHYHUIHOWWKUHDWHQHGE\0U&DUXVRRUDQ\RQHDWWKH

    LQGHSHQGHQWERDUG6R,GLGQ WIHHOWKHQHHGDJDLQ

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     3:22-cv-02170-S Document
                     Document 2-13
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     EHFDXVHLWZDVDFROODERUDWLYHZRUNSURFHVV$QG0U&DUXVR

     ZDVYHU\DSSUHFLDWLYHRIDOORIWKHHIIRUWVRIP\VHOI0U

     .ORVDQGRWKHUVZHUHGRLQJWRJHWKLPXSWRVSHHG

     4    %\WKHZD\VRLV0U6HHU\2ND\,GRQ WZH UH

     KDYLQJDFURVVH[DPLQDWLRQKHUHEXW,GRQ WZDQW\RXWR

     WKLQNWKDWWKHLQGHSHQGHQWERDUGZDVQ WDOVRDSSUHFLDWLYHRI

     \RXUHIIRUWV

          /HW VVSHHGLWXS'HFHPEHURI4\RXGRQ W

     UHPHPEHUH[DFWO\EXW\RXKDYHDFRQYHUVDWLRQZLWK0U

    'RQGHURZKHUH0U'RQGHURLQVWUXFWV\RXQRWWRPDNHDQ\

    SD\PHQWVWR+LJKODQG'R,KDYHWKDWULJKW"

    $    ,Q4RI"

    4    &RUUHFW

    $    <HV

    4    $QGWKDW VWKHRQO\UHDVRQWKDWWKH$GYLVRUVVWRSSHG

    SD\LQJWKHDPRXQWVWKDWZHUHGXHXQGHUWKHLQWHUFRPSDQ\

    DJUHHPHQWVWKDWLWKDGZLWK+LJKODQGFRUUHFW"

    $    <HV

    4    ,WZDV0U'RQGHUR VVSHFLILFLQVWUXFWLRQFRUUHFW"

    $    <HV

    4    2ND\/DWHULQ'HFHPEHU\RXDVNHG0U.ORVWRXSGDWH

    WKDWDQDO\VLVZH YHEHHQWDONLQJDERXWWKDWKHSUHSDUHGLQ

    'HFHPEHU'R\RXUHPHPEHUWKDW"

    $    <HV

    4    $QG\RXGLGWKDWEHFDXVH\RXXQGHUVWRRGWKDWWKH

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     $GYLVRUVZHUHLQQHJRWLDWLRQVZLWK+LJKODQGFRUUHFW"

     $    7KH\ UH,ZDV,ZDVPDGHDZDUHWKDWWKHUHZHUH

     QHJRWLDWLRQVE\WKHDGYLVRUV,P\DVNLQJ0U.ORVWR

     XSGDWHWKHDQDO\VLV,WKLQNZDVSUHGLFDWHGRQWKRVH

     QHJRWLDWLRQV7KDWWKHUHZHUHQHJRWLDWLRQVJRLQJRQ

     4    $QG\RXZHUHWROGWKDWE\WKH$GYLVRUV":KRDWWKH

     DGYLVRUVWROG\RXDERXWWKHVHQHJRWLDWLRQV"

     $    ,UHFDOO0U'RQGHURDQG0U1RUULV

     4    $QG0U'RQGHURDQG0U1RUULVDVN\RXIRULQIRUPDWLRQ

    WKDWWKH\FRXOGXVHLQWKHVHQHJRWLDWLRQV"

    $    1RWWKDW,UHFDOO

    4    ,VWKDWZKDWSURPSWHG\RXWRDVN0U.ORVWRXSGDWHKLV

    DQDO\VLV"

    $    1RWWKDW,UHFDOO

    4    %XW\RXDVNHG0U.ORVWRXSGDWHWKHDQDO\VLVEHFDXVH

    WKHQHJRWLDWLRQVZHUHRQJRLQJFRUUHFW"

    $    7KHUHZHUHQHJRWLDWLRQVWKDWZHUHRQJRLQJ,GLGQ W

    ,GRQ WUHFDOODVNLQJKLPWRXSGDWHWKHDQDO\VLV

    VSHFLILFDOO\EHFDXVHRIWKHQHJRWLDWLRQV

    4    &D\RXWXUQWR3DJHRI\RXUWUDQVFULSWSOHDVH"

    /LQHVWKURXJK<RXZHUHDVNHGWKLVTXHVWLRQDQGGLG

    \RXJLYHWKLVDQVZHU"

         4XHVWLRQ:KDWSURPSWHG\RX, PJRLQJWRVWDUWDW

    WKHSULRUTXHVWLRQIRUFRQWH[WDW3DJHDW/LQH

                -XVWDODVWTXHVWLRQRUWZR<RXVDLGWKDW

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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           DQDO\VLVWKDWKHKDGGRQHWKHSULRU'HFHPEHU'R

           ,KDYHWKDWULJKW"

                 $QVZHU<HV

                 4XHVWLRQ:KDWSURPSWHG\RXWRDVNKLPWR

           GRWKDW"

                 $QVZHU$JDLQLWZDVWKHVHQHJRWLDWLRQV

           WKDWZHUHJRLQJRQZLWKWKH$GYLVRUVDQG

           +LJKODQG

         +DYH,UHDG\RXUDQVZHUVFRUUHFWO\WRP\TXHVWLRQV"

    $    <HDK\RXKDYH

    4    $QGVR\RXDVNHG0U.ORVWRXSGDWHWKLVDQDO\VLVIRU

    XVHLQWKHQHJRWLDWLRQVFRUUHFW"

               0558.$9,1$<RXU+RQRUWKDW VQRWDSULRU

    LQFRQVLVWHQWVWDWHPHQW:KDWSURPSWHGKPWRGRLWLV

    GLIIHUHQWIURPZK\KHDVNHGKLPWRGRLW6R,GRQ WWKLQN

    WKDWWKLVLVDIDLULPSHDFKPHQWRUDIDLUFKDUDFWHUL]DWLRQ

    ,WKLQNKHZDVSURPSWHGWRGRVRPHWKLQJIRURQHUHDVRQV\RX

    GRLWIRURWKHUUHDVRQV

               7+(&28572YHUUXOHG

    %<050255,6

    4    :KDWSURPSWHG\RXWRDVNKLPWRGRWKDWZDVWKH

    QHJRWLDWLRQVWKDWZHUHRQJRLQJFRUUHFW"

    $    7KHUHZHUHRQJRLQJQHJRWLDWLRQV$JDLQOLNH,,

    PHDQWKHUHZHUHRQJRLQJQHJRWLDWLRQV<RXNQRZOLNH,

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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     3:22-cv-02170-S Document
                     Document 2-13
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                                     Page11/22/22  Page
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     WHVWLILHG0U'RQGHURDQG0U1RUULVGLGQRWDVNPHWRGR

     LWIRUWKHVHQXPEHUV$QG\RXNQRZDQGLWZDV\RXNQRZ

     DV,WHVWLILHGHDUOLHUDERXWOLNHWKHSD\UROOUHLPEXUVHPHQW

     SURJUDPWKHRYHUSD\PHQWVRQWKHSD\UROOUHLPEXUVHPHQW

     SURJUDPZRXOGOLNHO\JURZRYHUWLPHDVWKHKLJKGROODU

     HPSOR\HHV\RXNQRZDVSD\PHQWVZHUHPDGHWKURXJKRXWWKH

     \HDUWRWKHKLJKGROODUHPSOR\HHVWKDWMXVWOHIW+LJKODQG

     SULRUWRILOLQJ6R\RXNQRZLW VMXVWLW VMXVW

     NQRZLQJQXPEHUVDQGXSGDWLQJDQDO\VHVWKDW,WKLQNWKDW

    NQRZLQJWKDWWKHUHDUHQHJRWLDWLRQVWKDWDUHJRLQJRQ

    4    <RXZHUHQ WSDUWLFLSDWLQJLQWKRVHQHJRWLDWLRQV

    FRUUHFW"

    $    ,ZDVQRW

    4    $QG0U6HHU\GLGQ WWHOO\RXDERXWWKHVHQHJRWLDWLRQV

    GLGKH"

    $    1RWWKDW,UHFDOO

    4    1RERG\RWKHUWKDQ0U'RQGHURDQG0U1RUULVWROG\RX

    DERXWWKHVHQHJRWLDWLRQVFRUUHFW"

    $    $JDLQQRWWKDW,UHFDOO

    4    2ND\6RZKHQ\RXDVNHG0U.ORV\RXZHUHSURPSWHGWR

    DVN0U.ORVWRXSGDWHWKHDQDO\VLVWKDWZDVGRQHDWWKHHQG

    RIIRUXVHLQQHJRWLDWLRQVWKDW\RXZHUHQ W

    SDUWLFLSDWLQJLQFRUUHFW"

    $    7KH\ZHUHQ WXVHGLQWKHQHJRWLDWLRQV<RXNQRZ

    DJDLQ,ZDVQ WSDUWLFLSDWLQJ,GLGQ WFRPPXQLFDWH\RX

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     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     NQRZDQ\RI'DYH V0U.ORV VDQDO\VLVWR0U1RUULVRU

     0U'RQGHUR<HWQHJRWLDWLRQVZHUHJRLQJRQDWWKHWLPH

     4    6RH[SODLQWR-XGJH-HUQLJDQZK\\RXZRXOGDVN0U.ORV

     WRXSGDWHDQDQDO\VLVIRUDQHJRWLDWLRQWKDW\RXZHUHQ W

     SDUWLFLSDWLQJLQDQGWKDW\RXGLGQ WJLYHWRDQ\ERG\:K\

     GLG\RXDVNKLPWRGRWKLV"

     $    $JDLQ,PHDQSHRSOHWKDWNQRZPHWKDWZRUNZLWKPH

     ,OLNHWRNQRZQXPEHUV, PD&)2, PDQDFFRXQWDQW, P

     D&3$$QG\RXNQRZNQRZLQJWKDWWKHUHZHUHQHJRWLDWLRQV

    JRRQDJDLQLW VNLQGRIMXVWP\QDWXUHWREHFXULRXVDQG

    VD\RND\ZHOOZHGLGDQDQDO\VLVODVW\HDU2K\RX

    NQRZZKDWLVWKLVQXPEHUQRZORRNOLNHWRGD\"

    4    :KHQ\RXDVNHG0U.ORVWRXSGDWHWKHDQDO\VLVKH

    DVNHG\RXLI\RXZHUHJRLQJWRXVHLWIRUDQDGYHUVHUHDVRQ

    GLGQ WKH"

    $    ,GRQ WUHFDOOWDONLQJWR0U.ORVDERXWWKDW

    4    %XWLI0U.ORVWHVWLILHGWKDWKHEHOLHYHGWKDW\RXKDG

    DQXOWHULRUPRWLYHIRUDVNLQJKLPWRXSGDWHWKHUHSRUWE\

    HOLPLQDWLQJGXDOHPSOR\HHVZKRKDGEHHQWHUPLQDWHG\RXU

    YLHZLVWKDWKH VHQWLWOHGWRKLVRSLQLRQFRUUHFW"

    $    0U.ORVLVHQWLWOHGWRKLVRSLQLRQ<RXNQRZ,,

    ZRXOGQHYHUSXW0U.ORVLQDSRVLWLRQDQGLWZDVQHYHUP\

    SUDFWLFHRISXWWLQJKLPLQDSRVLWLRQZKHUHKHZDVGRLQJ

    VRPHWKLQJZURQJRULQFRUUHFW

    4    +RZPXFKPRQH\GLG\RXUHFHLYHIURP1H[3RLQWDIWHUWKH

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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Case3:22-cv-02170-S
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     SHWLWLRQGDWH"

     $    $SSUR[LPDWHO\

     4    $QG\RXGLGQ WGLVFORVHWKDWWRWKHLQGHSHQGHQWERDUG

     FRUUHFW"

     $    ,GLGQRW

     4    $QG\RXGRQ WUHFDOOZK\\RXJRWWKDWPRQH\FRUUHFW"

     $    &RUUHFW

     4    $QG\RXVSRNHZLWK%ULDQ&ROOLQV+H VWKHRQHZKR

     WROG\RX\RX GEHUHFHLYLQJWKHPRQH\FRUUHFW"

    $    &RUUHFW

    4    $QGKHDOVRWROG\RXWKDW,VDDF/HYHQWRQDQG6FRWW

    (OOLQJWRQDQG7KRPDV6XUJHQWZHUHDOVRJRLQJWREHUHFHLYLQJ

    SD\PHQWVIURP1H[3RLQWFRUUHFW"

    $    7KDW VFRUUHFW

    4    $QG\RXGRQ WUHFDOOKLPH[SODLQLQJWR\RXZK\WKLV

    PRQH\ZDVFRPLQJWR\RXIURP1H[3RLQW"

    $    ,GRQ W

    4    'R\RXUHFDOOLIWKHSD\PHQWVKDGDQ\WKLQJWRGRZLWK

    WKHERQXVHVWKDWZHUHQRWJRLQJWREHSDLGDVDUHVXOWRI

    WKH&RXUW VGHFLVLRQ"

    $    ,ZDVQ WDZDUHRIWKH&RXUW VGHFLVLRQ

    4    <RXGRQ WUHFDOOWKDWLQWKHVSULQJRIWKHUHZDV

    DPRWLRQWRSD\ERQXVHVDQGDQRUGHUZDVHQWHUHGSHUPLWWLQJ

    DOOERQXVHVWREHSDLGWRDOOHPSOR\HHVH[FHSWIRUWKH

    VHQLRUIRXU"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     $    ,,ZDVQ WDZDUHRIWKDW,WZDVP\XQGHUVWDQGLQJ

     WKDWWKHVHQLRUHPSOR\HHVZHUHVWLOOHOLJLEOH

                 050255,6-XVWRQHVHFRQG<RXU+RQRU

                 ,KDYHQRIXUWKHUTXHVWLRQV<RXU+RQRU

                 7+(&28573DVVWKHZLWQHVV0U5XNDYLQD

                                &5266(;$0,1$7,21

     %<0558.$9,1$

     4    0U:DWHUKRXVHLW VXQXVXDOWKDW,H[DPLQHP\RZQ

     RIILFHUZLWKRXWDFKDQFHWRSUHSDUH\RXEXWKDYH\RXDQG,

    KDYHZHPHWEHIRUHLQSHUVRQ"

    $    1RWLQSHUVRQ-XVWRYHU=RRP

    4    $QGWKURXJKDOOWKHWLPHVWKDWZHPHWRQ:HEH[ZDVLW

    DWGHSRVLWLRQV"

    $    &RUUHFW

    4    ,KDYHQRWKDGDFKDQFHWRSUHSDUH\RXEHIRUHWRGD\

    KDYH,"

    $    <RXKDYHQRW

    4    2ND\7KLV

                050255,6, PVRUU\

    %<0558.$9,1$

    4    7KLVSD\PHQWWKHLQVLQXDWLRQLVWKDWVRPHKRZ

    WKDWPRWLYDWHG\RXWRWDNHDFWLRQVWKDW\RXZRXOGQ WKDYH

    RWKHUZLVH,VWKHUHDQ\PHULWWRVXFKDQLQVLQXDWLRQ"

    $    1R

    4    ,VPDWHULDOWRDPDQOLNH\RXWKDWPDNHVRYHU

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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                     Document 2-13
                              6-1 Filed
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     VHYHQILJXUHVHYHU\\HDU"

     $    ,W VQRW

     4    2ND\:KRVHLGHDZDVLWWKDWWKHEHSDLG"

     $    ,W VP\XQGHUVWDQGLQJ0U'RQGHURDXWKRUL]HGLW

     4    %XWGR\RXNQRZZKRVHLGHDLWRULJLQDOO\ZDVWRDVN0U

     'RQGHURWRDXWKRUL]HWKHSD\PHQW":DVLW\RXULGHD"

     $    ,WZDVQRW

     4    :DVLW0U6XUJHQW VLGHD"

     $    ,GRQ WNQRZZKRVHLGHDLWZDV

    4    2ND\$QGWKDWSD\PHQWKDSSHQHGVRPHWLPHSULRUWR\RXU

    'HFHPEHULQWHUDFWLRQZLWK0U.ORVLVWKDWFRUUHFW"

    $    <HV

    4    2ND\6RMXVWYHU\FOHDUO\GLGWKDWSD\PHQW

    KDYHDQ\WKLQJWRGRZLWK\RXUGLVFXVVLRQZLWK0U.ORVWR

    ZDONIRUZDUGKLVSULRUDQDO\VLVIRU)7,DQG'6,"

    $    1R

    4    'LGWKDWFRXOGWKDWSD\PHQWKDYHDQ\KDYHKDG

    DQ\WKLQJWRGRZLWKWKHUHVXOWVWKDW0U.ORVUHDFKHG"

    $    1R

    4    'LG0U.ORVUHFHLYHVRPHNLQGRIERQXVRUKLGGHQ

    SD\PHQWRUZKDWHYHUWKH\ZDQWWRFDOOLW")URPWKH

    $GYLVRUV"

    $    1RWWKDW, PDZDUH

    4    6RHYHQLIVRPHKRZ\RXZHUHRQWKHWDNHZKLFKLV

    RIIHQVLYH0U.ORVFHUWDLQO\ZDVQ WZDVKH"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     4    $QGDUH\RXDZDUHWKDWRQHRIWKHDVVXPSWLRQVWKDW0U

     .ORVXVHGLQKLV'HFHPEHUDQDO\VLVZDVWRXVHFXUUHQW

     KHDGFRXQW"'R\RXZDQWWRVHHWKDWHPDLOWRUHIUHVK

     \RXUVHOI"

     $    <HDK,WKLQNWKDW GEH

     4    ,WKLQNWKDWZRXOGEHIDLUWR\RX,W V([KLELW4LQ

     WKHVPDOOELQGHU

           :LWQHVVUHYLHZVGRFXPHQW 

    %<0558.$9,1$

    4    <RX OOUHPHPEHUWKLVVLU:HGLVFXVVHGLWDW\RXU

    GHSRVLWLRQ<RXVHHWKDWRQHRIWKHWKLQJVWKDW0U.ORV

    VD\VLVWKDWFKDQJHVIURPWKDWDQDO\VLVWKDWDQDO\VLV

    VHUYHVWKHSULRU'6,DQDO\VLVULJKW"7KDW\RXWDONHG

    DERXW"

    $    <HV

    4    2ND\$QG0U.ORVVD\V³UHIOHFWVFXUUHQWKHDGFRXQW

    7HUPVUHPRYHGQHZKLUHVDGGHG´'R\RXVHHWKDW"

    $    <HV

    4    2ND\'LG\RXWHOO0U.ORVWRPDNHWKDWDVVXPSWLRQ"

    $    1RWWKDW,UHFDOO

    4    ,IRQHZDVWU\LQJWRJHWDQDFFXUDWHVHQVHRIWKH

    SURILWDELOLW\RIWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWVWR

    +LJKODQGFDQ\RXWKLQNRIDQ\WKLQJZURQJZLWKXVLQJWKH

    FXUUHQWWKHQUHDOZRUOGKHDGFRXQW"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     3:22-cv-02170-S Document
                     Document 2-13
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     $    6RLI, PXQGHUVWDQGLQJ\RXULJKWDJDLQKHRQO\KDG

     UHIOHFWVFXUUHQWKHDGFRXQWRQWKHSD\UROOUHLPEXUVHPHQW

     DJUHHPHQW

     4    <HV, PDVNLQJ\RXDVD&3$DVDSURIHVVLRQDODVD

     &)2RIDYHU\ODUJHFRPSDQ\ZKDW VZURQJZLWKPDNLQJWKDW

     DVVXPSWLRQ":KRHYHU VLGHDLWZDVZKDW VZURQJZLWKLW"

     $    , PMXVWLIWKLVLVWKHSD\UROOUHLPEXUVHPHQW

     DJUHHPHQWORRN,,KRQHVWO\GRQ WDV,VLWKHUHWRGD\

     NQRZZKDWWKHFXUUHQWKHDGFRXQWUHODWHVWR

    4    0U:DWHUKRXVH, PQRWDVNLQJ\RXWKDW, PVD\LQJ

    DVWKH&)2\RXDVNHG\RXUVXERUGLQDWHWRZDONIRUZDUGD

    SULRUDQDO\VLVRISURILWDELOLW\,VWKDWDFFXUDWH"

               050255,6<RXU+RQRU, PJRLQJWRREMHFWDV

    OHDGLQJ0U5XNDYLQDPD\KDYHQHYHUPHW0U:DWHUKRXVH

    +HLVWKHDGYLVRUV RIILFHU+HLVWKHLUWUHDVXUHUWRGD\

    +HVKRXOGQRWEHOHDGLQJWKLVZLWQHVV

               7+(&28576XVWDLQHG

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    , PMXVWEULQJLQJKLPXSWRWKHQH[WTXHVWLRQ, PDOORZHG

    WRUHFDSSULRUWRVHWWRSKUDVHWKHQH[WTXHVWLRQ

               7+(&2857,WKLQNLWZDVOHDGLQJ6XVWDLQHG

               0558.$9,1$2ND\2ND\

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                     Document 2-13
                              6-1 Filed
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     \RXDOUHDG\WHVWLILHGEXWZHDOUHDG\VSHQWDKDOIDQKRXU

     RQWKLVVRZK\GLG\RXDVN0U.ORVWRZDONIRUZDUGKLV

     'HFHPEHUDQDO\VLV"

     $    $JDLQ,MXVWZDQWHGWRVHHZKDWWKRVHQXPEHUV

     UHIOHFWHG

     4    'LG\RXZDQWKLVDQDO\VLVWREHUHDVRQDEOH"

     $    <HV

     4    :KDWGLG\RXH[SHFWKLPWRGRZKHQ\RXJDYHKLPWKDW

    LQVWUXFWLRQ"

    $    7RDJDLQZDONIRUZDUGWKHDQDO\VLVWKDWZDVGRQHLQWKH

    SULRU\HDU

    4    'LG\RXH[SHFWKLPWRGRLWLQJRRGIDLWK"

    $    <HV

    4    $VDSURIHVVLRQDO"

    $    <HV

    4    :KDWDERXWZKDWQXPEHUVVKRXOGKHKDYHXVHG":KDW

    ZRXOGKDYHEHHQ\RXUH[SHFWDWLRQLI\RXZHUHORRNLQJIRUD

    UHDOZRUOGDQDO\VLV"

    $    ,PHDQKHZRXOGKDYHXVHGDJDLQ

    4    :HOOZHNQRZ

    $    KHZRXOGKDYHXVHGDOODJDLQKHZRXOGKDYHXVHG

    DOOFRVWVLQUHODWLRQWRWKLVDQDO\VLV6RLIWKHUHZHUH

    \RXNQRZDJDLQLIWKHUHZHUHWHUPVWKDWUHQHZHGEXWFRVWV

    WKDWZHUHLQFXUUHGIRUWKRVHWHUPVULJKWWKDWZRXOGKDYH

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
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                     Document 2-13
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                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     +LJKODQGDQGZRXOGEHSDLGLQWKHUHLPEXUVHPHQWSURJUDPLW

     ZRXOGKDYHEHHQLQDSSURSULDWHWRUHPRYHWKRVHFRVWV

     4    2ND\7KDW VQRWWKHTXHVWLRQWKRXJK7KHTXHVWLRQLV

     DVIROORZV7KHDVVXPSWLRQWKHUHVD\VUHIOHFWVFXUUHQW

     KHDGFRXQW'R\RXVHHWKDW"

     $    0PKPP

     4    6R, PDVNLQJ\RXDVKLVERVVDVD&3$DVD

     SURIHVVLRQDOPDQIRUDORQJWLPHFDQ\RXWKLQNRIDQ\WKLQJ

    ZURQJZLWKXVLQJWKHFXUUHQWKHDGFRXQWIRUZKDW0U.ORVZDV

    GRLQJIRU\RX"

    $    $JDLQLILIWKHUHZHUHSULRUKHDGFRXQWWKDWVKRXOG

    EHXVHGLQWKHDQDO\VLV

    4    3OHDVHORRNDWWKHDQDO\VLV,W VLQWKHELQGHU

    $    WKDWVKRXOGEHXVHGLQWKHDQDO\VLVWKHQ\RXNQRZ

    WKRVHSULRUHPSOR\HHVOLNHO\VKRXOGKDYHEHHQLQFOXGHGLQ

    WKH\RXNQRZLQWKHDQDO\VLV

    4    'LG\RXWKLQNWKDW0U.ORV VDQDO\VLVZDVUHDVRQDEOH

    ZKHQ\RXUHFHLYHGLW"

    $    ,,GLGQ WZKHQ0U.ORVVHQWPHWKLVDQDO\VLV,

    GLGQ WORRNDWWKHDWDQ\RIWKHGHWDLORUWKHEDFNXSWR

    WKLVDQDO\VLV

    4    :KDWGLG\RXWKLQNZKHQ\RXJRWWKLVIURP0U.ORV"

    $    <RXNQRZ,WKRXJKWWKDW0U.ORVPDGHVRPHDVVXPSWLRQV

    WKDWKHSXWLQ

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                     Document 2-13
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                                     Page11/22/22  Page
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     4    2ND\$QGVWRSWKDWVWRSWKHUH:KDWGLG\RXWKLQN

     DERXWKLVDVVXPSWLRQV":HUHWKH\IDLU":HUHWKH\XQIDLU"

     $    :HOOLI\RXDUHORRNLQJDWWKHFRVWVLQFXUUHGRQWKH

     SD\UROOUHLPEXUVHPHQWSURJUDPOHW VWDNHWKDWRQHIRU

     H[DPSOH7KDWDJUHHPHQWLVZDVSXWLQSODFHDJDLQWR

     UHLPEXUVH+LJKODQGIRUFRVWVWKDWLWLQFXUUHGULJKW"$QG

     WRUHLPEXUVHWKHP$QGWKDWZDVDDIXOO\ORDGHGFRVW

     6RLIWKHUHZHUHFRVWVWKDWZHUHH[FOXGHGIURPWKDW

     DQDO\VLV\HDKWKH\PD\QRWKDYHEHHQDSSURSULDWH

    4    :KDWZRXOG\RXKDYHH[SHFWHG0U.ORVWRGRZLWK

    UHVSHFWWRWKRVHSRWHQWLDOFRVWVUHPRYHGIURPWKDW

    DQDO\VLV",QRWKHUZRUGVZRXOG\RXKDYHH[SHFWHGKLPWR

    DFFRXQWIRUWKDWRUQRWDFFRXQWIRULW"

    $    1R,PHDQWKRVHFRVWVKRXOGKDYHEHHQDFFRXQWHG,

    PHDQDJDLQLI\RXLIZH UHORRNLQJLQIRUWKLVLV

    GRQHLQ'HFHPEHURI\RXORRNDWDOORIWKHFRVWVWKDW

    ZHUHLQFXUUHGE\+LJKODQGIRUWKHUHOHYDQWHPSOR\HHVLI

    ZH UHWDONLQJDERXWWKHSD\UROOUHLPEXUVHPHQWSURJUDP$QG

    WKDWZRXOGLQFOXGHRQDFDVKEDVLVDQ\ERQXVHVRUDQ\WKLQJ

    HOVHWKDWZHUHSDLGWRWKRVHHPSOR\HHV%HFDXVHWKDWZDV

    LQFXUUHG7KDWZDVFDVKSDLGWRWKRVHHPSOR\HHVE\

    +LJKODQGULJKW"$QGWKHDJUHHPHQWLVJRLQJWRUHLPEXUVH

    IURPWKH$GYLVRUVIRUWKRVHFRVWVWKDWZHUHDFWXDOO\

    LQFXUUHG

    4    'LG0U.ORVWHOO\RXDQ\WKLQJDERXWLVDQDO\VLVRWKHU

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     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     $    ,GRQ WUHFDOOKDYLQJ,GRQ WUHFDOOGLVFXVVLQJ

     DQ\WKLQJRXWVLGHRIWKLV

     4    'LG0U.ORVWHOO\RXDQ\WKLQJWRWKHHIIHFWRIWKDW

     KLVDQDO\VLVPLJKWEHXQUHDVRQDEOHRUXQUHOLDEOH"

     $    1R,PHDQ0U.ORVSXWGHWDLOHGDVVXPSWLRQVWKDW

     KHXVHGLQWKLVDQDO\VLV0U.ORVDQG,KDYHRYHUWKH

     \HDUVKH VSXWWRJHWKHUKXQGUHGVRIDQDO\VHVDQGSUR

     IRUPDVDQGWKHUHDUH\RXNQRZFHUWDLQWKLQJVWKDWFDQEH

    DVVXPHGLQDQDQDO\VLVDQG\RXNQRZ,PHDQPD\EHLW V

    ULJKW0D\EHLW VZURQJ

    4    2QHPRUHTXHVWLRQ0U:DWHUKRXVHDQGWKHQZH OOPRYH

    RQEHFDXVH,GRQ WWKLQN\RX UHXQGHUVWDQGLQJP\TXHVWLRQ

         7KHLQVLQXDWLRQLVWKDWIRU\RXUSD\PHQW

    VRPHKRZ\RXKDG0U.ORVSUHSDUHDQXQUHOLDEOHGRFXPHQWIRU

    DQXOWHULRUPRWLYH$QG, PDVNLQJ\RXHYHQLI\RXKDGDQ\

    VXFKPRWLYHZKLFK,ILQGDQG\RXILQGRIIHQVLYHZKDW

    FRXOG\RXKDYHWROG0U.ORVWRGRWKDWZRXOGKDYHPDGHKLV

    UHVXOWLQJDQDO\VLVXQUHOLDEOH"'LG\RXWHOOKLPWROLH"

    $    1R

    4    'LG\RXWHOOKLPWRIDEULFDWHQXPEHUV"

    $    1R

    4    'LG\RXWHOOKLPWRKDYHDSUHDUUDQJHGUHVXOWLQVLJKW"

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     4    <RXWROGKLPWRZDONIRUZDUGWKHQXPEHUV,VWKDW

     FRUUHFW"

     $    %OHVV\RX

     4    ,VWKDWFRUUHFW"

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     4    <RXKDYHWRVD\\HVRUQR

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    4    $QGPD\EH\RXWROGKLPWRXVHWKHVHDVVXPSWLRQVPD\EH

    \RXGLGQ W<RXGRQ WUHPHPEHUULJKW"

    $    ,GRQ WUHFDOO

    4    $QGYHU\TXLFNO\QRZRQHPRUHWKLQJWKDWFDXJKWP\

    DWWHQWLRQ/RRNDW([KLELW,SOHDVHLQP\ELQGHU$QGJR

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         1RZNHHSWKDWRSHQDQGJRWR([KLELWLQ0U

    0RUULV 7KLVLVJRLQJWRJHWDOLWWOHELWFRPSOLFDWHGEXW

    JRWR([KLELWLQ0U0RUULV 

         1RZ\RXDVNHGDERXWWKLV<RXVHHWKDWWKHUHLVD

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    $    ,GR

    4    2ND\$QG\RXVHHWKHGDWHWKDW0V+HQGUL[ SK LV

    DVNLQJ\RXDERXWWKDW":KDW VWKDWGDWH"

    $    ,W V7XHVGD\)HEUXDU\WK

    4    $QGWKDW VWKHVDPHGDWHWKDW\RXZHQWEDFNWRKHULQ

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     3:22-cv-02170-S Document
                     Document 2-13
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    $    5HFHLSWGDWH

    4    'R\RXKDYHDQ\LGHDKRZ+LJKODQGFRXOGKDYHUHFHLYHG

    WKDWOHWWHUWKHGD\EHIRUH0V+HQGUL[VRXJKW\RXUDSSURYDO

    DQG\RXJDYHLW"

    $    ,GRQ W

    4    2ND\5HWXUQLQJWRWKHSD\UROOUHLPEXUVHPHQW

    DJUHHPHQWVOHW VJRWKURXJKVRPHWKLQJVUDWKHUTXLFNO\'R

    \RXNQRZVLUKRZWKHPRQWKO\SUHVHWUHLPEXUVHPHQWUDWHV

    ZHUHDUULYHGDWLQWKRVHWZRDJUHHPHQWV"

    $    ,GRQ W

    4    2ND\'R\RXNQRZZKHWKHUDQ\RQHLQSDUWLFXODUVHW

    WKRVHQXPEHUV"

    $    ,GRQ W,WKLQN,WHVWLILHGHDUOLHUWKDW\RXNQRZ

    WKHUH VDQDQDO\VLVWREDFNXSQXPEHUVWKDWDUHSXWLQWR

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                $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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                     Document 2-13
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     4    $QGGLG\RXEHOLHYHWKDWWKDWDQDO\VLVZDVDUHDVRQDEOH

     HVWLPDWHRIWKHDFWXDOUHLPEXUVDEOHDPRXQWVWKDWVKRXOGKDYH

     EHHQSD\DEOHWR+LJKODQG"

     $    <HV

     4    :RXOG\RXKDYHVLJQHGWKRVHDJUHHPHQWVLI\RXEHOLHYHG

    WKDWWKHUHZDVDQ\WKLQJPLVOHDGLQJRUGHFHSWLYHDERXWWKHP"

    $    1R,ZRXOGQRWKDYH

    4    2ND\,KDYHWKHVDPHTXHVWLRQZLWKWKHVKDUHG

    VHUYLFHVDJUHHPHQWV'R\RXNQRZKRZWKHPRQWKO\SD\DEOH

    DPRXQWVZHUHDUULYHGDWLQWKRVHDJUHHPHQWV"

    $    ,GRQ W

    4    $QGEHIRUHVLJQLQJRU, PVRUU\<RXGLGQ WVLJQ

    WKRVHDJUHHPHQWV%XWGR\RXNQRZZKHWKHURUGR\RXKDYH

    DQ\LGHDRIZKHWKHUDQDQDO\VLVZDVDFWXDOO\GRQHIRUZKDW

    WKRVHPRQWKO\UHLPEXUVDEOHUDWHVVKRXOGEH"

    $    6DPHDV,DQVZHUHGHDUOLHU$QDQDO\VLV\RXNQRZ

    DJDLQLVSXWWRJHWKHUWRVXSSRUWWKHVHQXPEHUV,WKLQN,

    DOVR\RXNQRZ,WHVWLILHGHDUOLHULQP\GHSRVLWLRQWKDW

    \RXNQRZIRUFRQWUDFWVRIWKLVW\SHZKHQZH UHDXGLWHG

    \RXNQRZZHKDYHWRSURYLGHVXSSRUWWRDXGLWRUVIRUWKHVH

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     WHOODQ\RQHWKDWWKDW VXQLODWHUDOO\WKDWWKDW VWKH

     QXPEHUWKDWVKRXOGEHXVHGIRUWKRVHPRQWKO\RUDQQXDO

     UHLPEXUVHPHQWUDWHV"

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     4    $QG,WKLQN\RXZHUHDVNHGDERXWWKLVEXWWKRVHSD\UROO

     UHLPEXUVHPHQWDJUHHPHQWVDQGVKDUHGVHUYLFHVDJUHHPHQWVGR

     \RXNQRZZKHWKHUWKH\ZHUHDSSURYHGE\WKHLQWHUQDOODZ\HUV

    DW+LJKODQGWKH+LJKODQGOHJDOGHSDUWPHQW"

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    KDYHDGRFXPHQWWKDWLVGURSSHGRIIDWP\RIILFHIRU

    VLJQDWXUHWKHUHLVDVHFWLRQZKLFKDVNV\RXNQRZKDV

    /HJDOUHYLHZHGLWDQGDSSURYHGRULIVRPHRQHZDONVD

    GRFXPHQWRIWKLVQDWXUHLQWRP\RIILFHIRUVLJQDWXUH,

    ZRXOGDVNWKHPWKDWWKHVDPH

    4    $QGJRWR([KLELW&SOHDVH&DQG'DUHYHU\VLPLODU

    <RXFDQORRNDWERWKRIWKHP7KH\ UHLGHQWLFDOH[FHSWRQH

    LVIRU+&0)$DQGRQHLVIRU1H[3RLQWDQGWKH\ UHLQ

    GLIIHUHQWDPRXQWV'R\RXUHFDOOWKHVHWZRGRFXPHQWV",

    PHDQIURP\RXUGHSRVLWLRQGR\RXUHFDOOWKHVHWZR

    GRFXPHQWV"

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    4    $QG\RXVLJQHGWKHVHWZRGRFXPHQWVULJKW"

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     DJUHHPHQWDQGWKHPLOOLRQDPRXQWLQWKHRWKHUDJUHHPHQW

     ZDVDUULYHGDW"

     $    ,GRQ WUHFDOO

     4    'LG\RXHYHUKHDU0U'RQGHURRUDQ\RQHHOVHVD\

     VRPHWKLQJOLNHZHQHHGWD[GHGXFWLRQVDWWKHDGYLVRUVVR

     OHW VFKDQQHOVRPHPRQH\RYHUWR+LJKODQG"

     $    ,GRQ WUHFDOO

     4    ,I+LJKODQGLIWKHUHZHUHDVHULHVRISURPLVVRU\

    QRWHVZLWK+LJKODQGDQGYDULRXVLQVLGHUV\RX UHJHQHUDOO\

    DZDUHRIWKDWFRUUHFW"

    $    <HV

    4    $QGIURPWLPHWRWLPHDV+LJKODQG VILQDQFHVZHUHQRW

    GRLQJZHOODQG+LJKODQGZRXOGQHHGVRPHFDVKGLGVRPHWLPHV

    VRPHRIWKHVHQRWHSDUWLHVSUHSD\FHUWDLQREOLJDWLRQVRQWKH

    PRVWRI+LJKODQGLQRUGHUWRJHW+LJKODQGFDVK"

    $    7KHUHZHUHSURPLVVRU\QRWHVEHWZHHQ+LJKODQGDQGWKH

    \RXNQRZDQGWKHLQVLGHUV,GRQ WUHFDOOHYHU\\RX

    NQRZ,GRQ WUHFDOO

    4    6XUH

    $    HYHU\LQVWDQFHZKHUHPRQH\ZDVOHQWWR+LJKODQG

    4    2ND\%XW, PDVNLQJRQRFFDVLRQLI+LJKODQGQHHGHG

    LPPHGLDWHOLTXLGLW\ZRXOGVRPHWLPHV+LJKODQGDVNRQHRI

    WKHVHQRWHSDUWLHVWRSUHSD\RUSD\TXLFNHULWVREOLJDWLRQV"

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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
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     4    2ND\$QGWKDWZDVDZD\VRPHWLPHVIRU+LJKODQGWRJHW

     LPPHGLDWHOLTXLGLW\"

     $    <HV

     4    6RFDQ\RXWKLQNRIDUHDVRQZK\VRPHRQHZRXOGKDYH

     GRQHWKHVH([KLELWV&DQG'WRJHWPLOOLRQWR+LJKODQG

     DVRSSRVHGWRMXVWZRUNLQJRQRQHRIWKHQRWHV"

     $    ,GRQ WUHFDOO

     4    2ND\6RWKHVHERWKRIWKHVHFRQWUDFWVKHUHVD\

     WKDWWKHSD\PHQWVDUHDRQHWLPHSD\PHQWRIHVWLPDWHG

    DGGLWLRQDODFWXDOFRVWVRZHGWR+&0/3IRUDGGLWLRQDO

    UHVRXUFHVXVHGE\+&0)$'R\RXVHHWKDWVLU"

    $    8K

    4    ,W VWKHVHFRQGZKHUHDV

    $    <HV,VHHWKDW

    4    2ND\'R\RXKDYHDQ\UHDVRQWRGLVEHOLHYHWKDWZKDW

    WKLVKHUHVD\VLVWUXH"

                7+(&2857,DSRORJL]H:KDWH[KLELWDUH\RXRQ"

                0558.$9,1$, PRQ([KLELW&&DQG'DUH

    DJDLQLGHQWLFDO

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    4    'R\RXKDYHDQ\UHDVRQWREHOLHYHWKDWZKDW([KLELW&

    VD\VWKHUHLQWKHVHFRQGZKHUHDVLVQRWWUXH"

    $    ,GRQ W

    4    2ND\:KDWDERXW([KLELW'"'R\RXKDYHDQ\UHDVRQWR

    GLVEHOLHYHWKDWZKDW([KLELW'VD\VLVWUXH"7KHVHFRQG

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     4    2ND\1RZ\RXGRQ WKDYH, PVRUU\'R\RXKDYH

     DQ\VSHFLILFUHFROOHFWLRQRIWKHVHWZRDPHQGPHQWV&DQG'"

     $    ,GRQ W,GRQ WUHFDOO

     4    2ND\6RVHSDUDWHIURPWKHVHWZRZDVWKHUHDSURFHVV

     DW+LJKODQGZKHUHE\+LJKODQGZRXOGSHULRGLFDOO\UHYLHZRU

     WUXHXSRUUHFRQFLOHORQJWHUPFRQWUDFWV"

     $    ,PHDQLILWZDVVWDWHG\HV

    4    2ND\:KDWZDVWKDWSURFHVVJHQHUDOO\EHIRUHZHWDON

    DERXWDQ\SDUWLFXODUFRQWUDFW"

    $    ,PHDQLIWKHUHZDV\RXNQRZVRPHWKLQJVWDWHGLQDQ

    DJUHHPHQW\RXNQRZDQGQHHGHG\RXNQRZQHHGHGWUXLQJ

    XS\HV,PHDQWKLQJVOLNHWKDWZRXOGEHWUXHGXSRQD

    SHULRGLFEDVLV

    4    $QGZKDWZDVWKDWZKDWLVWKHJHQHUDOSUDFWLFHRI

    WKDWSHULRG":KDWZDVWKHSHULRG"

    $    ,MXVWUHPHPEHUJHQHUDOO\EXWLWLV,PHDQWKDW

    ZRXOGEHOLNHPRUHRQD\HDUO\EDVLV)URPZKDW,UHFDOO

    LQ\HDUVSDVWWKHUHZHUHLWZDVMXVWWRRRQHURXVWRWUXH

    XSDJUHHPHQWVRQOHVVWKDQD\HDUO\EDVLV6R\HDUO\LV

    NLQGRIPRUHRIWKHSUDFWLFH%XWDJDLQWKLVLVMXVWD

    JHQHUDOUHFROOHFWLRQ

    4    'R\RXKDYHDQ\VSHFLILFUHFROOHFWLRQWKDWWKHUHZDVDQ

    DQQXDOWUXHXSOLNHWKDWIRUWKHWZRSD\UROOUHLPEXUVHPHQW

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     WKLQNWKHUHZDVDWUXHXSPHFKDQLVPLQWKHDJUHHPHQWV

     4    2ND\<RX UHRIFRXUVHIDPLOLDUZLWKWKHVHUYLFHV

     DJUHHPHQWVDQGWKHVHUYLFHVWKDW+LJKODQGZDVSURYLGLQJWR

     WKHDGYLVRUVXQGHUWKRVHDJUHHPHQWVDUH\RX"

     $    <HV, PJHQHUDOO\DZDUH

     4    2ND\6RWKHVHUYLFHVWKDW+LJKODQGLVSURYLGLQJWR

     WKHDGYLVRUVXQGHUVKDUHGVHUYLFHVZRXOGWKRVHVHUYLFHV

    KDYHUHODWHGWRUHYLHZLQJWKHDGYLVRU VSD\DEOHV"

    $    7KHUHZDVDOLVWRIVKDUHGVHUYLFHVRUVHUYLFHVWREH

    SURYLGHGWRWKHDGYLVRUVWKDWZHUHLQWKHDJUHHPHQWVDQG

    GHWDLOHGLQWKHVKDUHGVHUYLFHVDJUHHPHQWV<HDK,PHDQ

    WKHDGYLVRUGLGQRWKDYHEDFNRIILFHSHUVRQQHOVRSD\UROO

    UHYLHZRUWKLQJVRIWKDWQDWXUHZRXOGEHFRYHUHG

         %XWDJDLQWKHUH VDOLVWRIVKDUHGVHUYLFHVWREH

    SURYLGHGWRWKHDGYLVRUVE\+LJKODQG3HUVRQQHOWKDW V

    GHWDLOHGLQWKRVHDJUHHPHQWV

    4    $QGGLGWKRVHVHUYLFHVWR\RXUXQGHUVWDQGLQJLQFOXGH

    UHYLHZLQJLQYRLFHVDQGELOOVWRWKHDGYLVRUVIRUZKHWKHU

    WKRVHLQYRLFHVDQGELOOVZHUHSURSHUDQGSD\DEOH"

    $    <HV

    4    'LGWKRVHVHUYLFHVLQFOXGHUHYLHZLQJWKHDGYLVRU V

    FRQWUDFWVIRUZKHWKHUUHEDWHVVHWRIIVRUGHGXFWLRQVZHUH

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     \RXNQRZLQDQLQYRLFH\HDK,PHDQLWZRXOGKDYHEHHQ

     WKHWHDP VUHVSRQVLELOLW\WRORRNDWLWHPVRIWKDWQDWXUH

     4    :HOO\RXWDONHGDERXWWKHRYHUSD\PHQWV:KHQ\RX

     OHDUQHGDERXWWKHRYHUSD\PHQWV\RXWRRNWKHPDQG\RXWROG

     0U&DUXVRDERXWWKDW'LG\RXIHHOOLNH\RXKDGVRPHGXW\

     DVWKH+LJKODQGHPSOR\HHXQGHUWKHVHUYLFHVDJUHHPHQWVWR

     WHOO0U&DUXVRDERXWWKDW"

     $    :DLW,GRQ WNQRZ, PQRWDODZ\HUDQG,GRQ W

    NQRZDERXWGXW\EXW,SURYLGHGVHUYLFHV:HSURYLGHG

    VHUYLFHVXQGHUWKRVHDJUHHPHQWV$QGWKDW VZKDWZH

    WKDW VZKDW,ZDVSURYLGLQJDQGWKDW VZKDWRWKHUVRQWKH

    WHDPZHUHSURYLGLQJWKHVHUYLFHVWKDWZHUHGHWDLOHGXQGHU

    WKHDJUHHPHQWV:HIHOWWKHQHHGWRWHOO0U&DUXVRLQ4

    RIEHFDXVHZHIHOWLWZDVLPSRUWDQWZKHQZHZHUH

    HGXFDWLQJKLPRQDOOWKLQJV+LJKODQGIRUKLPWREHPDGH

    DZDUHRIWKLV

    4    2ND\7KHVHUYLFHVWKDW+LJKODQGZDVSURYLGLQJWRWKH

    DGYLVRUVDV\RXXQGHUVWDQGWKHPIRUJHWDERXWWKH

    FRQWUDFW)RUJHWDERXWWKHODZ<RX UHQRWDODZ\HU$V

    \RXXQGHUVWDQGDQGXQGHUVWRRGWKRVHVHUYLFHVIRUDOPRVWWHQ

    \HDUVZRXOGWKH\KDYHRUVKRXOGWKH\KDYHLQFOXGHGFDWFKLQJ

    DOOHJHGRYHUSD\PHQWVWKDWWKHDGYLVRUVZHUHPDNLQJWRVRPH

    YHQGRU"

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                0558.$9,1$)RUPLVDGHSRVLWLRQREMHFWLRQQRW

     DWULDOREMHFWLRQ<RXU+RQRU

                050255,6)LQH,WDVVXPHVDIDFWQRWLQ

     HYLGHQFH

                0558.$9,1$,W VDK\SRWKHWLFDOTXHVWLRQ

     LQWHQWLRQDOO\

                7+(&28572YHUUXOHG2YHUUXOHG

     %<0558.$9,1$

    4    'R\RXUHPHPEHUP\TXHVWLRQ"

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    4    2ND\$JDLQQRWEDVHGRQ\RXEHLQJDQRQODZ\HURU

    WKHFRQWUDFWVMXVWEDVHGRQ\RXUH[SHULHQFHRISURYLGLQJ

    VKDUHGVHUYLFHVDV+LJKODQG V&)2IRUDOPRVWWHQ\HDUVGR

    \RXZRXOG\RXKDYHH[SHFWHGWKDWWKRVHVHUYLFHVZRXOG

    KDYHLQFOXGHG+LJKODQGUHYLHZLQJDGYLVRUFRQWUDFWVZLWK

    YHQGRUVIRUSRWHQWLDORYHUSD\PHQWVWKDWWKHDGYLVRUVPLJKW

    EHPDNLQJ"

    $    ,PHDQLWVKRXOGKDYHEHHQDSSOLHGWRDOO\RXNQRZ

    DQ\YHQGRUVDQ\LQYRLFHVWKDWWKHDGYLVRUVZHUHSD\LQJ,

    PHDQLWZDV\RXNQRZDJDLQWKHDGYLVRUVGRQ WKDYHWKHVH

    EDFNRIILFHSHUVRQQHOVRLW VWKH+LJKODQGHPSOR\HHVWKDW

    DUHSURYLGLQJWKRVHVHUYLFHVLIWKH\ UHRYHUSD\PHQWVWR

    YHQGRUVRU\RXNQRZRWKHUWKLUGSDUW\FRQWUDFWVDVZHOO

    4    2ND\$QGZHVDZIURPWKDWH[DPSOH([KLELWZKHUH

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     VXPPDUL]HGLG+LJKODQGDFFRXQWLQJHPSOR\HHVXQGHU\RXU

     GLUHFWLRQKDYHDFFHVVWRWKHDGYLVRU VEDQNDFFRXQWVSRVW

     SHWLWLRQ"

     $    <HV

     4    2ND\'LGWKH\KDYHWKHDELOLW\WRFDXVHWKHDGYLVRUV

     IURPWKHDGYLVRU VEDQNDFFRXQWVWRZLUHIXQGVWRYHQGRUV

     ZKHQDSSURYHGRIE\\RXDQGRWKHUSHRSOH"

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    4    2ND\$QGLVWKDWKRZWKHDGYLVRUVSDLG+LJKODQGSRVW

    SHWLWLRQXQGHUWKHSD\UROOUHLPEXUVHPHQWDJUHHPHQWDQGWKH

    VKDUHGVHUYLFHVDJUHHPHQW"0HDQLQJWKDW+LJKODQGHPSOR\HHV

    ZRXOGEDVLFDOO\SD\+LJKODQGIURPWKHDGYLVRU VEDQN

    DFFRXQWV"

                050255,62EMHFWLRQWRWKHIRUPRIWKH

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                0558.$9,1$$JDLQ<RXU+RQRU

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    VRUU\EDFNWR\RXUTXHVWLRQ,WKLQN\RXVDLGLWZDVWKH

    DGYLVRU VHPSOR\HHVWKDWHIIHFWXDWHG

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    4    /HWPHVWDUWDJDLQ/HWPHVWDUWDJDLQ:DVLWWKH

    SUDFWLFHVWULNHWKDW

         7KH$GYLVRUVSDLG+LJKODQGXQGHUWKHSD\UROO

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     $    <HV

     4    :KLFKKXPDQEHLQJVDFWXDOO\IDFLOLWDWHGWKRVHZLUH

     WUDQVIHUV"$FWXDOO\LQSXWWHGWKHPDQGDFWXDOO\PDGHWKHP"

     $    ,WZRXOGKDYHEHHQPHPEHUVRQWKHFRUSRUDWHDFFRXQWLQJ

     WHDPZKLFKZHUH+LJKODQGHPSOR\HHV

     4    7KDW VP\SRLQW:HUHWKH\DOVRDGYLVRUHPSOR\HHVDW

     WKDWWLPH"

    $    7KH\ZHUHQRW

    4    6RLIZHFDQVXPPDUL]H+LJKODQGHPSOR\HHVZRXOGPDNH

    VXUHWKDWWKHDGYLVRUVZRXOGSD\+LJKODQGXQGHUWKHVH

    DJUHHPHQWVEXWIURPWKHDGYLVRU VIXQGV

                050255,62EMHFWLRQ/HDGLQJ

                0558.$9,1$, PMXVWVXPPDUL]LQJ<RXU+RQRU

                7+(&28572YHUUXOHG

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    4    $QG,WKLQN\RXPHQWLRQHGGLGWKHDGYLVRUVWKHPVHOYHV

    KDYHDQ\HPSOR\HHVSULRUWRWKHWHUPLQDWLRQRIWKHVH

    DJUHHPHQWVWKDWZRXOGKDYHRUFRXOGKDYHIDFLOLWDWHGWKH

    SD\PHQWRILQYRLFHV"

    $    0U'RQGHURLVDXWKRUL]HGVLJQDWRU\RQWKHDGYLVRU

    DFFRXQWVEXWKHGRHVQ W,PHDQKH VQHYHUVHQWD

    SD\PHQWWRP\NQRZOHGJH

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     4    $QGJRLQJEDFNEULHIO\WRWKRVHVKDUHGVHUYLFHV

     DJUHHPHQWV\RXHVWDEOLVKHGWKDWRQHRIWKHVHUYLFHVWKDW

     +LJKODQGVKRXOGKDYHRUFRXOGKDYHEHHQSURYLGLQJZDV

     UHYLHZLQJSD\DEOHV,VWKDWVRPHWKLQJWKDW\RXSHUVRQDOO\

     ZRXOGKDYHGRQH"

     $    ,ZDVQ WUHYLHZLQJLQYRLFHVRUSD\DEOHV7KDWZDVWKH

     WHDP VUHVSRQVLELOLW\

     4    <RXZHUHD&OHYHOH[HFXWLYH"

     $    <HDK,GLGWKDWHDUOLHULQP\FDUHHU

    4    6XUH6XUH

    $    %XWDV&)2,GLGQRWGRWKDW

    4    6RLIWKHUHZHUHDOOHJHGRYHUSD\PHQWVIURPWKHDGYLVRUV

    WR+LJKODQGLVWKDWVRPHWKLQJWKDW\RXIHHOOLNH\RX

    SHUVRQDOO\VKRXOGKDYHJRQHLQYHVWLJDWLQJDQGILJXUHGRXW"

    2UVRPHWKLQJWKDWVRPHRQHORZHUOHYHOWKDQ\RXVKRXOGKDYH

    EURXJKWWR\RXUDWWHQWLRQ"

    $    <HDK,PHDQ, PQRWUHYLHZLQJDOOWKHLQYRLFHVRU

    \RXNQRZWKLQJVWRWKDWGHJUHH/LNH,VDLGLW VDWHDP

    HIIRUW,IWKHUH VRWKHUVWKDWZHUHDZDUHRIWKDW\HV

    4    2ND\

    $    WKH\QHHGWREHEURXJKWWR\RXNQRZP\DWWHQWLRQ

    DQGWKLQJVRIWKDWQDWXUH

    4    6RWKDW VP\SRLQW,IWKHUHDUHDOOHJHGRYHUSD\PHQWV

    ZRXOG\RXKDYHNQRZQDERXWLWZLWKRXWRQHRI\RXUWHDP

    PHPEHUVEULQJLQJLWWR\RXUDWWHQWLRQ"

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               $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     $    8QOHVV,ZDVLQWLPDWHO\DZDUH\HV,PHDQLW,

     ZRXOGKDYHUHOLHGRQP\WHDPPHPEHUVIRUWKDW

     4    %XWZHUH\RXDZDUHRIWKHVHRYHUSD\PHQWVSULRUWR0U

     .ORVEULQJLQJLWWR\RXUDWWHQWLRQLQ4"

     $    ,GRQ WQR,GRQ WUHPHPEHUEHLQJFRQFHUQHGRU

     DQ\WKLQJWRWKDWHIIHFW

     4    2ND\$QGEDVHGRQZKDW0U.ORVWROG\RX\RXWDONHG

     WR0U&DUXVRDQGWKHWZRODZ\HUVMXVWWREHFOHDU0U

     6FRWW(OOLQJWRQ+HZDVWKHJHQHUDOFRXQVHORI+LJKODQG

    ZDVKH"

    $    ,EHOLHYHWKDWZDVKLVWLWOH

    4    $QGZKDWZDV0U/HYLWRQ"$VVRFLDWH*HQHUDO&RXQVHO"

    $    ,GRQ WNQRZ

    4    6RMXVW, PDVNLQJ\RX<RX UHQRZWKH&)2RI

    +LJKODQG$QGWKH&22DQGWKH*&WKHJHQHUDOFRXQVHOWHOO

    \RXDERXWWKHDXWRPDWLFVWD\DQG\RXPHQWLRQHGWKDWDIWHU

    WKDW\RXIHOWWKDWWKHUHZDVQRWKLQJUHDOO\PRUHWR

    GLVFXVV'R\RXUHPHPEHUWKDW"

    $    <HV

    4    2ND\:KRHOVHFRXOG\RXKDYHJRQHWRLI\RXVXVSHFWHG

    WKHYRUDFLW\RIWKHVHSHRSOH VWKHVHH[SHUWV VWDWHPHQWV

    WR\RX"

    $    ,GLGQ WIHHOWKHQHHGWRWDONWRDQ\ERG\HOVH$JDLQ

    DV,WHVWLILHGHDUOLHUQRWKLQJFRXOGKDYHFKDQJHGEDVHGRQ

    ZKDW,ZDVWROGE\\RXNQRZWKHILUPWKDWZDVQRZLQ

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
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     WKHUHZDVVRPXFKJRLQJRQDWWKDWWLPH$JDLQ,ZDQWHGWR

     IRFXVP\HIIRUWVP\WHDP VHIIRUWVRQWKLQJVWKDWZHQHHGHG

     WRZRUNRQRUZHFRXOGFKDQJHRU\RXNQRZZHFRXOGEH

     KHOSIXORQ

     4    'LG\RXGLVFXVVZLWK0U&DUXVRRUWKHVHWZRODZ\HUV

     WKDWWKHVHRYHUSD\PHQWLVVXHVZRXOGEHDGGUHVVHGLQGXH

     FRXUVHLQWKHIXWXUH"

     $    7KDWZDVP\XQGHUVWDQGLQJ

    4    2ND\'R\RXUHPHPEHUDQ\WKLQJWKDWDQ\RQHRIWKHP

    WROG\RXDERXWWKDWVSHFLILFDOO\"

    $    +HZDVMXVW\RX UHXQGHUDVWD\DQG\RXNQRZ

    4    $QGWKHUH VQRWKLQJWKDWFDQEHGRQH

    $    1RWKLQJFDQEHGRQHDQGLWZRXOGEH\RXNQRZDJDLQ

    DGGUHVVHG\RXNQRZGRZQWKHOLQH

    4    6ROHWPHDVN\RXQRZ1RZ\RX UHZHDULQJ\RXU

    WUHDVXUHUKDWIRUWKHDGYLVRUVRND\"$UH\RXIROORZLQJPH"

    1RZ\RX UHQRWWKH&)2RI+LJKODQG1RZ\RX UHWKH

    WUHDVXUHURIWKHDGYLVRUVRND\":KRZRXOG\RXKDYHJRQHWR

    VHHNOHJDODGYLFHIURPKDYLQJKHDUGZKDW\RXMXVWKHDUG

    DERXWWKHDXWRPDWLFVWD\":KRZDVSURYLGLQJOHJDOVHUYLFHV

    WR+LJKODQGDWWKDWWLPH"

    $    +LJKODQGLQKRXVHFRXQVHO

    4    7KHVDPHWZRSHRSOHZHMXVWPHQWLRQHG"

    $    <HVDPRQJVWRWKHUV

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     DGYLVRUVLWZRXOGKDYHEHHQWKHVDPHSHRSOHZKRZRXOGKDYH

     WROG\RXWKHVDPHWKLQJLVWKDWFRUUHFW"

     $    7KDW VFRUUHFW

     4    2ND\'LG\RXKDYHDQ\UHDVRQWRGLVEHOLHYHZKDWWKH\

     ZHUHWHOOLQJ\RXDERXWWKHDXWRPDWLFVWD\"

     $    1R, PQRWDQDWWRUQH\DQGWKH\DUH$QG, PJRLQJ

     WRP\JHQHUDOFRXQVHODQGRWKHUVWKDWDUHLQWLPDWHO\

     LQYROYHGZLWKWKHEDQNUXSWF\,KDGQRUHDVRQWRGRXEWWKHP

    RUWKLQNRWKHUZLVH

    4    'LG\RXUHO\RQZKDWWKH\WROG\RXDERXWWKHDXWRPDWLF

    VWD\"

    $    <HDKSHUFHQW

    4    'LG\RXEHOLHYHEDVHGRQZKDWWKH\WROG\RXWKDWLW

    ZRXOGHYHQWXDOO\EHZRUNHGRXWLQWKHEDQNUXSWF\"

    $    <HDK,GLGQ WKDYHUHDVRQWREHOLHYHRWKHUZLVH

    4    $QG,WKLQN\RXPHQWLRQHGDOVRWKDW\RXGLGQRWGLVFXVV

    WKHPDWWHUZLWK0U'RQGHURXQWLOVRPHWLPHLQODWH

    FRUUHFW"

    $    7KDWLVFRUUHFW

    4    2ND\$QGLVWKDWDOVRIRUWKHVDPHUHDVRQVWKDW\RX

    MXVWPHQWLRQHGEHFDXVH\RXIHOWWKDWWKHUHZDVQRWKLQJWKDW

    FRXOGEHGRQH"

    $    7KDW\HV,PHDQDJDLQ,WKLQN,WHVWLILHG

    HDUOLHU0U'RQGHURZDVYHU\EXV\ZLWKWKHEDQNUXSWF\$QG

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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
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     &DUXVRZDQWHGDQG6DUDKZDQWHGWRWDONWR0U'RQGHUR

     WKH\FHUWDLQO\FRXOGKDYH

     4    +RZGLG\RXILQG0U.ORVWREHDV\RXUHPSOR\HHIRU

     \HDUVDQG\HDUV"$VIDUDVKLVSURIHVVLRQDODELOLWLHV

     $    ,DOZD\VIRXQG0U.ORVDVDWUHPHQGRXVHPSOR\HH, YH

     HQMR\HGZRUNLQJZLWKKLPIRUPDQ\\HDUV+H VDJUHDW

     LQGLYLGXDO

     4    2ND\:RXOG\RXKDYHH[SHFWHGKLPWRLQIRUP\RXRIDQ\

    UHGIODJVWKDWKHZRXOGVHHRUVXVSHFW"

    $    :KDWGR\RXPHDQE\UHGOLNHMXVW

    4    ,VVXHV:RXOG\RXKDYHH[SHFWHGKLPWRIODJLVVXHVWR

    UDLVHZLWKKLVERVVLIKHIRXQGWKHP"

    $    <HV,PHDQ0U.ORVLVYHU\JRRGDWGRLQJWKLQJV

    OLNHWKDW

    4    :RXOG\RXKDYHH[SHFWHG0U.ORVWRDGYLVH\RXWKDW

    SHUKDSVFHUWDLQQXPEHUVRUDQDO\VLVDUHOHVVUHOLDEOHWKDQ

    WKH\VKRXOGEHIRUZKDWHYHUUHDVRQ"

    $    0U.ORVZDVDOZD\VJRRGZKHQKHZRXOGSXWWRJHWKHUD

    SURIRUPDHVWLPDWH+HZRXOGOLVWWKHDVVXPSWLRQVLQKLV

    DQDO\VLV<HDK$QGLIWKHUHZHUHVRPHWKDWPD\EHZHUH

    LIKHPDGHDQDVVXPSWLRQDQGPD\EHKH VOLNHRND\\RXNQRZ

    PD\EHWKLVLVQ WWKHEHVWDVVXPSWLRQWRPDNHEXW,GLGGR

    LWLW GEHVRPHWKLQJWKDWZHZRXOGGLVFXVVRYHUWLPHRUZH

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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
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     ZRXOGJRWKURXJKWKHDQDO\VLVRIWKHSURIRUPD<RXNQRZ

     DJDLQ, PVSHDNLQJJHQHUDOO\RYHUWKH\HDUV

     4    %HFDXVHVRPHRIZKDW\RXJX\VGRE\GHILQLWLRQLV

     VXEMHFWLYHULJKW"

     $    <HDK7KHUHDUHDOZD\VHVWLPDWHVRU\RXSXWWRJHWKHU

     SURIRUPDVWKHUHDUHFHUWDLQDVVXPSWLRQVWKDWQHHGWREH

     PDGH

     4    6RGLG0U.ORVHYHUWHOO\RXWKDWWKHUHZDVDQ\WKLQJ

     ZLWKUHVSHFWWRWKH'HFHPEHU'6,DQDO\VLVWKDWZH

    GLVFXVVHG"'LGKHHYHUWHOO\RXWKDWWKHUH VDQ\WKLQJLQ

    WKHUHWKDWKHUHGIODJJHGIRU\RXDVSRWHQWLDOO\DSUREOHP"

    $    1RWWKDWDUHFDOO

    4    :KDWDERXWWKH'HFHPEHUDQDO\VLVKHGLGDW\RXU

    GLUHFWLRQ([KLELW4"

    $    ,QWKH'HFHPEHU'DYHFKDQJHGDVVXPSWLRQVYHUVXV

    WKHDQDO\VLVWKDWKHGHWDLOHGLQWKHHPDLO

    4    %XWKHWROG\RXZKDWWKRVHFKDQJHVZHUH

    $    <HV,WZDVGHWDLOHGLQWKDWHPDLO

    4    <HDK'LGKHWHOO\RXWKDWWKRVHDVVXPSWLRQVPLJKWEH

    GDQJHURXVRUXQZDUUDQWHGRUDQ\WKLQJOLNHWKDW"

    $    ,GRQ WUHFDOOKDYLQJDFRQYHUVDWLRQZLWK0U.ORV

    DERXWWKDW

    4    2ND\$QG0U0RUULVDVNHG\RXZKHQ\RXZHUH

    VXJJHVWLQJWR0U&DUXVRWKDWWKHSD\UROODJUHHPHQWVEH

    XSGDWHGRUFKDQJHGKHDVNHG\RXKRZWKDWFRXOGSRVVLEO\EH

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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     $    <HV

     4    %XWLI+LJKODQGZDVFRQWUDFWXDOO\REOLJDWHGXQGHUWKH

     VKDUHGVHUYLFHVDJUHHPHQWWRGRWKDWWKHQGR\RXKDYHD

     GLIIHUHQWDQVZHU"

     $    ,PHDQ

     4    ,PHDQ+LJKODQGPLJKWORVHRUPLOOLRQD\HDUEXW

     ZKDWZRXOGEHWKHDSSURSULDWHEXVLQHVVHWKLFVWKLQJWRGRLQ

     \RXUPLQG"

    $    /RRN,GRQ W,PHDQDJDLQ,JREDFNWRWKHUHZDV

    DQDXWRPDWLFVWD\SXWLQSODFH$QG,GRQ WNQRZZKDW

    FRXOG YHEHHQFKDQJHG

    4    6RZDV0U0RUULV VTXHVWLRQWR\RXDFDGHPLFEHFDXVH

    QRWKLQJFRXOGEHFKDQJHGDQ\ZD\"

    $    <HDK,PHDQWKDW VZKDWDJDLQWKDW VZKDWZH

    IRXQGRXWLQWKHVHGLVFXVVLRQVULJKWWKDWWKHUHZDVDQ

    DXWRPDWLFVWD\$QGVRDWWKDWSRLQWDJDLQ,GLGQ WZRUU\

    DERXWLW,FDQ WVSHDNIRU0U.ORVEXW\RXNQRZZH

    PRYHGRQWRRWKHUWKLQJV

    4    2ND\

                0558.$9,1$7KDQN\RX, OOSDVVWKHZLWQHVV

    <RXU+RQRU

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     EDQNUXSWF\ERXWLTXH"

     $    <HV<RXDOOGHDOZLWKEDQNUXSWFLHV

     4    'R\RXXQGHUVWDQGWKDWZH UHEDQNUXSWF\VSHFLDOLVWV

     ULJKW"

     $    <HV

     4    $QG\RXFRPPXQLFDWHGZLWKPHDQGP\FROOHDJXHVLQODWH

     DQGHDUO\DERXWDORWRIWKLQJVULJKW"

     $    <HV,WZDVSULPDULO\DURXQGZDVLWWKHILUVWGD\

    RUGD\RQHILOLQJV7KDWZDVSULPDULO\P\LQYROYHPHQWZLWK

    FRPPXQLFDWLQJZLWK\RXDOO

    4    ,VSHQWDORWRIWLPHZLWK\RX,GHIHQGHG\RXLQD

    GHSRVLWLRQWKDWZDVWDNHQE\WKH8&&DIWHUWKLVFDVHJRW

    WUDQVIHUUHGKHUHWR'DOODVULJKW"

    $    <HV

    4    $QG\RXQHYHUDVNHGPHRUDQ\RIP\FROOHDJXHVLIWKH

    DXWRPDWLFVWD\ZRXOGVRPHKRZSUHYHQWWKHUHGUHVVRIWKHVH

    RYHUSD\PHQWVULJKW"

    $    ,GLGQRW

    4    <RXXQGHUVWDQGWKDWQHLWKHU0U(OOLQJWRQQRU0U

    /HYLWRQDUHEDQNUXSWF\ODZ\HUVULJKW"

    $    7KH\DUHQ WEDQNUXSWF\ODZ\HUVEXWWKH\ZHUHWDONLQJ

    DJDLQWKH\KDG0U(OOLQJWRQDQG0U/HYLWRQZHUH

    WDONLQJWR0U3RPHUDQW]DQGRWKHUVRQDURXWLQHEDVLV%XW

    DJDLQ, OOJREDFNWRZKHQ,ZDVLQIRUPHGE\0U&DUXVR

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                 $FRUQ7UDQVFULSWV//&ZZZDFRUQIODFRP

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     WKDWZHZHUHLQDVWD\WKHFRXQVHO,WDONHGWRLQKRXVHLI

     ,UHPHPEHUULJKWKLUHG3DFKXOVNLULJKWDQGUHFRPPHQGHG

     3DFKXOVNL6R,KDGQRUHDVRQQRWWREHOLHYH0U(OOLQJWRQ

     RU0U/HYLWRQ

     4    2ND\/DVWTXHVWLRQRQWKHWRSLF-XVWWREHFOHDU

     $WQRWLPHGLG\RXDVNDQ\EDQNUXSWF\ODZ\HUWKDWZDV

     UHWDLQHGE\\RXUHPSOR\HUDERXWWKHDXWRPDWLFVWD\LQWKH

     FRQWH[WRIWKHVHRYHUSD\PHQWVFRUUHFW"

     $    ,GLGQRW

    4    2ND\7KDQN\RX0U5XNDYLQDDVNHG\RXDEXQFKRI

    TXHVWLRQVDERXWVKDUHGVHUYLFHVDQGZKRZDVUHVSRQVLEOHIRU

    FHUWDLQVHUYLFHV'R\RXUHPHPEHUWKDW"

    $    <HV

    4    2ND\<RXDUHQRWDZDUHRIDQ\VSHFLILFVHUYLFHXQGHU

    WKHVKDUHGVHUYLFHVDJUHHPHQWWKDW+LJKODQGIDLOHGWR

    SURYLGHDWDQ\WLPHIURPWKHSHWLWLRQGDWHXQWLOWKH

    DJUHHPHQWVZHUHWHUPLQDWHGLQHDUO\FRUUHFW"

    $    <HDK, PQRWDZDUH

    4    2ND\<RXQHYHUKDGDQ\FRQYHUVDWLRQZLWKDQ\ERG\DW

    DQ\WLPHDERXW+LJKODQG VIDLOXUHRUDOOHJHGIDLOXUHWR

    SURYLGHDQ\VHUYLFHVXQGHUWKHVKDUHGVHUYLFHVDJUHHPHQWDW

    DQ\WLPHIURPWKHSHWLWLRQGDWHXQWLOWKH\ZHUHWHUPLQDWHG

    LQHDUO\FRUUHFW"

    $    <HDK, PQRWDZDUH

    4    2ND\7KHLVVXHRIRYHUSD\PHQWVLW VSUHWW\VLPSOH

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     3:22-cv-02170-S Document
                     Document 2-13
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     ULJKW"7KHUH VRQO\WZRSLHFHVRILQIRUPDWLRQWKDWRQH

     QHHGVWRNQRZLIWKHDGYLVRUVDUHSD\LQJIRUHPSOR\HHVZKR

     DUHQRORQJHUHPSOR\HGULJKW"

     $    ,PHDQVRLI\RXEUHDNGRZQHYHU\DJUHHPHQWWKH

     SD\UROOUHLPEXUVHPHQWDJUHHPHQW\RXQHHGWRNQRZZKDWFRVWV

     ZHUHLQFXUUHGE\+LJKODQGDQGWKHQDQ\WKHWLPH

     DOORFDWLRQWKDWZDVLQWKH([KLELW$$QGLI,UHPHPEHU

     FRUUHFWO\IURPRXUGHSRVLWLRQIRURQHRIWKH+&0)$RULWZDV

     WKH+&0)$VKDUHGVHUYLFHDJUHHPHQWWKHUHZDVDFDOFXODWLRQ

    GRQHZLWKDPDUNXSWKDW\RXZDONHGPHWKURXJK6RWKHUH V

    PRUHWRWKDWFDOFXODWLRQ

    4    $OOULJKW0D\EH, PEHLQJWRRVLPSOLVWLF2QHRIWKH

    WKLQJV\RXKDYHWRNQRZLVKRZPXFKPRQH\ZDVSDLG,I\RX

    ZDQWWRNQRZLIWKHUHZDVDQRYHUSD\PHQW\RXKDYHWRNQRZ

    KRZPXFKPRQH\ZDVSDLGFRUUHFW"

    $    <HV

    4    2ND\$QGLI\RXMXVWZDQWWRNQRZLIWKHDGYLVRUV

    ZHUHSD\LQJIRUGXDOHPSOR\HHVZKRKDGEHHQWHUPLQDWHGDOO

    \RXKDYHWRGRLVNQRZZKLFKHPSOR\HHVZHUHWHUPLQDWHG

    ULJKWDQGWKHQ\RXFRXOGEDFNRXWWKHLUFRPSHQVDWLRQIURP

    WKHDQDO\VLV"

    $    , PVRUU\, PWU\LQJWRIROORZ\RXUTXHVWLRQ<RX UH

    VD\LQJWKHDGYLVRUVDUHPDNLQJSD\PHQWVULJKWRQDPRQWKO\

    EDVLV$QG\RX UHVD\LQJWKHUHDUHLI\RXZDQWWRVHHLI

    WKH\RYHUSDLG,PHDQ\RXKDYHWRORRNDWWKHFRVWVWKDW

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Case 21-03010-sgj Doc 113 Filed 04/15/22 Entered 04/15/22 11:33:11 Desc Main
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     3:22-cv-02170-S Document
                     Document 2-13
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     SHULRG

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     JRLQJWRSD\IRUGXDOHPSOR\HHVZKRKDYHEHHQWHUPLQDWHG

     ULJKW",VQ WWKDWSDUWRIZK\\RXWKLQNWKHUHZDVDQ

     RYHUSD\PHQWEHFDXVHWKHDGYLVRUVZHUHSD\LQJIRUGXDO

     HPSOR\HHVZKRZHUHWHUPLQDWHG",VQ WWKDWWKHEXONRIWKLV

     DQDO\VLVLIQRWWKHHQWLUHW\"

     $    <HV$QGDWLPHDOORFDWLRQDVZHOO

    4    2ND\%XWLIWKH\KDGEHHQWHUPLQDWHGWKHWLPH

    DOORFDWLRQLVLUUHOHYDQWULJKW"

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    WKHUHZDVDQRYHUSD\PHQWLIWKHDGYLVRUVKDGEHHQSD\LQJIRU

    WKHVHWHUPLQDWHGHPSOR\HHVULJKW"

    $    &RUUHFW

    4    2ND\&DQ\RXWKLQNRIRQHVLQJOHSD\PHQWWKDWZDV

    PDGHDIWHUWKHSHWLWLRQGDWHRQDFFRXQWRIDQ\RIWKH

    LQWHUFRPSDQ\DJUHHPHQWVWKDWWKHDGYLVRUVKDGZLWK+LJKODQG

    WKDW\RXTXHVWLRQHG":KHUH\RXTXHVWLRQHGWKHH[HFXWLRQRI

    WKHSD\PHQW:KHUH\RXVDLGWKDWSD\PHQWVKRXOGQ WKDYH

    EHHQPDGHRUWKDWSD\PHQWZDVPDGHIRUWRRPXFK

    $    1REHFDXVHZHZHUHLQDQDXWRPDWLFVWD\

    4    2ND\'LG\RX,PD\KDYHPLVKHDUG\RX'LG\RX

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Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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     WHVWLI\DPRPHQWDJRWKDW\RXDFWXDOO\GLVFXVVHGWKHLVVXH

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     $    ,GRQ WWKLQN,VDLGWKDW,PHDQ,

     4    6ROHWPHDVN\RXWKHTXHVWLRQ'LG\RXGLVFXVVWKH

     LVVXHRIRYHUSD\PHQWVZLWK0U'RQGHURDWDQ\WLPHLQWKH

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     $    <HV,PHDQ0U'RQGHURZKHQKHZHWDONHGHDUOLHU

     ZLWKZKDW,WDONHGZLWK0U5XNDYLQD0U'RQGHURLQVWUXFWHG

     PHWRQRWPDNHDQ\DGGLWLRQDOSD\PHQWVIURPWKHDGYLVRUVWR

    +LJKODQG,QWKDWFRQYHUVDWLRQKHVDLGWKHUHZHUH

    RYHUSD\PHQWVWKDWKDGEHHQPDGH

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    WKDW"

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    4    $QG\RXWHVWLILHGWKDWWKDWZRXOGQ WLQIOXHQFH\RXLQ

    DQ\ZD\EHFDXVHLWGLGQ WUHDOO\PDWWHUWRVRPHERG\ZKR

    RIDPDQRIPHDQVOLNH\RXUVHOI"

    $    <HV

    4    'LG\RXUHFHLYHDQ\RWKHUSD\PHQWVIURPDQ\RWKHU

    HQWLWLHVWKDWDUHRZQHGLQGLUHFWO\RUGLUHFWO\E\0U

    'RQGHURRU0U(OOLQJWRQLQ"

    $    <HV

    4    +RZPXFKPRUHPRQH\GLG\RXUHFHLYHIURPWKHP"

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     3:22-cv-02170-S Document
                     Document 2-13
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     4    :DVLWPRUHWKDQDKDOIDPLOOLRQGROODUVLQWRWDO"

     $    <HV

     4    2ND\,VWKDWDQDPRXQWRIPRQH\WKDWFDXVHV\RXWR

     WKLQNDERXWZKDW\RX UHGRLQJ"

     $    1R

                 050255,6,KDYHQRIXUWKHUTXHVWLRQV<RXU

     +RQRU

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                 0558.$9,1$2QHPRPHQW<RXU+RQRU

      3DXVH 

                0558.$9,1$,KDYHQRIXUWKHUTXHVWLRQV<RXU

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                7+(&2857$OOULJKW<RXDUHH[FXVHG0U

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                7+(&2857$OOULJKW:HOOZH UHJRLQJWRVWRS

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    ILQLVKWRPRUURZ"

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    ,PLJKWPRYHIRUDGLUHFWHGYHUGLFW%XWLIQRWLI,

    GHFLGHQRWWRGRWKDW,VWLOOUHPDLQRSWLPLVWLFWKDWZH OO

    ILQLVKWRPRUURZ7KDWLVGHILQLWHO\P\JRDO

                7+(&28572ND\$UH\RXRSWLPLVWLF0U

    5XNDYLQD"

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Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-13
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                         Document  Filed01/12/23
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     GLUHFWHGYHUGLFW7KDW VWKHILUVW, YHKHDUGRIWKDW$QG

     ,ZRXOGQRWHWKDWEHFDXVHZH UHJRLQJRXWRIVHTXHQFHLW

     ZRXOGEHDOLWWOHELWXQIDLU

                %XWSURYLGHGWKDWWKDWGRHVQ WKDSSHQWKHQ\HV

     ZH OOEHILQLVKHGZLWKWKHZLWQHVVHVDQGFORVLQJDUJXPHQWV

     WRPRUURZ

                7+(&28572ND\$OOULJKW:HOOZH OOJR

     DKHDGDQGVWDUWDWLQWKHPRUQLQJ$QG, OOOHW\RX

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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
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                                        01/12/23
                                            1 of 84Page 541 of 888 PageID 3845
                               HCM V. HCMFA, et al.                              1


    1                IN THE UNITED STATES BANKRUPTCY COURT

    2                  FOR THE NORTHERN DISTRICT OF TEXAS

    3                              DALLAS DIVISION

    4
        IN RE
    5
        HIGHLAND CAPITAL MANAGEMENT, L.P.  §
    6                                      §            CASE NO. 19-340540SGJ11
                                           §            DALLAS, TEXAS
    7                    Debtor            §            WEDNESDAY, APRIL 13, 2022
                                           §            9:39 A.M.- 11:17 A.M.
    8   HIGHLAND CAPITAL MANAGEMENT, L.P., §
                         Plaintiff,        §
    9   vs.                                §            ADVERSARY PROCEEDING
                                           §            NO. 21-03010-SGJ
  10    HIGHLAND CAPITAL MANAGEMENT FUND   §
        ADVISORS, L.P., et al.             §
  11                     Defendants.       §

  12
                                   TRIAL - DAY TWO
  13
                    BEFORE THE HONORABLE STACEY G. JERNIGAN
  14                     UNITED STATES BANKRUPTCY JUDGE

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Case 3:22-cv-02170-S Document
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                                        01/12/23
                                            2 of 84Page 542 of 888 PageID 3846
                               HCM V. HCMFA, et al.                              2


    1                               APPEARANCES:

    2
        FOR HIGHLAND CAPITAL MANAGEMENT,         JOHN A. MORRIS, ESQ.
    3   LP                                       HAYLEY R. WINOGRAD, ESQ.
                                                 PACHULSKI STANG ZIEHL &
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    5                                            13TH FLOOR
                                                 LOS ANGELES, CA 900067
    6

    7

    8   FOR HIGHLAND CAPITAL MANAGEMENT          DAVOR RUKAVINA, ESQ.
         FUND ADVISORS, L.P.                     THOMAS D. BERGHMAN, ESQ.
    9                                            MUNSCH, HARDT, KOPF & HARR
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                                                 DALLAS, TX 75201
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                                        01/12/23
                                            3 of 84Page 543 of 888 PageID 3847
                                 HCM V. HCMFA, et al.                              3


    1        DALLAS, TEXAS; WEDNESDAY, APRIL 13, 2022; 9:39 A.M.

    2               THE MARSHAL:     All rise.

    3        (Call to Court)

    4               THE COURT:     Good morning, please be seated.           All

    5   right.    We're back for day two of our trial in Highland

    6   Capital Management versus the advisors, Highland Capital

    7   Management Fund Advisors and NexPoint Advisors.

    8               All right.     We have everyone here we need.            We got

    9   plaintiff -- well, debtor's counsel and the advisor's

  10    counsel.    All right.     Do you have something to present,

  11    counsel?

  12                MS. WINOGRAD:     Good morning, Your Honor, Highland

  13    is calling the retail board.

  14                THE COURT:     Okay.

  15                MS. WINOGRAD:     And the representative Ethan Powell

  16    hasn't yet arrived.

  17                THE COURT:     Okay.

  18                MR. RUKAVINA:     He's right here.

  19                UNIDENTIFIED:     He's right here.

  20                MS. WINOGRAD:     Oh, I'm sorry about that.        Okay.

  21                THE COURT:     Okay.    Is that our first --

  22                MS. WINOGRAD:     Yes.

  23                THE COURT:     -- witness today?

  24                MS. WINOGRAD:     Highland would like to call Ethan

  25    Powell please.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
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                                        01/12/23
                                            4 of 84Page 544 of 888 PageID 3848
                                     HCM V. HCMFA, et al.                               4


    1                   THE COURT:     Okay.    Tell me the name again.

    2                   MS. WINOGRAD:     Ethan Powell.

    3                   THE COURT:     Ethan Powell.     Okay.      Welcome.       If you

    4   could approach our witness box.              That box right there, if

    5   you'll -- I'll swear you in before you take a seat.                    Please

    6   raise --

    7                   MR. POWELL:     Okay.    So --

    8                   THE COURT:     If you could stand and I'll swear you

    9   in first.

  10                    MR. POWELL:     Oh, sorry.

  11                          ETHAN POWELL, WITNESS, SWORN

  12                    THE COURT:     All right.     Now you may be seated.

  13                    THE WITNESS:     Thanks.

  14                                  DIRECT EXAMINATION

  15    BY MS. WINOGRAD:

  16    Q       Good morning, Mr. Powell.

  17    A       Good morning.

  18    Q       My name is Hayley Winograd, I'll be asking you some

  19    questions over the next few minutes.                  Thank you for being

  20    here.

  21    A       Okay.    Of course.

  22    Q       You're a member of the board of trustees or the board

  23    of directors of certain retail funds, correct?

  24    A       I am, yes.

  25    Q       Can I refer to these retail funds as the funds?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
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                              6-1 FiledPage
                                        01/12/23
                                            5 of 84Page 545 of 888 PageID 3849
                               HCM V. HCMFA, et al.                              5


    1   A    You may.

    2   Q    Are you familiar with an entity called Highland Capital

    3   Management Fund Advisors LP?

    4   A    I am.

    5   Q    Can I refer to them as HCMFA?

    6   A    You may.

    7   Q    And are you familiar with an entity called NexPoint

    8   Advisors LP?

    9   A    I am.

  10    Q    Can I refer to them as NexPoint?

  11    A    You may.

  12    Q    And can I refer to them collectively as the advisors?

  13    A    Sure.

  14    Q    These two entities -- the funds are managed by the

  15    advisors, correct?

  16    A    Correct.

  17    Q    And I want to talk a little bit about the relationship

  18    between the regional funds and the advisors.          The funds

  19    entered into certain investment advisory agreements with

  20    each of the advisors, correct?

  21    A    Correct.

  22    Q    And pursuant to those advisory agreements, the advisors

  23    provide advisory services to the funds, correct?

  24    A    Correct.

  25    Q    And the regional board was aware that Highland filed




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                          Document
                              6-1 FiledPage
                                        01/12/23
                                            6 of 84Page 546 of 888 PageID 3850
                                  HCM V. HCMFA, et al.                           6


    1   for bankruptcy in October 19th of 2019, correct?

    2   A    Yep.

    3   Q    And the retail board is aware that Highland provided

    4   certain shared services to the advisors, correct?

    5   A    Correct.

    6   Q    And Highland provided these services pursuant to

    7   various shared services agreements, correct?

    8   A    Correct.

    9   Q    And the retail board was aware that these shared

  10    service contracts enabled the advisors to satisfy their

  11    obligations under the investment advisory contracts,

  12    correct?

  13    A    Correct.

  14    Q    And the retail board was aware that at some point in

  15    February of 2021 the shared services agreements between

  16    Highland and the advisors were terminated, correct?

  17                 MR. RUKAVINA:     Your Honor, at this time I will

  18    object.     We're past the preliminaries, counsel is leading,

  19    this is not a hostile witness or a party opponent, so I

  20    object on leading.

  21                 THE COURT:     Sustained.

  22                 MS. WINOGRAD:     Okay.

  23    BY MS. WINOGRAD:

  24    Q    Can I refer to the period between Highland's bankruptcy

  25    filing and the termination of the shared services agreement




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                          Document
                              6-1 FiledPage
                                        01/12/23
                                            7 of 84Page 547 of 888 PageID 3851
                               HCM V. HCMFA, et al.                              7


    1   as the relevant period?

    2   A    You may.

    3   Q    Okay.    And during the relevant period, did the retail

    4   board regularly hold meetings?

    5   A    We did.

    6   Q    Did the retail board keep minutes of its meetings?

    7   A    We do.

    8   Q    And did those minutes generally reflect the

    9   conversations that were had at those meetings?

  10    A    Correct.

  11    Q    And one of -- did -- was one of the topics that was

  12    covered at those board meetings Highland's performance under

  13    the shared services arrangements?

  14    A    Collectively with the advisors, yes.

  15    Q    Okay.    And do the board minutes reflect all material

  16    communications between the retail board members concerning

  17    Highland's performance under these shared services

  18    arrangements?

  19    A    It represents the conclusions reached.

  20    Q    Okay.    Can you think of any material communications

  21    that weren't represented in those meetings?

  22    A    Well, the meeting minutes are --

  23    Q    In the meeting -- in the minutes, I'm sorry.

  24    A    Yeah, the meeting minutes themselves aren't intended to

  25    be a transcript.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
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                              6-1 FiledPage
                                        01/12/23
                                            8 of 84Page 548 of 888 PageID 3852
                               HCM V. HCMFA, et al.                              8


    1   Q    Uh-huh.

    2   A    And our meetings sadly can go very, very long.            So

    3   oftentimes there will be material considerations that are

    4   presented that aren't necessarily documented in the meeting

    5   minutes, but the conclusions reached are.

    6   Q    Okay.    During the relevant period, did the retail board

    7   ever allege that either of the advisors ever breached any of

    8   their obligations owed to the funds under the investment

    9   advisory agreements?

  10    A    Can you repeat that question?

  11    Q    During the relevant period, did the retail board ever

  12    allege that either of the advisors breached their

  13    obligations under the investment advisory agreements?

  14    A    No, we did not.

  15    Q    Did the retail board ever notify the advisors of any

  16    breach of their obligations under the investment advisory

  17    agreements?

  18    A    No.

  19    Q    From the retail board's perspective, were the advisors

  20    fully able to perform their obligations under the investment

  21    advisory agreements?

  22    A    Yes.

  23    Q    Do the board meetings substantively reflect the

  24    communications between the board members and the advisors

  25    concerning Highland's performance under these shared




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                          Document
                              6-1 FiledPage
                                        01/12/23
                                            9 of 84Page 549 of 888 PageID 3853
                               HCM V. HCMFA, et al.                              9


    1   services arrangements?

    2   A    Our assessment was never Highland versus the advisors,

    3   it was always collectively.       And we were always given

    4   assurances that collectively they could fulfill the

    5   obligations.

    6   Q    Do the board minutes materially reflect the

    7   communications between the board members and the advisors

    8   concerning the advisors' performance under the investment

    9   advisory agreements?

  10    A    They do.

  11    Q    Now, I want to talk to you a little bit about the board

  12    meetings and the minutes, and specifically the process that

  13    went into them.

  14    A    Uh-huh.

  15    Q    Was there a process in place to prepare and finalize

  16    the board minutes?

  17    A    There is.

  18    Q    And as part of this process, did the funds

  19    administrator FTI send the draft minutes to certain

  20    individuals and entities for review?

  21    A    They do.

  22    Q    Did one of these entities include the funds counsel?

  23    A    It did.

  24    Q    And did one of these entities also include the

  25    advisors?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            10 of 84
                                                   Page 550 of 888 PageID 3854
                              HCM V. HCMFA, et al.                            10


    1   A    Yes.

    2   Q    Was this to give the advisors the opportunity to review

    3   the minutes before they were finalized?

    4   A    Yes.

    5   Q    And it was the -- was it the secretary of the advisors

    6   who reviewed the board minutes on behalf of the advisors?

    7   A    I'm not sure.

    8   Q    Okay.

    9   A    But that would be typical.

  10    Q    Okay.

  11    A    Yeah.

  12    Q    Was that person, to the best of your recollection,

  13    Lauren Bedford?

  14    A    She was the secretary during the period.

  15    Q    Did the -- did SCI send the draft board minutes to the

  16    advisors to give the advisors the opportunity to provide

  17    feedback on those minutes?

  18    A    They did.

  19    Q    Did they specifically do this so that the advisors

  20    could confirm the accuracy of those minutes?

  21    A    They did.

  22    Q    Was this process for finalizing the board minutes

  23    generally the same throughout the relevant period?

  24    A    It was.

  25    Q    I'm going to ask you now about the advisors'




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            11 of 84
                                                   Page 551 of 888 PageID 3855
                              HCM V. HCMFA, et al.                            11


    1   representations to the retail board about Highland's

    2   performance under the shared services arrangements.

    3        Did the advisors provide regular updates to the retail

    4   board concerning the quality and continuity of the services

    5   provided to the advisors pursuant to these shared services

    6   arrangements?

    7   A    Collectively with the advisors, yes, but individually

    8   as HCMLP service provider, no.

    9   Q    I'm going to turn your attention to some documents that

  10    I'll be referring to for a few minutes and those documents

  11    are located in the binders as exhibits in front of you in

  12    Volume 1 and 2.     So I might ask you to open one.

  13         Can you please turn to Exhibit 58?

  14    A    So that would be binder --

  15    Q    That would be Volume 2 I believe.

  16    A    Volume 2, all right.        58.   I should have brought my

  17    glasses.   Okay.

  18    Q    Are these the June 18th to 19th of 2020 board minutes?

  19    A    They appear to be.

  20    Q    Okay.   Can you please turn to page 20?

  21    A    Page 20.      Okay.

  22    Q    Do you see there in a June 2020 board meeting Mr. Klos,

  23    the advisors' chief compliance officer represented to the

  24    board that the advisors were monitoring the level and

  25    quality of the shared services being provided by Highland?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            12 of 84
                                                   Page 552 of 888 PageID 3856
                              HCM V. HCMFA, et al.                            12


    1   A    Give me one second, I'm not finished reading.

    2   Q    Uh-huh.

    3   A    Yep, I see that.

    4   Q    Did the board rely on the advisors to monitor the

    5   quality of those shared services?

    6   A    We did.

    7   Q    Does the retail board conduct an annual 15-C review

    8   process?

    9   A    We do.

  10    Q    Is this the process whereby the retail board decides

  11    whether or not to extend its --

  12                 MR. RUKAVINA:   Objection, Your Honor, leading.

  13    The proper question is what is that process.

  14                 THE COURT:   Sustained.

  15    BY MS. WINOGRAD:

  16    Q    What's the process whereby the regional board decides

  17    whether or not to extend its investment advisory agreements?

  18    A    It's very long and arduous process, I don't think we

  19    want to get into the details here but --

  20    Q    But is that called the 15-C process?

  21    A    It is the 15-C, yes, that's right.

  22    Q    Okay.    Can you please turn to Exhibit 59?

  23    A    Okay.

  24    Q    Are these the August 13th of 2020 board minutes?

  25    A    They appear to be.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            13 of 84
                                                   Page 553 of 888 PageID 3857
                              HCM V. HCMFA, et al.                            13


    1   Q       Can you turn to page 6 please?       Do you see that Mr.

    2   Norris, the executive vice-president of the advisors, quote,

    3   “provided an overview of the 15-C review materials and

    4   process and discussed the expected timeline with respect to

    5   board consideration of approval of the renewals?”             He noted

    6   that there had been no issue or disruption in services as a

    7   result of the HCMLP bankruptcy matter.            Do you see that?

    8   A       I do.

    9   Q       Did the retail board rely on this statement?

  10    A       We would have.

  11    Q       Did the retail board expect that the statement was made

  12    on an informed basis?

  13    A       We would have.

  14    Q       Can you please now turn to Exhibit 60?         Do you see that

  15    these are the board minutes from September 17th and 18th of

  16    2020?

  17    A       I do.

  18    Q       Can you please turn to the bottom of page 12, which --

  19    and going on to the rest of 13.          In September of 2020, Mr.

  20    Surgent, the chief compliance officer of the advisors

  21    assured the retail board that it -- that in response to

  22    certain 15-C follow-up questions that at that time, quote,

  23    “it was business as usual with respect to the services

  24    provided to the funds and that the board would be notified

  25    immediately of any developments.”          Do you see that?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            14 of 84
                                                   Page 554 of 888 PageID 3858
                              HCM V. HCMFA, et al.                            14


    1   A    Give me one second, finish reading.

    2        I do see it.

    3   Q    Okay.   As part of the 15-C review process, was the

    4   retail board also required to assess the financial

    5   wherewithal of the advisors?

    6   A    We were.

    7   Q    Can you please turn to Exhibit 22?

    8   A    22, so that's Volume 1?

    9   Q    Yeah.

  10    A    Okay.   I'm there.

  11    Q    Do you see that these are the advisors October 23rd of

  12    2020 responses to questions raised by the retail board to

  13    the advisors in connection with the 15-C review process?

  14    A    I do.

  15    Q    If you could turn your attention to question 2, please.

  16    Do you see that the regional board asked the advisors

  17    whether there were any amounts payable or due to Highland

  18    from either of the advisors?

  19    A    I see that.

  20    Q    Do you see that the advisors represented in their

  21    response to the regional board that as of the date of that

  22    letter, all amounts owed by each of NexPoint and HCMFA

  23    pursuant to the shared services arrangement with HCMLP have

  24    been paid as of that date?

  25    A    I do see that.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            15 of 84
                                                   Page 555 of 888 PageID 3859
                              HCM V. HCMFA, et al.                            15


    1   Q    Did the retail board rely on the accuracy of this

    2   statement in making its decision as to whether or not to

    3   extend the advisory agreements?

    4   A    We would have.

    5   Q    And did the retail board assume that that statement was

    6   true and accurate?

    7   A    We would have.

    8   Q    Did the retail board assume that the statement was

    9   based on the advisor's due diligence and actual knowledge?

  10    A    Correct.

  11    Q    Can you please turn to Exhibit 62?

  12    A    Yes.     Okay.

  13    Q    These are the October 28th of 2020 board minutes.               Do

  14    you see that?

  15    A    I do.

  16    Q    Directing your attention to page 3 about halfway

  17    through the second paragraph, do you see that the advisors

  18    represented to the board at the end of October of 2020 that

  19    quote, the quality and level of services provided to the

  20    funds by the advisors and pursuant to the shared services

  21    arrangements have not been negatively impacted to date?

  22    A    Oh, boy, I'm going to have to find that.            Give me one

  23    second.

  24    (Pause)

  25    Q    Uh-huh.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            16 of 84
                                                   Page 556 of 888 PageID 3860
                              HCM V. HCMFA, et al.                            16


    1   A    You said halfway through?

    2   Q    It's about halfway through the second big paragraph.

    3   A    Oh, the second paragraph --

    4   Q    Uh-huh.

    5   A    -- okay, I got you.         Okay.   I see it.

    6   Q    Did the retail board assume that this representation as

    7   made on an informed basis?

    8   A    We would have, yes.

    9   Q    Did the retail board rely on this representation in

  10    deciding whether to extend its advisory contracts?

  11    A    Among other things, but yes.

  12    Q    Was one of the retail board's concerns during the

  13    relevant period related to the continuation of material

  14    services to the funds?

  15    A    Correct.

  16    Q    Was one of the assurances the retail board had been

  17    asking for related to the sufficient employees at Highland,

  18    whether there was a sufficient amount of employees at

  19    Highland to be able to provide services that the advisors

  20    needed in order to fulfill its obligations under the

  21    investment advisory contracts?

  22    A    It would have been at the advisors and Highland.

  23    Q    Uh-huh.    Can you please turn to Exhibit 64?          This is

  24    December of 2020 minutes, correct?

  25    A    Yep.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            17 of 84
                                                   Page 557 of 888 PageID 3861
                              HCM V. HCMFA, et al.                            17


    1   Q       If you could turn to page 7 at the very bottom.              Do you

    2   see there that the advisors assured the retail board that

    3   there was sufficient personnel to continue the shared

    4   services to the regional funds?

    5   A       I see that.

    6                MS. WINOGRAD:     Your Honor, can I confer with

    7   counsel for a minute?

    8                THE COURT:    Sure.

    9           (Pause)

  10                 MS. WINOGRAD:     That's all I have.      Thank you very

  11    much.

  12                 THE COURT:    Okay.

  13                 THE WITNESS:     Thank you.

  14                 THE COURT:    Pass the witness.      Wait.    I can tell

  15    you don't do this very often, right?

  16                 THE WITNESS:     I try not to to the extent possible.

  17                 THE COURT:    All right.     Mr. Rukavina, you have

  18    questions?

  19                 MR. RUKAVINA:     Yes, I do, Your Honor.

  20                               CROSS-EXAMINATION

  21    BY MR. RUKAVINA:

  22    Q       Mr. Paul, good morning.

  23    A       Good morning.

  24    Q       Just to confirm, you're on the board of those retail

  25    funds, right?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            18 of 84
                                                   Page 558 of 888 PageID 3862
                              HCM V. HCMFA, et al.                            18


    1   A    Correct.

    2   Q    Okay.     And would Mr. Seery sometimes participate in

    3   these board meetings during the period that counsel has

    4   called the relevant period?

    5   A    He would.

    6   Q    Do you have an understanding as to why Mr. Seery would

    7   participate?

    8   A    I do.

    9   Q    What's your understanding?

  10    A    To provide updates on the HMLP bankruptcy/implications

  11    to HCMLP's services provided under the services agreement.

  12    Q    And what did you understand generally to be the

  13    services that HCMLP was provided to the advisors under the

  14    shared services agreements?

  15    A    Primarily back-office accounting, finance, HR, IT,

  16    support services.

  17    Q    Was that of relevance to the funds?

  18    A    It would have been, yeah.

  19    Q    Why?

  20    A    So our primary focus is the nature and quality of

  21    services being provided to the investors, particularly as it

  22    relates to investment selection monitoring of the funds and

  23    ensuring that the financial outcomes to our investors are

  24    maximized.

  25         There are lots of service providers involved and it's




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            19 of 84
                                                   Page 559 of 888 PageID 3863
                              HCM V. HCMFA, et al.                            19


    1   our job to assess each service provider's role and whether

    2   or not they are fulfilling their role within the context of

    3   an agreement we have with them, we being the investors in

    4   our funds.

    5        So we have separate administration agreements with SCI

    6   for example.    They actually do fund accounting.         Our

    7   advisory contract with the advisor, their primary role is

    8   investment selection.      They need support staff in order to

    9   help facilitate that.      So we really looked to the advisor to

  10    assess what they needed and whether or not they were getting

  11    from HCMLP all of the, you know, various back office and

  12    mid-office support services that they needed to order to

  13    perform their primary function.

  14    Q    So we'll break that down just a little bit.           So first

  15    of all, let's give the judge an order -- an idea of the

  16    order of magnitude of the assets under management that the

  17    funds have that the advisors are advising for --

  18    A    For these?

  19    Q    Yes.

  20    A    3 billion we'll call it.

  21    Q    How much?

  22    A    3 billion.

  23    Q    3 billion with a B?

  24    A    Uh-huh.

  25    Q    And you mentioned back-office services, you described




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            20 of 84
                                                   Page 560 of 888 PageID 3864
                              HCM V. HCMFA, et al.                            20


    1   those -- you mentioned mid-office services, can you give a

    2   generalized description of your understanding of middle

    3   office service?

    4   A    Sure.    Middle office would be trade settlement, trade

    5   reconciliation, performing some of the fund analysis and

    6   portfolio compensation analysis.        Back office would be more

    7   accounting and audit support services.

    8   Q    Have you also heard of the phrase front office

    9   services?

  10    A    I have.

  11    Q    What's your understanding of that phrase?

  12    A    Front office is the primary investment selection and

  13    monitoring decisions.

  14    Q    And I think you mentioned that's what the advisors did.

  15    A    Yes, correct.

  16    Q    Okay.    Did you understand that that -- did you

  17    understand that shared services, those contracts did not

  18    include front office services?

  19    A    I did.

  20    Q    Okay.    Have you heard of payroll reimbursement

  21    agreements between the advisors and Highland?

  22    A    I believe so, yes.

  23    Q    And we'll go through those in some details.           Are these

  24    board meetings that counsel took you through, who actually

  25    prepared those meetings?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            21 of 84
                                                   Page 561 of 888 PageID 3865
                              HCM V. HCMFA, et al.                            21


    1   A      That would be SCI's regulatory administration group.

    2   Q      Okay.    Did Ms. Bedford have a -- I can't pronounce her

    3   name I apologize, I'm a foreigner, did Ms. Fedford have a

    4   role in that?

    5   A      You did a good job on that.       She would have, yeah.

    6   Q      Okay.    Was she primarily the one that put it together?

    7   A      She would have been the primary review party from the

    8   advisors.

    9   Q      Do you have an understanding with whose employee she

  10    was?

  11    A      She was I believe HCMLPs, but it's also important to

  12    note that lots of people had multiple hats and were employed

  13    by multiple different entities.

  14    Q      And you mentioned multiple times or at least twice when

  15    counsel was asking you about services being provided by

  16    HCMLP, which we also call the debtor here, which is why.

  17    A      Uh-huh.

  18    Q      And you mentioned that what was interest -- of interest

  19    to you was the services being provided by both the advisors

  20    and the debtors.      Do you remember testifying?

  21    A      Yes.

  22                   MS. WINOGRAD:   Objection, leading.

  23                   MR. RUKAVINA:   Well, I'm phrasing my next

  24    question.      I'm just phrasing -- it's a predicate to my next

  25    question.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            22 of 84
                                                   Page 562 of 888 PageID 3866
                              HCM V. HCMFA, et al.                            22


    1                THE COURT:    Overruled.

    2   BY MR. RUKAVINA:

    3   Q    What did you mean by that when you said that for both

    4   the advisors and HCMLP?

    5   A    So, yeah, our contract is primarily with the advisors

    6   period.     What they choose to do with what's called their

    7   bona fide profits, which is their management fee is really

    8   up to them, right.

    9        A lot of fund complexes don't have multiple advisory

  10    entities and it's just a single advisor without any sort of

  11    shared services arrangement in and amongst the various

  12    entities.

  13         So we really just looked at the advisor to make sure

  14    that first and foremost that the financial outcomes for our

  15    investors were what we set out to provide them, right, and

  16    that was front office.

  17         To the extent that the front office function was using

  18    HCMLP to support them it was somewhat ancillary because, you

  19    know, as long as they had what they needed to perform their

  20    job and the performance results were as intended, how they

  21    got there and how they used the management fee that the

  22    funds paid them was really up to them.

  23    Q    Did you have an understanding during what was described

  24    as the relevant period as to whether the advisors had their

  25    own employees?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            23 of 84
                                                   Page 563 of 888 PageID 3867
                              HCM V. HCMFA, et al.                            23


    1   A    Yes.

    2   Q    Okay.     What was your understanding as to the advisors’

    3   own employees?

    4   A    That the advisors' employees that were, you know, very

    5   experienced, capable financial professionals, capable of

    6   stepping in as needed in the event that there was any, you

    7   know, misstep from a shared services perspective.

    8   Q    And what was your understanding as to what services the

    9   advisors own employees were providing during the relevant

  10    period to the funds?

  11    A    In any --

  12    Q    You mentioned front office, middle office and back

  13    office.

  14    A    Right.

  15    Q    Can you kind of put them into one or more of those

  16    buckets?

  17    A    Oh, they were front office primarily, yeah.

  18    Q    And during this relevant period, were you concerned or

  19    to your knowledge was the board concerned about Highland

  20    employees leaving en masse?

  21    A    Yes.

  22    Q    Was that discussed internally?

  23    A    Yes.

  24    Q    Was that discussed with Mr. Seery?

  25    A    Yes, I imagine it was.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            24 of 84
                                                   Page 564 of 888 PageID 3868
                              HCM V. HCMFA, et al.                            24


    1   Q    What was the concern, why were -- why was the board

    2   concerned?

    3   A    Again, (indiscernible - 10:04:36) services you're

    4   talking about a pretty public bankruptcy, it's a competitive

    5   job market, you know, Highland has a pretty complex and

    6   nuanced investment philosophy and strategy.          So finding and

    7   retaining quality candidates in any one of those three

    8   buckets you outlined, you know, in that environment might be

    9   difficult.

  10    Q    And you also mentioned that these meetings were present

  11    the conclusions reached and you mentioned that the meeting

  12    sometimes took a long time.

  13    A    Correct.

  14    Q    Can you help us understand some more the relationship

  15    between the meetings and what was actually discussed during

  16    these sometimes lengthy meetings?

  17    A    As it relates to the meeting minutes or?

  18    Q    Yes, sir.

  19    A    Right.    So like I said the idea isn't that the meeting

  20    minutes aren't a transcript because that would be cumbersome

  21    and not productive.     You know, at least on a quarterly basis

  22    we would have two-day meetings.        We, during the period, had

  23    I don't even know how many meetings, but many, many

  24    meetings.

  25         And the idea of the meeting minutes was really to




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            25 of 84
                                                   Page 565 of 888 PageID 3869
                              HCM V. HCMFA, et al.                            25


    1   memorialize the conclusions reached, material questions

    2   asked and answered.     And any supporting documentation that

    3   may be relevant to reach those conclusions.

    4   Q    Could it be that things were discussed at those

    5   meetings that did not end up in the minutes?

    6   A    Yes, absolutely.

    7   Q    Do you recall whether there was ever discussed with the

    8   advisors that various employees at Highland pursuant to

    9   certain payroll reimbursement agreements were no longer

  10    there, were no longer providing services?

  11    A    At some point we did hear about that, yes.

  12    Q    And I asked you whether you'd heard of the payroll

  13    reimbursement agreements.

  14    A    Uh-huh.

  15    Q    What is your understanding of the payroll reimbursement

  16    agreements between the advisors and Highland?

  17    A    That part of the compensation under the shared services

  18    agreement was to share in some of the costs of the actual

  19    labor resources at HCMLP.

  20    Q    Did you understand the payroll reimbursement agreements

  21    were separate from the shared service agreements or did you

  22    just kind of think that they were one in the same?

  23    A    Yeah, they were one in the same as far as we were

  24    concerned.

  25    Q    What -- the concern to you was that you were getting




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            26 of 84
                                                   Page 566 of 888 PageID 3870
                              HCM V. HCMFA, et al.                            26


    1   the services that you needed and how they were contractually

    2   done didn't necessarily matter.

    3   A    That's right.     We did not dive into that and we did not

    4   dive into the bankruptcy.

    5   Q    Do you recall ever at these meetings specifically

    6   discussing the payroll reimbursement agreements themselves?

    7   A    Not in detail.

    8   Q    What is your best recollection about the discussion

    9   that you said you do remember at some point in time about

  10    Highland employees leaving and no longer being available to

  11    the advisors?    What do you remember?

  12    A    That there was some attrition and we really always come

  13    back to how is the attrition impacting our investors.              And,

  14    you know, some of the quotes in the meeting minutes include

  15    the assessment that, you know, as it relates to our

  16    investors, either HCMLP debtor employees were picking up or

  17    the advisors' employees were stepping in and performing

  18    services.

  19    Q    Did you have an understanding that the advisors

  20    actually hired a number of their own employees to provide

  21    front office service?

  22    A    Yes.

  23    Q    Okay.   Also briefly do you have an understanding --

  24    well, strike that.     I won't burden you with that.

  25         Let's go through some of these same exhibits, please,




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            27 of 84
                                                   Page 567 of 888 PageID 3871
                              HCM V. HCMFA, et al.                            27


    1   that counsel took you through.         Please start with Exhibit

    2   No. 57.

    3   A    57.

    4   Q    Yeah.

    5   A    Okay.

    6   Q    Okay.     So let's look at page 3 please, the bottom

    7   paragraph.     Are you there, sir?

    8   A    I am.

    9   Q    Okay.     Mr. Norris discussed the shared services

  10    arrangements that each advisor is a party to with HCMLP.

  11    Did I read that correctly?

  12    A    You did.

  13    Q    Okay.     Is there any mention of payroll reimbursement

  14    agreements there?

  15    A    There is not.

  16    Q    Okay.     And he concludes or he discusses further on that

  17    the advisors may use employees from HCMLP for the provision

  18    of various services such as human resources, accounting,

  19    valuation, information technology services, compliance and

  20    legal.     Did I read that correctly?

  21    A    You did.

  22    Q    Please put those services into one or more of your

  23    three buckets that you mentioned earlier.

  24    A    Okay.     All right.

  25         I'll go with human resources as back office, as with




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            28 of 84
                                                   Page 568 of 888 PageID 3872
                              HCM V. HCMFA, et al.                            28


    1   accounting, information technology services and compliance

    2   and legal.    Valuation would be more of a mid-office

    3   function.

    4   Q    None of those front office functions, are they?

    5   A    None of those are front office.

    6   Q    Okay.    And let's go to Exhibit 58, please.

    7   A    Okay.

    8   Q    And, sir, if you'll back to page 20, the same one that

    9   Ms. Winograd asked you about.

  10    A    Okay.

  11    Q    And it starts by Mr. Post also discussed the quality

  12    and continuity of services provided to the funds by HCMLP,

  13    pursuant to shared services agreements with the advisors.

  14    Did I read that correctly?

  15    A    You did.

  16    Q    Anything in there about payroll reimbursement

  17    agreements?

  18    A    There is not.

  19    Q    And Exhibit 59, we're going to burn through these.            I'm

  20    going to have the same question for every one.

  21    A    Okay.

  22    Q    Exhibit 59, page 6 please.        Okay.    Page 11 please.    The

  23    larger bottom paragraph it starts with Mr. Seery then

  24    pointed out to the board a potential conflict of interest.

  25    Do you recall what Mr. Seery was discussing?          Please read




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            29 of 84
                                                   Page 569 of 888 PageID 3873
                              HCM V. HCMFA, et al.                            29


    1   that to refresh your memory.

    2   A    Sure, yeah.

    3   Q    Do you have a memory of what was being discussed?

    4   A    I do.

    5   Q    What is it?

    6   A    We held a position in our funds that were also held as

    7   debtor collateral in the bankruptcy and we had collectively

    8   a large position and debtor was going to liquidate their

    9   position and was interested in us joining the liquidation

  10    and we were not.

  11    Q    So that's the complex that was created?

  12    A    Correct, yeah.

  13    Q    Do you know who Jason Post is?

  14    A    I do.

  15    Q    What was Jason Post's role during the relevant period

  16    vis-a-vis the funds?

  17    A    He was the chief compliance officer.

  18    Q    Okay.     Do you understand whether at some point in time

  19    Mr. Post left HCMLP to join the advisors?

  20    A    I do.

  21    Q    Okay.     Do you have an understanding as to why that

  22    happened?     Well, let me ask it this way.        Did it have

  23    anything to do with this conflict of interest?

  24    A    Not directly, but yeah, it was definitely a considering

  25    factor.




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                                                                     003088
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            30 of 84
                                                   Page 570 of 888 PageID 3874
                              HCM V. HCMFA, et al.                            30


    1   Q    This conflict of interest was identified, was it a

    2   concern that there might be future ones?

    3   A    Yep, yes.

    4   Q    So was Mr. Post's reason, to your understanding, for

    5   changing from HCMLP to the advisors to, in effect, remove

    6   these potential conflicts?

    7   A    That's right.

    8   Q    Do you have an understanding as to whether Mr. Seery

    9   approved Mr. Post leaving HCMLP to work for the advisors

  10    directly?

  11    A    I believe he did, yes.

  12    Q    If we continue with these exhibits, Mr. Powell, Exhibit

  13    60 please.    And it's going to page 7 and it's the big full

  14    paragraph, it's too long for me to read, but you see that it

  15    talks about Mr. Seery discussing the shared services

  16    agreements and services under the shared services

  17    agreements.    Do you see that, sir?

  18    A    Yes, I do.

  19    Q    Any mention in here of payroll reimbursement

  20    agreements?

  21    A    Oh, boy, give me a second.

  22         No.

  23    Q    Okay.    And if we go to -- your answer was no, correct?

  24    A    No, that's correct.

  25    Q    And if you flip to the next exhibit, please which is




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                                                                   003089
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            31 of 84
                                                   Page 571 of 888 PageID 3875
                              HCM V. HCMFA, et al.                            31


    1   60, or I'm sorry, we're still on 60, aren't we?

    2   A    Yeah, we're on 60.

    3   Q    Go to page 12, review of the 15-C materials.

    4   A    All right.

    5   Q    And it talks about in there that Mr. Surgent, who did

    6   you understand Mr. Surgent to be?

    7   A    Thomas Surgent, complex CCO.

    8   Q    Okay.    CCO.    And it talks about he provided the board

    9   with a status update on the HCMLP bankruptcy and discussed

  10    the impact of the HCMLP bankruptcy and the shared services

  11    arrangements with the funds noting he does not expect that

  12    the level and quality of services would change in the

  13    immediate term.      Did I read that correctly?

  14    A    You did.

  15    Q    Any discussion there about the payroll reimbursement

  16    agreements?

  17    A    There's not.

  18    Q    Okay.    Exhibit 61, please, sir.

  19    A    All right.

  20    Q    And if you'll flip to page 3.

  21    A    Okay.

  22    Q    And take as much time as you need to read, but it talks

  23    about Mr. Sauder.     Who did you understand Mr. Sauder to be?

  24    A    D.C. Sauder, one of the counsel for the advisor.

  25    Q    Mr. Sauder also discussed the status of the shared




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            32 of 84
                                                   Page 572 of 888 PageID 3876
                              HCM V. HCMFA, et al.                            32


    1   services agreements, et cetera, et cetera.          Any mention in

    2   there about payroll reimbursement agreements?

    3   A    There is not.

    4   Q    And I'll spare the Court, we're going through the next

    5   10 of these and I'll address them during closing, but do you

    6   remember the advisors ever telling you that everything was

    7   fine under the payroll reimbursement agreements, as opposed

    8   to the shared services agreements?

    9   A    Yeah, we would have just said is everything fine

  10    relative to the shared services.

  11    Q    The shared services.

  12    A    Yeah.

  13    Q    Okay.     And let's look at Exhibit 22 real briefly before

  14    we conclude.    You looked at that earlier.

  15    A    Yeah.     Okay.

  16    Q    So are you there, sir?

  17    A    I am.

  18    Q    “A-1, please provide to the extent practical the

  19    contingency plans with respect to the services provided

  20    under the shared services agreements.”          Did I read that

  21    correctly?

  22    A    You did.

  23    Q    And then there's an answer.        Anything in here about

  24    payroll reimbursement agreements?

  25    A    No.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            33 of 84
                                                   Page 573 of 888 PageID 3877
                              HCM V. HCMFA, et al.                            33


    1   Q    And then in number 2 at the end of the response, the

    2   advisors respond to you, all amounts owed by each of

    3   NexPoint and HCMFA pursuant to the shared services agreement

    4   with HCMLP have been paid as of the date of this letter.

    5   Did I read that --

    6              MR. MORRIS:     One second, please, Your Honor, what

    7   exhibit is that?

    8              MR. RUKAVINA:     Exhibit 22, the supplemental 15-C.

    9              MR. MORRIS:     Okay.   Can we please read that more

  10    accurately?

  11               MR. RUKAVINA:     I'm sorry, I need new reading

  12    glasses.

  13               MR. MORRIS:     Okay.

  14               MR. RUKAVINA:     I'm trying.        It says, all --

  15               MR. MORRIS:     It doesn't say shared services --

  16               MR. RUKAVINA:     Arrangement, arrangement.

  17               MR. MORRIS:     It says shared services --

  18               MR. RUKAVINA:     Yeah, and I apologize.

  19               MR. MORRIS:     -- arrangement.

  20               MR. RUKAVINA:     That's true and I apologize.

  21    Again, you'll see that I can't --

  22               MR. MORRIS:     No problem.

  23               MR. RUKAVINA:     I'm of that age where I need

  24    reading glasses and I'm too embarrassed to admit it.

  25    BY MR. RUKAVINA:




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            34 of 84
                                                   Page 574 of 888 PageID 3878
                              HCM V. HCMFA, et al.                            34


    1   Q    All amounts owed by each of NexPoint and HCMFA pursuant

    2   to the shared services arrangement with HCMLP had been paid

    3   as of the date of this letter.        I apologize for my mistake.

    4   Did I read that correctly now?

    5   A    You did, yes.

    6   Q    Any mention about payroll reimbursement agreements?

    7   A    There is not.

    8                MR. RUKAVINA:    Okay.   Thank you, Mr. Powell, for

    9   your time.    Pass the witness, Your Honor.

  10                 THE COURT:    All right.   Redirect?

  11                              REDIRECT EXAMINATION

  12    BY MS. WINOGRAD:

  13    Q    Mr. Powell, you were aware of the payroll reimbursement

  14    agreements; is that right?

  15    A    Conceptually, yes.

  16    Q    Did you view them -- did you view the shared services

  17    and the front office services as one in the same?

  18    A    Shared services and front office?

  19    Q    Uh-huh.

  20    A    No, we do not.

  21                 MS. WINOGRAD:    Thank you.

  22                 THE WITNESS:    Okay.

  23                 THE COURT:    Any recross?

  24                 MR. RUKAVINA:    No, Your Honor, thank you.

  25                 THE COURT:    All right.   Thank you, Mr. Powell,




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                                                                   003093
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            35 of 84
                                                   Page 575 of 888 PageID 3879
                              HCM V. HCMFA, et al.                            35


    1   you're excused now.

    2                THE WITNESS:    Okay.    Thank you.

    3                THE COURT:    All right.     Your next witness?

    4        (Witness excused)

    5                MR. MORRIS:    Good morning, Your Honor, John Morris

    6   from Pachulski Stang Ziehl & Jones for Highland Capital

    7   Management.

    8                Highland next calls Mr. James P. Seery, Jr.

    9                THE COURT:    Mr. Seery.

  10                 MR. SEERY:    Good morning, Your Honor.        Off the

  11    record, I've been wearing a mask because I have a cold and

  12    I've been testing, so I'm -- every day, so.

  13                 THE COURT:    Well, you may have noticed I've

  14    been sniffling a lot up here and I'm pretty sure it's

  15    allergies.

  16                 MR. SEERY:    My apologies.     If the Court would like

  17    me to wear the mask under testimony, I can do that,

  18    otherwise, I will be a bit raspy.

  19                 THE COURT:    Well, you know, it's up to you.           I'd

  20    say whatever makes each individual feel comfortable, so

  21    please raise your right hand.

  22                      JAMES P. SEERY, WITNESS, SWORN

  23                 THE COURT:    All right.     Please be seated.

  24                 THE WITNESS:    Thank you.

  25                 THE COURT:    Okay.




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                                                                     003094
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            36 of 84
                                                   Page 576 of 888 PageID 3880
                              HCM V. HCMFA, et al.                            36


    1                            DIRECT EXAMINATION

    2   BY MR. MORRIS:

    3   Q    Good morning, Mr. Seery.

    4   A    Good morning.

    5   Q    You were appointed in January of 2020; is that right?

    6   A    As an independent board member, yes.

    7   Q    Okay.     And at the time -- and you were appointed with

    8   two other gentlemen, correct?

    9   A    Yes, Mr. John Dubell (ph) and Mr. Ruff Snelms (ph).

  10    Q    After the independent board was appointed on January

  11    1st, 2020 did the independent board meet with Frank

  12    Waterhouse to go after financial information concerning

  13    Highland?

  14    A    Yes.     We met with the whole team.       Often individually

  15    including Frank individually for the senior people and then

  16    each group.    So with finance and accounting it was Frank and

  17    Dave Klos.

  18    Q    Okay.     And do you recall the topics of discussion

  19    during the early period after the independent board was

  20    appointed that you had with Frank and with Mr. Klos?

  21    A    Yes.

  22    Q    Can you describe for the Court what you recall

  23    generally about the substance of those discussions?

  24    A    These were multiple topics, multiple meetings starting

  25    on the afternoon of the 9th and going forward I was in




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            37 of 84
                                                   Page 577 of 888 PageID 3881
                              HCM V. HCMFA, et al.                            37


    1   Dallas most days usually at least Monday to Wednesday or

    2   Thursday, sometimes Tuesday to Friday but most of the days

    3   up until COVID hit.     And we had in-depth conversations

    4   regarding each of the funds that Highland managed, each of

    5   the sources of revenue, each of the obligations that

    6   Highland had, the employees, everything that rolled up to

    7   Waterhouse and Klos, which included HR, which rolled up to

    8   Waterhouse.    And then we show up -- the investing in a

    9   distressed company we show up in a bankruptcy it's like real

  10    estate, there's three important things, liquidity, liquidity

  11    and liquidity.

  12    Q    Did the issue of the relationship between Highland and

  13    affiliates who were owned and/or controlled by Mr. Dondero

  14    come up?

  15    A    Yes.     Right out of the gate.     So Highland, the way it

  16    was set up --

  17                MR. RUKAVINA:    Your Honor, excuse me.       Your Honor,

  18    he's not allowed to testify narratively, he answered the

  19    question, what do you recall about that topic.

  20                THE WITNESS:    So right out of the gate one of the

  21    important considerations were what were the contractual

  22    relationships that Highland had, what were the revenues you

  23    could receive from those contractual relationships, what

  24    were the obligations you had to do to manage those

  25    obligations, and what were the risks with respect to those




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            38 of 84
                                                   Page 578 of 888 PageID 3882
                              HCM V. HCMFA, et al.                            38


    1   obligations.    Did they -- were they ultimately -- were they

    2   worthwhile keeping, were they things you should think about

    3   getting rid of, how to staff them, were there ways to manage

    4   that exposure.

    5              And the interrelationship of the Highland entities

    6   was front and center in the case.        So even from before the

    7   case got transferred here, one of the big issues for the UCC

    8   which was mentioned at a lunch we had with some of the UCC

    9   members which I don't -- it may have been the day of the

  10    appointment was issues with respect to is Dondero -- is

  11    Dondero or are Dondero entities siphoning value from

  12    Highland to the detriment to the creditors and to the

  13    Highland estate.

  14    BY MR. MORRIS:

  15    Q    And did that topic continue to be discussed between you

  16    and the independent board and the committee into March?

  17    A    These are front and center major issue and the reason,

  18    the reason it was is sort of obvious.           But it was not just

  19    ultimate value, but it would have to do with liquidity.             So

  20    when we considered the various contractual arrangements what

  21    were the ways that we got revenue and was that revenue

  22    important enough to keep.

  23         So we thought about it as the big four in terms of

  24    revenue.   You had the 1.0 CLOs and they would pay management

  25    fees based upon the fee stream that they had, which was at




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            39 of 84
                                                   Page 579 of 888 PageID 3883
                              HCM V. HCMFA, et al.                            39


    1   that point simply just the management portion of the CLO

    2   fee.   And then you had the HCMFA which was paying a

    3   combination of fees, flat fees under the -- about a flat

    4   fee, a flat fee under the payroll reimbursement and a

    5   relatively flat fee although it had a slight fluctuation, I

    6   can go into detail on that, on the shared services.             And

    7   their flat fee from NPA on shared services and a flat fee

    8   from NPA on the PRAs.

    9          The structure of that, that was the vast majority of

  10    the revenue on a regular basis that you'd get.            Everything

  11    else was kind of a rounding error.

  12    Q      Do you recall having a meeting in which Josh Carey (ph)

  13    participated where the topic of the shared services and sub-

  14    advisory or payroll reimbursement agreements was discussed?

  15    A      Well, Mr. Terry had a -- yes, and Mr. Terry --

  16    Q      Do you recall the meeting?

  17    A      Yeah.

  18    Q      I just want to satisfy counsel, let me just ask the

  19    questions.     Do you recall the meeting?

  20    A      I recall the meeting, yes.

  21    Q      Okay.   Can you explain to the judge what you recall

  22    about the meeting?

  23    A      It was actually multiple meetings.        So it started at

  24    this lunch which was we stayed at the Jewel the first night

  25    of the first hearing and I think our lunch was there or




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            40 of 84
                                                   Page 580 of 888 PageID 3884
                              HCM V. HCMFA, et al.                            40


    1   right in and around there.         And Mr. Terry and his counsel

    2   peppered us with information regarding their perspective on

    3   certain things went on at Highland.

    4          And Mr. Terry had a unique perspective because he was

    5   part of the ASIS arrangement.         So ASIS which managed the CLO

    6   business, which had been Highland's business and then got

    7   put off to ASIS, ASIS had a shared service arrangement.

    8   ASIS had a -- didn't have a -- I don't think it had a PRA,

    9   but it didn't really make a difference.           If it did, it might

  10    have been a nominal fee.          And ASIS also had a sub-advisory

  11    fee.

  12           So ASIS was paying sub-advisory to Highland at a very

  13    low rate.    And ASIS was paying shared services amounts at a

  14    very low rate and getting lots of value.           How did Mr. Terry

  15    know this?    Because he was one of the partners in ASIS that

  16    benefitted from this value transfer.

  17           ASIS was getting value from Highland.          When the ASIS

  18    bankruptcy happened and it started stripping out assets,

  19    they upped the fees on the management fee from I think five

  20    bips to 25.     ASIS was probably making around 40.          So he knew

  21    exactly that these arrangements and from his perspective

  22    took value away from Highland for the benefit of these other

  23    entities.    That was ASIS and he was focused on HCMFA and NPA

  24    because NPA's completely owned by Dondero through Dougaboy

  25    (ph) and HCMFA had been completely owned by Dondero but then




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            41 of 84
                                                   Page 581 of 888 PageID 3885
                              HCM V. HCMFA, et al.                            41


    1   it was owned by Dondero and Okada through entities.

    2   Q    And after having these conversations and leading up to

    3   these conversations, did you communicate with Mr. Waterhouse

    4   about the economics of the intercompany agreements that you

    5   just described?

    6   A    Well, right out of the gate that was important, not

    7   only for as I said earlier for Mr. Terry's inquiry, and it

    8   became a larger committee inquiry, but because of the

    9   liquidity issues.

  10         So I needed to know what was coming in from each of

  11    these contracts, what were the risks.           The 1.0 CLOs while

  12    they had a lot of assets under management, they were lumpy

  13    because some of them didn't have cash.          They -- we've talked

  14    about it before, they weren't really CLOs.           They're

  15    basically closed in funds because they don't go buy any

  16    assets, they don't have anything that's really income

  17    producing.

  18         They own reorganized equity, defaulted debt, so when

  19    those paid off, then one would come in and get paid fees,

  20    otherwise the fees accrued.       So that was lumpy.       Then you

  21    had direct fees from HCMFA, in the form of the two

  22    agreements, indirect fees from NPA.

  23         And I had a very specific conversation with Mr.

  24    Waterhouse and Mr. Klos and I recall it vividly, I'm

  25    burdened by that, and I can picture Mr. Waterhouse on the




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            42 of 84
                                                   Page 582 of 888 PageID 3886
                              HCM V. HCMFA, et al.                            42


    1   table telling me, well -- because I looked at the exhibits

    2   and I said how do I know this money's coming in.             And they

    3   told me it was a flat fee coming in so we could count on

    4   that.

    5           And I asked about the specific schedule at the back of

    6   these agreements and I said, who came up with this, where

    7   Sirhan (ph) is 29 percent for one and 9 percent for another,

    8   how do I know that that's an accurate number.            And they said

    9   well -- and it's going to keep coming in every month.                They

  10    said, well, that's a fixed number one day, it's just a plug,

  11    it was topped down, don't worry about it, that comes in

  12    every month.

  13            And I said, well, HCMFA does that come in every month.

  14    And the answer was, well, it has a variable on the shared

  15    service by it's very small, it's 290 to 300,000 a month.

  16    Q       I just want to --

  17    A       So that was the focus on the first time we talked about

  18    the shared service arrangements was liquidity.             We didn't

  19    talk about at that point whether Mr. Terry's concern that

  20    value was getting sucked out.         It was first how much money I

  21    have to keep the lights on here.

  22    Q       Okay.   And you were actually looking at the exhibits to

  23    the payroll reimbursement agreements --

  24    A       Yeah.

  25    Q       -- do I have that right?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            43 of 84
                                                   Page 583 of 888 PageID 3887
                              HCM V. HCMFA, et al.                            43


    1   A     Uh-huh.

    2   Q     All right.    I'm not going to take the time to go

    3   through that.     Did --

    4   A     Yeah, you'll see each of them, he's the first guy.              And

    5   I remember, I just remember specifically asking 9 percent,

    6   how did you guys come up with that, maybe I'm too simple,

    7   but I think in 5s and 10s if I'm rounding and they laughed

    8   and said it's a plug number, you needed to adjust it to get

    9   the output.

  10    Q     Okay.   Did either Mr. Klos or Mr. Waterhouse tell you

  11    ever that the advisors were overpaying under the payroll

  12    reimbursement agreements?

  13    A     Absolutely not.

  14    Q     Okay.   You sat here yesterday.       You saw the analyses

  15    that Mr. Klos prepared in late 2019 before the independent

  16    board was appointed.       Did either Mr. Klos or Mr. Waterhouse

  17    show you either one of the analyses that Mr. Klos prepared

  18    in 2019?

  19    A     I never saw those until we started preparing for this

  20    trial.    And this was a front and center issue.            So the

  21    committee was pushing very early for Highland to terminate a

  22    lot of employees.      Because as I said, Mr. Terry knew the

  23    arrangements and knew how it worked.             And it worked as I

  24    described.    And the committee, other members, picked that

  25    up.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            44 of 84
                                                   Page 584 of 888 PageID 3888
                              HCM V. HCMFA, et al.                            44


    1        And so the first meeting, we had a face-to-face meeting

    2   on March 9th in New York City at the Pachulski offices.

    3   What I remember it was the last chopper out of Saigon as

    4   they say, it was the last meeting before COVID really shut

    5   down New York and literally that night it was over.            And it

    6   was a very tense meeting for a whole bunch of reasons.

    7   Including UBS issues which were separate, but Mr. Terry was

    8   very focused and I don't recall if he was there, but it was

    9   a packed conference room, so in hindsight felt very

  10    unhealthy.

  11         A lot of focus on the value being sucked out by Dondero

  12    entities.    And I was ill prepared.      I don't show up very

  13    often unprepared and I was not at my best and he was giving

  14    it to me pretty good.

  15         And so that became a major focus for us to start

  16    figuring out how -- what are we burning cash on and why are

  17    we burning so much cash and why don't these arrangements,

  18    the big four, CLOs which were fixed, HCMFA, NPA, why don't -

  19    - I forget the fourth, why don't we have enough money

  20    because we knew by then we were burning cash.

  21    Q    Did you communicate with Scott Ellington (ph) and Isaac

  22    Leviton (ph) during the six months after the appointment

  23    about various matters?

  24    A    Absolutely.

  25    Q    Did either Scott Ellington or Isaac Leviton tell you at




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                                                                   003103
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            45 of 84
                                                   Page 585 of 888 PageID 3889
                              HCM V. HCMFA, et al.                            45


    1   any time in the history of the world that they had

    2   information from Frank Waterhouse showing that the advisors

    3   were overpaying under the payroll reimbursement agreement?

    4                MR. RUKAVINA:    Your Honor, that's going to be

    5   hearsay, objection.       Those are not our officers, not a party

    6   admission.

    7                THE COURT:    Okay.    Let me think through that.

    8                Okay.   Not a party opponent because they're

    9   technically Highland employees, so.

  10                 MR. MORRIS:    I want to know what the newly

  11    appointed independent board knew, right, isn't it important

  12    to know based on their entire case -- all right.             I'll ask

  13    this question.

  14                 THE COURT:    Okay.

  15    BY MR. MORRIS:

  16    Q    Did anybody in the world, anybody in the whole wide

  17    world ever tell you or any member of the independent board

  18    that Highland was overcharging the advisors under the

  19    payroll reimbursement agreements?

  20    A    It didn't happen and it couldn't happen and the reason

  21    it couldn't happen was because these arrangements were

  22    massive money losers.

  23         So the issue that Mr. Terry raised on the first day and

  24    beat me up on March 9th on didn't stop on March 9th, it

  25    continued.    Again, the committee's focus was how do we stop




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                                                                     003104
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            46 of 84
                                                   Page 586 of 888 PageID 3890
                              HCM V. HCMFA, et al.                            46


    1   the burn.     We did 13-week cash flow meetings every single

    2   week.    I am not comfortable with a 13-week cash flow where

    3   the numbers have parenthesis around them.              That means

    4   they're negative.       And so I don't like looking out five

    5   weeks and see we're running out of cash.

    6           So we were continually working to figure out why --

    7   where we were burning cash, where we could offset, at the

    8   same time not going through a wholesale firing of employees

    9   because my view at the time and the board concurred with me

  10    and held the same view, was that we should try to hold the

  11    organization together and get a larger reorganization, which

  12    would have required Mr. Dondero's participation and it

  13    wouldn't have made sense for Mr. Dondero to participate if

  14    the entity had lost all its employment and utility to him

  15    and his companies.

  16    Q       If the contracts were losing so much money, why didn't

  17    you just immediately move to reject?              You were getting this

  18    pressure from Mr. Terry, why didn't you just reject the

  19    contracts?

  20    A       Well, precisely because we wanted to hold the business

  21    together.     So what we did was, we did -- by the time we got

  22    to June-ish, May/June, we had really analyzed these

  23    arrangements.      And we found that the arrangement with DAF,

  24    which was one of the big four was profitable, it had a

  25    shared service but I don't think there was a fee under it,




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            47 of 84
                                                   Page 587 of 888 PageID 3891
                              HCM V. HCMFA, et al.                            47


    1   but it was a typical 2 and 20 arrangement.

    2        So you've got 2 percent of the assets under management

    3   and then you've got 20 percent of the upside and I think it

    4   was annual, I don't think it had an earlier advancement of

    5   the profit up.     So that was a good arrangement.         You got a

    6   good sense of where that was coming in.          That was a

    7   profitable arrangement.

    8        The other contracts by the time we had the next meeting

    9   with the committee were in the 8 to $10 million loser range.

  10    That's what we were burning at Highland ex-restructuring

  11    costs.    So not including counsel and committee counsel and

  12    financial advisors.

  13    Q    Okay.     Let's shift gears a little bit to the provision

  14    of services.     From your perspective, did Highland perform

  15    the services required under the payroll reimbursement

  16    agreements and the shared services agreements?

  17    A    Absolutely.      That was what the employees did and it was

  18    middle, front and back.       And we didn't, to be fair, look and

  19    say, oh, look at this one contract versus this one.             They

  20    were arrangements.      They were the complete arrangement with

  21    HCMFA.

  22         And let's be clear about what we're talking about and

  23    everybody else knows this, HCMFA and NPA aren't real

  24    separate entities, they've now developed.

  25                 MR. RUKAVINA:    Your Honor, I object.       Now, this is




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            48 of 84
                                                   Page 588 of 888 PageID 3892
                              HCM V. HCMFA, et al.                            48


    1   narrative, this is all kinds of legal conclusions, expert

    2   conclusions that has no relevance to this.

    3                THE WITNESS:    This is factual.

    4                MR. RUKAVINA:    To say that my clients are not

    5   separate legal elements -- entities, the man is just

    6   narratively telling you a story that has some tangential

    7   relevance.    He should be asked questions and give clear

    8   answers.

    9                MR. MORRIS:    Okay.

  10                 THE COURT:    All right.   Well, there is some

  11    narrative but we've got two days for this trial, you know.

  12    I mean, I'm trying to balance the narrative versus we don't

  13    want this going on four days.       So let's just try to keep it

  14    in check.

  15    BY MR. MORRIS:

  16    Q    Mr. Seery, from the date that the independent board was

  17    appointed on January 9th, 2020 until November 30th, 2020

  18    when Highland gave notice of termination under the shared

  19    services agreements, did you -- do you recall receiving any

  20    complaints about Highland's performance of back, middle and

  21    front office services to -- withdrawn.          I'm going to start

  22    this differently.

  23         Let's call that the relevant period from your

  24    appointment until November 30th, 2020.          Okay.

  25         I'll start with the advisors.        Do you recall receiving




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            49 of 84
                                                   Page 589 of 888 PageID 3893
                              HCM V. HCMFA, et al.                            49


    1   any complaints at any time during that period that the

    2   advisors -- that Highland was failing to perform back,

    3   middle, or front office services under the three agreements

    4   -- under the agreements?

    5   A    From the advisors?

    6   Q    Yes.

    7   A    Not at all, never, not once.

    8   Q    Not once.

    9   A    Not once.

  10    Q    Okay.   Is there anybody in the world that you recall

  11    complaining about the provision of services by Highland

  12    during the relevant period?

  13    A    Yes.

  14    Q    Who made the complaint?

  15    A    John Holt.

  16    Q    Who's John Holt?

  17    A    He's the CEO of NexBank.

  18    Q    And do you recall the nature of the complaint, just

  19    briefly?

  20    A    Yes.    He thought he was being charged too much for his

  21    various service arrangements and didn't think he was getting

  22    quality service, particularly from the legal department, Mr.

  23    Allenton (ph), Leviton, compliance, et cetera.

  24    Q    And did you -- what happened as a result of the

  25    complaint that you received?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            50 of 84
                                                   Page 590 of 888 PageID 3894
                              HCM V. HCMFA, et al.                            50


    1   A    I investigated it.      I talked to Allenton and the rest

    2   of the legal team.     They came back with specifics that Mr.

    3   Holt was in their opinion mistaken, that they had been

    4   providing significant services for NexBank and that he may

    5   not have been aware of them as the CEO.

    6        They complained that he as paid on an EBITDA basis so

    7   that his incentive was to reduce costs wherever he could and

    8   get services for free.      I found Mr. Holt to be a

    9   sophisticated, straight businessman.            We had a discussion on

  10    the phone.   We agreed to disagree and defer discussion on it

  11    until we could figure out how to best separate the

  12    relationship between Highland Capital Management and

  13    NexBank.

  14    Q    Do you recall receiving a letter from D.C. Sauder (ph)

  15    in mid-October, 2020?

  16    A    I believe I got a letter from Mr. Sauder.             I'm not sure

  17    if I even knew who he was when I got it.           And it was right

  18    after, I believe it was right after things had really gone,

  19    I would say south with Mr. Dondero.

  20    Q    Do you recall -- when you say it went south, did there

  21    come a time when Mr. Dondero resigned from Highland?

  22    A    Beginning of October.

  23    Q    Okay.   And your recollection is that you received this

  24    -- give me just one second.

  25    A    In or around that time.




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                                                                     003109
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            51 of 84
                                                   Page 591 of 888 PageID 3895
                              HCM V. HCMFA, et al.                            51


    1                MR. MORRIS:     I apologize, but give me just one

    2   second.

    3   Q    It's Exhibit 148 in your book, if you can get that.

    4                THE COURT:     I'm sorry, what number?

    5                MR. MORRIS:     148.

    6                THE COURT:     Okay.

    7   BY MR. MORRIS:

    8   Q    And if you could just take a look at that, Mr. Seery.

    9   A    I thought you said it was from Sauder.             This says from

  10    Norris.     Did I miss --

  11    Q    Oh, no.      I may just be mistaken, I apologize.          This is

  12    a letter from Mr. Norris.

  13    A    I don't think I knew who he was either.

  14    Q    Okay.     So do you recall receiving this letter then?

  15    A    I recall getting a letter in or around this time from

  16    NexPoint.

  17    Q    And can you take a quick look at that letter and see if

  18    you can let the Court know if you recall whether Mr. Norris

  19    put Highland on notice about any failure to provide back,

  20    middle, front office services of any kind?

  21    A    It looks to me to be a complaint about the OmniMax

  22    issue.

  23    Q    Is that -- do you understand that that's the issue that

  24    Mr. Powell just testified about?

  25    A    He -- I heard Mr. Powell's testimony and he mentioned




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            52 of 84
                                                   Page 592 of 888 PageID 3896
                              HCM V. HCMFA, et al.                            52


    1   the OmniMax issue.     He -- to be clear, I was invited to the

    2   board meetings.    I didn't volunteer to go to the retail

    3   board meetings and I said I would do that.           And I did raise

    4   the issue around the OmniMax transaction.

    5        And what happened was Highland had a big position.             The

    6   retail funds had a small position.        We thought the

    7   transaction was a good transaction because the company --

    8   this other guy is going to file and the buyer of the company

    9   was willing to take out the whole piece.

  10         I had been in discussions with Mr. Dondero.            Mr.

  11    Dondero had agreed to a price.       When I came back with the

  12    price, he said I never agreed to that price.           I said fine,

  13    we're going to trade these because this is a good price.

  14    And the structure of the trade was such that with the buyer,

  15    if need be, would be put into bankruptcy and the hold out

  16    would be crammed down.      And we were happy to do that.

  17         Mr. Dondero ultimately held out.           The funds held out.

  18    They cut a deal with the buyer and then we had to pick part

  19    of it because it was less expensive than filing the company

  20    for bankruptcy.

  21    Q    And --

  22    A    So they got bought out at a little bit higher level.

  23    Q    Is it fair to say that there was simply difference in

  24    investment strategy between you and Mr. Dondero?

  25    A    Yes, I think that's fair.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            53 of 84
                                                   Page 593 of 888 PageID 3897
                              HCM V. HCMFA, et al.                            53


    1   Q    And is that when we talk about conflict is that what

    2   you're talking about?

    3   A    That's correct.

    4   Q    Can you think of any other transaction -- oh.            Was it

    5   possible that conflicts would arise with respect to other

    6   jointly held assets?

    7   A    Definitely could be.

    8   Q    And that's really -- did you understand that's what Mr.

    9   Norris was referring to?

  10    A    I do.

  11    Q    In the second paragraph.

  12    A    That's what it looks like he's referring to.            I'm not

  13    remember spending that much time thinking about this letter

  14    frankly.

  15    Q    Okay.    Do you -- I'm -- do you recall receiving other

  16    letters from the advisors and from their lawyers at K&L

  17    Gates?

  18    A    Definitely lawyer letters, yes.

  19    Q    Do you recall whether any lawyer -- withdrawn.

  20         Do you recall whether any letter because I don't want

  21    to go through all of them, they speak for themselves, so I'm

  22    asking for your recollection; do you recall receiving any

  23    letter sent by the advisors or by their lawyers where they

  24    made any complaint at all about the provision of front, back

  25    or middle office services?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            54 of 84
                                                   Page 594 of 888 PageID 3898
                              HCM V. HCMFA, et al.                            54


    1   A    Never received, other than the Holt complaint related

    2   to NexBank, never received a complaint about the amount of

    3   the services or the quality of the services that were being

    4   provided front, middle or back.        And it was all three.

    5   Q    In the administrative claim there's an allegation that

    6   you instructed Highland's employees to stop providing

    7   services in July 2020.      Are you familiar with that

    8   allegation?

    9   A    I'm familiar with the allegation.

  10    Q    Did you instruct anybody in July 2020 to stop providing

  11    services to anybody?

  12    A    No, never happened.

  13    Q    Do you have any understanding or recollection as to

  14    what you said at that time that they might be referring to?

  15    A    Very distinct recollection, yes.

  16    Q    Can you explain to Judge Jernigan what your

  17    recollection is as to what you actually said?

  18    A    There was a discovery dispute between the committee and

  19    Highland at the time.      And the discovery dispute was

  20    actually quite surprising to me because I'd instructed the

  21    Pachulski team and the Highland team to produce information

  22    because there was really no point in wasting a lot of time

  23    fighting about discovery.

  24         And frankly Mr. Levinson found a different way to deal

  25    with discovery that was less than cooperative.           And the




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            55 of 84
                                                   Page 595 of 888 PageID 3899
                              HCM V. HCMFA, et al.                            55


    1   committee raised the issue about multiple parties wearing

    2   multiple hats to the Court.       And it was a bit Alice in

    3   Wonderland in terms of Mr. Leviton and others saying, well,

    4   I'm the advisor to the -- I'm the counsel to the advisor and

    5   I have a fiduciary duty to them, you're our lawyer, you have

    6   to do what we direct you to do.        And it was very

    7   manufactured.

    8        And my recollection, and I took it very directly

    9   because I was on video, but I took this as if the Court were

  10    talking to me directly was that you better make sure you

  11    have your house in order regarding people with conflicts

  12    what they are doing, especially lawyers, who claim to be

  13    wearing multiple fiduciary hats and forsaking their duties

  14    to the debtor.

  15         I left that hearing really informed and nervous isn't

  16    the right word, but focused, that we needed to make sure

  17    that everyone got the message.       So I had a specific call

  18    with the entire legal department.        And the legal department

  19    at Highland, it may be a misnomer, because there were a

  20    number of non-lawyers in that department and they did

  21    different things in the Cayman Islands or other places that

  22    didn't have much to do with Highland.

  23         And I had very direct discussion and I used the word

  24    and it seems to show up now inimical but any -- taking any

  25    adverse action to the Highland estate and if anybody felt




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            56 of 84
                                                   Page 596 of 888 PageID 3900
                              HCM V. HCMFA, et al.                            56


    1   that they had a reason that they couldn't do something for

    2   the Highland estate I better hear about it directly.

    3           And it was a very direct discussion.          I had then had

    4   the same call with Mr. Waterhouse, Mr. Klos, Ms. Hendricks,

    5   Mr. Darquentin (ph) may have been on it, he may have been

    6   too junior, but very direct.          And then a similar discussion

    7   with Brian Collins, head of HR, that we better -- I better

    8   not hear about this again because you do it, you be fired

    9   for cause and we will take action.           It was, I took it very,

  10    very seriously.

  11    Q       So there was no direction to stop performing services?

  12    A       No, absolutely not.        You still had to do your job and

  13    if something raised a conflict, I needed to know about it,

  14    like ultimately the OmniMax transaction which was after this

  15    time, but if you didn't think you could produce documents

  16    because you had some other duty, I needed to know about

  17    that.

  18            If you thought that you represented any other entity,

  19    Dougaboy, whomever and that interest was averse to the

  20    estate, I needed to know about it.           And I was very clear.

  21    And I think it had the desired effect.             We had a larger call

  22    with the team that was not nearly as forceful, but people

  23    needed to know that this is an estate and as employees of

  24    the estate, you have duties to the estate.             And as officers

  25    of the estate, you have fiduciary duties to the estate.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            57 of 84
                                                   Page 597 of 888 PageID 3901
                              HCM V. HCMFA, et al.                            57


    1   Q       And did you -- going back you mentioned OmniMax, you

    2   mentioned the possibility that there might be other

    3   conflicts that arose as a result of jointly held assets.

    4   Other than OmniMax did, in fact, any other conflict ever

    5   arise prior to the termination of the agreements?

    6   A       Not that I recall.     And just so we're clear, you used

    7   the term jointly held assets.         They're not actually jointly

    8   held.    Highland owns its own assets.            The 1.0 CLO owned

    9   their own assets.       HCMFA had their assets in their name.

  10    NPA, et cetera, Dougaboy, et cetera, DUC, DAF (ph).

  11    Q       So let me restate the question.           Were there any other

  12    issues that arose where Highland and another entity

  13    controlled by Mr. Dondero owned assets of the same kind

  14    where investment decisions diverged?

  15    A       Not that I recall.     Certainly not during this period,

  16    not that I recall at all.

  17    Q        Okay.   Did there come a time that Jason Post left the

  18    employ of Highland and became the chief compliance officer

  19    at the advisors?

  20    A       Yes.

  21    Q       And when did that happen?

  22    A       It was right after Mr. Dondero resigned, right in that

  23    time frame.

  24    Q       So sometime in October?

  25    A       I believe so.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            58 of 84
                                                   Page 598 of 888 PageID 3902
                              HCM V. HCMFA, et al.                            58


    1   Q    So he served in that capacity for six weeks before the

    2   notice of termination was given?

    3   A    Roughly, I believe.

    4   Q    And do you have any understanding as to why that move

    5   was made by Mr. Post?

    6   A    The reason was they requested it.           I agreed that it was

    7   a good idea because it was evolving and becoming more and

    8   more likely that there was not going to be a grand bargain

    9   or a settled solution to this case.         There wasn't a moment

  10    in time where you knew that, but Mr. Dondero required to --

  11    we had got through mediation, very successful vis-à-vis

  12    settlement with ASIS, productive vis-à-vis UBS, wholly

  13    unproductive for a global settlement.            We continued to try

  14    to work on those things, but it became less and less likely.

  15         And so by October the plan, I don't know when we filed

  16    it, but it was clear it was going to get filed if we had not

  17    yet filed it.     And where we thought that was the crucible to

  18    bring a settlement, it was having the desired effect on the

  19    creditors' side to have them think about compromising their

  20    claims, it wasn't bringing Mr. Dondero and the creditors

  21    close enough together.       Although there were efforts, but by

  22    that time it looked like the --

  23                MR. RUKAVINA:     Your Honor, again, this is just --

  24                THE WITNESS:     -- the advisors could have the

  25    issue.




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                                                                     003117
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            59 of 84
                                                   Page 599 of 888 PageID 3903
                              HCM V. HCMFA, et al.                            59


    1                  MR. RUKAVINA:   -- just narrative now about

    2   negotiations.      The question was why did Post leave.          He

    3   answered that question.

    4                  THE COURT:   Sustained.

    5   BY MR. MORRIS:

    6   Q       All right.   Let's talk about the payroll reimbursement

    7   agreements.      Do you recall that the Court-approved

    8   Highland's disclosure statement in mid-to-late November

    9   2020?

  10    A       Yes.

  11    Q       And do you recall that Highland gave notice of the

  12    shared service agreements that it had with the advisors on

  13    November 30th, 2020?

  14    A       Notice of termination?

  15    Q       Yes.

  16    A       Yes.

  17    Q       Was there a relationship between the Court's approval

  18    of the disclosure statement in mid-to-late November and the

  19    sending of the notices of termination concerning the shared

  20    services agreements on November 30th --

  21    A       Yes.

  22    Q       -- 2020?

  23    A       Yes.

  24    Q       Can you describe the Court -- for the Court what the

  25    relationship was between those two events?




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            60 of 84
                                                   Page 600 of 888 PageID 3904
                              HCM V. HCMFA, et al.                            60


    1   A    The relationship was purely timing so that once we knew

    2   we had a disclosure statement approved, then we could set a

    3   confirmation date, and we looked at where that confirmation

    4   date is and we needed to be able to terminate the agreements

    5   before we got to the confirmation date or right at and about

    6   to that time.    Then it would, assuming it got confirmed, it

    7   would go to the monetization plan.

    8   Q    Is it fair to say that the termination of the shared

    9   services agreements was consistent with the plan of

  10    reorganization that Highland was hoping to get approved?

  11    A    Yes.

  12    Q    Okay.    Did this -- did the debtor ever seek to assume

  13    the payroll reimbursement agreements?

  14    A    No.

  15    Q    Did the debtor ever consider assuming the payroll

  16    reimbursement agreements?

  17    A    No.

  18    Q    Why not?

  19    A    The arrangements with HCMFA and NPA, as I said, were

  20    money losers.    There was -- I think I was even asked about

  21    it at the confirmation hearing, why not assume these,

  22    because they're money losers.       So there was never a plan to

  23    do that.    And we weren't going to keep around staff to be

  24    able to work on retail funds.       The idea was to focus on

  25    assets that would produce value to the creditors of the




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            61 of 84
                                                   Page 601 of 888 PageID 3905
                              HCM V. HCMFA, et al.                            61


    1   estate, not to provide money losing services to third-party

    2   funds.

    3   Q    Are you familiar with the termination provisions in the

    4   payroll reimbursement agreements?

    5   A    Generally.

    6   Q    Can we take a look at them just quickly?           Go to Exhibit

    7   6, please.

    8        Do you have that in front of you?           And we're on the

    9   page ending in Bates Number 622.         And I would direct your

  10    attention down to Section 5.02.

  11    A    Yes.

  12    Q    If Highland had assumed the payroll reimbursement

  13    agreements, is it your understanding that they have -- would

  14    have had to assume the entirety of the agreement?

  15    A    I know Counsel doesn't like me talking about the law,

  16    but that is the law.

  17    Q    Okay.    And --

  18    A    (Indiscernible) as we say.

  19    Q    And so it would have had to also assume Section 5.02,

  20    right?

  21    A    That's correct.

  22    Q    And what does Section 5.02 provide?

  23    A    It provides that either party can terminate on 60 days'

  24    advance written notice.       It -- I think it's the same in most

  25    of the shared service arrangements as well.




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                                                                    003120
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            62 of 84
                                                   Page 602 of 888 PageID 3906
                              HCM V. HCMFA, et al.                            62


    1   Q    Well, but I'm just focused on the payroll reimbursement

    2   agreements.

    3   A    Yeah.

    4   Q    Okay.     They could terminate on 60 days' notice.               Is it

    5   your understanding based on this agreement that the advisors

    6   needed a reason to terminate?

    7   A    No, neither party needs a reason.

    8   Q    And that's -- and where do you get that idea from?

    9   A    There's no provision in 5.02 that would require a

  10    reason.

  11    Q    It says, with or without cause, right?

  12    A    Yeah.

  13    Q    Just to close this topic, can you go to Exhibit 8,

  14    please, which is the one -- 6, I think, was the next payroll

  15    reimbursement agreement.           8 is the HCMFA payroll

  16    reimbursement agreement.           And does it also have the same

  17    Section 5.02 that would have permitted the advisors or HCMFA

  18    to terminate the payroll reimbursement agreement without

  19    cause on 60 days' notice?

  20    A    Yes.     These two agreements are identical say for the

  21    party names and the actual amount paid each month.

  22    Q    Do you recall -- I'm not going to dig it up.              I'm just

  23    going to ask you if you recall that the plan specifically

  24    provided that any contract not specifically assumed would be

  25    deemed rejected?




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                                                                      003121
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            63 of 84
                                                   Page 603 of 888 PageID 3907
                              HCM V. HCMFA, et al.                            63


    1   A       Yes.    That's a pretty standard provision.         You only

    2   want to assume the agreements that you intend to assume.

    3   Excuse me.

    4   Q       Okay.    So how come -- are you aware of any -- did

    5   Highland give notice of termination of the payroll

    6   reimbursement agreements?

    7   A       I frankly don't recall.       Mr. Rukavina asked me that at

    8   my deposition.      I thought we did with the tiered service

    9   arrangements because they -- we viewed them as one in the

  10    same.    But apparently, I've now learned that we didn't, and

  11    they were just rejected as part of the plan.

  12    Q       During -- were you involved in the discussions

  13    concerning the transition of Highland's employees and assets

  14    to the advisors that took place in early January/February

  15    2020?

  16    A       Yes.

  17    Q       During those discussions did Highland make a demand to

  18    keep the employees that were performing front office

  19    investment advisory services?

  20    A       If I understand your question, did we make a demand to

  21    keep the employees?       No.      We were going to terminate them.

  22    Q       Okay.    And which employees were you intending to

  23    retain?

  24    A       At that point I was working on my team, but I was not

  25    going to have more than 10 to 15 employees.             I didn't need




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                                                                      003122
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            64 of 84
                                                   Page 604 of 888 PageID 3908
                              HCM V. HCMFA, et al.                            64


    1   them.

    2   Q       And the team that you were constructing, was it a team

    3   that was expected to provide front office investment

    4   advisory services to the advisor’s post-confirmation?

    5   A       No.

    6   Q       Okay.   I just --

    7   A       I may not be understanding your question.           I --

    8   Q       No, you are.

    9   A       -- apologize.

  10    Q       I mean, it's -- but that's -- that was suggested

  11    yesterday.

  12            I heard you say, I think, in October, you know, as part

  13    of the Jason Post move you thought that part of the factor

  14    was that negotiations didn't -- weren't bearing fruit with

  15    Mr. Dondero.      Is that just generally fair?

  16    A       Yeah.   That's fair.       I think it was --

  17    Q       Okay.

  18    A       -- just the idea that there was more and more tension

  19    and that even though there had not arisen another conflict,

  20    but OmniMax at that time that there could be one and that it

  21    would be better for the advisors to have their own chief

  22    compliance officer as opposed to -- Jason worked for Thomas

  23    Surgent who provided -- I think Mr. Ethan testified that it

  24    was found that Thomas was the CCO for the complex.              He was

  25    Jason's boss.      And it just seemed -- they brought it to me.




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                                                                      003123
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            65 of 84
                                                   Page 605 of 888 PageID 3909
                              HCM V. HCMFA, et al.                            65


    1   I think -- I don't remember if Jason did or Thomas did.            It

    2   just seemed a better way that if another conflict arose,

    3   that Surgent or someone else wouldn't be put in the position

    4   that I had admonished people about in July.

    5   Q    Nevertheless, do you recall that really through

    6   December up until the confirmation hearing, without

    7   characterizing your views as to the likelihood of success,

    8   did negotiations with Mr. Dondero continue?

    9   A    Yes.

  10    Q    Okay.

  11    A    Not with me directly because he wasn't allowed to talk

  12    to me, which was all fine by me at some point in there, but

  13    through counsel.

  14    Q    Through counsel.      Did Mr. Waterhouse play any role in

  15    those negotiations?

  16    A    None whatsoever.      These are the negotiations with Mr.

  17    Dondero around a larger plan.

  18    Q    Correct.

  19    A    Yeah.    None whatsoever.

  20    Q    None.    Did you ever ask him to prepare any kind of

  21    analysis of profitability for the inter-company agreements

  22    between the advisors and Highland for use in the

  23    negotiations?

  24    A    Never.

  25    Q    You've sat here, you know, for more than a day and




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                                                                   003124
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            66 of 84
                                                   Page 606 of 888 PageID 3910
                              HCM V. HCMFA, et al.                            66


    1   you've heard about the allegations about overpayments.             Do

    2   you recall when the first time you heard about the issue of

    3   overpayments?

    4   A    I think the first time I recall hearing about

    5   overpayments was an allegation that Mr. Dondero put in a

    6   January term sheet that was part of negotiations where he

    7   basically said in addition to all the value I'm getting, I'm

    8   going to pick up the $14 million advisor admin claim.              And I

    9   wrote an acronym for something that basically indicates that

  10    I was saying, what does this mean.

  11         It was nothing I had ever heard of and it was -- that

  12    was the first time was in January.

  13    Q    And the first time you heard it was --

  14    A    That I recall.

  15    Q    -- in connection with a proposed plan of reorganization

  16    that Mr. --

  17    A    It was a pot plan.

  18    Q    Pot plan.

  19    A    Yeah.    And I think at the time it was -- I can't

  20    remember the exact date, but the first couple of weeks of

  21    January.   And I believe he and his counsel had filed a plan

  22    under seal right around that time, and this was -- which I

  23    never saw.    This was the term sheet for it.

  24    Q    We can look at them, but I'll test your memory first.

  25         So that's the first time.       So is it fair to say that




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                                                                   003125
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            67 of 84
                                                   Page 607 of 888 PageID 3911
                              HCM V. HCMFA, et al.                            67


    1   you have no recollection of the issue of overpayments being

    2   raised in any of the K&L Gates letters that were sent as

    3   counsel to the advisors to Highland in December 2020?

    4   A       Not that I recall.

    5   Q       Do you recall if K&L Gates or any lawyer acting on

    6   behalf of the advisors ever sent any kind of demand for the

    7   return of money that they alleged was overpaid under the

    8   payroll reimbursement agreements?

    9   A       They never did.    And I'll just expand for a second

  10    here.    It didn't make sense because we were also negotiating

  11    the transition.      And as part of the transition I required --

  12    I wasn't going to keep providing services for free.              By this

  13    time it's pretty hot in January and we required NPA and

  14    HCMFA to pay the shared service amount and the PRA amounts

  15    in January and February, and they were doing it by a weekly

  16    basis.     And our term sheet demanded that they pay the

  17    November and December amounts that they had failed to pay.

  18            And they came back and said, well, we're going to have

  19    trouble with that with Mr. Dondero and they tried to agree

  20    that they could pay it over time, and ultimately I acceded

  21    to that.     So the transition services arrangement that was

  22    going to move the employees to either NPA or an affiliate or

  23    an employee-owned entity contemplated that we were going to

  24    get paid back the money from November and December.              Nobody

  25    ever said, we don't owe you that money.           You've been




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            68 of 84
                                                   Page 608 of 888 PageID 3912
                              HCM V. HCMFA, et al.                            68


    1   overpaying us or we've been overpaying you or some such

    2   thing.

    3               MR. MORRIS:     I have no further questions, Your

    4   Honor.

    5               THE COURT:    All right.     Pass the witness.

    6               Mr. Rukavina.

    7               MR. RUKAVINA:     Your Honor, may Mr. Morris and I

    8   confer for a moment?

    9               THE COURT:    Sure.

  10         (Pause)

  11                MR. RUKAVINA:     Your Honor, we've been conferring

  12    about schedules and we've been, I think, very cooperative

  13    with each other.      We've told Mr. Dondero to be here at one,

  14    so we have an hour right now and I hate to tell the Court

  15    that we're -- we don't want to use that hour.           I would like

  16    to recall Mr. Seery when my case begins.

  17                We will get done today.

  18                MR. MORRIS:     Oh, no.   Why aren't you going to

  19    cross-examine him?

  20                THE COURT:    No.     I have to stop -- my presentation

  21    starts at noon.     They wanted me to patch in --

  22                MR. RUKAVINA:     Then I'll cross-examine Mr. --

  23                THE COURT:    -- 10 or 15 minutes early.

  24                MR. RUKAVINA:     I'll cross-examine Mr. Seery now.

  25                THE COURT:    Okay.




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            69 of 84
                                                   Page 609 of 888 PageID 3913
                              HCM V. HCMFA, et al.                            69


    1               MR. RUKAVINA:     And then --

    2               MR. MORRIS:     I thought you said you had five

    3   minutes.

    4               MR. RUKAVINA:     Yeah, I do.

    5               And then -- yeah.       But I'm just telling the Court

    6   that we're going to give you back some time, but it's

    7   because we had agreed to have Mr. Dondero here at one.

    8               THE COURT:    Okay.     Yeah.   But I'll need to stop at

    9   11:45.

  10                MR. MORRIS:     All right.      But I just -- I need to

  11    just clarify, the whole idea is to call witnesses once.

  12    We're not going to --

  13                MR. RUKAVINA:     Yeah.    I'll call --

  14                MR. MORRIS:     -- recall him in your case --

  15                MR. RUKAVINA:     Yeah.    That's fine.

  16                MR. MORRIS:     -- later, right?

  17                MR. RUKAVINA:     That's fine.

  18                MR. MORRIS:     Okay.

  19                THE COURT:    Okay.

  20                              CROSS-EXAMINATION

  21    BY MR. RUKAVINA:

  22    Q    Mr. Seery, good morning.

  23    A    Good morning.

  24                MR. RUKAVINA:     Mr. Berghman, if you'll please pull

  25    up Exhibit 10 to Mr. Seery's deposition.




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                                                                    003128
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            70 of 84
                                                   Page 610 of 888 PageID 3914
                              HCM V. HCMFA, et al.                            70


    1                Your Honor, this is being printed and will be

    2   couriered to the Court as a paper exhibit prior to 1:00.

    3                THE COURT:   Okay.

    4                MR. RUKAVINA:   So we'll just have it

    5   electronically for now.

    6                THE COURT:   Okay.

    7                MR. BERGHMAN:   You said Exhibit 10, right?

    8                MR. RUKAVINA:   Yeah.

    9   BY MR. RUKAVINA:

  10    Q    Mr. Seery, you'll have to scroll down through this, but

  11    do you -- this is a December 11th letter from K&L Gates.            Do

  12    you recall having received this letter through your counsel?

  13         And please take -- tell my partner just scroll down at

  14    your pace.

  15    A    Okay.

  16    Q    Next page.

  17         (Pause)

  18    A    Okay.

  19    Q    Next page, please.

  20    A    I'm skimming, just to be clear.

  21    Q    Well, you tell us when you want the next page, please.

  22    A    I -- do you want me to read the whole letter?

  23    Q    I want to ask you just about what's written in here

  24    about PRAs and shared services.         But you have the right to

  25    read every word of this if you need to.




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                                                                    003129
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            71 of 84
                                                   Page 611 of 888 PageID 3915
                              HCM V. HCMFA, et al.                            71


    1   A       Just can you go to the next page?

    2           And then take me back to the top.

    3           Ask away.

    4   Q       Do you recall receiving this letter through counsel on

    5   or about December 11th, 2020?

    6   A       I don't specifically recall this letter.           There's

    7   another K&L Gates letter, I believe.              I thought there were

    8   multiple, but I may be --

    9   Q       Would you please pull up --

  10    A       -- I may be mistaken.

  11    Q       -- Mr. Seery's deposition transcript.           See if I can

  12    refresh your memory.

  13                 MR. RUKAVINA:     Page 42, Thomas.

  14                 It's not going to be in there, Mr. Seery.

  15                 MR. MORRIS:     What exhibit is this?        I apologize.

  16                 MR. RUKAVINA:     It's Exhibit 10 to his deposition.

  17    This is an impeachment exhibit that is --

  18                 MR. MORRIS:     Oh, okay.

  19                 MR. RUKAVINA:     -- an exhibit to his deposition.

  20                 MR. MORRIS:     Okay.   Thank you.       Can I have a copy?

  21                 MR. RUKAVINA:     That's what I told the judge.           It's

  22    being couriered.       Paper copies are being couriered.           They'll

  23    be --

  24                 MR. MORRIS:     Thank you very much.

  25                 Go ahead.




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                                                                       003130
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            72 of 84
                                                   Page 612 of 888 PageID 3916
                              HCM V. HCMFA, et al.                            72


    1                MR. RUKAVINA:     -- here before lunch.

    2                MR. MORRIS:     Go ahead.   Yeah.

    3   BY MR. RUKAVINA:

    4   Q    Mr. Seery, you're in the wrong binder, please.             It's

    5   not --

    6   A    Oh, you can do what you like.         I got binders.     Am I not

    7   allowed --

    8   Q    But I'm telling you --

    9   A    -- to look at them?

  10    Q    I'm telling you this is not in those binders, sir.

  11    A    That's okay.      I'm just thumbing through the binders.

  12    Q    Okay.     No problem.    No problem.

  13         Mr. Seery, if you'll look, please, I asked you at your

  14    deposition.     We marked Exhibit 10.      I asked, do you remember

  15    seeing this letter on or about December 11th, 2020 and you

  16    answer, yes.     Does that refresh your memory that you did, in

  17    fact, see this letter on or about December 11th, 2020?

  18    A    Truly I don't recall seeing this letter.

  19    Q    Okay.

  20    A    It -- because it deals a lot with the notes.            I just

  21    don't recall it.      There's another K&L Gates letter that I'm

  22    quite sure that I did get from counsel.          They were not

  23    addressed to me.      I don't recall seeing this letter.            So I

  24    quoted I said, yes.      If this is the same letter, I just

  25    don't recall it.




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                                                                    003131
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            73 of 84
                                                   Page 613 of 888 PageID 3917
                              HCM V. HCMFA, et al.                            73


    1               MR. RUKAVINA:    You can pull down this deposition

    2   transcript, Thomas, and go back to the letter.

    3   BY MR. RUKAVINA:

    4   Q    Would you like to revise your prior testimony, sir,

    5   that at no point in time in the history of the world did

    6   anyone for the advisors or their lawyers ever inform you of

    7   alleged overpayments and alleged failure to provide

    8   services?

    9   A    No.    I wouldn't.    I don't recall receiving this letter.

  10    This letter does complain in the one paragraph I did read

  11    about shared services, about some sort of failure of

  12    services.   Where's the overpayment section?

  13    Q    Go back to payroll.

  14         And, again, sir, I apologize.        We'll have this on paper

  15    momentarily.

  16                MR. RUKAVINA:    Scroll down, Thomas.

  17                MR. BERGHMAN:    You want the next page?

  18                MR. RUKAVINA:    Yes.

  19                THE WITNESS:    I just don't -- you know, I don't

  20    recall you giving me exhibits, correct?         You just put them

  21    on the screen during our deposition, right?

  22                MR. RUKAVINA:    Sir, I ask the questions, not you.

  23    I did --

  24                THE WITNESS:    But I'm just --

  25                MR. RUKAVINA:    I did send them to your counsel




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Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            74 of 84
                                                   Page 614 of 888 PageID 3918
                              HCM V. HCMFA, et al.                            74


    1   prior to the deposition.

    2                THE WITNESS:   Yeah.   I didn't --

    3   BY MR. RUKAVINA:

    4   Q    You see, sir, in --

    5   A    We looked at them on a screen.

    6   Q    You see, sir, in there that it talks about -- you can

    7   please read it, but it talks about based on a preliminary

    8   analysis -- this is near the bottom -- next point, HCMFA

    9   believed they have over-reimbursed HCMLP under the payroll

  10    reimbursement agreements of approximately $5 million.

  11    A    I see that, yes.

  12    Q    You have no recollection of having heard about that on

  13    or about December 11th?

  14    A    No, I don't.

  15    Q    Then let's go back to your deposition transcript,

  16    please, Page 42.     Well, not yet, but do you remember I asked

  17    -- well, let me ask you right now.

  18         Sir, do you remember whether in light of this letter

  19    there were any negotiations to try to revise the amounts

  20    under the payroll reimbursement agreements?

  21    A    There never were, no.

  22    Q    Okay.    And I asked you about that at your deposition

  23    and you said --

  24    A    Yes.

  25    Q    -- there never were any.




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                                                                   003133
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            75 of 84
                                                   Page 615 of 888 PageID 3919
                              HCM V. HCMFA, et al.                            75


    1   A    Correct.

    2   Q    Okay.    So let me ask you again.          You don't want to

    3   revise whatever prior testimony you gave that no one from

    4   the advisors, no one at K&L prior to Dondero complaining in

    5   January 2021.    You never heard about potential overpayments

    6   under the payroll reimbursement agreements?

    7   A    I don't recall ever hearing about potential

    8   overpayments.    Obviously, this December 11th letter was

    9   received by my counsel.      I am certain they gave it to me.         I

  10    do not recall it.      So when you showed it to me at the

  11    deposition I just missed because there is another K&L Gates

  12    letter that's pretty lengthy in and around this time.

  13    Q    So when you said you were --

  14    A    There might be two or three.

  15    Q    So when you said you read it on or about December 11th

  16    at your deposition, you're now saying that you were

  17    incorrectly testifying at your deposition?

  18    A    That's correct.

  19    Q    You --

  20    A    Yes.

  21    Q    -- confused it with another K&L letter?

  22    A    Correct.

  23    Q    Okay.

  24    A    I just don't recall seeing this letter.

  25    Q    Okay.    But --




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                                                                     003134
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            76 of 84
                                                   Page 616 of 888 PageID 3920
                              HCM V. HCMFA, et al.                            76


    1   A     I'm sorry.

    2   Q     -- would you expect your professional counsel at

    3   Pachulski to forward this to you, this letter --

    4   A     Absolutely.

    5   Q     -- or advise you of its substance?

    6   A     They certainly would have forwarded it to me.          I'm --

    7   Q     Okay.

    8   A     I suspect they would have talked to me about it.             I do

    9   not recall those conversations, not because it's privileged.

  10    I just don't recall having a discussion about this letter.

  11    There were multiple letters at the time.

  12    Q     Okay.   Do you think that the advisors could have

  13    terminated the payroll reimbursement agreements or shared

  14    services agreement post-petition without violating the

  15    automatic stay?

  16    A     Absolutely.

  17    Q     Okay.   You're a lawyer?

  18    A     Yeah.

  19    Q     And you've been a bankruptcy professional for decades?

  20    A     Yes.

  21    Q     And you're telling the Court that the automatic stay

  22    does not prevent a counterparty to an unassumed executory

  23    contract from terminating that contract?

  24    A     That's not what I said and that's not what you asked

  25    me.




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                                                                   003135
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            77 of 84
                                                   Page 617 of 888 PageID 3921
                              HCM V. HCMFA, et al.                            77


    1   Q    I asked you -- I'll ask it differently.

    2        Do you think that had the advisors tried to terminate

    3   these contracts, all four of them, post-petition, that that

    4   would have been a stay violation?

    5   A    Not if they did it correctly, no.

    6   Q    And how would they have done it correctly?

    7   A    They would file a motion to terminate the contract and

    8   set forth why --

    9   Q    That's a little different --

  10    A    -- they wanted to term --

  11    Q    That's a little different.

  12                 MR. MORRIS:     Let him -- please let him finish his

  13    answer.

  14                 THE WITNESS:     Except what -- why?

  15                 MR. RUKAVINA:     That's a little different.

  16                 THE WITNESS:     You can fight with me all you want.

  17    You asked me, could they do this, and the answer is yes.

  18                 MR. RUKAVINA:     Is it --

  19                 THE WITNESS:     You file a motion to terminate the

  20    contract and they set forth their reasons.            And even though

  21    it's without cause, the debtor is protected.            But that

  22    doesn't give the debtor the right to just receive money and

  23    not get services.       That happens all the time.       That's what

  24    happens in Bankruptcy Court.

  25                 MR. RUKAVINA:     Word plays, Mr. Seery.       Word plays.




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                                                                     003136
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            78 of 84
                                                   Page 618 of 888 PageID 3922
                              HCM V. HCMFA, et al.                            78


    1   BY MR. RUKAVINA:

    2   Q    What about the January --

    3   A    It's not.

    4   Q    What about the January 9th injunction prohibiting Mr.

    5   Dondero from causing any related entity from terminating a

    6   contract?

    7   A    The --

    8   Q    Do you believe that that order would have prevented the

    9   advisors from terminating these four contracts?

  10    A    No.     They have to come in to the court and file a

  11    motion.

  12    Q    Okay.

  13    A    Now I guess you're admitting that Mr. Dondero

  14    completely controls --

  15    Q    Stop talking, sir.

  16    A    -- the advisors.

  17    Q    I've answered -- you've answered my question.               I've

  18    asked a question.       You've answered it.        Okay.

  19    A    Oh, I'm sorry.

  20    Q    You're not here to pontificate.              You're here to answer

  21    questions.

  22                 MR. MORRIS:     Your Honor, I know Mr. Seery is a

  23    seasoned professional, but there ought to be a limit to the

  24    badgering.

  25                 THE COURT:    Okay.    Mr. Rukavina --




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                                                                       003137
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            79 of 84
                                                   Page 619 of 888 PageID 3923
                              HCM V. HCMFA, et al.                            79


    1                MR. RUKAVINA:    I'm actually done --

    2                THE COURT:   -- I know you --

    3                THE WITNESS:    I'm okay.

    4                THE COURT:   -- can keep it in check here.

    5                MR. RUKAVINA:    Okay.

    6                THE COURT:   Okay.

    7   BY MR. RUKAVINA:

    8   Q    And I think you testified that you never instructed

    9   Highland employees not to provide services.           Did I get that

  10    correct?    You never -- when Mr. Morris was asking you about

  11    whether you ever issued --

  12    A    No.    I never instructed any Highland employees not to

  13    provide services.     I did instruct Highland employees not to

  14    take an adverse position to the estate, and if one arose,

  15    they had to come to me.

  16    Q    Okay.    You taught me a word that I never heard before.

  17    It's a cool word.     Inimical.     Is that --

  18    A    You've got to expand your vocabulary.

  19    Q    I agree.    You -- did you not issue instructions that if

  20    any Highland employee undertook an action inimical to the

  21    interest of Highland they would be fired?

  22    A    Yes.

  23    Q    Thank you.

  24                 MR. RUKAVINA:    I'll pass the witness.

  25                 THE COURT:   Redirect?




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                                                                    003138
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            80 of 84
                                                   Page 620 of 888 PageID 3924
                              HCM V. HCMFA, et al.                            80


    1              MR. RUKAVINA:     And just so Your Honor knows, we'll

    2   supplement the record with that Exhibit 10 to the deposition

    3   as soon as it comes in.

    4              THE COURT:    All right.

    5              MR. MORRIS:     Just one question, Mr. Seery.

    6                           REDIRECT EXAMINATION

    7   BY MR. MORRIS:

    8   Q    At no time prior to the termination of the shared

    9   services agreements did you ever hear the word -- no.              Let

  10    me rephrase.

  11         Did you ever hear the word, overpayment, at any time

  12    prior to the date that Highland gave notice of termination

  13    on November 30th, 2020?

  14    A    No.

  15    Q    At any time prior to November 30th, 2020 did anybody

  16    ever tell you that Highland was failing to perform back

  17    office middle office or investment advisory services on

  18    behalf of the advisors?

  19    A    No.

  20               MR. MORRIS:     No further questions.

  21               THE COURT:    Any recross?

  22               MR. RUKAVINA:     Just very briefly.

  23                            RECROSS-EXAMINATION

  24    BY MR. RUKAVINA:

  25    Q    Mr. Seery, I want to be very respectful, but I heard




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                                                                   003139
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            81 of 84
                                                   Page 621 of 888 PageID 3925
                              HCM V. HCMFA, et al.                            81


    1   you say earlier that you're cursed with apparently a very

    2   good memory because you remember exactly how Mr. Waterhouse

    3   was seated opposite of you when you were having that

    4   discussion.

    5   A    Typically, yes.

    6   Q    So --

    7   A    When I tie the verbal to the visual, I actually have a

    8   pretty good memory.

    9   Q    I'll share that with you.

  10         But sitting here today you still don't remember the

  11    December 11th K&L letter raising the overpayments and the

  12    failure to provide services?

  13                 MR. MORRIS:    Objection, Your Honor.       Beyond the

  14    scope of redirect.     I asked questions going to November

  15    30th, 2020, period, full stop.

  16                 MR. RUKAVINA:    That's fair enough, Your Honor.

  17                 THE COURT:    Okay.    Sustained.

  18                 MR. RUKAVINA:    Thank you.

  19                 THE COURT:    All right.     Mr. Seery, you're excused

  20    from the witness stand.

  21                 Thank you.

  22                 THE WITNESS:    Thank you, Your Honor.

  23                 THE COURT:    Okay.

  24                 MR. MORRIS:    So, Your Honor, as discussed with Mr.

  25    Rukavina, respectfully we would like to break now.




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                                                                     003140
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            82 of 84
                                                   Page 622 of 888 PageID 3926
                              HCM V. HCMFA, et al.                            82


    1                THE COURT:    Okay.

    2                MR. MORRIS:    What time do you think the Court will

    3   be available to reconvene?

    4                MR. MORRIS:    I would say five after one.

    5                MR. MORRIS:    Okay.    We'll --

    6                THE COURT:    I just, the meeting is supposed to --

    7                MR. MORRIS:    We'll --

    8                THE COURT:    -- stop at one and --

    9                MR. MORRIS:    We'll be back at five after one, and

  10    after conferring with Mr. Rukavina, we do remain confident

  11    that we're going to finish today.            There are only two more

  12    witnesses.    I expect my examination of both Mr. Dondero and

  13    Mr. Norris to be under an hour each --

  14                 THE COURT:    Okay.

  15                 MR. MORRIS:    -- for sure.

  16                 THE COURT:    So we just have Dondero and Norris.

  17                 MR. MORRIS:    Yeah.    That's it.

  18                 THE COURT:    All right.     Thank you.

  19                 MR. MORRIS:    All right.       Thank you, Your Honor.

  20                 THE COURT:    We'll see you at five after one.

  21                 THE COURT OFFICER:      All rise.

  22         (Recessed at 11:17 a.m.)

  23                                     * * * * *

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                                                                     003141
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            83 of 84
                                                   Page 623 of 888 PageID 3927
                              HCM V. HCMFA, et al.                            83


    1

    2

    3
                                           I N D E X
    4
        WITNESS              DIRECT          CROSS         REDIRECT    RECROSS
    5
        ETHAN POWELL             4              17             34
    6
        JAMES P. SEERY, JR. 36                  69             80        80
    7

    8

    9
                                      R U L I N G S
  10
                                                                               PAGE
  11
        None
  12

  13

  14

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  16

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                                                                       003142
Case 21-03010-sgj Doc 114 Filed 04/15/22 Entered 04/15/22 11:35:55 Desc Main
Case 3:22-cv-02170-S Document
                         Document
                              6-1 FiledPage
                                        01/12/23
                                            84 of 84
                                                   Page 624 of 888 PageID 3928
                              HCM V. HCMFA, et al.                            84


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  17
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                                                                   003143
Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 625 of 888 PageID 3929




                      Tab 12
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-14Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              1 of 181 Page
                                                          626
                                                            5 of
                                                              of185
                                                                 888 PageID
                                                                     PageID2736
                                                                            3930



                     IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS (DALLAS)

      IN RE:                    .          Case No. 19-34054-11(SGJ)
                                .
      HIGHLAND CAPITAL          .          Earle Cabell Federal Building
      MANAGEMENT, L.P.,         .          1100 Commerce Street
                                .          Dallas, Texas 75242
                Debtor.         .
      . . . . . . . . . . . . . .
                                .          Adv. No. 21-AP-3010(SGJ)
      HIGHLAND CAPITAL          .
      MANAGEMENT, L.P.,         .
                                .
                Plaintiff,      .
                                .
             v.                 .
                                .
      HIGHLAND CAPITAL,         .
      MANAGEMENT, FUND          .
      ADVISORS, L.P., et al.,   .
                                .
                Defendant.      .          Wednesday, April 13, 2022
      . . . . . . . . . . . . . .          1:09 p.m.

                               TRANSCRIPT OF TRIAL
                                    PM SESSION
                       BEFORE HONORABLE STACEY G. JERNIGAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      APPEARANCES:

      For Plaintiff Highland        Pachulski Stang Ziehl & Jones LLP
      Capital Management            BY: JOHN MORRIS, ESQ.
      L.P.:                         780 3rd Avenue, 34th Floor
                                    New York, NY 10017

      For Defendant Highland        Munsch, Hardt, Kopf & Harr
      Capital Management            By: DAVOR RUKAVINA, ESQ.
      Fund Advisors, L.P.:          500 N. Akard Street, Ste 3800
                                    Dallas, TX 75201

      Audio Operator:               Michael F. Edmond

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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-14Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              2 of 181 Page
                                                          627
                                                            6 of
                                                              of185
                                                                 888 PageID
                                                                     PageID2737
                                                                            3931

                                                                                    2

                                         INDEX
                                                                             PAGE
      WITNESSES

      FOR THE PLAINTIFF:

      James Dondero
        Direct Examination by Mr. Morris                                        4
        Cross-Examination by Mr. Rukavina                                      47
        Redirect Examination by Mr. Morris                                     73

      Dustin Norris
        Direct Examination by Mr. Morris                                      83
        Cross-Examination by Mr. Rukavina                                    102
        Redirect Examination by Mr. Morris                                   156
        Recross-Examination by Mr. Rukavina                                  171
        Examination by the Court                                             174

      FOR THE DEFENDANT:

       (None)


      EXHIBITS                                                     ID    EVD

      FOR THE PLAINTIFF:

       (None)

      FOR THE DEFENDANT:

      Exhibit EE                                                    4      4
      Exhibit G                                                    98     98
      Exhibit H                                                    98     98




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                                                                   002644
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-14Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              3 of 181 Page
                                                          628
                                                            7 of
                                                              of185
                                                                 888 PageID
                                                                     PageID2738
                                                                            3932

                                    Dondero - Direct                               3
   1        (Proceedings resumed after the lunch recess at 1:09 p.m.)

   2              THE CLERK:     All rise.

   3              THE COURT:     Please be seated.

   4              All right.     We're back on the record in the Highland

   5 trial.     Mr. Morris, Mr. Rukavina, what do you have?

   6              MR. MORRIS:     Just before we proceed with the next

   7 witness, I think Mr. Rukavina just wants to present the exhibit

   8 that he used on --

   9              MR. RUKAVINA:     Yes, Your Honor.

  10              THE COURT:     Okay.

  11              MR. MORRIS:     -- with Mr. Seery.

  12              MR. RUKAVINA:     As I promised, we do have paper copies

  13 couriered.      I've marked it as EE.

  14              THE COURT:     Okay.

  15              MR. RUKAVINA:     If I may approach and move for the

  16 admission of EE as an impeachment exhibit.

  17              THE COURT:     Okay.   And there's no objection?

  18              MR. MORRIS:     No objection.

  19              THE COURT:     Okay.   You may approach.

  20              Thank you.     EE will be admitted.

  21        (Defendant's Exhibit EE admitted into evidence)

  22              MR. MORRIS:     I do want to note that -- maybe I spoke

  23 too fast.     I object to the extent it's being offered for the

  24 truth of the matter asserted.          Mr. Rukavina specifically said

  25 it was for impeachment, and I have no objection to its use for



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                                                                   002645
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-14Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              4 of 181 Page
                                                          629
                                                            8 of
                                                              of185
                                                                 888 PageID
                                                                     PageID2739
                                                                            3933

                                    Dondero - Direct                               4
   1 that purpose.

   2              THE COURT:     Okay.    So impeachment in an attempt to

   3 impeach Mr. Seery saying he had never heard anything --

   4              MR. MORRIS:     Correct.

   5              THE COURT:     -- until January 2021 --

   6              MR. MORRIS:     Correct.

   7              THE COURT:     -- about the alleged overpayments.          Okay.

   8              MR. RUKAVINA:     Yeah.    That's all it's offered for,

   9 Your Honor.

  10              THE COURT:     It's admitted for that purpose.

  11              MR. RUKAVINA:     That's fine by me.       That's all I'm

  12 offering it for.

  13              THE COURT:     Okay.

  14              MR. MORRIS:     Okay.    So Highland's next witness is Mr.

  15 James Dondero.

  16              THE COURT:     All right.    Mr. Dondero, if you could

  17 approach the witness box, I will swear you in.

  18              Please raise your right hand.

  19               JAMES DONDERO, PLAINTIFF'S WITNESS, SWORN

  20              THE COURT:     All right.    Please be seated.

  21                             DIRECT EXAMINATION

  22 BY MR. MORRIS:

  23 Q      Good afternoon, Mr. Dondero.

  24 A      Good afternoon.

  25 Q      Let me know when you're comfortable.



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                                                                   002646
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-14Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              5 of 181 Page
                                                          630
                                                            9 of
                                                              of185
                                                                 888 PageID
                                                                     PageID2740
                                                                            3934

                                     Dondero - Direct                              5
   1 A       Good afternoon.

   2 Q       Are you okay there?

   3 A       Yes.

   4 Q       Okay.    So there's three binders in front of you.          From

   5 time to time, I may ask you to look at a particular document.

   6 There's water there if you need it.           I don't expect my

   7 examination of you to be very long.           We'll see what happens.

   8         But are you ready to proceed?

   9 A       Yes.

  10 Q      Okay.     Frank Waterhouse is the treasurer of the Advisors.

  11 Correct?

  12 A      I -- I don't know his title specifically.           I think he's

  13 the CFLA.       I don't know.

  14 Q      He's an officer of the Advisors.         Correct?

  15 A      Yes.

  16 Q      And when I use the phrase Advisors, you understand I mean

  17 NexPoint Advisors LP and Highland Capital Management Fund

  18 Advisors L.P.       Is that fair?

  19 A      I don't know specifically.

  20        I believe HFAM.      I don't know about NexPoint.        I think

  21 NexPoint has its own CFO now.          I don't know if he's treasurer.

  22 I -- I don't know these things.          I know these things -- I know

  23 these things on a current basis, but I want to be refreshed.

  24 Q      You don't -- do you know if Mr. -- let's take it one at a

  25 time.     Do you know if Mr. Waterhouse serves as an officer of



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                             6 of 181 Page631
                                                           10 of 888
                                                                 185 PageID 3935
                                                                            2741

                                    Dondero - Direct                               6
   1 NexPoint Advisors, LP today?

   2 A      I don't know for sure.

   3        I believe so, but I -- I don't know.          But Nexpoint has its

   4 own -- excuse me -- it's own CFO and it has its own C-Suite in

   5 the various (indiscernible) separate from Frank.              But I don't

   6 know the corporate ownership of NexPoint.

   7 Q      Okay.

   8 A      I don't believe so.

   9 Q      I'm not asking you about ownership.          I don't mean to

  10 interrupt.      I'm not asking about ownership.         I'm just asking

  11 specifically whether Mr. Waterhouse has a role or a title at

  12 NexPoint today?

  13 A      I -- I don't know.

  14 Q      Okay.    Do you know if Mr. Waterhouse has a role or a title

  15 today at HCMFA?

  16 A      I -- I don't know post the restructuring with Skyview, et

  17 cetera.     I -- I don't know.      I believe so, but I don't know.

  18 Q      Okay.    Let's focus on the period January 1st, 2018 until

  19 the end of 2020, that three-year period, okay.             So 2018, 2019,

  20 and 2020.      I'm going to refer to that as the relevant period.

  21 Are you with me?

  22 A      Yes.

  23 Q      Do you recall if Mr. Waterhouse had a role or a title at

  24 NexPoint during the relevant period?

  25 A      I -- I believe he was an officer of all the major entities



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                                                                   002648
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                             7 of 181 Page632
                                                           11 of 888
                                                                 185 PageID 3936
                                                                            2742

                                    Dondero - Direct                               7
   1 during that period.

   2 Q      And when you use the phrase "all the major entities," what

   3 are you referring to when you use that phrase?

   4 A      Highland, Strand, NexPoint, HFAM.          I believe he was an

   5 officer of all the -- all the major operating entities.

   6 Q      And do you recall that he served as either the treasurer

   7 or the CFO of the Advisors at all times during the relevant

   8 period?

   9 A      I believe so.

  10 Q      And do you have an understanding of what Mr. Waterhouse's

  11 duties and responsibilities were as the treasurer or the CFO of

  12 the Advisors during the relevant period?

  13 A      Yes.

  14 Q      Can you describe for the Court your understanding of what

  15 Mr. Waterhouse's duties and responsibilities were in that

  16 capacity at that time?

  17 A      To be the chief financial accounting officer above

  18 corporate accountants, above the tax accountants, above

  19 anything accounting and regulatory-wise other than compliance

  20 reporting.      Other -- other than compliance didn't report to

  21 him.

  22 Q      And did you understand that as an officer that

  23 Mr. Waterhouse was a fiduciary of the Advisors during the

  24 relevant period?

  25 A      I -- I don't want to broadly answer that question



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                             8 of 181 Page633
                                                           12 of 888
                                                                 185 PageID 3937
                                                                            2743

                                    Dondero - Direct                               8
   1 generally, but it varies depends on -- depending on the level

   2 of fiduciary responsibility, depends on whether it's a public

   3 entity or a listed fund or a -- or a private entity.

   4 Q      Okay.    I appreciate that distinction, and I just want you

   5 to focus on the two advisors, NexPoint Fund Advisors, L.P., and

   6 NexPoint -- Highland Capital Management Fund Advisors.

   7        Is it your understanding as the person in control of those

   8 entities that Mr. Waterhouse owed those entities a fiduciary

   9 duty during the relevant period?

  10 A      Yes.

  11 Q      Okay.    And was one of his duties as the treasurer or the

  12 chief financial officer of the Advisors, was that to make sure

  13 that the Advisors only paid the amounts that they owed under

  14 the contracts that they had?

  15 A      I would describe it more generally as to administer

  16 contracts according to the contracts, the spirits of the

  17 contracts and best industry practices.

  18 Q      Okay.    And to the best of your knowledge, did

  19 Mr. Waterhouse fulfill the responsibility of administering

  20 contracts in accordance with their terms during the relevant

  21 period?

  22 A      I -- I don't know and I can't make a blanket statement.

  23 Q      Do you have any knowledge about any failure on

  24 Mr. Waterhouse's part to fulfill his responsibility of

  25 administering contracts in accordance with their terms during



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                             9 of 181 Page634
                                                           13 of 888
                                                                 185 PageID 3938
                                                                            2744

                                    Dondero - Direct                               9
   1 the relevant period?

   2 A       When does the relevant period end again?

   3 Q       December 31st, 2020.

   4 A       I think there are a lot of issues in the last year or in

   5 that 2020 year.

   6         I think his employment was -- or his responsibilities or

   7 who reported to him changed materially in that year.               And what

   8 other people performed or responsibilities or DSI had, I don't

   9 know.     I -- yeah,    I don't know how long he had responsibility

  10 or control.

  11 Q      Is it your understanding that DSI had any responsibility

  12 whatsoever for anything having to do with either of the

  13 Advisors after the petition date?

  14 A      I'm just saying as Frank got neutered and

  15 compartmentalized and we moved from various different roles,

  16 somebody else filled them, and I don't know who.              But I -- I

  17 can't say that Frank was responsible if he wasn't in his same

  18 position of responsibility and authority.

  19 Q      Did Frank Waterhouse fail to administer the contracts that

  20 the Advisors entered into with Highland after the petition

  21 date?

  22 A      I -- I think there was a failure by Highland to administer

  23 the contracts.       Whether it was Frank's responsibility or

  24 somebody else's, I don't know.

  25 Q      Who on behalf of the Advisors was charged with the



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            10 of 181Page635
                                                          14 of 888
                                                                185 PageID 3939
                                                                           2745

                                   Dondero - Direct                               10
   1 responsibility of making sure that the contracts that the

   2 Advisors were party to were properly administered after the

   3 petition date?      Who is the person?

   4 A       There -- there's almost nobody at the Advisors, period.

   5         The Advisors were paid a fee for Highland to administer

   6 the contracts.      Highland had all the accountants, compliance,

   7 and lawyers.      The Advisors had either no employees or they had

   8 a portfolio manager or trader or somebody who is front office

   9 focused on the investor funds.         So there wouldn't have been

  10 anybody to make sure or double check or be persistent if

  11 Highland wasn't doing it.

  12 Q      So did Frank Waterhouse have the duty and the obligation

  13 to administer contracts in accordance with their terms on

  14 behalf of the Advisors or did he not?

  15 A      It depends on the time frame.        Pre -- pre-bankruptcy,

  16 sure.    And any of his group were doing it for everybody, and

  17 they were doing it well.        But by the time 2020 came along, his

  18 authority and responsibilities changed materially along the

  19 way.

  20 Q      Who changed his authority?

  21 A      Seery.

  22 Q      Jim Seery changed Frank Waterhouse's authority with

  23 respect to the Advisors?

  24 A      With respect to everything in his role at Highland, which

  25 is -- his role at Highland was administering -- one of his



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            11 of 181Page636
                                                          15 of 888
                                                                185 PageID 3940
                                                                           2746

                                   Dondero - Direct                               11
   1 roles at Highland or his group's roles were administering the

   2 contracts with NexPoint and HFAM.

   3 Q      And it's your testimony that Jim Seery told Frank

   4 Waterhouse that he couldn't do the exact same thing with

   5 respect to the administration of these contracts after he got

   6 appointed than he was before he got appointed?

   7 A      I'm saying by middle of '20 when Seery kind of started

   8 betraying the estate and moving for his own self-interest, he

   9 started making material changes to the employee and

  10 responsibility base of the Highland employees, and one of those

  11 people were Frank Waterhouse.         And Frank Waterhouse's authority

  12 and functions changed materially.

  13        And I don't know -- I -- I wasn't privy to a lot of that,

  14 and some of it was negotiating part of a settlement or a lease

  15 with him and some other stuff.         But his -- his responsibilities

  16 and his role changed materially.          I'm not sure how it changed.

  17 I wasn't privy to it, but I can't broad-brush Frank as being

  18 responsible or liable for the fact that the Advisors were

  19 overbilled by Highland.

  20 Q      Did Frank Waterhouse tell you at any time that he was no

  21 longer able to continue to perform the function of

  22 administering the Advisors' contracts in accordance with their

  23 terms?     Did he tell you that?

  24 A      Not specifically.

  25 Q      Did anybody in the world ever tell you you're not going to



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            12 of 181Page637
                                                          16 of 888
                                                                185 PageID 3941
                                                                           2747

                                   Dondero - Direct                               12
   1 believe what Seery did, Seery told Frank cut it out, you're not

   2 allowed to administer the contracts on behalf of the Advisors

   3 anymore?     Anybody say that?

   4 A      No.

   5        But no one said he still could in his reduced, diminished,

   6 changed role, either.        I wasn't -- I wasn't aware.       But I

   7 assumed Highland was still performing the functions that it was

   8 getting paid for.

   9 Q      Can you tell Judge Jernigan your understanding of exactly

  10 what Frank Waterhouse was allowed and not allowed to do with

  11 respect to the administration of the Advisors' contracts?               What

  12 was he not allowed to do?

  13 A      I wasn't privy to those reductions of his responsibility.

  14 I was really handed to a portfolio management position that was

  15 not managerial, and Seery was cutting side deals and bribing

  16 people and doing all kinds of crap.

  17              MR. MORRIS:     I move to strike, Your Honor.

  18              THE COURT:    You move to strike the words "bribe?"

  19              MR. MORRIS:     Yes.   Yes.   The entirety of the last

  20 portion because the question was about Frank Waterhouse.

  21              THE COURT:    Okay.    Sustained.

  22 BY MR. MORRIS:

  23 Q      This would go a lot smoother if you'd just stick to the

  24 issues.

  25        What is the basis for your testimony that Frank Waterhouse



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                                                                  002654
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            13 of 181Page638
                                                          17 of 888
                                                                185 PageID 3942
                                                                           2748

                                   Dondero - Direct                               13
   1 was not permitted to administer the contracts on behalf of the

   2 Advisors in the exact same way after the Independent Board was

   3 appointed as he did before the Independent Board was appointed?

   4 What's the basis for that?

   5 A      His role was changed.

   6        His responsibility -- responsibilities and people who

   7 reported to him diminished and changed at least a couple of

   8 times starting in the summer of '20.           I can't represent that he

   9 was told not to administer contracts, but I also can't

  10 represent that he was still administering contracts and didn't

  11 do them.     I'm just saying it's not logical -- it's not logical

  12 for me to be able to represent any of that.

  13 Q      Okay.   When did you learn this?

  14 A      I don't want to say contemporaneously, you know, because

  15 there was always -- again, I wasn't privy to it.             I wasn't

  16 supposed to be part of management.          I would hear it with a

  17 delay either at water-cooler conversations or from lawyers.

  18 But I don't even -- I don't remember who.

  19 Q      So you don't remember who told you this and you don't

  20 remember when you learned it.         Is that fair?

  21 A      I'm saying a lot of the times it happened in second half

  22 of '20.

  23 Q      So you learned about it in the second half.           What did you

  24 do when you heard this?        Did you try to make sure that there

  25 was somebody who was going to look out to make sure that the



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            14 of 181Page639
                                                          18 of 888
                                                                185 PageID 3943
                                                                           2749

                                   Dondero - Direct                               14
   1 contracts for the Advisors were properly administered when you

   2 learned that Frank couldn't do it?          What did you do?

   3 A      In the early, early summer of '20, nothing because I

   4 assumed that with the monies we were paying from TSI and with

   5 the staff -- accounting staff that was still at Highland, that

   6 they would be administering and providing the services that we

   7 were paying for.       I didn't do anything until I found out we had

   8 overpaid by $14 million and that the overpayments were continue

   9 -- or they were continuing.         That's the only time I did

  10 something which was a couple -- three or four months later.

  11 Q      Do you know how that $14 million was calculated?

  12 A      It was -- part of the contracts with Highland were for

  13 people, and I think people plus a five or ten percent

  14 processing surcharge.        And a lot of the people have left or the

  15 percentage of time that they were spending on our stuff changed

  16 such that we had been billed as if people were still there and

  17 as if people were still working on our accounts when they

  18 weren't.

  19 Q      So you controlled the Advisors.         Correct?

  20 A      Yes.

  21 Q      And you learned sometime early in the summer of 2020 that

  22 Frank Waterhouse was no longer going to be able to perform his

  23 function of administering the contracts on behalf of the

  24 Advisors.     You learned that in the early part of the -- in the

  25 summer?



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            15 of 181Page640
                                                          19 of 888
                                                                185 PageID 3944
                                                                           2750

                                   Dondero - Direct                               15
   1 A      No.   That's not what I've said.

   2 Q      So when did you -- I thought you said early summer.             When

   3 did you learn it?

   4 A      I said his roles were diminished, but I didn't know what

   5 his roles were diminished to, nor did I make the assumption

   6 that in his diminished roles, no one would pick up the contract

   7 administration if he wasn't.

   8 Q      Did you --

   9 A      But he might still have been.

  10 Q      Did you ask Frank how did your role change?

  11 A      No.

  12 Q      Did you ask anybody in the world how did Frank's role

  13 change?

  14 A      I wasn't supposed to be part of management.           I wasn't

  15 supposed to talk to anybody.         Do you remember all the stupid

  16 shit you put through?

  17              MR. MORRIS:     I move to strike, Your Honor.

  18              THE COURT:    I will strike, and I'll ask you, Mr.

  19 Dondero, to refrain from the profanity.

  20              THE WITNESS:     Excuse me.    I apologize for that.

  21              THE COURT:    Okay.

  22 BY MR. MORRIS:

  23 Q      You and I didn't have a court experience together until

  24 December of 2020.       Right?

  25              MR. RUKAVINA:       Your Honor, this really now is just a



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                                                                  002657
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            16 of 181Page641
                                                          20 of 888
                                                                185 PageID 3945
                                                                           2751

                                   Dondero - Direct                               16
   1 point of badgering and repetitiveness.           He has his answer and

   2 now he's just haragging [sic] this witness just to intimidate

   3 him on an irrelevant topic.

   4              MR. MORRIS:     I wish I had the ability to intimidate

   5 Mr. Dondero, but the fact of the matter is I don't have an

   6 answer yet as to who was responsible for administering the

   7 contracts in accordance with their terms on behalf of the

   8 Advisors after the Independent Board was appointed.

   9              MR. RUKAVINA:     He does.

  10              MR. MORRIS:     And that's what I'm trying to get to.

  11              MR. RUKAVINA:     He has his answer.      Mr. Dondero

  12 testified that it was Highland's responsibility.

  13 Mr. Waterhouse was here yesterday.          He could have asked Mr.

  14 Waterhouse these questions.

  15              MR. MORRIS:     And --

  16              MR. RUKAVINA:     He didn't.

  17              THE COURT:    All right.     I'll overrule and give you a

  18 little bit more latitude.

  19              MR. MORRIS:     Thank you.

  20              THE COURT:    But I think he's --

  21 BY MR. MORRIS:

  22 Q      Did you make sure that there was a fiduciary for the

  23 Advisors who was looking out for the Advisors' interest after

  24 the time that you learned that Mr. Waterhouse's wings had been

  25 clipped?



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                                                                  002658
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            17 of 181Page642
                                                          21 of 888
                                                                185 PageID 3946
                                                                           2752

                                    Dondero - Direct                              17
   1 A      Not until 2021.      Not until later.

   2 Q      Did you do anything to make sure that Highland was

   3 actually doing what you now claim you expected?             Did you do

   4 anything to satisfy yourself that Highland was going to

   5 administer the Advisors' contracts in accordance with their

   6 terms or did you just assume that that was going to happen?

   7 A      I assumed Highland would honor the contracts we were

   8 paying for --

   9 Q      But --

  10 A      -- and they were paying for.

  11 Q      But you didn't do anything other than make that

  12 assumption.      Right?    You didn't have your lawyers write a

  13 letter, you didn't pick up the phone and call anybody.              You

  14 were still in open communication with Mr. Seery at this time,

  15 right, in the summer of 2020?

  16 A      It ended in the summer of 2020.

  17 Q      There was no prohibition for you to pick up the phone and

  18 call Mr. Seery and say, hey, what's happening with Waterhouse,

  19 are you guys going to just make sure you're doing this right?

  20 A      I don't know when the prohibition of talking to him

  21 started.     I don't remember.

  22 Q      But you're not relying on that prohibition to excuse your

  23 failure to call Mr. Seery to complain about this change.

  24 Right?

  25              MR. RUKAVINA:     Your Honor, it's been almost 30



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                                                                  002659
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            18 of 181Page643
                                                          22 of 888
                                                                185 PageID 3947
                                                                           2753

                                   Dondero - Direct                               18
   1 minutes on the same topic which he has answered repeatedly.

   2 That Mr. Morris might not agree with that answer, doesn't

   3 matter.     And this is a matter for closing arguments, not to

   4 take this witness for a two-hour road as to what Mr.

   5 Waterhouse's clipped wings meant when he said he doesn't know.

   6              THE COURT:    Well, it hasn't been 30 minutes,

   7 technically, but what is your response?

   8              MR. MORRIS:     I think this is an incredibly important

   9 topic because our position, among many others, is that Mr.

  10 Waterhouse did exactly the same thing after the petition date

  11 as he did before the petition date.          In fact, he testified to

  12 it yesterday.      Mr. Waterhouse testified very clearly that a new

  13 process was put in place after the petition date where,

  14 generally, he would have to approve all of the payments that

  15 were made on behalf of the Advisors under these contracts.

  16              And now I have a witness here who is completely

  17 contradicting the witness himself, Mr. Waterhouse.             And I don't

  18 understand -- I don't understand the basis for this testimony.

  19 We haven't heard anything about who told him, when he learned

  20 of this, what he did in response.          I just -- I'll move on.

  21              MR. RUKAVINA:     But the point is --

  22              MR. MORRIS:      I'll move on, Mr. Rukavina, okay?

  23              MR. RUKAVINA:     The point is, Your Honor, that

  24 Mr. Waterhouse is the best evidence of what Mr. Waterhouse did.

  25 And Mr. Morris opened a door to this just for the purpose of



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                                                                  002660
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            19 of 181Page644
                                                          23 of 888
                                                                185 PageID 3948
                                                                           2754

                                   Dondero - Direct                               19
   1 trying to badger my witness.

   2               MR. MORRIS:    That's not fair.     Mr. Dondero controls

   3 these entities.

   4               THE COURT:    Okay.

   5               MR. MORRIS:    He should know that there is somebody

   6 looking out for the interests of these entities.             He should

   7 know that.

   8               THE COURT:    Okay.   I overrule the objection.

   9               MR. MORRIS:    But I will move on.

  10               THE COURT:    Okay.

  11 BY MR. MORRIS:

  12 Q      Mr. Dondero, in 2020, entities directly or indirectly

  13 owned by you and Mr. Ellington made payments to Mr. Ellington,

  14 Mr. Waterhouse, Mr. Surgent, and Mr. Leventon.             Correct?

  15 A      Yes.

  16 Q      And did you decide to have those payments made to those

  17 individuals in 2020?

  18 A      Yes.

  19 Q      How much was paid to them in the aggregate?

  20 A      An amount equal to exactly what they would have been

  21 entitled to if they had been rooked by Highland.

  22 Q      Do you understand that Highland made a motion to try to

  23 have those bonuses paid to those individuals?

  24 A      Highland could have paid it at any time.

  25 Q      Didn't it need the Court's permission to do that?            Are you



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                                                                  002661
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            20 of 181Page645
                                                          24 of 888
                                                                185 PageID 3949
                                                                           2755

                                   Dondero - Direct                               20
   1 aware of that?

   2 A      Not -- not in my opinion.       Not for prior-year bonuses and

   3 not for prior -- and not for earned bonuses and -- and not for

   4 amounts that Seery told everybody he was going to pay them.

   5 Q      So you don't have a recollection of Highland under Mr.

   6 Seery's direction making a motion to this Court to have those

   7 very bonuses paid?       You don't remember that?

   8 A      No.

   9 Q      Do you remember that every single person in the Highland

  10 complex had their bonus paid except for those four individuals?

  11 A      No.   That's not true.

  12 Q      Okay.   So you paid them.      And how much were the bonuses

  13 that Mr. Seery stiffed them off?

  14 A      It's all in -- it's all in the Highland servers, the exact

  15 amounts.     I believe it was close to ten million bucks.

  16 Q      Okay.

  17 A      You -- you guys have all this information.

  18 Q      Okay.   But your recollection is that you caused entities

  19 owned and controlled by you and Mr. Ellington to pay something

  20 around $10 million to Mr. Waterhouse and Highland's most senior

  21 legal and compliance officers.         Correct?

  22 A      What was the first part of the question, please?            I didn't

  23 --

  24 Q      You caused entities owned and controlled by -- directly or

  25 indirectly by you and Mr. Ellington to pay somewhere



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            21 of 181Page646
                                                          25 of 888
                                                                185 PageID 3950
                                                                           2756

                                    Dondero - Direct                              21
   1 approximately $10 million in 2020 to Mr. Waterhouse and

   2 Highland's senior legal and compliance officers --

   3 Mr. Ellington, Mr. Leventon, and Mr. Surgent.            Is that right?

   4 A      Yes.

   5        So I just want to emphasize it wasn't a targeted amount.

   6 It was an amount meant to be exactly what they would have been

   7 paid if Highland had not been in bankruptcy and just paid

   8 normal bonuses in the normal course.

   9 Q      So --

  10 A      It's exactly that amount.

  11 Q      So -- and you didn't disclose that to the Court, did you?

  12 Those payments?

  13                MR. RUKAVINA:    Your Honor, I object to the

  14 implication that Mr. Dondero had any requirement to disclose

  15 anything to this Court.        It would have been those individuals'

  16 obligations.      So that is an unfair question.        Why would Mr.

  17 Dondero have to disclose to this Court that he's paying

  18 bonuses?

  19                MR. MORRIS:    If Your Honor thinks it's an irrelevant

  20 question --

  21                MR. RUKAVINA:    I didn't say it's about relevant.        I

  22 said that the question was improperly phrased as assuming that

  23 he had any legal obligation to inform the Court.

  24                MR. MORRIS:    I --

  25                THE COURT:    Overruled.



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                                                                  002663
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            22 of 181Page647
                                                          26 of 888
                                                                185 PageID 3951
                                                                           2757

                                    Dondero - Direct                              22
   1 BY MR. MORRIS:

   2 Q      Mr. Dondero, did you or anybody on your behalf ever inform

   3 the Court that entities owned, directly or indirectly, by you

   4 and Mr. Ellington were going to pay approximately $10 million

   5 to Mr. Waterhouse, Mr. Leventon, Mr. Ellington, and

   6 Mr. Surgent?

   7 A      I know we were counseled.       I know counsel told us we had

   8 no obligation.

   9 Q      Okay.    Did you tell Mr. Seery?

  10 A      Seery knew.     But I didn't tell him.

  11 Q      Okay.    That's my question.      My only --

  12                MR. MORRIS:    -- and I move to strike, Your Honor.           He

  13 ought to answer my question.

  14 BY MR. MORRIS:

  15 Q      Did you tell Mr. Seery?       That's the only question there

  16 is.

  17 A      No.

  18                THE COURT:    Okay.   Strike what you asked.

  19                MR. MORRIS:    Thank you.

  20 BY MR. MORRIS:

  21 Q      Do you know if anybody told Mr. Seery about these payments

  22 at the time they were made?

  23 A      I know -- I know he knew from either Frank or from Thomas

  24 Surgent.     But I don't know from which party.

  25 Q      Did Thomas Surgent tell you that he had informed Mr. Seery



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                                                                  002664
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            23 of 181Page648
                                                          27 of 888
                                                                185 PageID 3952
                                                                           2758

                                   Dondero - Direct                               23
   1 of these payments?

   2 A      No.

   3 Q      Did Frank Waterhouse ever tell you that he had informed

   4 Mr. Seery of these payments?

   5 A      I -- I can't recall specifically.

   6        And I -- I want to use that as the same answer on Thomas

   7 Surgent.      I can't recall specifically.       But I know -- I know

   8 one of the -- one of the two of them contemporaneously

   9 discussed it with Seery.

  10 Q      How did you learn that?

  11 A      From one or the other.       I just can't specifically remember

  12 --

  13 Q      Did they --

  14 A      -- a conversation.

  15 Q      Did they report to you what Mr. Seery said?

  16 A      No.

  17 Q      Each of these individuals subsequently filed a proof of

  18 claim in the bankruptcy court for their bonus.             Isn't that

  19 correct?

  20 A      Yes.

  21 Q      And those claims were subsequently assigned to entities

  22 owned, directly or indirectly, by you or Mr. Ellington.

  23 Correct?

  24 A      Yes.

  25 Q      Sir, you personally knew how much the Advisors were going



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                                                                  002665
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            24 of 181Page649
                                                          28 of 888
                                                                185 PageID 3953
                                                                           2759

                                   Dondero - Direct                               24
   1 to pay Highland under the Payroll Reimbursement Agreement and

   2 the Shared Services Agreement.         Correct?

   3 A      No.

   4 Q      Did you ever ask?

   5 A      No.

   6 Q      You determined in late 2017 that NexPoint would pay

   7 Highland $6 million per year for subadvisory and shared

   8 services effective January 1st, 2018.           Correct?

   9 A      I -- I don't know the specific agreements from each year.

  10        There was an agreement each year.         The agreements changed

  11 from being a flat fee to a back-service -- back-office fee plus

  12 a reimbursement of employees fee sometime more recently.               But I

  13 -- I don't know the exact dates on -- of specific contract.

  14 Q      Do you recall in late 2017 speaking with Mr. Klos and

  15 Mr. Waterhouse about having to get more money from the Advisors

  16 to Highland because Highland was losing a lot of money?

  17 A      No.

  18 Q      Do you recall discussing with them that Highland should

  19 receive $6 million from NexPoint for services rendered?

  20 A      The -- no.    All the efforts were to be fair and accurate

  21 and compliant from a regulatory and tax standpoint.              All the

  22 centralized cost allocation things.

  23 Q      Was your personal tax liability ever a factor in

  24 determining how much money would be paid from the Advisors to

  25 Highland?



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                                                                  002666
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            25 of 181Page650
                                                          29 of 888
                                                                185 PageID 3954
                                                                           2760

                                    Dondero - Direct                              25
   1 A       No.

   2 Q       Do you recall that there was a substantial change in the

   3 method and amount of money that was paid from the Advisors to

   4 Highland on account for services rendered at the beginning of

   5 2018?

   6 A       I recall there was an old agreement from '13, which was

   7 neither best practices nor compliant from a regulatory or tax

   8 standpoint, that had to be improved and made more specific.

   9 And a team from accounting, legal, and compliance re-crafted

  10 the Shared Services Agreement and front-office allocation

  11 appropriately in that 2017-'18 time period.

  12 Q      Are you aware that Frank Waterhouse signed the Payroll

  13 Reimbursement Agreements, the Sub-Advisory Agreements, and the

  14 New NexPoint Shared Services Agreement in 2018, in the first

  15 half of 2018?

  16 A      I'm not specifically aware.        It doesn't surprise me.

  17 Q      Did you ever review any of those agreements?

  18 A      No.    Yeah, no.

  19 Q      Okay.    You didn't participate in the drafting of those

  20 documents.      Correct?

  21 A      No.

  22        It was a typical shared services of a complicated

  23 financial services firm that centralizes functions.              It was a

  24 -- it was a typical agreement that would be put together and

  25 administered by accounting.



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                                                                  002667
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            26 of 181Page651
                                                          30 of 888
                                                                185 PageID 3955
                                                                           2761

                                   Dondero - Direct                               26
   1 Q       But people like Frank Waterhouse actually wore multiple

   2 hats.    Correct?

   3 A       Sure.

   4 Q       And he wore the hats of the Advisors and he wore the hats

   5 of Highland at the exact same time.          Right?

   6 A       Sure.   It's possible to be fair doing that.

   7 Q       And you're the one who decided that he should wear these

   8 multiple hats.      Right?    You're the one who appointed him to

   9 these positions?

  10 A      Yes.

  11 Q      Okay.    Do you recall that you participated in annual

  12 review meetings with Mr. Waterhouse and Mr. Klos and Mr. Okada?

  13 A      Yes.

  14        It would be multiple, generally.         Sometimes there were tax

  15 ones, sometimes there were budgeting, sometimes it was

  16 performance reviews.       Yeah.    Yes.

  17 Q      You know, I just want to go back to that issue of taxes

  18 for just a moment.       Do you recall that in 2017 and 2018, the

  19 Advisors earned millions of dollars of income?

  20 A      Not specifically, but --

  21 Q      Do you recall that they earned positive income in those

  22 years?

  23 A      I believe so.

  24 Q      And do you recall that Highland had negative income in

  25 those years?



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                                                                  002668
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            27 of 181Page652
                                                          31 of 888
                                                                185 PageID 3956
                                                                           2762

                                   Dondero - Direct                               27
   1 A       I don't know.

   2         Highland's a giant solvent pool of assets.          So the

   3 liquidity, it varies from year to year.           But -- and, also, the

   4 mark-to-marketing of those assets varied from year to year.                  So

   5 whether or not Highland made money in a given year, I don't

   6 know.    There's some years it makes a lot but has limited cash

   7 flow; other years, it has material cash flow and makes a lot.

   8 Some years it has material cash flow and loses a lot.

   9 Q       All right.   Let me just focus on operating profits.           On an

  10 operating basis, Highland lost a lot of money in 2017 and 2018.

  11 Correct?

  12 A      I don't know.

  13 Q      Okay.   Can you grab your book there, please?

  14 A      Sure.

  15 Q      And turn to Exhibit 86.       I think it's in Volume 2 of 2.

  16        Mr. Dondero, if there's any portion of the book that you

  17 in particular want to read, just let me know.            But I'd ask you

  18 to just turn to Page 2.

  19 A      Page -- I'm on Page 2.

  20 Q      Okay.   And do you see near the top, it says, quote,

  21 overall operating income projected at $900,000, but there's a

  22 $12 million loss for HCMLP which doesn't account for some other

  23 items?     Do you see that?

  24 A      Yes.

  25 Q      Does that refresh your recollection that Highland was



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                                                                  002669
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            28 of 181Page653
                                                          32 of 888
                                                                185 PageID 3957
                                                                           2763

                                    Dondero - Direct                              28
   1 projected to lose $12 million in 2018?

   2 A       Well, it actually refreshes my recollection on what I

   3 said.

   4         And there's substantial underlies in expected investment

   5 and investment commitments.         There's a balance sheet that's

   6 moving around that dwarfs the $12 million, which is what my

   7 point was.

   8 Q       I'm not talking about assets, sir.        I'm talking about

   9 operating income, the ability to pay your bills.

  10 A      Right.

  11        What I'm talking about is if you have 650 million of

  12 assets, which we still have today, you have more than enough

  13 solvency to cover 12.

  14 Q      So this wasn't a problem from your perspective?

  15 A      Correct.

  16 Q      Okay.

  17 A      It never had been.

  18 Q      Okay.    Let's go to Slide 29, please.

  19 A      In the same book?

  20 Q      Yeah.

  21                THE COURT:    I'm sorry, you said 29?

  22                MR. MORRIS:    29, yeah.

  23 BY MR. MORRIS:

  24 Q      And if you could just -- I'm just going to ask you quickly

  25 29, 30, 31, 32, that's all information about human resources.



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                                                                  002670
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            29 of 181Page654
                                                          33 of 888
                                                                185 PageID 3958
                                                                           2764

                                    Dondero - Direct                              29
   1 Correct?

   2 A      I'm sorry.       Exhibit 29, the Shared Services Agreement?

   3 Q      No, no.    I'm sorry.    In 86, just Page 29.

   4 A      Oh, okay.

   5 Q      Yeah.

   6 A      Page 29, yes.

   7 Q      Okay.    So if you look at 29, 30, 31, 32, you're given a

   8 lot of -- this deck was presented to you by Mr. Waterhouse and

   9 Mr. Klos.      Right?    If you look at the front?

  10 A      Okay.   I don't know.     I assume so.

  11 Q      Okay.   So on that assumption, if you look at 29, 30, 31,

  12 whether this is the exact book or not, you would agree that you

  13 were presented with a lot of information about the Highland

  14 platform's employees.        Correct?

  15 A      Yes.

  16 Q      And did you personally have to approve everybody who was

  17 hired?

  18 A      No.

  19 Q      But you were informed of everybody who was hired.

  20 Correct?

  21 A      Generally.

  22 Q      And you were generally informed about everybody who was

  23 fired.     Correct?

  24 A      Generally.

  25 Q      And everybody who was terminated?         If you look at 32, for



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                                                                  002671
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            30 of 181Page655
                                                          34 of 888
                                                                185 PageID 3959
                                                                           2765

                                   Dondero - Direct                               30
   1 example, they tell you exactly the number of people who were

   2 terminated and they identified by name the names of the

   3 individuals who were terminated.

   4        Do you see that?      If you look at 32.

   5 A      Sure.    Okay.

   6 Q      So there's no question that you were given that

   7 information.      Right?

   8 A      Once a year at the end of the year.           Is that what you're

   9 asking me?

  10 Q      In this deck.

  11 A      Right.

  12 Q      And you met with Brian Collins from time to time to

  13 discuss personnel matters.         Right?

  14 A      Yes.

  15 Q      And you're the person who set the compensation for

  16 everybody who worked for Highland.          Right?

  17 A      No.    Just generally.

  18 Q      Nobody got a raise without your approval.           Did they?

  19 A      Yes.    I mean I get told about it afterwards or something.

  20 Q      Who had the authority to give raises without your prior

  21 approval?      Who in the organization had the ability to hand out

  22 money without your approval?

  23 A      Well, if it was a large amount, they would seek my

  24 approval.      But I'm saying small amounts, unit heads would have

  25 that ability.



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                                                                  002672
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            31 of 181Page656
                                                          35 of 888
                                                                185 PageID 3960
                                                                           2766

                                   Dondero - Direct                               31
   1 Q      Okay.   So you had to approve -- let's -- can we use the

   2 word "material?"

   3 A      Yeah.

   4 Q      Okay.   You had the authority and the responsibility for

   5 approving all material changes in compensation for Highland's

   6 employees.     Right?

   7 A      Yes.

   8 Q      Okay.   Go to Slide 36, please.

   9        Do you remember that these annual reviews included

  10 forecasts?

  11 A      Yes.

  12 Q      And those forecasts would contain assumptions, right?

  13 A      Yes.

  14 Q      And in this particular forecast, if you look at the top,

  15 you were told to assume that the material inter-company

  16 arrangements remained unchanged and it specifically said that

  17 NexPoint and its subsidiaries would pay $6 million per year for

  18 subadvisory and shared services.          Do you see that?

  19 A      Yes.

  20 Q      Where did that number, six million, come from?

  21 A      I assume it was -- I don't know.

  22        It was -- these are the assumptions they're using.            They

  23 probably flatlined prior years.          There were probably prior

  24 years where five or six or based on growth, you know, of prior

  25 years five.      There's maybe a mixture of six.        I don't -- I



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            32 of 181Page657
                                                          36 of 888
                                                                185 PageID 3961
                                                                           2767

                                    Dondero - Direct                              32
   1 don't know the answer.

   2 Q      Did you play any role in determining how much money would

   3 be paid by the Advisors to Highland for services?

   4 A      No.     It was done via the shared services contracts that

   5 are meant to be for a variety of regulatory and tax purposes

   6 appropriate and fair.

   7                MR. MORRIS:    All right.    I move to strike.     I'm just

   8 asking him about what he did.

   9                THE COURT:    Sustained.

  10 BY MR. MORRIS:

  11 Q      Did you play any role in establishing the fees that were

  12 paid by the Advisors to Highland under any of the inter-company

  13 agreements?

  14 A      Not the specifics, just the general direction to be

  15 compliant in best practices.

  16 Q      Okay.    But you were told here -- right?        We don't really

  17 have to debate the point.        You were told, you will admit, in

  18 the beginning of 2018 that the assumption was that NexPoint and

  19 their subsidiaries would be paying $6 million a year for

  20 subadvisory and shared services.           Correct?

  21 A      Yes.    That -- I was told here that they had to make an

  22 assumption, and they made an assumption.

  23 Q      Okay.    Can you turn to Page 46, please?

  24        Do you see that that's the NexPoint three-year profit and

  25 loss forecast?



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                                                                  002674
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            33 of 181Page658
                                                          37 of 888
                                                                185 PageID 3962
                                                                           2768

                                   Dondero - Direct                               33
   1 A      Yes.

   2 Q      And do you see that in the middle of the page, there's a

   3 reference to subadvisor fees and shared service expenses?

   4 A      Yes.

   5 Q      And do you see that if you add those two numbers up for

   6 any of the years, it equals $6 million?

   7 A      Yes.

   8 Q      So, again, the projections that you were given showed that

   9 NexPoint would be paying Highland exactly $6 million for these

  10 services for each of those three years.           Is that right?

  11 A      That's the assumption in this forecast.

  12        They -- they missed the bankruptcy.         They missed the fact

  13 that the revenue wouldn't change, but they had to make some

  14 assumptions that, you know -- whatever.           But they don't know

  15 what they don't know.        But they had to make some assumptions,

  16 so they -- they put a flatline assumption in there.

  17 Q      Well, do you know that with the exception for -- with the

  18 exception of December 2020, that assumption proved 100 percent

  19 correct?      That's exactly what NexPoint paid for the first 35

  20 out of the 36 months on that forecast?

  21 A      We didn't have a lot of turnover before the bankruptcy,

  22 and it was based on head count and it was based on percentages

  23 of people.     So, yeah, the assumption probably played out until

  24 people started moving in and out and until the assets under

  25 management changed.       But, yeah, that makes sense.



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                                                                  002675
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            34 of 181Page659
                                                          38 of 888
                                                                185 PageID 3963
                                                                           2769

                                   Dondero - Direct                               34
   1 Q      This is what you were told they would pay, and this is

   2 exactly what, in fact, they did pay with the exception of

   3 December 2020.      Do you know that?

   4 A      I don't know that except for you're telling me that and

   5 showing me that here.

   6        And I'm reluctant to give any credence to a projected

   7 (indiscernible) forecast based on a lot of assumptions having

   8 to have been -- happened to have been right in a year or two

   9 somehow overrides the contracts that's very specific and very

  10 clear.

  11 Q      Well, if you take $6 million a year and you divide it by

  12 12, that's $500,000 a month.         Right?    Simple math.

  13 A      Roughly, sure.

  14 Q      Not even roughly.      Exactly.    Right?

  15 A      Okay.    It's not exactly six million, but yes.         Okay.

  16 Q      Well, if you add 3,024,000 plus 2,976,000, you actually

  17 come to exactly 6,000,000.         Right?

  18 A      Okay.    Yeah, then it's exactly 500,000.

  19 Q      It is.

  20 A      Yes.

  21 Q      And you were told in April of 2020 that NexPoint would pay

  22 exactly $500,000 for each and every month through the end of

  23 the year.      Isn't that correct?

  24 A      No.    No.

  25        And all I'm saying is there's a responsibility to



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                                                                  002676
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            35 of 181Page660
                                                          39 of 888
                                                                185 PageID 3964
                                                                           2770

                                   Dondero - Direct                               35
   1 administer a contract beyond the assumptions in a -- in a pro

   2 forma. This is meant to be an overall year-end review.              It's

   3 not meant to be a detailed review of all contracts.              It's --

   4 it's meant to be approximate.         It's summarizes everything to

   5 six, seven line items instead of a hundred line items.              It's

   6 not a -- it's for planning purposes.           That's -- that's what

   7 this document is.

   8 Q      Are you aware that the corporate accounting group prepared

   9 in the ordinary course of business 13-week forecasts?

  10 A      Yes.

  11 Q      And do you understand that those 13-week forecasts

  12 included the amount of money that the Advisors were going to

  13 pay to Highland for the services?

  14 A      We have similar assumptions on a variety of things, also,

  15 yes.

  16 Q      And were those forecasts given to you?

  17 A      Sometimes we -- we went over them periodically.

  18 Q      And when you say "we would go over them," you went over

  19 the 13-week forecasts with Mr. Waterhouse and Mr. Klos.

  20 Correct?

  21 A      Generally.

  22 Q      And you continued to get forecasts after the bankruptcy.

  23 Correct?

  24 A      Not much.    A little bit.     I -- things changed with the

  25 bankruptcy.



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                                                                  002677
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            36 of 181Page661
                                                          40 of 888
                                                                185 PageID 3965
                                                                           2771

                                   Dondero - Direct                               36
   1 Q      All right.    So before the bankruptcy, there is no question

   2 before the bankruptcy, you got the 13-week forecasts that

   3 showed exactly how much the Advisors were projected to pay

   4 under their contracts with Highland.           Right?

   5 A      Yes.

   6 Q      And after the bankruptcy filing, certainly before the

   7 Independent Board was appointed, you continued to get the

   8 13-week forecast.       Right?

   9 A      There was only a few weeks in between there.           I don't know

  10 if I saw anything in that few weeks.

  11 Q      And Highland filed disclosures on the docket showing how

  12 much revenue they generated and the sources of their revenue.

  13 Right?

  14 A      Scant -- scant detail.       But yes, a little bit regarding

  15 revenue.

  16 Q      And even after Mr. Seery was appointed, Mr. Waterhouse and

  17 Ms. Hendrix would still give you information about NexPoint and

  18 the advisors and their projections.          Right?

  19 A      I did get information on the advisors after the

  20 bankruptcy, the advisors and entities that weren't part of the

  21 bankruptcy.

  22 Q      Can you go to Exhibit 150, please, sir?

  23        And do you see that this is an email that Ms. Hendrix sent

  24 to you in April 2020, where she attached a NexPoint cash

  25 forecast?




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                                                                  002678
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            37 of 181Page662
                                                          41 of 888
                                                                185 PageID 3966
                                                                           2772

                                   Dondero - Direct                               37

   1 A       Yes.

   2 Q       And do you see that she invited you to discuss the

   3 forecast if you had any questions?

   4 A       Yes.

   5 Q       And do you see the forecast is not a big document.           Right?

   6 It's just a one pager?

   7 A       Yes.

   8 Q       It's a cash forecast?

   9 A       Yes.

  10 Q      And it shows that for every single month from May 2020

  11 until December 2020, NexPoint was projected to pay Highland how

  12 much?

  13 A      (No audible response)

  14 Q      $500,000.    Right?

  15 A      Yes.

  16 Q      So, here they are in April 2020 repeating exactly what

  17 they told you was going to happen, what they projected to

  18 happen, back in January of 2018.          Right?

  19 A      Okay.   Those are projected numbers.        They're not

  20 reconciled.      They're not trued up.      They're part of contracts

  21 that need to be administered.         The fact that they're putting in

  22 a flat line with an expectation to reconcile it later is not a

  23 surprise.

  24        People don't reconcile things on a daily basis or minute-

  25 by-minute basis.       It happens in due course when it's efficient.


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                                                                  002679
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            38 of 181Page663
                                                          42 of 888
                                                                185 PageID 3967
                                                                           2773

                                   Dondero - Direct                               38

   1 I don't know if -- I don't know when they normally reconcile,

   2 if it's quarterly or monthly or yearly, but those are questions

   3 for Frank and Klos.        But you would never have a specific

   4 contract that isn't reconciled when it has a lot of variables

   5 in it.

   6 Q      At this point, Frank Waterhouse's wings had not been

   7 clipped.       Right?   It's April.

   8 A      Correct.

   9 Q      And so he's still the person who is responsible for

  10 administering the contracts in accordance with their terms.

  11 Right?

  12 A      He's the one -- he and his group are responsible for

  13 administering the contract, due course, best practices, yes.

  14 Q      And he is telling you in April 2020 exactly what he told

  15 you in January of 2018, and that is the cost of NexPoint's

  16 contracts with Highland would be $500,000 a month.             Correct?

  17 A      That was his -- for cash flow purposes, that was his

  18 assumption, yes.

  19 Q      Okay.    And do you understand, do you know that for every

  20 single month from January 2018 until the end of November 2020,

  21 NexPoint paid exactly $500,000?

  22 A      I don't know exactly when he told me to stop paying, but

  23 hopefully they stopped paying when I told them to stop paying.

  24 Q      Well, you told them to stop paying after you got notice of

  25 termination of the shared services agreements.             Correct?


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                                                                  002680
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            39 of 181Page664
                                                          43 of 888
                                                                185 PageID 3968
                                                                           2774

                                   Dondero - Direct                               39

   1 A      No.     I told them to stop paying once we realized we were

   2 being over billed.

   3 Q      And that occurred after you got notice of termination of

   4 the shared services agreements.          Correct?

   5 A      I don't know.     I have no recollection of that.

   6 Q      All right.    We'll deal with Mr. Norris on that topic.

   7        But there's no question -- you don't have any reason to

   8 question the assertion that NexPoint paid exactly $500,000

   9 every single month for 35 months until the end of November 2020

  10 when you directed Mr. Waterhouse not to make any further

  11 payments, fair?

  12 A      Yeah.    I've no reason to know that they didn't.

  13 Q      All right.    Okay.    I want to go back in time a little bit.

  14        Are you aware that in January 2018, Frank Waterhouse

  15 signed a sub-advisory agreement on behalf of both advisors?

  16        Do you know that?

  17 A      Not specifically.      And, again, I knew there was a task

  18 force that changed and improved it to be compliant.              And I

  19 assume that's what you're referring to.

  20 Q      It's not.

  21        Can you grab Volume 1 of 2, please, and go to Exhibit 5.

  22        Do you see that's a sub-advisory agreement?

  23 A      Yes.

  24 Q      And do you see, if you look at the end, that Mr. -- and

  25 his signatures appear on the page ending in Bates Number 580.


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                                                                  002681
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            40 of 181Page665
                                                          44 of 888
                                                                185 PageID 3969
                                                                           2775

                                   Dondero - Direct                               40

   1        Do you see Mr. Waterhouse signed this sub-advisory

   2 agreement on behalf of both NexPoint and Highland?

   3 A      Yes.

   4 Q      Did you authorize him to do that?

   5 A      Not specifically.

   6 Q      No.

   7        Do you have any knowledge that Mr. Waterhouse signed a

   8 sub-advisory agreement effective as of January 1, 2018, on

   9 behalf of both Highland and NexPoint?

  10 A      I have general awareness there was a tax legal compliance

  11 accounting task force to make this agreement as accurate and

  12 proper and best practices as possible.           And this is their work

  13 product that Frank, as leading the group signed, and I'm fine

  14 with him signing it.       But I was not specifically involved and I

  15 don't have direct recollection.

  16 Q      Okay.   That's fair.

  17        Can you just turn to Page 3?

  18 A      3 of this contract?

  19 Q      Yes.

  20        Do you see it required a monthly fee of $252,000 in

  21 Section 2(a)?

  22 A      I'm sorry.    Section 2(a)?

  23 Q      Yes.

  24 A      Two dot zero one.      Is that -- I'm sorry.      Maybe I'm in the

  25 wrong --


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                                                                  002682
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            41 of 181Page666
                                                          45 of 888
                                                                185 PageID 3970
                                                                           2776

                                    Dondero - Direct                              41

   1 Q      We're in Exhibit 5.      It's Exhibit 5, Page 3.

   2 A      Hang on.    I'm sorry.    I was in Exhibit 6.

   3 Q      Take your time.

   4 A      Exhibit 6, Page 2.      Okay.

   5 Q      Yeah, we're at Exhibit 5, Page 3.

   6 A      Page 3.    Okay.

   7 Q      Do you see the compensation there is $252,000 a month?

   8 A      Yeah.

   9 Q      And do you see that it's a fixed fee?

  10 A      Yes.

  11 Q      And it doesn't have anything to do with costs, does it?

  12 A      Hold on a second.

  13 Q      Take your time.

  14 A      I think what's happening here is I think there's two

  15 agreements.      There's one for back-office people, or back office

  16 function, in general, which has a fixed fee to it which is

  17 probably what this is.

  18        And then, there's one that looks like the other one we

  19 were looking at that has a list of people in the back and the

  20 percentages of their time.         And that's the one that's cost plus

  21 and reimbursement.

  22        And this -- this one I believe was more fixed based on

  23 just general services provided.

  24 Q      Okay.   So would you agree that sub-advisory services are

  25 what's commonly known as front-office services?             They're


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                                                                  002683
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            42 of 181Page667
                                                          46 of 888
                                                                185 PageID 3971
                                                                           2777

                                   Dondero - Direct                               42

   1 investment advisory services.

   2 A      Everybody uses different names.         The front-office one is

   3 generally a people-oriented one and, then, the other one is

   4 generally a more fixed overhead.

   5 Q      Are you aware that this sub-advisory agreement was

   6 replaced with the payroll reimbursement agreement five months

   7 later?     Do you know that?

   8 A      Well, that's what I had said earlier, that from 2013 on,

   9 there was a general fixed structure one that wasn't best

  10 practices, wasn't compliant from a regulatory or tax

  11 standpoint, that was with a task force made to be compliant and

  12 split into two.      And if it happened six months after this one

  13 was signed, I don't have specific knowledge, but I know the

  14 compliant improved, enhanced one. Was enforced in '18.

  15 Q      All right.    I'm really not trying to trick you.

  16 A      Well, that's how it feels.

  17 Q      So I want to clear this up because that's exactly what I'm

  18 not trying to do.       I'm trying to get your best recollection.

  19 And if you don't recall, you don't recall.

  20        But if you look at Exhibit 3, you'll see that's the shared

  21 services agreement for NexPoint as of January 1, 2018.              And

  22 that's a fixed fee contract.

  23        Take your time and look at it.        I don't mean to rush you.

  24 A      Right.

  25 Q      But if you take a look at -- right.         That's the amended


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                                                                  002684
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            43 of 181Page668
                                                          47 of 888
                                                                185 PageID 3972
                                                                           2778

                                   Dondero - Direct                               43

   1 and restated NexPoint agreement.          It's a fixed fee agreement.

   2 If you take a look at Page 9, the consideration, its says "flat

   3 fee of $168,000 per month."

   4 A      Yes.    Okay.   I understand what you're doing now.

   5 Q      Okay.

   6 A      NexPoint had the front-office people working at NexPoint

   7 because we had public greets, people or officers there.              There

   8 were investment professionals there.           NexPoint didn't have

   9 investment professionals at Highland.

  10 Q      So you created a new sub-advisory agreement for that

  11 purpose?

  12 A      Well, what I'm saying is the sub-advisory agreement should

  13 be different for the -- or should be somewhat different, either

  14 in amounts or mechanism, between Hfam and NexPoint.              And I

  15 don't know if that's --

  16 Q      No.    I'm just not --

  17 A      And, again, I know you're trying to trick me, but if --

  18 Q      I'm not.

  19 A      -- you're saying there's one agreement here, and ah ha,

  20 there's two agreements with Hfam, they're different entities.

  21 Q      I'm not even talking about HCMFA.

  22 A      Okay.

  23 Q      I'm really just focused on NexPoint.

  24        Are you aware that on January 1, 2018, NexPoint entered

  25 into two new agreements with Highland, one of which was a


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                                                                  002685
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            44 of 181Page669
                                                          48 of 888
                                                                185 PageID 3973
                                                                           2779

                                   Dondero - Direct                               44

   1 shared service agreement for back and middle office services

   2 and one was a sub-advisory agreement for investment advisory

   3 services.      Do you know that?

   4 A      My general understanding is they both, Hfam and NexPoint,

   5 signed two that were better and more accurate, appropriate to

   6 reconcile, proper split, not art, more science-based on, on

   7 formula, and they both did.

   8        I was just -- I thought you were trying to go down a path

   9 and only one of them did, or one of them was different than the

  10 other.

  11        I wasn't that involved in the process, but there were

  12 great efforts made by the people involved to make them

  13 appropriate and complaint.

  14 Q      Okay.   And, in fact, HCMFA did not sign the sub-advisory

  15 agreement at the beginning of 2018.          Are you aware of that?

  16 A      No.

  17 Q      One was prepared, but they didn't sign it.

  18        Do you know that?

  19 A      No.   I have no awareness of that.

  20 Q      And are you aware that the sub-advisory agreement that was

  21 signed by Mr. Waterhouse on behalf of NexPoint and the sub-

  22 advisory agreement that was prepared for HCMFA but not signed

  23 by anybody, were actually replaced by these payroll

  24 reimbursement agreements.

  25        Do you have any recollection of any of that or any


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                                                                  002686
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            45 of 181Page670
                                                          49 of 888
                                                                185 PageID 3974
                                                                           2780

                                   Dondero - Direct                               45

   1 knowledge?

   2 A      Frank would be your person.

   3 Q      Okay.

   4 A      If the timing was so close, they might've held off on one

   5 agreement because they knew it was coming.            Maybe they signed

   6 one in due course because an auditor needed it.

   7 Q      I don't want you to speculate.

   8 A      You know, I mean, I have no idea, but you ask him.

   9 Q      You're the person in control, so I'm asking you.            If you

  10 don't know, just say I don't know.

  11 A      I don't know.     I have no idea.

  12 Q      Okay.   Did you ever read the Payroll Reimbursement

  13 Agreement before it was signed?

  14 A      No.

  15 Q      Have you read it today?

  16 A      No.

  17 Q      Do you ever look at that Exhibit A that was attached to it

  18 cause you referred to it?        Do you ever look at that Exhibit A?

  19 A      I saw it, but it was exactly what I expected, a list of

  20 people and percentages.

  21 Q      Are you aware that some of those people had been

  22 terminated from Highland before the agreement was even signed?

  23 A      The day I became aware of that, and we were still paying

  24 for them, is the day we stop paying.

  25 Q      Oh, that's when you first learned?


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                                                                  002687
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            46 of 181Page671
                                                          50 of 888
                                                                185 PageID 3975
                                                                           2781

                                    Dondero - Direct                              46

   1 A      No.   I mean, I knew -- I mean, I knew people had left the

   2 company, but the day I first knew that we were still paying for

   3 people who had left the company was the day we stopped paying.

   4 Q      Ah, okay.    But there's no question that you knew when the

   5 people on that Exhibit A left the company.            You knew that.

   6 Right?

   7 A      Sure.

   8 Q      Sure.    Okay.

   9        Was it your understanding that when one of the individuals

  10 listed on Exhibit A was terminated that the amount of money

  11 that NexPoint would pay to Highland would be reduced?

  12        Was that your understanding?

  13                MR. RUKAVINA:    Your Honor, I'll object on

  14 speculation.      The witness said he did not read that payroll

  15 reimbursement agreement, negotiate it, so this is all based on

  16 speculation.

  17                THE COURT:   Overruled.

  18                THE WITNESS:    Absolutely.   But when it was

  19 reconciled, I don't know.        I wasn't, you know --

  20 BY MR. MORRIS:

  21 Q      So it's your understanding that every time a dual employee

  22 left Highland, that NexPoint should have gotten a reduction in

  23 the amount of money it paid under the payroll reimbursement

  24 agreement.      Do I have your understanding correctly?

  25        Is that fair?


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                                                                  002688
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            47 of 181Page672
                                                          51 of 888
                                                                185 PageID 3976
                                                                           2782

                                     Dondero - Cross                              47

   1 A      Yeah.    Absolutely.    Why would you have a list of people

   2 and percentages otherwise?

   3 Q      Okay.

   4 A      You wouldn't have it.

   5 Q      Okay.    And did you ever take any steps to make sure that

   6 when dual employees left, there was a reduction in the amount

   7 of money that NexPoint was paying to Highland?

   8 A      We relied on Highland for that in the fees we were paying

   9 Highland.      We didn't have the staff to do it in our entities.

  10 Q      Well, in fact, I think you testified, and I'll just ask

  11 you to confirm, that until the summer of 2020, Frank

  12 Waterhouse, as the treasurer or the CFO of the advisors, who

  13 had a fiduciary duty, one of his responsibilities was to

  14 administer the contracts in accordance with their terms.

  15        Do I have that understanding correct?          He was the one,

  16 until the summer of '20, until Mr. Seery did what you contend

  17 Mr. Seery did, until that moment, he is the one on behalf of

  18 the advisors who had the responsibility of administering

  19 contracts.      Right?

  20 A      Yes.    Administering.

  21                MR. MORRIS:    I have no further questions, Your Honor.

  22                THE COURT:    All right.   Pass the witness.

  23                               CROSS-EXAMINATION

  24 BY MR. RUKAVINA:

  25 Q      Mr. Dondero, what was your title at Highland in 2018 and


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                                                                  002689
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            48 of 181Page673
                                                          52 of 888
                                                                185 PageID 3977
                                                                           2783

                               Dondero - Cross/Rukavina                           48

   1 2019?

   2 A       President.

   3 Q       Okay.   Were you at the top?

   4 A       Yes.

   5 Q       For the record, what was the size of Highland at that

   6 time, revenue, assets under management, employees?

   7 A       Very similar to today, really, in terms of asset size.

   8 About 650 million in assets.

   9 Q       Owned assets.

  10 A       Owned assets.

  11 Q       What about managed assets?

  12 A       Well, I can't -- I know it was bigger.         The CLOs were

  13 bigger.

  14 Q       Are we talking about billions?

  15 A       Yeah.   It was --

  16 Q       And approximately how many employees in 2018?

  17 A       Boy, maybe 40, 50 more than today.

  18 Q       So how many in total?

  19 A       150 maybe.

  20 Q       Okay.   And just approximate annual revenue back then?

  21 A       I don't know.

  22 Q       Well, let me ask you this.

  23 A       Yeah, sure.

  24 Q       As the president of an entity that had hundreds of

  25 millions of dollars in assets, billions of dollars under


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                                                                  002690
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            49 of 181Page674
                                                          53 of 888
                                                                185 PageID 3978
                                                                           2784

                                  Dondero - Cross/Rukavina                        49

   1 management, and hundreds of employees, would you expect that

   2 you would know every detail about every contract or every

   3 negotiation?

   4 A      No.     No, we had a good accounting staff.       We had a good

   5 compliance staff.        We had a good legal staff.      And they did

   6 their jobs respectively to administer things appropriately, the

   7 way we were operating, which was typical of other asset

   8 management firms.

   9 Q      So I take it you would get advice from subordinates from

  10 time to time.

  11 A       Yeah, sometimes.       Yeah, it --

  12 Q       Would you act on that advice?

  13 A       Yeah.    And it was --

  14 Q       Would you receive instructions?

  15                 MR. MORRIS:    Objection.    Leading.

  16                 THE COURT:    Overruled.

  17 BY MR. RUKAVINA:

  18 Q       Would you receive instructions?

  19 A       Yes.    And --

  20 Q       And who would execute those instructions?

  21 A       It would depend on the area.         But, you know --

  22 Q       Would it be you?

  23 A       No, I wouldn't execute it.         But, it would depend on the

  24 area.    If it, you know -- we would -- we act very quickly to

  25 anything coming from compliance that was a concern.              Anything


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                                                                  002691
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            50 of 181Page675
                                                          54 of 888
                                                                185 PageID 3979
                                                                           2785

                               Dondero - Cross/Rukavina                           50

   1 from tax would also be a priority.          And then, you know, the

   2 accounting or GAAP accounting kind of caught up around the --

   3 Q      And let me interrupt you.

   4 A      -- annual audit.

   5 Q      Let me interrupt you because --

   6 A      Sure.

   7 Q      -- I really do want to move on.

   8        And Mr. Waterhouse, he was a senior executive like

   9 yourself.      Is that accurate?

  10 A       Yes.

  11 Q       Would you have expected Mr. Waterhouse to know the details

  12 of all contracts and all transactions?

  13 A       He had a staff, and he needed to have a significant staff.

  14 They were the --

  15 Q       Why did he need to have a significant staff?

  16 A       There were a lot of audits.       There were a lot of public

  17 company responsibilities.        There were a lot of private equity

  18 company expenses.

  19 Q       Were their contracts to manage?

  20 A       Yeah, there was lots of things.        Everything from personnel

  21 to --

  22 Q       Would you have expected --

  23 A       -- contracts to tax, you know.

  24 Q       Would you have expected Mr. Waterhouse to personally

  25 manage or administer contracts?


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                                                                  002692
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            51 of 181Page676
                                                          55 of 888
                                                                185 PageID 3980
                                                                           2786

                               Dondero - Cross/Rukavina                           51

   1 A      No.   He would have mechanisms set up for it.          And, again,

   2 you can't administer contracts every 15 minutes.             You would

   3 have some cost benefit to when you administered them or

   4 reconciled them.

   5 Q      So how would you expect Mr. Waterhouse to learn of a

   6 potential problem with administering a contract?

   7 A      Either one of his people would alert him to it or one of

   8 the groups that were paying it would alert it to him -- alert

   9 him to it or he would notice.

  10 Q      Would you have expected him to notice for each contract

  11 being administered if there were hundreds of contracts?

  12 A      I mean, eventually.

  13        I mean, a lot of things catch up at year-end or at the

  14 audit.     But eventually, he or his team would -- or are

  15 responsible for administering contracts.           It's rare it's a

  16 major gaff and it's not good for people's career if -- let's

  17 say you have a lease contract that's supposed to escalate every

  18 year and someone forgets to escalate the rents for five years.

  19        You know, it's -- that's -- that would be a bad reflection

  20 on a lot of people because then it's a project to go back and

  21 try and get it and argue it and whatever.

  22 Q      Didn't Mr. Waterhouse, in fact, at some point in time,

  23 inform you that he had learned of the overpayments.

  24              MR. MORRIS:     Objection.    Leading.    I just --

  25              THE COURT:    I didn't even hear the question --


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                                                                  002693
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            52 of 181Page677
                                                          56 of 888
                                                                185 PageID 3981
                                                                           2787

                                 Dondero - Cross/Rukavina                         52

   1                MR. RUKAVINA:      I'm sorry, Your Honor.

   2                THE COURT:    --    to be honest.

   3 BY MR. RUKAVINA:

   4 Q      Did Mr. Waterhouse, at some point in time, inform you that

   5 he had learned of the overpayments?

   6 A      Yeah.    That was in --

   7                THE COURT:    Oh, overruled.    He can answer.

   8                THE WITNESS:    -- November or December of '20?

   9 BY MR. RUKAVINA:

  10 Q      And was that -- and just to confirm, was that the first

  11 time you learned of the overpayments?

  12 A      Yeah, the first time I had learned that there were

  13 overpayments that weren't reconciled or that we weren't getting

  14 credit for.

  15 Q      What do you mean by reconciled?

  16 A      Well, that there wasn't a -- either a reduction in future

  17 payments or something for overpayments in the past.              There's

  18 lots of ways to --

  19 Q      Was there a -- but --

  20 A      -- satisfy a --

  21 Q      Was there a general --

  22 A      -- deficiency.

  23 Q      Was there -- and I'm sorry to keep interrupting you, sir.

  24 We just want to try to get done today.

  25        Was there a general practice at Highland as far as


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                                                                  002694
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            53 of 181Page678
                                                          57 of 888
                                                                185 PageID 3982
                                                                           2788

                               Dondero - Cross/Rukavina                           53

   1 reconciling or chewing up contracts?

   2 A      Not that I'm aware of.       I'm sure they had one, but not

   3 that I'm aware of.

   4 Q      Okay.   Are you aware that the two payroll reimbursement

   5 agreements were amended to provide $2.5 million of additional

   6 cash from the advisors to Highland?

   7 A      In what year was that?       Or that was --

   8 Q      At the end of 2018?

   9 A      Yeah.   I believe there was a reconciliation of some sort

  10 there, yes.

  11 Q      That's what I'm asking you.

  12 A      Yes.

  13 Q      What do you understand, if anything, about that

  14 reconciliation?

  15 A      That they did the proper true-up in the accounting and,

  16 whether it was based on assets under management, work, or

  17 people, they made the proper adjustments.

  18 Q      Is that the only true-up to your understanding?            Because I

  19 asked you about a general practice, and you said that there was

  20 not.

  21 A      I said I didn't know if there was.         If they did it at

  22 year-end and you're telling me they did it year-end '18, it

  23 sounds like it was a year-end process.

  24 Q      Do you remember authorizing the advisors to pay $2.5

  25 million in additional payroll reimbursement expenses at the end


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                                                                  002695
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            54 of 181Page679
                                                          58 of 888
                                                                185 PageID 3983
                                                                           2789

                               Dondero - Cross/Rukavina                           54

   1 of 2018?

   2 A      I don't remember.      I don't know if I would've had to

   3 authorize it if it was part of the true-up process.

   4 Q      And you were also asked whether, in light of what you

   5 described as Mr. Waterhouse's diminished role or clipped wings

   6 -- whatever words were used -- you expected someone else to

   7 administer the contracts with the advisors.            I want to follow

   8 up on that.

   9        Do you know who Dustin Norris is?

  10 A      Yes.

  11 Q      And what's your understanding of who he is for the

  12 advisors?

  13 A      That's a good question.       I don't want to -- I don't want

  14 to fumble this one.

  15 Q      Let me ask you this.      Is he an officer?

  16 A      The broker-dealer, in some of the entities, yes.            I don't

  17 know if all of the entities.

  18 Q      Did you ask Mr. Norris to involve himself in any way with

  19 these overpayments and these contracts?

  20 A      Well, we were trying to do an amicable split.           After we

  21 found out about the overpayments, Dustin was front and center

  22 trying to have a soft landing instead of having everybody

  23 kicked out of the building and then coming back and all that

  24 nonsense.

  25        But my recollection is in that November-December time


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                                                                  002696
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            55 of 181Page680
                                                          59 of 888
                                                                185 PageID 3984
                                                                           2790

                               Dondero - Cross/Rukavina                           55

   1 frame, hearing about it from Frank, and then stopping excess

   2 payments until we were trued up.

   3 Q      And also, you were asked about Frank's official titles

   4 with the advisors.       To your understanding, who was actually --

   5 who actually employees Frank?         What company is his employer?

   6 A      In the time frame we're talking about?

   7 Q      No.    Today, sir.    When you were asked about today.

   8 A      Today, he works for a Skyview.

   9 Q      And what's Skyview?

  10 A      Skyview is an amalgamation of the accounting staff and

  11 legal staff in a separate entity.

  12 Q      Former Highland employees?

  13 A      Yes.

  14 Q      And is that why you're not technically sure as to whether

  15 he's an officer because he's an employee of Skyview?

  16 A      That's right.

  17 Q      Okay.    I think you've testified that whatever his role is,

  18 he is in charge of accounting for the advisors?

  19 A      Yes.

  20 Q      Okay.    Today?

  21 A      Yes.

  22 Q      Okay.    And just for the record, the Court may or may not

  23 know, but when you refer to Hfam, are you referring to HCMFA?

  24 A      Uh-huh.    Yes.

  25 Q      Okay.    Now, I don't think there's any point in showing you


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                                                                  002697
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            56 of 181Page681
                                                          60 of 888
                                                                185 PageID 3985
                                                                           2791

                               Dondero - Cross/Rukavina                           56

   1 the payroll reimbursement agreements since I think you

   2 testified you never read them.         But there are amounts in those

   3 agreements and those amounts total up to certain amounts per

   4 year.    Are you following me so far?

   5 A       Yes.

   6 Q       Do you know how those yearly amounts were determined for

   7 the two payroll reimbursement agreements?

   8 A       Some of the fixed numbers are relevant to what's the fixed

   9 expense base and then divided based on --

  10 Q       Well, let me pause you.      Let me pause you.      I apologize.

  11         I'm talking about just the payroll reimbursement now, not

  12 the shared services.

  13 A       Oh, the payroll --

  14 Q       The payroll of --

  15 A       Yeah.

  16 Q       -- the employees.

  17 A       Yeah, the payroll of the employees and they're, and I

  18 don't want to call them unallocated, but some of the employees

  19 are employees that represent various entities.             And then,

  20 there's a percentage allocation of their time.

  21 Q       And all that rolls up into a number.

  22         Are you following me so far?

  23 A       That's right because the percentage of their time is then

  24 a percentage of their total comp.

  25 Q       So what I'm asking you is, did you determine -- so


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                                                                  002698
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            57 of 181Page682
                                                          61 of 888
                                                                185 PageID 3986
                                                                           2792

                               Dondero - Cross/Rukavina                           57

   1 remember, all those percentages and all that rolls up into a

   2 number, okay?      Let's call that number X.       Are you with me?

   3 A      Yes.

   4 Q      Did you set or determine what X would be?

   5 A      No.

   6 Q      Do you know how X was determined?

   7 A      By having the relevant people on the list and that the

   8 less would hopefully be comprehensive and complete.              And the --

   9 Q      Do you know who prepared --

  10 A      And then, the percentage allocations would be appropriate.

  11 Q      Do you know who prepared X?        X, again, being the number

  12 that all this roles up into?

  13 A      Yeah.   The starting -- the starting appendix with all

  14 those people on it was that task force of legal, compliance,

  15 and accounting to provide the starting point.            And those

  16 documents that are based on people and percentages are living

  17 documents that change over time.

  18 Q      Do you know whose idea it was originally to have those

  19 payroll reimbursement agreements?          In other words, you talked

  20 about how the prior agreements were changed for best practices.

  21        Do you know whose idea that was?

  22 A      I believe it came from the auditors which came from -- the

  23 auditors from a tax and a regulatory standpoint.             You can't

  24 just have whimsical numbers.         There has to be a basis for the

  25 allocations.      And the more directly you can tie it to people


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                                                                  002699
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            58 of 181Page683
                                                          62 of 888
                                                                185 PageID 3987
                                                                           2793

                               Dondero - Cross/Rukavina                           58

   1 and contribution and a percentage of overhead, the better.               And

   2 that's -- that's why the new contracts were presented best

   3 practices.

   4 Q      Because they have to withstand regulatory and tax

   5 scrutiny?

   6 A      Yeah.

   7 Q      Okay.

   8 A      Yeah -- or yeah, that's right.        Scrutiny or challenge if

   9 --

  10 Q      So if someone suggests that you pulled numbers out of thin

  11 air, $5 million for HCMFA, on an annual basis, and $6 million

  12 for NexPoint on an annual basis, would you agree with that?

  13 A      No.

  14 Q      Okay.     And if someone suggests that you pulled those

  15 numbers for a reason involving trying to get liquidity into

  16 Highland, would you agree with that?

  17 A      No.     I would say --

  18 Q      And if someone -- hold on, sir.

  19 A      Yeah.

  20 Q      And if someone suggested that you pulled those numbers in

  21 order to get tax deductions for the Advisors, would you agree

  22 with that?

  23 A      No.

  24 Q      Okay.

  25 A      Yeah.




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                                                                  002700
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            59 of 181Page684
                                                          63 of 888
                                                                185 PageID 3988
                                                                           2794

                               Dondero - Cross/Rukavina                           59

   1 Q      What were you going to say, sir?         You were going to

   2 explain.

   3 A      I was going to say that the purpose of best practices was

   4 to avoid any assertions by regulatory or GAAP accountants or

   5 tax accountants that it was tax fraud.

   6        What you're describing is tax fraud, which means the

   7 people who did it, instead of -- if they did it and they said

   8 they did it, and they said they did it because I told them,

   9 then they committed tax fraud, and their defense is they didn't

  10 do anything about it.        Or --

  11 Q      That's the Nuremberg Defense I think, sir.           But let me --

  12 A      -- or complained.      And instead they just --

  13 Q      Let me --

  14 A      -- their defense is going to be I told them?

  15 Q      Let me interrupt you again.        Let's assume it's the

  16 Nuremberg Defense.       How long have you known David Klos?

  17 A      Several -- you know, a bunch of years.          Ten years,

  18 probably.

  19 Q      Do you have an opinion of his professionalism?

  20 A      He's --

  21 Q      Prior to this litigation.

  22 A      Prior to him being co-opted by --

  23 Q      Yes.

  24 A      Okay.

  25                MR. MORRIS:   Move to strike, Your Honor.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            60 of 181Page685
                                                          64 of 888
                                                                185 PageID 3989
                                                                           2795

                                 Dondero - Cross/Rukavina                         60

   1                THE COURT:    Sustained.

   2 BY MR. RUKAVINA:

   3 Q      Prior to the confirmation of the bankruptcy plan, did you

   4 have an opinion of Mr. Klos' professionalism?

   5 A      I would divide it into two portions.          It was before he was

   6 enticed --

   7 Q      Well, let me --

   8 A      -- to work for the --

   9 Q      Because we're going to have motions to strike.            Let me ask

  10 a different question.

  11                MR. MORRIS:    I move to strike the word enticed.

  12                THE COURT:    Sustained.

  13 BY MR. RUKAVINA:

  14 Q      Let me ask a different question.         In 2018, would you have

  15 believed that David Klos could be -- could possibly create

  16 deceptive documents for tax fraud or tax cheat purposes?

  17 A      No.

  18 Q      What about Mr. Waterhouse?

  19 A      No.

  20 Q      What about Ms., and I apologize, I count pronounce her

  21 name, Thedford.        You know who I'm talking about, Lauren.

  22 A      Right.    No.

  23 Q      Okay.    Anyone at Highland?

  24 A      No.   We were a very compliant organization.

  25 Q      What about at the end of 2018 when the $2.5 million was


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                                                                  002702
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            61 of 181Page686
                                                          65 of 888
                                                                185 PageID 3990
                                                                           2796

                               Dondero - Cross/Rukavina                           61

   1 paid as additional money under the payroll agreements.              Can you

   2 imagine of anyone at Highland that would have done that for

   3 some kind of tax cheat or tax fraud purposes?

   4 A      No.

   5 Q      And if someone testified here that the whole purpose of

   6 these contracts was for the Advisors to suck money out of

   7 Highland, would you have an answer to that?

   8 A      I would say they're not telling the truth, and they're

   9 incentivized to not tell the truth.

  10 Q      And before Mr. Klos -- well, before -- through the year

  11 2020, would you have expected Mr. Klos to flag any potentially

  12 deceptive or potentially unlawful activities or documents to

  13 you?

  14 A      Yes.

  15 Q      You met with Mr. Klos, you met with him regularly, didn't

  16 you back then?

  17 A      Yes.

  18 Q      Would you have expected Mr. Waterhouse to flag or raise

  19 issues with you if there was anything deceptive or potentially

  20 fraudulent?

  21 A      Yes.

  22 Q      And did either of those ever raise any issue to you, or a

  23 red flag with respect to the Shared Services Agreements or

  24 Payroll Reimbursement Agreements?

  25 A      Not to me, not to the auditors, not to compliance, not to


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                                                                  002703
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            62 of 181Page687
                                                          66 of 888
                                                                185 PageID 3991
                                                                           2797

                               Dondero - Cross/Rukavina                           62

   1 HR, not to anybody.

   2 Q      Were you surprised when you learned towards the end of

   3 2020 about the overpayments?

   4 A      Yes.

   5 Q      Were you angry?

   6 A      Yeah.

   7 Q      Why?

   8 A      Why.    This has been a most unusual bankruptcy.          Right?

   9 You have an initial assessment that after getting rid of a

  10 couple people the first few months, that everybody else is

  11 critical and needs to stay around.          And then you work everybody

  12 extremely hard, particularly legal and accountants, to really

  13 do all the work that Pachulski and DSA filed, and take tens of

  14 millions of dollars of fees out.           But most of it was prepared

  15 by our guys.

  16        And then you get to the second half of '20, and the

  17 decision is made that not only is there not going to be any

  18 kind of key employee retention, but there's going to be an

  19 attack on the employees, and they're not going to get paid

  20 their '18 or '19 bonuses, or amounts for '20 either.              And then

  21 some people who were most critical for preserving the estate

  22 get fired for cause.       I mean, it's just crazy town.

  23 Q      But --

  24 A      So that's the backdrop.

  25 Q      That's the back drop.       So --


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                                                                  002704
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            63 of 181Page688
                                                          67 of 888
                                                                185 PageID 3992
                                                                           2798

                                 Dondero - Cross/Rukavina                         63

   1 A      So people were being paid and then --

   2 Q      Are you aware, sir --

   3 A      I have --

   4 Q      Pardon me.    Pardon me.     Pause.

   5 A      Sure.

   6 Q      Are you aware, sir, that during all that time, the

   7 Advisors were actually paying to Highland bonuses for these

   8 employees that didn't get bonuses?

   9 A      That's right.     And so --

  10 Q      So were you angry about that?

  11 A      So I was angry we were -- we were overpaying.           We were

  12 having to make up rightful compensation to people from other

  13 pockets to just keep people flat.          And at the same time, we're

  14 getting overpaid, or we're getting overcharged for the services

  15 we are using from Highland.

  16 Q      Who are we being overcharged by?

  17 A      Highland.

  18 Q      And who was supposed to be monitoring our contracts for

  19 appropriateness before we paid an invoice?

  20 A      Highland.

  21 Q      And who has maligned you for the last year and a half in

  22 this court and everywhere else?

  23                MR. MORRIS:    Objection to the form of the question.

  24 This is just --

  25                THE COURT:    Sustained.


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                                                                  002705
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            64 of 181Page689
                                                          68 of 888
                                                                185 PageID 3993
                                                                           2799

                               Dondero - Cross/Rukavina                           64

   1 BY MR. RUKAVINA:

   2 Q      We'll move on.     You were asked about the I think you said

   3 upwards of about $10 million of payments to the senior

   4 executives?

   5 A      Yes.

   6 Q      And you were asked whether you authorized those, and you

   7 said yes?

   8 A      Yes.

   9 Q      Why did you authorize those?

  10 A      Those were deferred payments that they were due.            In any

  11 other bankruptcy in any normal court, they would have been paid

  12 multiples of that.

  13 Q      Well, whose idea was it to have those payments made?

  14 A      Whose idea?     It was -- it was the employees who were

  15 short-shifted.

  16 Q      Did they talk to you --

  17 A      I agree with -- yes.      They did.

  18 Q      Okay.   And did they make any representations to you as to

  19 whether such payments would be above-board or not?

  20 A      We had legal -- like I said, we did check with legal --

  21 Q      Okay.

  22 A      -- counsel.

  23 Q      Well, let's not get too --

  24 A      Yeah.

  25 Q      -- far into that.      Okay.   And you mentioned that you


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                                                                  002706
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            65 of 181Page690
                                                          69 of 888
                                                                185 PageID 3994
                                                                           2800

                               Dondero - Cross/Rukavina                           65

   1 believe that Mr. Surgent or Mr. Waterhouse informed Mr. Seery

   2 of those payments?

   3 A      Yes.

   4 Q      And what is the basis of your understanding on that?

   5 A      They were both having -- at that time, both having

   6 negotiations with Mr. Seery regarding liability, severance, and

   7 potentially staying on with Highland.           So I know it was part of

   8 those conversations.

   9 Q      Were those senior employees the core of your team at

  10 Highland?

  11 A      Yeah.    Part of it, for sure.      Yeah.

  12 Q      Were you concerned about them disbursing to the wind, so

  13 to speak?

  14 A      Well, I was concerned that they would be treated unfairly,

  15 unprecedented in bankruptcy really, in terms of being deprived

  16 of prior bonuses by an estate that's twice as solvent as its

  17 debts.     You know?

  18 Q      And Isaac Leventon was one of those people.           Right?

  19 A      Yes.

  20 Q      And without going into a long sob story, did he have some

  21 health issues with his children?

  22 A      Yeah.    He's got a handicapped kid and a wife in a

  23 wheelchair.      And somehow they wanted to screw him out of his

  24 '18 and '19 bonuses.

  25                MR. MORRIS:   I move to strike, Your Honor.        This is


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                                                                  002707
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            66 of 181Page691
                                                          70 of 888
                                                                185 PageID 3995
                                                                           2801

                               Dondero - Cross/Rukavina                           66

   1 just -- this is so irrelevant, and it's so --

   2              MR. RUKAVINA:     And Mr. Morris opened the door.

   3 Mr. Morris opened the door.

   4              MR. MORRIS:     To what?

   5              MR. RUKAVINA:     To the $10 million of bonuses.

   6              THE COURT:    Okay.    Well, that is not the family

   7 situation of Mr. Leventon.

   8              MR. RUKAVINA:     I'm developing the answers as to why

   9 he authorized those bonuses.         Mr. Seery was allowed, Your

  10 Honor, respectfully, to pontificate for a long time.              This

  11 gentleman needs to have the ability to tell his story.              People

  12 are coming to your court saying that he paid $10 million under

  13 the table in some nefarious plot to basically have moles and

  14 cheats at Highland.       Even though Mr. Surgent is still there, I

  15 remind you.      So I'm giving the man a chance to explain why he

  16 authorized that.       I'm not allowed to lead, which is why I'm

  17 asking it this way.

  18              THE COURT:    I'll allow a little more on this topic,

  19 that's it.

  20 BY MR. RUKAVINA:

  21 Q      Did other of these senior executives also have issues such

  22 that they needed money?

  23 A      Isaac's was the most acute.        And --

  24 Q      But did that form a part of your reasoning for authorizing

  25 the payments?


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                                                                  002708
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            67 of 181Page692
                                                          71 of 888
                                                                185 PageID 3996
                                                                           2802

                               Dondero - Cross/Rukavina                            67

   1 A      Yeah, absolutely.      But again, they were entitled to it.

   2 They worked hard, they had maximized value in the estate, and

   3 then the professionals in the estate decided to take the

   4 estate.

   5 Q      Okay.    And you mentioned a solvency, and twice the

   6 solvency of the estate and liquidity.           What did you mean?       And

   7 if you can, explain because you were also asked about whether

   8 Highland was making or losing money in '18 or '19.              Explain

   9 what you meant when Mr. Morris was asking you those questions.

  10 A      The value of Highland estate today is $650 million.              And

  11 it's sitting on 200 million in cash.           The Highland estate

  12 really has not changed that much in terms of value.              It's

  13 really just gone up over the last two years.            Okay?    There were

  14 great efforts to hide and deceive the value of, and not

  15 disclose the value of relevant assets.           But the value today is

  16 650.

  17 Q      What was the value in 2018, 2019, to the best of your

  18 recollection?

  19 A      Probably a low of 500.       Maybe 550.

  20 Q      What prompted the bankruptcy filing?

  21 A      We one arbitration award that we wanted to term out in

  22 Delaware.      We wanted to term it out for -- into a one- or

  23 two- year note.      And then that's it.       But we had --

  24 Q      Was there --

  25 A      We had a settlement with UBS four months, five months


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                                                                  002709
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            68 of 181Page693
                                                          72 of 888
                                                                185 PageID 3997
                                                                           2803

                                Dondero - Cross/Rukavina                          68

   1 before we -- before we filed for $7 million and 10 million of

   2 future business.         And HarbourVest was never really a liability.

   3 Q      Did Highland file because of solvency issues?

   4 A      No.

   5 Q      Did Highland file because of liquidity issues?

   6 A      No.    Well, liquidity issues, we -- we had -- we needed

   7 time to raise the money for the -- we needed time to raise --

   8 Q      And --

   9 A      -- the money for the arbitration award.

  10 Q      And sir, you're aware of certain promissory notes that

  11 various affiliates and you have with Highland?             Are you

  12 generally aware of those?

  13 A      Yes.

  14 Q      And prior to bankruptcy, on occasion would Highland come

  15 to you and ask that some of those notes be prepaid for

  16 liquidity purposes?

  17 A      Yes.     Often.    And we generally did.    Yeah.

  18 Q      Was that the primary way that if Highland needed to have a

  19 pinch in a liquidity issue, it would raise money?

  20 A      Yes.     I think once we were down to 50, 60 million.         At one

  21 point they were as high as 90.         I think I paid 9 million in

  22 notes in '19.      Yeah.

  23 Q      Well, the point being can you think of why someone would

  24 say that these contracts and the amendments, the 5, 6, and 2.5

  25 million were used to finance Highland if Highland would come to


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            69 of 181Page694
                                                          73 of 888
                                                                185 PageID 3998
                                                                           2804

                               Dondero - Cross/Rukavina                           69

   1 you to prepay notes?

   2 A       They were incentivized.      I have no idea why they would say

   3 that.

   4 Q       Mr. Seery testified earlier, you weren't here, he

   5 testified about negotiations in the -- now we can't talk about

   6 what happened in mediation.         Are you with me there?

   7 A       Sure.

   8 Q       But he testified generally that the mediation led to a

   9 couple deals with the creditors.          But as far as you and your

  10 businesses, it didn't really go well.           Without talking about

  11 what was going on at the mediation, did you participate in

  12 negotiations on a global or plot (phonetic) plan?

  13 A       Sure.

  14 Q       Did you participate in those discussions with the

  15 principle creditors, the committee members?

  16 A       I tried.    But the committee members had sold their claims

  17 without telling the Court.         And we didn't find that out until

  18 later.

  19 Q       So in fact, they did file at some point in time notices of

  20 transfer of their claim.         Right?

  21 A       About eight months later.

  22 Q       What do you know about those transfers?

  23                 MR. MORRIS:    Your Honor, I guess, like, it's his

  24 witness, he can ask.          But I'm just going to object on relevance

  25 grounds.     What on Earth does anything that he's testified to


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            70 of 181Page695
                                                          74 of 888
                                                                185 PageID 3999
                                                                           2805

                               Dondero - Cross/Rukavina                           70

   1 for the last 20 minutes have to do with overpays?

   2              MR. RUKAVINA:     Your Honor, Mr. Morris and Mr. Seery

   3 went on at length about how all these were contrived contracts

   4 to suck value out of Highland from their creditors.              If you

   5 look at their proposed findings, they're asking you for

   6 findings on that, extraneous findings that will be used in

   7 collateral litigation by the way.

   8              So I think that just as that came in, even though I

   9 objected on narrative, I objected on relevance, I think he has

  10 the right for me to put on some evidence to rebut that.              Or if

  11 Mr. Morris agrees that all of this is irrelevant, then

  12 Mr. Seery's testimony should be struck in toto.

  13              MR. MORRIS:     No, number one.     Number two, I have

  14 nothing to do with any litigation that's being prosecuted by

  15 Mr. Kirschner.      Let me make that very clear to the Court.           I

  16 don't communicate with them about what I do.            They don't

  17 communicate with me about what they do.           Like, I don't know

  18 what he's doing, but this is a waste of time.

  19              THE COURT:    Okay.    Well, I think some of it has been

  20 arguably responsive to Seery testimony.           But things like the

  21 claimants sold their claims and didn't disclose it for eight

  22 months, I mean, clearly we're going down irrelevant trails

  23 there.

  24              MR. RUKAVINA:     Okay.   Well, we'll wrap it up.

  25              THE COURT:    Okay.


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                                                                  002712
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            71 of 181Page696
                                                          75 of 888
                                                                185 PageID 4000
                                                                           2806

                               Dondero - Cross/Rukavina                           71

   1 BY MR. RUKAVINA:

   2 Q      You mentioned that the assets of Highland are 600 million

   3 today, including 200 mil in cash.          What's the debt against

   4 Highland today?

   5 A      There's just the claims.       There's --

   6 Q      How much?    How much in total?

   7 A      There's 260 million in class eight that were projected to

   8 get 60 cents.

   9 Q      Just tell me how much in total.

  10 A      And there's another 85 of class nine.          So it was about 370

  11 of claims.     There's 650 advance, there's 200 cash on the

  12 balance sheet today.       All the claims traded to Fairlawn and

  13 Stonehill (phonetic) for $155 million.           They were happy to buy

  14 them because it was representative they were going to get

  15 three --

  16 Q      We'll stop --

  17 A      -- plus others.

  18 Q      We'll stop there.

  19 A      Yes.

  20 Q      We'll stop there.

  21 A      Okay.

  22 Q      We'll stop right there.       But the point is that to your

  23 understanding, there's more than enough assets at Highland

  24 today to pay all creditors in full?

  25 A      Yes.    And by the way --


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            72 of 181Page697
                                                          76 of 888
                                                                185 PageID 4001
                                                                           2807

                                  Dondero - Cross/Rukavina                        72

   1 Q      Let's talk --

   2 A      -- Highland could have paid the 150 million, retired all

   3 the claims, and given us the keys.

   4 Q      I understand.

   5 A      Seery gave the claims to his friends that he used to work

   6 for and with --

   7                 MR. MORRIS:    You know, Your Honor, I'm just moving to

   8 strike.     This is ridiculous.

   9                 THE COURT:    Sustained.

  10                 THE WITNESS:    It's all going to be in the trustee

  11 letter.

  12 BY MR. RUKAVINA:

  13 Q       Mr. Dondero, it will all come up --

  14 A       It's what we were --

  15 Q       Hold on.    Hold on.

  16 A       We're doing every recusal --

  17 Q       Please stop.    Please stop.

  18 A       We're doing every --

  19 Q       Mr. Dondero, please stop.

  20 A       Okay.

  21 Q       All this will come out --

  22 A       Okay.

  23                 MR. RUKAVINA:    -- into the light at the appropriate

  24 time.     Thank you, Your Honor.       I'll pass the witness.

  25                 THE COURT:    Okay.   Redirect?


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                                                                  002714
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            73 of 181Page698
                                                          77 of 888
                                                                185 PageID 4002
                                                                           2808

                                  Dondero - Redirect                              73

   1                            REDIRECT EXAMINATION

   2 BY MR. MORRIS:

   3 Q      You're really angry, aren't you?         You're really, really

   4 angry, aren't you?

   5 A      No.   I'm trying to weigh the what should have been a

   6 normal bankruptcy and it's turned into a financial mugging.                  We

   7 had 50 million.      Your firm was going to make 100 million.

   8 Q      I work pretty hard.

   9 A      Not enough.

  10              MR. RUKAVINA:     This is ridiculous, Your Honor.         He's

  11 taunting my witness.       I mean, you're really, really angry.

  12 This is badgering, Your Honor.         This has gone the point of

  13 professionalism.

  14              THE COURT:    Okay.    Sustained.

  15 BY MR. MORRIS:

  16 Q      Frank Waterhouse told you about the overpayments?

  17 A      That's my --

  18 Q      That's how you learned.       Right?

  19 A      That's my recollection.

  20 Q      Frank told you.     Right?

  21 A      That's my recollection.

  22 Q      And when did he tell you?

  23 A      November, December.

  24 Q      He actually told you after December 8th, 2020.            Correct?

  25 A      That's my recollection, yes.


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                                                                  002715
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            74 of 181Page699
                                                          78 of 888
                                                                185 PageID 4003
                                                                           2809

                                  Dondero - Redirect                              74

   1 Q      Okay.    Take a look in the Advisor's binder, Exhibit Q.

   2 A      Exhibit which one?

   3 Q      Q.    Do you see that's an email from Dave Klos to Frank

   4 Waterhouse?

   5 A      Yes.

   6 Q      And attached to it is the analysis that purports to show

   7 the overpayment?

   8 A      Yes.

   9 Q      So would you agree with me that you learned from

  10 Mr. Waterhouse about the overpayment on or after

  11 December 8th, 2020?

  12 A      No.

  13 Q      No?    Even though Mr. Waterhouse is just receiving the

  14 analysis as of this time?

  15 A      You're assuming this is the first analysis that was done,

  16 and this is the first time Frank knew.           I don't know those

  17 things.      My recollection is November, December.

  18 Q      So it's possible that it was on or after December 8th.

  19 It's at least possible, right, that it's December.

  20 A      I don't want to speculate.

  21 Q      What did he tell you?

  22 A      That we had been over billed for people that no longer

  23 worked at the company.

  24 Q      Did he tell you when he learned that these people no

  25 longer worked at the company?


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                                                                  002716
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            75 of 181Page700
                                                          79 of 888
                                                                185 PageID 4004
                                                                           2810

                                  Dondero - Redirect                              75

   1 A      No.

   2 Q      Did he share that analysis with you?

   3 A      No.   Not that I recall.      I don't remember seeing that

   4 before.

   5 Q      Had you ever learned of this analysis?

   6 A      I know that detailed analyses were prepared.           I just -- I

   7 just don't recall receiving that one.

   8 Q      Did you speak with Mr. Waterhouse on the phone or in

   9 person, or by email?       How did he tell you?       Do you recall?

  10 A      I don't remember.

  11 Q      Do you recall if anybody else was present when he told

  12 you?

  13 A      I don't recall.

  14 Q      And is it your understanding that the basis for the

  15 overpayment is that the Advisors were being charged for

  16 employees who were no longer on the list that was attached to

  17 the agreement?

  18 A      Yeah, I think that was the bulk of it.          And then probably

  19 percentages changed also.

  20 Q      Okay.   Do you know how many people on the list were

  21 terminated before the petition date?

  22 A      No.

  23 Q      Do you know -- so you were in control of both Highland and

  24 the Advisors from January 1st, 2018 until the end of 2019.

  25 Correct?


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            76 of 181Page701
                                                          80 of 888
                                                                185 PageID 4005
                                                                           2811

                                   Dondero - Redirect                             76

   1 A      Yes.

   2 Q      And Mr. Waterhouse was responsible during that period for

   3 overseeing the administration of the Advisors' contracts.               Is

   4 that right?

   5 A      Yes.

   6 Q      And it's your -- the reason why you're so mad is because

   7 the Advisors were paying for employees who were on that list

   8 who had been terminated.        Is that right?

   9 A      No.    I'm mad because Seery's trying to steal the company

  10 for his friends.

  11 Q      Listen.    You're mad because -- I just want to focus on the

  12 overpayments, okay?        On the overpayments, you're mad because

  13 Highland has charged the Advisors for employees that you

  14 believe they shouldn't be doing because they've been

  15 terminated.      Right?

  16 A      I answered this question already.         I was potentially angry

  17 with the overpayments because the debtor decided not to pay

  18 bonuses for people for '18 and '19, decided not to pay any

  19 bonuses for senior people, and then rough handled and sued

  20 hardworking employees that did most of your work out the door.

  21 Q      Can you open your exhibit binder please, sir, to Exhibit

  22 14?    And go to Page 12 of 18.

  23 A      Page 12 of 18?

  24 Q      Yes.

  25 A      Exhibit 18?


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            77 of 181Page702
                                                          81 of 888
                                                                185 PageID 4006
                                                                           2812

                                  Dondero - Redirect                              77

   1 Q      It's Exhibit 14, Page 12 of 18.

   2 A      Exhibit 14.     Page 12, yes.

   3 Q      Okay.   Do you see there's a list of people there, and it

   4 continues to the top of the next page with Scott Wilson?

   5 A      Sure.

   6 Q      Okay.   Are you familiar with the concept of dual

   7 employees?

   8 A      Yes.

   9 Q      And do you understand that the dual employees were listed

  10 on the exhibits attached to the payroll reimbursement

  11 agreement?

  12 A      If that's what it says.       I'm not -- I know what dual

  13 employees are.      I don't know how this contract worked.

  14 Q      Okay.   Do you see -- so you don't know how the contract

  15 worked?     But yet you think that there's overpayments.           Right?

  16 A      I know generally how it works.        I don't know specifically

  17 on dual employees.       But there are people who are allocated and

  18 it's based on generally a percentage of time.

  19 Q      Okay.   So I just want to really get your understanding and

  20 to the heart of your allegation that there's an overpayment

  21 here.    Do you see that the interrogatory asked, and I'll

  22 represent to you that these are interrogatories that were

  23 answered by the Advisors.        Okay?

  24        We asked identify the date you believe each form of dual

  25 employee identified on the exhibits to the Payroll


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                                                                  002719
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            78 of 181Page703
                                                          82 of 888
                                                                185 PageID 4007
                                                                           2813

                                  Dondero - Redirect                              78

   1 Reimbursement Agreements departed the debtor.            And do you see

   2 that they've listed each of the dual employees with the dates

   3 of departure?

   4 A       Yes.

   5 Q       Okay.   And do you see for example that -- I want to pick

   6 the right one here -- Michael Phillips (phonetic).             Do you see

   7 Michael Phillips was terminated in February 20, 2018?

   8 A       I don't know if he was terminated.        But yeah, that's the

   9 date.    Right?

  10 Q       That's the date he left.      Right?

  11 A       Yes.

  12 Q       And that's the date the Advisors admit knowing that he

  13 left.     Right?

  14 A       It appears so, yes.

  15 Q       And if you look at interrogatory number four on the next

  16 page, it says the Advisors were generally aware of the

  17 employee's terminations and departures as they occurred.               Okay?

  18 So would you agree with me that the Advisors were generally

  19 aware of Michael Phillips' departure on February 20th, 2018?

  20 A       Yes.

  21 Q       And is it your testimony that if the Advisors paid for

  22 Mr. Phillips in March of 2018 there was an overpayment?              Is

  23 that the overpayment you're talking about that they shouldn't

  24 have paid for Mr. Phillips in March because he had been

  25 terminated?


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                                                                  002720
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            79 of 181Page704
                                                          83 of 888
                                                                185 PageID 4008
                                                                           2814

                                  Dondero - Redirect                              79

   1 A      I assume this is the last day that they were getting paid.

   2 Right?     So I don't want to quibble on whether this was their

   3 exit date and they got paid for severance or something else.

   4 But I think what the overpayment is is that most of these

   5 people were continuing to be factored into the number nine,

   6 ten, twelve months later.

   7 Q      They were factored into the number for every single month

   8 in 2018 and 2019 when you were in control of the entities.               Are

   9 you aware of that?

  10 A      But then there should have been a true-up.

  11 Q      And Frank Waterhouse was responsible for that.            Correct?

  12 A      Him and his group, yeah.       There should have been a true-

  13 up.    Correct.

  14 Q      And do you know if a true-up was required by the contract?

  15 A      There always is in living, breathing contracts.

  16 Q      Let's turn to the contract and you point me to the

  17 provision where you believe that there's an obligation --

  18              MR. RUKAVINA:     Your Honor, this is nonsense.        He's

  19 said that he's never read these contracts, that he has no

  20 personal knowledge.       He's badgering and it leads to legal

  21 conclusions.

  22              MR. MORRIS:     Your Honor, he is testifying that he

  23 believes that there is a contractual obligation to do a true-

  24 up.    If he wants to say that I'm not aware of anything but I

  25 just assumed that one would happen, I'm happy to live with


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            80 of 181Page705
                                                          84 of 888
                                                                185 PageID 4009
                                                                           2815

                                    Dondero - Redirect                            80

   1 that.    If that's --

   2                 THE WITNESS:   I'm not aware, but I assume there would

   3 be a true-up.

   4 BY MR. MORRIS:

   5 Q       Okay.    So you assumed that there would be a true-up.

   6 Right?

   7 A       Yes.

   8 Q       Did anybody ever tell you there was a true-up?

   9 A       I would assume there would be a true-up.         No one told me

  10 until November, December of '20.

  11 Q       Okay.    Did you ever ask anybody at the end of 2018 if

  12 there was a true-up?

  13 A       No, I never asked.

  14 Q       Did anybody tell you at the end of 2018 that there was a

  15 true-up?

  16 A       I don't know if it was material.        It might have been just

  17 this one kid that left.         I have no idea.

  18 Q       We can look at the whole list if you want to do that.

  19 Okay?

  20 A       No.    But I don't know.    And no one told me there was a

  21 true-up.

  22 Q       That's my only question.

  23 A       Or no one told me there wasn't, either.         I'm not aware.

  24 Q       Okay.    So you didn't ask if there was a true-up, and

  25 nobody told you there was a true-up at the end of 2018.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            81 of 181Page706
                                                          85 of 888
                                                                185 PageID 4010
                                                                           2816

                                  Dondero - Redirect                              81

   1 Correct?

   2 A      Correct.

   3 Q      You didn't ask if there was a true-up, and nobody told you

   4 that there was a true-up at the end of 2019.            Correct?

   5 A      I don't know.

   6 Q      Okay.    In fact, you have no knowledge that there was ever

   7 a true-up of any kind done with respect to the payroll

   8 reimbursement agreements.        Correct?

   9 A      I don't know.     I don't know if it was material.         You guys

  10 were both implying a few minutes ago that there was a two and a

  11 half million dollar true-up one year, an additional payment for

  12 something.

  13 Q      Let --

  14 A      So, but I don't know the specifics.         All I know is when

  15 they alerted me at the end of 2020 that oh my God, we've been

  16 overpaying, it's not reconciled, they're not cutting back the

  17 payment, they had an expectation in the way they told me such

  18 that I'd stop paying because we were paying over.             They had an

  19 expectation that there was some kind of true-up or they

  20 wouldn't have told it to me to get a stop paying this

  21 immediately out of me --

  22 Q      Who's they?

  23 A      -- which is what happened.

  24 Q      Who's they?

  25 A      Frank.


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                                                                  002723
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            82 of 181Page707
                                                          86 of 888
                                                                185 PageID 4011
                                                                           2817

                                     Norris - Direct                              82

   1 Q      Frank is they?

   2 A      Yeah, Frank is they.      Yeah.

   3 Q      And did Frank tell you that the way that the methodology

   4 for his decision that there was an overpayment was to say that

   5 we were paying for employees who were no longer at Highland?

   6 A      We were overpaying based on the contract, based on largely

   7 people weren't there.         Now whether or not we were also paying

   8 for people who the percentage was wrong, I don't know.              But he

   9 -- he expressed it with Umbridge (phonetic), and with Awe

  10 (phonetic).      Umbridge and Awe and that's where --

  11 Q      Umbridge --

  12 A      -- that's where we stopped paying.

  13 Q      Okay.    And -- but is it fair to say at least your

  14 understanding is that the bulk of the claim is that you were

  15 paying for employees who were no longer employed at Highland?

  16 Is that basically it?

  17 A      My understanding is largely that.

  18                MR. MORRIS:    Okay.   No further questions, Your Honor.

  19                THE COURT:    Recross?

  20                MR. RUKAVINA:    I have no follow up, Your Honor.

  21                THE COURT:    All right.   You're excused from the

  22 witness stand, Mr. Dondero.

  23                THE WITNESS:    Thank you.

  24        (Witness excused)

  25                THE COURT:    All right.   Shall we take a break and


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            83 of 181Page708
                                                          87 of 888
                                                                185 PageID 4012
                                                                           2818

                                    Norris - Direct                               83

   1 then --

   2              MR. MORRIS:     Yes, Your Honor.     Yes.

   3              THE COURT:    Let's take a ten-minute break, please.

   4        (Recess at 2:58 p.m./Reconvened at 3:09 p.m.)

   5              THE CLERK:    All rise.

   6              THE COURT:    Please be seated.       We're back on the

   7 record in Highland.

   8              Mr. Morris, what do you have?

   9              MR. MORRIS:     Last witness.

  10              THE COURT:    Okay.

  11              MR. MORRIS:     Mr. Norris.    I just need a second to

  12 find my questions.

  13              THE COURT:    Okay, we'll go ahead and get Mr. Norris

  14 up here and sworn in.

  15              Please raise your right hand.

  16               DUSTIN NORRIS, PLAINTIFF'S WITNESS, SWORN

  17              THE COURT:    All right.     Please be seated.

  18                             DIRECT EXAMINATION

  19 BY MR. MORRIS:

  20 Q      Good afternoon, Mr. Norris.

  21 A      Good afternoon.

  22 Q      You've been here for the last couple of days.           Right?

  23 A      I have.

  24 Q      I hope this is a little bit more low-key than the last

  25 witness.




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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            84 of 181Page709
                                                          88 of 888
                                                                185 PageID 4013
                                                                           2819

                                    Norris - Direct                               84

   1 A      I hope so, too.

   2 Q      Okay.    I don't expect this examination to be particularly

   3 lengthy.      So I would just ask you to listen carefully to my

   4 questions.      Do the best you can to -- to answer them.

   5        From 2000 and -- are you -- are you currently employed by

   6 either of the Advisors?

   7 A      I'm employed by NexPoint Advisors.

   8 Q      And what's your title today?

   9 A      The title of the -- my operating title is Head of

  10 Distribution and Chief Product Strategist.

  11 Q      Okay.    And do you have a roll with HCMFA?

  12 A      I am an officer of HCMFA.

  13 Q      And do you have a title?

  14 A      Yes.    Executive Vice-President.

  15 Q      Okay.    And were you affiliated with those two entities as

  16 of January 1st, 2018?

  17 A      I was.

  18 Q      And in what capacity did you serve for NexPoint as of

  19 January 1st, 2018?

  20 A      The same capacity as I serve today.

  21 Q      And did you serve in the same capacity for HCMFA as of

  22 that time?

  23 A      I believe so, yes.

  24 Q      Okay.    So your role hasn't changed; your titles haven't

  25 changed in the three or four years since 2018.             Is that fair?


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            85 of 181Page710
                                                          89 of 888
                                                                185 PageID 4014
                                                                           2820

                                    Norris - Direct                               85

   1 A      I don't believe so.

   2 Q      Okay.    You didn't -- you've listened to the testimony in

   3 this trial so far?

   4 A      I have.

   5 Q      Okay.    I'm just asking that question to try to speed this

   6 up a little bit.

   7        You're aware that in late 2017 through May of 2018, there

   8 were a number of new contracts and changes made in the way that

   9 the Advisors compensated Highland for services.             Is that right?

  10 A      Yes.    I'm aware.

  11 Q      Okay.    But you didn't personally participate in any of the

  12 discussions during that time period about the changes that were

  13 made and the methods and amounts that were going to be paid for

  14 services.      Fair?

  15 A      No.    I did not participate.

  16 Q      Okay.    And you played no role in formulating, drafting, or

  17 administering the sub-advisory agreements that were prepared

  18 for NexPoint and HCMFA in March of 2018.           Correct?

  19 A      Correct.

  20 Q      In fact, were you even aware that sub-advisory agreements

  21 were prepared for those two entities at that time?

  22 A      I don't remember being involved or having any -- any

  23 awareness.

  24 Q      Okay.

  25 A      At that time.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            86 of 181Page711
                                                          90 of 888
                                                                185 PageID 4015
                                                                           2821

                                    Norris - Direct                               86

   1 Q      Okay. And you played no role in the replacement of those

   2 sub-advisory agreements with the payroll reimbursement

   3 agreements as of May 1st, 2018.          Right?

   4 A      I -- I played no role.

   5 Q      So you didn't -- you didn't participate in discussions

   6 about what that document was intended to do.            Correct?

   7 A      That's correct.

   8 Q      And you didn't participate in any review of the language

   9 that was going to be used in the document.            Correct?

  10 A      Correct.

  11 Q      And you didn't review Exhibit -- the Exhibits A that I

  12 think you're familiar with, that were attached to those

  13 agreements.      Correct?

  14 A      Not at that time.

  15 Q      And you had no basis of knowing whether the allocations

  16 that were used as of May 28th -- as of January 1st 2018 were

  17 accurate in any way.        Right?

  18 A      Well, based on my working knowledge and my interaction

  19 with employees at HCMLP and the Advisors, I can see the

  20 allocations and have assumption on the reasonableness.              But I

  21 was not involved at that time in assessing the reasonableness.

  22 Q      When did you learn that Exhibit -- Exhibits A existed?

  23 A      Over -- I don't remember exactly.

  24 Q      Do you remember what year it was?

  25 A      Probably '19 or '20.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            87 of 181Page712
                                                          91 of 888
                                                                185 PageID 4016
                                                                           2822

                                    Norris - Direct                               87

   1 Q       Okay.    And do you know -- kind of --

   2 A       Maybe '18.    It was sometime after it was drafted.

   3 Q       Okay.

   4 A       And signed.

   5 Q       All right.    So we've used the definition called "relevant

   6 time period" to mean from January 1st, 2018 until the end of

   7 2020.    Okay.    Is that fair?

   8 A       Yes.

   9 Q       Okay.    Do you remember at all where within the relevant

  10 time period you first learned that these Exhibit As existed?

  11 A       I don't remember the exact time, no.

  12 Q       Do you remember if it was before or after the bankruptcy?

  13 A       I don't remember.

  14 Q       Do you remember if it was before or after the Independent

  15 Board was appointed?

  16 A       I don't remember.

  17 Q       Okay.    Did you form an understanding at some point -- no,

  18 withdrawn.      We'll get there.

  19         So you didn't participate in any discussions at any time

  20 in the spring of 2018 about what the Payroll Reimbursement

  21 Agreements were intended to accomplish.           Correct?

  22 A       I did not.

  23 Q       And you didn't play -- are you aware that NexPoint entered

  24 into a new Shared Services Agreement as of January 1st, 2018?

  25 A       At that time was I aware --


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                                                                  002729
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            88 of 181Page713
                                                          92 of 888
                                                                185 PageID 4017
                                                                           2823

                                    Norris - Direct                               88

   1 Q      Yes.

   2 A      -- or am I aware now?

   3 Q      Were you aware at the time?

   4 A      I was not.

   5 Q      And you didn't play any role in the drafting, in the

   6 formulation, or the administration of the NexPoint Shared

   7 Services Agreement.       Correct?

   8 A      No, I did not.

   9 Q      And even though it wasn't signed at that time, you played

  10 no role in the drafting or the formulation or the

  11 administration of the HCMFA Shared Services Agreement.

  12 Correct?

  13 A      That's correct.

  14 Q      Okay.    Do you know now that there were amendments to the

  15 Payroll Reimbursement Agreements at the end of 2018?

  16 A      I do.

  17 Q      You didn't play any role in drafting, or administering, or

  18 making any decisions in connection with those amendments.

  19 Correct?

  20 A      No.    I have no personal knowledge.

  21 Q      And so you have no personal knowledge as to how those

  22 amounts were calculated.        Correct?

  23 A      Correct.

  24 Q      You have no personal knowledge that any true-up was done

  25 that formed the basis of the numbers in those amendments.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            89 of 181Page714
                                                          93 of 888
                                                                185 PageID 4018
                                                                           2824

                                    Norris - Direct                               89

   1 Correct?

   2 A      At that time, no.      But I was told there was a true-up that

   3 was done.

   4 Q      Okay.    But you have no personal knowledge that a true-up

   5 was done.      Right?   Somebody told you that?

   6 A      Somebody told me there was a true-up, yes.

   7 Q      And who told you that?

   8 A      Mr. Klos.

   9 Q      And when did Mr. Klos tell you that?

  10 A      December -- December 2020.

  11 Q      So you were speaking with Mr. Klos --

  12 A      Uh-huh.

  13 Q      -- in December 2020.      And it's your testimony that he said

  14 that the amendments that were done in 2018 were the result of a

  15 true-up?

  16 A      He didn't tell me about the amendments.          He told me that a

  17 true-up had been done in 2018, but we didn't discuss the

  18 specific amendments.

  19 Q      Okay.    Do you have an understanding of what a true-up is

  20 in that context?

  21 A      I do.

  22 Q      And what's your understanding of what a true-up is?

  23 A      Well, based on the conversation we were having, which was

  24 around the actual payments and the employees that were on

  25 Schedule A, all right, we saw the emails earlier that Mr. --


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                                                                  002731
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            90 of 181Page715
                                                          94 of 888
                                                                185 PageID 4019
                                                                           2825

                                    Norris - Direct                               90

   1 Mr. Klos discussed.

   2         We were talking about those overpayments.          And as we were

   3 -- you know, Mr. Sauter and I were trying to discover what had

   4 actually happened.       He told us there was a true-up done in

   5 2018.    There was no similar true-up done in 2019 or 2020

   6 because of the bankruptcy filing in October 2019.

   7 Q       Okay.   Are you aware that as of the date of the

   8 amendments, I think the number is nine of the employees, the

   9 dual employees on the Exhibit A were terminated?

  10 A       I'm aware that there are employees that as of that date

  11 that have been terminated.

  12 Q       Can you tell Judge Jernigan why you believe that with the

  13 loss of approximately a third of the dual employees why you

  14 think a true-up would result not in the diminution in the

  15 amounts owed, but an increase by $2.5 million in amounts owed;

  16 how does that make sense?

  17 A       Yeah, I don't have any personal knowledge, as I mentioned

  18 on what the calculations, how they were done, what went into

  19 it.    I would just be speculating if I said here is how or why.

  20 I know Mr. Klos testified that percentages aren't of time spent

  21 aren't perfect.

  22         There could be compensation.       Right.    That one person

  23 received due to Fund performance.          Again, I'm -- I would be

  24 speculating. I don't know.

  25 Q       So it's possible that even though employees left, that


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                                                                  002732
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            91 of 181Page716
                                                          95 of 888
                                                                185 PageID 4020
                                                                           2826

                                     Norris - Direct                              91

   1 Highland would be entitled to even more money if the people who

   2 remained pick up the slack.         Is that fair?     And got paid more.

   3 That's possible.       Right?    That's what he told you.

   4 A      Do you want to repeat the question?

   5 Q      You want to repeat the question?

   6 A      He told you, if I understand you correctly, that even

   7 though almost a third of the employees left, Highland was still

   8 entitled to get millions of dollars more money because the

   9 services that had been provided by those dual employees, were

  10 just picked up by other people?

  11 A      No.

  12        He didn't tell me that. He said a true-up was done. He did

  13 say it resulted in a slight payment to Highland.             But he didn't

  14 go into any of the calculations or the why.

  15 Q      Okay.   But you do understand that more than -- that

  16 approximately a third of the employees had been terminated

  17 before this -- these amendments were entered into.             Correct?

  18 A      I'd have to see the specific names, but there were a

  19 number of them had been terminated, yes.

  20 Q      Okay.   And even though the number of employees went down,

  21 the payments when up by $2.5 million.           Correct?

  22 A      I have no reason to question the amendments or the wording

  23 in the amendments.

  24 Q      Okay.   You had access to headcount information at all

  25 times.     Correct?


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            92 of 181Page717
                                                          96 of 888
                                                                185 PageID 4021
                                                                           2827

                                    Norris - Direct                               92

   1 A      Not at all times, but I would receive a monthly report

   2 that's been shown in the emails.

   3 Q      And we looked at that, and you got that headcount report

   4 every single month for the three year period that we're talking

   5 about.     Right?

   6 A      I believe so.     And I don't know for sure that I -- when I

   7 was added, I was added at some point over the last few years,

   8 but I did receive it.

   9 Q      We're certainly not going to look at every one of them.

  10 Let's see if --

  11 A      If you go to January 2018, that's probably the quickest

  12 way to rule it out.       Because I never got removed once I was

  13 added.

  14              MR. MORRIS:     Just one moment, Your Honor.        I

  15 apologize.

  16              THE WITNESS:     Is there an exhibit I should be looking

  17 at?

  18              MR. MORRIS:     Not yet.

  19              THE WITNESS:     Okay.

  20 BY MR. MORRIS:

  21 Q      So if you can go to Exhibit 88.         Do you see that this is

  22 the headcount report that was delivered on February 1st for the

  23 month of January 2018?

  24 A      It is.

  25 Q      And your name is on it.        Right?


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            93 of 181Page718
                                                          97 of 888
                                                                185 PageID 4022
                                                                           2828

                                    Norris - Direct                               93

   1 A      It is.

   2 Q      And so your understanding is that for every month covering

   3 the headcount report, from January 2018 until the end of 2020,

   4 those are headcount reports that would have been delivered to

   5 you.    Right?

   6 A      That's correct.

   7 Q      So you're not sure when you learned of the existence of

   8 Exhibit As, but whenever that was, you could have figured out

   9 yourself, who on Exhibit A was no longer employed at Highland.

  10 Right?

  11 A      Absolutely.

  12        And -- but the key assumption was that we were reimbursing

  13 for only employees that were still employed.            And that was

  14 always my expectation, once I learned about Exhibit A.

  15 Q      Did you talk about that with Frank?

  16 A      What part?

  17 Q      Did you tell Frank -- when did you develop that

  18 expectation?      In December 2020?

  19 A      No.

  20        At some point between the actual creation of the

  21 agreement, when I first saw it, and understood it was a payroll

  22 reimbursement agreement.        And there was an exhibit that had

  23 percentage allocation of employees that were one, serving as

  24 dual employees, and two, providing investment advisory

  25 services.     That was the actual purpose of the agreement, right,


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            94 of 181Page719
                                                          98 of 888
                                                                185 PageID 4023
                                                                           2829

                                    Norris - Direct                               94

   1 was for reimbursement.

   2 Q      Did you ask Frank, Frank, how come you kept paying the

   3 money when all these people left.

   4 A      I did.

   5 Q      What did he say?

   6 A      He told me there was nothing he could do because of the

   7 automatic stay.      He and Dave Klos were in a meeting.          That was

   8 the first time I had heard the word automatic stay.

   9 Q      Uh-huh.

  10 A      And that he had brought it.        They -- they had

  11 calculations.      And that he had brought it to the attention of

  12 DSI.    And the told him -- and he said inside and outside

  13 counsel.     And there was nothing he could do because of the

  14 automatic stay.

  15 Q      He did not say outside counsel.

  16 A      He did.    Well, I should say in his December -- in our

  17 December meeting he said counsel.          We talked again over

  18 multiple times.      And at the end of January on a call, he said

  19 inside and outside counsel.

  20 Q      January of 2021?

  21 A      Yes, I --

  22 Q      Did you hear him testify yesterday that he never told me

  23 or anybody in my firm?

  24 A      I did, yes.

  25 Q      So -- so maybe you misheard him?


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                                                                  002736
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case 3:22-cv-02170-S Document 2-14 Filed
                              6-1
                         Document   Filed01/12/23
                                          11/22/22
                                       Page         Page
                                            95 of 181Page720
                                                          99 of 888
                                                                185 PageID 4024
                                                                           2830

                                    Norris - Direct                               95

   1 A      I may have misheard him, but I --

   2 Q      Okay.

   3 A      -- I -- I did take -- after that call I did take notes.

   4 And I wrote down inside and outside counsel.            I could have mis-

   5 remembered.      But I had written that down.

   6 Q      Did you ask him why he didn't make any change from January

   7 18 until the petition date?

   8 A      January 18th of which --

   9 Q      Let me restate the question.        Did you say hey, Frank,

  10 okay, you've given me your answer after DSI comes along.               But

  11 what about the two years before that?           Why didn't you make any

  12 adjustments for the two years before that, when nobody ever

  13 heard of Fred Caruso or Jim Seery.

  14 A      Yeah.

  15        They told me there was a true-up done in December of 2018.

  16 And then I actually was trying to figure out, make any sense of

  17 the fact that there were employees had been -- many of them,

  18 like 20 employees that were no longer there.            And so discussing

  19 this with Dave and Frank, I -- I realized and learned from them

  20 they were in a tough situation.          Why didn't they do anything.

  21 Well, when they told me, it made sense.           They said December

  22 2018 there was an annual true-up.

  23        Fast forward to the bankruptcy filing in October 2019 and

  24 to this point I wasn't really involved in all of the bankruptcy

  25 time lines or process.        I'm separately running my business.            So


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                                                                  002737
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                         11/22/22
                                      Page          Page
                                                    Page721
                                            96 of 181    100of
                                                             of888
                                                                185 PageID
                                                                    PageID4025
                                                                           2831

                                    Norris - Direct                               96

   1 they tell me that okay, October it was filed.            There was put in

   2 place something they couldn't change in the agreements.

   3 Because of the automatic stay.

   4        Again, I'm not an attorney.        It's the first time I'm

   5 learning of the bankruptcy law.          But in 2019 there was no true-

   6 up done.     Nor in 2020.     Right.   So there was something done,

   7 and it would have been done at the end of '19 and '20, had

   8 there not been a bankruptcy in place.

   9        So -- and to me -- and the reason I remember that

  10 specifically is a light bulb went off to me and said that makes

  11 sense.     Okay.   They were trying to do what was right.          They

  12 understood it.      They would have made a true-up or an

  13 adjustment.      Whatever you want to call it for the proper people

  14 that were serving under these agreement.

  15        But they were told that they couldn't.          And at that point

  16 we had to, you know, go our way of actually filing an admin

  17 claim for that.

  18 Q      Did you hear Frank Waterhouse testify yesterday that he's

  19 not aware of any true-up?

  20 A      I don't remember specifically.        But it was David Klos that

  21 told me about the true-up.         Told me and Mr. Sauter.

  22 Q      Did you hear him testify yesterday that there was no

  23 analysis of any kind done to support the $2.5 million?

  24 A      I don't know     if he said he didn't -- there wasn't an

  25 analysis, or if he said he didn't recall.           Because I know a lot


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                                                                 002738
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                         11/22/22
                                      Page          Page
                                                    Page722
                                            97 of 181    101of
                                                             of888
                                                                185 PageID
                                                                    PageID4026
                                                                           2832

                                     Norris - Direct                              97

   1 during that he didn't recall.

   2 Q      He actually said that Jim Dondero said the number.            Does

   3 that refresh your recollection?

   4                MR. RUKAVINA:    Your Honor.

   5                THE WITNESS:    I think that was Mr. Klos.

   6                MR. RUKAVINA:    Your Honor, I'm --

   7 BY MR. MORRIS:

   8 Q      That -- that is who I'm talking about.

   9 A      You said Mr. Waterhouse.

  10 Q      Oh, I apologize.

  11 A      Did he not?

  12                MR. RUKAVINA:    Yes, he did.

  13                THE WITNESS:    Okay, sorry.

  14                MR. MORRIS:    Okay.   Thank you.

  15                THE COURT:    Let's ask again and make sure we're

  16 clear.

  17                MR. MORRIS:    Sure.

  18 BY MR. MORRIS:

  19 Q      Okay, so it's your testimony that -- was it just Mr. Klos

  20 or was it Mr. Klos and Mr. Waterhouse who told you that there

  21 was a true-up at the end of 2018?

  22 A      Mr. -- it came from Mr. Klos.        I believe Mr. Waterhouse

  23 was there.      Mr. Sauter, as well was told, along with me.          By

  24 Mr. Klos.

  25 Q      Okay.    You did a damage calculation for purposes of this


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                                                                 002739
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                         11/22/22
                                      Page          Page
                                                    Page723
                                            98 of 181    102of
                                                             of888
                                                                185 PageID
                                                                    PageID4027
                                                                           2833

                                    Norris - Direct                               98

   1 case.     Right?

   2 A       I did.

   3 Q       And what you did is you took the amounts paid and reduced

   4 it by --

   5              MR. RUKAVINA:     Your Honor, let me just object now.

   6 Are you going to agree to the admission of the damage

   7 calculation?

   8              MR. MORRIS:     Sure, I'll agree.

   9              MR. RUKAVINA:     Okay.    Your Honor, that's going to be

  10 -- Thomas is that H and I? It          is what it is.    Your Honor, it's

  11 Exhibit G is the PDF printout.          That's the one we had the

  12 stipulation on yesterday about the math.           Is that right?

  13              MR. MORRIS:     Yes.

  14              MR. RUKAVINA:     And then the electronic version is H.

  15 Is H.     So I'll move to admit G and H.

  16              THE COURT:     And you agree to it?

  17              MR. MORRIS:     Yeah.

  18              THE COURT:     Okay, they're admitted.

  19         (Defendants' Exhibits G and H admitted into evidence.)

  20 BY MR. MORRIS:

  21 Q       There's no expertise.       There's no special skill that you

  22 brought to that analysis.        Right?

  23 A       It's simple math.

  24 Q       It's simple math.     Right?    And I think that's what you

  25 told me in the deposition.          All you did was you took the money


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                                                                 002740
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                         11/22/22
                                      Page          Page
                                                    Page724
                                            99 of 181    103of
                                                             of888
                                                                185 PageID
                                                                    PageID4028
                                                                           2834

                                    Norris - Direct                               99

   1 that was paid, and you reduced it by the compensation for the

   2 dual employees who were terminated.          Fair?

   3 A      I -- I took month by month the employees that were

   4 employed.

   5 Q      Uh-huh.

   6 A      And their total compensation multiplied by the allocation

   7 percentages.       And as employees dropped off, so did the

   8 compensation.

   9 Q      Okay.    And once --

  10 A      Or the reimbursement, I would say.

  11 Q      And once you had the data, how long does it take you to

  12 run them all?

  13 A      If I -- say if I wanted to change assumptions?

  14 Q      Sure.

  15 A      You could do it fairly easily if you know Excel.

  16 Q      Five minutes?

  17 A      To make sure that it's accurate, maybe longer.           I mean it

  18 --

  19 Q      Maybe ten.

  20 A      Not -- again, the math part is easy.

  21 Q      Okay.

  22 A      It's --

  23 Q      And so is there any reason that anybody on behalf of the

  24 advisors, couldn't have done that analysis on February 1st,

  25 2018 to take into account the employee who left in January of


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                                                                 002741
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page725
                                           100 of 181    104of
                                                             of888
                                                                185 PageID
                                                                    PageID4029
                                                                           2835

                                     Norris - Direct                           100

   1 2018?     Any reason at all that they couldn't have done it then?

   2 A       We had relied and outsourced that to Highland.

   3 Q       Okay.

   4         Okay.    And the person who would have overseen what you

   5 assumed would have happened -- right?           Because you assumed that

   6 Highland was making these changes.          Right?

   7         That's your testimony.      Your testimony is that you sat

   8 back for three years and you assumed Highland was only charging

   9 what you thought they should charge.          Right?

  10 A       Yeah.

  11         And a key component of that -- if there's payroll data

  12 involved, we didn't have access to that.           There was a very

  13 limited number of people.         Highland employees only.      That's an

  14 important component of this.         So yeah, we had relied on

  15 Highland.       We didn't have an accounting function.

  16         Why was I -- I say it's simple math.         I had to create the

  17 spreadsheet.       I'm a CPA.    I worked at a big four accounting

  18 firm.     I worked in Highland's back office when I started as a

  19 fund accountant.       I managed.    I was a senior accounting

  20 manager.

  21 Q       You have-huh.

  22 A       So -- so but that was -- ended in 2013.         So there's a

  23 number of Excel skills.         We didn't maintain that.      I shifted

  24 roles. Focused more on the growth and marketing.             But we -- we

  25 outsourced those functions to Highland.


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                                                                 002742
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page726
                                           101 of 181    105of
                                                             of888
                                                                185 PageID
                                                                    PageID4030
                                                                           2836

                                    Norris - Direct                            101

   1 Q      How long did it take you to create the model?           A day or

   2 two?    Less?    Once you had the data.

   3 A      Yeah, it was just a couple few days.

   4 Q      So why didn't the advisors just create a contact that said

   5 every time a dual employee left, let's just reduce the amount

   6 that's paid by their compensation, in real time?             You could

   7 have created the model, and in five minutes, instead of doing

   8 this true-up at the end of the year, why didn't they do that?

   9 A      The people that helped create the contract were Highland

  10 employees.      The ones that knew about the calculations.          The

  11 ones that had access to the data.          We didn't have a separate

  12 team saying well, let's shadow everything that Highland is

  13 doing, for contracts.        That is what they were doing.       That was

  14 their function.

  15 Q      And they all reported to Frank Waterhouse.           Correct?

  16 A      Yes.

  17 Q      Can you identify one person who you assumed would be

  18 administering the contract, who didn't report to Frank

  19 Waterhouse?

  20 A      No.

  21 Q      Thank you.

  22               MR. MORRIS:    I have no further questions, Your Honor.

  23               THE COURT:    All right.    Pass the witness.

  24                              CROSS EXAMINATION

  25 BY MR. RUKAVINA:


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                                                                 002743
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page727
                                           102 of 181    106of
                                                             of888
                                                                185 PageID
                                                                    PageID4031
                                                                           2837

                                     Norris - Cross                           102

   1 Q       This might be a bit, so if you need some water, let me

   2 know.

   3 A       I got -- I still have some.       Thank you.

   4 Q       So I think Mr. Morris has gone through some of these

   5 issues.     But do tell the Judge, please about your educational

   6 background.      On a high level.

   7 A       Yeah, I have a master's degree in accounting from Brigham

   8 Young University and a bachelor's degree in accounting and I

   9 have a CPA license.

  10 Q       Okay.    Any other professional licenses?

  11 A       Yeah, I have a FINRA Series 7, 63 and 24 licenses.

  12 Q       How old are you?

  13 A       38 years old.

  14 Q       Have you ever been disciplined professionally with respect

  15 to any of these licenses?

  16 A       Never.

  17 Q       Okay.    Are you a family man?

  18 A       I am.

  19 Q       Are you a religious man?

  20 A       I am.

  21 Q       Do you swear?

  22 A       I don't.

  23 Q       Do you drink?

  24 A       I never have.

  25 Q       Any trouble with the law?


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                                                                 002744
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page728
                                           103 of 181    107of
                                                             of888
                                                                185 PageID
                                                                    PageID4032
                                                                           2838

                                     Norris - Cross                           103

   1 A      No.

   2 Q      When did you first join Highland?

   3 A      2010, June of 2010.

   4 Q      Before that you mentioned you were with some other

   5 accounting --

   6 A      I was at Deloitte and Touche.

   7 Q      What did you do there?

   8 A      I was an auditor, an outside auditor, auditing large

   9 corporations.

  10 Q      And when you joined Highland, what was your role?

  11 A      I was a fund accountant in the Hedge Fund and Private

  12 Equity Fund Accounting Group.

  13 Q      And tell me about your progression at Highland and how you

  14 ended up coming to the Advisors and when?           Again, at a high

  15 level.

  16 A      Yeah.    So when I joined Highland, I started out overseeing

  17 accounting and operations, cash management for several of the

  18 large hedge funds, private equity funds, and separate accounts.

  19 Worked there for two years, got great training, and was given

  20 the opportunity to then manage for our retail complex, the

  21 accounting and operations team.

  22        So I moved employers to Highland Capital Management Fund

  23 Advisors around July of 2012.         At that time Highland HCMLP, the

  24 hedge fund side of the business or institutional had a separate

  25 accounting and operations team than the retail side.             And so I


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                                                                 002745
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page729
                                           104 of 181    108of
                                                             of888
                                                                185 PageID
                                                                    PageID4033
                                                                           2839

                                     Norris - Cross                           104

   1 moved over and I was managing accounting, operations, trade

   2 settlement, cash management, as well as the broader accounting

   3 functions for about 22 mutual fund and closed-end funds.

   4        I did that for a little while and then transitioned into

   5 what we call product strategy or product development.              So

   6 developing new funds, merging funds, acquiring funds, launching

   7 training sales people and, at that time, somewhat transitioned

   8 the services from our retail funds to the Highland's back

   9 office, merging those in.        And my employees moved over, and

  10 became employed by HCMLP, as well.

  11        So, yeah, I have had experience in several different parts

  12 of the business.       Then from there I -- I worked on our

  13 closed-end funds and continued to manage, became director of

  14 product strategy, and then chief product strategist, and then

  15 took over our sales team and became the president or

  16 broker/dealer managing all of the marketing and relationship

  17 management --

  18 Q      This is still while at Highland?

  19 A      -- inside sales.      This is all at Highland Capital

  20 Management Fund Advisors/NexPoint.

  21 Q      Okay.

  22 A      From 2012 until the present day.

  23 Q      Okay.    And in those ten years, I take it, you've

  24 interacted with Highland Capital Management LLP, repeatedly?

  25 A      Yes, extensive.


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                                                                 002746
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page730
                                           105 of 181    109of
                                                             of888
                                                                185 PageID
                                                                    PageID4034
                                                                           2840

                                     Norris - Cross                            105

   1 Q      At a high level in '18, '19, '20, what did the debtor do?

   2 What was the debtor's business?

   3 A      '18, '19 and '20?      The debtor's business?

   4 Q      Yes.

   5 A      Largely -- obviously, they had a services business where

   6 they provided shared services.         But that was a function of,

   7 they were providing it for various advisory entities.              They

   8 managed assets, largely credit, private equity, some at-public

   9 equities and included providing services to our advisors.

  10 Q      And in that same time frame, '18, '19 and '20, what did

  11 the advisors do?       I mean what was their core business and did

  12 it change at all over that time?

  13 A      Yeah.

  14        So when I moved over to the advisors in 2012, we were

  15 largely focused on public equities and credit, which was a

  16 specialty of Highland.        And so we relied heavily on those

  17 services from a back-office and front-office perspective over

  18 the coming years.

  19        But we started -- in -- in 2012 our advisors had almost no

  20 real estate assets. And as we shifted from 2012 into '15 to

  21 '18, the real estate business grew significantly.             And so we

  22 just started developing a real estate business in-house. Our

  23 investment professionals.

  24        And if you look at the assets today, approximately maybe

  25 three-quarters are real estate assets.           Where less than a


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page731
                                           106 of 181    110of
                                                             of888
                                                                185 PageID
                                                                    PageID4035
                                                                           2841

                                     Norris - Cross                           106

   1 quarter are credit and equity and private equity.

   2 Q      And on that point, you heard Mr. Powell, and we talked

   3 about the retail board some this morning, the $3 billion.              Did

   4 you hear all that?

   5 A      I did.

   6 Q      Generally, what percentage of either the advisor's

   7 business or assets under management, whatever the appropriate

   8 metric is --

   9 A      Uh-huh.

  10 Q      -- you tell us.     How much of that whole pie do those

  11 retail funds represent?

  12 A      Yeah.

  13        So we today, NexPoint Advisors and HCMFA manage

  14 approximately $11 billion in assets.          And the retail funds as

  15 Ethan testified are approximately 3 billion.            So less than 30

  16 percent.

  17 Q      Would that also be fair to say that that's about how much

  18 of your internal time -- the Advisors time an employee is?

  19 Servicing the funds is 25 or 30 percent?           Or would the fraction

  20 be different?

  21 A      Meaning the Advisor employees?

  22 Q      Yes.

  23 A      It depends.

  24        There's some of them that spend 100 percent in non-retail

  25 products.      But a number of people do spend -- maybe it's an


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                                                                 002748
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page732
                                           107 of 181    111of
                                                             of888
                                                                185 PageID
                                                                    PageID4036
                                                                           2842

                                     Norris - Cross                           107

   1 approximate amount of time, yeah.          So we have you know publicly

   2 listed reads; we have private reads; we have 1031 exchange

   3 vehicles.      So there's -- there's a lot of other businesses

   4 outside of that.

   5 Q      You know, we've heard talk about so-called front office.

   6 How do you, in your mind define or how do you understand front-

   7 office personnel to mean or to be?

   8 A      Yeah.    So it is someone providing investment advisory

   9 services.

  10 Q      Are the front-office employees different back ten years

  11 ago when the Advisors were doing more debt and equity than they

  12 would be today, when they're doing more real estate?

  13 A      Actual employees at the Advisors?

  14 Q      Or -- of the actual professionals that would be providing

  15 those front-office services.

  16 A      Yes.

  17        Historically we did rely a lot more on Highland.            Right.

  18 Given their credit expertise.         Given the assets that we

  19 managed.      And that's part of the, you know, payroll

  20 reimbursement agreements.

  21        Today, you know, from call it maybe 2018 to today, we've

  22 gone from maybe 5 NexPoint, for example, investment

  23 professionals to around 25.         And that has been -- and those are

  24 almost all real estate focused individuals.

  25 Q      So let's zero in on that.       Turn to Exhibit A.      That's one


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                                                                 002749
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page733
                                           108 of 181    112of
                                                             of888
                                                                185 PageID
                                                                    PageID4037
                                                                           2843

                                      Norris - Cross                          108

   1 of the Payroll Reimbursement Agreements.

   2                MR. RUKAVINA:    And, Your Honor, they have the same

   3 Exhibit A.      It's just different percentages.

   4 BY MR. MORRIS:

   5 Q      So are you familiar with these 25 people here?

   6 A      I am.

   7 Q      Okay.    I'm going to avoid that first name.         I tried and I

   8 did not do a good job.

   9                MR. MORRIS:   Mr. Rukavina, I apologize.       Which

  10 exhibit are you?

  11                MR. RUKAVINA:     I'm sorry.   My Exhibit A and Exhibit A

  12 to my Exhibit A. Which is the list of employees.

  13                MR. MORRIS:     And is it NexPoint or is it -- because I

  14 don't think I have it.         You may have the --

  15                MR. RUKAVINA:     I'm sorry.   It's HCMFA.

  16                MR. MORRIS:     Okay, thank you.

  17 BY MR. RUKAVINA:

  18 Q      Did you at one point in time know all of those 25 people?

  19 A      Yes.

  20 Q      Did you know what they did?

  21 A      Yes.

  22 Q      And tell us either on a high level or zero in how many --

  23 or group in how many of them did the debt and equity front-

  24 office services vis-a-vis real estate services.

  25 A      Sohan was the credit guy.       Cameron being the private


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                                                                 002750
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page734
                                           109 of 181    113of
                                                             of888
                                                                185 PageID
                                                                    PageID4038
                                                                           2844

                                     Norris - Cross                           109

   1 equity --

   2 Q      And private equity is that -- did you include that when

   3 you're talking about debt and equity.           Is that the same thing

   4 as equity?

   5 A      Equity and private equity. Yes.

   6 Q      Keep going.     Keep going.

   7 A      Mete (phonetic) Burns, credit.        He's a credit expert.

   8 Hunter Covitz, CLOs, which is collateralized loan obligations,

   9 made up of credit.       Neil, another CLO guy. Jim, as you know.

  10 Eric Fedorshin (phonetic), worked on the credit team; Matthew

  11 Gray was a credit analyst; Sanjay Gulati 100 percent of his

  12 time was allocated to HCMFA.         He was 100 percent associated

  13 with our main clone, ETF, which was a credit fund that was

  14 around 5 or $5 million at one point, and is $30 million today.

  15              Chris Hayes (phonetic) was a loan or credit trader;

  16 Bobby Hill (phonetic) bounced between teams.            Brendan McFarland

  17 (phonetic) was on the credit research team.            Carl Moore

  18 (phonetic) with Private Equity; Igor (phonetic) was credit.

  19 David Owens (phonetic) I believe was a credit trader.

  20              Trey Parker (phonetic) was head of credit research

  21 and then became co-CIO and ran the credit and equity investment

  22 process.

  23 Q      CIO, chief investment officer?

  24 A      Chief investment officer.       Andrew Parmenter (phonetic) was

  25 brought in.      He started in around 2017.       Was a partner of the


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                                                                 002751
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page735
                                           110 of 181    114of
                                                             of888
                                                                185 PageID
                                                                    PageID4039
                                                                           2845

                                      Norris - Cross                            110

   1 firm.     Michael Phillips (phonetic) was a credit guy.          John

   2 Pavlish (phonetic) was head of credit research after -- after

   3 Trey Parker was promoted to co-CIO.

   4         Philip Ryder (phonetic) I believe he was -- yeah, I don't

   5 know    the specific, either credit trader or credit.           Kunal was

   6 a credit.       Allen Smallwood ( phonetic) was a credit guy.         Mara

   7 (phonetic) was public equities, maybe private equity.

   8         Jake Tomlin (phonetic) was managing director on the credit

   9 team.     Ann Seager (phonetic), I believe, was a par credit

  10 analyst who ran credit.

  11 Q       And you mentioned that in that same period of time -- '18,

  12 '19, '20 -- the advisors went from having 5 in-house investment

  13 employees to, what did you say, 25 or 27?

  14 A       Approximately, yes.

  15 Q       Okay.    And were -- so the delta is whatever, 20, let's

  16 just say.       That increase?

  17 A       Yes.

  18 Q       Okay.    Were those new employees -- were any of those new

  19 employees any of these employees?

  20 A       As speaking today number of employees?

  21 Q       Yeah.

  22 A       So one of them did come over when -- actually two.           But

  23 he's no longer there.        Hunter Covitz after February 2021 and

  24 Sohan.

  25         I don't believe any of the others.        Most of them were gone


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                                                                 002752
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page736
                                           111 of 181    115of
                                                             of888
                                                                185 PageID
                                                                    PageID4040
                                                                           2846

                                     Norris - Cross                           111

   1 by then.     I think there may have only been five come February.

   2 Q      Well, that's my question.

   3 A      Yeah.

   4 Q      That's my next question.       Did it matter to the Advisors

   5 for purposes of their business that 20 of these employees over

   6 a period of time were no longer there?

   7 A      It didn't.

   8        As our business had morphed into much more real estate

   9 focused.     We did rely some on them.       Right.    We still had the

  10 five or six that were still there.          But it -- it wasn't a -- a

  11 big part of our business at that point.

  12 Q      Because there's been some implication made by Mr. Klos

  13 that as these employees fell off, Highland made up for them

  14 with other employees.        Do you agree with any such assertion?

  15 A      I don't.    I -- I -- I believe they hired one front-office

  16 investment professional.        The existing professionals may have

  17 pitched in some.       But a lot of those functions were at our

  18 advisors.      And I -- I mentioned the real estate professionals.

  19 But there were -- there were a couple other in professional

  20 HCMFA, Joe Sowin who became co-CIO when -- when Trey Parker was

  21 promoted to co -- head of private equity.

  22        He was an HCMFA employee.       When Mark O'Connell (phonetic)

  23 left and then Trey Parker left, Joe Sowin and Jim Dondero were

  24 co-CIO's.      Both employees of our Advisors.

  25 Q      So I think it's important for Your Honor to understand the


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                                                                 002753
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page737
                                           112 of 181    116of
                                                             of888
                                                                185 PageID
                                                                    PageID4041
                                                                           2847

                                     Norris - Cross                           112

   1 relationship between the PRAs and the shared services

   2 agreements.

   3        So still looking at this Exhibit A, were these the only

   4 Highland employees that provided services to the Advisors?

   5 A      Any services or front-office services?

   6 Q      Any services.

   7 A      No.

   8 Q      There were a number of Highland employees providing

   9 back-office and middle-office services.           Is that correct?

  10 A      That's correct.

  11 Q      And do you have an understanding pursuant to what

  12 agreement those employees were being used?

  13 A      That was according to shared services agreements.

  14 Q      So is it important to clearly delineate between the two

  15 types of agreements?

  16 A      It is.

  17 Q      If we want to find out what services were being provided?

  18 A      Yes.

  19 Q      Okay.    And just while we're on here, so that Her Honor

  20 understands the rest of our discussion, go to Page 1 of this

  21 exhibit, Exhibit A.       And Section 2.01.

  22 A      Yes.

  23 Q      I think you mentioned earlier, Mr. Morris was asking you

  24 that it shouldn't just be a dual employee, but needs to be

  25 providing investment services.         Do you remember mentioning


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page738
                                           113 of 181    117of
                                                             of888
                                                                185 PageID
                                                                    PageID4042
                                                                           2848

                                     Norris - Cross                           113

   1 something like that?

   2 A      Yes.   They -- they need to be a dual employee --

   3 Q      So that's --

   4 A      -- and then they must be able to provide advice to any

   5 investment company, investment related service, I think how I

   6 explained it in -- provide advice to any investment company.

   7 Q      So if some Highland back-office employee or middle-office

   8 employee is providing services to the Advisors, would you

   9 consider them to fall within this contract?

  10 A      If they're providing any services, or if they're providing

  11 --

  12 Q      No, if they're --

  13 A      -- advice?

  14               MR. MORRIS:    Your Honor, I object to this whole line

  15 of questioning.       He's asking a witness to interpret contracts

  16 that he has no personal knowledge of.           And this is what I

  17 warned the Court about in my opening statement yesterday.              The

  18 witness must testify about personal knowledge and should not be

  19 here to interpret contracts that he didn't negotiate, he didn't

  20 participate in drafting, and that he never read until recently.

  21               THE COURT:    Response?

  22               MR. RUKAVINA:    Your Honor, he's not interpreting a

  23 contract.     We're trying to explain -- first of all, we're going

  24 to work to his damages model.         So his understanding of what an

  25 employee falls in here.        He's not -- he's reading the language


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page739
                                           114 of 181    118of
                                                             of888
                                                                185 PageID
                                                                    PageID4043
                                                                           2849

                                     Norris - Cross                            114

   1 and he's going to tell you which employee provided that

   2 investment advice.       He's not going to tell you what this

   3 contract means.       So --

   4              MR. MORRIS:      He -- with all due respect, Your Honor.

   5 That's exactly what he's doing.          Because now he's saying that

   6 even though people who were dual employees were providing these

   7 services, Highland's entitled to no compensation because they

   8 just were providing the services under the shared services

   9 agreement.      He can't do that.

  10              MR. RUKAVINA:      That's not what I'm asking.      That's

  11 not what -- and Your Honor will decide these contracts as a

  12 matter of law.      I'm asking for him -- for his understanding of

  13 what human being that provided services, for that human being,

  14 whether that human being would fall under the payroll

  15 reimbursement agreement or the shared services agreement.

  16              And all he has to do is to read simple English and

  17 then he'll tell you as a question of fact what he thinks.              And

  18 you'll decide as a question of law if that's correct.

  19              MR. MORRIS:      I'm just going to try one more time.

  20              MR. RUKAVINA:      It's a --

  21              MR. MORRIS:      It's not fair because the example that

  22 I'm going to give and we saw six different exhibits yesterday,

  23 where people's titles changed in order to give them the

  24 responsibility for doing exactly this service.            And they're now

  25 going to take the position that because they were in the legal


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page740
                                           115 of 181    119of
                                                             of888
                                                                185 PageID
                                                                    PageID4044
                                                                           2850

                                     Norris - Cross                           115

   1 department and they paid for legal services that's it.              We get

   2 nothing more.      We're providing the exact same service.          This is

   3 an argument he can make in closing, but he can't use a witness

   4 to do this.

   5               THE COURT:   All right.     I sustain.    He can't testify

   6 about what terms of the agreement mean.

   7 BY MR. MORRIS:

   8 Q      Okay, so let's talk about shared services a little bit.

   9        You heard Mr. Powell testify and you've heard a lot of

  10 people testify.       Are the Advisors complaining to this Court

  11 that they did not get the services contracted for under the

  12 shared services agreements?

  13 A      Generally, no, with the exception of legal compliant

  14 services.

  15 Q      Are the Advisors complaining that they did not get the

  16 employees that they were paying for under the payroll

  17 reimbursement agreements?

  18 A      Yes.   We're -- we're -- we're saying we're reimbursing for

  19 employees that were no longer there and we were not receiving

  20 the services that were being paid for.

  21 Q      So we looked at a lot of those board minutes, meetings,

  22 and you've heard Mr. Powell, he said, "Can one conclude that if

  23 we say we are getting the services we contracted for, can one

  24 conclude from that, that we're somehow waiving rights under the

  25 payroll reimbursement agreements?"


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page741
                                           116 of 181    120of
                                                             of888
                                                                185 PageID
                                                                    PageID4045
                                                                           2851

                                      Norris - Cross                          116

   1                MR. MORRIS:    Objection, legal conclusion.

   2                MR. RUKAVINA:    It's not a legal conclusion.

   3                THE COURT:    Sustained.

   4 BY MR. RUKAVINA:

   5 Q      Okay.    So let's talk about those back- and middle-office

   6 services.

   7        Prior to the bankruptcy, did the Advisors have their own

   8 employees who provided back and middle office services?

   9 A      Not the services that we contracted for with Highland.

  10 Q      Okay.    And do your understanding, what were the services

  11 that Highland should have been providing pursuant to the shared

  12 services agreement?

  13 A      Yeah, in the shared services agreement --

  14                MR. MORRIS:     Objection. The witness has no knowledge

  15 of the contracts.       I don't understand how he gets to testify as

  16 to what services we were supposed to be providing when he has

  17 no knowledge of the contract.

  18                MR. RUKAVINA:    Your Honor, the fact that he didn't

  19 negotiate the contract doesn't mean that he can't read it and

  20 apply its statements.        It's the same as if the contract says

  21 I'm buying a Mercedes and he's telling you whether that car is

  22 a Mercedes or a Nissan.

  23                He's not interpreting the contract, he's giving the

  24 Court facts in which the Court will ultimately determine

  25 whether the contract fits or not.


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                                                                 002758
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page742
                                           117 of 181    121of
                                                             of888
                                                                185 PageID
                                                                    PageID4046
                                                                           2852

                                      Norris - Cross                          117

   1                THE COURT:    Okay.   I don't -- I can read the

   2 contracts.

   3                MR. RUKAVINA:    Okay.

   4                THE COURT:    I can read the contracts.      So how is this

   5 necessary?

   6                MR. RUKAVINA:    Very well.

   7                THE COURT:    Okay.

   8                MR. RUKAVINA:    One moment, Your Honor.

   9                THE COURT:    Okay.

  10 BY MR. RUKAVINA:

  11 Q      Go to Exhibit 36, please.        It's in the big binders.

  12 A      36?

  13 Q      Yes, sir.

  14 A      Uh-huh.

  15 Q      So this is to Mary Irving.        Are you familiar with a Mary

  16 Irving?

  17 A      I know who she is, yes.

  18 Q      Okay.    Does she provide any services in any capacity to

  19 the Advisors?

  20                MR. MORRIS:     Objection.    Just time frame.

  21                THE COURT:    Object -- I'm sorry. Objection, time

  22 frame?

  23                MR. MORRIS:     Yeah, the question was just vague

  24 because as -- as of time frame.

  25                THE COURT:    Okay.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page743
                                           118 of 181    122of
                                                             of888
                                                                185 PageID
                                                                    PageID4047
                                                                           2853

                                     Norris - Cross                           118

   1                MR. MORRIS:    He just said does she provide.

   2                THE COURT:    If you could be more specific, Mr.

   3 Rukavina?

   4                MR. RUKAVINA:    I will.

   5 BY MR. RUKAVINA:

   6 Q      Did Mary Irving ever provide any services to the Advisors?

   7 A      I had very little interaction with her.

   8 Q      Okay.

   9 A      Over the last decade.

  10 Q      Okay.    Mary Irving, we can look at it, but she's not on

  11 the payroll reimbursement agreements.

  12 A      She's not.

  13 Q      Okay.

  14 A      She's part of the legal team.

  15 Q      Did Mary Irving ever provide front-office or investment

  16 advice services to the Advisors?

  17 A      Not that I'm aware of.

  18 Q      Okay.    Let's go look at 37.      Are you familiar with

  19 Stephanie Vitialo (phonetic)?

  20 A      I am.

  21 Q      Did Ms. Vitialo ever provide any services to the Advisors?

  22 A      She provided some legal services.

  23 Q      Okay.    Is she on the payroll reimbursement agreements?

  24 A      She's not.

  25 Q      Does she provide any so-called front-office or investment


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page744
                                           119 of 181    123of
                                                             of888
                                                                185 PageID
                                                                    PageID4048
                                                                           2854

                                     Norris - Cross                           119

   1 advice -- advisory services?

   2 A      Over what time frame?

   3 Q      At any point -- well, post-petition.

   4 A      None that I'm aware of.

   5 Q      Okay.    Exhibit 38.    Are you familiar with Matthew Diorio

   6 (phonetic)?

   7 A      I am.

   8 Q      Is he on Exhibit A to the payroll reimbursement

   9 agreements?

  10 A      He is not.

  11 Q      Okay.    Did he ever provide any services at any point in

  12 time to the Advisors?

  13 A      Not that I'm aware of.

  14 Q      Okay.    Do you know what Mr. Diorio did at Highland?

  15 A      He worked on the Legal and Compliance Team. I don't think

  16 he's an attorney.       Something with business development, which I

  17 never interacted with Matthew.

  18 Q      Did he ever provide any investment advisory or front-

  19 office services to the Advisors?

  20 A      Not that I'm aware of.

  21 Q      Post petition?

  22 A      Not that I'm aware of.

  23 Q      Would you be aware of that post petition, since you're the

  24 head of Business Development?

  25 A      Well, I frequently interact with the investment


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page745
                                           120 of 181    124of
                                                             of888
                                                                185 PageID
                                                                    PageID4049
                                                                           2855

                                     Norris - Cross                           120

   1 professionals.      I sit in on investment committee meetings.           And

   2 then the weekly global investment committee meeting.              As part

   3 of my role as Chief Product Strategist, I'm a liaison between

   4 investors and the investment team.          And so I interacted daily

   5 with investment professionals to determine what they're doing,

   6 why they're doing it.        So --

   7 Q      So you wouldn't --

   8 A      -- I'm not going to say I would have knowledge of every

   9 single person providing investment services.            But I generally

  10 had an idea particularly related to our advisors.

  11 Q      Okay.    Well, that's all I'm asking about our advisors.

  12 A      Yeah, I --

  13 Q      The next one, Exhibit 39, Mr. Leventon.          I think we all

  14 know Mr. Leventon.       But just for the record, Mr. Leventon, is

  15 he on the payroll reimbursement agreements?

  16 A      He's not.

  17 Q      And what kind of services, or what did he do at Highland?

  18 A      He was an attorney.

  19 Q      Okay.

  20 A      Worked on litigation and other legal things.

  21 Q      Did he ever, to your understanding provide any front-

  22 office or advisory services to the Advisors?

  23 A      Not that I'm aware of.

  24 Q      Okay.    So we've just gone -- well, let's do Exhibit 42.

  25 With Timothy -- how do you pronounce that?            Canorlier


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                                                                 002762
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page746
                                           121 of 181    125of
                                                             of888
                                                                185 PageID
                                                                    PageID4050
                                                                           2856

                                     Norris - Cross                           121

   1 (phonetic)?

   2 A      I wish I knew.     Canorlier -- I've never been able to

   3 pronounce it.

   4                MR. MORRIS:    Canorlier.

   5                THE WITNESS:    Canorlier, yes.    I know I've heard it

   6 many times.

   7 MR. RUKAVINA:

   8 Q      Was Mr. Canorlier on the payroll reimbursement agreements?

   9 A      He's not.

  10 Q      Okay.    Do you know what he did at Highland?

  11 A      He -- he was an attorney on the legal team.

  12 Q      Did he ever provide any investment advisory or front-

  13 office services to the Advisors post petition?

  14 A      Not that I'm aware of.

  15 Q      Okay.    So if there's an argument made -- I think we've

  16 gone through five or six employees, if there's an argument made

  17 that these five or six employees replaced dual employees that

  18 were dropped over time, would you agree with that argument?

  19 A      I wouldn't have any basis to agree with that.           I -- I

  20 don't have -- I didn't have interaction with them providing

  21 those services.

  22 Q      Because, again, we looked at the contract, and the

  23 contract has two elements.         Correct?

  24 A      That's right.     They need to be dual employees and they

  25 need to be providing advice to registered investment companies.


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                                                                 002763
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page747
                                           122 of 181    126of
                                                             of888
                                                                185 PageID
                                                                    PageID4051
                                                                           2857

                                     Norris - Cross                           122

   1 Q      Okay.    Now some of these employees, if they provided

   2 services to the Advisors, would that have been pursuant to the

   3 shared services agreements?          Like legal?

   4                MR. MORRIS:    Objection.   Same -- exact same.      He

   5 shouldn't be telling the Court what contract people were

   6 providing services pursuant to.

   7                THE COURT:    Response?

   8                MR. RUKAVINA:    I'll move on.

   9                THE COURT:    Okay.

  10 BY MR. RUKAVINA:

  11 Q      The list of employees on Exhibit A on the payroll

  12 agreements, do you have any understanding as to whether any of

  13 those employees, once they were terminated by Highland, were

  14 replaced by Highland, with respect to their roles for the

  15 Advisors?

  16 A      I --

  17 Q      I think you might have mentioned one earlier.           I don't

  18 know if you put it in the record, the name.            It's in the small

  19 binder, Dustin.       The smaller binder to your right.

  20 A      Oh, yes.

  21 Q      Just Exhibit A.

  22 A      So I know there was one individual who was hired to help

  23 with healthcare, but he helped with the private equity fund,

  24 that wasn't related to our Advisors in HCMLP owned fund.              And

  25 he did a little bit for our Advisors. His name was Michael


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                                                                 002764
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page748
                                           123 of 181    127of
                                                             of888
                                                                185 PageID
                                                                    PageID4052
                                                                           2858

                                     Norris - Cross                           123

   1 Jueng (phonetic).       And I think he was hired in 2019.        So he was

   2 the only front-office person that I'm aware of that -- that was

   3 hired.

   4         Now, yet, there -- when some left there was, you know,

   5 some reallocation of duties.         However, at that point, as I

   6 mentioned our assets in credit and private equity had been

   7 diminishing significantly over the last several years.              So many

   8 of these people left, but they had seen the writing on the

   9 wall.     Right.

  10         They knew we weren't focused on credit.         They knew we had

  11 growth in real estate and that wasn't their expertise.              And you

  12 know, they're a lot of good people and they went and started

  13 other businesses.       They went to other companies.

  14 Q       Would you have offered them employment for the Advisors

  15 upon them leaving Highland, had the Advisors a need for them?

  16 A       If we had a need, I -- we made an offer to those that --

  17 and there were some even that were left to us, we didn't extend

  18 an offer to, for various reasons.

  19 Q       Okay.

  20 A       We didn't need them.     You know, and -- and at this point

  21 our assets are very different.         We don't need the large credit

  22 team.

  23                 MR. RUKAVINA:   Your Honor, I think the clock is one

  24 hour off, but that's no big deal.

  25                 THE COURT:   It's two minutes to 4:00.      I don't know


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                                                                 002765
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page749
                                           124 of 181    128of
                                                             of888
                                                                185 PageID
                                                                    PageID4053
                                                                           2859

                                     Norris - Cross                             124

   1 what that says.

   2              MR. RUKAVINA:     It says two minutes to 3:00.        Mr.

   3 Berdman (phonetic) if you'll please put Exhibit CC up?              Your

   4 Honor, CC is an Excel spreadsheet.          This is the underlying data

   5 that rolls up into the David Klos December chart, if you

   6 recall.

   7              THE COURT:    Okay.

   8              MR. RUKAVINA:     So Your Honor will recall that Exhibit

   9 Q.    Exhibit Q is the PDF of the summary.

  10              THE COURT:    Okay.

  11              MR. RUKAVINA:     And Exhibit CC, the way we look at

  12 Exhibit CC is unfortunately on the -- on the screen.

  13              THE COURT:    Okay.

  14              MR. RUKAVINA:     So that's what Mr. Berdman is trying

  15 to pull up.      He says it's loading.      And Mr. Berdman, if you'll

  16 go to the employee listing.

  17              Your Honor, one moment.       So Your Honor, we're just

  18 trying to figure out why the screen is so blurry here.              So can

  19 you see Mr. Norris, or is it --

  20              THE WITNESS:     I can see it.

  21              MR. RUKAVINA:     -- again my eyes.

  22 BY MR. RUKAVINA:

  23 Q      Okay, so this is Mr. Klos's analysis.          And I'd just like

  24 to talk about some of these employees here.            So let's look at

  25 Chris Rice (phonetic).


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                                                                 002766
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page750
                                           125 of 181    129of
                                                             of888
                                                                185 PageID
                                                                    PageID4054
                                                                           2860

                                     Norris - Cross                           125

   1 A      Yes.

   2 Q      See 2019 hired.     Do you see that?

   3 A      I do.

   4 Q      Did Chris Rice provide so-called front-office investment

   5 office services to the Advisors?

   6 A      No.    He's in the accounting department.

   7 Q      Okay.

   8 A      As it says there accounting, finance and back office.

   9 Q      So rather than me go through each one of these, you just

  10 go through them and tell the Court -- so start at line, what is

  11 that, 60?

  12 A      Uh-huh.

  13 Q      And go down.     Those are the new hires that Mr. Klos

  14 included.      Tell the Court, for each one of those, whether they

  15 would or would not be providing investment services front-

  16 office services to the Advisors.

  17 A      Yeah, Chris Rice, no.       It's accounting and back-office

  18 services.

  19 Q      Joey?

  20 A      No, it was accounting and finance --

  21 Q      Just say yes or no.      Just say yes or no.

  22 A      Yeah.    No, no on Kelly.     Michael Young, yes.      Brad McKay,

  23 no.    Andrew, no.     Brendan, no.    Tina, no.    Bridget, no.     Sarah,

  24 no.    Michael, no.     Austin, no.    Erberto (phonetic), no.

  25                MR. RUKAVINA:   Okay.   You can close that, Mr. Berman


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                                                                 002767
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page751
                                           126 of 181    130of
                                                             of888
                                                                185 PageID
                                                                    PageID4055
                                                                           2861

                                     Norris - Cross                           126

   1 (phonetic).

   2 BY MR. RUKAVINA:

   3 Q      So if Mr. Klos used those employees as far as the

   4 profitability of the payroll reimbursement agreements in his

   5 analysis, would you disagree that those employees should have

   6 been included?

   7                MR. MORRIS:    Objection to the extent it calls for

   8 legal conclusion.

   9                THE COURT:    Overruled.

  10                THE WITNESS:    So if he -- say it one more time.       If

  11 he included in the payroll reimbursement --

  12 BY MR. RUKAVINA:

  13 Q      Yeah.

  14 A      With Michael, or a percentage allocation, I wouldn't

  15 necessarily disagree.         The others I would disagree because they

  16 would be captured as a back-office employee that was not duly

  17 employed in providing investment advice to our registered

  18 investment --

  19 Q      Okay.

  20 A      -- companies.

  21 Q      And I think we've discussed this before, and Mr. Morris

  22 asked you.      But you were generally aware, more or less

  23 contemporaneously with when certain employees left Highland.

  24 Is that accurate?

  25 A      I was.


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                                                                 002768
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page752
                                           127 of 181    131of
                                                             of888
                                                                185 PageID
                                                                    PageID4056
                                                                           2862

                                     Norris - Cross                           127

   1 Q      Okay.    So why didn't you or someone else immediately pound

   2 the table and say we've got to stop paying for that employee?

   3 A      Well, I had no knowledge that we were continuing to pay or

   4 reimburse for their bonuses, comp, and benefits when they were

   5 no longer employed.        Had I know that, I would have reacted the

   6 same way when I found that out.

   7 Q      What did you think -- pardon me, I'm having a hard time

   8 phrasing this.

   9        Who did you think should have been doing that job?            Or as

  10 an officer of the Advisors, who did you expect would be doing

  11 that job?

  12 A      Yeah, so we -- we outsourced agreement review, payments,

  13 payment processing to Highland and they -- they actually had a

  14 very robust process.       And it was actually challenging to get

  15 agreements through them, and invoices.           If there wasn't an

  16 agreement tied to an invoice, they would ask for the agreement.

  17 If the agreement didn't match the invoice, they would let us

  18 know.

  19        And they would go back and either tell the vendor or

  20 renegotiate.      So there was a very thorough process that I had

  21 dealt with for a decade with them.          And -- and that's who we

  22 relied on to administer our agreements and payments across the

  23 board.

  24 Q      Okay.    Now before we flip to your damages --

  25 A      And I don't know      if it's helpful.     There was an accounts


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page753
                                           128 of 181    132of
                                                             of888
                                                                185 PageID
                                                                    PageID4057
                                                                           2863

                                     Norris - Cross                           128

   1 payable person.       There was a corporate accounting team --

   2 Q      Whose --

   3 A      -- who handled this.

   4 Q      -- whose employee was accounts payable?

   5 A      Who was the employee?

   6 Q      No, whose --

   7 A      It was Highland Capital Management, L.P.

   8 Q      And everyone else that you mentioned?

   9 A      And all the other corporate accounts, or HCMLP.

  10 Q      So let's look at Exhibit G.

  11                MR. RUKAVINA:   Your Honor, Exhibit G, I don't think

  12 we've looked at yet, at least not in detail.            Exhibit G is a

  13 PDF printout of Mr. Norris's damages calculation.             And Exhibit

  14 H is, again, the native form Excel spreadsheet.

  15 BY MR. RUKAVINA:

  16 Q      Mr. Norris, will you please tell us if you need the native

  17 file pulled up for any reason, okay?

  18 A      Okay.

  19 Q      What -- tell the Court what you’re trying to do here in

  20 Exhibit G?

  21 A      Yeah.

  22        So what I do is very simple.        I know there’s a lot of

  23 numbers on the page, but just to simplify it is I took what are

  24 the actual payments made, which we have heard --

  25 Q      Payments made from whom to whom?




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                                                                 002770
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page754
                                           129 of 181    133of
                                                             of888
                                                                185 PageID
                                                                    PageID4058
                                                                           2864

                                     Norris - Cross                           129

   1 A      Payments made by Highland on our behalf to HCMLP from our

   2 Advisor accounts for --

   3 Q      So, so, so just hold on.

   4 A      Yeah.

   5 Q      So payments from the Advisors to Highland.

   6 A      My Advisors to Highland.

   7 Q      Only that Highland was processing the advisor.

   8 A      That’s correct.

   9 Q      Okay.

  10 A      Regarding the payroll reimbursement agreements.           So there

  11 was each month $252,000 for NexPoint Advisors and $416,000 for

  12 Highland Capital Management Advisors, Fund Advisors, that was

  13 paid each month.       And we’ve heard all about how those amounts,

  14 the actual payments didn’t change.          And so, that $9 million

  15 represents the period from the court filing to the end of

  16 November.      Nine million dollars is what was actually paid.

  17 Q      Why did you stop at the end of November?

  18 A      Because that’s when payments stopped as we heard from

  19 Frank and Mr. Dondero.

  20 Q      Okay.    So the $9 million, 9 million 18, that’s just the

  21 cumulative of HCMFA and NPA.         Right?

  22 A      That’s correct.

  23 Q      Okay.    The next line is cost of dual employees --

  24 A      That’s right.

  25 Q      -- as stated in the original agreement from 2018.


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                                                                 002771
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page755
                                           130 of 181    134of
                                                             of888
                                                                185 PageID
                                                                    PageID4059
                                                                           2865

                                     Norris - Cross                           130

   1 A      That’s right.     So here’s the simple math.       I took the

   2 total compensation numbers which came from Highland and

   3 combined and multiplied them going month by month.             I took each

   4 employee that was still employed.          I utilized their termination

   5 dates from the filings as well as the monthly -- compared to

   6 the monthly termination sheet.         So I went month by month and

   7 said who was still employed, multiplied their total

   8 compensation times the percentage allocation, and that’s where

   9 it’s broken out between NexPoint Advisors and HCMFA.

  10        So, assuming these employees were still employed and

  11 providing investment advisory services and a new employee, the

  12 $2.8 million during that period is what we would have

  13 reimbursed, actual costs of those employees, actual

  14 reimbursement costs.

  15 Q      Okay.    So just so we’re clear, we saw from Mr. Klos

  16 yesterday that his analysis was a snapshot point and time

  17 December 2020.      Correct?

  18 A      Correct.

  19 Q      Is yours also a snapshot of a given point and time?

  20 A      It’s not.    The allocation percentages are because in the

  21 beginning --

  22 Q      So I was going to -- I was going to ask you that.            Which

  23 allocation percentages did you use?

  24 A      I used the ones from scheduling.

  25 Q      Why?


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                                                                 002772
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page756
                                           131 of 181    135of
                                                             of888
                                                                185 PageID
                                                                    PageID4060
                                                                           2866

                                     Norris - Cross                           131

   1 A      There was obviously a lot of thought.          It was at that

   2 point -- I didn’t want to make assumptions here.             Right?     I’m

   3 taking the math that was provided on Schedule A.             And then

   4 looking at them, you know, they appeared reasonable or should

   5 have been lower.       To be conservative, I took the exact same

   6 percentages and ran them through the calculation.

   7 Q      Okay.    Now just so that the Court is understanding this,

   8 if an employee is no longer there, does his or her allocated

   9 percentage matter?

  10 A      It doesn’t.

  11 Q      It only matters --

  12 A      If there is -- if it’s 100 percent of 0, it’s 0.            So

  13 that’s why, yeah, it doesn’t matter.

  14 Q      So for 20 of the 25 employees, would it matter what

  15 allocated percentage they had?

  16 A      Allocated percentages doesn’t matter.          Compensation

  17 doesn’t matter.       And you’ll see in my second tab that that is

  18 NA.    I didn’t even need to put their compensation numbers

  19 because if they weren’t employed as of the bankruptcy filing,

  20 they didn’t matter.

  21 Q      Because we’re paying for someone that doesn’t exist.

  22 A      Or reimbursing for some compensation that was never paid.

  23 Q      Just so again the Court is clear, we’re talking about the

  24 snapshot.      You did a walk forward on a post petition month by

  25 month basis?


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                                                                 002773
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page757
                                           132 of 181    136of
                                                             of888
                                                                185 PageID
                                                                    PageID4061
                                                                           2867

                                     Norris - Cross                           132

   1 A      Correct.    And I divided that into three segments.

   2 Q      Well, let me pause you there.

   3 A      Yeah.

   4 Q      So if there was an employee that was employed some point

   5 and time post petition, but then fell off, how did you treat

   6 that employee?

   7 A      Yeah.    So the month -- I had them the month that they

   8 stayed.     The month later, I dropped them off.         And you can see

   9 that on the third and fourth pages.          I can draw your attention

  10 to, for example, John Poglich (phonetic), simple on the third

  11 page.     John Poglich, you see a monthly allocation and --

  12 Q      On 53,066?

  13 A      On 53,000.     And the first month is half of that because

  14 the petition date or the bankruptcy filing date was the 15th of

  15 October, I believe.       And then he was here through September and

  16 he drops off.      Right?    You wouldn’t expect to be paying for

  17 someone that’s no longer there.          And you can see that through

  18 various other employees.        Mr. Dondero, I kept him on there.            He

  19 was a -- he was there until he became a non-paid employee of

  20 Highland.      You see Morrow (phonetic), Stall Tarry (phonetic).

  21 Same thing.      He was employed until December 2020, and then he

  22 drops off.      Same thing, Mr. Parker, until February 2020, and he

  23 drops off.      And in all these with zeroes, they just were not

  24 employed on the bankruptcy filing date and so they’re zeroes.

  25 Q      So what is your conclusion from the petition date through


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                                                                 002774
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page758
                                           133 of 181    137of
                                                             of888
                                                                185 PageID
                                                                    PageID4062
                                                                           2868

                                     Norris - Cross                           133

   1 the date that we stopped paying as to how much we paid, or

   2 rather, reimbursed Highland for employees who were no longer

   3 there?

   4 A      The difference is the $6.2 million right here.

   5 Q      So that’s even a little less than Mr. Klos’ 6.6, isn’t it?

   6 A      It is.

   7 Q      Okay.    Now, what about the next block there?         You say

   8 additional two months billed by HCMLP, et cetera, for December

   9 ‘20 through January ‘21.        Why did you include those additional

  10 two months?

  11 A      I included those because the services should -- the

  12 agreements had not been terminated, right.            So we were paying.

  13 And I broke them out separately because the Advisors were no

  14 longer paying.      And so this can’t be -- this first line isn’t

  15 total amount reimbursed or paid.          It’s what the billings were.

  16 And they’re -- I think in their damages claim is that the

  17 amount is equal to the amount listed in the agreement for those

  18 two months, which I put in that top line.           That’s simply the

  19 amount the --

  20 Q      So the top line, the 1336, where are we paying according

  21 to their damages, that’s how much we would have paid?

  22 A      I believe so.     It’s $252,000 a month for NexPoint Advisors

  23 and $416,000 a month for NPA.

  24 Q      And according to your calculation for those months at that

  25 point and time, how much should we have paid if the Court


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                                                                 002775
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page759
                                           134 of 181    138of
                                                             of888
                                                                185 PageID
                                                                    PageID4063
                                                                           2869

                                     Norris - Cross                           134
   1 accepts our view of this case?

   2 A      $264,000 should have been what we paid with a million

   3 dollar difference for that two months.

   4 Q      So if the Court agrees with us, then the damages just on

   5 these two contracts, not shared services, for those two months

   6 should be how much?       How much should we have to pay for those

   7 two months if the Court agrees with our theory of the case?

   8 A      Two hundred and sixty-four thousand dollars, nine eighty-

   9 eight based on this calculation.

  10 Q      And you mentioned that the payroll termination agreements

  11 weren’t terminated.       Did you ever discuss that with Mr. Klos or

  12 Waterhouse or Seery?

  13 A      I did.

  14 Q      What did they tell you?

  15 A      We had an email exchange with Mr. Klos and Mr. Waterhouse

  16 and    they didn’t know.      This is like when we found out and Mr.

  17 --

  18 Q      So let’s go back.

  19 A      Uh-huh.

  20 Q      November 30th we get termination notices, 60-day clock

  21 ticking on the search services.          Right?

  22 A      Correct.

  23 Q      Did we get termination notices for payroll reimbursement?

  24 A      We did not.

  25 Q      Did that surprise you or?



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                                                                 002776
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page760
                                           135 of 181    139of
                                                             of888
                                                                185 PageID
                                                                    PageID4064
                                                                           2870

                                     Norris - Cross                           135
   1 A      It did.

   2 Q      What did it cause you to do?

   3 A      It caused us to ask why because we knew we were --

   4 Q      Well, what was the ultimate answer that you got from

   5 either Mr. Klos, Waterhouse, or Seery?

   6 A      Mr. Waterhouse said maybe it was overlooked.           That’s all

   7 we got.

   8 Q      Okay.    No discussion about that why would we terminate if

   9 it’s still profitable?

  10 A      Well, I was --

  11                MR. MORRIS:    Your Honor, that’s the kind of leading

  12 question that he used to -- he asked him the question, he got

  13 an answer, and now he’s fishing for the answer he wants by

  14 suggesting the answer in his question.           Exactly what he took me

  15 to task for.

  16                THE COURT:    Sustained.

  17 BY MR. RUKAVINA:

  18 Q      Did you ever discuss the profitability or lack thereof of

  19 the payroll reimbursement agreements with Mr. Klos?

  20 A      The profitability of them, yes.

  21 Q      Yes.    What did you discuss with Mr. Klos?

  22 A      Yeah.    So, and maybe I should back up to that November

  23 30th date we received the notices.          December 1st, I had been,

  24 along with Mr. Sauter, tasked with transitioning the services,

  25 even prior to that, making sure there was a smooth transition.



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                                                                 002777
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page761
                                           136 of 181    140of
                                                             of888
                                                                185 PageID
                                                                    PageID4065
                                                                           2871

                                     Norris - Cross                           136
   1 But at that point there was still the understanding or hope

   2 that things would come to a peaceful resolution.

   3        At that point we knew, all right, we need to make sure the

   4 businesses can continue, that we can continue the shared

   5 services through another entity or hiring those employees.

   6 What agreements were there that we needed?            And so the shared

   7 services and payroll reimbursement agreements were two of

   8 those.     D.C. Sauter and I had been discussing them over the

   9 previous month or two, but then when this happened, we went to

  10 Dave Klos and Frank and said -- I sent Dave Klos an email and

  11 said, hey, I need to understand these amounts.            What are we

  12 paying?     What are we paying for?

  13        And there was a response from Mr. Klos and that email was

  14 -- went through with Mr. Klos where I said, you know, hey, what

  15 are these the proper amounts?         He came back.     Maybe we can go

  16 through the email, but his response was that they had continued

  17 to pay the same amounts.        And I had pointed out several

  18 employees that were large dollar amounts that were no longer

  19 employed and was asking, are we still paying for these or

  20 reimbursing these employees that are no longer employed?              And

  21 his answer is the amounts had not changed.

  22        And so after that conversation, we had a call with Mr.

  23 Klos and Mr. Waterhouse and we dug into the why, the how much,

  24 the profitability.       Mr. Waterhouse was very aware that we were

  25 overpaying, used the word overpayment.           That’s when I learned



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                                                                 002778
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page762
                                           137 of 181    141of
                                                             of888
                                                                185 PageID
                                                                    PageID4066
                                                                           2872

                                     Norris - Cross                           137
   1 about the automatic stay.        I think I discussed that.       Mr. Klos

   2 had -- was involved in that discussion as well.             So we had a

   3 couple of discussions.        Mr. Klos called me separately.        We had

   4 another conversation with Mr. Waterhouse.           That was in early

   5 December.      I don’t know if you want me to keep going on that,

   6 but.

   7 Q      Sure.    Yes.   What other discussions did you have with Mr.

   8 Klos about the problem?

   9 A      Yeah.    So at that time too, I asked Mr. Klos and Mr.

  10 Waterhouse.      They told me there was a schedule that laid out

  11 the payments and the overpayments.          And me and Mr. Sauter asked

  12 for it.     We said, give it to us.       And I learned a little bit

  13 more about the hesitancy that they had in doing anything that

  14 would harm or cause damage to the Debtor.

  15 Q      Did Mr. Klos tell you anything about that in particular?

  16 A      Mr. Klos and Mr. Waterhouse both did.

  17 Q      What did they say?

  18 A      They had said, and this is the first I had learned about

  19 it, that they had been warned that if they did anything that

  20 was -- that would harm or be adverse to the Debtor that they

  21 would be fired on the spot, and that they would be held

  22 personally liable.       And they were -- I mean, they were trying

  23 to do what was right in both regards, right.            We know Mr.

  24 Waterhouse was wearing two hats, but -- and they expressed

  25 their concern.      And so --



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                                                                 002779
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page763
                                           138 of 181    142of
                                                             of888
                                                                185 PageID
                                                                    PageID4067
                                                                           2873

                                     Norris - Cross                           138
   1 Q      So their concerned about being fired?

   2 A      Fired on the spot and held personally liable.

   3 Q      Did they share -- did they share that analysis you

   4 mentioned with you?

   5 A      So Mr. Klos said, I’ll check, but I don’t think Seery will

   6 allow it.

   7 Q      Okay.

   8 A      So fast forward, we ask multiple times to Frank and Dave.

   9 We never got it.       In mid December, it’s an important time

  10 period, Jim got hit with a temporary restraining order.              And so

  11 as we were starting to have these conversations with Dave and

  12 Frank, now all the sudden, you know, I for the first time was

  13 involved in the court.        That was the first time I ever appeared

  14 in court.      We had this restraining order for Jim.         And so we

  15 were all very cautious about what we could and couldn’t say to

  16 any employees.      And so this negotiating or discussion we had

  17 had with Dave and Frank kind of paused for several weeks and

  18 the discussions then just went with counsel.            Fast forward to

  19 around January 13th or so, maybe 12th.

  20 Q      Of 2021?

  21 A      Of 2021.    Dave Klos, Frank Waterhouse, JP Sivvy

  22 (phonetic), and Brian Collins called me and said, Mr. Seery has

  23 allowed us to talk to you about the transition of services

  24 because both sides --

  25 Q       Who was JP Sivvy?



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                                                                 002780
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page764
                                           139 of 181    143of
                                                             of888
                                                                185 PageID
                                                                    PageID4068
                                                                           2874

                                     Norris - Cross                           139
   1 A      JP Sivvy was part of the legal team at HCMLP.

   2 Q      And who was Mr. Collins?

   3 A      Mr. Collins is HR, was a HR director at -- so he chose --

   4 and up to that point, we had -- I, in particular, I didn’t want

   5 to get involved in a restraining order.           So very little

   6 discussion, especially around this.          So only around funds,

   7 operations.

   8 Q      And just again so the Court understands, what were you

   9 trying to discuss or negotiate at that point and time?

  10 A      Yeah.    Starting January 13th was let’s divide the

  11 agreements.      Let’s divide the services.       Let’s have a peaceful

  12 transition.      We were receiving a number of back-office

  13 functions that were critical to our business.            And so, you

  14 know, we also had dated information stored on their systems, on

  15 their servers.      We were in their office still.

  16 Q      So as part of these -- and the Court may remember.            We had

  17 an emergency trial on a mandatory injunction February 16th or

  18 something like that.       Ultimately, was there a transition of

  19 services done?

  20 A      We had the permanent injunction.         Ultimately, the shared

  21 services agreements ended.         They were extended.      Highland

  22 worked with us for an extension of around three weeks.

  23 Q      But that’s my question.

  24 A      Yeah.

  25 Q      As of what -- as of actually what period of time, what



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                                                                 002781
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page765
                                           140 of 181    144of
                                                             of888
                                                                185 PageID
                                                                    PageID4069
                                                                           2875

                                     Norris - Cross                           140
   1 day?    How do I put this?      As of what day were the shared

   2 services agreements actually terminated to your understanding

   3 after these extensions?

   4 A      Yeah.    I believe it was February 20th.

   5 Q      Okay.

   6 A      Maybe 19th.

   7 Q      February 28th or 20th?

   8 A      Twentieth.

   9 Q      Twentieth.

  10 A      And the employees were terminated on the 28th of February.

  11 And there was a difference and they moved the date of

  12 termination of employees back a week --

  13 Q      And then --

  14 A      -- beyond each of our termination dates, so we had this

  15 issue.

  16 Q      What happened?     What happened to the employee?        I mean,

  17 did the Advisors do anything with the employees that were

  18 terminated?

  19 A      So we hired a few of the actual terminated employees and

  20 then most of them went to Skyview Group, which had a different

  21 name at the time, which we entered into shared services

  22 agreements for those, with those entities.

  23 Q      So during those extensions that we discussed did the

  24 Advisors pay the debtor for those extensions in January and

  25 February 2021?



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                                                                 002782
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page766
                                           141 of 181    145of
                                                             of888
                                                                185 PageID
                                                                    PageID4070
                                                                           2876

                                     Norris - Cross                           141
   1 A      We did.    And that’s that third box here, the third section

   2 of the damages.       It’s $453,286 is what was paid for the payroll

   3 reimbursement.      And that’s just the -- it was based on the

   4 exact dollar amounts and --

   5 Q      Why did we pay the exact dollar amounts if we knew that we

   6 were overpaying?

   7 A      Yeah.

   8        So we had discussions on this.        And backing up to the

   9 first extension, my conversations with this group of four

  10 Highland employees starting January 13th was let’s work

  11 together.      Let’s get a real -- let’s get a great solution.           We

  12 don’t want any disruption in the business.

  13        To that point, no one had talked to me about you need to

  14 pay these past due amounts or the amounts that they were

  15 claiming we owed until January 28th.          I got an email that said,

  16 these amounts are -- all these, Highland or NexPoint and HCMFA

  17 related entities or Jim-related entities, some were -- I had no

  18 relationship to -- will need to be paid.

  19        And at this point we had already negotiated and agreed on

  20 most of the material terms related to the transition of

  21 services.      And so we were waiting on a term sheet at that

  22 point.     And they said, these have to be paid or we’re pulling

  23 the plug on everything you have.          And so then I had a call with

  24 JP Sivvy, Frank Waterhouse, and Dave Klos.

  25        Again, I reiterated this, you know, asking for the



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                                                                 002783
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page767
                                           142 of 181    146of
                                                             of888
                                                                185 PageID
                                                                    PageID4071
                                                                           2877

                                     Norris - Cross                           142
   1 schedules related to the payroll reimbursement agreements.               But

   2 at that point in time, they gave us an ultimatum of you’re

   3 going to pay the extension fee or you’re going to have the plug

   4 pulled on you.      And at that point, we weren’t ready for that.

   5 And so we said we’re going to -- we will pay it, but we’ll

   6 reserve all our rights.

   7 Q      And did Highland agree to that?

   8 A      They did.

   9 Q      Okay.

  10 A      And we put the -- that in our actual signed agreement.

  11 And when we did -- made our second extension, had multiple

  12 conversations, same thing.         We would reserve our rights.

  13 Q      And just an order of magnitude, how much did we pay

  14 Highland for those two extensions, just ballpark?

  15 A      The payroll reimbursement agreement amount was $453,000.

  16 The shared services was maybe $2-, or $300,000, so $7-, or

  17 $800,000 for 20 days.

  18 Q      Okay.    So --

  19 A      I may not be perfect on my math, but that’s --

  20 Q      So if the Court agrees with our theory of the case, how

  21 much are we saying we should get back from those extension fees

  22 we paid Highland there in February 2021?

  23 A      Yeah.    So related to the payroll reimbursement agreements,

  24 it’s $453,286, is what was paid.          If you take the same

  25 calculation I had been doing on all the other months, $81,000



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                                                                 002784
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page768
                                           143 of 181    147of
                                                             of888
                                                                185 PageID
                                                                    PageID4072
                                                                           2878

                                     Norris - Cross                           143
   1 is the appropriate, the actual employees that were employed

   2 providing advisory services, so that the difference is

   3 $372,000.      That’s the overpayment amount.

   4 Q      So you mentioned that Mr. Klos used a word overpayment

   5 when having the discussions with you.           Is that correct?

   6 A      Well, I know that was a word that Frank Waterhouse used.

   7 Q      Okay.

   8 A      Dave may have, but he frequently used it as you were

   9 paying for employees that were no longer employed or

  10 reimbursing for employees that were no longer employed.

  11 Q      So Mr. Klos said you were reimbursing for employees you no

  12 longer had?

  13 A      Again, I don’t remember the specific wording, but it was

  14 very clear that the payments were more than what we were

  15 contractually obligated.

  16 Q      Did he say it to you more than once?

  17 A      He did.

  18 Q      Did Mr. Waterhouse say it to you more than once?

  19 A      He did.

  20 Q      Did any other employee or agent of Highland ever say that

  21 to you?

  22 A      Yes.

  23 Q      Who?

  24 A      On a call with JP Sivvy and Frank Waterhouse and Dave

  25 Klos.     JP Sivvy also acknowledged it.



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                                                                 002785
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page769
                                           144 of 181    148of
                                                             of888
                                                                185 PageID
                                                                    PageID4073
                                                                           2879

                                     Norris - Cross                           144
   1 Q      Okay.    Anyone else?

   2 A      I had conversations with Fred Caruso where we -- I brought

   3 this up in January and asked for the schedule, what we were

   4 paying.     He said, I know what you’re talking about, but let me

   5 check on it.      He did acknowledge.      Same thing in early February

   6 with Mr. Sharp, Bradley Sharp.         We brought up the discussion.

   7 There were attorneys on the line as well.           We had a phone call.

   8 I asked for the schedule.        He said -- I told him we knew that

   9 we were paying for employees that were no longer there.

  10        There had been an analysis provided.         We’ve asked for it

  11 on multiple occasions.        And he said, I’ll check.       I don’t know

  12 that we can provide that.        And I said, I’m not asking.        I’m not

  13 asking for something unreasonable.          We’re asking to pay for the

  14 employees that are currently here.          And he said, well, I’m --

  15 you know, I’m a representative of the Debtor and we have an

  16 obligation to the Debtor.

  17 Q      And when you said schedule, were you referring to the

  18 David Klos analysis?

  19 A      Well, I don’t know if it was that.         I didn’t see this

  20 analysis from Dave Klos, the ones that have been in the Court,

  21 until discovery.       We had been asking for it.       I didn’t see it

  22 until February.       Actually, I think after my deposition.         We saw

  23 the main schedule.       We hadn’t received the Excel files.         And so

  24 I’m assuming because Dave and Frank had told me there had been

  25 calculations, I’m connecting an assumption here that that is



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                                                                 002786
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page770
                                           145 of 181    149of
                                                             of888
                                                                185 PageID
                                                                    PageID4074
                                                                           2880

                                     Norris - Cross                           145
   1 the schedule, but I don’t know.           I don’t know if they had

   2 another one.      They didn’t provide it.

   3 Q      Is that something we requested in discovery?

   4 A      It is.

   5 Q      So if they didn’t provide it, can we conclude that there

   6 is no other one?

   7                MR. MORRIS:    Objection to the form of the question.

   8 I mean, this is just -- this is -- you can’t -- I object.              It

   9 is not -- it’s complete speculation.          How about that?

  10                MR. RUKAVINA:    Well, let me rephrase the question.

  11                THE COURT:    Sustained.    Uh-huh.

  12 BY MR. RUKAVINA:

  13 Q      We requested all internal calculations of profitability.

  14 Correct?

  15 A      We did.

  16 Q      And did we receive from the Debtor anything other than Mr.

  17 Klos’ December 2020 and December 2019 analysis?

  18 A      We did not.

  19 Q      Okay.    Well, and I’m sorry.      There were two in late 2019,

  20 so let me just clarify.         I think there --

  21 A      There were two iterations.

  22 Q      Two iterations.       So --

  23 A      I think I only saw one of them, but yeah.

  24 Q      So technically we might have gotten three, but they would

  25 have been the ones from December 2019 and December 2020?



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                                                                 002787
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page771
                                           146 of 181    150of
                                                             of888
                                                                185 PageID
                                                                    PageID4075
                                                                           2881

                                     Norris - Cross                           146
   1 A      Correct.

   2 Q      Okay.     Now let’s -- let me just ask you something while we

   3 are still on your Exhibit G.         So, at the end of the day there

   4 were only a handful of the original employees left from Exhibit

   5 A.    Correct?

   6 A      Correct.

   7 Q      Now what would happen to your damages model if instead of

   8 using the original percentage allocations you bumped it to 100

   9 percent such that 100 percent of those five employees would be

  10 reimbursed by their Advisors?         What’s the resulting number?

  11 A      Yeah.     So using these existing plays, I actually plugged

  12 this in at 100 percent and it’s, I believe, approximately $4.4

  13 million would still be the damages.

  14 Q      So --

  15 A      Applying 100 percent of their time.

  16 Q      So if the Court agrees with our theory of the case but

  17 says that we should have done a separate analysis of the

  18 allocated percentages, even if we bumped that up to 100 instead

  19 of 18 percent of 42 percent or whatever, it still results in

  20 how much in damages?       Overpayments.

  21 A      $4.4 million.

  22 Q      Okay.

  23 A      Approximately.

  24 Q      If you’ll flip to Exhibit P, please, as in Paul.            Is this

  25 the email exchange that you just referenced with Mr. Klos where



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                                                                 002788
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page772
                                           147 of 181    151of
                                                             of888
                                                                185 PageID
                                                                    PageID4076
                                                                           2882

                                     Norris - Cross                           147
   1 you were asking for data and et cetera, et cetera?

   2 A      Yes.

   3 Q      Okay.    And in the bottom email there where he’s writing to

   4 you on December 1st at 9:12 a.m. he says that given the changes

   5 in head count and along with not paying insider bonus

   6 compensation, that has increased the profitability of the

   7 contracts.      Do you see that?

   8 A      I do.

   9 Q      Did you ever separately from this discuss the

  10 profitability of the contracts with Mr. Klos other than your

  11 communications that there were -- we were paying for employees

  12 we didn’t have?

  13 A      We had a phone call with just he and I.          We had a phone

  14 call with he and Frank, multiple discussions, again in January

  15 as we were talking about transition of services, discussed it

  16 again on a call with the group at the end of January, so there

  17 were multiple conversations.

  18 Q      Okay.    Did the Debtor ever terminate, to your

  19 understanding, the payroll reimbursement agreements?

  20 A      Yes, I believe so.

  21 Q      And was -- why do you -- did you do anything, to your

  22 memory, to prod the Debtor to do so?

  23 A      Yes.

  24 Q      What did you do?

  25 A      So we asked DC Sauter and our team work with their legal



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                                                                 002789
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page773
                                           148 of 181    152of
                                                             of888
                                                                185 PageID
                                                                    PageID4077
                                                                           2883

                                     Norris - Cross                           148
   1 team, hey, is this going to be -- we wanted to ensure that we

   2 weren’t continuing to overpay for employees that were no longer

   3 there.     And so DC, as a condition of signing, I believe signing

   4 the transition services agreement, they made us terminate the -

   5 - we asked them to terminate the payroll reimbursement

   6 agreement.

   7 Q      So we didn’t terminate the payroll reimbursement

   8 agreements.      The Debtor did.

   9 A      I believe so, yeah.

  10 Q      Okay.

  11 A      Yeah.

  12 Q      Because we require that as a condition.

  13 A      Yes.

  14 Q      Okay.    Other than that, were you aware of any attempts by

  15 the Debtor to terminate the payroll reimbursement agreements?

  16 A      I’m not.

  17 Q      Okay.    Can you think of any reason why the Debtor wouldn’t

  18 have done that?

  19 A      Yes.

  20 Q      What?

  21                MR. MORRIS:    Objection, Your Honor.     He can’t

  22 speculate as to the Debtor’s motivations here.

  23                THE COURT:    Speculation.   Response?

  24                MR. RUKAVINA:    I’ll withdraw the question.

  25                THE COURT:    Okay.



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                                                                 002790
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page774
                                           149 of 181    153of
                                                             of888
                                                                185 PageID
                                                                    PageID4078
                                                                           2884

                                     Norris - Cross                           149
   1 BY MR. RUKAVINA:

   2 Q      And just to clarify what Mr. Morris was asking you, did

   3 Mr. Klos use the word true up when he described what happened

   4 at the end of 2018?

   5 A      He did.

   6 Q      Did he tell you whether money changed hands as a result of

   7 that “true up”?

   8 A      He did.

   9 Q      What do you remember about that?

  10 A      He said there had been a -- I don’t remember if it was

  11 small or immaterial -- it wasn’t immaterial, but a small -- a

  12 payment actually resulted in paying to Highland from both

  13 Advisors.

  14 Q      Okay.    Did -- and you mentioned that he didn’t --

  15 A      And actually, I don’t think he said he both Advisors.             He

  16 said the Advisors, but didn’t specify how much of each.

  17 Q      But did he actually tell you about the fact of the

  18 amendments?

  19 A      No.

  20 Q      So just the result.

  21 A      Yes.

  22 Q      Okay.    Did Mr. Klos ever -- first of all, do you have an

  23 opinion on Mr. Klos’ -- prior to this litigation, Mr. Klos’

  24 ethics and professionalism?

  25 A      I do.    Yeah.



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                                                                 002791
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page775
                                           150 of 181    154of
                                                             of888
                                                                185 PageID
                                                                    PageID4079
                                                                           2885

                                     Norris - Cross                           150
   1 Q      And what was your opinion?

   2 A      I thought highly of him.       I worked with him for over a

   3 decade.     His work product was always fantastic.          He was

   4 thorough.     I went to him for a lot.       I trusted he would put out

   5 an accurate and honest analysis.          He worked closely on board

   6 matters, fund matters, advisor matters, and yeah, I thought

   7 highly of him.

   8 Q      And he was trusted enough to be presented to the retail

   9 board?

  10 A      Absolutely.

  11 Q      Did Mr. Klos, in all of your discussions, ever tell you

  12 anything like, geez, Dustin, there’s something fishy about

  13 these payroll reimbursement agreements or amendments or shared

  14 services agreements?

  15 A      The way he went about it, he was concerned, right.             And

  16 the way he prefaced our conversations was with concern.

  17 Q      How so?

  18 A      He said we’re being -- he didn’t say threatened, warned,

  19 almost daily that we can’t do anything to damage or provide

  20 something that would hurt the Debtor.           And so, yeah.    He

  21 basically was like kind of you’re on your own in figuring out,

  22 but I -- he knew the numbers.

  23 Q      I don’t think you understood my question.          Did Mr. Klos

  24 ever tell you that there was -- did he ever flag for you any of

  25 the issues?      Well, strike that.      Were you here when Mr. Klos



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                                                                 002792
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page776
                                           151 of 181    155of
                                                             of888
                                                                185 PageID
                                                                    PageID4080
                                                                           2886

                                     Norris - Cross                           151
   1 testified yesterday?

   2 A      I was.

   3 Q      And he testified as to what he thought the $2.5 million

   4 number came from and other things.          Remember that?

   5 A      Uh-huh.

   6 Q      Did he ever tell you anything like that before?

   7 A      No.

   8 Q      Did he ever tell you anything -- that there was anything

   9 potentially deceptive or suspicious about the payroll

  10 reimbursement agreements?

  11 A      Got it.    No.

  12 Q      Did he ever tell you anything, that there was anything

  13 suspicious or deceptive about the amendments to the payroll

  14 agreements?

  15 A      No.

  16 Q      What about the shared services agreements?

  17 A      No.

  18 Q      What about potential tax -- I don’t want to use the word

  19 fraud because I’m not a tax lawyer -- potential tax

  20 shenanigans?

  21 A      No.

  22 Q      Potential Mr. Dondero trying to get tax questions for

  23 himself?

  24 A      No, he didn’t.

  25 Q      Potential that these were used as a method of financing



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                                                                 002793
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page777
                                           152 of 181    156of
                                                             of888
                                                                185 PageID
                                                                    PageID4081
                                                                           2887

                                     Norris - Cross                           152
   1 how --

   2 A      No.

   3 Q      That the payroll reimbursement agreements were intended to

   4 be monthly fees regardless of actual cost?

   5 A      No.

   6 Q      Let’s go to Exhibit OO real quick.         We’re almost done.

   7 And I really -- I really need to go to the optometrist.

   8        Do you know what Exhibit AA is?        There’s a bunch of

   9 individual ones.

  10 A      Yes.

  11 Q      Okay.    What are these?

  12 A      These are the shared services invoices that, as required

  13 by the shared services agreement for Highland Capital

  14 Management Fund Advisors are to be provided, as this is a cost

  15 plus 5 percent agreement.        So they’re laying out, if you look

  16 in column, the number column 1, it has --

  17 Q      Well, let me pause you.

  18 A      Yeah.

  19 Q      Just so that the Court follows.        We’ve heard before that -

  20 -

  21 A      Yeah.

  22 Q      -- under certain services NexPoint paid a different

  23 methodology than HCMFA.        Right?

  24 A      They did.

  25 Q      NexPoint was just a flat monthly fee.          Right?



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                                                                 002794
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page778
                                           153 of 181    157of
                                                             of888
                                                                185 PageID
                                                                    PageID4082
                                                                           2888

                                     Norris - Cross                           153
   1 A      Correct.

   2 Q      And HCMFA was a bit of a work up.

   3 A      Cost plus 5 percent.

   4 Q      So who prepared these invoices on Exhibit AA?

   5 A      Highland, Highland’s accounting back-office group.

   6 Q      And would they then send us these invoices?

   7 A      I didn’t see these invoices until discovery.

   8 Q      Okay.    You heard Mr. Morris talk about how -- how it was

   9 only $10,000 a month for legal.          Did you hear that?

  10 A      I did.

  11 Q      You see there it says legal, $10,000.          Right?

  12                MR. MORRIS:   Excuse me, Your Honor.      I didn’t testify

  13 to that.     Mr. Klos did.

  14                MR. RUKAVINA:   Well, I apologize.      I just remember

  15 someone talk -- I apologize, Mr. Morris.

  16 BY MR. RUKAVINA:

  17 Q      You heard something about that yesterday.          Right?

  18 A      I did.

  19 Q      Okay.    Is that the whole picture?

  20 A      It’s not.

  21 Q      Why not?

  22 A      When you peel back to what is underlying these numbers,

  23 $10,000 was a standard legal services.           However, in the

  24 compliance bucket, it says general compliance.            If you look to

  25 the schedules, that includes Thomas Surgent, an attorney,



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                                                                 002795
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page779
                                           154 of 181    158of
                                                             of888
                                                                185 PageID
                                                                    PageID4083
                                                                           2889

                                     Norris - Cross                           154
   1 including his base and bonus and benefits and Lauren Thedford,

   2 who is an attorney, providing officer and other functions for

   3 us.    So that $92,000 a month -- this is a monthly invoice --

   4 includes those two adjacent posts, which is two out of the

   5 three attorneys.

   6 Q      What about retail operations and finance and accounting?

   7 A      Retail operations and finance and accounting includes --

   8 it doesn’t include attorneys.         It includes back-office

   9 accountants.      Frank Waterhouse, I assume did Klos.         We have --

  10 we have the Excel spreadsheets that break it out --

  11 Q      We do.

  12 A      -- by individual, but --

  13 Q      But can you tell me how it is that Highland could

  14 calculate and bill us for the services of these employees if

  15 Mr. Klos testified correctly yesterday that there is no way in

  16 the world to do so?

  17 A      Yeah.    On a monthly basis, they would calculate the

  18 employees and the percent of time that they spent related to

  19 Highland Capital Management Fund Advisors.            They had a schedule

  20 attached to that spreadsheet.

  21 Q      Yep.

  22 A      Which then detailed their total comp, salary, bonus,

  23 taxes.     There’s several columns.       And their percentage

  24 allocation.      That was updated monthly.       I looked at the

  25 schedules they provided in discovery and they -- when there was



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                                                                 002796
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page780
                                           155 of 181    159of
                                                             of888
                                                                185 PageID
                                                                    PageID4084
                                                                           2890

                                     Norris - Redirect                         155
   1 a new employee added, they would add that employee.             When an

   2 employee left, they would take the employee away.

   3 Q       And the --

   4 A       There was approximately 20 people underlying --

   5 Q       And we paid --

   6 A       -- this schedule.

   7 Q       And we paid these invoices, well, other than late in the

   8 game.     Right?

   9 A       Yes.

  10 Q       The Advisors or HCMFA paid those invoices.

  11 A       Yes.    Highland submitted the payments on behalf of our

  12 Advisors.

  13 Q       Okay.    So can you conclude from that that there must have

  14 been some methodology to allocate employee time per advisor?

  15 A       They managed to do it.

  16 Q       Or is it -- or is it a fraud?

  17                 MR. MORRIS:    Your Honor, this is really --

  18                 MR. RUKAVINA:    Is there any alternative?

  19                 MR. MORRIS:    He’s leading.

  20                 MR. RUKAVINA:    Is there any alternative, sir?

  21                 THE COURT:    Sustained.

  22 BY MR. RUKAVINA:

  23 Q       Is there any alternative?      I’ll strike that, Your Honor.

  24 I’ll just deal with it in closing.          Thank you, Mr. Norris.

  25                 THE COURT:    All right.   Pass the witness.    Mr.



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                                                                 002797
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page781
                                           156 of 181    160of
                                                             of888
                                                                185 PageID
                                                                    PageID4085
                                                                           2891

                                    Norris - Redirect                         156
   1 Morris.

   2                MR. MORRIS:    I just have a few follow-up.

   3                THE WITNESS:    A few is three.    Right?

   4                MR. MORRIS:    No.

   5                THE WITNESS:    Oh, okay.

   6                MR. MORRIS:    No.

   7                              REDIRECT EXAMINATION

   8 BY MR. MORRIS:

   9 Q      You understand that we completely disagree that you -- the

  10 Advisors are entitled to any damages.           Right?

  11        You understand that that’s the position that we’ve taken

  12 in this case.      Right?

  13 A      I believe so, yes.

  14 Q      Okay.    Can you turn to Exhibit G, please?

  15 A      Yes.

  16 Q      Okay.    Do you see -- so you understand that we don’t agree

  17 you’re entitled to anything.         Right?

  18        You understand that’s our position.          Correct?

  19 A      If you represent that, I’ll take your word for it.

  20 Q      I do.    And you’ve got the million -- so with that

  21 understanding though, you’ve got the $1,336,000 for the

  22 December 20th -- December ‘20 and January 2021 on your chart.

  23 Do you see that?

  24 A      Yes.

  25 Q      And it’s your testimony that your recollection is that the



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                                                                 002798
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page782
                                           157 of 181    161of
                                                             of888
                                                                185 PageID
                                                                    PageID4086
                                                                           2892

                                    Norris - Redirect                          157
   1 Advisors actually paid the amounts that were due under the

   2 payroll reimbursement agreement subject to a reservation of

   3 rights in connection with the extensions?

   4 A      No.   Not the January and December payments.          We paid in

   5 February.      Yeah.

   6 Q      Did the Advisors ever make the December and January

   7 payments?

   8 A      I don’t believe so.

   9 Q      So why is that number here?        Why are you suffering damages

  10 that you didn’t even pay?

  11 A      Yeah.

  12        So I think the reason for including it is it says

  13 additional two months billed.         We know that we’ve been billed

  14 those.     We’re not arguing that there shouldn’t be anything

  15 paid.     You’re saying we actually owe the full amount.           Here is

  16 the amount we owe.        So the difference is the million dollars,

  17 right.     So you’re claiming we owe you the full 1.3.          We’re

  18 saying it’s 264.

  19 Q      But you’re seeking damages for the difference.           Aren’t

  20 you?

  21                MR. RUKAVINA:   Your Honor, that’s not -- that wasn’t

  22 the testimony, you know.

  23                MR. MORRIS:   Just look at -- I’m just asking.        This

  24 is math, right.        It’s your analysis.

  25                MR. RUKAVINA:   It says total over billing.       Our



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                                                                 002799
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page783
                                           158 of 181    162of
                                                             of888
                                                                185 PageID
                                                                    PageID4087
                                                                           2893

                                    Norris - Redirect                         158
   1 damages, Your Honor, are the $6.2 million, as he testified, and

   2 then the $372,000.

   3                MR. MORRIS:    Then how could --

   4                THE COURT:    Overruled.   He can ask question about it.

   5 BY MR. MORRIS:

   6 Q      Those two numbers don’t add up to $7.6 million, do they?

   7 A      Yeah.    And I don’t know the legal ramifications here, but

   8 the math is you’re asking for -- I can’t remember the number --

   9 three million.      We’re saying here is this.        The three million

  10 should be offset by million dollars.

  11 Q      Sir?    Sir, let’s just take this one piece at a time

  12 because I --

  13 A      Uh-huh.

  14 Q      -- I just want to make sure this isn’t inflated.            You

  15 agree that the Advisors paid zero for December and January

  16 under the payroll reimbursement agreement.            Correct?

  17 A      Well --

  18 Q      Just simple question.

  19 A      The argument I think Jim made was we’ve overpaid.            There

  20 should be a true up to those amounts.

  21                MR. MORRIS:    I move to strike.    Can you please -- I

  22 want to get this done.

  23 BY MR. MORRIS:

  24 Q      You admit that the Advisors paid zero in December 2020 and

  25 January 2021 under the payroll reimbursement agreement.



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                                                                 002800
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page784
                                           159 of 181    163of
                                                             of888
                                                                185 PageID
                                                                    PageID4088
                                                                           2894

                                   Norris - Redirect                          159
   1 Correct?

   2 A      We made no payments in January --

   3 Q      Okay.

   4 A      -- or December.

   5 Q      But your analysis that you did says that if you were to

   6 pay something it would be $264,998.          Right?

   7 A      Correct.

   8 Q      But instead of adding that number to the $6.2 million, you

   9 added the difference between that number and what we’ve

  10 invoiced as the damage calculation.          Is that -- that’s a

  11 mistake.     Right?

  12 A      We wouldn’t add the 264 as additional damages.

  13 Q      So what’s the damage --

  14 A      That’s the amount we would have paid.

  15 Q      That’s the amount.      So --

  16 A      Versus what was billed.       You billed us $1.336 million and

  17 --

  18 Q      Okay.    So would the proper damages here be 6.206, 891.

  19 I’m just trying to do it from your perspective.

  20 A      Uh-huh.

  21 Q      Plus the $372,040 in the bottom.         Right?   372?   Do you

  22 agree with that?       Those two were parts of your damage

  23 calculation.

  24 A      Those are part damages, correct.

  25 Q      And you would add those two together and then you would



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page785
                                           160 of 181    164of
                                                             of888
                                                                185 PageID
                                                                    PageID4089
                                                                           2895

                                      Norris - Redirect                        160
   1 deduct $264,000.        Right?

   2 A      No.

   3 Q      Because that’s the value that you should have paid that

   4 you didn’t.

   5 A      I wouldn’t necessarily say you’d deduct it from that.             It

   6 would be offset from whatever you’re seeking from us, right.

   7 That’s separate.

   8 Q      No.

   9        If you win this case, and again, right, it’s an assumption

  10 that I positively don’t agree with.          But I you were to win this

  11 case, right, your theory is that you would be entitled to 6.2

  12 plus $372,000, right, because that’s the overpayment.              And then

  13 the 264 is what you should have paid under your theory, so that

  14 should be deducted because you didn’t pay it.

  15 A      Yeah.    Assuming that your three million goes to zero as

  16 well or it was reduced.          It’s the same way at getting at the

  17 same answer.

  18 Q      Okay.    Right?    Because -- are we in agreement?       It’s if

  19 you want to know under your theory if you win under the

  20 methodology you’ve adopted, it would be 6.2 plus 372 minus 264.

  21 Right?     Because the 264 is your valuation that you didn’t pay.

  22 A      Yeah.    And assuming that your numbers are also go away,

  23 that there’s no -- there’s no damages there.

  24 Q      I’m going to lose under this hypothetical.

  25 A      Yeah.    Yeah.



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                                                                 002802
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page786
                                           161 of 181    165of
                                                             of888
                                                                185 PageID
                                                                    PageID4090
                                                                           2896

                                   Norris - Redirect                          161
   1 Q      Right?    So it’s not $7.6 million.       Right?    It’s something

   2 closer to 6.      Again, just using your numbers.         I’m just trying

   3 to correct the mistake that I think you made.

   4 A      I don’t think it’s necessary a mistake.          I think it’s just

   5 thinking at it holistically.

   6 Q      Okay.    Can you go to Exhibit 27 in Binder Number 1?          And

   7 this is that email that you just looked at with Mr. Rukavina.

   8 Right?

   9 A      Correct.

  10 Q      And if we start on the right page, the one with Bates

  11 number 730, do you see that you wrote to Mr. Sauter at 7:08

  12 p.m. on November 30th and said, time for a call?

  13 A      No.    That --

  14 Q      At the bottom of the page.

  15 A      Oh, at the bottom.      On October 6th, time -- it was time

  16 for a call.

  17 Q      Right.    But at the bottom of Page 730, there’s an email

  18 from you to Mr. Norris on November 30th at 7:08 p.m. where

  19 you’re forwarding the same email.

  20 A      Yes.

  21 Q      And that’s the title of the email.         Right?

  22 A      Yes.

  23 Q      And you sent that because you just learned that Highland

  24 had terminated -- given notice of termination of the shared

  25 services agreements.       Right?



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                                                                 002803
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page787
                                           162 of 181    166of
                                                             of888
                                                                185 PageID
                                                                    PageID4091
                                                                           2897

                                    Norris - Redirect                         162
   1 A      I believe so, but I’m not certain.

   2 Q      And then you walked into the office early the next morning

   3 and started to think about what all of this meant.             Right?

   4 A      Yes.

   5 Q      And so, at 8:53 a.m., you sent an email to DC, to Frank,

   6 and to Klos about the topic of the intercompany agreements.

   7 Right?

   8 A      Yes.

   9 Q      And you gave them the amount of money that was paid under

  10 all of the agreements between the companies.            Correct?

  11 A      I took from the income statement, which isn’t necessarily

  12 a cash flow statement, but it’s the actual amount bill or

  13 recorded as expenses.

  14 Q      So the Advisors own books and records reflected all of the

  15 payments that were made by the Advisors to Highland under the

  16 various intercompany agreements.          Right?

  17 A      The HCMLP employees were the ones that prepared these very

  18 numbers.

  19                MR. MORRIS:    I move to strike, Your Honor.

  20                THE COURT:    Sustained.

  21 BY MR. MORRIS:

  22 Q      Okay.    I’ll ask my question again.        The Advisors books and

  23 records reflected all payments that they made to Highland on

  24 account of the intercompany agreements.            Correct?

  25 A      Sorry.    One more time.



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                                                                   002804
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page788
                                           163 of 181    167of
                                                             of888
                                                                185 PageID
                                                                    PageID4092
                                                                           2898

                                   Norris - Redirect                           163
   1 Q      The Advisors books and records reflect every payment they

   2 ever made to Highland under the intercompany agreements during

   3 the relevant period.        Correct?

   4 A      I believe so, yes.

   5 Q      And you were able to go in there and to get the

   6 information about the amounts that were paid.            Right?    You got

   7 it.    You got it.     It’s in your email.      Right?

   8 A      I got it from the board materials, yes.

   9 Q      From the board materials.       So even the board was given the

  10 details about the amounts that were being paid.             Who gave it to

  11 the board?

  12 A      And I’d say not details, but one line, right.           There’s no

  13 underlying details.

  14 Q      But the board was told how much the Advisors paid under

  15 the intercompany agreements on an annualized basis.             Is that

  16 fair?

  17 A      Yes.

  18 Q      And that information came form the Advisors own books and

  19 records.      Correct?

  20 A      From the Highland employees, yes.

  21               MR. MORRIS:    I move to strike.

  22               THE COURT:    Sustained.

  23 BY MR. MORRIS:

  24 Q      That information came from the Advisors books and records.

  25 Correct?



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                                                                 002805
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page789
                                           164 of 181    168of
                                                             of888
                                                                185 PageID
                                                                    PageID4093
                                                                           2899

                                   Norris - Redirect                            164
   1 A      Yes.

   2 Q      Thank you.

   3        And you told -- you told Mr. Sauter and

   4 Mr. Waterhouse and Mr. Klos, among other things, that you need

   5 to make sure these agreements are fully understood in the

   6 context of the notices, in the context of the termination

   7 notices.      Do you see that?

   8 A      I do.

   9 Q      So after you receive notice of termination, that’s when

  10 you decided that you thought it was the appropriate time to

  11 make sure the agreements were fully understood in the context

  12 of HCMLP’s termination notices.          Right?

  13 A      That was a continuation.

  14        If you go back in the email of October 6th, there’s an

  15 email asking for a conversation on shared services and other

  16 agreements.      I had an attachment with those agreements, then

  17 sent them on October 6th to DC Sauter.            This is when I started

  18 to be involved more in the transition of services and was

  19 already trying to kind of understand what was going on.              And

  20 there wasn’t a need at that point to do anything specific.

  21 Q      Okay.    So it was after?     Can you just agree with me that

  22 what you wrote on the day after you found out that there was a

  23 termination notices, that you need -- that you “need to make

  24 sure these agreements are fully understood in the context of

  25 HCMLP’s termination notices for the shared services agreement”.



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                                                                 002806
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page790
                                           165 of 181    169of
                                                             of888
                                                                185 PageID
                                                                    PageID4094
                                                                           2900

                                   Norris - Redirect                          165
   1 Did you see that?

   2 A       I did.

   3 Q       When you use the phrase, shared services right there, you

   4 also meant the payroll reimbursement agreement.             Right?

   5 A       I may have, but I don’t -- I don’t know.

   6 Q       Well, that’s what sub advisory fees are.         Right?    The

   7 column that you have there under sub advisory fees, it doesn’t

   8 say payroll reimbursement agreement.          It says sub advisory

   9 fees.     Correct?

  10 A       It says sub advisory fees, yes.

  11 Q       And those are the amounts that were paid not under the sub

  12 advisory agreements, but the contract that is now called the

  13 payroll reimbursement agreement.          Correct?

  14 A       Yes.

  15 Q       And what you wanted to do is not make sure you fully

  16 understood the shared services agreements.            What you wanted to

  17 do on December 1st is make sure you fully understood the shared

  18 services agreements and the payroll reimbursement agreements.

  19 Correct?

  20 A       Worth noting the sub advisory fees were higher than the

  21 shared services fees, so need to make sure these agreements are

  22 fully understood in the -- well, here -- they only terminated

  23 the shared services agreement, so and going back my previous, I

  24 wasn’t sure.

  25         They only sent shared services agreement terminations.



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                                                                 002807
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page791
                                           166 of 181    170of
                                                             of888
                                                                185 PageID
                                                                    PageID4095
                                                                           2901

                                   Norris - Redirect                          166
   1 And so you needed to understand the shared services agreements,

   2 the sub advisory agreements.         Yeah.   We wanted to understand

   3 them, but they hadn’t terminated them.           So this specifically

   4 was related to the shared services agreement.

   5 Q      Sir, the rest of the email train that you’re relying on is

   6 about the sub advisory fees.         Do you see Mr. Klos’ response to

   7 you?

   8 A      Yeah.

   9 Q      It’s only about sub advisory fees.         Correct?

  10 A      What’s only about sub advisory fees?

  11 Q      The first paragraph is about sub advisory fees.

  12 A      Yeah.    Because he -- he clarified.       I was learning at this

  13 point.

  14 Q      Uh-huh.

  15 A      And he clarified and then it went into a deeper discussion

  16 about the sub advisory fees.

  17 Q      And is it fair to say that you also needed to fully

  18 understand the payroll reimbursement agreements at that time?

  19 A      Absolutely.     We should.    Yeah.

  20 Q      At that time.     Right?

  21 A      Because they didn’t terminate them.

  22 Q      That’s right.     And you hadn’t undertaken that exercise at

  23 any time before this time.         Is that fair?

  24 A      Other than my discussions with outside counsel and DC

  25 Sauter that are laid out in the email below about which we had



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                                                                  002808
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page792
                                           167 of 181    171of
                                                             of888
                                                                185 PageID
                                                                    PageID4096
                                                                           2902

                                   Norris - Redirect                          167
   1 had discussions, but we didn’t dive into all the details.

   2 Q      You’re telling me that back in October this email that

   3 says nothing doesn’t mention payroll reimbursement agreement.

   4 Right?

   5 A      It says shared services and other agreements with HCMLP.

   6 Q      And what was the issue at that time?         Did you know back in

   7 October?

   8 A      Did I know what back in October?

   9 Q      About the alleged overpayments.

  10 A      I didn’t.

  11 Q      Were you looking at the agreements in October?

  12 A      We were.

  13 Q      So you had the agreement in your hand in October and you

  14 didn’t make any conclusions about overpayment at that time.

  15 Right?

  16 A      I looked at the schedule and saw that there’s a percentage

  17 allocation of employees and assumed that Highland is -- let me

  18 step back.      We relied on Highland and were assuming that they

  19 were making payments in accordance with the agreement.

  20 Q      In the two months before you sent this email to Mr. Sauter

  21 and Mr. Waterhouse, did you make any effort to try to figure

  22 out if your assumption was accurate?

  23 A      No.

  24 Q      And you looked at Exhibit A and you said, well, there’s a

  25 lot of employees who have been terminated, but I just assumed



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                                                                 002809
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page793
                                           168 of 181    172of
                                                             of888
                                                                185 PageID
                                                                    PageID4097
                                                                           2903

                                   Norris - Redirect                          168
   1 Highland is doing the right thing.

   2 A      Yeah.

   3 Q      Okay.    You said that you were not aware of the

   4 overpayments, but I believe you said Mr. Waterhouse was very

   5 aware of the overpayments.         Do I have that right?

   6 A      He was.

   7 Q      And did he tell you when he first learned of the

   8 overpayments?

   9 A      Well, in our discussion in December, he said -- he didn’t

  10 say when he had learned, but in our call at the end of January,

  11 which I had taken notes on, he had said -- and I was surprised

  12 by this because I thought it was newer knowledge to him in

  13 December, but he had said over a year ago he had discussions

  14 with Counsel and DSI.        So he had told me it had been over a

  15 year.

  16 Q      And did -- and that’s when he told you?          So other than

  17 what Mr. Waterhouse told you about his conversation with Isaac

  18 Leventon, Scott Wellington, and Fred Caruso, are you aware of

  19 any other conversation that ever took place before November 30,

  20 2020, concerning whether or not there should be any

  21 modification to the amounts being paid under the payroll

  22 reimbursement agreements?

  23 A      So I’ll correct the -- you said other than him telling his

  24 conversation with Fred Caruso and Isaac.           Other than their

  25 testimony, he didn’t tell me that at the time.            He said he had



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                                                                 002810
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page794
                                           169 of 181    173of
                                                             of888
                                                                185 PageID
                                                                    PageID4098
                                                                           2904

                                   Norris - Redirect                          169
   1 spoke to DSI and to -- to counsel.          So just --

   2 Q      Meaning that he didn’t identify who the counsel was.

   3 A      He didn’t identify who counsel was.

   4 Q      Fair enough.

   5 A      I didn’t know who Fred Caruso was at the time.

   6 Q      Okay.

   7 A      Again, I wasn’t involved.       So he told me general.       So

   8 that’s the first part of the question, so didn’t want to agree

   9 to that part by answering.         So then you said was there any

  10 other discussion that they should be amended prior to November

  11 30th.     Not with me.

  12 Q      Okay.    And you’re not aware of any.       Correct?

  13 A      Other than -- I’m not aware of any, no.

  14 Q      Thank you.

  15        Nobody’s ever told you -- other than this one conversation

  16 that Frank had with Fred Caruso and counsel, nobody has ever

  17 informed you of any discussion of any kind where the Advisors

  18 asked to modify the amounts that were being paid under the

  19 payroll reimbursement agreements.          Correct?

  20 A      I mean, other than my conversations where I asked for the

  21 scheduled, demanded that they be done the right way, but you’re

  22 saying that --

  23 Q      Let me rephrase the question.

  24 A      Yeah.

  25 Q      Because I want to use that November 30th timeline.



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page795
                                           170 of 181    174of
                                                             of888
                                                                185 PageID
                                                                    PageID4099
                                                                           2905

                                   Norris - Redirect                          170
   1 A      Yeah.

   2 Q      Other than the conversation that Mr. Waterhouse told you

   3 he had with Fred Caruso and counsel, you have no knowledge of

   4 any request to modify the amounts that were charged under the

   5 payroll reimbursement agreement at any time prior to November

   6 30, 2020.      Correct?

   7 A      I don’t.

   8 Q      Thank you.

   9        You went through a whole lot of testimony with Mr.

  10 Rukavina about the change in the advisor’s business model.               Do

  11 I have that right?

  12 A      Correct.

  13 Q      And none of those changes ever caused the Advisors to make

  14 a request to modify the amounts that were being paid under the

  15 payroll reimbursement agreement.          Correct?

  16 A      They should have.      And again, Highland -- we thought

  17 Highland was doing that, but there’s -- yeah.            The people

  18 changed.     It should have resulted in a modification.

  19 Q      Okay.    And every -- it was the last question I asked and I

  20 just want to emphasize the point.

  21 A      Uh-huh.

  22 Q      Every single person that you believe should have

  23 unilaterally made this change reports to Frank Waterhouse.

  24 Right?

  25 A      Those that had knowledge of this, yes.



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                                                                 002812
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page796
                                           171 of 181    175of
                                                             of888
                                                                185 PageID
                                                                    PageID4100
                                                                           2906

                                    Norris - Recross                          171
   1 Q      Okay.

   2 A      And you said unilaterally, I think the contract is clear

   3 and says that if either party, right, will negotiate in good

   4 faith.

   5                MR. MORRIS:    I’m going to move to strike that part

   6 because the contract speaks for itself and --

   7                THE COURT:    Sustained.

   8                MR. MORRIS:    -- you have no knowledge of what that

   9 means.

  10                May I just have one moment, Your Honor?

  11                THE COURT:    You may.

  12                MR. MORRIS:    I have nothing further here.

  13                THE COURT:    All right.   Any recross?

  14                MR. RUKAVINA:    Briefly, Your Honor.

  15                THE COURT:    Okay.

  16                              RECROSS-EXAMINATION

  17 BY MR. RUKAVINA:

  18 Q      Briefly because I think Mr. Morris might make his flight.

  19 Exhibit W.      Is that the notes that you referenced to yourself,

  20 just so that I can use it in closing?

  21 A      Yes.    Those are them.

  22 Q      Okay.    And were those kept contemporaneously or right

  23 after by you?

  24 A      I started typing them up shortly after the call ended.

  25 Q      It’s Exhibit W.       I think it’s been admitted.



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                                                                 002813
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page797
                                           172 of 181    176of
                                                             of888
                                                                185 PageID
                                                                    PageID4101
                                                                           2907

                                   Norris - Recross                           172
   1 A       And it was sent -- the call happened that evening and I

   2 sent it later that night after I had wrapped up work.              I sent

   3 it to myself.

   4 Q       Going back to your damages analysis, where did you get the

   5 dates of termination of the employees from?

   6 A       So I received them from the interrogatories.

   7 Q       So let me point you.     Exhibit I.     Exhibit I, Page 9.

   8 Yeah.     You might not know what an interrogatory is.          Exhibit I,

   9 Page 9.       Your Honor, these are the Debtors’ responses to my

  10 interrogatories.       Do you see that, sir?

  11 A      I do.

  12 Q      Okay.    Is that the source information for dates of

  13 termination?

  14 A      It is.    And I also compared that to the schedule from HR

  15 at Highland Kelly Stevens.

  16 Q      And just to round off this discussion of damages, back to

  17 your Exhibit G.

  18 A      Yes.

  19 Q      We’re claiming the 6.2 million.        Correct?    Go back to

  20 Exhibit G.

  21 A      Yes.

  22 Q      We’re claiming the 372,000.        Correct?

  23 A      Yes.

  24 Q      Then we’re claiming -- I’ll discuss it in closing -- some

  25 $1.3 million from the David Klos analysis for the shared



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page798
                                           173 of 181    177of
                                                             of888
                                                                185 PageID
                                                                    PageID4102
                                                                           2908

                                    Norris - Recross                           173
   1 services agreements.         Right?

   2 A      Yeah.    And that’s different than this 1.3.         It’s 1.3 in

   3 shared services.

   4 Q      That’s what I wanted to clarify.

   5 A      Yes.    Yes.

   6 Q      You did not --

   7 A      Additional damages.

   8 Q      You did not calculate the underlying overcharges under the

   9 shared services.       We’re just going with Mr. Klos’ analysis --

  10 A      Going off --

  11 Q      -- if the Court agrees with us.

  12 A      That’s correct.

  13 Q      And then 425,000 in cover damages.

  14 A      That’s correct.

  15 Q      And that’s for Robert Harris and Jason Post?

  16 A      Correct.

  17                MR. RUKAVINA:    Your Honor, thank you.

  18                THE COURT:    All right.    Mr. Norris, before I excuse

  19 you, I have two or three questions.

  20                THE WITNESS:    Yes.    Yes.

  21                THE COURT:    Okay.    That was it.   That was recross.

  22                MR. MORRIS:    Oh, I had a couple -- I have a couple of

  23 questions on that.

  24                THE COURT:    But that was it.    We went you, you, you,

  25 you.



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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page799
                                           174 of 181    178of
                                                             of888
                                                                185 PageID
                                                                    PageID4103
                                                                           2909

                              Norris - Examination/Court                        174

   1                MR. MORRIS:    Right.    But can I cross now on the very

   2 limited testimony?       It’s limited to the questions that he just

   3 asked.

   4                THE COURT:    Okay.    Well, don’t --

   5                MR. MORRIS:    If you don’t want me to, it’s fine.

   6                THE COURT:    Yeah.    I don’t want you to.

   7                MR. MORRIS:    Okay.

   8                                  EXAMINATION

   9 BY THE COURT:

  10 Q      All right.     My brain thinks in timelines.       And so I just

  11 -- I want to be reminded of a couple of things.             NexPoint, NPA,

  12 was formed when?

  13 A      Yeah.    NexPoint Advisors was formed in 2011 or 2012.          I

  14 believe it was 2011.

  15 Q      Okay.    So after you started at the Highland complex.          And

  16 the other one, HCMFA.         It was --

  17 A      Yes.

  18        It was formed somewhere between 2007 and 2009 as Highland

  19 Funds Asset Management.         That’s where Jim got the H fam from

  20 and has carried it.         It then became Axis Capital.      And then it

  21 changed its name again to Highland Capital Management Fund

  22 Advisors in, I believe, February 2013.

  23 Q      Okay.    So when did each of these entities begin hiring

  24 their own employees?         I’m not 100 percent clear.      I think I

  25 heard the answer, but you tell me.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page800
                                           175 of 181    179of
                                                             of888
                                                                185 PageID
                                                                    PageID4104
                                                                           2910

                               Norris - Examination/Court                     175

   1 A      Yeah.     So they have -- they had their own employees

   2 throughout the whole time period, but --

   3 Q      Since 2011, since 2007?

   4 A      That’s right.      And the -- they have -- and I mentioned the

   5 shared services agreements.         When I started working for

   6 Highland Capital Management Fund Advisors, there were a lot of

   7 those in house services that were actually at the Advisors.

   8 Q      Right.     Yeah.

   9 A      So part of the transitioning those services was with my

  10 moving to a different role in around 2013 or so where we merged

  11 those services.       We were receiving some services from Highland,

  12 back-office services, maybe some --

  13 Q      Okay.    I’m more interested in front office.

  14 A      Yeah.    Front-office services.

  15 Q      Uh-huh.

  16 A      So the Retail Advisors have always had front-office

  17 personnel.      And we did rely and we had the payroll

  18 reimbursement agreements for certain investment professionals.

  19 Prior to the 2018 agreement, I believe the shared services

  20 agreement had investment advisory services in it.

  21        So -- but there was -- you know, we have had investment

  22 professionals the whole time.         However, as I mentioned, the

  23 shift from being real -- from credit focused to real estate

  24 focused really started in 2015, ‘16, ‘17, ‘18, and really into

  25 ‘19 and ‘20.      So our real estate assets in 2012 or ‘13 were


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page801
                                           176 of 181    180of
                                                             of888
                                                                185 PageID
                                                                    PageID4105
                                                                           2911

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   1 close to zero and today it’s around nine or ten billion.

   2 Q       Okay.

   3 A       And I think if you go back to 2008, it was almost

   4 primarily credit and a long-short equity fund from our advisors

   5 and a mostly credit focused funds.

   6                 THE COURT:    Okay.    Thank you.

   7                 THE WITNESS:    Yes.

   8                 THE COURT:    You’re excused.

   9                 THE WITNESS:    Thank you.

  10        (Witness excused)

  11                 THE COURT:    All right.    That concludes our witnesses.

  12 Right?

  13                 MR. RUKAVINA:    It does, Your Honor.    And Mr. Morris

  14 and I discussed a proposal.

  15                 MR. MORRIS:    Yeah.    Let me just confer with my client

  16 --

  17                 MR. RUKAVINA:    Sure.    Sure.

  18                 THE COURT:    Okay.

  19                 MR. MORRIS:    -- to make sure my client is okay with

  20 this.

  21                 All right.    You can --

  22                 MR. RUKAVINA:    You’re okay?

  23                 Your Honor, we were -- if agreeable to the Court

  24 since they could then make their flights and we’re all tired,

  25 we can do closing by Webex at the Court’s convenience rather


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page802
                                           177 of 181    181of
                                                             of888
                                                                185 PageID
                                                                    PageID4106
                                                                           2912

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   1 than go now until probably quite -- we’re not going to have, I

   2 don’t think, huge, long closings, but we’re going to have quite

   3 some time.

   4              THE COURT:    You had an hour opening.

   5              MR. MORRIS:     Yeah.   I mean, I actually --

   6              MR. RUKAVINA:     I was a lot less than an hour.

   7              THE COURT:    Okay.

   8              MR. MORRIS:     I don’t want to impose my will at all.

   9 I’d like to do it consensually, but I think it might be

  10 appropriate to just set some time limits and find a day.              We do

  11 have a pretty big day next week for the summary judgment motion

  12 on the Notes (phonetic) litigation.

  13              But at the Court’s convenience, I think it would be

  14 helpful to review the record because it’s been a busy couple of

  15 days and I know personally I’d like to read actually the

  16 testimony instead of just telling the Court what I think

  17 witnesses testified to because people get a little loose with

  18 that sometimes.

  19              THE COURT:    Okay.     So we’ll let you do closing by

  20 WebEx.     We’ll limit you to an hour each.        We’ll do it some day

  21 next week, but I need to check with Traci.            I don’t have my

  22 final calendar for next week --

  23              MR. RUKAVINA:     MSJ is the 20th?

  24              THE COURT:    -- to know when the best day is.

  25              MR. MORRIS:     It is the 20th, yeah.


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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page803
                                           178 of 181    182of
                                                             of888
                                                                185 PageID
                                                                    PageID4107
                                                                           2913

                                                                              178

   1              THE COURT:    What day is your Note?

   2              MR. MORRIS:     I think it’s the 20th.      Yeah.

   3              MR. RUKAVINA:     That would be a week from today.

   4 Right?

   5              MR. MORRIS:     Yeah.   You know, and it may not be

   6 feasible to do it next week.         It may wait until the week after.

   7              THE COURT:    Okay.

   8              MR. MORRIS:     I’ll do it whenever the Court wants, but

   9 --

  10              THE COURT:    Okay.     We’ll do it either next week or

  11 the following week, okay?

  12              MR. MORRIS:     Yeah.   Fair enough.     Fair enough.

  13              THE COURT:    Yeah.     I just need to get with Traci --

  14              MR. MORRIS:     Yeah.

  15              THE COURT:    -- and see what is the best day.         So

  16 she’ll reach out to you tomorrow.

  17              MR. MORRIS:     Perfect.

  18              THE COURT:    And let you know.

  19              MR. MORRIS:     Perfect.

  20              THE COURT:    Okay.

  21              MR. MORRIS:     Thanks so much, Your Honor.

  22              THE COURT:    All right.

  23              MR. RUKAVINA:     So just, I guess, to be clear.

  24 Plaintiff has closed.        I have closed because we did it

  25 simultaneously, and the evidence is concluded.


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                                                                 002820
Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page804
                                           179 of 181    183of
                                                             of888
                                                                185 PageID
                                                                    PageID4108
                                                                           2914

                                                                                179

   1              THE COURT:    The evidence is closed.

   2              MR. RUKAVINA:     Thank you.

   3              MR. MORRIS:     Thank you.

   4              THE COURT:    I’m not listening to anything else.         And

   5 the briefing is closed, as well.          So we’ll just have closing

   6 oral arguments again next week or the following week.              Traci

   7 will reach out tomorrow.

   8              MR. MORRIS: Okie doke.

   9        (Proceedings concluded at 5:04 p.m.)

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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page805
                                           180 of 181    184of
                                                             of888
                                                                185 PageID
                                                                    PageID4109
                                                                           2915

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   1                         C E R T I F I C A T I O N

   2              We, DIPTI PATEL, KAREN WATSON, MICHELLE ROGAN, PATTIE

   3 MITCHELL, and, CRYSTAL THOMAS, court approved transcribers,

   4 certify that the foregoing is a correct transcript from the

   5 official electronic sound recording of the proceedings in the

   6 above-entitled matter, and to the best of our ability.

   7

   8 /s/ Dipti Patel                          /s/ Crystal Thomas

   9 DIPTI PATEL, CET-997                     CRYSTAL THOMAS, CET-654

  10

  11 /s/ Karen K. Watson                      /s/ Pattie Mitchell

  12 KAREN K. WATSON, CET-1039                PATTIE MITCHELL

  13

  14 /s/ MICHELLE ROGAN

  15 MICHELLE ROGAN

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Case 21-03010-sgj Doc 116 Filed 04/18/22 Entered 04/18/22 09:05:40 Desc Main
Case
Case3:22-cv-02170-S
     3:22-cv-02170-S Document
                     Document 2-14
                              6-1 Filed
                         Document  Filed01/12/23
                                     Page11/22/22  Page
                                                    Page806
                                           181 of 181    185of
                                                             of888
                                                                185 PageID
                                                                    PageID4110
                                                                           2916

                                                                              181




                              WWW.LIBERTYTRANSCRIPTS.COM



                                                                 002823
Case 3:22-cv-02170-S Document 6-1 Filed 01/12/23   Page 807 of 888 PageID 4111




                      Tab 13
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-15Filed
                           Document    Filed
                                          01/12/23
                                         Page11/22/22
                                               1 of 81Page
                                                        Page
                                                           808
                                                             5 of 888
                                                                  85 PageID
                                                                      PageID2921
                                                                             4112



                          UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF TEXAS (DALLAS)

      IN RE:                    .          Case No. 19-34054-11(SGJ)
                                .
      HIGHLAND CAPITAL          .          Earle Cabell Federal Building
      MANAGEMENT, L.P.,         .          1100 Commerce Street
                                .          Dallas, TX 75242-1496
                                .
                Debtor.         .
      . . . . . . . . . . . . . .
                                .          Adv. No. 21-AP-03010(SGJ)
      HIGHLAND CAPITAL          .
      MANAGEMENT, L.P.,
                                .
                Plaintiff,      .
                                .
             v.                 .
                                .
      HIGHLAND CAPITAL,         .
      MANAGEMENT FUND ADVISORS .
      L.P., et al.,             .
                                .
                Defendants.     .          Wednesday, April 27, 2022
      . . . . . . . . . . . . . .          1:34 p.m.

                   TRANSCRIPT OF HEARING ON CLOSING ARGUMENTS
                       BEFORE HONORABLE STACEY G. JERNIGAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      TELEPHONIC APPEARANCES:

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                                     New York, New York 10017

      For Defendant Highland         Munsch, Hardt, Kopf & Harr
      Capital Management             BY: DAVOR RUKAVINA, ESQ.
      Fund Advisors, L.P.:                THOMAS DANIEL BERGHMAN, ESQ.
                                     500 North Akard Street, Suite 3800
                                     Dallas, Texas 75201

      Audio Operator:                Michael F. Edmond

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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-15Filed
                           Document    Filed
                                          01/12/23
                                         Page11/22/22
                                               2 of 81Page
                                                        Page
                                                           809
                                                             6 of 888
                                                                  85 PageID
                                                                      PageID2922
                                                                             4113

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   1              THE CLERK:     All rise.     The United States Bankruptcy

   2 Court for the Northern District of Texas Dallas Division is now

   3 in session.      The Honorable Stacey Jernigan presiding.

   4              THE COURT:     Good afternoon.      Please be seated.

   5              All right.     We are here for closing arguments in the

   6 Highland Capital versus Advisors matter, Adversary 21-3010.

   7 Let's get appearances first on the record for Highland first.

   8              MR. MORRIS:     Good afternoon, Your Honor.         This is

   9 John Morris, Pachulski Stang Ziehl & Jones, for Highland

  10 Capital Management, L.P., and I'll be handling today's closing

  11 argument on behalf of my client.

  12              THE COURT:     All right.     Thank you.

  13              Now for the Advisors, who do we have appearing?

  14              MR. RUKAVINA:      Your Honor, good afternoon, Davor

  15 Rukavina and Thomas Berghman here for the Advisors, NexPoint

  16 Advisors, L.P., and Highland Capital Management Fund Advisors,

  17 L.P.

  18              THE COURT:     All right.     Thank you.

  19              All right.     That should be all the appearances.            We

  20 have lots of observers, I'm sure.           I believe we allocated one

  21 hour each to Highland and then the Advisors collectively.

  22 Correct?

  23              MR. MORRIS:     That's right, Your Honor.         And as the

  24 plaintiff, I'm hoping that I don't use my full hour.                And

  25 whatever time remains from my allotted time, I'll reserve for




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                                                                   002825
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-15Filed
                           Document    Filed
                                          01/12/23
                                         Page11/22/22
                                               3 of 81Page
                                                        Page
                                                           810
                                                             7 of 888
                                                                  85 PageID
                                                                      PageID2923
                                                                             4114

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   1 rebuttal.

   2              THE COURT:     All right.     We will allow rebuttal if you

   3 have time.

   4              All right.     Well, with that, let's begin.         It's 1:35

   5 per the Court's clock.         So, Mr. Morris, I'll hear your closing.

   6              MR. MORRIS:     All right.     And I would ask Ms. Canti

   7 (phonetic) to put up our deck, our PowerPoint presentation that

   8 we sent to the Court and to Mr. Rukavina in advance of today's

   9 --

  10              THE COURT:     Okay.

  11              MR. MORRIS:     -- argument.      So, okay, I'll begin the

  12 clock, Your Honor.

  13              And thank you for hearing us this afternoon.             Thank

  14 you for your patience the week before last in accommodating our

  15 travel schedules and allowing us to complete a pretty grueling

  16 two days of testimony.         I think it was helpful.

  17              And I'd like to begin if we could just turn the deck

  18 to the next slide and just remind the Court that at Docket

  19 Number 91, Highland filed its proposed findings of fact and

  20 conclusions of law.        We stand by every work in that 68-page

  21 filing.     I'm hoping to use my time here this afternoon to

  22 simply highlight certain facts that came out of the trial, as

  23 well as to kind of summarize where I believe the evidence

  24 landed and where I believe the Court ought to rule.

  25              Just to quickly go through the claims, Highland's



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-15Filed
                           Document    Filed
                                          01/12/23
                                         Page11/22/22
                                               4 of 81Page
                                                        Page
                                                           811
                                                             8 of 888
                                                                  85 PageID
                                                                      PageID2924
                                                                             4115

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   1 claims are awfully straightforward.            There's no dispute that

   2 the Advisors stopped paying for their services under the

   3 various agreements at very specific points in time.               There's no

   4 dispute as to the amounts that are owed under those agreements.

   5 And so unless the Advisors can prove that Highland was in

   6 breach of one or more of the agreements, I think that there's

   7 an undisputed issue as to Highland's claim and as to the

   8 Advisors' liability under that claim.

   9              We believe that the Advisors' claims are meritless,

  10 Your Honor.      We believe that -- and I think there was kind of a

  11 sea change during the hearing.           I think the Advisors kind of --

  12 and we'll talk about this more in a moment -- shifted their

  13 theory of the case.        And I believe that we now have an

  14 agreement that the contracts are indeed unambiguous.

  15              As I'll talk about a little bit more, there really is

  16 no such thing, at least in the context of this case, of an

  17 overpayment.      Even if the Court were to find there was an

  18 ambiguity, and I'll go through the evidence again as quickly as

  19 I can, the parole evidence --

  20              THE COURT:     Okay.    Just a moment.      My court

  21 reporter's saying we need to stop.

  22        (Court and Clerk confer briefly)

  23              THE COURT:     I apologize.     We are having a technical

  24 sound issue.      I didn't observe it, but the court reporter

  25 equipment -- just bear with us a moment.



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
 Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                       Document6-1
                                2-15Filed
                           Document    Filed
                                          01/12/23
                                         Page11/22/22
                                               5 of 81Page
                                                        Page
                                                           812
                                                             9 of 888
                                                                  85 PageID
                                                                      PageID2925
                                                                             4116

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   1        (Pause)

   2              THE COURT:     Okay.    Just so we can let the lawyers

   3 know, how long do you predict this is going to take?

   4              UNIDENTIFIED SPEAKER:        Testing, testing.

   5              THE CLERK:     It's not coming through.

   6              UNIDENTIFIED SPEAKER:        Still not coming through.

   7              THE CLERK:     How long do you think it's going to take?

   8              UNIDENTIFIED SPEAKER:        I have no earthly idea.         I'm

   9 not sure what's going on.         Give me five minutes.

  10              THE COURT:     Okay.    Lawyers, I apologize.       They say

  11 give them five minutes.         They hope they can get this sound

  12 issue.     I greatly apologize, but give it five minutes.

  13        (Off the record to handle technical issues with audio

  14 equipment)

  15        (Back on the record)

  16              THE CLERK:     All rise.

  17              THE COURT:     All right.     Please be seated.      We're back

  18 on the record in the Highland closing arguments in Adversary

  19 21-3010.     All right.

  20              Mr. Morris, we're just going to start the clock over

  21 in light of a disruption less than five minutes into your

  22 closing.     So you may begin.

  23              MR. MORRIS:     Okay.    Thank you, Your Honor.        And

  24 again, John Morris, Pachulski Stang Ziehl & Jones for Highland.

  25              As I had mentioned earlier, for the record, Highland



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                           Document   Filed
                                          01/12/23
                                            11/22/22
                                         Page  6 of 81Page
                                                       Page813
                                                             10of
                                                                of888
                                                                   85 PageID
                                                                      PageID2926
                                                                             4117

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   1 had filed at Docket Number 91 its proposed findings of fact and

   2 conclusions of law.        We continue to believe that that document

   3 fairly sets forth and describes a mountain of documentary

   4 evidence that supports its claims and that defeats the

   5 Advisors' claims.

   6              Just to summarize kind of where we are, we believe

   7 that there's no dispute as to Highland's claim.              We don't

   8 believe there's any dispute as to the time in which the

   9 Advisors failed to pay for services or the amounts that were

  10 due under those contracts, so that unless the Advisors can

  11 prove that Highland is in breach, I believe that there's no

  12 dispute that Highland would be entitled to a judgment.

  13              Highland believes that the Advisors' claims are

  14 frivolous.      After some back and forth, I believe that the

  15 parties are in agreement now that the contract is unambiguous

  16 and that, as I'll discuss further, there really is no such

  17 thing as an overpayment under the circumstances that we find

  18 ourselves here.

  19              Even if the contracts were ambiguous in any way, we

  20 believe the evidence firmly establishes that Highland's

  21 interpretation is the only fair and reasonable interpretation.

  22 That evidence includes parole evidence that led up to the

  23 execution of the relevant agreements, and it also includes the

  24 parties' course of dealing and the surrounding circumstances.

  25              We believe the evidence will establish and has



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                           Document   Filed
                                          01/12/23
                                            11/22/22
                                         Page  7 of 81Page
                                                       Page814
                                                             11of
                                                                of888
                                                                   85 PageID
                                                                      PageID2927
                                                                             4118

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   1 established that Highland has fully performed, that the

   2 substance of the advisor's claims has changed so radically over

   3 time that the credibility of the claim itself is called into

   4 question, and their last-minute hail Mary to Frank Waterhouse

   5 is nothing but a fumble or an incomplete pass at best.

   6 Mr. Waterhouse's story will not withstand scrutiny.

   7              If we can go to the next slide just to summarize and

   8 to highlight a couple of additional provisions of the relevant,

   9 and I'm focused here on the Payroll Reimbursement Agreement

  10 because that is the bulk of the Advisors' claims.               Again,

  11 Section 2.01 of the agreement provided that not just NexPoint

  12 but HCMFA because the documents are identical, and they can be

  13 found at Exhibits 6 and 8, provided that the Advisors would

  14 reimburse Highland for the actual cost of certain employees,

  15 again with a capital A and a capital C.

  16              Capital A and capital C actual cost is defined in the

  17 agreement to be a flat fee absent a change pursuant to Section

  18 2.02.     There's really no dispute about that.           It's plain

  19 language (indiscernible) applied as such.             Section 2.02 states

  20 that the parties may agree to modify the terms and conditions

  21 of the reimbursement.        They may agree, they may not agree.

  22 Nobody can act unilaterally.

  23              I believe earlier in this case there was a suggestion

  24 that Highland had some obligation to do something on its own.

  25 You can't find Highland's name in Section 2.02 because nobody



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                           Document   Filed
                                          01/12/23
                                            11/22/22
                                         Page  8 of 81Page
                                                       Page815
                                                             12of
                                                                of888
                                                                   85 PageID
                                                                      PageID2928
                                                                             4119

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   1 has the right or the obligation or the ability to act

   2 unilaterally.

   3              Section 4.02 emphasizes that if somebody does want to

   4 make a modification, they have to notify the other party before

   5 the last business day of the calendar month.              And that's

   6 critical, Your Honor, because it shows that the parties agreed

   7 that any change would be prospective.            There wouldn't be a

   8 retroactive change because if there could be a retroactive

   9 change then you've just rendered the definition of actual cost

  10 absolutely meaningless.         Right?

  11              If at any time somebody can say, oh, I didn't like

  12 what I paid for the last three years, or in this case the last

  13 12 months, then why even have a definition of actual cost.

  14 Right?     So you've got to read the agreement together.             Section

  15 4.02 clearly establishes that any request for change under

  16 Section 2.02 is going to be prospective only.

  17              Section 6.02 says that the agreement can only be

  18 amended by a writing of the parties.            The parties knew that.

  19 We know that the evidence in dispute indisputably establishes

  20 that they exercised their right.           They did agree to modify

  21 under Section 2.02 in December 2018, and we'll talk about that

  22 more.     So the parties know exactly what they're doing.

  23              And if you remember in my opining, Your Honor, I

  24 suggested that the definition of actual cost, we could have

  25 called it hamburger, we could have called it tofu if that's



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                                                                   002831
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                           Document   Filed
                                          01/12/23
                                            11/22/22
                                         Page  9 of 81Page
                                                       Page816
                                                             13of
                                                                of888
                                                                   85 PageID
                                                                      PageID2929
                                                                             4120

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   1 your preference.       And the reason that I said that, Your Honor,

   2 is because Section 6.07 exists.           And Section 6.07 says the

   3 descriptive headings are for convenience, and they don't

   4 constitute a part of the agreement.

   5              So again, you know, everything that I think the

   6 Advisors are relying upon are all of these headings.                The only

   7 thing that matters is the definition of actual cost,

   8 Section 2.02, and that any agreement has to be prospective, not

   9 retroactive.      We believe that that's what the Payroll

  10 Reimbursement Agreement shows.

  11              If you go to the next chart, Your Honor, it's really

  12 just a summary of Mr. Klos' damage analysis.              It is really

  13 incredibly straightforward.          Under the next point, agreements,

  14 no payment was made in December or January.              All three

  15 agreements were flat-fee agreements.            We've simply multiplied

  16 the flat fee by the period of time that remained unpaid to get

  17 to the total.

  18              The only wrinkle here is the HCMFA Shared Services

  19 Agreement.      If Your Honor recalls, there's one -- that's the

  20 only contract of the five that isn't a fixed fee.               But it

  21 stayed within a very narrow band of 300,000 to 310.               So we just

  22 took an average because they didn't pay.             And that's how we got

  23 to the 915 because they didn't pay.            If you recall the

  24 testimony from Mr. Klos, they didn't pay November either for

  25 that particular contract because Highland had not yet prepared



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                                                                   002832
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              10 of 81 Page
                                                          817
                                                            14of
                                                               of888
                                                                  85 PageID
                                                                     PageID2930
                                                                            4121

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   1 the invoice.      Okay?

   2              So that's the damage calculation.          We're entitled to

   3 costs, fees, and expenses.         You know, in the joint pretrial

   4 order, the parties agreed that that issue would be resolved

   5 subsequent to the entry of a judgment, if one is entered on

   6 Highland's behalf.        We'll just follow Rule 54 and come back in

   7 a couple of weeks for a calculation of our costs, fees, and

   8 interest.

   9              If we can go to the next slide, I mentioned, Your

  10 Honor, from, you know, I think any fair reading of the

  11 Advisors' pleadings, you know, always changing, always trying

  12 to adapt to the evidence instead of coming in with a consistent

  13 story.     You know?      But we adapt and we respond.       And this is

  14 where we are.

  15              Their original claim which was filed over a year ago

  16 said, alleged that Highland stopped providing services in

  17 July 2020.      Obviously, that makes no sense.         It's contradicted

  18 by every single report to the Retail Board.             They in fact

  19 relied on the wrong contract in their original administrative

  20 claim.     They said that the NexPoint Shared Services Agreement

  21 was an actual cost sharing agreement.           And they cited not to

  22 the applicable agreement, the one from January 2018, but they

  23 cited to the wrong agreement, the one from 2013.

  24              And their entire argument on overpayment was simply

  25 that it was an overpayment because there were employees on that



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              11 of 81 Page
                                                          818
                                                            15of
                                                               of888
                                                                  85 PageID
                                                                     PageID2931
                                                                            4122

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   1 Exhibit A were no longer employed by Highland, and it was

   2 incredibly outdated.        This is just, if you just look at

   3 Paragraphs 16, 17, and 18 of their administrative claim, that's

   4 all they said.

   5              We responded in the fall of 2021.          The Advisors filed

   6 a response.      They didn't really change their tune much on the

   7 overpayments.      But they insisted that they could not possibly

   8 have waived any rights under any of the agreements because the

   9 issue didn't crystalize for them until November 2020.               Okay?

  10 So they've shifted from July 2020 when we stopped providing

  11 services.     One would hope that they would have known if we'd

  12 actually done that, to the issue not really crystalizing until

  13 November 2020.

  14              And then on the eve of trial, we got a completely new

  15 and different story, a very contradictory theory.              Instead of

  16 saying that the issue didn't crystalize until November 2020,

  17 all of a sudden we came up with Frank Waterhouse, not

  18 Dave Klos, but Frank Waterhouse noted the overpayments.

  19 There's no evidence that Frank Waterhouse did this.

  20              But in any event, Frank Waterhouse noted the

  21 overpayments in late 2019 and asked Fred Caruso, then allegedly

  22 the CRO of Highland, to, quote, change the reimbursement

  23 amounts, but was told nothing could be done because of the

  24 automatic stay.       Dustin Norris, right, he's quoted as having

  25 repeatedly discussed the matter with Highland's controller



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                                                                   002834
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              12 of 81 Page
                                                          819
                                                            16of
                                                               of888
                                                                  85 PageID
                                                                     PageID2932
                                                                            4123

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   1 starting in late summer or early fall of 2020.

   2              I don't know how you can make that statement when

   3 just a couple of minutes before in your response you told the

   4 Court that the issue didn't crystalize until November 2020.

   5 Based on the pleadings, I don't think there's any way to

   6 actually figure out when they learned what because it just

   7 conflicts, all of the statements just conflict with each other.

   8              But be that as it may, the important point is that on

   9 the eve of trial, they were forced into the 2.02 corner.

  10 Right?     They had started out by saying Highland had the

  11 obligation to change the amounts that were due because they

  12 were in control under the Shared Services Agreement.               When, you

  13 know, that become untenable because of the language of

  14 Section 2.02, they tried to go with the overpayment and just

  15 say the interpretation of the contract was that they shouldn't

  16 pay for employees who weren't there.

  17              Now they're kind of, you know, last stop, last call.

  18 The agreement, Highland breached the agreement because it

  19 didn't negotiate in good faith under 2.02.             Last call.    Third

  20 try, last call.

  21              Your Honor, we believe everything I'm about to say is

  22 irrelevant, if I can humbly say that, because the contract is

  23 clear and unambiguous.        But to the extent that the Court has a

  24 different view, or to the extent the Court wants to get

  25 comfortable that the plain and unambiguous terms of the



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              13 of 81 Page
                                                          820
                                                            17of
                                                               of888
                                                                  85 PageID
                                                                     PageID2933
                                                                            4124

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   1 contract mean exactly what they say, we're going to just

   2 summarize what the evidence was that led up to the execution of

   3 the Payroll Reimbursement Agreements.

   4              I don't think there's any dispute that 2017 was a

   5 difficult year for Highland.          In December of that year, if you

   6 look at Exhibit 30, Sean Fox and Tim Cournoyer discussed

   7 shifting NexPoint Shared Services Agreement to a flat monthly

   8 fee.    It's a very significant development, has nothing to do

   9 with Dave Klos.       I'm sure we're going to hear a lot of

  10 criticism of Dave Klos.        But understand that Dave Klos was not

  11 involved at this point.

  12              The following month, in January, Klos does get

  13 involved.     And he testifies that he gets instructions from

  14 Mr. Dondero to increase from $1.2 million to $6 million the

  15 total paid by the Advisors to Highland.            And they come up with

  16 an allocation for the services among NexPoint and its

  17 affiliates.      And that is also in the Exhibit 130.          And that

  18 happens on January 4th.

  19              Within seven days, Frank Waterhouse executes on

  20 behalf of Highland and NexPoint three agreements, a subadvisory

  21 agreement, the new Shared Services Agreement, and the NexPoint

  22 Real Estate Advisors Shared Services Agreement.              And when you

  23 add up the flat fees, there's no dispute, there can't be any

  24 dispute that these are three flat-fee agreements that when you

  25 add them up, it's $500,000.         When you multiply it by 12 --



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                                                                   002836
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              14 of 81 Page
                                                          821
                                                            18of
                                                               of888
                                                                  85 PageID
                                                                     PageID2934
                                                                            4125

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   1              THE COURT:     Mr. Morris, could you maybe close your

   2 email box?      Every time you get an email, we get that tone, and

   3 it's kind of distracting.

   4              MR. MORRIS:     Sure.    Okay.   I'm just going to stop my

   5 watch for a second and I'll do just that.            Give me just a

   6 moment, Your Honor.

   7        (Pause)

   8              MR. MORRIS:     Okay.    Can you hear me now?

   9              THE COURT:     Yeah.    It's a little faint, but --

  10              MR. MORRIS:     Okay.    But I think I solved the problem.

  11 Okay.     So --

  12              THE COURT:     Okay.    Good.

  13              MR. MORRIS:     So they've got this $6 million.         It's

  14 three contracts, and they're all signed.            If you look at

  15 Exhibit 30, you have three signed agreements, right?               And we're

  16 going to hear criticism about Dave Klos and he's lying.               But it

  17 doesn't matter because there's no dispute that three agreements

  18 are created.      They equal the $6 million.

  19              And Jim Dondero is told that because on January 26th

  20 at Exhibit 86, you have the deck from the annual review

  21 meeting.     And Mr. Dondero and Mr. Okada are given a ton of

  22 information, including the fact that the Acis CLOs will be

  23 reset so that their useful life is extended for two more years,

  24 they're projected to generate more than approximately $10

  25 million of revenue which is the second largest source of



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                                                                   002837
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              15 of 81 Page
                                                          822
                                                            19of
                                                               of888
                                                                  85 PageID
                                                                     PageID2935
                                                                            4126

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   1 revenue.

   2              They're told explicitly that the assumption in the

   3 projections is that NexPoint and its subsidiaries will play a

   4 flat $6 million per year for subadvisory and shared services.

   5 And but that notwithstanding these changes, notwithstanding all

   6 of this, Highland is still going to lose $12 million in 2018.

   7 But that is the deal.

   8              January 26th ends.       They've got three signed

   9 agreements.      It's $6 million flat.       They're looking forward to

  10 getting this income from Acis.          And if we turn the page, that's

  11 when the wheels start to come off.           And this is all very

  12 important, right?       This is both parole evidence as well as the

  13 surrounding circumstances because within days, Josh Terry

  14 commences the involuntary against Acis.            That puts into -- that

  15 puts at risk the $10 million that was projected for the

  16 Highland complex in 2018.

  17              So Mr. Fox and Mr. Cournoyer, not Mr. Klos, respond

  18 by creating a flat-fee agreement for HCMFA, a subadvisory

  19 agreement.      Not a payroll reimbursement agreement.          Nobody has

  20 ever uttered those words at this point.            It is a flat fee

  21 subadvisory agreement based on the NexPoint template.               And that

  22 can be found at Exhibit 87.         This is the best parole evidence

  23 you can possibly have.

  24              The wheels come off again.        They think they solved

  25 the Acis problem.       But on March 15th, Lauren Thedford informs



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                                                                   002838
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              16 of 81 Page
                                                          823
                                                            20of
                                                               of888
                                                                  85 PageID
                                                                     PageID2936
                                                                            4127

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   1 Fox, Surgent, Cournoyer, and Post, right?            Mr. Post is a chief

   2 compliance officer for the Advisors.           Ms. Thedford is not only

   3 a lawyer, she's an officer of the Advisors.             She's the

   4 secretary of the Advisors.         Dave Klos isn't even on this email

   5 chain yet.      He's aware of this, but he's not participating in

   6 these conversations directly.

   7              And Ms. Thedford informs the team, because this is a

   8 team approach, that these subadvisory agreements are not viable

   9 because they can't be retroactive, and they need Retail Board

  10 approval and an in-person meeting.           There was some testimony

  11 from Mr. Norris I think about how -- I think he testified or

  12 maybe the Retail Board representative did that the Retail Board

  13 wasn't interested in front office services, or that they didn't

  14 need investment advisory services, or that, you know, Highland

  15 didn't supply.

  16              Please.    Look at Ms. Thedford's email.         Why would

  17 they need to obtain the Retail Board's approval at an in-person

  18 meeting to enter into a subadvisory agreement if there was no

  19 expectation and intention that Highland would be providing

  20 subadvisory services to the advisors?           It makes no sense.       But

  21 that's going to be the theme of this presentation.

  22              So after coming to that conclusion that you can't go

  23 retroactive and that you need the Retail Board's consent at an

  24 in-person meeting, they come up with the concept for the

  25 Payroll Reimbursement Agreement because it needs neither of



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                                                                   002839
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              17 of 81 Page
                                                          824
                                                            21of
                                                               of888
                                                                  85 PageID
                                                                     PageID2937
                                                                            4128

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   1 those things.      Right?    And otherwise, Highland is going to get

   2 no revenue through June.         I think Mr. Klos testified that that

   3 number was about $4 million.

   4              So she sends the draft of the PRA to Mr. Fox.            And

   5 this is the coincidence, Your Honor.           The only reason that

   6 Dave Klos gets involved is because Mr. Fox is on vacation.                And

   7 you can just look at Exhibit 87.          And he adds Mr. Klos to the

   8 email chain because Mr. Fox is out of the office.              That's how

   9 Mr. Klos gets involved.        He's not there thinking that in two

  10 years, Highland's going to be in bankruptcy and Jim Seery is

  11 going to come along.

  12              He's doing his job as a loyal employee to this

  13 enterprise.      And he tells Ms. Thedford that this isn't going to

  14 work, and this is in writing, Your Honor.            It's just crystal

  15 clear.     All of this analysis of actual costs involves

  16 subjective assumptions.        It creates a ton of internal work that

  17 isn't adding any value to the overall complex.             And that's how

  18 they viewed this.

  19              It's part of the overall complex.          And that's a word

  20 that we're going to hear a few times this afternoon.               Mr. Klos

  21 suggests having a schedule as of January 1st, 2018 and say that

  22 Actual Cost with an uppercase A and C, shall be set out in the

  23 schedule, paid monthly in installments so that the exercise is

  24 only performed once.        And then if nobody likes it, they can

  25 terminate or they can renegotiate.



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                                                                   002840
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              18 of 81 Page
                                                          825
                                                            22of
                                                               of888
                                                                  85 PageID
                                                                     PageID2938
                                                                            4129

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   1              That's exactly what happened.         That's what the

   2 agreement now says.        And Mr. Klos does create this $252,000

   3 schedule, right?       But again, that $252,000, that's just taken

   4 from the subadvisory agreement that has already been signed on

   5 behalf of NexPoint.        Right?   He says I backed into the number

   6 and I did the best I could using that number.             No debate about

   7 that.     You can't come up with those numbers, and we'll talk

   8 about that in a minute.        It can't be an accident.

   9              I'll say, Your Honor, that's kind of -- that's how we

  10 get to the agreement.        And so on May 5th, I think, they signed

  11 these Payroll Reimbursement Agreements.            I don't think there's

  12 any dispute that they do not exist.           If Ms. Thedford doesn't

  13 give the legal advice that the subadvisory agreements, the

  14 flat-fee subadvisory agreements that have nothing to do with

  15 costs, that don't identify anybody, right, would never exist if

  16 those things were viable.

  17              If we can go to the next slide, I've created some

  18 issues, Your Honor, that I think are just we ask the Court to

  19 consider because I think these issues and the testimony and the

  20 evidence establish that Highland's testimony and the case that

  21 we're presenting here is consistent, it is logical, and it is

  22 completely corroborated in contrast to the Advisors.

  23              And just to go through some of the issues, why did

  24 NexPoint, why did their Shared Services Agreement change from a

  25 variable contract to a fixed contract as of the beginning of



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                                                                   002841
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              19 of 81 Page
                                                          826
                                                            23of
                                                               of888
                                                                  85 PageID
                                                                     PageID2939
                                                                            4130

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   1 2018?     Mr. Klos testified that it was to fit within the realm

   2 of the $6 million.       And remember, this is a 500 percent

   3 increase in the amount that NexPoint is paying.              They're going

   4 from $1.2 million to $6 million.          Okay?

   5              The Advisors, I don't think, have much of an

   6 explanation as to why they went from variable to fixed.

   7 Mr. Dondero testified something about wanting to be compliant.

   8 I don't know if that's an acknowledgment that for the six years

   9 before that they weren't in compliance.            But I don't understand

  10 how the basis on which it's paid, whether it's actual cost or

  11 assets under management or flat-fee, I don't see how one of

  12 those is compliant and one isn't.           In any event, they don't

  13 really have any explanation as to why all of a sudden they went

  14 to a flat fee.

  15              They have no explanation as to where the $6 million

  16 came from.      Right?   Mr. Dondero -- Mr. Klos stated that it came

  17 from Mr. Dondero.        And you know, this is, you know, part of the

  18 burn the house down and not think about the consequences of

  19 what you're saying.        There was a suggestion during the trial

  20 that somehow this was a fraudulent document.

  21              We're not taking that position, Your Honor.            We're

  22 not saying that Mr. Dondero did anything fraudulent.               We're

  23 saying that there's business substance to this contract.

  24 Highland needed cash.        They were providing services.

  25 Mr. Dondero had the opportunity to get a tax break.               And so



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                                                                   002842
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              20 of 81 Page
                                                          827
                                                            24of
                                                               of888
                                                                  85 PageID
                                                                     PageID2940
                                                                            4131

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   1 they established a price.

   2              Nobody's suggesting this is an arm's length

   3 negotiation.      Nobody's suggesting that the Advisors went out

   4 and shopped this.       There's no evidence to that.         But there is

   5 economic substance of it.         And I really -- I really caution the

   6 Advisors in throwing out things like tax fraud because you may

   7 try to undermine Mr. Klos, but he reported to Mr. Waterhouse.

   8 And Mr. Dondero is the ownership of the enterprise.

   9              Mr. Waterhouse's signatures are on these documents.

  10 And there's so many other people involved when you take that

  11 kind of reckless approach.         Right?    Ms. Thedford, she's the

  12 drafter of the documents.         She's a lawyer.      Mr. Cournoyer,

  13 another lawyer, Mr. Fox.         There are so many people involved in

  14 this that it is just reckless to suggest that this is tax

  15 fraud.     We don't believe it.       We want to enforce the contract,

  16 Your Honor.

  17              The Acis bankruptcy, we say that that had a huge

  18 impact.     And the undisputed evidence shows that because if you

  19 look at the annual review, there is absolutely no expectation

  20 on January 26th that HCFMA is going to pay any money for a

  21 subadvisory agreement.        It's just not there.       It's not in the

  22 projections, it's not in the assumptions.            And the only reason

  23 that HCMFA winds up first with the subadvisory agreement and

  24 then with the Payroll Reimbursement Agreement is because of the

  25 Acis bankruptcy.



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                                                                   002843
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              21 of 81 Page
                                                          828
                                                            25of
                                                               of888
                                                                  85 PageID
                                                                     PageID2941
                                                                            4132

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   1              They don't have an explanation as to why HCFMA didn't

   2 sign one in January.        They don't have an explanation as to why

   3 they suddenly signed one in May, right?            We do.    It's because

   4 of Acis.     The surrounding circumstances we think are critical

   5 here, Your Honor.

   6              The flat-fee subadvisory agreement, right, it was the

   7 subadvisory agreement signed by NexPoint, prepared by HCMFA.

   8 There's no question that that was flat-fee.             There's no

   9 question it had nothing to do with actual cost.              Why was it

  10 abandoned in favor of these Payroll Reimbursement Agreement?

  11 Not because somebody woke up one day and said oh, I only want

  12 to pay for actual costs, but for the reasons that Ms. Thedford

  13 said.     Not Mr. Klos, Ms. Thedford, right, her email, can't be

  14 retroactive, need Retail Board approval at an in-person

  15 meeting.

  16              They have no explanation as to why they -- they'll

  17 just ignore.      I don't think you'll hear anything in the

  18 Advisors' presentation about the subadvisory agreement and why

  19 it was abandoned, and what's the genesis of the Payroll

  20 Reimbursement Agreements.

  21              Dual employees, why weren't dual employees -- if

  22 costs were so paramount to the Advisors, why isn't there a

  23 provision that says dual employees should keep track of their

  24 time because we only want to pay for the time that they expend

  25 on the Advisors' matters.         Nobody thought about it, nobody



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                                                                   002844
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              22 of 81 Page
                                                          829
                                                            26of
                                                               of888
                                                                  85 PageID
                                                                     PageID2942
                                                                            4133

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   1 cared about it.       There's no evidence that it was ever done.

   2              There is no infrastructure in place to calculate,

   3 other than subjective, and I think you heard this not from

   4 Mr. Klos, not just from Mr. Klos but from Mr. Waterhouse too,

   5 there is no way to do this except subjectively because nobody

   6 created the infrastructure that would actually allow somebody

   7 to figure out the actual costs.          Very important point when

   8 you're here saying I should only pay for actual costs.

   9              If we can go to the next slide, was it a coincidence

  10 that the actual costs under the Payroll Reimbursement

  11 Agreements matched the flat monthly fees under the subadvisory

  12 agreements?      We say no.    Right?    Mr. Klos testified that the

  13 parties kept the flat fee the exact same, and backed into the

  14 number while, quote, trying to find a reasonable estimate that

  15 would also validate the outcome that was already known.

  16              So you're trying to put a shoe, so you need a

  17 shoehorn.     Okay.    People use shoehorns, right, just like

  18 there's nothing wrong with taking tax issues into account.

  19 This is an agreement.        Nobody's pretending it's an arm's length

  20 agreement, but it is an agreement of economic substance.                There

  21 is no question that Highland is providing services.               There's no

  22 question they're entitled to get paid for those services.

  23 Okay?     And that's all that's happening here.

  24              The Advisors have absolutely no explanation as to how

  25 the numbers in the Payroll Reimbursement Agreements, why they



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                                                                   002845
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              23 of 81 Page
                                                          830
                                                            27of
                                                               of888
                                                                  85 PageID
                                                                     PageID2943
                                                                            4134

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   1 match to the penny, the numbers that are in the subadvisory

   2 agreements.      The December 2018, you know, was that a result of

   3 a true up?      Again, the undisputed evidence is that it's not.

   4 Mr. Klos said there was no true up.            Mr. Waterhouse says there

   5 was no true up.       And it makes no sense if you just look at the

   6 economics.      We'll look at this more in a few minutes.           But I

   7 think nine of the dual employees ad already been terminated as

   8 of this time, and yet the advisors are paying substantially

   9 more money.      Okay?

  10              Mr. Norris said that Frank and Dave Klos told him

  11 that it was the result of a true up.           I think Mr. Klos was

  12 probably hitting the nail on the head when he just said I think

  13 Mr. Norris is mistaken, okay, because the people who were

  14 actually involved, and Mr. Norris candidly admitted he has no

  15 personal knowledge about anything that happened in

  16 December 2018.

  17              Why did the Advisors pay the flat fee in each of the

  18 Payroll Reimbursement Agreements for 35 consecutive months from

  19 January 2018 until November 2020, knowing that the dual

  20 employees were being terminated?          We say it's because they

  21 understood that's what the agreement provided.             They say I

  22 don't know.      I don't know.     I don't know.     It's a mistake.      I

  23 don't know.      They have no explanation.

  24              They didn't even file a proof of claim for the two

  25 years before the bankruptcy.          Right?   If their theory of the



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                                                                   002846
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              24 of 81 Page
                                                          831
                                                            28of
                                                               of888
                                                                  85 PageID
                                                                     PageID2944
                                                                            4135

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   1 case were right, where was their pre-petition claim?               Right?

   2 Why didn't they move to amend for leave to file a pre-petition

   3 claim for the two years under Mr. Dondero's watch when Highland

   4 did exactly what they did in 2020.

   5              Did the Advisors know the amounts that were being

   6 paid?     The evidence is overwhelming.        It includes the annual

   7 review.     It includes the advisor's books and records.            It

   8 includes the fact that the advisors gave the amounts paid to

   9 the Retail Board.       It includes, remember all the testimony from

  10 Mr. Waterhouse about the 13-week forecast that included all of

  11 the payments that were anticipated to be paid.

  12              And my favorite may be Exhibit 150, Your Honor.

  13 That's the April 14th, 2020, one-page cash-flow statement that

  14 was given to Mr. Dondero that showed in April, May, June, July,

  15 August, September, October, November, and December of 2020,

  16 NexPoint would pay, you got it, $500,000 or $6 million a year,

  17 the same number that was in Dave Klos' January 4th email, the

  18 same number that was in the contracts themselves, the same

  19 number that was in the annual review.           No mystery here, Your

  20 Honor.

  21              Did the advisors know when each dual employee left?

  22 Of course they did.        Exhibits 88 to 127, every single month,

  23 all of the Advisors' officers, m. Waterhouse, Ms. Thedford,

  24 Mr. Norris, they're all getting these monthly reports that

  25 highlight all of the terminations.



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                                                                   002847
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              25 of 81 Page
                                                          832
                                                            29of
                                                               of888
                                                                  85 PageID
                                                                     PageID2945
                                                                            4136

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   1              So what do they do?       They manufacture a dispute.        If

   2 we can go to the next slide.          Highland gives notice of

   3 termination of the Shared Services Agreements on November 30th.

   4 And this is where the rubber meets the road.             Everybody knows

   5 what's happening now.        Highland has just had its plan and its

   6 disclosure statement approved by the Court.

   7              Everybody knows that Highland is going to be winding

   8 down.     Everybody knows that if confirmed, right, all of these

   9 employees are going to be terminated.           And they're supposed to

  10 be working toward shifting them to a new platform so that they

  11 can service the Advisors and the other non-debtor entities that

  12 Mr. Dondero owned and controlled.

  13              And the very next morning at 8:53, Mr. Norris walks

  14 into the office and he starts sending the emails.              And he

  15 states it's worth noting that the subadvisory fees were higher

  16 than the Shared Services fees.          So need to make sure these

  17 agreements are fully understood.          So on December 1st, this is

  18 Mr. Norris' task after notice of termination is given.               Let's

  19 make sure we understand the agreements.

  20              A couple of days later, Your Honor will recall,

  21 Highland filed a motion for a temporary restraining order and

  22 injunctive relief against Mr. Dondero to enjoin the threats

  23 that he was making, to enjoin the interference with Highland's

  24 business.     And the next day, according to the document anyway,

  25 Mr. Klos sent Mr. Waterhouse what became the basis for this



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                                                                   002848
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              26 of 81 Page
                                                          833
                                                            30of
                                                               of888
                                                                  85 PageID
                                                                     PageID2946
                                                                            4137

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   1 claim here today.

   2              Mr. Klos asked Mr. Waterhouse point blank, are you

   3 going to use this for an adverse purpose, and he was sure that

   4 he wouldn't.      Mr. Waterhouse, to his credit, wouldn't take

   5 Mr. Klos on that.       He simply said I don't have a basis to say

   6 one way or the other.        I don't remember.      Right?    He didn't

   7 deny that.

   8              Remember my questioning of Mr. Waterhouse?            Why did

   9 you prepare this document?         And he said that Mr. Dondero and

  10 Mr. Norris told him there were negotiations going on.               And I

  11 pressed him harder.        But you weren't involved in the

  12 negotiations.      So why were you asking for this document.            And

  13 he wound up saying because I like numbers.             That was the story

  14 that Mr. Waterhouse told as to why he asked Mr. Klos to do this

  15 on December 8th.

  16              Two days later, we obtained our TRO.            And the next

  17 day, K&L Gates sent their letter.           And they didn't send this

  18 letter under 2.02.       Sure, they wanted to talk.        The notes are

  19 discussed in there.        The Shared Services Agreements are

  20 discussed in here.       And what they're demanding in that letter,

  21 if you read it, Your Honor, isn't, you know, how can we, you

  22 know, change this going forward.          They're trying to renegotiate

  23 the deal.

  24              They're demanding exactly what the Advisors are

  25 demanding now, and that is we want to just pay for the services



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                                                                   002849
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              27 of 81 Page
                                                          834
                                                            31of
                                                               of888
                                                                  85 PageID
                                                                     PageID2947
                                                                            4138

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   1 of the employees who are on Exhibit A.            That's not a 2.02 good

   2 faith negotiation.       That's a demand that ultimately led to

   3 litigation very shortly thereafter.

   4              By January 6th, in fact, we had commenced the lawsuit

   5 against the Advisors and against the funds for declaratory and

   6 injunctive relief.       That was filed -- that's the adversary

   7 proceeding 21-03000.

   8              So this is where we are.        It's pretty tense.      If Your

   9 Honor recalls, the notice of termination was the end of

  10 January.     And Highland hadn't gotten paid in a couple months.

  11 And they told the Advisors that if you don't pay up, we're

  12 cutting you off.       You haven't paid in months.        And so

  13 Mr. Norris participated in a conversation with Mr. Waterhouse,

  14 Mr. Klos, and some others.

  15              And he wrote a note to himself.         And I think it's

  16 such a critical piece of evidence, Your Honor.             I would have

  17 objected to it, but I think it's so good for Highland that I

  18 would rather actually have it into the record.             At 2:22 a.m. in

  19 the wee hours of the morning, Mr. Norris sent a note to himself

  20 at a Gmail account in which he purports to record, as he said,

  21 true and accurately everything he remembered about this

  22 conversation.

  23              Remember the moment in time.         It's January 28th.

  24 We've already sued them for injunctive relief.             They've already

  25 filed their administrative claim.           We are two days away from



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                                                                   002850
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              28 of 81 Page
                                                          835
                                                            32of
                                                               of888
                                                                  85 PageID
                                                                     PageID2948
                                                                            4139

                                                                                   28
   1 the confirmation hearing.         Highland is telling the advisors if

   2 you don't pay, we're shutting you off.            And let's look what

   3 Mr. Norris' notes say because they are priceless.

   4              The overall tone was not friendly.          It was

   5 adversarial from the beginning as J.P., that's J.P. Sevilla

   6 (phonetic), dove in with a very adversarial tone and a take it

   7 or leave it or lose your business approach.             And there was a

   8 contentious back and forth throughout.            Think about the tone of

   9 this meeting.      Think about the tension.

  10              I hope the Court, you know, has read the whole

  11 document because before you get to the next piece that I've

  12 highlighted, Mr. Norris makes a point of writing that he

  13 reminded Mr. Waterhouse that he was the signer of the Payroll

  14 Reimbursement Agreements on behalf of the Advisors.               And then

  15 it continues in the highlighted, I reminded Frank that the only

  16 people paying the amounts each month had been Frank and Dave,

  17 and that no one else that I know of has the ability to process

  18 the payments.

  19              And here is where Frank reached for the lifeline.

  20 Frank said they have known that these amounts were overpayments

  21 for over a year and tried to update them, but they couldn't due

  22 to the automatic stay.        I pressed him.      Imagine being pressed

  23 by Mr. Norris in this conversation under these circumstances,

  24 adversarial, not friendly, contentious.            You're being told you

  25 signed the contracts.        You're being told you messed up.         I



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                                                                   002851
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              29 of 81 Page
                                                          836
                                                            33of
                                                               of888
                                                                  85 PageID
                                                                     PageID2949
                                                                            4140

                                                                                   29
   1 pressed him on this.        I was not aware at all of this fact.

   2              So this is the first time Frank -- this is the

   3 circumstance under which Frank makes the disclosure.               He said

   4 they had discussed it with inside and outside counsel, and

   5 there was nothing they could do now due to the automatic stay.

   6 Think about that, Your Honor.          Where are the words Fred Caruso?

   7              Frank Waterhouse was not afraid of Jim Seery.            He was

   8 afraid of Jim Dondero.        Frank Waterhouse had taken at least

   9 $500,000, but probably more of that $10 million undisclosed

  10 payment.     The finger is being pointed at him.          He signed these

  11 agreements.      He approved the payments.        And he says I told

  12 them.     I told them.     They said there was nothing they could do

  13 because of the automatic stay.

  14              He doesn't mention Fred Caruso.          Right?   And remember

  15 when I cross-examined Mr. Waterhouse and I said Mr. Waterhouse,

  16 I was here with you in December of 2019.             I was defending you

  17 in a deposition.       You didn't tell me anything about this, isn't

  18 that right?      And he said that's right.        Did you tell anybody at

  19 my firm about this?        No.

  20              Mr. Norris pressed him.        Right?    He reminded him,

  21 reminded him of his obligations, reminded him of signatures on

  22 here, reminded him that he was in charge of the payments,

  23 pressed him on this new story that he'd never heard before.

  24 And this is what Frank came up with.

  25              If we can go to the next slide, Mr. Waterhouse's



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                                                                    002852
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              30 of 81 Page
                                                          837
                                                            34of
                                                               of888
                                                                  85 PageID
                                                                     PageID2950
                                                                            4141

                                                                                   30
   1 story, and you know, I feel badly for Mr. Waterhouse.               He was

   2 put in a terrible position.         And I'm not running over him,

   3 right?     I think Mr. Waterhouse did his job.          I think he did --

   4 he signed the contract.        The lawyers for the advisors,

   5 Ms. Thedford, drafted the contract.

   6              The contract reflected the back and forth and the

   7 intent of the parties.        Mr. Waterhouse was the fiduciary.          He

   8 did his job.      But they didn't like the result.         They didn't

   9 like the result when they saw everything moving away from

  10 Mr. Dondero, when they saw the disclosure statement get

  11 approved, when they saw the entry of the TRO, when they saw the

  12 termination of the Shared Services Agreements.

  13              And so now they're coming after Mr. Waterhouse.             And

  14 Mr. Waterhouse says what he says, and it just makes no sense.

  15 It just makes no sense.        His story is that in December 2019, he

  16 claims that he heard from Mr. Klos that the Advisors were

  17 overpaying under the Payroll Reimbursement Agreements, that he

  18 raised the issue with Mr. Leventon, Mr. Ellington, and

  19 Mr. Caruso and was told nothing could be done because of the

  20 automatic stay.

  21              That is the story.       That's their 2.02 you failed to

  22 negotiate in good faith because they raised the issue with

  23 Mr. Caruso.      Let's look, let's test that theory just a little

  24 bit.     If Your Honor remembers, Frank Waterhouse had nothing to

  25 do with the creation of the analysis in December of 2019.                That



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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              31 of 81 Page
                                                          838
                                                            35of
                                                               of888
                                                                  85 PageID
                                                                     PageID2951
                                                                            4142

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   1 was Mr. Leventon and Mr. Klos.

   2              Mr. Klos testified that he was trying to create an

   3 analysis that painted the agreements in their most positive

   4 light because the UCC was pressing on the inter-company

   5 relationships.       If Mr. Klos had an analysis that showed that

   6 these contracts were wildly profitable, wouldn't he have given

   7 that to the UCC?       Wouldn't he have shown it to Mr. Seery the

   8 next month?

   9              Mr. Seery testified about the pressure he was under

  10 from the UCC for months.         He testified about a conversation he

  11 had with the Committee in March where Josh Terry pressed him on

  12 these agreements.       He didn't know anything about this amazing

  13 profitability of the PRAs.

  14              Mr. Waterhouse never told anybody?          Is that credible

  15 that Mr. Waterhouse never told a soul other than Mr. Ellington,

  16 Mr. Leventon, and Mr. Caruso?          Never told the independent

  17 board, never told Mr. Dondero, never told an officer of the

  18 Advisors?     Is that really possible?        And when you hear his

  19 explanation when I cross-examined him, he said I had 20,000

  20 other things to do.        Really?

  21              Mr. Ellington and Mr. Leventon never told

  22 Mr. Dondero?      You have to believe that.        If you buy their

  23 story, you must believe that Mr. Ellington and Mr. Leventon

  24 never told Mr. Dondero that they had been informed that the

  25 Advisors were overpaying the debtor because otherwise, it would



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                                                                   002854
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              32 of 81 Page
                                                          839
                                                            36of
                                                               of888
                                                                  85 PageID
                                                                     PageID2952
                                                                            4143

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   1 have appeared in the administrative claim.             It would have

   2 appeared in the response.         Maybe Mr. Dondero would have

   3 testified to it.

   4              There's no evidence of that at all.          And I'll remind

   5 the Court that in December 2020, even after the TRO was

   6 entered, Mr. Ellington and Mr. Dondero had free-flowing

   7 communications.       But a year earlier, Mr. Ellington didn't raise

   8 this with Mr. Dondero?        Makes no sense.

   9              Mr. Waterhouse knew that Fred Caruso was not the CRO.

  10 It's crazy that they even suggest that.            All they have to do is

  11 look at the documents.        Mr. Waterhouse's name appears on 24

  12 different monthly operating reports as the preparer of those

  13 documents.      And right above every report, I did make a mistake

  14 in my deck here because I wrote until January 2021.               It's

  15 actually until July 2020.         But from October 2019 until

  16 July 2020, whose name appears above Frank's?             Brad Sharp

  17 (phonetic) because Brad Sharp is the CRO.

  18              Fred Caruso was an employee of DSI.          So the whole

  19 notion that Fred Caruso was the CRO is just wrong.

  20 Mr. Waterhouse's testimony is obviously contradicted by

  21 Mr. Norris' notes because Mr. Norris' notes don't mention

  22 Frank Waterhouse.       It -- Fred Caruso.      It mentions inside and

  23 outside counsel.

  24              Do you really believe that if Mr. Waterhouse knew

  25 that there were overpayments being made, he wouldn't write it



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                                                                   002855
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              33 of 81 Page
                                                          840
                                                            37of
                                                               of888
                                                                  85 PageID
                                                                     PageID2953
                                                                            4144

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   1 down, he wouldn't make a memo to himself, he wouldn't look to

   2 confirm what he was told, he wouldn't do -- there's no

   3 evidence.     How is that possible?

   4              But here's the best part, Your Honor.           Fred --

   5 according -- right?        Jim Dondero testified Frank was the

   6 fiduciary.      He's the person in charge for administering the

   7 contracts.      And this Court has to believe, if you're going to

   8 buy the Advisors' position that Frank Waterhouse learned in

   9 December 2019 of the overpayments.           And you know what he did?

  10 Not only didn't he tell anybody, but he just kept authorizing

  11 those payments month after month after month after month.

  12              I don't know why they're putting Frank into this

  13 vice.     This is the burn the house down strategy.           They don't

  14 care.     They'll take no prisoners here, Your Honor.           This is

  15 just, it's wrong.       It's just wrong.

  16              I just want to finish by pointing to the evidence

  17 that shows that Highland fully performed here.             If we can go to

  18 the next page, what I've done here, Your Honor, is the Payroll

  19 Reimbursement Agreements were in effect for three years, 2018,

  20 '19, and '20.      Right?    Each year has 12 months.        2018, 2019,

  21 undisputed evidence Mr. Dondero was in control of the whole

  22 enterprise.      He was actually in control until

  23 January 9th, 2020.

  24              And what I've done here is I've taken Exhibit 14

  25 which is the Advisors' responses to the interrogatory and I've



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                                                                   002856
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              34 of 81 Page
                                                          841
                                                            38of
                                                               of888
                                                                  85 PageID
                                                                     PageID2954
                                                                            4145

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   1 overlaid the month in which each of the employees on -- the

   2 dual employees on Exhibit A was terminated.             And the red

   3 signifies an important event so that you can see May 2018,

   4 that's when the Payroll Reimbursement Agreement is entered

   5 into.

   6              From the minute that Frank Waterhouse puts his ink on

   7 the signature, right, with the advice of Ms. Thedford, the

   8 Advisors' secretary, officer, and a lawyer, and fiduciary, the

   9 minute he puts his name on the document they're already

  10 overpaying according to them.          Right, because four people have

  11 been terminated and yet they're paying a flat fee based on

  12 January 1st, 2018.

  13              By the end of the year, four more people have left.

  14 They enter into the amendments, right?            No adjustment at all to

  15 the flat monthly fee.        Instead, they pay more money even though

  16 there's nine people gone.         By the time you get to the petition

  17 date, five more people are gone.          They're still paying the flat

  18 monthly fee.      For two consecutive years, the Advisors paid

  19 millions and millions and millions of dollars to Highland for

  20 services rendered because they were getting front office

  21 advisory services.

  22              Let's go to the next slide.        And here's the proof.

  23 You only need three documents, Your Honor.             Right?   You're

  24 going to hear probably, you know, a reliance on Mr. Norris'

  25 uncorroborated testimony about how they didn't, you know, they



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                                                                   002857
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              35 of 81 Page
                                                          842
                                                            39of
                                                               of888
                                                                  85 PageID
                                                                     PageID2955
                                                                            4146

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   1 had a change in business model and they didn't need the

   2 advisory services, and the retail funds didn't need the

   3 advisory, and nobody needed anything.

   4              They kept paying, right?        Just I don't know who's

   5 more negligent here.        But somebody was.      Somebody on behalf of

   6 the Advisors if they continued to pay all of this money for

   7 services they don't need.         The truth of the matter is, Your

   8 Honor, that's all a fiction.          There's not a single document

   9 that's going to support any of that testimony, any of that

  10 argument.

  11              The documents that actually completely contradict it

  12 are three.      You start with Exhibit 14.        In the right-hand

  13 column, those are the dates of departure that the Advisors have

  14 admitted to.      You next go to Exhibit 85.         Exhibit 85 is -- it

  15 was a request from the Retail Board in January of 2020.               So

  16 Mr. Dondero has just stepped aside.           The independent board is

  17 put in place.      And the Retail Board sends a request to

  18 Highland, please provide an updated organizational chart

  19 relating to the Highland complex.           Right?

  20              They want to know the whole complex because the whole

  21 complex, there's that word again, the whole complex is serving

  22 the Advisors.      The whole complex is serving the retail funds.

  23 The retail funds wouldn't be asking for organizational charges

  24 and information relating to the Highland complex if they didn't

  25 rely on the Highland complex.          And there would be no reason to.



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                                                                   002858
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              36 of 81 Page
                                                          843
                                                            40of
                                                               of888
                                                                  85 PageID
                                                                     PageID2956
                                                                            4147

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   1 There would be no reason for the Advisors to provide

   2 information about the Highland complex if the Highland wasn't

   3 serving the retail funds.

   4              And what information did they provide?           They

   5 provided, you'll see at Exhibit 85, Your Honor, a list of every

   6 single employee in the Highland complex.            And they specifically

   7 delineate whether the employee was back office, or investment

   8 professionals.       And you won't be surprised to learn, Your

   9 Honor, that every person on this list in front of you was

  10 identified as an investment professional, not providing back

  11 office services.

  12              So the Advisors told the Retail Board in January of

  13 2020 these are the people in the Highland who are providing --

  14 these are the investment professionals.            That's one moment in

  15 time.     And the best is that eight months later in August, the

  16 Retail Board follows up and they ask again who was doing what

  17 work, what's happening.

  18              And if you look at Exhibit 17, one of the questions

  19 the Retail Board asks is what's happening with the bankruptcy.

  20 And you'll see at Page 2 of this memo the Advisors describe the

  21 bankruptcy, and then they say -- and this is dated August 13.

  22 It's in response to a 15(c) request.           And the Advisors say,

  23 quote, we continue to treat HCMLP and its affiliates as the

  24 Advisors' affiliates for purposes of discussions with the

  25 board.



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                                                                   002859
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              37 of 81 Page
                                                          844
                                                            41of
                                                               of888
                                                                  85 PageID
                                                                     PageID2957
                                                                            4148

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   1              Okay?    So the Advisors are telling the Retail Board

   2 that Highland and its affiliates are still affiliates of the

   3 Advisors for purposes of discussions with the Retail Board.

   4 But wait, there's more.        They identify every one of the

   5 investment professionals again.          And it's all footnoted here.

   6 And not only every single one of these investment professionals

   7 who the Retail Board was told in January was an investment

   8 professional, every one of them in January was still there in

   9 August with the exception of Trey Parker.

  10              And what's also interesting, Your Honor, and

  11 consistent with both Mr. Waterhouse's emails and Mr. Klos'

  12 testimony, you'll see that there are several people there that

  13 weren't identified as dual employees.           They weren't identified

  14 on Exhibit A.      But they're still providing investment

  15 professionals.       And do you know why they aren't on Exhibit A?

  16 Because they were hired after the Payroll Reimbursement

  17 Agreements were signed.        It's that simple.

  18              And so people's responsibilities changed.            And if you

  19 note, even Trey Parker, a dual employee, it shows that he left

  20 on February 28th, 2020.        There's a whole -- I don't have the

  21 Exhibit numbers handy, Your Honor.           But there's a whole slew of

  22 title changes where a whole bunch of people got elevated to

  23 investment advisory-type positions.

  24              And that's what's happening here.          He leaves and his

  25 responsibilities are divvied up among other Highland employees.



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                                                                   002860
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              38 of 81 Page
                                                          845
                                                            42of
                                                               of888
                                                                  85 PageID
                                                                     PageID2958
                                                                            4149

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   1 This is what they're telling the Retail Board.             These are not

   2 our documents.       These documents were produced by the Advisors

   3 and by the retail funds.         So don't take my word for it, take

   4 their word for it.

   5                There is a reason that the Advisors are telling the

   6 Retail Board that these are our investment professionals in

   7 January, these are our investment professionals in August,

   8 because these are the people in the Highland complex who are

   9 doing work for you, because otherwise, this makes no sense and

  10 I'll be waiting patiently to hear an explanation as to why all

  11 of this information is being provided to the Retail Board if

  12 the Advisors don't need these people, the Retail Board doesn't

  13 need these people, and that everything's changed.

  14                At the end of the day, Your Honor, again, whacking

  15 moles.     I'm just whacking moles.       Highland performed, the

  16 contracts are unambiguous, the Frank Waterhouse story is beyond

  17 belief.     It's contradicted by Mr. Norris' own notes.            And we

  18 respectfully request that the Court grant Highland a judgment

  19 in the amount set forth in the slide up above subject to a

  20 collection of attorneys fees, and deny the Advisors' claims in

  21 all respects.      Thank you, Your Honor.

  22                I believe that's 48 minutes by my count.

  23                THE COURT:   Let me check with my law clerk.         He had

  24 49.    Okay.    We'll call it 48 and a half.        All right.

  25 Mr. Rukavina, I'll hear from you.



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                                                                   002861
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              39 of 81 Page
                                                          846
                                                            43of
                                                               of888
                                                                  85 PageID
                                                                     PageID2959
                                                                            4150

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   1              MR. RUKAVINA:     Thank you, Your Honor.

   2              And, Mr. Berghman, if you'll please put up my slides.

   3              Your Honor just heard 49 minutes of irrelevancies,

   4 misdirection, and smear.         Now let's look at some facts and law.

   5 Overall, there are two facts and conclusions that cannot be

   6 contradicted.

   7              First is that there is no support for the allegation

   8 that the Payroll Agreements were, quote, pay for services

   9 agreements.      You heard that in opening, that they were pay for

  10 services, meaning that we have to pay them because the services

  11 are allegedly being provided regardless of the terms of the

  12 agreements.

  13              The only possible evidence on that was from Mr. Klos

  14 when he was testifying about how the numbers were arrived at.

  15 And as you can see there, it's on his transcript.              I asked him

  16 very clearly about that.         And he said it would be just

  17 speculation.      So, Your Honor, there is no support for any pay

  18 for service agreements, $5 million and $6 million per year as a

  19 funding mechanism.

  20              And more importantly, you heard Mr. Morris state that

  21 we agree there is no ambiguity in these contracts.              Mr. Morris

  22 took you what he admitted was parole evidence after parole

  23 evidence.     He called one document the best parole evidence.

  24 That is not admissible to contradict the terms of these

  25 contracts.      Next slide, please.



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                                                                   002862
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              40 of 81 Page
                                                          847
                                                            44of
                                                               of888
                                                                  85 PageID
                                                                     PageID2960
                                                                            4151

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   1              On the issue of the bona fides of the contracts --

   2              THE COURT:     All right.    I am not -- I'm not seeing

   3 the shared content.        Are other WebEx participants seeing it?

   4              MR. MORRIS:     I am, Your Honor.

   5              THE COURT:     Mr. Morris?       I'm sorry, you said yes you

   6 have it?

   7              MR. MORRIS:     Yes.    I can see it on the screen.        I

   8 didn't receive a copy, but I can see it on the screen.

   9              THE COURT:     Yeah.    We have a frozen picture of

  10 Mr. Rukavina's face on what's supposed to be the shared screen.

  11 Mike, do you have it?        Yeah.    Okay.    Well --

  12              MR. RUKAVINA:     You know what, this happened -- can

  13 you hear me, Your Honor?

  14              THE COURT:     Yes.     I can hear you and see you fine on

  15 my screen.

  16              MR. RUKAVINA:     Yeah, this happened before.         This

  17 happened before.       Can you see it now?

  18              THE COURT:     Oh, wait.     Now something is happening.

  19 It's --

  20              MR. RUKAVINA:     This happened to Mr. Morris last week.

  21 And I think Ms. Alaysia (phonetic) would just close the

  22 PowerPoint and reopen it.          Can the Court see?

  23              THE COURT:     Okay.    Yeah.     Right now I've just got a

  24 blank screen, a black screen.          So is Ms. Canti turning

  25 something off?



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                                                                   002863
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              41 of 81 Page
                                                          848
                                                            45of
                                                               of888
                                                                  85 PageID
                                                                     PageID2961
                                                                            4152

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   1              MR. RUKAVINA:     No.    Mr. Berghman just turned it off

   2 and -- try again, Thomas.         Just close the screen share and then

   3 restart the screen share.

   4              Can the Court see it?

   5              THE COURT:     I can't see it.     No.    But everyone else

   6 can see it apparently, except me, right?

   7              Mr. Morris, you see it?

   8              MR. MORRIS:     I do, Your Honor.

   9              THE COURT:     Okay.    Do we have a hard copy of this?

  10 Was it --

  11              MR. RUKAVINA:     We do not.     I emailed it to Mr. Morris

  12 an hour a go.      Let me email it, Your Honor, if you would

  13 like --

  14              THE COURT:     Ms. Ellison.

  15              MR. RUKAVINA:     Yeah, Ms. Ellison.       Let me just --

  16              THE COURT:     Okay.    If you'll email it to her, then

  17 she can email it to me and I'll pop it up on my other screen.

  18              MR. MORRIS:     And just to be clear, it was emailed to

  19 me 14 minutes ago at my request.          Thank you.

  20        (Pause)

  21              MR. RUKAVINA:     I sent it to you at 1:49, John.          But

  22 it doesn't matter.       Ms. Ellison should have it momentarily.

  23              THE COURT:     Okay.    Traci, are you out there on the

  24 WebEx?

  25              UNIDENTIFIED SPEAKER:       Yes, Your Honor.      I'm here.



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                                                                   002864
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              42 of 81 Page
                                                          849
                                                            46of
                                                               of888
                                                                  85 PageID
                                                                     PageID2962
                                                                            4153

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   1              THE COURT:     Okay.   While we're waiting, Mr. Rukavina,

   2 just to confirm, we don't have a dispute that the agreements

   3 are ambiguous.       You don't think they're ambiguous.         You just

   4 have a different interpretation of what they mean.              Correct?

   5 **Crystal

   6              MR. RUKAVINA:     I don't know that I have a different

   7 interpretation.       They are unambiguous, and I think Mr. Morris

   8 and I agreed on the four provisions or so that govern.               My

   9 argument is that we properly and timely trigger those

  10 provisions.

  11              Mr. Berghman, can you --

  12              THE COURT:     Oh, I've got it now.        I've got it now.

  13 The shared screen is working now.           Go ahead.

  14              MR. RUKAVINA:     Just let me --

  15              MR. BERGHMAN:     Your Honor, it's in a PDF as opposed

  16 to a PowerPoint.       Maybe that's the technology issue, so I think

  17 this may work.

  18              THE COURT:     Okay.   Good deal.

  19              MR. RUKAVINA:     Okay.    Maximize the deck, Thomas,

  20 because we're seeing your other stuff on there.              No.   No.    Your

  21 Honor, I'm going to mute this and call my partner.

  22        (Pause)

  23              THE COURT:     Yeah.   Mr. Rukavina, I don't know if

  24 you're on hold or you can hear me.           I've got the PowerPoint

  25 version up that you emailed to Traci which she emailed to me,




                              WWW.LIBERTYTRANSCRIPTS.COM
                                                                   002865
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              43 of 81 Page
                                                          850
                                                            47of
                                                               of888
                                                                  85 PageID
                                                                     PageID2963
                                                                            4154

                                                                                   43

   1 so if --

   2              MR. RUKAVINA:     Okay.

   3              THE COURT:     -- that helps what you're doing, I've got

   4 a PowerPoint version up.

   5              MR. RUKAVINA:     Okay.    Thank you then.      Let's resume.

   6 Mr. Berghman, please pull it up like you had it originally.

   7 Everyone else can see it and Judge Jernigan, we'll just follow

   8 Your Honor manually.        I would ask you to advance it.

   9              THE COURT:     Uh-huh.    Okay.

  10              MR. RUKAVINA:     So, Your Honor, the first slide, we

  11 are now in the second slide called Advisors' administrative

  12 claim.

  13              THE COURT:     Okay.

  14              MR. RUKAVINA:     And you see I have a listing of eight

  15 points.     So, you know, what I was discussing is to go back to

  16 the bonifieds of these contracts.           Mr. Klos testified very

  17 clearly that he prepared the underlying reimbursement

  18 allocations in good faith and reasonably.            Yes, there's some

  19 subjectivity, but accountants and controllers and financial

  20 types know how to take those account.

  21              Both Waterhouse and Dondero testified that those

  22 amounts were arrived at through a good faith process by

  23 Highland's team.       And let me just add something to what Mr.

  24 Morris keeps mentioning here, somehow that Highland always

  25 wears the white hat and the Advisors always wear the dark hat


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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              44 of 81 Page
                                                          851
                                                            48of
                                                               of888
                                                                  85 PageID
                                                                     PageID2964
                                                                            4155

                                                                                   44

   1 here.     Let's not forget that this is the same Debtor that

   2 participated in the drafting of these contracts.              Its employees

   3 drafted these contracts.         As we said, these are not arms length

   4 negotiations.

   5              So for him to say or ask questions like, the Advisors

   6 have no explanation for this or the Advisors can't explain that

   7 and I can't wait for an explanation.           He should ask that of his

   8 own client, of his own self.          It takes two to tango, Your

   9 Honor, and they stand in the shoes of the Debtor.

  10              You know for a fact that Highland was actually able

  11 to track employee time because you saw in my Exhibit 88 that

  12 every month they sent invoices under the HCMFA Shared Services

  13 Agreement where they tracked Highland time.             Ms. Thedford would

  14 not have used outside counsel to advise on these contracts if

  15 there was something funny about these contracts.

  16              Mr. Waterhouse and Mr. Dondero both testified that

  17 outside auditors and legal advise was used.             At no time until

  18 he testified did Mr. Klos raise any red flag regarding any of

  19 what he did or his analyses or these contracts.              And you heard

  20 from him that -- and from everyone else -- that he was the most

  21 credible man in that trial.

  22              So, again, all that is just to say there is no

  23 ambiguity.      There is no red flag.       The contracts are what they

  24 are and they should be interpreted according to their terms.

  25 If we can advance the slide, Your Honor, please.


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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              45 of 81 Page
                                                          852
                                                            49of
                                                               of888
                                                                  85 PageID
                                                                     PageID2965
                                                                            4156

                                                                                   45

   1              The second main fact that the Court should consider

   2 is that the fact of overpayment is incontestable.              There can be

   3 -- we can argue under the law whether we're allowed to get the

   4 overpayments, but the fact of overpayment is incontestable.                   We

   5 all know what reimbursement means.           We all know what actual

   6 cost is defined at.        You can only be reimbursed for your actual

   7 out of pocket costs for the employees.            There is no profit.

   8              There's no dispute that many employees were not

   9 there.     We were paying for 20 employees out of 25 that were not

  10 there.     Please don't fall for the misdirection, Your Honor,

  11 that, well, four of the employees weren't there when the

  12 contracts were signed.        Recall from Mr. Klos that he was

  13 preparing that list as of January 1, 2018, which was the

  14 effective date.

  15              So, yes, those four employees weren't there in May,

  16 but they were there in January.          And again, Mr. Klos prepared

  17 the list of 20 employees.         If there was something funny about

  18 this, he, the most credible man in the courtroom, would not

  19 have done that.

  20              You have the December 2019 analysis.          This is post-

  21 bankruptcy.      The Debtor is a fiduciary.        The Debtor has an

  22 outside financial advisor.         Mr. Klos, that financial advisor,

  23 and Mr. Waterhouse, internally calculate that the Debtor is

  24 making a $3 million profit that's a snapshot in time under

  25 these contracts.       And they shared that information with the


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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              46 of 81 Page
                                                          853
                                                            50of
                                                               of888
                                                                  85 PageID
                                                                     PageID2966
                                                                            4157

                                                                                   46

   1 committee.      That's their own work product.         There's no funny

   2 business there.       There's no funny math.

   3              Mr. Klos' December 2020 analysis shows that the

   4 profit as a snapshot in time had ballooned to $6.6 million.                   It

   5 doesn't matter why Mr. Waterhouse asked him to prepare that

   6 analysis.     It doesn't matter.       Mr. Klos can invent whatever

   7 reason he thinks Mr. Waterhouse did.           Mr. Waterhouse prepared a

   8 professional analysis for his bosses.           And he calculated $6.6

   9 million.

  10              His current attempt to discredit his own work is

  11 unbelievable.      He doesn't like the conclusion that he reached.

  12 He doesn't like the fact of overpayment because now he's the

  13 Debtor's CFO, so he tries to discredit himself.              That was not

  14 credible at all.       And his evasiveness on my cross-examination

  15 was disturbing.       The assumptions that Mr. Klos used were

  16 utterly reasonable.        He used the actual number of employees at

  17 that point and time and he used the fact that there were no

  18 bonuses being paid.

  19              Now Mr. Norris, in hindsight, calculated the $2.6

  20 million delta as opposed to 6.6 million.            Now, let's look at

  21 very briefly why Mr. Norris' calculations are accurate and

  22 reliable.     Highland stipulated that his underlying source of

  23 data and his math were correct.          Your Honor will recall that

  24 whereas Mr. Klos assumed no bonuses, it's true that certain

  25 bonuses were paid to non-insiders.           Well, Mr. Norris took that


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                                                                   002869
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              47 of 81 Page
                                                          854
                                                            51of
                                                               of888
                                                                  85 PageID
                                                                     PageID2967
                                                                            4158

                                                                                   47

   1 into account.      He didn't give you an artificially inflated

   2 number.     He said, okay.     Some bonuses were paid, so the number

   3 is going to go down.

   4              Mr. Norris' calculation is cumulative.           What Mr. Klos

   5 did was a snapshot in time, but not all the employees were gone

   6 at the same time.       So Mr. Norris, as I told you, went month by

   7 month and looked at which employees were there and how much

   8 were they actually paid.

   9              Another very important thing, Your Honor, Mr. Klos'

  10 analysis included certain replacement employees, again, under

  11 this theory that Payroll Reimbursement Agreements are actually

  12 service agreements in addition to the service agreements.                So

  13 Mr. Klos, I think there were six or seven employees who he

  14 unilaterally replaced.        Well, that can't be.       As Mr. Norris

  15 testified, none of those employees were front office investment

  16 advisory employees.

  17              So you have -- oh, and Mr. Norris used David Klos

  18 allocations.      Mr. Klos again testified that those allocations

  19 were reasonable.       That was not rebutted.       And Mr. Norris

  20 confirmed that those allocations were reasonable.              But even if

  21 the Court says for those five employees it should have somehow

  22 been 100 percent allocation, we still overpaid $4.4 million,

  23 but the Court shouldn't do that.          The fact of the matter is

  24 that Mr. Norris' calculations were never rebutted.              He wasn't

  25 even cross-examined about them.          If we could go to the next


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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              48 of 81 Page
                                                          855
                                                            52of
                                                               of888
                                                                  85 PageID
                                                                     PageID2968
                                                                            4159

                                                                                   48

   1 slide, please.

   2              And Highland knew of the overpayments.           Again, we

   3 have the facts of DSI.        We have the fact of the committee.          We

   4 have Mr. Klos' email where he writes to my client that the fact

   5 that there's fewer employees has increased the profitability of

   6 these contracts from Highland's perspective.

   7              You have multiple other admissions from Mr. Klos of

   8 the overpayments and you have a very strong item of

   9 circumstantial evidence that you got no explanation for from

  10 anyone, which was why did Highland terminate the Shared

  11 Services Agreements right around December 1, but did not

  12 terminate the Payroll Agreements until the very end of

  13 February, and only after being demanded to do so by my client.

  14 Because they were making a profit that they knew that they

  15 shouldn't have been making.

  16              Your Honor should expect more of a fiduciary, more of

  17 a debtor-in-possession, more of people that my client was

  18 paying big money to every month to perform services.               They

  19 can't just stick their head in the ground, make millions of

  20 dollars of profit extra contractually, and not do anything

  21 about it.     Next slide.     Your Honor, if we can go to the next

  22 slide.

  23              So my first argument, Your Honor, is that we don't

  24 have to look at the contract.          We look at what is an

  25 administrative claim.        Basically, if my clients provided value


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                                                                   002871
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              49 of 81 Page
                                                          856
                                                            53of
                                                               of888
                                                                  85 PageID
                                                                     PageID2969
                                                                            4160

                                                                                   49

   1 to the estate that they did not receive return consideration

   2 for, then that is an administrative claim.             That's the Supreme

   3 Court.     That's Judge -- former Judge Lynn in the Northern

   4 District.     And you also have the fact that these were unassumed

   5 and unrejected contracts.         And the breach of contract, separate

   6 and apart from an overpayment, a breach of contract is an

   7 administrative claim unless and until the contract is rejected.

   8              So that is our most simple argument.          We provided

   9 value in the form of cash money to the Debtor post petition for

  10 which we did not receive services.           As we've always pled,

  11 there's been no changing of our story as has been alleged.

  12 That's absurd.       There's been a refinement of our numbers

  13 through discovery, which is how the process should work.

  14              If we can go to the next slide, please, Your Honor.

  15              If the Court concludes that you actually have to look

  16 at the contracts, you can't just rely on what is an

  17 administrative claim, you have to look at the contracts, then

  18 the fundamental purpose of these contracts is to reimburse for

  19 actual costs.      Again, I think we agree on that, Mr. Morris and

  20 I.    That is the overriding purpose.         And the word reimbursement

  21 is used many times in here.

  22              It is true that those contracts define what actual

  23 cost is on a monthly basis unless those number are changed as

  24 set forth in Section 2.02.         That is true.     So, as long as no

  25 change is made, then the preset numbers control.              And that's


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                                                                   002872
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              50 of 81 Page
                                                          857
                                                            54of
                                                               of888
                                                                  85 PageID
                                                                     PageID2970
                                                                            4161

                                                                                   50

   1 okay.

   2              Your Honor will recall from Mr. Klos' and Ms.

   3 Thedford's email exchange that it was very cumbersome to figure

   4 this out.     So Mr. Klos is the one who suggested, well, let's

   5 just make it a monthly amount and if we have to change it,

   6 we'll change it.       We can go to the next slide, Your Honor,

   7 please.

   8              The problem now is, as Mr. Morris correctly pointed

   9 out, it's Section 2.02.        So Section 2.02 needs to be triggered

  10 in order to modify the pre-settlements.            And Section 4.02 also

  11 bears a role.      But let's not forget what Section 2.02 says, the

  12 last line.      The parties will negotiate in good faith the terms

  13 of such modification.        The Debtor very conveniently ignores

  14 that.

  15              And Section 4.02 says that either party may make a

  16 request for a modification.         It doesn't say how that request

  17 must be made.      It doesn't say it must be formal, in writing.

  18 It says either party may make a request for a change.

  19              Therefore, I think the contractual analysis is very,

  20 very simple.      Unless and until a request for a change is made

  21 by either party such as to trigger the requirement for good

  22 faith negotiation under Section 2.02, the preset monthly

  23 amounts control.       If we can go to the next slide, Your Honor,

  24 please.

  25              Now there are three reasons that we maintain why we


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                                                                   002873
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              51 of 81 Page
                                                          858
                                                            55of
                                                               of888
                                                                  85 PageID
                                                                     PageID2971
                                                                            4162

                                                                                   51

   1 comply with these contracts, with these requirements.               First

   2 you have the course of conduct.          Course of conduct is not

   3 parole evidence.       As we briefed, whether a contract is

   4 ambiguous or unambiguous, the Court can look at the course of

   5 conduct to determine how the parties interpreted their own

   6 contract.

   7              Second, you have Mr. Waterhouse and later Mr. Norris

   8 and others actually saying, hey, we’ve got to revise these

   9 numbers.     And Highland did not negotiate in good faith.            As Mr.

  10 Seery testified, there was zero negotiation.             And then our

  11 third argument is that under the Shared Services Agreements

  12 Highland was the one obligated to monitor and review and advise

  13 us with respect to our payables.          And if we can go to the next

  14 slide, Your Honor, please.

  15              THE COURT:     Okay.

  16              MR. RUKAVINA:     So Your Honor has the December 2019

  17 amendments, the ones pursuant to which my clients ended up

  18 paying Highland $2.5 million.          Those are unambiguous.       There’s

  19 no reason, fact, or logic as to why the Court can or should

  20 look behind them.       And they expressly state that upon reviewing

  21 the actual costs, my clients underpaid and they owed more.                It

  22 doesn’t matter that there might have been fewer employees

  23 there.

  24              Frankly, no one has told us why my clients ended up

  25 paying more even though there were fewer employees, but you


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                                                                   002874
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              52 of 81 Page
                                                          859
                                                            56of
                                                               of888
                                                                  85 PageID
                                                                     PageID2972
                                                                            4163

                                                                                   52

   1 heard that it’s possible, that because of everything that was

   2 going on, certain employees were devoting far more of their

   3 time to my clients than Mr. Klos had estimated they would.

   4              It doesn’t matter.       The contracts say we underpaid

   5 after an annual review and we ended up paying more.               Those

   6 contracts cannot be swept under the rug, or those amendments,

   7 by the Debtor.       They can’t be ignored.       Those contracts or

   8 those amendments are evidence of an annual true up.

   9              Mr. Waterhouse testified to this.          It’s on Page 140

  10 of the transcript that there was a general policy at Highland

  11 to review long term contracts on an annual basis.              As he said,

  12 it was just too onerous to true up agreements on less than a

  13 yearly basis.      So yearly is kind of more the practice.           And if

  14 we can please go to the next slide, Your Honor.

  15              This is also --

  16              THE COURT:     Okay.

  17              MR. RUKAVINA:     If the Court wants to look at the

  18 formation emails, this is what Mr. Klos wrote to Ms. Thedford.

  19 This is Exhibit K.       And he writes, this is where he says, look,

  20 this is going to be really cumbersome.            Let’s have a predefined

  21 amount payable every month.         Then he says, beyond a year.

  22              So again we’re -- he’s thinking, just like Mr.

  23 Waterhouse said, of an annual review.           After a year either

  24 party could terminate and or renegotiate for an amended

  25 agreement.      Well, that’s exactly what they did at the end of


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                                                                   002875
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              53 of 81 Page
                                                          860
                                                            57of
                                                               of888
                                                                  85 PageID
                                                                     PageID2973
                                                                            4164

                                                                                   53

   1 2018.

   2              So regardless of the fact that the contract talks

   3 about a monthly analysis, the parties, both of them, changed it

   4 or they understood it to actually be a one year analysis, at

   5 least with respect to a retrospective analysis as opposed to a

   6 prospective change.

   7              And that’s something that’s very important as well,

   8 Your Honor.      In Section 2.02, Mr. Morris is correct.           It

   9 applies prospectively.        But nothing in these agreements

  10 prevents a retrospective analysis or a true up or a refund,

  11 nothing.     The only reason why a true up wasn’t done in 2019 was

  12 because of the bankruptcy.          If we can please go to the next

  13 slide.

  14              THE COURT:     Okay.

  15              MR. RUKAVINA:     Now let’s talk about Mr. Waterhouse’s

  16 testimony.      Mr. Waterhouse testified that he told Mr. Caruso,

  17 clearly an agent of the Debtor, and that he told the Debtor’s

  18 other officer, general counsel, that there were these

  19 overpayments.      The overpayments were discovered, as Your Honor

  20 will recall, because the committee requested an analysis of

  21 intercompany contracts.        All of these men, Mr. Caruso and Mr.

  22 Klos, in good faith performed that analysis.

  23              So there is circumstantial evidence, Your Honor, to

  24 confirm that what Mr. Waterhouse said is true.             His testimony

  25 was never rebutted, for one thing.           You know, Mr. Morris was


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                                                                   002876
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              54 of 81 Page
                                                          861
                                                            58of
                                                               of888
                                                                  85 PageID
                                                                     PageID2974
                                                                            4165

                                                                                   54

   1 always fond of saying, well, why isn’t someone else here?                 Why

   2 isn’t someone else here?         Mr. Caruso could have rebutted this

   3 testimony.      He made millions of dollars in this case.           He never

   4 testified here and said, whoa, whoa, whoa, Frank never told me

   5 that.

   6              And why wouldn’t Mr. Waterhouse say to Mr. Caruso

   7 what he did?      The gentleman had just performed the analysis.

   8 It’s not, Your Honor, like I’m trying to suggest that

   9 Waterhouse just called up Caruso one night over a glass of wine

  10 and said, oh, I just got this idea in my head.             They just

  11 performed this analysis.         And the fact at that time of $3

  12 million in annual overpayments was learned.

  13              Isn’t it logical that the CFO and the treasurer would

  14 go to the general counsel and a financial advisor and say,

  15 guys, we’ve got to do something about this?

  16              So this is credible testimony.         And what Mr.

  17 Waterhouse did triggered Section 2.02, the duty to negotiate in

  18 good faith.      The Debtor said, we can’t because of the automatic

  19 stay.     Whether that’s right or wrong as a matter of law is

  20 irrelevant.

  21              Mr. Waterhouse was entitled to rely on what the

  22 financial advisor, a bankruptcy expert of 30 years, and of what

  23 the internal lawyers told him.          He reasonably relied on that

  24 and what more was he to do?         He talked to the lawyers.        He

  25 talked to the bankruptcy experts.


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                                                                   002877
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              55 of 81 Page
                                                          862
                                                            59of
                                                               of888
                                                                  85 PageID
                                                                     PageID2975
                                                                            4166

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   1              We also have to point out that the Payroll

   2 Agreements, Your Honor, contain anti-waiver provisions.               So not

   3 only is there no set method by which a request to modify must

   4 be made, there’s anti-waiver provisions.            Even if Your Honor

   5 does not find Mr. Waterhouse’s testimony and what he did to

   6 rise to the level of flagging the issue and requesting a

   7 change, you have beginning in October of 2020 -- I’m sorry.

   8 Yes, October of 2020.

   9              Mr. Norris and Mr. Klos having numerous discussions

  10 regarding these matters as Mr. Norris became involved with the

  11 process.     Mr. Norris was very credible, very credible.            And of

  12 course he and Mr. Klos discussed this.            And you see even in

  13 that email where Mr. Klos is admitting that these contracts

  14 have become even more profitable for Highland.

  15              So, yes, Mr. Klos admitted to Mr. Norris that

  16 Highland was making profits, that there were overpayments.                Mr.

  17 Norris was upset.       He said, we’ve got to change it.          Again, the

  18 message came back automatic stay.           It’ll be dealt with in due

  19 course.

  20              If the Court doesn’t find that credible or rising to

  21 the level of anything, you have the absolute fact of the

  22 December 11, 2020 letter from K&L Gates, who at that point and

  23 time represented the Advisors saying it looks like there’s

  24 about $5 million in overpayments.           We’ve got to do something

  25 about that.      If we can go to the next slide please, Your Honor.


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                                                                   002878
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              56 of 81 Page
                                                          863
                                                            60of
                                                               of888
                                                                  85 PageID
                                                                     PageID2976
                                                                            4167

                                                                                   56

   1              THE COURT:     Okay.

   2              MR. RUKAVINA:     So what we have, Your Honor, right or

   3 wrong, legally appropriate or not, Highland not negotiating a

   4 change in the reimbursement rates, whether from late 2019 or

   5 October 2020 or December 2020.

   6              What is my client supposed to do?          Again, it takes

   7 two to tango.      If they’re required to negotiate in good faith

   8 and they know and they don’t, Mr. Morris is right.              My client

   9 can’t unilaterally change the reimbursement rates, but the

  10 requirement to negotiate in good faith is in these contracts.

  11 The Court cannot read that out of the contracts.              And the

  12 Debtor, for whatever reason, did not negotiate in good faith.

  13 The Debtor breached Section 2.02 and it’s a frustrational

  14 purpose.

  15              How are we supposed to change the reimbursement rates

  16 when the counter-party breaches an obligation to negotiate in

  17 good faith?      Well, it becomes a little bit circular here, Your

  18 Honor, because the damages from that breach or the fact that

  19 you didn’t change the reimbursement rates, but it doesn’t even

  20 matter because once a party breaches, as the Debtor did here,

  21 it cannot insist on the strict application prospectively of

  22 that contract.

  23              What happened, Your Honor, is that once my clients

  24 raised the issue, when they triggered the process, the preset

  25 reimbursement rates no longer controlled.            The parties were


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                                                                   002879
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              57 of 81 Page
                                                          864
                                                            61of
                                                               of888
                                                                  85 PageID
                                                                     PageID2977
                                                                            4168

                                                                                   57

   1 required to figure out what the actual costs were in good

   2 faith.     If you can go to the next slide please, Your Honor.

   3              THE COURT:     Okay.

   4              MR. RUKAVINA:     And then our third theory, Your Honor,

   5 is under the shared services.          You heard -- well, you saw --

   6 that in these Shared Service Agreements the Advisors were

   7 paying Highland to monitor contracts, monitor payables, ensure

   8 that appropriate payable amounts were being paid.

   9              Mr. Waterhouse confirmed that these services -- I

  10 mean, you can look at the contract.           You don’t need his

  11 testimony.      But that these services included scrubbing the

  12 Advisors bills to make sure that the bills were proper, that

  13 there weren’t refunds due, that there weren’t overpayments.

  14 And Highland certainly knew of the overpayments.              Again, we

  15 have the December 2019.        You have the report from DCI going to

  16 the committee.       Highland knew.

  17              We go back to the Payroll Agreements which provided

  18 should either party -- that’s key -- should either party

  19 determine that a chance is appropriate, then either party may

  20 request a modification.        Consistent with its duties to assist

  21 and advise the Advisors, Highland should have done so.               As

  22 we’ll talk in a moment, no employee of the Advisors or agent of

  23 the Advisors knew of the overpayments who was not at the same

  24 time also an employee or an agent of Highland.

  25              Does the Court really believe or can anyone really


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                                                                   002880
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              58 of 81 Page
                                                          865
                                                            62of
                                                               of888
                                                                  85 PageID
                                                                     PageID2978
                                                                            4169

                                                                                   58

   1 believe that these people, Klos, Waterhouse, Caruso, that they

   2 all just really did nothing about this, ignored it, that

   3 Highland sat back there and knowingly was taking $6.2, $6.6

   4 million from my clients?

   5              Or is it far more likely that, in fact, they all

   6 believed in good faith that the automatic stay prevented any

   7 kind of negotiation or modification?           It goes back again to the

   8 truth.     The most credible explanation is that Klos and

   9 Waterhouse knew what was going on, but were told by the

  10 bankruptcy experts, we can’t do anything about it, because of

  11 the bankruptcy stay.

  12              The alternative is, again, that they sat there,

  13 violated their duties under the Shared Services Agreements,

  14 acted ridiculously as a debtor-in-possession by knowingly

  15 taking millions of dollars in profits not entitled to under the

  16 contract.

  17              Either way, Highland knew about it, had an obligation

  18 to do something about it, and did nothing about it.               It cannot

  19 now exploit any delay or any advantage as a result of its own

  20 fault.     Your Honor, if we can advance to the next slide,

  21 please.

  22              THE COURT:     Okay.

  23              MR. RUKAVINA:     What does Highland say back?         Well,

  24 you waived your rights.        Okay.    We might have over billed you

  25 by $6.6 million.       We might have known about it.         We might have


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                                                                   002881
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              59 of 81 Page
                                                          866
                                                            63of
                                                               of888
                                                                  85 PageID
                                                                     PageID2979
                                                                            4170

                                                                                   59

   1 had an obligation to tell you about it, but you waived your

   2 rights.     Well, the contracts contained anti-waiver provisions.

   3 Waiver has to be knowing and intentional.

   4              Mr. Waterhouse is the only person who is an agent of

   5 the Advisors that knew of the overpayments, but as we briefed,

   6 under Texas law when you’re an agent to two principals, his

   7 knowledge cannot be imputed to one to be used against the

   8 other.     The other people involved, Mr. Klos, DSI, Mr. Caruso,

   9 they were never agents of the Advisors.

  10              So the Advisors -- there’s no evidence that the

  11 Advisors knew of the overpayments in order to be able to make a

  12 knowing and intentional waiver.          Of course the Advisors knew

  13 that certain employees weren’t there.           That’s a given.      Mr.

  14 Norris was very clear about that.           But that is a separate issue

  15 from knowing that every month, every month, Highland was

  16 billing us for those employees that were no longer there.                Only

  17 Highland employees knew that.

  18              Also, Your Honor, these statements to the board, the

  19 funds boards, again, misdirection.           All those communications,

  20 all those board minutes, we went through a dozen of them one by

  21 one with Mr. Powell.        All of those are referring to the Shared

  22 Services Agreements in which case, yes, Highland was providing

  23 services to us under the Shared Services Agreements.               None of

  24 those talked about the Payroll Reimbursement Agreements.

  25              And the fact, Your Honor, that we stopped paying


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                                                                   002882
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              60 of 81 Page
                                                          867
                                                            64of
                                                               of888
                                                                  85 PageID
                                                                     PageID2980
                                                                            4171

                                                                                   60

   1 right after Mr. Norris learned about it was further evidence

   2 that there was no waiver.         And when I talk about waiver, Your

   3 Honor, I mean, common law waiver.           I mean, contractual

   4 interpretation waiver.        That’s separate from whether we sat by

   5 and did nothing under Section 2.02 and 4.02 of the contract.

   6 We’re going to go to the next slide please, Your Honor.

   7              THE COURT:     Okay.

   8              MR. RUKAVINA:     Likewise, the voluntary doctrine

   9 payment does not apply.        As we briefed, it doesn’t apply in

  10 Texas to the contract claims.          It only applies where there’s

  11 full knowledge of material facts.           And again, we did not know

  12 of the overpayments.        The only one who did was Waterhouse and

  13 he did what he could.

  14              And it’s also a critical factor here, Your Honor, as

  15 you’ve heard, that we did not actually write a check or

  16 initiate a wire transfer for these payments.             Highland

  17 employees did so.       Highland employees, pursuant to the services

  18 they were providing, had access and control to our bank account

  19 and Highland employees paid themselves.

  20              Mr. Waterhouse approved those payments.           That is

  21 true.     But he approved them as the CFO of Highland.            It’s very

  22 clear.     You have Ms. Hendrix’s emails to him.          She’s writing to

  23 his -- to her boss, pardon me -- saying, hey, boss, under all

  24 these obligations, under all these contracts, the following

  25 Advisor fees and bills are due.          And he says approved.


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                                                                   002883
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              61 of 81 Page
                                                          868
                                                            65of
                                                               of888
                                                                  85 PageID
                                                                     PageID2981
                                                                            4172

                                                                                   61

   1              Even if he was wearing his Advisor hat, again,

   2 there’s no voluntary payment because he was told that the

   3 automatic stay prevents anything from being done about this.

   4 And we all know that a legal disability, like the automatic

   5 stay, for example, tolls limitations.           A legal disability is

   6 not voluntary.       It is not a waiver.

   7              So, Your Honor, that rounds off the discussion on why

   8 the Advisors have legitimate administrative claims.               They have

   9 been quantified by Mr. Norris in a calculation where the Debtor

  10 has conceded that his numbers and his math are correct.               His

  11 number is not dissimilar from Mr. Klos’ number, which should

  12 add further support and credibility.

  13              And really, it just comes down to the contract and

  14 how the Court interprets the contract in light of the parties’

  15 prior annual true up and in light of Mr. Waterhouse’s

  16 discussions with Highland personnel saying, there’s

  17 overpayments.      We’ve got to do something about those

  18 overpayments, which triggered the requirement to negotiate in

  19 good faith, which never happened.           If you can go to the next

  20 slide, please.

  21              Now I’d like to discuss Highland’s claims back

  22 against us.      So first, let’s discuss the claim for attorney’s

  23 fees because I don’t think I am being absurd when I smell that

  24 it’s going to be a huge number, given that they had five

  25 lawyers during this trial in Court and on the video.


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                                                                   002884
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              62 of 81 Page
                                                          869
                                                            66of
                                                               of888
                                                                  85 PageID
                                                                     PageID2982
                                                                            4173

                                                                                   62

   1              These contracts surprisingly -- and this has not been

   2 addressed by Highland -- have no fee shifting provision.                They

   3 don’t.     Now, we know in Texas that’s not fatal because even if

   4 your contract doesn’t have a fee shifting provision, Section

   5 38.001 still allows you to recover attorney’s fees under a

   6 written contract.

   7              But you have to comply as a condition precedent with

   8 Section 38.002 which requires that you give presentment of the

   9 claim and that the Advisors do not pay a just amount owing

  10 prior to 30 days after that.          And we know as a matter of law

  11 that the filing of a suit is not a presentment of the claim.

  12              Also, the PRAs and SSAs, all four contracts, contain

  13 mandatory notice provisions.          And these -- this is a very

  14 similar case, Your Honor.         That’s not true.      It’s not a similar

  15 case.     It’s a similar principle.       This City of Alamo vs. Garcia

  16 case -- in that case, Your Honor, there was -- well, it was an

  17 arbitration provision and the arbitration provision required

  18 that notice to arbitrate be sent in a particular form to a

  19 particular person.       And that provision was not complied with.

  20              In this court, the Texas Appellate Court said, okay,

  21 well, is that requirement of notice following the notice

  22 provision?      Is that a condition precedent or is that just a

  23 covenant where you get a breach of contract?             And that Court

  24 said that, no, when the notice provision itself, meaning notice

  25 shall be sent to this person by such means by such date, when


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                                                                   002885
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              63 of 81 Page
                                                          870
                                                            67of
                                                               of888
                                                                  85 PageID
                                                                     PageID2983
                                                                            4174

                                                                                   63

   1 it’s a condition precedent then it defeats the condition for

   2 failure to follow.

   3              So because Section 38.002 is a condition precedent to

   4 recovering the 38.001 and because Highland did not follow the

   5 notice provisions in the contracts, they have no claim under

   6 38.001.     If we can please advance to the next slide, Your

   7 Honor.

   8              THE COURT:     Okay.

   9              MR. RUKAVINA:     There is -- first of all, it’s

  10 amazing.     There is no evidence in front of you of any

  11 presentment of the claim at all.          I understand maybe because

  12 New York lawyers aren’t familiar with Section 38.002, but I

  13 would have thought there’d be a letter from Mr. Seery just like

  14 we’ve seen in all the note cases saying, hey, you bad guys,

  15 you’re not paying.       You owe me money.      Pay now or we’ll sue.

  16              I’ve actually had to scrub Highland’s exhibits for an

  17 scintilla of any evidence of a presentment.             And all that you

  18 have is the Highland Exhibit 28.          This is an email.       It’s a

  19 part of negotiations.        It’s an email to Mr. Norris.         It’s not

  20 even from the Debtor.        It’s from DSI or I’m not even sure who.

  21              The Court has it.      It’s Exhibit 28.      And here he says

  22 -- I’m not even sure I know who this man is -- you guys owe the

  23 following amounts.       It’s an email.      It is done prior to filing

  24 suit, but again it does not follow the notice requirements in

  25 the contracts, meaning it’s not sent to the proper party.                It’s


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                                                                   002886
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              64 of 81 Page
                                                          871
                                                            68of
                                                               of888
                                                                  85 PageID
                                                                     PageID2984
                                                                            4175

                                                                                   64

   1 emailed to Mr. Norris.        It’s not sent as the contracts require.

   2              And interestingly, when you read the email in

   3 chambers, Your Honor, this gentleman is saying, you Advisors

   4 have to pay all of these funds, $5.4 million, in order --

   5 that’s how much you owe us.         Notice there’s no demand that

   6 there will be suit filed.         There’s no demand for attorney’s

   7 fees.

   8              Now, it is true that when the Court studies Section

   9 38.002 the Court will find that there’s no prescribed method

  10 for the notice that has to be provided unless the contract

  11 provides the method, right?

  12              So, all things being equal, this email might suffice

  13 as a presentment of the claim.          I’ve already argued why it

  14 doesn’t because it didn’t follow the notice provisions of the

  15 contract, but there’s another reason, as Judge Rhoades

  16 explained in this case I cite down here before.              And you have

  17 to go back to Section 38.002.

  18              It can’t just be a presentment of a claim.            It has to

  19 be a presentment of the just amount owed.            Why in the world is

  20 this person who sent this email requiring Mr. Norris to pay

  21 alleged amounts owing by all these other people?              You’ll see

  22 when -- you’ll see, Your Honor, when you read this email.                Mr.

  23 Norris writes back and he says, what is this?             I don’t even

  24 represent or know about most of these entities.

  25              So there’s no presentment because this isn’t


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                                                                   002887
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              65 of 81 Page
                                                          872
                                                            69of
                                                               of888
                                                                  85 PageID
                                                                     PageID2985
                                                                            4176

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   1 sufficient.      If it is sufficient, it didn’t follow the

   2 condition precedent notice requirement of the contracts.

   3 Therefore, Section 38.002 is not complied with.              And even if it

   4 did, this is not a claim for a just amount.             Why in the world

   5 would the Advisors pay amounts from Dugaboy and NexBank, Ohio

   6 State Life Insurance.

   7              The Debtor, Your Honor, just messed up.           And as a

   8 result, we revert to the American rule and it does not get its

   9 attorney’s fees.       If we can advance to Slide 6, Your Honor.

  10              THE COURT:     Okay.

  11              MR. RUKAVINA:     This is now, unlike Mr. Klos’ broad,

  12 sweeping statements, oh, you owe all this money.              And unlike

  13 Mr. Norris -- I’m sorry, Mr. Morris -- just going over this.

  14 Let’s look at the facts of the matter when we’re talking about

  15 millions of dollars in alleged damages.

  16              So first, HCMFA they say didn’t pay for the November,

  17 December, and January amounts.          Your Honor will recall that

  18 that agreement is different than the rest.             It requires -- it’s

  19 not a set amount.       It requires that an analysis be done, a

  20 calculation.      It requires a statement.        And I’ve only taken

  21 part of Section 5.01 there, Your Honor, because honestly I’m

  22 not good with PowerPoint.         I don’t know how the take the rest

  23 of it.     Certainly the Court can and will read the whole Section

  24 5.01.

  25              But notice the language.        Each service provider --


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                                                                   002888
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              66 of 81 Page
                                                          873
                                                            70of
                                                               of888
                                                                  85 PageID
                                                                     PageID2986
                                                                            4177

                                                                                   66

   1 Highland shall furnish the other parties hereto with a written

   2 statement in which they detail the actual costs.              Highland

   3 never did that for January.         And Highland, by the way, never

   4 gave you the evidence for November and December.              I did in my

   5 Exhibit AA.      Highland did give us an invoice for November and

   6 December, but never for January.

   7              So, Your Honor, they lose the January argument for

   8 two reasons: one, the form of this contract because they never

   9 provided the invoice; two, more importantly, because there’s no

  10 evidence of what the actual cost is.           We’re now talking about

  11 their claims against us.

  12              It’s their burden of proof.        They never came.      Mr.

  13 Klos never said, you know what?          I did the analysis and it’s

  14 $300,000.     There is no evidence as to what the actual cost for

  15 January is.      If we can go to the next slide, please.

  16              THE COURT:     Okay.

  17              MR. RUKAVINA:     Now I want to discuss the Payroll

  18 Agreements again.       We can discuss them at the same time.           It

  19 ties into my argument on the administrative claim.

  20              Whether it’s early -- I’m sorry.          Whether it’s late

  21 2019 or October 2020 or December 2020, Highland never

  22 negotiated in good faith.         As I’ve argued, that means that the

  23 preset amounts no longer control.           We revert to what is the

  24 actual cost.      We are only required to reimburse for actual

  25 cost.     It’s Highland’s burden of proof.         They never even


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                                                                   002889
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              67 of 81 Page
                                                          874
                                                            71of
                                                               of888
                                                                  85 PageID
                                                                     PageID2987
                                                                            4178

                                                                                   67

   1 attempted for the months of December and January to quantify

   2 their actual costs.        They never even attempted to do so, Your

   3 Honor, on their burden of proof.

   4              Even if the Court considers the December 11th letter

   5 as the last or as the only trigger, that would still negate

   6 then the January numbers.         So it is our argument that Highland,

   7 for lack of evidence at this trial, for lack of even trying to

   8 quantify actual costs in December and January, fails, lack of

   9 evidence.     Those discussions from Mr. Waterhouse, Your Honor,

  10 and that letter from K&L Gates must have had some impact on

  11 Highland’s duty under these contracts.

  12              Again, all that we have to do is request a change and

  13 then the parties shall -- not may -- shall negotiate in good

  14 faith.     And Mr. Seery told you there was no negotiation.             So,

  15 again, the argument is the monthly amounts do not control and

  16 there’s an utter lack of evidence on what the actual costs are.

  17              Now it is true that we did not pay under the NexPoint

  18 Shared Services.       That’s $168,000 per month.        We owe them

  19 $336,000.     We do.    Now, Klos testified that it’s $500,000.

  20 Please don’t fall into that trap, Your Honor.             Mr. Klos was

  21 very intentionally, and I believe manipulatively, including a

  22 subsidiary of Highland, a subsidiary of NexPoint called -- I

  23 think I have it in here -- called NexPoint Real Estate

  24 Advisors.

  25              That’s not in the contract, Your Honor.           The NexPoint


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                                                                   002890
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              68 of 81 Page
                                                          875
                                                            72of
                                                               of888
                                                                  85 PageID
                                                                     PageID2988
                                                                            4179

                                                                                   68

   1 Shared Services Agreement spells out it’s $168,000 per month,

   2 so we owe them $336,000, not 500.           And then if we can go to the

   3 final slide, Your Honor.

   4              This is what the Court should conclude -- pardon me.

   5 You should award us the $6.2 million in overpayments.               You

   6 should award us the million dollars in Shared Services

   7 overpayments.      This, Your Honor will recall, is Mr. Klos’

   8 analysis.     Mr. Klos, from December 2019 -- I’m sorry --

   9 December 2020, at that point and time recall, Your Honor, that

  10 the Debtor was not providing legal services anymore to the

  11 Advisors.     The Advisors had hired their own, at least one of

  12 their own, regulatory and compliance people.

  13              Mr. Klos calculated $1 million in profit under the

  14 Shared Services Agreements, which again do not permit of a

  15 profit.     HCMFA does have a provision for a 5 percent markup.

  16 NexPoint does not, but that’s different from profit.               Your

  17 Honor should award us $425,000 in cover damages, as Mr. Norris

  18 testified to.      We had to go out and hire two employees.           That’s

  19 three months worth of their -- or maybe four months.               I don’t

  20 remember right now.        Mr. Norris testified about that.         Of their

  21 compensation.

  22              The Court should deny all parties’ attorney’s fees.

  23 Again, these contracts do not provide for attorney’s fees

  24 provisions and Section 38.002 was not complied with.               The Court

  25 should deny the claim for the January HCMFA Shared Service


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                                                                   002891
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              69 of 81 Page
                                                          876
                                                            73of
                                                               of888
                                                                  85 PageID
                                                                     PageID2989
                                                                            4180

                                                                                   69

   1 Agreement because, again, the Debtor did not calculate actual

   2 cost or present an invoice.         There’s no evidence of what the

   3 proper amount payable for January of 2021 should have been.

   4              The Court should deny the Debtor amounts unpaid under

   5 the Payroll Reimbursement Agreements because the Debtor refused

   6 to negotiate in good faith and the Debtor, again, presented no

   7 evidence on what actual cost for those months should be on what

   8 is the Debtor’s burden of proof.

   9              We admit that we owe -- that HCMFA did not pay Shared

  10 Services in November and December.           There are those invoices.

  11 Again, I was so kind as to provide evidence of that.               The

  12 Debtor didn’t even provide evidence of that.             We admitted we

  13 owe that.     That’s -- and I’m ignoring dollars, Your Honor.             I’m

  14 rounding to the thousand.         We admit that we owe $596,000.         And

  15 we admit that NexPoint owes for December and January, $336,000,

  16 for a net resulting administrative claim after nettings and set

  17 offs of $6,693,000.

  18              Your Honor, I will leave you with this final thought

  19 that I also mentioned.

  20              You can close that now, Mr. Berghman.

  21              I’ll leave you with this final thought that I

  22 mentioned during opening.         This has been a contentious case.

  23 We all know that.       Your Honor has mentioned that numerous

  24 times.     We know that the Court might not think highly of Mr.

  25 Dondero.     The Court has sanctioned Mr. Dondero.           We know that


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                                                                   002892
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              70 of 81 Page
                                                          877
                                                            74of
                                                               of888
                                                                  85 PageID
                                                                     PageID2990
                                                                            4181

                                                                                   70

   1 the Court may think very highly of Mr. Seery and the Debtor.

   2 Certainly the Court has found Mr. Seery very credible in the

   3 past.

   4              But this is a court of equity.         It ought to bother

   5 this Court some, if not a lot, that an entity under your

   6 Court’s, under Your Honor’s protection, with duties of candor

   7 and fiduciary duties was billing my client monthly for 20

   8 employees that were not there and they knew about it and they

   9 did nothing about it.        There has to be a remedy for that harm.

  10 Thank you, Your Honor.

  11              THE COURT:     All right.    Thank you.

  12              Mr. Morris, you have, what did we say, 11-1/2 minutes

  13 of rebuttal.

  14              MR. MORRIS:     Okay.    So as quickly as I can, Your

  15 Honor, Number 1, I’m not prepared to address attorney’s fees.

  16 We’ll do that if and when the Court enters a judgment.               I

  17 promise we’ll file our motion and we’ll address these matters.

  18              With respect to damages, we did offer all the proof

  19 we needed to, Your Honor, and they’re the contracts because

  20 they’re all fixed rate contracts with the exception of the

  21 HCMFA contract.

  22              And I appreciate Mr. Rukavina putting in the exhibits

  23 because if you take a look at them, if you take a look at

  24 Exhibit AA, you’ll see that Highland actually reduced the

  25 amount it was charging for compliance services in November and


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                                                                   002893
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              71 of 81 Page
                                                          878
                                                            75of
                                                               of888
                                                                  85 PageID
                                                                     PageID2991
                                                                            4182

                                                                                   71

   1 December precisely because Mr. Post transferred from Highland

   2 to the Advisors.

   3              You’ll see that in October -- in September, the

   4 compliance fee was $92,819.         That’s in Exhibit AA at Bates

   5 Number 590.      And that the same is true in October.          But yet in

   6 November, that amount is reduced to $66,900, right?               The legal

   7 fees are still the same $10,000 they had been for years.

   8 They’re paying $10,000 a month.          Yes, it’s an actual cost on

   9 track.     And the same $66,000 is charged in December.            Highland

  10 has already taken into account the transfer of Mr. Post from

  11 one side to the other.

  12              Quickly, Mr. Klos didn’t raise any red flags in his

  13 testimony.      In fact, he did just the opposite.         What he

  14 testified to was that here was a rational basis for the numbers

  15 in the documents.       What he testified to was that Highland

  16 provided services and that they were entitled to get paid for

  17 it.    So I don’t know what red flags Mr. Rukavina was referring

  18 to.    They continually refer to profits and the profits that

  19 Highland was making.        Completely irrelevant under the contract.

  20              If they wanted a contract that limited Highland’s

  21 profits or that protected Highland from the down side, right?

  22 We’re only concerned about profits here.            They’re only

  23 concerned -- they aren’t concerned about all the money we were

  24 losing, I guess, under the same analysis that we’re relying on,

  25 that they’re relying on frankly, right?


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                                                                   002894
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              72 of 81 Page
                                                          879
                                                            76of
                                                               of888
                                                                  85 PageID
                                                                     PageID2992
                                                                            4183

                                                                                   72

   1              If they wanted, they know how to do that because the

   2 HCMFA Shared Services Agreement is cost plus 5 percent.               Their

   3 whole theory is kind of suspect for the simple reason that

   4 they’re trying to say that Highland somehow agreed to give the

   5 employees to the Advisors for cost.           What business would do

   6 that?     Why would anybody be in business to simply have somebody

   7 pay for their employees?         It makes no sense to me.       The whole

   8 theory makes no sense to me.

   9              And that brings me to a very big point, Your Honor.

  10 I absolutely do not agree that the contract is to be a

  11 reimbursement for cost.        I absolutely will never agree to that.

  12 That’s not what the contract says.           That’s what they’re trying

  13 to get you to do.       They’re trying to rewrite the very plain

  14 terms of the agreement.

  15              The very plain terms of the definition of actual cost

  16 is that it’s a fixed amount unless the parties agree otherwise,

  17 period, full stop.       Hamburger, tofu, call it whatever you want.

  18 It’s a fixed amount until the parties agree otherwise.               I have

  19 absolutely no agreement with Mr. Rukavina that the purpose of

  20 the contract is to pay actual costs.

  21              Annual true up, Your Honor, he pointed to some

  22 generalized statement from Mr. Waterhouse.             The fact of the

  23 matter is there’s absolutely no evidence that the December 2018

  24 amendments were the result of any true up.             In fact, I asked

  25 Mr. Waterhouse the question.          This is at Page 140 of the


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                                                                   002895
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              73 of 81 Page
                                                          880
                                                            77of
                                                               of888
                                                                  85 PageID
                                                                     PageID2993
                                                                            4184

                                                                                   73

   1 afternoon, I guess, of the first day hearing.

   2 "Q     Do you have any specific recollection that it was an

   3 annual true up like the -- just like for the two Payroll

   4 Reimbursement Agreements?

   5 "A     I don’t.    From what I recall, I don’t think there was a

   6 true up in the agreements."

   7              This is his testimony about the agreements at issue.

   8 Mr. Rukavina may point to some generalized statement about true

   9 ups.    This is his testimony at the bottom of Page 140, the top

  10 of Page 141, that he has no knowledge of any true up ever being

  11 done with respect to the Payroll Reimbursement Agreements.

  12              The notion that they didn’t get services.            I think

  13 there was a suggestion that somehow they didn’t get services.

  14 Again, Your Honor, we’d refer to the retail board minutes.                The

  15 attempt to somehow slice this so fine to say the retail board

  16 minutes was only referring to Shared Services and it didn’t

  17 have anything to do with front office.

  18              There’s numerous places in those minutes that refer

  19 not to Shared Service Agreements, but shares services

  20 arrangements.      And you heard no explanation as to why the

  21 Advisors are repeatedly telling the retail board throughout

  22 2020, here are our investment professionals.

  23              They did it in January.        They did it in August.       And

  24 they don’t do it for no reason.          They do it in response to the

  25 retail board’s specific request for information as to who was


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                                                                   002896
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              74 of 81 Page
                                                          881
                                                            78of
                                                               of888
                                                                  85 PageID
                                                                     PageID2994
                                                                            4185

                                                                                   74

   1 providing services to them, okay.           The evidence is just -- it’s

   2 beyond dispute.       Mr. Rukavina threw out somehow that Highland

   3 was a fiduciary.       A fiduciary to whom?

   4              The only fiduciaries that matter in this case are Mr.

   5 Dondero, Mr. Waterhouse, Ms. Thedford, and Mr. Norris.               They’re

   6 the fiduciaries of the Advisors.           Highland had a contract.       It

   7 did not owe a fiduciary duty to the Advisors.             And it’s just --

   8 I don’t know where this stuff comes from, but there’s no basis

   9 to find that Highland owed anybody on the Advisors side a

  10 fiduciary duty.

  11              Anti-waiver.     He points to the waiver provision.          We

  12 have ample case law in our briefing, Your Honor, that you can

  13 waive even a waiver provision.           And why does it apply here?

  14 Because they waived it 35 times.           Every single month from the

  15 beginning of 2018 until the end of November 2020, 35

  16 consecutive times, Frank Waterhouse authorized the payment of

  17 the fixed fee under the Payroll Reimbursement Agreement with

  18 knowledge that many of the dual employees had been terminated.

  19              That is a waiver.         That is a waiver 35 times.     That

  20 is a waiver so strong that it overcomes anything the Advisors

  21 might come up with here.

  22              Mr. Rukavina suggests, oh, what can we do?            Poor us.

  23 They wouldn’t negotiate.         No.    As Mr. Klos said, as the

  24 contract provides, if you don’t like what’s happening, you can

  25 terminate without cause on 60 days notice, period, full stop.


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                                                                   002897
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              75 of 81 Page
                                                          882
                                                            79of
                                                               of888
                                                                  85 PageID
                                                                     PageID2995
                                                                            4186

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   1 That’s why that provision is in there.            There’s no requirement

   2 that somebody agree.        There’s certainly no requirement that

   3 somebody agree to a retroactive change.            In fact, that would

   4 read out of the whole contract the definition of actual cost.

   5              Again, you’re trying to rewrite an agreement that

   6 they lived with for two years under the Dondero regime.               We

   7 just want to be treated the way Highland was treated for the

   8 two years that Jim Dondero was in control.             Why do the rules

   9 change?     Because Dustin Norris wakes up on December 1st after

  10 we give notice of termination and they freak out and they say,

  11 oh, my gosh.      We’ve got to do something here.         That’s not a

  12 basis to change the terms of the parties’ agreement.

  13              No mention of Lauren Thedford, right?           Where is Ms.

  14 Thedford?     Mr. Rukavina keeps saying, it’s the Highland

  15 employees.      It’s the Highland employees.        Mr. Dondero gave all

  16 of these people multiple hats.          I’ve heard Mr. Rukavina refer

  17 twice now to some case law that says if you wear multiple hats

  18 you can’t impute knowledge from one to the other.              Is that

  19 really true when the same person is giving them multiple roles?

  20 How does Mr. Dondero get to hide behind the fact that he put

  21 Mr. Waterhouse and Ms. Thedford into these conflicting

  22 positions?

  23              And then he gets to say, oh, he was acting on behalf

  24 of Highland, not the Advisors.          That cannot possibly be the

  25 law, Your Honor.       That would be the biggest injustice of all,


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                                                                   002898
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              76 of 81 Page
                                                          883
                                                            80of
                                                               of888
                                                                  85 PageID
                                                                     PageID2996
                                                                            4187

                                                                                   76

   1 that they get now to decide which hat Mr. Waterhouse and Ms.

   2 Thedford was wearing.        And please don’t forget Ms. Thedford.

   3 An officer, a fiduciary, a secretary, a lawyer, the person who

   4 drafted the contracts.

   5              Bankruptcy experts.       Again, now we’ve moved away from

   6 Mr. -- we keep pushing them into the corner even further.                Now

   7 Mr. Caruso is no longer referred to as the CRO.              Now he’s just

   8 an agent.     He’s a so-called agent, right?         He’s not a

   9 bankruptcy expert, as humbly as I can say it, my colleagues and

  10 me.    This is what we do for a living, right.           If Mr. Waterhouse

  11 was with us all the time.         The testimony is clear.       Looked him

  12 right in the eye.       Frank, you didn’t tell me, did you?          No, I

  13 didn’t tell you, John.        I didn’t tell you.

  14              Yeah.    I’ll just end where Mr. Rukavina ended and

  15 that is the notion that this is a court of equity.              It may be a

  16 court of equity, but it’s also a court of law.             And we want the

  17 Court to simply enforce the contract as it’s drafted.               And on

  18 an equitable basis, there’s absolutely positively nothing wrong

  19 with that.      Why is there nothing wrong with that?          Because we

  20 provided the services.        We’re entitled to get paid.         The

  21 contracts are unambiguous.

  22              And I just showed you in Exhibit AA, in the Advisors

  23 AA, we even went so far as to reduce the cost of the compliance

  24 services when Jason Post was moved from one side to the other.

  25 We even went so far as to do that.


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                                                                   002899
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              77 of 81 Page
                                                          884
                                                            81of
                                                               of888
                                                                  85 PageID
                                                                     PageID2997
                                                                            4188

                                                                                   77

   1              That’s equity.      Equity says you reward people who are

   2 abiding by the rules.        We abided by the rules.       We shifted Mr.

   3 Post from one side to the other and we eliminated the cost for

   4 him.    They don’t get to double dip.         They have no claim here,

   5 Your Honor.

   6              Their whole case is based on Frank Waterhouse’s story

   7 that he made up at the very last second that isn’t -- that, as

   8 recorded by Mr. Norris, doesn’t even mention Fred Caruso.                And

   9 then, of course, we have the K&L Gates letter sent the day

  10 after the TRO was entered, right, that’s based on the analysis

  11 that Frank Waterhouse gave to Mr. Dondero the day before.                This

  12 is all manufactured.

  13              And let me just finish on this point.           Highland did

  14 not breach its obligation to negotiate in good faith because

  15 there was no reason or opportunity to do that.             We don’t

  16 believe what Frank Waterhouse testified to has any truth to it,

  17 but even if it did, an offhand statement to Fred Caruso isn’t

  18 all of a sudden going to get them some kind of windfall.

  19 That’s Number 1.       Number 2, this K&L Gates letter, think about

  20 the circumstances that existed at the time.

  21              And, finally, Your Honor, even if the Court were to

  22 find that Highland failed to negotiate in good faith, which I

  23 don’t think it can under the circumstances, even if you found

  24 that, how are there damages a complete rewriting of the

  25 contract?     Because we had no obligation to agree to their


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Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              78 of 81 Page
                                                          885
                                                            82of
                                                               of888
                                                                  85 PageID
                                                                     PageID2998
                                                                            4189

                                                                                   78

   1 theory.

   2              Why do they get their theory now?          We could have

   3 negotiated in good faith and said, Frank, we’re not doing -- I

   4 mean, we’re not doing anything retroactive.             The contract

   5 doesn’t require us to do anything retroactive.

   6              At best, maybe they can make a claim for January.                I

   7 don’t know.      I don’t think it makes any sense.         I don’t want it

   8 to be seen as a concession, but they had no obligation.

   9 Highland had no obligation to agree to their theory.               And now

  10 they’re going to get their theory that completely rewrites the

  11 contract.     It makes no sense.       Thank you, Your Honor.

  12              THE COURT:     Okay.    Thank you.

  13              All right.     Well, this one is going to be second in

  14 the queue.      We were working on the note adversary proceedings

  15 report and recommendation.          So we will try not to keep you

  16 waiting too long on a ruling on this.

  17              You could make my life easier in one regard.               If you

  18 all will send to me, send to Traci Ellison a Word version of

  19 your proposed findings of fact and conclusions of law, each of

  20 you, that way I can copy and paste where I want to copy and

  21 paste in my ruling.        So if you could do that.

  22              MR. RUKAVINA:     Your Honor, may I interject?         The

  23 scheduling order didn’t require a proposed findings.               It

  24 contemplated trial briefs.          I filed a trial brief.      The Debtor

  25 filed proposed findings.


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                                                                   002901
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              79 of 81 Page
                                                          886
                                                            83of
                                                               of888
                                                                  85 PageID
                                                                     PageID2999
                                                                            4190

                                                                                   79

   1              THE COURT:     Right.

   2              MR. RUKAVINA:     I’m happy to draft proposed findings

   3 if you want me to.       I just want you to be aware of that.

   4              THE COURT:     Okay.    Well, so I get Mr. Morris referred

   5 to his at Docket Entry 91.

   6              So send me, Mr. Rukavina, your trial brief, the

   7 Advisors’ trial brief.        I say send me -- send it to Traci.

   8              And then, Mr. Morris, you can send me your findings

   9 and conclusions which have obviously both facts and law.                And

  10 so, again, that will speed up our process here in chambers, I

  11 hope, tremendously if I can copy and paste where I think it

  12 makes sense to copy and past in my ruling, all right.

  13              All right.     Well, I wish I could give you a date by

  14 which this will be done, but all I can say is we’re working as

  15 fast as we can back here on our different projects, and so

  16 we’ll try not to keep you waiting too late.             All right.

  17              MR. MORRIS:     Thank you, Your Honor.

  18              THE COURT:     Thank you.    We’re adjourned.

  19              MR. RUKAVINA:     Thank you.

  20              THE CLERK:     All rise.

  21        (Proceedings concluded)

  22                                     * * * * *

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                                                                   002902
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              80 of 81 Page
                                                          887
                                                            84of
                                                               of888
                                                                  85 PageID
                                                                     PageID3000
                                                                            4191

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   1                         C E R T I F I C A T I O N

   2              We, DIPTI PATEL, CRYSTAL THOMAS, and MICHELLE ROGAN,

   3 court approved transcribers, certify that the foregoing is a

   4 correct transcript from the official electronic sound recording

   5 of the proceedings in the above-entitled matter, and to the

   6 best of our ability.

   7

   8 /s/ Dipti Patel

   9 DIPTI PATEL, CET-997

  10

  11 /s/ Crystal Thomas

  12 CRYSTAL THOMAS, CET-654

  13

  14 /s/ Michelle Rogan

  15 MICHELLE ROGAN

  16 LIBERTY TRANSCRIPTS                   DATE:   May 5, 2022

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                                                                   002903
Case 21-03010-sgj Doc 122 Filed 05/09/22 Entered 05/09/22 09:07:39 Desc Main
Case
Case3:22-cv-02170-S
      3:22-cv-02170-S Document
                      Document 6-1
                                2-15Filed
                          Document    Filed
                                          01/12/23
                                        Page11/22/22 Page
                                              81 of 81 Page
                                                          888
                                                            85of
                                                               of888
                                                                  85 PageID
                                                                     PageID3001
                                                                            4192

                                                                                   81




                              WWW.LIBERTYTRANSCRIPTS.COM



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